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 1   Michael Rubin (SBN 80618)
     Andrew Kushner (SBN 316035)
 2   ALTSHULER BERZON LLP
 3   177 Post Street, Suite 300
     San Francisco, CA 94108
 4   Telephone:     (415) 421-7151
     Facsimile:     (415) 362-8064
 5   Email:     mrubin@altber.com
                akushner@altber.com
 6

 7   Cliff Palefsky (SBN 77683)                   William B. Reilly (SBN 177550)
     Keith Ehrman (SBN 106985)                    LAW OFFICE OF WILLIAM REILLY
 8   MCGUINN, HILLSMAN & PALEFSKY                 86 Molino Avenue
     535 Pacific Avenue                           Mill Valley, CA 94941
 9   San Francisco, CA 94133                      Telephone:     (415) 225-6215
     Telephone:      (415) 421-9292               Facsimile:     (415) 634-2897
10
     Facsimile:      (415) 403-0202               Email:     bill@williambreilly.com
11   Email:      cp@mhpsf.com
                 keith@mhpsf.com
12
     Attorneys for Plaintiffs
13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                         OAKLAND DIVISION
16

17   ROBIN BERMAN, BO KANG,                     Case No. 4:17-CV-1864-HSG
     KHASHAYAR MIRFAKHRAEI, THANG
18   VAN VU, DONNA VIERA-CASTILLO,
     GIRISH RAMESH, PATRICK HANLEY,             EXHIBIT A (PART II, SECTION 1) TO
19   ILANA SHTERNSHAIN and MANDY                DECLARATION OF CLIFF PALEFSKY IN
     SCHWARZ,                                   SUPPORT OF PLAINTIFFS’ MOTION FOR
20                                              PARTIAL SUMMARY JUDGMENT
                    Plaintiffs,
21                                              Hearing Date:   October __, 2021
            v.                                  Time:           2:00 p.m.
22
                                                Courtroom.:     2, Floor 4
     MICROCHIP TECHNOLOGY
23   INCORPORATED, a corporation; ATMEL         Judge:          Hon. Haywood S. Gilliam, Jr.
     CORPORATION, a corporation; and ATMEL
24   CORPORATION U.S. SEVERANCE            Action Filed:        April 4, 2017
     GUARANTEE BENEFIT PROGRAM, an         Trial Date:          Not yet set
25   employee benefit plan,
26                  Defendants
27

28

      EXHIBIT A (PART II, SECTION 1) TO DECLARATION OF CLIFF PALEFSKY IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR PARTIAL SUMMARY JUDGMENT, Case No. 4:17-cv-1864-HSG
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                                                LAW OFFICES or
 JOHN A. McSUINN              M c G U I N N j H I J L L S M A N Be P A L E F S K Y
 JOHN R. HtUUSMAN                         A PROFESSIONAL CORPORATION
 CUFF PALEFSKY                          535 PACIFIC AVENUE, SUITE tOO
 DEREK B. JACOBSON
 KEITH A. EHRMAN                       SAN FRANCISCO, CALIFORNIA 94133
 ABRAHAM FEINSVEIN-HlLLSMAN               TELEPHONE (415) 421-9292
 SCOTT M. 3TIULMAN                                                                            FAX (415)403-0202
 JEANNETTE A. VACCARO



                                               February 3,2017


      VIA FAX: (503-669-60551 & FEDERAL EXPRESS

      Ms. Carly Petrovic
      Plan Administrator for
      Attnel Corporation's U.S. Severance Guarantee Benefit Program
      c/o Microchip Technology Corporation
      2355 West Chandler Blvd.
      Chandler, AZ 85224-6199


              Re:     ERISA Apneals for Peter Sckuntan. William Covlin. Robin Herman, Bo Kms.
                      Khashavar Mirfakhraei, TJtanp Van Vu. Donna Viera-Castillo. Girish Ramesh.
                      Patrick Hanlev, liana Shtemsham and Mandv Schwarz


      Dear Plan Administrator;

              As you know, this office represents Peter Schwnan, WiUiam Coplin, Robin Berman, Bo
      Kang, Khashayar Mirfakhraei,, Thang Van Vu, Donna Viera-Castillo, Girish Ramesh, Patrick
      Hanley, liana Shternshain and Mandy Schwarz (collectively referred to as our "Clients") in
      connection with their claims for severance benefits under the Atmcl Corporation's TJ-S,
      Severance Guarantee Benefit Program (the "Plan"), which is governed by ERISA. This letter is
      submitted on behalf of our Clients in response to your January 23,2017 letter, and in support of
      our Clients' appeals of your denials of their claims for severance benefits under the Plan. Please
      place a copy of this letter in each of our Clients' claim files.

              On January 23,2017, you responded to our demand for the entire administrative record
      relating to the denial, of our Clients' claims, and to our repeated demands for the documents we
      listed in our Clients' original demand letters, by producing a set of documents bearing Bates
      Stamp Nos. BSC 1—2756. The documents produced by the Plan Administrator on Januaiy 23,
      2017 consist entirely of the documents that our Clients submitted to the Plan Administrator in
      support of their claims in the first place; the Plan Administrator's correspondence to our Clients
      in response to their original demand letters; and the Plan documents themselves. Under
      applicable ERISA law and regulations (ERISA § 104(b) and/or 29 CFR 2560.503-1(b)(2)(iii)),
      and as indicated by the Plan Administrator itself in the January 23,2017 letter, the documents
      produced as BSC 1—2756 thus constitute all of the documents that the Plan Administrator
      "considered or generated in the course of making the benefit determination" and "relied upon in




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       Ms. Carly Petrovic
       Plan Administrator for
       Atmel Cotporation's U.S. Severance Guarantee Benefit Program
       Februarys, 2017
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       making the benefit deteimination.", and constitute all of the documents that purportedly
       demonstrate the Plan Administrator's "compliance with the [required] administrative process and
       safeguards." If this is incorrect, please advise me as soon as possible.
               The documents comprising BSC 1—2756 contain very few of the documents which our
       Clients demanded in their original demand letters and which our Clients highlighted to the Plan
       Administrator as being relevant and necessary to a proper determination of their claims. In its
       January 23,2017 letter, the Plan Administrator took the position that it "continues to dispute that
       any of these Document Demands are proper.1' We strongly disagree with your contention that
       the documents demanded by our Clients are "not relevant" and that "the vast majority of [our
       Clients'] Document Demands were improper, enormously broad and burdensome, and raise
       issues related to interests associated with production, accessibility, and relevance to the
       claimants' claims for benefits,'" The documents previously demanded by our Clients are highly
       relevant to the factual basis underlying our Clients' assertions in their demands for benefits; are
       relevant and necessary to a good faith determination of their claims for benefits; and should have
       been considered as part of a proper claim investigation in order to fulfil the Plan Administrator's
       fiduciary obligations under ERISA. In addition, by failing to produce to our Clients the
       documents they demanded, you have interfered with, and failed to provide our Clients with, their
       opportunity to submit to the Plan Administrator evidence and mformation relating to their claims
       for benefits, and $o have denied our Clients the "full and fair review'3 of their claims required
       under ERISA.
              Furthermore, the Plan Administrator's assertion in its January 23,2017 letter that,
       because "the claimants did not complain with respect to the sufficiency of the documents
       provided," the Plan Administrator met its duty to investigate and to obtain available information
       is misplaced, as is the Plan Administrator's request that we contact you "in writing citing
       additional provisions with respect to which [we] believe the Severance Plan is required to
       produce documents." The Plan Administrator may not shirk its duty to investigate and to obtain
       available mformation. for any reason, nor may it attempt to foist that duty onto Plan beneficiaries.
               If any additional evidence or analysis i$ obtained to support a decision to uphold the
       denial on appeal,, or if any additional documents are "considered" or "generated" or "relied
       upon" during the appeal determination process, we demand that the Plan Administrator provide
       us with such documents and evidence and analysis, and with the opportunity to review, comment
       on and/or submit contradictory evidence or analysis, before a decision on appeal is issued. If the
       Plan Administrator does not provide us with this opportunity, our Clients will be denied the "full
       and fair review" of their claims required under ERISA.

               Finally, in the letters to OUT Clients in which the Plan Administrator gave itself an
       "extension of time" to issue its claim decisions, the Plan. Administrator made the repeated
       assertion that it was "in the process of obtaining all appropriate documentation relating to your




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       Ms, Carly Petrovic
       Plan Administrator for
       Atmel Corporation's UtS. Severance Guarantee Benefit Program
       Februarys, 2017
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       claim" and that special circumstances warranted extending the time to decide the claim. As the
       Administrative Record reflected in. BSC 1—2756 establishes that the Plan Administrator did not
       obtain or consider any additional documentation., it is clear that there were no 'special
       circumstances1 that warranted extending the time to decide the claims. Rather, the Plan
       Administrator merely extended the time in bad faith and in breach of its fiduciary duties for the
       purpose of delaying the resolution of our Clients' claims and to allow Microchip further
       opportunity to wrongfully obtain releases from Plan beneficiaries who were being terminated,

              Do not hesitate to contact me if you have any questions.

                                            Very truly yours.



                                            Keith Ehrman




       cc:    Michael Rubin, Esq.
              Kim van Herk, Esq. (via email)




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                       EXHIBIT A-2




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                          DECLARATION OF ROBIN BERMAN



          I, Robin Berman, declare as follows:

           In 2015,1 was employed by Atmel as a Creative Director. In July 2015,1 and other Atmel
  employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program", along
  with an Addendum to the letter providing additional details about the severance program (hereafter
  collectively "Severance Plan"). A copy of the Severance Plan documents that I received in July 2015 is
  attached hereto as Exhibit A. The Severance Plan provided for certain severance benefits if Atmel was
  acquired and I was subsequently terminated.

          In September 2015,1 learned that Atmel had entered into an agreement with a company called
  Dialog Semiconductor pursuant to which Dialog would acquire Atmel. In December 2015,1 heard that
  another company had made an offer to purchase Atmel and that a decision would be made in January.
  The rumor among employees was that the new company was Microchip. I and many other employees
  thought this would be bad for Atmel and for the future of miany Atmel employees.

          In mid-January 2016,1 learned that Microchip had made a superior offerto that of Dialog, My
  superior, Sander Arts (the Vice President of Corporate Marketing), assured me and other employees
  that we should not look elsewhere for a Job outside of Atmel, since the Severance Plan was in place and
  so we had financial protection In the event that Microchip terminated us.

         On approximately January 20,2016, Steve Laub (the Chief Executive Officer of Atmel) held an
  informal all hands meeting. During this meeting, Laub discussed the Microchip offer, and indicated to
  the employees that the Severance Plan was still in place.

           In February 2016,1 discussed with Sander Arts the fact that 1 and others had not started looking
  for new jobs in light of the Severance Plan. Arts again assured me that the Severance Plan was intact
  and so I would have financial protection for many months if Microchip terminated me. I had an almost
  identical discussion with Arts again in March 2016.

          On approximately April 6,2016,1 and many other Atmel employees received a letter informing
  us that we were being terminated effective Immediately. These letters Indicated that Microchip would
  only pay 5 weeks of salary as severance. A copy of the April 6, 2016 termination letter I received Is
  attached hereto as Exhibit B. As I was being escorted out of the lobby on April 6th, I had a discussion
  with Ravi Bali (a Manager of Human Resources). Bali made it clear that he was shocked that Microchip
  was not honoring the Severance Plan, and he also indicated that It was a complete surprise to the
  remaining Atmel Human Resources team that Microchip was not paying the severance.

          On approximately April 11,2016,1 and the other Atmel employees who were terminated
  received a new letter, which indicated that Microchip would pay us 50% of the severance benefits due
  under the Severance Plan. A copy of the April 11,2016 letter I received is attached hereto as Exhibit C.

          Based on my discussions with other Atmel employees prior to the closing of the acquisition in
  April 2016, it was my understanding that Atmel had made Microchip aware of the existence of the
  Severance Plan prior to April 2016, and that Atmel had also made Microchip aware, of the fact that
  Atmel believed that the Severance Plan was still in place following Microchip's agreement to purchase

                                                      1




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  Atmel in January 2016 and that the Severance Plan would require Microchip to pay severance benefits If
  Microchip acquired Atmel and then terminated Atmel employees. Based on my discussions with other
  Atmel employees prior to the closing of the acquisition in April 2016, Microchip had knowledge of, and
  had been involved in the drafting of, the language of the February 2016 "Frequently Asked Questions"
  that were published for Atmel employees to address questions regarding the Microchip acquisition.

          On approximately May 11,2016,1 had a conversation with Sander Arts, in which Arts confirmed
  that prior to the Microchip acquisition, he had conveyed to his whole team that the Severance Plan was
  intact even with Microchip becoming the purchaser. Arts also confirmed that, prior to the April
  acquisition by Microchip, Laub had told all of his direct reports (Including Arts) that the Severance Plan
  was still intact.

          I relied on the Severance Plan and the assurances I had received from Atmel managers in
  deciding to stay with Atmel through the Microchip acquisition. I would have left Atmel and found
  another job long before the Microchip acquisition if I had known that Microchip was not going to pay
  me the severance benefits under the Severance Plan.



           I declare under penalty of perjury that the foregoing is true and correct and that this declaration

  was executed on May 18,2016 at Palo Alto, California.




                                                       Robin Berman




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                                                STRICTLY PERSONAL AND CONFIDENTIAL


    July 9,2015

     Robin Berman
     Re: Severance Guarantee

     Dear Robin,

    Our employees are the lifeblood of our company and we value and appreciate all you do forAtmel. We recognize that
    recently there has been significant market speculation regarding possible transactions involving the company and
    understand tha t such rumors:can be distracting and unsettling. To support our employees and to keep.everyone focused
    on our continued success, we are pleased to share with you the terms of a recently approved U,S. Severance Guarantee
    Benefit program that Is Intended to ease concerns among our employees. Underthis program, you will have the
    opportunity to receive benefits as described below If your employment Is Involuntarily terminated without Cause after the
    occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include:

         »   Cash Severance: 40% of base salary (based on your base rate of pay In effect on the date the Change of Control
             transaction closes); and
         °   Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time of
             termination; the proration will be based a determination of your MIP or SIP at the time oftermination, as
             determined by the Company; and •
         •   COBRA Benefits: Four (4) months'of COBRA benefits paid for by the Company

    All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached to this letter. To
    receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
    Company (or Its successor) If a transaction occurs (the "Release").

.   Nothing In this letter Is Intended to, or shall, contradict/ modify or alter the terms of your at-will employment, other than
    the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this latter. You shall
    remain an at-will employee for all purposes, meanlnjj that you or the Company (or Its successor) may terminate your
    employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

    Robin, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
    recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

    Sincerely,



    Suzanne Zoumaras
    Senior Vice President, Global Human Resources

    Attachment




    Sander Arts
    Robin Berman




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                                                 STRICTLY CONFIDENTIAL


                                                  ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 9; 2015



 Term of the Severance Guarantee Benefit Program: The U,S. Severance Guarantee Benefit Program is effective from
 Julyl, 2015 and will terminate on November 1,2015 unless an initial Triggering Event (as described below) has
 occurred prior to November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
 effect for 18 (eighteen) months following that Initial Triggering Event.

 Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
 consummated.

 Initial Triggering Event: Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
 November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
 into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
 will automatically expire, unless expressly extended by the Company's Board of Directors.

 Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
 benefits if, but only if:

      A,    A Change of Control actually occurs; and
      B.    Their employment is terminated without "Cause" by the Company (or its successor) at any time within IS
            months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
      Plan.                              .

 Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
 to Severance Guarantee Benefits underthe U.S. Severance Guarantee Program, you will receive the benefits as
 described in the Severance Guarantee letter provided to you dated July 9, 2015.

 Terminations Not Subject to Program: If your employment is terminated at any time before or after an initial
 Triggering Event has occurred as a result of your voluntary resignation, death, disability ortermination for Cause, you
~will'not"be"ellgible"toTecelve-anyS-everance Guarantee-Benefits.-As discussed above; the U:SrSeverance Guarantee—
 Program is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
 Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the rightto any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid prior to the date the Release Is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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  Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
 determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
 are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
 interpreted accordingly.

  Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
  under the Program, the term "Company" will include any successor to the Company's business and/or assets which
  becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
 severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
  payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
 action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
 Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
 conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
 Change of Control, any decision made or other action taken by the Company, and any Interpretation by the Company
 of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced in accordance with the Internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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          TO:         Robin Berman
          DATE:       April 6,2016
          FROM:       Atmel, LLC.
          RE:         Severance Agreement and Release



         In connection with the termination of your employment from Atmel, LLC. effective April 6, 2016
         (the "Termination Date"), we are offering you a severance package on the terms set forth in this
         document. This offer is voluntary and whether you accept it is entirely up to you. If you decide to
         accept this offer by signing at the end of this document, you will be entering into a legally-binding
'        contract (the "Agreement") with Atmel, LLC., and its affiliates, parent corporation and subsidiaries
         (collectively the "Company"), on the terms stated below.

                                         Atmel, LLC Commitments to You


      *     In consideration for entering into this Agreement, Atmel, LLC. will pay you a lump sum total of
            $12,538.17 ("Severance"), which is approximately equal to 5 weeks of your current base pay.

      o     The Severance will be paid to you in one lump sum within 30 business days after the Effective
            Date of this Agreement, less all legally-required taxes and withholdings, including any advanced
            PTO pay.

      o    Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
           accrued but unused vacation through the Termination Date. You will receive information
           regarding your rights to health insurance continuation under COBRA. Nothing in this
           Agreement will impair any COBRA rights you have or your rights to vested benefits under the
           terms of Company benefit plans.

      o    Provided that you direct any inquiries by potential future employers to Atmel, LLC. Human
           Resources department, Atmel, LLC. shall use its best efforts to provide only your last position
           and dates of employment.

                                       Your Coinniitnicitt.s to the Comniuiv


     °     You agree to release the Company and its current and former officers, directors, employees,
           shareholders, affiliates, benefit plans, administrators, insurers, trustees, divisions, and
           subsidiaries, and predecessor and successor corporations and assigns (including, but not limited
           to, Atmel, LLC.) (collectively, the "Releasees") and promise never to assert any and all actions,




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        causes of action, grievances, obligations, damages, losses and claims of every kind based on any
        act, omission, event up to the dale you sign this Agreement, including, but not limited to, any
        claims relating to or arising out of your employment andyor termination of your employment
        with Atael, LLC. In particular, you release the Releasees from liability for all claims of any
        nature that you ever had or may have at this time, whether you know about them or not. This
        release specifically includes, but is not limited to, any claims under federal or state law, such as
        Title VII of the Civil Rights Act of 1964, the Age Discrimination in Employment Act
        ("ADEA"), the Americans with Disabilities Act, as well as any contract claim or other claim
        under statutory or common law, to the fullest extent the law permits a release of claims. You
        agree that the waiver and release of claims in this paragraph is on behalf of yourself and your
        heirs, administrators, representatives, executors, successors and assigns, and all such persons are
        bound "by this waiver and release. You agree that the release set forth in this section shall be and
        remain in effect in all respects as a complete general release as to the matters released. This
        release does not extend to any obligations incurred under this Agreement. This release does not
        release claims that cannot be released as a matter of law, including, but not limited to, your right
        to file a charge with or participate in a charge by the Equal Employment Opportunity
       .Commission, or any other local, state, or federal administrative body or government agency that
        is authorized to enforce or administer laws related to employment, against the Company (with
        the understanding that any such filing or participation does not give you the right to recover any
        monetary damages against the Company and your release of claims herein bars you from
        recovering such monetary relief from the Company), This release does not extend to any right
        you may have to unemployment compensation benefits or workers' compensation benefits. You
        acknowledge that you have made no assignment or transfer of any claim or other matter waived
        or released by this Agreement.

   o   You agree that this release constitutes a waiver of all rights under Section 1542 of the Civil
       Code of the State of California, which reads:

           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
           CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
           FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
           BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
           SETTLEMENT WITH THE DEBTOR.                                                                  .

   o   You acknowledge that you arc waiving and releasing rights you may have under ADEA, and that
       this waiver and release is knowing and voluntary. You and the Company agree that this waiver
       and release does not apply to any rights or claims that may arise under the ADEA after the
       Effective Date of this Agreement. You acknowledge that the consideration given for this waiver
       and release is in addition to anything of value to which you were already entitled. You
       acknowledge further that you have been advised by this writing that: (a) you should,consult with
       an attorney prior to executing this Agreement; (b) you have forty-five (45) days within \y3uch to
       consider this Agreement; (c) as set forth in Exhibits A, B and C herein, you have been advised in
       writing by the Company of the class, unit, or group of individuals covered by the reduction in
       force, the eligibility factors for the reduction in force, and the job titles and ages of all
       individuals who were and were not selected; (d) you have seven (7) days following the execution
       of this Agreement to revoke this Agreement; (e) this Agreement shall not be effective until after
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          the revocation period has expired; and (f) nothing in this Agreement prevents or precludes you
          from challenging or seeking a determination in good faith of the validity of this waiver under the
          ADEA, nor does it impose any condition precedent, penalties, or costs for doing so, unless
          specifically authorized by federal law. You and the Atmel, LLC. agree that changes, whether
          materia! or imnuilerial, do nol restart the running of the 45-day period.

      »   This Agreement will become effective and irrevocable on the eighth (8th) day after both parties
          execute it (the "Effective Date"). In the event you sign this Agreement and returns it to the
          Company in less than the forty-five (45) day period identified above, you hereby acknowledge
          that you have, voluntarily chosen to waive the full time period allotted for considering this
          Agreement. You acluiowledge and understand that revocation must be accomplished by a written
          notification to Geri Shaw, Human Resources, Atmel, LLC., that is received prior to the Effective
          Date.

      o   To the extent Employee is in the possession of any Atmel property, including personal
          computers (PCs), laptops, fax machines scanners, copiers cellular phones, Atmel credit cards,
          and any Atmel document's, correspondence and related corporate materials oh all media.
          Employee will return all property to Almel on or before the Tennination Date. In addition,
          computers must be returned with all Company data intact.

      o   You acknowledge and represent that, other than the consideration set forth in this Agreement,
          the Company has paid or provided all salary, wages, bonuses, accrued vacation/paid time off,
          premiums, leaves, housing allowances, relocation costs, interest, severance, butplacement costs,
          fees, reimbursable expenses, commissions, stock, stock options, vesting, and any and all other
          benefits and compensation' due to you.             •

                               ficncral tJndcrstandinKS and Acknowledgements                     -

      o   You hereby reaffirm and agree to observe and abide by the terms of the [Confidential
          Information and Invention Assignment] (the "Proprietary Information Agreement") between you
          and Atmel, LLC., specifically including the provisions therein regarding nondisclosure of the
          Company's trade secrets and confidential and proprietaiy information. You represent that you
          have returned all documents and other items provided to you by the Company, developed or
          obtained by you in connection with your employment with the Company, or otherwise belonging
          to the Company.

      *   This Agreement and the Proprietary Information Agreement states your and the Company's
          complete understandings regarding the subject matter of this Agreement and your rights and the
          Company's obligatipns relating in any way to. or arising out of, your employment with Atmel,
          LLC. No future modification of this Agreement will be Valid unless it is written and signed by
  •       an executive officer of the Company and you. If any provision in this Agreement is deemed
          unenforceable, it will be considered severable and will riot affect the enforceability of the rest of
          the Agreement.             •

      •   You have until 5:00 p.m. on May 23, 2016 to consider whether you want to accept the offer
          Atmel, LLC is making in this Agreement, although you do not need to wait until that time to
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       accept this offer and obtain the Severance. To accept this offer, you must sign this Agreement
       and deliver a signed copy of it to Geri Shaw in Human Resources by the date and time stated in
       this bullet point. As noted above, you will not receive the Severance until after you deliver this
       signed Agreement to Geri Shaw and the seven (7) day revocation period ends and you have not
       revoked this Agreement.

   o   By signing this Agreement, you will be acknowledging that you have read it carefully, that it is
       written in language that you understand, that you have been advised to consult with an attorney,
       that you have been given a reasonable period of time to consider it, and that you are signing it
       knowingly and voluntarily.                                                        .

   In WITNESS WHEROF, the parties have executed this Agreement on the respective dates set forth
   below.



   Date                                                  Robin Berman




   Date                                                  Company Witness/Title

   Internal use:

   Date received:

  7-day revocation period ends:




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                                               EXHIBIT A

                                DECISIONAL UNIT INFORMATION

   The following information is provided under federal law to assist you in making a decision whether
   to sign this Agreement and accept the severance benefits offered by Atmel, LLC:


   1.     Decisional Unit. The decisional unit for this reduction in force is Marcom Group

   2.     Eligibility. All persons included in the Marcom Group are eligible for the program. All
   persons who are being terminated in the reduction in force are selected for the program.

   3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this
   Agreement in which to decide whether to sign this Agreement and return it to the Company. The
   offer of severance benefits contained in this Agreement will expire on the date stated on page 3 of
   the Agreement. Please note that once you have signed this Agreement, you will have seven (7) days
   to revoke your signature and acceptance of the terms of this Agreement.

   4.     Selection Information. Federal law provides certain information be given to you
   concerning individuals who were eligible and selected for the reduction in force and individuals who
   were eligible but not selected for the rcduelion in force. This information can be found in Exhibits B
   and C, which follow this Exhibit A.




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                                              EXHIBIT B
   Job Titles of Individuals Mot Selected from the Decisional Unit for this Reduction in Force and Not
                                        Offered Severance Benefits

                                   Job TitlcCs')                             Age(s)
              Will be mailed to home address




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                                            EXHIBIT C

     Job Titles of Individuals Stilecled from the Decisional Unit for this Reduction in Force and
          Offered Severance Benefits for Sif.ynnR this Separation Agreement and Release
                                       Title                                  Age
            Will be mailed to home.address




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                        EXHIBIT C to A-2




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  11




       TO:              Robin Berman

       DATE:           April 11, 2016

       FROM:            Atmel Corporation

       RE:             Severance Agreement and Release



       As you know, Atmel Corporation ("Atmel") recently became a subsidiary of Microchip Technology
       Incorporated ("Microchip") (the "Merger"). Atmel and Microchip are making this offer, in part to resolve
       any current disagreement or misunderstanding regarding severance benefits previously offered by Atmel. In
       connection with the termination of your employment from Atmel effective April 6, 2016 (the "Termination
       Date"), we are offering you a severance package on the terms set forth In this document. This offer is
       voluntary and whether you accept it is entirety up to you. If you decide to accept this offer by signing at the
       end of this document, you will be entering Into a legally-binding contract (the "Agreement") with Microchip,
       Atmel, and their affiliates, and subsidiaries (collectively the "Company"), on the terms stated below.

                                                Company Commitments to You



       •     In consideration for entering Into this Agreement, Atmel will pay you a lump sum total of (i) $26,079,40
             representing, a lump sum cash payment in cash equal to 0.20 times the your Base Pay, and (li) $1,052.05
             representing, a lump sum payment In cash equal to 50% of the your 2015 Bonus, prorated to the date of
             your Involuntary Termination.

       •     In addition, if you timely elect to continue health coverage pursuant to COBRA, the Company shall
             directly pay, the premium costs for you and your covered dependents, for up to two (2) months
             following the Separation Date, subject to compliance with COBRA, After the Company ceases to pay
             premiums pursuant to the preceding sentence, you may. If eligible, continue healthcare coverage at
             your expense In accordance with the provisions of COBRA.                               •

       •     The'li5neflt3~de"s"crib"ed~ln~the"two~bullets above arethe "Severance Benefits.-

       »     Regardless of whether you sign this Agreement, you will he paid all earned but unpaid salary and
             accrued but unused vacation through the Termination Date. You will receive Information regarding your
             rights to health Insurance continuation under COBRA, Nothing In this Agreement will Impair any COBRA
             rights you have or your rights to vested benefits under the terms of Company benefit plans.

       o     Provided that you direct any inquiries by potential future employers to Atmel Human Resources
             department, Atmel shall use Its best efforts to provide only your last position and dates of employment.

       o     The Company will not contest any claim for unemployment benefits that you may file.




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                                          Your Commitments to the Company


     a    You agree to release the Company, Its subsidiaries and affiliates, and Its and their officers, agents and
          employees from any liability relating to or arising out of your employment with any of them. This
          includes a release of any liability for claims of any kind that you ever had or may have at this time,
          whether you know about them or not. This release is as broad as the law allows and Includes, a release
          of claims under federal and state laws, such as anti-discrimination, harassment and retaliation /alvs and
          expressly Includes any claims under the Age Dis'criminatlon In Employment Act. This release also
          includes a release of any tort and contract claims, and any other claims that could be asserted under
          federal, state or local statutes, regulations or common law,                        .                     •

     a    You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
          State of California, which reads "a general release does not extend to ctalnts which the creditor does
          not know or suspect to exist in his or her favor at the time of executing the release, which If known by
          him or her must have materially affected his or her settlement with the debtor."

     •>   in agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or to
          provide Information to, or file a charge with, any government agency. However, in agreeing to this
          release, you are agreeing that you will not accept any money, or the reinstatement of your employment,
          for any claim you have released.


                                    General Understandings and Acknowledrcements

     •    This Agreement states your and the Company's complete understandings regarding your rights and the
          Company's obligations relating In any way to, or arising out of, your employment with the Company. No
          future modification of this Agreement will be valid unless it is written and signed by an executive officer
          of the Company and you. If any provision in this Agreement Is deemed unenforceable, it will be
          considered severable and will not affect the enforceability of the rest of the Agreement.

 .   o    You have until 5:00 p.m. on May 27, 2016 to consider whether you want to accept the Severance
          Benefits by signing this Agreement, although you do not need to wait until that time to accept this offer
          and obtain the Severance Benefits.

     °    To accept this offer, you must sign this Agreement and deliver a signed copy of It to Geri Shaw in Human
          Resources by the date and time stated In the previous bullet point. As noted below, you will not receive
          the Severance Benefits until the next administratively practicable payroll after the eighth calendar day
          after you delivered this signed unrevoked Agreement to Geri Shaw. If you decide to accept this offer and
          you deliver a signed Agreement to Geri Shaw, you have seven (7) calendar days to change your mind
          and revoke the Agreement, To revoke this Agreement after signing it, you must deliver a written notice
          of revocation to Geri Shaw within seven (7) calendar days after you gave her the Agreement with your
          signature.

     «    By signing this Agreement, you are acknowledging that you have read it carefully, that it Is written in
          language that you understand, that you have been advised to consult with an attorney, that you have
          been given 45 days to consider it, and that you are signing it knowingly and voluntarily.
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   «   If you sign and return this document In less than the time you have been given to consider it, you are
       voluntarily agreeing to waive the remaining portion of the time that you have been given to consider It.

       ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




   Date                                                     Robin Herman




   Date                                                     Company Wltness/TItie


   Internal use:

   Date received:

   7-day revocation period ends:




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                                                    EXHIBIT A

                                        DECISIONAL UNIT INFORMATION

                                                                                                      to sign
   The following information is provided under federal law to assist you In making a decision whether
   this Agreement and accept  the  severance benefits offered by Atmel, LLC:


           Decisional Unit. The decisional unit for this reduction in force Is Marcom Group

   2.      Eligibility. All persons Included In the Marcom Group are eligible for the program, All persons who
   are being terminated in the reduction In force are selected for the program.

   3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this Agreement In
   which to decide whether to sign this Agreement and return it to Geri Shaw at Atmel, The offer of severance
                                                                                                       Please
   benefits contained in this Agreement will expire on the date stated on page 2 of the Agreement.
                                                                                                          and
   note that once you have signed this Agreement, you will have seven (7) days to revoke your signature
   acceptance of the terms of this Agreement.

           Selection Information, Federal law provides certain Information be given to you concerning
                                                                                                             but
   individuals who were eligible and selected for the reduction In force and individuals who were eligible
                                                 information can be found In Exhibits B and C, which follow this
   not selected for the reduction In force. This
   Exhibit A.




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                                                       EXHIBIT B

                                                                                                 and Not Offered
    Job Titles of Individuals Not Sftlccted from the Decisional Unit for this Reduction In Force
                                                  Severance Benefits

                                        Job Titlets)                                  Age(s)

               attached




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                                                 EXHIBIT C

     Job Titles of Individuals Selected from the Decisional Unit for this Reduction in Force and Offered
                    Severance Benefits for Slfjniiifj this Separation Agreement and Release
                                        Title                                      Age

            attached




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                                 DECLARATION OF BO KANG



           I, Bo Kang, declare as follows:

           In 2015,1 was employed by Atmel as a Senior Applications Manager. In July 2015,1 and
   other Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee
   Benefit Program", along with an Addendum to the letter providing additional details about the
   severance program (hereafter collectively "Severance Plan"). A copy of the Severance Plan
   documents that I received in July 2015 is attached hereto as ExhibitA. The Severance Plan
   provided for certain severance benefits if Atmel was acquired and I was subsequently
   terminated.

           During 2015,1 learned that Atmel had entered into an agreement with a company called
   Dialog pursuant to which Dialog would acquire Atmel. In approximately December 2015,1 heard
   that Dialog might not be the buyer and that Microchip might be the potential purchaser. Around
   this time period, I had several conversations with my manager, Steve Pancoast (the Vice
   President of Software, Tools and Applications) about the ongoing validity of the severance.
   Pancoast communicated to me his understanding and belief that the severance remained In
   place.

           In approximately early February 2016,1 read the Frequently Asked Questions ("FAQ's")
   that had been published for Atmel employees regarding the potential Microchip acquisition of
   Atmel. A copy of the FAQ's is attached as Exhibit B. The FAQ's appeared to confirm that
   Microchip would be honoring the Severance Plan if it acquired Atmel, consistent with what
   Pancoast had expressed to me.

          In early March 2016,1 spoke with Pancoast about my possible future if Microchip
   acquired Atmel, and how my position might not be safe. Pancoast discussed with me that both
   of us would have some financial protection for a transition period because of the severance
   package, as assured by the FAQ's.

           In early April 2016,1 was on a pre-arranged vacation overseas, and my paid time off was
   scheduled to last through April 11, 2016. I returned to work at Atmel on April 12, 2016 and
   learned that many employees had received a letter on April 6, 2016 terminating them and
   offering six weeks of severance. Because I had been on vacation, I Bid not receive such a
   letter. However, when I returned to the office on April 12, 2016,1 was informed by Human
   Resources that my employment was being terminated effective April 12, 2016. I then received a
   letter which was dated April 11, 2016. That letter indicated that Microchip would pay me 50% of
   the severance benefits due under the Severance Plan. A copy of the April 11, 2016 letter which
   I received is attached hereto as Exhibit C.              '

           In all of my discussions with other Atmel employees prior to April 2016, there was no
   doubt in anyone's mind that the Severance Plan was valid and intact for the upcoming Microchip
   acquisition, based on assurances they had received from Atmel management. 1 and other
   employees were shocked when the Severance Plan was not honored by Microchip after our
   termination in April 2016.                                                •




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          I relied on receiving severance benefits under the Severance Plan in making the
   decision to saty at Atmel through the time of the Microchip acquisition, and I would have left and
   looked for another job outside Atmel long before April 2016 if I had known that Microchip was
   not going to pay me the severance benefits under the Severance Plan.

           I declare under penalty of perjury that the foregoing is true and correct and that this
   declaration

   was executed on May (8 , 2016 at             phzcLSg./
      Qi/d-&*•>'}                   i




                                                  Bo Kang




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                    EXHIBIT A to A-3




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                                  Vs
                                                    STRICTLY PERSONAL AND CONFIDENTIAL

     July 9, 2015

     Bo Kang
     Re: Severance Guarantee

     Dear Bo,

    Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize that
    recently there has been significant market speculation regarding possible transactions involving the company and
    understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
    on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
    Benefit program that is intended to ease concerns among our employees. Under this program, you will have the
    opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
    occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include:

          »      Cash Severance: 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
                 transaction closes); and
         »       Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time of
                 termination; the proration will be based a determination of your MIP orSIP at the time of termination, as
                 determined by the Company; and
         »       COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company

    All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
    receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
    Company (or its successor) if a transaction occurs (the "Release").

    Nothing In this letter is Intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
.   the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
    remain an at-will employee far all purposes, meaning that you or the Company (or its successor) may terminate your
    employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

    Bo, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our recognition
    and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

    Sincerely,


    Suzanne Zoumaras
    Senior Vice President, Global Human Resources

    Attachment




    Steven Pancoast
    Steven Pancoast




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                                                 STRICTLY CONFIDENTIAL


                                                   ADDENDUM TO
                                     U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                     July 9, 2015



 Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
 July 1, 2D15 and will terminate on November 1, 2015 unless an Initial Triggering Event (as described below) has
 occurred prior to November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
 effect for 18 (eighteen) months following that Initial Triggering Event.

 Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
 consummated.

Initial Triggering Event; Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
November 1,2015, that will result In a Change of Control of the Company. If a Definitive Agreement is not entered
into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
will automatically expire, unless expressly extended by the Company's Board of Directors.

Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
benefits if, but only if:

     A.       A Change of Control actually occurs; and
     B.       Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
              months of the execution date of the Definitive Agreement.

     For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Conlrol" and
     "Cause" will be the some as that contained in the Company's Senior Executive Change of Control and Severance
      Plan.

Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits underthe U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9, 2015.

Terminations Not Subject to Program: If your employment is terminated at anytime before or after an Initial
Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you   .
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program is a "double trigger" plan, meaning that no benefits are available underthis Program unless there is both a
Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. Ifany portion
of the Severance Guarantee Benefits is scheduled to be paid prior to the date the Release is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you Will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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  Payments: AH Severance Guarantee Benefit payments will be rr-ade 53 socn as administratively practicable as
 determined by the Company,, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit paynients
 are intended to be exempt from application of Section 409A of the Code, and any ambig'jities herein shall be
 interpreted accordingly.

   Additional Matters. Any successorto the Company will assume the obligations under the Program. For all purposes
   under the Program, the term "Company" will include any successor to the Company's business and/or assets which
   becomes hound bv the terms of the Program by opsration of law, or otherwise. The Company will withhold from any
  severance benefits all federal, state, local and other laxes required to be withheld therefrom and any other required
  payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
  action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the-
  Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
  conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
  Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
  of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
 in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
 in writing to one or more officers of the Company all or any portion of its authority or responsibility With respect to
 the Program; provided, however, that any Program amendment or termination or any other action that could
 reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensstion Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced in accordance with the internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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                       EXHIBIT B to A-3




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                                                             Friday, April 8,2016 at 12:19:18 PM Pacific Daylight Time


 Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
 Date:    Wednesday, February 3, 2016 at 5:57:34 PM Pacific Standard Time
 From:     Human Resources

 Dear Atmel Employees,                •

I am pleased to announce that today we posted our first set of Frequently Asked Questions (FAQs) related to
the Atmel/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at
http://coiin.yi t.in.nn'-l.ajin/iruiex.lu ml and are focused on answering questions related to compensation and
benefits.

As we have additional information, we will provide further updates and FAQs.

Warm regards,

Suzy
Suzanne Zoumaras | Senior Vice President, Global Human Resources
0: 408.-187.2604 \ M: 858.354.4877




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                                 FREQUENT LY ASKED QUESTION S
                                     Microchip Transactio n:
              Effect on Compensa tion and Benefits for U.S. Employees


     What happens to my employment and compensatory arrangements with Atmel after the closing?

     Microchip has agreed to honor each of your employment and compensatory contracts (including
     retention awards and employment, employment continuation, severance, incentive and change in
     control agreements) with Atmel, or its subsidiaries, that are in effect immediately prior to the closing
     of the transaction.

     How will my compensation and benefits be affected after the transaction closes?

     Microchip has agreed not to reduce your base salary or base wages through December 31, 2016. In
     addition, Microchip has promised that your aggregate compensation and benefits package for 2016
     will be comparable in value to the aggregate value of your pre-closing compensation and benefits
     package, excluding the value attributed to any pension plans or employee stock purchase plans.

     Will I participate in the same Atmel benefit plans following the transaction?

     We anticipate that sometime following the closing of the transaction Atmel's benefits will be
     transitioned onto Microchip's benefit plans.The timing of this transition is yet to be determined. Upon
     the transition to the Microchip benefits plans, you will be immediately eligible to participate in all
     Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
     Microchip to provide you information aboutthe Microchip plans in the near term.

     Will I receive service credit for purposes of Microchip's benefits plans?

     Microchip has agreed to provide you with the same service credit that Atmel recognizes for you as of
     the closing (as if you had provided such services to Microchip), for purposes of eligibility, vesting, and
     level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health insurance plans,
     paid time off).

     What will happen to my Atmel equity awards after the transaction closes?

     RSUs & PttSUs. At the closing of the transaction, Microchip will assume each continuing employee's
     then-outstanding and unvested awards of restricted stock units (RSUs) and performance-based
     restricted stock units (PRSUs), and convert those awards into awards for Microchip common stock
     with an equivalent value as determined under the definitive agreement. The converted awards will
     retain the same material terms (e.g., vesting, including any rights you may have to accelerated vesting
     under the terms of your award, your employment agreement or Atmel's stock plan) as your Atmel
     award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (including
     any portion that vests on the closing of the transaction) for which shares have not yet been issued,
     will be settled in shares, subject to applicable withholding taxes, and converted into the right to
     receive the merger consideration for those shares after the closing just like any other Atmel
     stockholder.

     .Slock Options. All unvested Atmel stock options that you hold will accelerate and become vested and
     exercisable in full immediately prior to the closing, subject to your continued service through the
     closing. We will provide more information to you as we get closer to the closing date on how you may
     exercise your stock options that are eligible for this accelerated vesting in connection with the closing.


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      If you do not exercise your stock oplions prior to the closing, Atmel will automatically "net exercise"
      your stock options, which means I hat the exercise price and applicable withholding taxes will be paid
      by withholdini] the appropriate amount of shares otherwise issuable to you on the exercise of your
      stock options. You will receive merger consideration for the shares you are issued for your options
      after the closing just like any other Atmel stockholder.

      fiirchanr? RlHlns under the Kmnlovee Sior.l: Pnrchnst* Plan (ESPP). Atmel expects to continue the ESPP
      until just before closing. For any offering period under the ESPP that would otherwise be in effect at
      the closing of the transaction, Atmel will shorten the offering period so that purchases v^ill be made
      on the 10th business day prior to such closing. All shares of Atmel stock purchased on that purchase
      date will not be released until the closing and will be treated like all other outstanding shares at the
      closing. The ESPP will terminate immediately prior to the closing.

      How much will I receive for my shares of Atmel stock?

     Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 in cash,
     plus a fraction of a share of Microchip common stock having a value of approximately $1.15; provided
     however that Microchip will make a cash payment in lieu of issuing a fractional share of its common
     stock. For more Information, please see our filing on Form 8-K from January 19,2016 at:
      hil.n://v.'WW.sec.ROv/Ai'chlV6s/edRar/dat3/87?.-'t4S/0Q0l5'/lQ49lGO10S^l/llC.0017S Rk.htm

     When is the transaction expected to close?

     We expect the transaction to close during the second calendar quarter of 2016, subject to customary
     closing conditions, regulatory approvals and Atmel stoelcholder approval. Until then, Atmel and
     Microchip will continue to operate as independent companies.

     Will there be salary adjustments in 2016?

     Atmel agreed not to Increase salary for any employees before July 1, 2016. We expect Microchip to
     review compensation arrangements, Including salary levels, during the integration process.

     Who should I contact If I have questions about the transaction?

     If you have any questions, please contact Atmel's HR department.




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                                                     Additional Inrormation

      This communicaticn may be deemed to be 'soliciration materiel in lespect of tl^e proposed meiger Involving
       Mir.rochip and Atme!. in connection with the proposed inergei'. Microchip will fiie with the U.S. Securities and
      Exchange Cominissiori (the "SEC") a Hegistiation Stsiement on Form S-4 (the "Hegistrntion Statement')
      containing a pior.pectus with icspect to the Microchip common stock to be issued in the prpiGseri merger and
      a proxy statement of At me I in connection with the propcised merger (the "Pra>i\> 5tntemem/Pia!>pecUis"). Gsch
      o! Micrcchip and Atme! irteno's to file other document;, with the Sf:C. regnrding the proposed metger. The
      definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmel and will contain impoitant
      infoimatior- about the piopcsed merger and related matters. The final Proxy Staiernent/Prospectus will describe
      the terms ano conditions of the way in which the proposed merger will be implemerted, including details of
      how to vote on fie adoption of the proposed merger agreement. Any response to the proposed mergei should
      be made only on the basis of the information in the Proxy Statement/Prospectus.

      Securityholders of Atmel may obtain, free of charge, eopias of the Prosy Statement/Pros pectus and ReglstrBTion
      Statement, and any other documents filed by Atmel and Mici octvp with the SEC inconnaction With the proposed
      merger at the SEC's website at www.sec.gov. Securityholders of Atmel may obtain, free of charge, copies of the
      Proxy Statemcitt/Prospeclus and any other accuments filed by Atmel with the SEC in connection with the
      proposed meiger in the "investors" section o! Annel's website st www.atniel.com.

      BEFORE MAKING AN INVESW.IiNT OR VOTING DECISION, WE URGE SECURITYHOLDERS Oh" ATMEL TO READ
      CAREFULLY THE PROXY STATEMENT/PROSPECTUS AND REGISTRATION STATEMENT (INCLUDING ANY
      AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS THAT MICROCHIP OR
      ATMEL WILL FLE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANI
      INFORMATION ABOUT ThE PROPOSED MERGER.

     This communication does not constitute an offe' to buy or exchange, or the solicitation of sn offer to sell or
     exchange, any securities, nor shall there be any saie of securities in any juiisdicrion in which such offer, sale or
     exchange wculd be uilawful prior to registration or qualification iir.ciei' the securities laws of any such
     jurisdiction. This communication is not a substitute for any prospectus, prc.xy statement or any other document
     that Atnnel or Microchip .nay file with the SEC In connection with' tlje proposed merger.

                                                Participants in the Solicitation

     Avirel, Microchip and their respective diiectors and executive officeis may be deened tc be participants in tha
     solicitation of proxies from AtmePs stockholders in connection with the adoption of the merger agreement in
     connection with the proposed merger and may hsve direct or indirect interests in the proposed merger.
      Information about Microchip's directors and .executive officers is set forth in Microchip's Proxy Statement on
     Schedule l.'iA for :tr. 2015 Annual.Iv'.se-ting of Stockholders, which was filed with the SEC on July 10, 2015, and
     its Annual Repot on Form 1C-I< foi the fiscal year ended March 31, 2015, which was filed with the SEC on May
     27, 2015 and amended cn June S, 201S. These documents are available free of charge at the SEC's website at
     www.sec.gov and from Miciochip's website at www.microchlp com/investorshome sspx. Information aho^t
     Atmel's directo?'.c and executive officeis and their respectivi? interests in Atmel by security holdings or otherwise
     Is set for ;h in Atmel's Proxy Statement on Schedule l4Afor its 201S Annual Meeting of Stockholders, wh :h was
     filed with the SEC on April 3. 2015. These documents are ava'isble free of charge at the SfrC's website at
     www.sac.gov and from the "Investors" section of Atmel's website at vjww.atmel.com. Additional information
     regarding the interests of participants sn the solicitation of proxies in connection with the proposed mergei will
     be inclucied in the Proxy Statement/Prospectus and the Registration Statement that Microchip will fife with the
     SEC.

                             Cautionary Statements Related to Forward-Looking Statements .
     This communication contains; or may contain, "fcrward-iooking statements" in relation to Atmel and Microchip,
     cs well as other future events and their potential ejects on Atmel, Microchip and the combined company that
     are subject to risks end uncertainties. Generally, the words "will." "may," "should," "continue." "believes."
     "taigets," "plans," "expects," "estimates," "aims," "Intends," "anticipates" or similar expressions or netwtives
     thereof identify forward-looking statements. Forward-looking staiemenblnclude siatemenis relating to (i) the
     benefits of the meiger, including future flnsncial and operating results of the combined company, Microchio's


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       operations; and (S) the .iiHlr.ipsted timings of the Atnel stocKhoioets' ineeting and completion cf Ihp proposed
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        Atn-el an/I involve risks snd 'jncertsinties that CCLICI cauie a-.tual result? 10 ciitrer materially f:om thoje
        expresseo in. the forward looking statements. Many of these rsks and uncertainties •elate to factors tnat are
        beyorid Almei's Ebllity to contro' or estimate pr-fhely. Those factors ipduae !l) the ojtcome cf any egal
        croceeuing.'i fiat zcijld be ;ristitated against Atmel 0: its directors related to the discussions with Microchip, the
        merger agreements vvith Dialog cr Microchip or any unsoiicited proposal; (2) the occurrence of a.ny evsnt,
        change 01 other clfcumstanccs that coulri give rise to the term nation cf tne merger agreeniEiit With Microcnip;
        (3) the abi.ity to obtain govemmentsl and regulatory approvals cf the pioposed merger between At.nel ana
        Microchip; (4) the possiiiility that the proposed merger betwaen Atmel and Microchip does not close whan
       expected or at all, or that tne poitles, ir oiccr to achieve gcvernmental and regulatory approvals, may be
        reyji.-ed tc modify aspects of trs oropoitd merger or tc accept -nndit ons that cculd adversely affect the
       combined co:rpany or the expected br.'icfirs cf the .vrapesed merger; IS] tne possibility that other rcmpetins
       offe's 01 acquisition proposals w il be inBar-; ;6) the abijey to realise the expected synergies or ssvirgs from tr>e
       proposed merger 1:1 the amounts ci In t^ie timeframe anticipated; (7| the potential harm to customer, supplier,
       employee aro other relationsh'os caused by the announceTient 01 closing of the p'oooiec merger; 13) the aridity
       to imegiote Atncl's busli^esscs Into that of Microchip in a timely and ccst-ettc-ent T.ar.ner; (9) the combined
       company's ability to develop ancJ market products containing the respective technologies ox Atnr.ei and
       Microc.Vp 'n a timely and ccst affective "nan-itr; (10) the combiried ccmpany's sblliiy tc protect intellectual
       p: jpe'ly rights; ;il) liclgatior ('nciud r.g Intel ectual property' litigation n vvhicn Me coxbined company way be
      involved or in which cjstomcrs of the combined company may be Invclveo, especially ir the mobile device
      sect!?'), and thr possible unfavorable results o' legal aiocecdings (12} ceperdenc* ::n key perscnnel: (13} the
      inohilitv lo eai re tne anrcipateo benefits of acqcisitions snc restructuring activities, including In coi-rcctior
      Witt the proposed rneigcr, or otner initiatives :r: a ti nely msnrer or at all; {14] the develooment of the Tarkets
      tcr Atmel's end Microchip's products; (I5i 1 SKS leiated to Miciecho's ab lity to successfully ir Dlemcni it;
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     (Jlobai macioeconcmlc ard geo-poliiiial conditions; pS) financial market ccnditions; (261 business interi un-tioris,
     nature! disasters or terrorist acts; and (27) other risks and urcertaint cs, inc.tdine those detailed fro-ri time lo
     time in Microchip's and Atrnel'i jtricdic rsporii ano other fliirgs with the SEC or c'-wr regulatory authorities,
     including Atmel's Annua! Repon.on : cir,i 10-K for tne fiscal year snded Da.eiTiber 31,2014 and Quarterly Report
     on Form 1G-0. lor tne quarterly period andsd Septembei 3C.. 2C1F (whether u-ider the caption Risk Factors 01
     rorward LocKing Staiemert? or elsov^here) and Microc-lip's Annual Report on Form 10-I; foi vne f seal year

     endeo Iv'.arc'i 31. 2015, whirh was filed with the SEC or. May 27. 2015.and srnendec cn .une S, 2013 and
     (Junrteriy -teport or. rorm iO-O.roi "he quartei ,y penod ended September 30, 2015 (w-eiiigi undc* the caption
     Risk Factors or Torward Looking Stateiv.ents or cisewhere).

     ixieither Atmel nor M;c'ocr.;p can give any assurance that suc.i forward-looking ststcmcnts will prove to be
     correct. The reader is cautioned not to plate und je 'eliance or thsse foward-locking statements, which speak



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      only as of the ciste of this annountefrent. Neither Atmel nor Microchip nor any other person uncertakes any
      obligation to uposte onsvise publicly any cf t"g forward-locking statements set out herein, wnat'nei as a lesult
      uf new information, future events c otherw'je. except to the extent legally icquired.




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    TO:              Bo Kang

    DATE:            April 11, 2016

    FROM:            Atmel Corporation

    RE:              Severance Agreement and Release



   As you know, Atmel Corporation ("Atmel") recently became a subsidiary of Microchip Technology
   Incorporated ("Microchip") (the "Merger"). Atmel and Microchip are making this offer, In part to resolve
   any current disagreement or misunderstanding regarding severance benefits previously offered by Atmel. In
   connection with the termination of your employment from Atmel effective April 6, 2016 (the "Termination
   Date"), we are offering you a severance package on the terms set forth in this document. This offer is
   voluntary and whether you accept it is entirely up to you. If you decide to accept this offer by signing at the
   end of this document, you Will be entering into a legally-binding contract (the "Agreement") with Microchip,
   Atmel, and their affiliates, and subsidiaries (collectively the "Company"), on the terms stated below.

                                               Company Commitments to You



   •      In consideration for entering into this Agreement, Atmel will pay you a lump sum total of (i) $32,000.00
          representing, a lump sum cash payment in cash equal to 0.20 times your Base Pay, and (11) $3,024.66
          representing, a lump sum payment in cash equal to 50% of your 2015 Bonus, prorated to the date of
          your Involuntary Termination.

   •      In addition, if you timely elect to continue health coverage pursuant to COBRA, the Company shall
          directly pay, the premium costs for you and your covered dependents, for up to two (2) months
          following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
          premiums pursuant to the preceding sentence, you may, if eligible, continue healthcare coverage at
          your expense In accordance with the provisions of COBRA.

   •      The' Ix-.-nefii-'i described in the Iwo bullets nbove ?ire Ihe "Scvernnco Dcnrflrs."

   •      Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
          accrued but unused vacation through the Termination Date. You will receive information regarding your
          rights to health Insurance continuation under COBRA. Nothing in this Agreement will impair any COBRA
          rights you have or your rights to vested benefits under the terms of Company benefit plans.

   »      Provided that you direct any Inquiries by potential future employers to Atmel Human Resources
          department, Atmel shall use its best efforts to provide only your last position and dates of employment.

          • The Company will not contest any claim for unemployment benefits that you may file.




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                                        Your Commitments to the Company



        « Vou agree to release the Company, its subs/diaries and affiliates, and its and their officers, agents
       and employees from any liability relating to or arising out of your employment with any of them. This
       includes a release of any liability for claims of any kind that you ever had or may have at this time,
       whether you know about them or not. This release is as broad as the law allows and includes a release
       of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
       expressly includes any claims under the Age Discrimination In Employment Act. This release also
       includes a release of any tort and contract claims, and any other claims that could be asserted under
       federal, state or local statutes, regulations or common law.

        • You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of
       the State of California, which reads "a general release does not extend to claims which the creditor
       does not know or suspect to exist in his or her favor at the time of executing the release, which if
       known by him or her must have materially affected his or her settlement with the debtor."

        • In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement
       or to provide information to, or file a charge with, any government agency. However, in agreeing to this .
       release, you are agreeing that you will not accept any money, or the reinstatement of your employment,
       for any claim you have released.


                                 General Understanclini'.sancl Acknowledftemcnts

   -   This Agreement states your and the Company's complete understandings regarding your rights and the
       Company's obligations relating in any way to, or arising out of, your employment with the Company. No
       future modification of this Agreement will be valid unless it is written and signed by an executive officer
       of the Company and you. If any provision in this Agreement is deemed unenforceable, it will be
       considered severable and will not affect the enforceability of the rest ofthe Agreement.

   •   You have until 5:00 p.m. on May 27, 2016 to consider whether you want to accept the Severance
       Benefits by signing this Agreement, although you do not need to wait until that time to accept this offer
       and obtain the Severance Benefits.

   •   To accept this offer, you must sign this Agreement and deliver a signed copy of it to Seri Shaw in Human
       Resources by the date and time stated in the previous bullet point. As noted below, you will not receive
       the Severance Benefits until the next administratively practicable payroll after the eighth calendar day
       after you delivered this signed unrevoked Agreement to Geri Shaw, If you decide to accept this offer and
       you deliver a signed Agreement to Gerl Shaw, you have seven (7) calendar days to change your mind
       and revoke the Agreement. To revoke this Agreement after signing it, you must deliver a written notice
       of revocation to Geri Shaw within seven (7) calendar days after you gave her the Agreement with your
       signature.

   ®   By signing this Agreement, you are acknowledging that you have read it carefully, that It is written in
       language that you understand, that you have been advised to consult with an attorney, that you have
       been given 45 days to consider it, and that you are signing it knowingly and voluntarily.
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   »   If you sign and return this document In less than the time you have been given to consider it, you are
       voluntarily agreeing to waive the remaining portion of the time that you have been given to consider it.

       ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




   Date                                                     Bo Kang




   Date                                                     Company Witness/Title

   Internal use:

   Date received:

   7-day revocation period ends:




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                                                    EXHIBIT A

                                        DECISIONAL UNIT INFORMATION

   The following information is provided under federal law to assist you in making a decision whether to sign
   this Agreement and accept the severance benefits offered by Atmel:


           Decisional Unit. The decisional unit for this reduction in force is MCU Apps Engineering Group

          Eligibility. All persons Included in the MCU Apps Engineering Group are eligible for the program. All
   persons who are being terminated in the reduction in force are selected for the program.

   3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this Agreement in
   which to decide whether to sign this Agreement and return it to Geri Shaw at Atmel. The offer of Severance
   Benefits contained in this Agreement will expire on the date stated on page 3 of the Agreement. Please
   note that once you have signed this Agreement, you will have seven (7) days to revoke your signature and
   acceptance of the terms of this Agreement.

   4       Selection Information. Federal law provides certain information be given to you concerning
   individuals who were eligible and selected for the reduction in force and Individuals who were eligible but
   not selected for the reduction in force. This information can be found in Exhibits B and C, which follow this
   Exhibit A.




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                                                Data Sheet by Age
                                                      4/6/2016

                                                      EXHIBITS

    Job Titles of Individuals Not Selected from the Decisional Unit for this Reduction in Farce and Not Offered
                                                Severance Benefits

                                        Job Titb(s)                                  Agefs)

               attached




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 EXHIBIT B -Atmel MCU Apps - (4/6/16)
 Title                                  Age(s)
 Sr. Applications I Systems Engineer     32
 Senior Applications Engineer            32
 Staff Applications Engineer             38
 Manager, Systems Applications           49
 Sr. Applications Manager                50
 Sr. RF Applications Engineer            57
 Staff Applications Engineer             61
 Sr. Applications Engineer               65




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                                             Data Sheet by Age
                                                 4/6/2016

                                                 EXHIBIT C

      Job Titles of Individuals Salecledfrom the Decisional Unitforthis Reduction in Force and Offered
                     Severance Benefits for SiRninuthls Separation Afjrecment and Release
                                          Title                                    Age
            attached




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 EXHIBIT C - Atmel MCU Apps (4/6/16)
 Job Title                                  Age(s)
 Senior Manager, Applications Engineering    50




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                       EXHIBIT A-4




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                                             DECLARATION OF THONG VAN VU




            I, Thong Van Vu, declare as follows:

          In 2015,1 was employed by Atmel as a Digital Marketing and Online Acquisition Manager. In July
  2015,1 and other Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee
  Benefit Program", along with an Addendum to the letter providing additional details about the
  severance program (hereafter collectively "Severance Plan"). A copy of the Severance Plan documents
  that I received in July 2015 is attached hereto as Exhibit A. The Severance Plan provided for certain
  severance benefits if Atmel was acquired and I was subsequently terminated.

         During 2015,1 learned that Atmel had entered into an agreement with a company called Dialog
  pursuant to which Dialog would acquire Atmel, In approximately late December 2015 or early January
  2016,1 heard that Dialog might not be the buyer and that another potential purchaser had emerged. In
  early January 2016,1 heard that ft was Microchip that was the new emerging buyer. During this time
  period, I was assured by various Atmel employees (including Sanders Arts, the Vice President of
  Marketing) that the Severance Plan was in place and that I should not go look for another job outside
  Atmel, since if I wound up losing my job through the acquisition that I was protected by the Severance
  Plan and so would have time available to find another job, with my severance payout acting as a
  financial bridge.

         In February 201S, after it had become clear that Microchip was the entity that was going to
  purchase Atmel, I was assured by Shantanu Dhavale (Director) that the Severance Plan was in place and
  that 1 should not go look for a job outside Atmel (as I was inclined to do). Mr. Dhavale assured me that if
  I wound up losing my job through the Microchip acquisition, that I and the other team members would
  still be protected by the Severance Plan and so would have time available to find another job. We also
  discussed that the Severance Plan would offer a bridge to our next transition and allow us to find out
  more about the Integration plans from the merger with Microchip. Mr. Dhavale encouraged me to
  believe that, because of the severance package, I would have time to find another Job and that 1 should
  stay at Atmel. and see what was going to happen with the company.

           In February 2016,1 read a memo entitled Frequently Asked Questions ("FAQ's") that had been
  published for Atmel employees regarding the potential Microchip acquisition of Atmel. A copy of the
  FAQ's is attached as Exhibit B. As I read the FAQ's, they confirmed that Microchip would be honoring
  the Severance Plan if it acquired Atmel.

          In March 2016,1 was assured by Laura Roselli (Director) that I should not look for another job
  outside Atmel (as I was inclined to do), and assured me that If I wound up losing my job through the
  Microchip acquisition that I would be protected by the Severance Plan. Ms. Roselli encouraged me to
  believe that, because of the financial security of the severance package, combined with my unique
  digital marketing role, I should stay at Atmel and see whether I would be part of the team following the
                                                             1
  merger.




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           On approximately April 6, 2016,1 and many other Atmel employees received a letter informing
   us that we were being terminated effective immediately. These letters Indicated that Microchip would
   only pay 4 weeks of salary as severance. A copy of the April 6, 2016 termination letter I received is
   attached hereto as Exhibit C. On that same day, I had a discussion with Ravi Ball (a Director of Human
   Resources). Bali expressed that he was shocked that Microchip was not honoring the Severance Plan.
   Bali told me that it was a complete surprise to the Atmel Finance team, Investor Relations team and .
   Human Resources team that Microchip was not paying the severance.

           On approximately April 11, 2016,1 and the other Atmel employees who were terminated
  received a new letter, which indicated that Microchip would pay us 50% of the severance benefits due
  under the Severance Plan. A copy of the April 11, 2016 letter I received is attached hereto as Exhibit D.

           I relied on the Severance Plan and the assurances I had received from numerous Atmel
  managers in deciding to stay with Atmel through the Microchip acquisition. I would have left Atmel and
  found another job long before the Microchip acquisition if I had known that Microchip was not going to
  pay me the severance benefits under the Severance Plan. In fact, I and many other employees
  considered Microchip an undesirable purchaser for Atmel, and I was very concerned about the future of
  Atmel and my own Job security when I learned that Microchip was attempting to acquire Atmel.




          I declare under penalty of perjury that the foregoing is true and correct and that this declaration

  was executed on May     jK, 2016 at                                     (^JQJ                               ,




                                                     -AX
                                                      Thong Van Vu




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                    EXHIBIT A to A-4




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                                              STRICTLY PERSONAL AND CONFIDENTIA L




Thong Van Vu
F o : Severance Guarantee

Dear Thong Van,

                                                                                                                 that
Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize
recently there has been significant market speculation regarding possible transactions involving the company and
                                                                                                                focused
understand that such rumors can be distracting and unsettling. To support our employees and to keep even/one
on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
Benefit program that is Intended to ease concerns among our employees. Under this program, you will have the
                                                                                                                 after the
oppo'tunity to receive benefits as described below if your employment is involuntarily terminated without Cause
occu'rence of a Change   of Control. These benefits {collectively, the "Severance Guarantee Benefits") Include:


     «   Cash Severance; 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
         transaction closesj; and
     «   Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever yoy are eligiblefor at the time of
         termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
         determined by the Company; and
     •   COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company

                                                                                                                  To
All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter.
                                                             separation and release agreement reasonably acceptable to the
receive any benefits, you will be required to sign a form of
Company for Its successor) If a transaction occurs (the "Release").

                                                                                                                            than
Nothing in this letter is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other
                                                    of the Severance  Guarantee   Benefits provided  by this letter, You shall
the provision by tha Company (or Its successor)
                                                                                                                       your
remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate
                                           or for no  reason, with or without  Cause, and  with or v/ithout notice.             .
employment at ai ly time for any reason

                                                                                                                    our
Thong Van, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey
                                                                                                               success.
recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our

Sincerely,



Suzanne Eoumaras '
Senior Vice President, Global Human Resources

Attachment




Sander Arts
Sander Arts




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                                                STRICTLY CONFIDENTIAL


                                                     ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                 •  July9,2015



Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
occurred prior to November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
effectfor 18 (eighteen) months following that Initial Triggering Event.

Eligibility; Eligibility Is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control Is
consummated.

Initial Triggering Event: Bssnefits under the U.S. Severance Guarantee Benefit Program will become available to
eligible employees only if the Company enters into a definitive agreement (a ''Definitive Agreement"), on or before
November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
into on or before that date, the U.S. Severance Guarantee Benefit Prograrn described in the letter and this Addendum
will automatically expire, unless expressly extended by the Company's Board of Directors.

Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
benefits if, but only if:

     A.     A Change of Control actually occurs; and
     B,     Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
            months of the execution date of the Definitive Agreement.

     For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
     "Cause" will be the same as that contained in the Company's Sen/or Executive Change of Control and Severance
     Plan.

Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits underthe U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9,2015.

Terminations Not Subject to Program: If your employment is terminated at anytime before or after an Initial
Triggering Event has occurred as a result of your voluntary resignation,- death-, disability or termination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program is a "double trigger" plan, meaning that no benefits are available underthis Program unless there is both a
Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement In a-form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid prior to the date the Release is effect^ that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits orthe Severance Guarantee Benefits, but
not both (and without duplication).




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                                                                                                  vely practic able as
                                               t payine nta will be made as soon as admin istrati
Paym ents: All Severa nce Guara ntee Benefi                                                  date of termin ation, and will be
                                                 more  than  ninety (90) days follow ing the
determ ined by the Comp any, but in no case                                                   Guara  ntee Benefi t payme nts
                                                  other payrpl l deduc tions. The Severa  nce
subjec t to all applic able tax withho ldings and                                        ambig uities herein shall be
                                                 of Sectio n 409A of the  Code, and  any
are intend ed to be exemp t from applic ation
interp reted accord ingly.                 •

                                                                                                    the Progra m. For all puroos es
                                               Comp any will assum e the obliga tions under
Additi onal Matte rs. Any succes sor to the                                                                   ss and/o r assets which
                                                   includ e any succes sor to the Comp any's busine
under the Progra m, the term "Comp any" will                                                 The  Comp    any    willwi thhold from any
                                                m by operat ion of law, or    otherw    ise.
becom es bound by the terms of the Progra                                                       theref rom      and  any other requir ed
                                                    other taxes   requir ed to  bo  withh  eld
severa nce benefi ts allfed eral, state, local and                                               any.  Any     decisio  n made or other
                                                    istered and interp reted by the Comp
payrol l deduc tions. The Progra m will be admin                                          Progra   m, and    any    interp retatio n by the
                                                    e of Contro l with respec   t to  the
action taken by the Comp any prior to a Chang                                                                 d  docum    ent, will be
                                                   term or condit ion of the Progra m, or any relate
Comp any prior to a Chang e of Contro l of any                                                nce  allowe    d   by lav/. Follow  ing a
                                               be given the maxim um possib        le  defere
conclu sive and bindin g on all person s and                                                   any  Interp    retatio n by the Compa ny
                                                      action  taken by the  Comp    any,  and
Chang e of Contro l, any decisio n made or other                                                         the benefi ts payab le under
                                                  any related docum ent that (i) does not affect
of any term or condit ion of the Progra m, or                                                  ious  or (11)  does affect the benefi ts
                                                 unless found to be   arbitra  ry  and  capric
the Progra m shall not be subjec t to review                                                               or    not to have been made
                                                     t to review unless found to he unreas onable
payab le under the Progra m shall not be subjec                                           condit  ions  as   it  may   provid e, delega te
                                                  discre tion and on such    terms    and
in tjnod faith. The Comp any may, iivits sole                                                                 sibility with respec t to
                                                    any all or any portio n of Its author ity or respon
in writin g to one or more officer s of the Comp                                              or any  other     action that could
                                                 Progra m amend meht or termin ation
the Progra m; provid ed, howev er, that any                                                be  appro  ved    by   the Comp any's Board
                                                cantly the cost  of the Progra   m   must
reason ably be expec ted to increa se signifi                                                     The   provis    ions ofthe Progra m will
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of Direct ors or the Comp ensati on Comm ittee                                                ntive  laws  of    the  State of Califor nia
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be constr ued, admin istered and enforc ed
                                                       ions).
(with the except ion of its confli ct of laws provis




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                                                             Friday, April 8, 2016 at 12!l9;18 PM Pacific Daylight Time


                                                                                to the Microchip Merger
 Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating
 Date:    Wednesday, February 3, 2016 at 5:57:34 PM Pacific Standard Time
 From:        Human Resources                •

Dear Atmel Employees,

                                                                                                  (FAQs) related to
i am pleased to announce that today we posted our firsi set of Frequenlly Asked Questions
                                                                           Athiel Connect, at
the Atmel/Microchip merger. The FAQs are available on our intranet,
                                                                                             to compensation and
http://connacc.-.urnf l/.v,m/iiii;'..'x.litml and are focused on answering questions related
benefits.

As we have additional information-, we will provide further updates and FAQs.

Warm regards,

Suzy
Suzanne Zoumaras | Senior Vice President, Gloosl Human Resources
0: 408.487.2604 | M: 858.354.4877
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                               FREQUEN TLY ASKED QUESTIO NS
                                   Microchi p Transacti on:
                   Effect on Compens ation and Benefits for U.S. Employee s


      What happens to my employment and compensator y arrangement s with Atmel after the closing?

      Microchip has agreed to honor each of your employment and compensator y contracts (including
                                                                                                            in
      retention awards and employment, employment continuation, severance, incentive and change
      control agreements) with Atmei, or its subsidiaries, that are in effect immediately prior to the closing
      of the transaction.

      How will my compensatio n and benefits be affected after the transaction closes?
                                                                                                        In
      Microchip has agreed not to reduce your base salary or base wages through December 31, 2016.
                                                                                                      2016
      addition, Microchip has promised that your aggregate compensation and benefits package for
                                                                                                  benefits
      will be comparable in value to the aggregate value of your pre-closing compensation and
      package,  excluding the value attributed to any pension plans or employee stock purchase plans.

      Will I participate in the same Atmel benefit plans following the transaction?
                                                                                                               be
      We anticipate that sometime following the closing of the transaction Atmel's benefits will
                                                   The timing of this transition is yet to be determined.  Upon
      transitioned onto Microchip's benefit plans.
                                                                                                            in all
      the transition to the Microchip benefits plans, you will be immediately eligible to participate
                                                 requirements   of the   Microchip   plans.   We  will work  v/ith
      Microchip plans subject to the eligibility
    • Microchip to provide you information about the Microchip plans in the near term.

      Will I receive service credit for purposes of Microchip's benefits plans?

      Microchip has agreed to provide you with the same service credit that Atmel recognizes
                                                                                             for you as of
                                                                                                             and
      the closing (as if you had provided such services to Microchip), for purposes of eligibility, vesting,
                                                                                                          plans,
      level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health insurance
      paid time off).

       What will happen to my Atmel equity awards after the transaction closes?

      KSUs & PKSUs. At the closing of the transaction, Microchip will assume each continuing employee's
                                                                                                            based
      then-outstan ding and unvested awards of restricted stock units (RSUs) and performance-
                 stock  units (PRSUs), and  convert  those   awards  Into awards   for Microchip  common     stock
      restricted
                                                                                                               will
      with an equivalent value as determined under the definitive agreement. The converted awards
             the same   material terms (e.g., vesting, including any rights you  may  have to accelerated  vesting
      retain
                                                                                                            Atmel
      under the terms of your award, your employment agreement or Atmel's stock plan) as your
      award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (including
                                                                                                           issued,
      any portion that vests on the closing of the transaction) for which shares have not yet been
              settled  in shares, subject to   applicable  withholding  taxes,  and  converted  into the  right to
      will be
                                                                                                            Atmel
      receive the merger consideration for those shares after the closing just like any other
      stockholder.
                                                                                                            and
      Stock Options. All unvested Atmel stock options that you hold will accelerate and become vested
                  in full immediately  prior  to the closing,  subject to your  continued  service through  the
      exercisable
                                                                                                           may
      closing. We will provide more information to you as we get closer to the closing date on how you
                                                                                                        closing.
      exercise your stock options that are eligible for this accelerated vesting in connection with the


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       Itmel
       If you do not exercise your stock options prior to the closing, Atmel will automatical
                                                                                              ly "net exercise"
                                           that the exercise price and applicable withholding taxes will be paid
       your stock options, which means
                                                                                               exercise of your
       by withholding the appropriate amount of shares otherwise issuable to you on the
                                                                                               for your options
       stock options. You will receive merger consideratio n for the shares you are issued
       after the closing just like any other Atmel  stockholder .

   '   Purchase Riehls undei'lhe Enn)iovc-ft Si of. I:          Plan fiiSPf-l Almel expects to continue the ESPP
       until just before closing. For any  offering  period undei  the- E5PP that would otherwise be in effect at
                                                                                                     will be made
       the dosing of the transaction, Atmel Will shorten the offering period so ihat purchases
                              day prior to such  closing. All shares  of Atmel stock purchased  on that  purchase
       on the 10th business
                                                                                                    shares at the
       date will not be released until the closing and will be treated like all other outstanding
       closing. The ESPP will terminate immediately prior to the closing.

       How much w/ll I receive for my shares of Atmel stock?

                                                                                             of $7.00 in cash,
       Microchip has agreed to pay, for each share of Atmel common stock, a combination
                                                                                           ly |l.IS; provided
       plus a fraction of a share of Microchip common stock having a value of approximate
                                                                                                of its common
       however that Microchip will make a cash payment in lieu of issuing a fractional share
                                                                                               at:
       stock. For more information , please see our filing on Form 8-!< from January 19, 2016
       lM-tft :/Awi 'W.iec.eov/Arc hivL's /6dEar/data /87-2 ^4a /0001-S710 ^51601084i
                                                                                        /UfeQOi'73 SI:.htm

       When is the transaction expected to close?
                                                                                              to customary
       We expect the transaction to close during the second calendar quarter of 2016, subject
                                                 and  Atmel stockholder approval.  Until then,  Atmel and
       closing conditions, regulatory approvals
       Microchip will continue to operate as independen t companies.

       Will there be salary adjustment s in 2016?
                                                                                                  Microchip to
       Atmel agreed not to increase salary for any employees before July 1, 2016. We expect
                                         ts, including salary levels, during the integration process.
       review compensati on arrangemen

       Who should I contact if I have questions about the transaction ?

       If you have any questions, please contact Atmel's HR department .




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      ihis con-nun'f.stio" 'viay be deei-itd tu be '-c^ciun.ii piaier el in inspect of she proposed mafger
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     Excharge CrTmhsion (the "SEC3 Rcg-U'stion S:etenent an Form 5-4 ;th« "Regiitiohan
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     contain.'ns a i> 'cspectus wrh iespcct io rhc I'/icrc.-hip ccrv men rtori: to be iif-cec in tils p'oootc-a
     a pr^xy ststemer.t of A; ire! in corntctior wiih tne prouoses neigei (f.e "Proxy Suitg(r>ein/Pr,:ipnctu$").
                                                                                                                          tac.
                                                                                                                merge;*, "hs
     of Microchip and At-nc. intends to file c*her documer.ts w-lth the SEC regsiding the proposad
                                                                                                                   in^uoitant
     defnltlve Proxy Statement/Prftspectus will be maiied to stoctshoiders of Atmct and will contain
                                                                                                                 wilt describe
     information about the proposed merger and i elated mailers. The final Proxy State-^en^respeaiis
                                                                                                                    deta'-ls rs
     the terms ano conditions of the way in vwjich the p'apwed merger wiil be implemented, inducing
     how to   vote on the auuption of the prcposeo merger agrcnmonl. Any • c-jpcnst* lo llie p oposed meigei sho»ld
     be tnsce only r.n rht oasis of the information in vhe Proxy Stst-emenf/Prorpectjs.
                                                                                                              Reeistrgti&i
     Secjrltyn-jlders-f At.-nel TISV ubtain, free of charge, copies cf the arcsty Staier'ent/piojp^ctjs and
                                                                                                             the proposed
     .viatemort, and any otbei riocumttms filed by A'.n-el and Microchip with the SEC in contiectio': w»it't
                                                                                                             copi&s of the
     merger at the Sf.Cs website at www.spr.gov. Secmityholders of Atme' may obtain. ITPP of charge,
                                                                                                                  witi th£
     Prrxy StareiTient/Prospectus and any other docLments filpd by A'.mel w th the SEC ir. connetlion
                                                                                     ;


     proposeo niergpi in the "mvusiors" sectior; of Atmel's websitp st vwvw.atmel.ccm.
                                                                                                   TO READ
     BEFORE MAK KG AN INVfcSTMfcNT OR V0TN6 DECISION, WE U .Gf S£CURlTVI"C.Dsft5 OF ATMEL
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                                                                                                       ANY
     CAREFULLY THE PfiOXV STATCMFNT/FROS?ECTUS AlvT Rfc'SlSTRATION STATEMENT (INCLUDING
                                                                                                        OR
     AVEND V'ENTS OR SUPPLEMENTS THERETO) ANO ANY OTHER RELEVANT OOCUMEKTS THAT [vllCP.OCHIP
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     ATM EL WILL F.LE WH-I THE SEC W'IFN 'I HEY BECOME AV'Ai'.ASLE. SECADSE THEY Will CONTAIK
      NFORMAl ION ABOUT THF PROPOStU MERGER.
                                                                                                                to ssl' o-
     This corrmunicstiC'M does not coiiifit..,te an c-ffer to buy cr pxchange, or the solicitstior cf an offer
                                                                                                            offer, sale cr
     exc.ianga, any senirit:es, nor sha'i tbeie be any sai? of secu.*itiei in any jurisd'eiap in whic* SJCM
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     juridiction. Thit coir.m-..nation is -lot s substitute forsny prospectus, proxy itaterren. cr any othtsr
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                                                 Participants in the Solicitation
                                                                                                                       in the
     Atmsi, Micrcrfiip and their rc.spert've ti* ectois and executive oPic^rs may be ceemed to He participants
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     solicixatiori c sroxies from Atinel's .stockhoJdsrs ir connection with the acoprior ci • ir- merger
                                                                                                                ^Ptf n-siger
     cornection wilh the propesse merger and fay have diiait cr indirect interests in Jie propo
                                                                                                             Statement on
     Inforrnstion about M'-croJ'iioVdiiecturs and e>;ecijt ve ct'iceri is r.ei forth in Iviicoch o's t-roxy
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                                                                                                             10, 2G15, end
     Schedule i<A for it* 2015 Annual Meeting of Scoiknclders, which ms filed with i-,e SEC ar> ;y;y
                                                                                                                SEC on May
     its Annual Report on Form 1D-I< for the fscal year ended March 31, 2015, wnich was filed with tne
                                                                                                                  website at
     27. 2D1S and amenced oi. . 'jne S. 2015. Tnase documents aie ava.lable f 'ee of (.li-jige a*, tbe SEC's
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     www.sec go* and 'ropi ivhciocnip's weosite at www.iritrochip.cofn/investoishoms-aspx. rfor.'-ation
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     Atmei's ':iiei"to;s a.id averutive officers a^c their respective imprests in Alme' ?v security "oidings
                                                                                                                   which wss       .
     is set rcrth ir A; nel's Proxy Stater enl on Schc-duie 14A for its 20 i 5 Annual Mee '.irtB of Stockholders,
                                                                                                                  webs'te at
     filed witn t'-.e 5::C cr. Apiii 3, 2C15. 1 hese eocuments are available free of charge at the SECs
                                                                                                                [rfcrmation
     vvwiv.sec.gov and from me "l-nvstors" sect.'on of Atmel's website at www.atmel.rcm. Additional
                                                                                                                 merger will
     regarding the inte-ests of participants 'n the soiicitat'or of proxies in connexion with the proposed
                                                                                                                fiie with the
     be included in rhe Proxy Staiemer.t/Prospecti.'s ard th:* Psglstration State-ner.t that K'ic-cch':> will
     SEC.                              '

                              Cautionary Statements Related to forward-LooUing Statements
                                                                                                                 Microchip,
     This corvmm'cation cc-tta'.n.f, or may contain, "forivs-'O-lcoKing staiemenTs" in .-glstlon to Atmcl jnd
                                                                                                             conpany tiist
     as well as o'.her'jtL.ie event; sr.d tho-r notential effects on Afnel, Microchip arm the combined
     are sjaject to risks and uncertainties. Generally, the words "will.'' "rr.EV," ''shoulc'/' "continue,"
                                                                                                                "be'teves,"
     "targets,'          "e>.pr-cts,''' "estimates,•* "Eims." "intends,'' "anticipates" or similar o.pressions or negatives
                                                                                                              ing to jiithe
     tneieof icentify fctv/sto looicing statements, horwdrd-looking sti)iem«r-ts hclude statemcrts:act
                                                                                                                M'crochip's
     benefits of tne merger, inducing future f'nencia' and opeiatlng results of the combireti cor.psny',


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        shipments of products, oportunitifis : n the re-niccnducto' 'ndcstry and the .-luiitv t c raKe m'K'sc.tagc cf trose
    '   opportunities, t h e potentiai.sucecss to he delved 'rorr strategic part.-iershJps. the p c t s n t ^ l ' r . p a n o< cdpscitv
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        .vc; ir-uiinii, the e'fect of financial pertoi-m:infr> on sht-e price, lh£- impact cf .uovefnment expeaatbns
        bePcfs of the     mar.ageinont  of Vl'trochip  and  Atr:el; (3) t i e expans-cn and groiv:h of  Microchip's         or  Attiel's
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        operations, 3 } ihe expected cost, reveniie, tecnr.clogy a ' d other syne'gips cf The p <wpo <.ed ireiger,
        expected -nipact c* t h e oroposec merger o.i . T j ^torters a . 1 0 end-u'se.-s. the combins.'l compafy's future capital
        expenditure*, expenses, revenues, earnirgs. economic perfornwnce, {inanc'a! condition, losses and future
        prcspects; (S) bjsiness ard-managemeot strategies anc the evpansion and growth of the combined company's
        oppiatio'-x; and (6) t h e artic<pated timings of the Atnnel stoc<hoWers' n-.eet'ng sn.1 completion cf tno p'ooosed
        merger.
                                                                                                                             of
        These forward-'ook'ng stateinents a i e based upon the cu-rent beliefs and expectations of t^e 'managprnent
        Afnne ; and involve risks and urcertainties th.st could caus^ actual resL^ts t o differ rnatenally from tho.'c
                                                                                                                            arc
        expressed ir the fnrward looking statements. Many of these rlsNi jnd uncertainl'os relate t c factors that
        b e y o n d Atmef's ability tc control or estiirate p'cciseiy. Those factors ii'.r.lude (1! t i e outcorne
                                                                                                                   of any legal
                                                                                                                            the
        proceeding? tnat could be instituted iaainst Atr-nel or i:s directors 1 elated to the discjss'ohs with M crochip,
        rre.-gei agreements with Dla.cg c r Microchip 0 1 any unscilx'ted pioposal; (2] the occurrence o ' ?ny event,
        r.hargb or other clrcunistsnces that cou ld give r'se 1 0 the termination of the merger agreement with Microcn.p,
                                                                                                                     and
        (3) the ability t o obiain gove-cinenta: sr .d regulatory asprcva s of t h e proposud rr.ergsr betwsen Atmel
        Micccnip; {•<,' the possibil'iy that the piopoiso merger between Acmel arid Microchip diies not CIOSR wncn
                                                                                                                      be
        excected or a t a'l, or that the parties, in order to acnieve gox-ertinenUl and regulatory approvals, may
                                                                                                                     tne
        iT-qwred t o modify aspects o- the jroposed n-.ergc or "o afcept conoitions'thai couid .adversely affect
        combined company or the expecter. benefits of the proposed iverger; (51 the possibility that other competing
        c.' lers or acoL'i$ ; tirn proposals w.il be made: (6) the abMity t c realize the expected synergies or savings f'omthc
        piGpOsed rrerger in the air.ourU 0 1 in t h e timeframe anl'cinated; (7) t h s potential harm 1 0 customer
                                                                                                                        supplier,

        ffinployce and other reianor.shias caused by the amiouncemerit o r closing of the picposc-d merger; IS) the ability
                                                                                                                           ! ri=d
        rc integrate ttmpl's businesses" ir .to that cf Microch'p in a timely arid ccst-effident msnner, (9) the comb
              'pany's ability    t o develop  a no  ma-feet proaucls  contsmlig     the  .-ospeclivs techro^gies  of Atme.    and
        con
        Viicrochip '.n a fmely and cost-effective manner: (10) the combined company's ability t c p'otect ntellectUei
                                                                                                                            be
        propc-ry ngnts; (11) Itt'sauon (Inducing ictellectual p ' o p e t y ASgatlon in wh'cb the combined company may
        involved or "T which LUriljiners cf the c o m D i n e d rompany rr.ay be. involved, espec'ail^ . 1 1 the mooile device
                                                                                                                           the
        sector), and t n e possible unfavorable results 0 1 legai jracee-dHg': ;'12) dependence on key peisor.nel; (13)
        •naoirty to ;eali,-e the anticipated benefits of accuisItio.H end restructuring activities, rchidmg in corr.ect'on
        with the uroposec me; ger, or other initiat'vps in a tlme'y manner o: at nil; (54; the developirent of me .markets
        i orAtnei's anc M i u o c h b ' s prcdu^ts; IIS) i s k s reiatea tc. Microcho's abilitv t o successfully implement lis
                                                                                                                                         and
        acquisitions strategy; (16; u n c e r t a i n t y as t c the tVtuie profitability of b u s i n e s s e s arqnired cy Micrr.chio.
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        delays in tne reaiijat : sr. of. or the falfuro to real'ie. a n y a c c r e t i o n from a n y other acquisition transactions
        Mtcrocnip; (t?) I ha irhe.ipnt uncertair.ty assoc'sted with-financial pro.'ecticns: (IS) disruptions In the avai'aarliry
                                                                                                                                         any
        cf raw muteriais: (iSf ccmpllsnte tvich u.S. A .nc iineinationa' 'aws .?no regulaxions by the combined c j r p
        and itt nistr hutory; ;20) the market pneo anc vo at-lity c- M'ci-ychip common stock (if th? n e i ger's completea};
                                                                                                                       and                     '
        t'?.'..') the cyclical nature of the seir.lconsjctoi industry; (22i a r ecoromic downturn In the semiconductor
        tdecomnnmicalio ns iriarutts; (23) conso Ileal ion otcurring within tne seir.iconauctoi industry; (24) genera-
        global n-ar.rceconcmic and gee oclitical conditions (25) nnsncia' maikct condit'-or.?; (^6) busirass mterrjotlcns,
                                                                                                                         to
        natural disasters or terror -l acts; and (Ii7) tjther risks and jncersinlies, including those aetsiied from time
        time in Microchip's and Atrnel's period c reports and other filings with the SIX or nther regulatory 3(..thoi:i:os,
        including Atmel's Annual Report cn r'orm jo -K for the fiscal yea ended December S i , 7014 and Quartci y Fvepon
                                                                              1-

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        on rcrm 1C-Q for the qoaiTerly period endeo September 50, 2015 (whether under thfi caption Risk i-actors
                                                                                                                      year
        Forward Looking Statements OJ d s e w l w e ) a r d Microchip's Annuai R e p o t on Form ID-K for the f'stal
                                                                                                                       and
        ended March 31. '2015, whic'-. was filed with t-;e SEC or Way 27. 20IS and amended on Ijne 8, 201b
        Qv-arterly Ropct c n furm l O - Q f c r t h e quaitsrly period enden September 50, 20i5 (whettierunaer the caption
        filsk Factois   01   Fotwe-d Lcck-'ng Statements cr elsewhei-i.
                                                                                                                    to be
        Nsitnei Atme' n o r Micmrl-ip can give- sny assurance that such forward-locking sratements v.'i I pi eve
        co-iect. The reader is cautioned not 1 0 place 1 naue ici'ance on these for.varc-lcoking statements, vvh'ch speak



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   /Itme L
      only as of the date of this announcement Neither Atmel nor Microchip nor sny ether person undertakes any
      obliBal '.lon t o upoate or revise publicly any of the forward -looking statements set out herein, whether as a result
      cf new infotmation, future events or otherwise, except to t h e extent legally required.
                                                               ^•AA-




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                            EXHIBIT C to A-4




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 TO:            Thong Van Vu

 DATE:          April 6,2016

 FROM;          Atmel, LLC.

 RE:            Severance Agreement and Release



                                                                      Atmel, LLC. objective April f>, 2016
 In connection with the temiination of your employmeiU (rojn
                                     offering  you  a  severan  ee package     on the terms set .forth in this
 (Ihc "Termination Date"), we are
                                                                        entirely up To you. If you decide lo
 dooumem. This offer is voluntary and whether you ncccpt il is
                                                                           be entering into a legally-binding
 accept this offer by signing at the end of this document, you will
                                                        its affiliate s, parent corporation and subsidiaries
 contract (the "Agreement") with Atmel, LLC., and
 (collectively the "Company"), on the terms   stated  below.

                                    Atmel. LLC CommifmcH'ts to You


                                                                      will pay you a lump sum total of
 «     In consideration for entering into this Agreement, Atmel, LLC,
                                                                           of your current base pay.
       $11,365,38 ("Severance"), which is approximately equal to 4 weeks

                                                                        business days after the Effective
 o     The Severance will be paid to you in one lump sum within 30
                                                                           dings, including any advanced
       Date of this Agreement, less all legally-required taxes and withhol
       PTO pay.
                                                                       all earned but unpaid salary and
 »     Regardless of whether you sign this Agreement, you will be paid
                                                                        You will receive information
       accrued but unused vacation through the Termination Date.
                                                                          COBRA. Nothing in this
       regarding your rights to health insurance continuation under
                                                      have or your  rights to vested benefits under the
       Agreement will impair any COBRA rights you
       terms of Company benefit plins.     "'

                                                                             ers to Atmel, LLC. Human
  <5   Provided that you direct any inquiries by potential future employ
                                                  use its best efforts to provide  only your last position
       ilesoiirc.es department, Atmel, LLC. shall
       and dates of employment.

                                   Your Commitments to the Company


                                                                          officers, directors, enipJoyefes,
       You agree to release the Company and its current and former
                                                                    insurers , trustees, divisions, and
       shareholders, affiliates, benefit plans, administrators,
                                                            tions and assigns  (including, but not limited
       subsidiaries, and predecessor and successor corpora
                                                   ees") and promise  never to  assert any and all actions,
       lo, Atmel, LLC.) (collectively, the "Releas




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                                                                                                     kind based on any
      causes of aclion, grievances, obligations, damages, losses and claims of every
                                               you  sign   this  Agreeme    nt,  including  ,  but   not  limited to, any
      act. omission, event up lo (he date
                                      out   of  your  employm      ent  and/or    terminati  on  of   your     employment
      claims relmina to or arising
                            In particular ,  you  release   the   Releasee  s  from   liability  for   all  claims   of any
      with Atmel, IXC,
                                                                                                     them    or   not.  This
      nature thai you ever had or may have at this lime, whether you know about
                                                                                under   federal   or  state    law,.such    as
      release speoiilcally includes., but is not limited to, any claims
                                                                     Age    Discrimin    ation   in   Employm       ent  Act
      Title VII of the Civil Rights Act of 1904, the
                                                                                                 claim or oilier claim
      ("ADEA"), the Americans with Disabilities Act, as well as any contract
                          common     law,   to the  fullest  extent,  the law    permits   a  release   of claims. You
      under statutory or
                                                                                                  of  yourself     and your
      agree that (he waiver and release of claims in this paragraph is on behalf
                                                                             and   assigns,   and  all  such    persons    are
      heirs, administrators, representatives, executors, successors
                                                           that the  release   set  forth in  this section     shall be  and
      bound by this waiver and release. You agree
                                                                                                           released. This
      remain in effect in all respects as a complete general release as to the matters
                        extend  to any obligatio   ns  incurred    under   this  Agreeme    nt.  This    release    does not
      release does not.
                                                                                                  limited     to, your  right
      release claims that cannot be released as a matter of law, including, but not
                                                                           the    Equal    Employm      ent     Opportun    ity
      to file a charge with or participate in a charge by
                                                         ;

                                                                administ  rative    body  or  governme      nt  agency    that
      Commission, or any other local, .state, or federal
                                                                                                    the Company (with
      is authorized to enforce or administer laws related to employment, against
                     ding that any  such  filing  or participa   tion: does   not  give  you   the  right to recover any
      tire understan
                                                                                                herein     bars you from
      monetary damages against the Company and your release of claims
                                                                       This   release   does    not  extend     lo any right
      recovering such monetary relief from the Company).
                                                      ation   benefus   or  workers'    compens     ation    benefits.   You
      you may have to unemployment compens
                                             no  assignme    nt or  transfer   of  any  elaim   or other    matter   waived
      acknowledge that you have made
      or released by this Agreement,
                                                                                    1542 of the Civil
  *    You agree that this release constitutes a waiver of all rights under Section
      Code of the State of Cali fornia, which reads:

                                                                     THE
           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
                          NOT KNOW  OR  SUSPEC T TO EXIST  IN HIS OR HER
           CREDITOR DOES
                                                                  KNOWN
           FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
                                                   AFFECT ED  HIS OR HER
           BY HIM OR HER MUST HAVE MATERIALLY
           SETTLEMENT WITH THE DEBTOR .

                                                                                             under ADEA, and that
  *   You acknowledge that you are waiving and releasing rights you may have
                                                                       and   the  Company     agree that this waiver
      this waiver and release is knowing and voluntary. You
                                                      or  claims   that    may   arise  under   the ADEA after the
      and release does not apply to any rights
                                        nt.  You  acknowle   dge   that   the. considera  tion given   for this waiver
      Effective Date of this Agreeme
                    is in  addition  to  anything   of   value  to  which      you    were  already    entitled, You
      and release
                                                                                                 should eonsiili with
      acknowledge further that you have been advised by this writing that: (a) you
                                                               you   have   forty-live   (45)  days   within which to
      an attorney prior to executing this Agreement; (b)
                                             forth in Exhibits   A,  IB  and  C   herein, you  have,  been advised in
      consider this Agreement; (c) as set
                                  of  the class, unit, or  group   of   individua   ls covered    by the  reduction in
      writing by the Company
                                                                                             titles  and   ages of all
      force,- the eligibility factors .tor the reduction in force, and the job
                                                                          seven   (7) days  following   the  execution
      individuals who were and were not selected; (d) you have
                                                             this  Agreeme      nt shall not  be  effective  until after
      ofthis Agreement to revoke this Agreement; (e)




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                                                                                            or precludes you
      the revocation period lias expired; and (f) nothing in this Agreement prevents
                                    a determin  ation in good faith of the validity of this  waiver under the
      from challenging or seeking
                          it impose  any  condition - preceden t, penalties) or costs  for   doing so, unless
      ADEA, nor does
                                                                                            changes, whether
      .specifically authorized by federal law. You and the Atmel, LLC. agree that
      materitil or immaterial, dp not restart the running of the 45-day period.
                                                                                   11 day after both parties
  a   Tin's Agreement will become effective and irrevocable on the eighth (S ')
                                                                                       and returns it lo the
      execute it (the "Effective, Dale"). In; the event you sign this Agreement
                                                                                       hereby acknowledge
      Company in less than the forty-five (4-5) day period identified above, you
                                                                     period   allotted for considering this
      that you have voluntarily chosen to waive the full time
                                                      that revocatio n must   be accompli  shed by a written
      Agreement. You acknowledge and understand
                                         Resource  s, Atmel, LLC.,  that  is received  prior to the Effective
      notification to Geri Shaw, Human
      Date,
                                                                                     including personal
  «   To (he extent Employee is in the possession of any Atmel property,
                                 fax  machines  seannens , copiers  cellular phones, Atmel  credit cards,
      compulers (PCs), laptops,
                      documen   ts,  correspon dence and    related  corporate  materials on  all media,
      and any Atmel
                                                                         termmat ipn Date.   In addition,
      Employee will return all properly to Atmel on or before the
      computers must be returned with all Company data intact,
                                                                                       iu this Agreement,
  o   You acknowledge and represent that, other than the consideration set forth
                                                                        accrued  vacation/  paid time off,
      the Compony has paid or provided all salary, wages, bonuses,
                                                               interest, severance  , outplacem   ent costs,
      premiums, leaves, housing allowances, relocation dosts,
                                            ions, stock, stock  options,  vesting, and   any  and  all other
      fees, reimbursable expenses, commiss
      benefits and compensation due to you.               '

                             General Under,standings and Acknowlorigcmcnts

                                                                                     of the. [Confidential
  o   You hereby reaffirm and agree to observe and abide by the terms
                                                              ary  Informati on Agreeme   nt") between you
      Inforinnliou and Invention Assignment] (the "Propriet
                                     including    the provision s therein regarding   nondisclo sure, of the
      and Atmel, LLC., specifically
                        secrets and confident ial  and proprieta ry informati on.   You  represent  that you
      Company's trade
                                                                                  Company    , developed  or
      have returned all documents and other items provided to you by the
                                                              with  the Company   , or otherwise  belonging
      obtained by you in connection with your employment
      to the Company.
                                                                                           and the Company's
  «   This Agreement and the Proprietary Information; Agreement states your
                                                                 of this  Agreeme   nt  and your rights and the
      complete understandings regarding the subject matter
                                           any way to, or. arising   out  of   your employm     ent with Atmel,
      Company's obligations relating in
                        modifica tion of this Agreeme  nt •vyill be  valid  unless  it is written   and signed by
      LLC, No future
                                                                                   this   Agreeme    nt is deemed
      an executive officer of the Company and you. If any provision in
                                                                  not  al'fcct the enforceab   ility of the rest of
      unenforceable, it will be considered severable and will
      the Agreement.

                                                                               to accept the offer
  o   You have until 5:00 p.m. on May 23, 2016 to consider whether you want
                 is making  in this Agreeme nt, although you do not need to wait until that time to
      Atmel, LLC
                                                  3




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                                                                                    sign this Agi'ocinent
     accept this offer and obtain ihe Severance. To accept this offer, you must
                                                               Resource s by the date  and lime .stated in
     and deli ver a signed copy of it to Geri Shaw in Human
                                                  not receive the Severanc e until after you deliver this
     this bullet point. As noted above, you will
                                        and the seven (7) day revocatio n period ends  and  you have not
     signed Agreement to Geri Shaw
     revoked this Agreement.

                                                                                 it carefully, that iI is
 «   By signing this Agreement, you will be acknowludging thill yon have read
                                                                          to eonsull  with an altorhey,
     written in language that you undorsUmd, thai you hfive been advised
                                                           to consider it. and that  you are signing it
     that you have been given a reasonable period of time
     knowingly and voluntarily.
                                                                              e dates set forth
 In WITNESS WHEROF, the parties have executed this Agreement on the respectiv
 below.




 Date                                                     Thong Van Vu




  Date                                                    Company Witness/Title

  Internal use;

  Date received:

  7-day revocation period ends:




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                                               EXHIBIT A

                                DECISIONAL UNIT INFORMATION

                                                                   you in making a decision whether
 The following information is provided under federal law to assist
                                                                     Atme], LLC:
 to sign this Agreement and accept the severance benefits offered by


                                                                             Marcom Group
  1.     Decisional Unit, The decisional unit for this reduction in force is

                                                                                   for the program. All
  2.     Eligibility. All persons included in ihc Marconi Group arc eligible
                                                   n in force are selected for the program .
  persons who are being terminated in the reductio
                                                                                   from the receipt of this
   3.      How Long to Decide. You will have up to foriy-five (45) days
                                                                     and  return  it to the Company. The       .
   Agreement in which to decide whether to sign this Agreement
                                                         ent will expire  on  the dale  stated on page 3 of
   offer of severance benefits contained in this Agreem
                                          you have  signed this  Agreem ent,  you will  have  seven (7) days
   the Agreement. Pleasenote that once
                                accepta nce of the terms ofjthis Agreem  ent,
 . to revoke your signature and

  4.     Seledion information.          Federal law provides certain information be given to you
                                                                              n in force and individuals who
  concerning indi viduals who were eligible-and •selected for the reductio
                                  for the reductio n in force.! This informa tion can be found in Exhibits B
  were eligible but not selected
  and C, which, foil o\v tins Exhibit A.




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                                         Data Sheet by Age
                                                  4/6/2016

                                              EXHIBIT B

  Job Titles of Individuals Not Selected from the Decisional Unit for this Reduction in Force and Not
                                       Offered Severance Benefits

                                  Job Titlcftfl                             Agefsl
             Will be mailed to home address




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                         /"""N




                                       Data Sheet by Age
                                            4/6/2016

                                          EXHIBIT C
                                                                                 n in Force and
   Job Titles of Individuals Sulcoted from the Decisional Unit for this Reductio
        Offered Severance Benefits for SiRninat  his Separatio n Agreeme  nt and Release
                                    Title                                  Age

          Will be mailed to home address




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    TO:             Thong V a n Vu

    DATE:           April 11, 2016

    FROM:           Atmel Corporation

    RE:             Severance Agreement and Release



                                                                                                          Technology
    As you know, Atmel Corporation ("Atmel") recently became a subsidiary of Microchip
                                       "Merger").    Atmel   and  Microchip are making this offer, in part to resolve
    Incorporated ("Microchip") (the
                                                                                                         by Atmel. In
    any current disagreement or misunderstanding regarding severance benefits previously offered
                                                                                                        "Termination
    connection with the termination of your employment from Atmel effective April 6, 201G (the
                                                                                                         This offer Is
    Date"), we are offering you a severance package on the terms set forth in this document.
                                                                                                    by signing at the
    voluntary and whether you accept It Is entirely up to you. If you decide to accept this offer
                                                                                                      with Microchip,
    end of this document, you will be entering into a legally-binding contract (the "Agreement")
                                                                                                      below.
    Atmel, and their affiliates, and subsidiaries (collectively the "Company"), on the terms stated

                                            Coniiiiinv Commitments to Vou


                                                                                                   total of (i)
    •     In consideration for entering into this Agreement, Atmel,, LLC. will pay you a lump sum
                                                                                                Base Pay, and
          $29,550.00 representing, a lump sum cash payment in cash equal to 0.20 times the your
                                                                                                   prorated to
          (11) $1,446.58 representing, a lump sum payment in cash equal to 50% of your 2015 Bonus,
          the date of the your Involuntary Termination.            i         '



                                                                                                           shall
    •     In addition, if you timely elect to continue health coverage pursuant to COBRA, the Company
                   pay, the  premium   costs  for you  and   your covered dependents, for up to two (2) months
          directly
                                                                                                  ceases to pay
          following the Separation Date, subject to compliance with COBRA. After the Company
                                                                                                    coverage at
          premiums pursuant to the preceding sentence, you mayi If eligible, continue healthcare
          your expense in accordance  with  the  provisions of COBRA.

    »     The benefits described in the two bullets above are the "Severance Benefits."

                                                                                                       salary and
    o     Regardless of whether you sign this Agreement, you will be paid all earned but unpaid
                                                                                                   regarding your
          accrued but unused vacation through the Termination Date. You will receive information
                                                                                                      any COBRA
          rights to health insurance continuation under COBRA. Nothing in this Agreement will Impair
          rights you have or your rights to vested benefits under the terms of Company benefit plans.

                                                                                                         Resources
    •     Provided that you direct any inquiries by potential future employers to Atmel Human
                                                                                                       employment.
          department, Atmel shall use its best efforts to provide only your last position and dates of

    •     The Company will not contest any claim for unemployment benefits that you may file.




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                                                                                          grven to consider ft. /ou arc
         *     !f you iiRn and return this document in less ehan the t»mc you have be«n
                                                                                             been grven co conixicr a
               voluntarily agreeing to waive \hc remaining portion of the timu that you have

                                                                                    CONTTUCT
               ONCE YOU SIGN BELOW, THIS DOCUMeNT WILL B6COM6 A LEGALLY CNFORC8ASLH




         Date                                                     Hiong van V u




             Date                                                 Company Witness/Title


             Internsl use:


             Dale received.

             7«day revocation pdod ends:




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                                                        EXHIBIT A

                                           DECISIONAL UNIT INFORMATION

    The following Information Is provided under federal law to assist you In making a decision whether to sign
    this Agreement and accept the severance benefits offered by Atmel, LLC:



             Decisional Unit. The decisional unit for this reduction in force Is Marcam Group

     2,      Eligibility. All persons included In the Marcom Group are eligible for the program. All persons who
     are being terminated in the reduction in force are selected for the program.

     3.      How Long to Decide;. You will have up to foriy-five (45) days from the receipt of this Agreement In
     which to decide whether lo       ihi:. Aijri'vniuni .md return it to Gen Shaw >it Aimel, The offer of severiince
     benefits contained' In thli Agreement will expire on the date '<t.iied on pafiL' 2 of (he Agreemunl' Please
     note that once you have signed this AHrceinent. you will h.ivc seven (7) day? to revoke yotir si/inaiure and
     acceptance of the terms of this Agreement.

              Selection Information. Federal law provides certain information be given to you concerning
      individuals who were eligible and selected for the reduction in force and individuals who were eligible but
      not selected for the reduction In force. This information can be found in Exhibits B and C, which follow this
      Exhibit A.




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                        DECLARATION OF DONNA V1ERA-CASTILLO

       I, Donna Viera-Castillo, declare as follows:

        In 2015,1 was employed by Atmel as an Event Marketing Manager. In July 2015,1 and other
Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program",
along with an Addendum to the letter providing additional details about the severance program
                                                                                                 that I
(hereafter collectively "Severance Plan"). I cannot locate the actual Severance Plan document
received in July 2015. However, attached hereto   as Exhibit A is a copy of the Severance Plan document

 that Bo Kang received in July 2015, and the Severance Plan document I received in July 2015 was
identical to Exhibit A, except that my name was on the letter rather than Mr. Kang's. The Severance
Plan provided for certain severance benefits if Atmel was acquired and I was subsequently terminated.

          During 2015,1 learned that Atmel had entered into an agreement with a company called Dialog
 pursuant to which Dialog would acquire Atmel. In the last half of January 2016,1 learned that Dialog
                                                                                                  be the
 seemed to be on the way out as a purchaser, and that Microchip Technology looked like it would
                                                                                         me  and  others
 new purchaser. My boss, Sanders Arts (Vice President of Corporate Marketing), assured
                                                                                                 should
 that we were still covered by the Severance Plan and would get severance benefits, and that we
  stay focused on our jobs and not worry about the potential acquisition by Microchip.

          In approximately late January 2016,1 learned about a January. 14,2016 letter that was sent by
  Atmel to director-level employees. That January 14,2016 letter specifically confirmed that the
                                                                                                     paid
  Severance Plan was still intact and that the severance benefits under the Severance Plan would be
  if Microchip completed the acquisition and terminated Atmel employees.     A copy of the January 14,

  2016 letter is attached as Exhibit B.

           In early February 2016,1 read the Frequently Asked Questions ("FAQ's") that had been
   published for Atmei employees regarding the potential Microchip .acquisition of Atmel. A copy of the
   FAQ's is attached as Exhibit C. Reading the FAQ's confirmed again to me that Microchip would be
                                                                                                      noted
   honoring the Severance Plan ifit acquired Atmel. At staff meetings during this time period, it was
   multiple times that employees who were terminated by Microchip would     be receiving the severance

   benefits of the Severance Plan.

           During the time period between Microchip signing its agreement with Atmel in January 2016
                                                                                                        Chief
   and the closing of the acquisition in early April 2016,1 had a conversation with Steve Laub (Atmel's
   Executive Officer) about the Severance Plan. During this conversation, Laub told methat    the Severance
   Plan was still in effect. Bob Martin, another Atmel employee, was present during that conversation,

            On approximately April 6, 2016,1 and many other Atmel employees received a letter informing
    us that we were being terminated effective immediately. These letters indicated that Microchip would
    only pay 6 weeks of salary as severance. A copy of the April 6,2016 termination letter 1 received is
    attached hereto as Exhibit D. '

            On approximately April 11, 2016,1 and the other Atmel employees who were terminated
    received a new letter, which indicated that Microchip would pay us 50% of the severance benefits due
                                                                                                           E.
    under the Severance Plan. A copy of the April 11, 2016 letter I received is attached hereto as Exhibit




                                                         1




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                                                                                  es, Sanders Arts expressed to me
                                              of me and other Atmel employe
        After the April 6 termination
                             th
                                                                            under Severance Plan.
                                       pay the severance benefits due
his shock that Microchip did not
                                                                                    and discussed Microchip's
                                               016,1 had lunch with Steve Laub
         Between April 6 and April 11,2                                                                       2015
                                                                           Plan. Laub told me that the July
                                        efits due under the Severance
refusal to pay the severance ben                                                                g .the Seve ranc e
                                                                            ip was not honorin
                                          he was surprised that Microch
 Severance Plan was in effect; that
                                      .about the Severance Plan.
 Plan; and that Microchip knew
                                                                                 Plan in making the decision to stay
            relie d oil rece ivin g seve ranc e benefits under the Severance
          I                                                                                                      d
                                                                             y would have left Atmel and foun
                                          Microchip acquisition. I certainl
 at Atmel through the time of the                                                                   ip was not goin g
                                                                              known that Microch
                                         ip's April 2016 acquisition if I had
  another job long before Microch                                                           , '
                                          under the Severance Plan-
  to pay me the severance benefits


                                                                                  ect      and that this declaration
                                              that the foregoing is true and corr
           I declare under penalty of perjury

                  on May 1^, 2016 at
                                                                                    as
  was executed

                                                                                     o
                                         Wiwi 11 k (
                                                        Donna Viera-Castillo




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                    EXHIBIT A to 4-5




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Aim                         •«


                                            ' STRICTLY PERSONAL AND CONFIDENTIAL


July 9, 2015

Bo Kang
Re: Severance Guarantee

Dear Bo,
                                                                                                                         e that
                                                         we value and appreciate all you do for Atmel. We recogniz
Our Ginployees are the lifeblood of our company and
                        significa nt market sptculat l'pn regardin  g possible  transactions involving the company and
recently there has been                                                                                                 e focused
                                                        unsettling. To support our employees and to keep everyon
understand thatsuch rumors can be distracting and                                                    U.S. Severan  ce Guarant ee
                                                           you the   terms  of a recently approve  d
on our continued success, we are pleased to share with
                                d  to ease concern s  among   our employ   ees.   Under this program, you will have the
Benefit program that is intende                                                                                     Cause after the
                                                      if your employment is Involuntarily terminated without
opponunily to receive benefits as described below                                                           ") include:
                                                       (collectively, the "Severance   Guaran  tee Benefits
occurrence of a Change of Control. These benefits
                                                                                                                        Control
                                                                 base rate of pay in effect on the date the Change of
      »    Cash Severance: 40% of base salary (based on your
           transaction closes); and                                                                                         of
                                                                     MIP or SIP, whichever you are eligible forat the time
      •    Target Incentive: If you are eligible, a prorated annual
                                            be based  a determi nation of your  MIP or SIP at the time of termination, as
           termination; the proration will
           determined by the Company; and
                                                                    paid for by the Company
      •    COBRA Benefits: Four (4) months' of COBRA benefits
                                                                                                          this letter. To
                                                       terms and conditions in the Addendum attached to
All Severance Guarantee Benefits are subject to the
                                           to sign a form  of separati on and release agreem ent reasonably acceptable to the
receive any benefits, you will be required
                                                          "Release").
Company (or its successor) If a transaction occurs (the
                                                                                                                   ment, other than
                                                          ict, modify or alter the terms of your at-will employ
 Nothing in this letter is intended to, or shall, contrad                                               by  this letter. You shall
                                                             Severance Guarantee    Benefits   provided
 the provision by Ihe Company (or itssuccessor) of the
                                              s,  meaning  , that you or the Compan   y (or its successor) may terminate your
 remain ah at-will employee for all purpose
                                                                with or without Cause, and with or without notice.
 employment at anytime for any reason or for no reason,
                                                                                                                our recognition
                                                         Severance Guarantee Benefits and hope they convey
 Bo, we are pleased to be able to provide you with these                                        to our success.
                                                         you for your continu ed contribu tions
 arid appreciation of your contributions to Atmel. Thank
                                                                                                                     .
 Sincerely,



 Suzanne Zoumaras
 Senior Vice President, Global Human Resources

 Attachment




 Steven Psncoast
 Steven Pancoast




                                                                                      ATMEL PLAN/BERMAN000080
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                                                  ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 9, 2015


                                                                                        e Benefit Program Is effective from
Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarante
                                                                                  g Event  (as described below) has
July 1, 2015 and will terminate on November 1,2015 unless an Initial Triggerin
                                                event   the U.S. Severanc  e Guarante e Benefit Program will remain in
occurred prior to November 1, 2015, in which
effect for 18 (eighteen ) months following that Initial Triggerin g Event.

                                                                                 as of the date a Change of Control Is
Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation
consummated.
                                                                                       Program will become available to
Initial Triggering Event: Benefits under the U.S, Severance Guarantee Benefit
                                           enters  into a definitive agreemen  t (a  "DeffnUiv  a Agreement"), on or before
eligible employees only if the Company
                                                                                  If a  Definitive Agreement is not entered
November 1, 2015, that will result in a Change of Control of the Company.
                                       Severanc  e  Guarante  e Benefil Program   described    in the letter and this Addendum
into on or before that date, the U.S.
     automatic  ally expire, unless expressly extended    by the Company  's Board   of Directors.
will
                                                                                     to eligible employees the U.S.
Benefits Conditions: After an Initial Triggering Event occurs that makes available
                                                   ts will then be entitled to receive cash payments and COBRA
Severance Guarantee Benefit Program, participan
benefits if, but only if:

      A.    A Change of Control actually occurs; and
                                                                                            ) at anytime within 18
      B.    Their employment is terminated without "Cause" by the Company (or its successor
            months of the execution date  of the Definitive Agreeme nt.

                                                                                   of "Change of Control" and
     For purposes of this U.S. Severance Guarantee Benefit Program, the definition
                                                                        Executive  Change of Control and Severance
     "Cause" will be the same as that contained In the Company's Senior
     Plan.
                                                                           have been satisfied, and you are entitled
Severance Guarantee Benefits: If the Benefits Conditions described above
                                                                    e Program,  you will receive the benefits as
to Severance Guarantee Benefits under the U.S. Severance Guarante
described in the Severance Guarante e letter provided to you dated July 9,2015.

                                                                              at any time before or after an Initial
 Terminations Not Subjectto Program: If your employment is terminated
                                                                                   disability or termination forCause, you
  TriBgering Event has occurred gs a result of your voluntary resignation, death,
                                               e Guarante e Benefits. As dlscussed above, the U.S. Severance Guarantee
  Will not be ellgible to receive any Severanc
                                                                               under this Program unless th'ere:is both a
  Program is a "double trigger" plan, meaning that no benefits are available
                                                     ent is terminate d without Cause.
. Change of Control that occurs and your employm
                                                                                        will be subjectto your executing a
Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits
           n and release agreemen  t in a  form reasonab ly acceptab le to  the Company or Its successor (the "Release"). If
separatio
                                                                                       e Guarantee Benefits. If any portion
you do not timely provide UK; Release, you will forfeit the rightto any Severanc
                  e Guarante e Benefits is scheduled to be  paid prior to the  elate the Release is effective; that portion
of the Severanc
                                                        atively, practicab le following  the Release effective date.
will, Instead, accrue and be paid as soon as administr
                                                                               e benefits, such as but not limited to
Coordination of Benefits: If you are or become eligible for statutory severanc
                  you will receive the greater of those statutory benefits orthe  Severance Guarantee Benefits, but
WARN notice pay,
not both (and without duplication).



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                                                                                                                                           as
                                                               will be mac!'.' as soon as administratively^ pincticablc
Payments: All Sevaronco Guarantee Benefit [jayments                                                nc   Hie  date  of  termin    alion,   and  v^ili be
                                                                ninety (90)      days    followi
determined by the Company, but In no case more than                                                      nce 1 Guiiramee Benefit payments
                                                   other  payroll    deducl    ions.     The   Severa
subject to all applicable tax withholdings and
                                                               409A of the Code; and any ambiguities herein shall be
are intended to be exempt from appllcaUon of Section
interpreted accordingly.
                                                                                                                                       all purposes
                                                           will assume the obligations under lite Prouram. Tor
Additional Matters. Any successor to the Company                                                                      ss  and/or    assets    which
                                                            any successor to the Company's busine
under the Program, the term "Company" will include                                                   The   Compa    ny   will williho   ld from   any
                                                               ion of law,      or  otherw      ise.
becomes bound by the terms of the Program by operat                                                  ld  therefr  om   and any ollun required
                                                    other  taxes    rorjuli'i id  lo  be  withhe
severance benefits all federal, state, local and                                                                                            or other
                                                              and inlCirpretcd by l he Company. Any decision made
payroll deductions. The Program will be'admlnlstered                                              Projjrn   m,  and  any   interpr   et ntion by the
                                                         Contro   l vvith -respec    t  lo   the
action taken by the Company prior to a Change of                                                                                         will be
                                                             condition of the Program, or ariy related document,
Company prior to a Change of Control of any term or                                                    nce  allowe  d  bylaw.      Pdlow    lnga
                                                                maxim   um     possib    le  defere
conclusive and binding on all persons and be given the                                                   any  interpr  etation    by  the  Compa     ny
                                                              taken by the Company, and
Change of Control, any decision made or other action                                                not   affect  the  benefit   's payable under
                                                                docum    ent     thai   {{) does
of any term or condition of the Progiam, or any rulaied                                                                                              s
                                                                 to he arhitraiy and capricious or fil) does affect the benefit
the Program shall not be subject to review unlesy found                                          unreas    onable   or  not   to  have    been made
                                                                    unless    found     to   bo
payable under the Pi:oi;rnni shall not be subject lo review                                                                                delegate
                                                               and on such terms ;md conditions a;, it may provide,
in jjo'od faith. The Company may. in iti sole discretion                                               ty or  rebpon  .iibiliiy  with   respec  t to
                                                            or any    portion      of  Its  mitlion
In writing to one or morp ofllcers of the Company nil                                                     any  other  action    that  cotdd
                                                           amendment or lei minaiion or
the Program; provided, however, that any Program                                                                                        ny's Board
        ably  be expect ed to increa se signific antly the cost oi the Program must be approved by the Compa
reason                                                                                                rs.  The   provisi ons   of  the   Program will
                                                            Company's i-ioard of Djiecto
of Directors or the Compensation Committee of the                                                     !ntive laws  of   the  State   of California
                                                                 wi.n          iii:r-'na  | f.iib:.U
be construed, administered and enforced in accordance
                                                                        tlia

(with the exception of its conflict of laws provisions).




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                    EXHIBIT B- to A-5




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     VJe recognize that there continues to he signlficani speculction regarding the sai.iltitioi; rsf the cfiTipwiiy sru: urdnrstsnd
     that this can be distracling and unse-ltlfng. As 3 resull, we believe it is important to ismind you of the aeoufiU for which
     you may be eligible In the pvent that your employment is involijnt.irlly lei'minatcd without Causein.connect for with ;
     Change of Control of the company, inctuding an acquisition by Dfslog or Microchip.

     In July 2015, we provided you a letter (the "July Severance Benefits Letter") describing the U.S. Severance CSuarsntee
     Benefits for which you are eligible, This U.S. Severance Guarantee Program continues to remain in plsce. Iri addltipn^.in
     September 2015, we informed you that the company's Compensation Committee approved acceleration of unvested non­
     performance restricted istock units ("RSUs") for out U.S. based Director-level employees under certain conditions; Under
     that program you will be eligible for 100% acceleration of your unvested (JSUs if there is a Change of Control and your
     employment is involuntarily terminated without Cause during the period beginning three (31 nrionths prior to the Change of
     Control and ending twelve (12) months following the Change of Control.

    The benefits under the U.S. Severance Guarantee Program and the U.S Oirector-ievel equity acceleration piograms are
    subject to the terms and conditions of each as approved by the company's Compensation Committee. To receive these
    benefits you will be required to sign a form of separation and release agreement reasonably acceptableio the company (or
    its successor). Capitalized terms that are not defined In this letter shall have the meanings set forth in the July Severance
    Benefits Letter.

    Nothing in this letter or the July Severance Benefits Letter is intended to, or shall, contradict, modify or alrsr the terms of
    your st-wlll employment, otherthan the provision by the company (or Its successor) of the benefits provided by this letter
    and the July Severance Benefits Letter. Vou shall remain an at-will employee for all purposes, meaning that you or the
    company (or its successor) may tetminate your employment at anytime for any reason or for no reason, with or without
    Cause, and with or without notice.

    Andy, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel. And, thank
    you for your continued focus during these unusual times.

    Sincerely,


    Suzanne Zoumaris
    Senior Vice President, Global Human Resources




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                   EXHIBIT C to A-5




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                                                             Friday, April 8, 2016 at 12:19:18 PM Pacific Daylight Time


 Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
 Date:     Wednesday, February 3, 2016 at 5:57:34 PM Pacific Standard Time
 From:     Human Resources

Dear Atmel Employees,

I am pleased to announce that today we posted our first set of Frequently Asked Questions (FAQs) related to
the Atmel/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at
http:/A.f'iii'nrci.3rmf l.cf>ivi/in(i»>t.himl and are focused on answering questions related to compensation and
benefits.

As we have additional information, we will provide further updates and FAQs.

Warm regards,

Suzy
Suzanne Zoumaras | Senior Vice President, Global Human Resources
0: 408.487.2604 1 M: 858,35-1.4877
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                                 FREQUEN TLY ASKED QUESTIO NS
                                     Microchi p Transact ion:
                Effect on Compen sation and Benefits for U.S. Employe es


                                                                                                                        .
     What happens to my employment and compensatory arrangements with Atmel after the dosing?

     Microchip has agreed to honor each of your employment and compensatory contracts (including
                                                                                                           in
     retention awards and employment, employment continuation, severance, incentive and change
     control agreements) with Atmel, or its subsidiaries, that are in effect immediately prior to the closing
     of the transaction.

     How will my compensation and benefits be affected after the transaction closes?

     Microchip has agreed not to reduce your base salary or base wages through December 31, 2016. In
     addition, Microchip has promised that your aggregate compensation and benefits package for 201G
     will be comparable in value to the aggregate value of your pre-closing compensation and benefits
     package, excluding the value attributed to any pension plans or employee stock purchase plans.

     Will I participate in the same Atmel benefit plans following the transaction?

     We anticipate that sometime following the closing of the transaction Atmel's benefits will be
     transitioned onto Microchip's benefit plans. The timing of this transition is yet to be determined. Upon
     the transition to the Microchip benefits plans, you will be immediately eligible to participate in all
     Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
     Microchip to provide you information about the Microchip plans in the near term.

     Will I receive service credit for purposes of Microchip's benefits plans?
                                                                                                              of
     Microchip has agreed to provide you with the same service credit that Atmel recognizes Tor you as
     the closing (as if you had provided such services to Microchip), for purposes of eligibility, vesting, and
     level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health insurance plans,
     paid time off).

      •What will happen to my Atmel equity awa.rds after the transaction closes?

     RSUs & PRSUs. At the 0105111(5 of the transaction. Microchip will assume each continuing employee's
     Ihen-oulstanding and unvested awards of restiicted stock units (RSUs) and performance
                                                                                                     -based
     restricted stock units (PRSUs), and  convert  those  awards  into awards for Microchip  common    stock
     with an equivalent value as determined under the definitive agreement. The converted awards will
     retain the same material terms (e.g., vesting, including any rights you may have to accelerated vesting
     under the terms of your award, your employment agreement or Atmel's stock plan) as your Atmel
     award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (including
     any portion that vests on the closing of the transaction) for which shares have not yet been Issued,
                                                                                                          to
     will be settled in shares, subject to applicable withholding taxes, and converted Into the right
     receive the merger consideration for those shares after the closing just like any other Atmel
     stockholder,                                      '

     Stock Ootionr.. All unvested Atmel stock options that you hold will accelerate and become vested and
     exercisable in full immediately prior to the closing, subject to your continued service through the
     closing. We will provide more information to you as we get closer to the closing date on how you may
     exercise your stock options that are eligible for this accelerated vesting in connection with the closing.


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      If you do nol exercise your stock options prior to the closing, Almel will automatically "net exercise"
      your slock options, which means that the exercise price and applicable withholding taxes will be paid
      by withholding the appropriate amount of shares otherwise issuable to you on the exercise of your
      stock options. You will receive merger consideration for the shares you are issued for your options
      after the closing just like any other Atmel stockholder.

     f-urch.ise Rinhi:. under the Employee- Siod; Purchase Plan (KIT-'l Aunt'l <?>:pect5 20 cGiuinufi the ESPP
     unt.l just before closing. l:or any offering period under the ESPP thai would otherwise be in effect at
     the closing of the iransactioh, Atmel will shorten the offering period so that purchases will be made
     on the 10th business day prior to s.ueh closing. All shares of Atmel stock purchased on that purchase
     date will not be released until the closing and will be treated like all other outstanding shares at the
     closing. The ESPP will terminate immediately prior to the dosing.

     How much will I receive for my shares of Atmel stock?

     Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 in cash,
     plus a fraction of a share of Microchip common stock having a value of approximately $1.15; provided
     however that Microchip will make a cash payment in lieu of issuing a fractional share of its common
     stock. For more information, please see our filing on Form 8-K from January 19, 2016 at:
     lmp://www^s&c.f-ovMi'diivt?s/&<lgar/daUi/872-149/000157104!3i6Q,JL0S4:l/i'160017R gli.him

     When is the transaction expected to dose?

     We expect the transaction to close during the second calendar quarter of 2016, subject to customary
     closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel snd
     Microchip will continue to operate as independent companies.

     Will there be salary adjustments in 2016?

     Almel agreed not to increase salary for any employees before July 1, 2016. We expect Microchip to
     review compensation arrangemenls, including salary levels, during the integration process.

     Who should I contact if I have questions about the transaction?

     If you have any questions, please contact Atmel's HR department.




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                                                                            Additional Information

      Tiii.n com.-nur.iKTion may be deemed to                   soiicilat.ion material in respect o f the proposed n-iergei ir.volvipg
       Microci'i)} ..tinl Aliricl. Ii*. fnnitct'.iMl Wiili il-f: i-'Olnierger. (v',icroc.r.'p will f'!e with the d.S. Sccuniief and
      Exrlin-.ga                      Ithi; ''.W") s lieRiitCutiin             -uent or. "orm S -i (trie "RegisUoitoa UnteKifn:"}
      containing 2 i/rmp/L-r.ws Willi xtMiecl 10 she ViicitiCiii|j common stock to ze siusa n the p:opOiec mergt' a ->d
      n |U'!y.y ttattineni til Acrriei in cpnneuioii v.'illi ll'.t I'ltonr^eo iriergc-r (Hie 'Iwi.y SHjicmeiit/Z'/Mpecn/s"). Each
      of Mir.ioct-.ip snd /'tmel intc-nns 10 file oihti tlotumtni:. wiih ihe SEC regsiding ihc piopost'tf me/ger The
      riefmitlve Proxy i-iatemeht/CroSf/ettti.t tvlll In1 ivwllrvri 10 Mockhclders ol Atmc! and will cniusin importam
      infoirnaiion alwul the Rfoposed merger and nslnteri msuers. Tilt- fina- Pioxy StaiRnienl/Prosfjerius will dEscribe
      the terms and conditions of the way in which '.he piormsed nierger will bin impleinetitecl, ircluding dstaiis of
      how to vote on the adopticn of the proposed merger agreemenl. Any response to the proposed n-ip.rgersliould
      be inadfe only on the basis of the infannatlon in the Prowy Staterntnt/PrcspectLjj,

     Secui'ityl'oldeii cf Atmel may obtain, free of chaige. colics of the ProxySratemenl/Prospectus and llculsimion
     StatetDftm, andany other documents filed by AIUK-I and M.cochip with the SEC ipconnect.on with tlie proposed
     mor|;ei at t he SEC's website at www.sor.gow. Securityholde i s of Atmel may obtain, free of charge, copies of the
     Proxy Stateinent/Prospecms and any otl'.ei o'ocuni&nts filed by Atmpi with the SEC in connection with the
     proposed merger In the "Investors" section of Almel'v V/ebsite at wvwW.atmel.con--.

     BEFORE MAKING AN INVESTtviEhT QR VOTING DECISION, WE URGE SECURSTYHOLOERS OF ATMEL TO READ
     CARMCtlLLV THE PR0XV STATE.MCNT/PftdSPECTUS AND REGISTRATION STATEMENT (INCLUDING ANY
     AMENDMENTS Oft SUFPU-MENTS THERETO,) AND ANY OTHER-:RF.LRVAMT DOCUMENTS THAT Wlf.ROCrilP OR
     ATMEL WILL PILE WITH THE SEC WHCN THEY 3ECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANT
     INFORMATION ABOUT THE PROPOSED MERGER.

     This comiiiunicatKiri does not constitute an offer to buy or exchange, or the solic'taticr of an offei to mil or
     r - K C h a n g a . a n y s e c u r i t i e s , nor shal' vhore be any s n l e of s e c u r i t i e s I n any j u r i s d i c t i c n i n w h i c h s u c h o f f e i , n ~ o i
     exchange woultj he uhlawful piim to registration cr Cjiialif(cation tinder the securitiss laws of any si-c'i
     juiirdiclion. This coniiminiCB'.lon is hot a subsliiute for any prospectus, prcyy statement or any other document
     that Atmel or Microchip may file with, the 5SC. in connection with the proposed merger,

                                                                     Participants inthe Solicitation
     jijtmel, Microchip and ihftir respective aireclcrs end executive officers may I'.P deemed io be participants In fie
    solicitatirtn cf pioxiiis flan Atmel's sioclsholders in cbn^eotioirwitl: the adoption of the tisinir agreemenl in
    connectior; with the pronwsed merger iind may have diiecc or Indirect liur-refts in the p/cipojeo mergrr.'.
    InfonriBtion about- Microchip's cliractars and expeutive Cifflcers is set foith in Microchip's PIO>Y Stute^fent on
    Schedule ViA fcr its 203B Animal Meetlnu nf Stotliholder^, which was filed with the SEC on July 10, 2015, and
    its Ar.nuai F:oport on Fumi 10-K foi Ihn fisrsl year ended March 31, 2015, which was filed wit the SEC on Msy
     •7, ?.015 ana amended Oh June 6, 203.S. These dce.iments are.available rise of charge st the SEC's website at
    www.,see.{>Dv and from Microchip's website at wvw.microchlp.com/ins'estoishome.sspx. ln*'orma:ion about
    Atrnel's Oiiectnrj sno executive sfficers and their respective i iterests in Atmel by security holdings cr otherwise
    is set fciith in Atmel's Proxy Statement on Schedule MA fo' its 201S Annus Meeting of Stockholders, which was
    filed with the St.T on April 3, 20L5. These dccumeiUS are available 'ree oi cr.srge at tlie SEC's website at
    www.sec.ficn' and from the "hwctstors" section of Atmel's website at www.atmol.com. AddilloiicI inlormstlon
    reuardinu the Intfirests of panieipaius in the sollcltatlor- of proiies in connection with the pioposed nveVRer will
    be Included n the lJi'o>:y Stateinent/I'iwpectus and the Beiiistratlon Statement that Miciochlp will fits with tit'*
    SEC.

                                         Cautionary Statements Related to Forward-Looking Statements

    This communication contains, o- may contain, "foi ward-looking statements'* in relation to Atmel and V.lcrocnip,
    as well as otner future events and their potential effects on Arinel, f/i'crochip and the combined company that
    are subjec to risks and -incertaincies. Generally, the words "will," "mav," "should," "ccntinue,'' "be'-ieves/*
    "targets.'' "plans." '"expects," "estimates," "aims," "intends/ "anticipates" or similar expiessions or negatives
    thereof '-dentify forward-looking statements. Forward-looking statements include statements relating to (Ij the
    beref'ts of the merger, includi'-.g future f.r.ancisl and oaeiating results of the combinec company, Microc.'-ip's



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       u hi i: .,! n                           s ' IS u K n p s.'ifi         !?•) ~ •£• expsnsion ano g:owtn of Micochip's or Atniefs
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       opera!.o.-is: rii tl-s sxpt-r-fc tost •enw.is, toc.-rsiogv b.id ether :-yiiergias of the proposed Tisrgsr,
             r-ui"i" n-yaa s' "..'is r.foccse J •*..»(get en <.ust!;nw..'s anc 5-'!d-:--s.ei«, the cci^irried company's future cas'toi
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       expenditures, expenses, revenues, earnings, economic pcfcr-ns.-irs, financial ;oncition. tojsss sno
                      |5|    business    and   management    sti Jlegies  and   flie  expansion     and    growth     of the c o i T i b i n e d company's
       prospects;
       operations; KIK"! (O) the a.-dciuatpd ti.rinss of the Almnl •itcixl-oldPfi' nesting a .id timoletion of f e privosed
       moiger.                                                                                                                                     •

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       These forwaid-ioofe-'ng statemerits are bsseel upon the ci.irenr beliefs and expectariors of the managenient
                                                                                                                           those
       Atmcl and ir'.vo.ve risks and uncertainties that cculd cause acttifii ''esults to differ iratcrially from
                                                                                                                        thai are
       expiessed in tile forward-iooking sVnlenic-nts. Many of U'-cse risl.-s and u ncai Uiimies re la I L* to factors
                                                                                                                            legal
       beyond Atmel's slillity to conuol or estimate-piecisely. Those factois include (i) the oulcome of any
                                                                                                                              the
       prpceodings that could be instituted ngamM Atmel or its directors related to the dlscusiions with Microchip/
                                                                                                                          event,
       meigei agreeinents with Dialog or Microchip or any unsolicited proposal; (2) the occurrence of any
       change cr other cii cumsUnces that could give rise to the termination of the me'-ger agreement with Mlcochip;
                                                                                                                             and
       f3) the ability 10 obufn (jovernmenlnl sod regnlstory spprovsls of the proposed me'ger bGiwec-n Atmel
                                                                                                                           when
       Miciochlp; (J'I) tha possihllUy tlvat the proposed merRer between Alinel and Microchip does not dose
                                                                                                                         may be
       expected ot at a I, or that the pnitles. In oider ro achieve govsrnniental and regulavoiy spprova s,
                  to modily     aspects of  the proposed  mc-tuer  or  to accept   conditions thai could adversely   affect   the
       ief]u'tred
       combined compsny or the expected benefits of the propomcimerger; (5) tie possiflcy that other compet-ng
                                                                                                                              the
       offers or scqL-isition proposals win be insde; [S) the ability to .'CdUze tlie expected sy.neigies or savings from
                                                                                                                       supplier,
       proposed mercer i-, the amounts or m the timeframe anticipated; (7) the potential harm to customer,
       emplcyee snd other relationships caused by the snnomicemenl' or dosine of the prsposed merger; (8) the
                                                                                                                           ability
       to IntegiEte /mnel's businesses into that of Microchip In a timely ano cost-efficie"t Miannsr; (9) the combined
                                                                                                                             snd
       company's ability lo develop .--no' mcntes products contaiiVrig the respective technologies Of Atmel
       Microchip in a timely and tost-effot'tlue manner; CO) the combined company's ability to protect intellectual
                                                                                                                         may be
       property i ights, ill) ItigaUon (inc'.uding intellect jai property lit'gation in which the combined company
                                                                                                                          device
       involved or in whic:i customers of the combined company may be involved, especially m the mobile
                                                                                                                        (13) the
       sec.orl. and the possible unfavorable lesu ts of legs! proceedings.; (12) dependence on key personnel;
   .   inability to reali-e tne anticipated benefits o' sccguisitions ans) rGStrocturlng activities, ino'.irilng in connection
                                                                                                                        mnrlcets
       with the proposed narger. or other initiatives in a timely marmeror at all: (14) the development cf the
                                                                                                                               its
       for Atmei's ar.d Microcmp's products; (15) lisks -elated to {Microchip's ability to successfully impleinent
                      strategy;   (1£) uncertainly as to the  future  profitability of businesses acquired  by  Micioch'p,    and
       scciuisilions
                                                                                                                                by
       delays in the lealir.stion of. oi the failure ic reBlirs, any iiccietion fiom any other acquisition transactions
       Miciochlp; (17) the inherent imcs:t3inty assorlsted with fiiiancial projections; (13) dismptions in the availability
                                                                                                                      company
       of raw inaterisls.: (19) compl;sncc with U.S. and mternalionsi le.vs and legulallons by the combineri
                                                                                                                           eted);
       arc its distribtj'.ors; (20) the market price ami volatility oi Microchip common ttock (if the meiijer is comp
                                                                                                                              and
       P.i; the cyclical .lature of tns semiconducro industry; (22) an economic downturn in tne semiconductor
                                                                                                                         general
       teiecorninur.icationj r-.oritet'-, ,123) consolidation orcurring witnin the semicondur-tor industry; (24)
       global macrceconoinic and geo-political conditions; (/5) financial niarkcit conditions; (2G) buwisjs Interruptions,
                                                                                                                         time to
       natural oisasteis or terrorist sets; and (27) other risks and uncertainties, Includlne those detailed horn
       time n Microchip's and Atnei's per.odic reports ano other fllinns with the SEC or other legulatorv authorities,
                                                                                                                          Report
       mcluding Atmei's Annua; Repoit on form 10-l( for the fiscal year ended December 31. 2014 snri Quarterly
                                                                                                                                or
       on Foim lO-Q for the cjuartarly period ended September 30, 2015 (wnether under the caption Risk ^actors
                                                                                                                             year
       Fo'ward Looking Statements or elsewhere) or.d Microchip's Annual Repoit on Form 10-K for the fiscal
                                                                                                                             and
       ended March 31, ?0iS, which was filed with the SEC on May 27, 2015 and amended or, June S, 2015
                                                                                                                         caption
       Quai'.eriy Report on sai'in 10-0 for the quarterly peiiori ended. September 30. 2015 (whether undei the
       RISK Faclois or Forward Looking S'latc-rnc-nts or elsewhere).
                                                                                                                  to be
       Neither Atmei noi Micochip can give any assurance that jucn forwaid-ic-OKing statements will prove
                The leader -'s caL-tioned no: to p:ace undue ie ance ori these forward-looking ststeme-.ts, whicn speak
       coriect.



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                                                                        Mirrochlp noi any othei person undertak es any
     only as of the date of this announc ement. Neither Atmel nor
                                               any of the forwa 'd-looKin g statemen ts set out nareln, whethei as a result
     otiligatlo n to update or revise publicly
                                                                    the'exten  t legally reauired.
     of new information, future events or otherwise, except to
                                                               V;




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  TO:            Donna Casrillo

   DATE:         April 6: 2016

 • FROM:         Atme), LLC.

  RE:            Severance Agreement and Release



                                                                from Amid. LLC. elTeciive April 6. 2016
  In connection with the lemtiivation of your employmeiil
                                                                 cc package on llie terms set forth in this
  (ilk\'•Termination Date'"). \vc <11-0 olTen'nu you a sevcnm
                                                    r you  accept  it is entirely up to you. If yuti decide to
  cloctimcnl. This offer is voluntary and whethe
                                                           ent, you will be entering into a lcga)ly-bindinr_>
  aceept this olTor by signing m the end 01* this docum
                                                             affiliates, parent corporation ant! stilwitliaries
  contract (the ''Agreement") with Aimei. I.J.C., and its-
  (collcciivcly Ihe "Company"'), on the terms   stated  below.

                                     Atmel. LLC Coninn'tments to yon


                                                                 LLC. wili pay you a. lump sum total of
   »   In consideration for entering into this Agreement, Atmeh
                                                        y equal to 6 weeks of your current base pay.
       S16.96] .54 ("Severance"), which is approxinunel
                                                               within 30 business, days after the Effective
   o   'The Severance will be paid to you in one lump sum
                                                       ed taxes and withholdings, including any adwinced
       Date'of this Agreement, less all legally-requir
       PTO pay.
                                                                be paid all earned 'but unpaid salary and
   o    Regardless of whether you sign this Agreement, you will
                                                                 Date. You will receive information
        aecruecl but unused vacation through the Termihalion
                                                                   under COBRA. Nothing in (his
        regarding your rights to health insurabes continuation
                                                       have or  your rights to vested beneiiis under the
        Agreement will impair any COBRA rights you                                                .
        terms of Company benefit plans.
                                                            future employers to Atmel, LLC. Human
   °    Provided that you direct any inquiries by potential
                                                             efforts to provide only your last position
        Resources department, Atmel. LLC. shall use its best
        and dates of employment.

                                    Vour Commitments to the Company


                                                              and former officerf., directors, employees,
   o    Ytiu agree to release the Company and its current
                                                                rs. insurers, trustees, divisions, ami
        shareholders, affiliates, benefit plans, adminislraio
                                                                  and assigns (including, but not limited
        subsidiaries, and predecessor and successor v.orporaiions
                                                   sees") and promis e never to assert ans and all actions,
        to, Atmel. LLC.) (collectively, the "Relea




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                                                                               and claims of every kind based on any
       causes uftietkm. ^ricvitnccs. obii^alions. riaimujirs. losses
                                                             ihis   Agrcem     cm. including: but not limhed in. any
       nci, ainissiuii. evc/n up to the d;itc you sign
                                              of  your   onpioy   mom       uml'ur     tfnniiiEition of your L-mpluyinenl
       claims rcK-iihiii to or urisinu out
                                                                                    Jiwri liabilily for oil diiims of arA-
       with A lincL I.I.C, In purtictihir. ymi role;:si; I he
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       nature (luit you c-wr iind or ni-'ty have m thi.s lime, wlicilu-
                                                                                    yov.
                                                                    ;in\   chiims    under    ll-deral or siaic law. such fis
       rdejwe spedln:;i|l> inekides. but is not limiled U'.
                                                    ol'  )%<!.    ihe   Aye      Discrin  iinjjtitn i in lunployincm Act
        fit It; VII of ihu Civil Righlx Act
       C'ADhA"), the Americans with Disiibililics Aei.
                                                                    as well ns any cumvact claim or other clnim
                                                                               law permits a release of claims. You
       under statutory or common law. to the At)lest cxieni the
                                                            in  ibis  pnragra    jih is on behalf of yourself and your
       agree thtil the waiver and rek.';:,s<.: oj'.chiii.ls
                                                s. execuio  rs.  succes    sors   and assigns, and all such persons are
       heirs, administi'iuorp. represcniative
                                                                                    set forth- in this section shall be and
       bound by this waiver and release. Yovi ayrce that the release
                                                                         l  release     as to the matters released. This
       remain in effect in al) respects as a complete genera
                                                   ions   incurre  d  under    this   Agreem     ent. This release does not
       release does.not extend to any obligat
                                                                              including, hut not limited to. your righl
       release claims that cannot.be released as a matter of law.
                                                                                the llqual Hmployment Opportunity
       to file a eharge with or partieipaie in a eharye by
                                                        federal    admini   strative    body or government aueney that
       Commission, or any other local, state, or
                                     admini    ster  laws   rehuccj    to  employ     ment,    against the Company (with
       is authorized 10 en force or
                                                                                   not  give  you   the right to recover any
       the underslandin" thai any such filing or participation does
                                                                           release     of  claims    herein bars you from
       inonetary damages against the Company and your
                                                    the   Comp    am).      This   release   docs    not eNiend to any righl
       recovering such monetary relief from
                                                                            or workers' compensation benefits. You
       you may have to unemployment compensation benelits
                                                                                    ol any claim or other matter waived
       acknowledge that you have made no assignment or iransfev
       or released-by this Agreement.
                                                               rights under Section 1542 o/ilie Civil
   o   You agree that this release constitutes a waiver of all
       Code of the Slate of California, which reads:
                                                      CLAIMS WHICH THE
           A GENERAL RELEASE DOES NOT EXTEND TO
                               KNOW  OR SUSPE CT TO EXLST  IN HIS OR HER
           CREDITOR DOES NOT
                                                     SE.. WHICH IT KNOWN
           l-AVOR AT THE TIME OF EXECUTING THE RELEA
                                           RIALL Y AFFEC  TED HIS OR HER
           BY HIM OR HER MUST HAVE MATE
           SETTLEMENT WITH THE DEBTO R.

                                                                          you may have under ADI-A. and that
   •   You acknowledge ihai you are \vni\ ing and releasiny rights
                                           and  volunta ry.   You    and    the Company agree lhat this waiver
       (his waiver and release is knowing
                                                                         may arise under the AULA after the
       and release does not apply to any rights or claims that
                                                                  that   the  consideration given for this waiver
       Effective Date of this Agreement. You acknowledge
                                                  of  value    to  which      you were already emitled. You
       and release is in addition to anything
                                                                      writing that: (a) you should consult with
       acknowledge further lhat you have been advised by this
                                                                    have fony-five (45) days within which to
       an attorney prior to executing this Aureemeni: (bj iyou                                                                  ,
                                                    Exhibi  ts  A.  15  and C horein. you have been advised in
       consider this Agreement: (ej as set forth in
                                    the class, unit, or group     of   individ  uals covered by the reduction in
       writing by the Company of
                                                                           and the job titles and ages of all
       force, the eligibility factors for the reduetion in force,
                                                                have,    seven   t'7) days following the exeeurioij
       individuals who were and were not selected: (d'j you
                                                          this    Agreem     ent  shall not be effective until after
       of this Agreement to revoke this Agreement:    (e)




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          die ivvociUHMi pt-rKKl hiis expired: ami Mi jioihin                                             r tinder the
                                                        n in good faith of the vnlkiit} nl (hi> vv;ii\t.*
          frum challcngin:,1 ur seekinu a tlc-iemiinauo                                             doing  so. unless
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          •\|));.\. nor does it impose am cnndiiion                                                              cr
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          Company in less than ilx- Jwiy-jlve (45") day                               tiHouc cl    for consid ertna this
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          that ynu have \'okintarily chosen to waive                                                                    n
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          Agrccmem, You iicknowlcdae and undersumd                                         ed     prior to the EfTee iivc
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          lunilicaiion io Geri Shaw, Human Resources.
          Date.
                                                              of aii\ Aimcl jiropeuv. inciuding i^rsonal
  "       To the extent Employee is in the possession
                                                          ers, copiers cdluhtr phones. Aimi;l credit cards,
          computers (l3Cs). laptojis, fax machines .scann
                                                         and    related eorporate irato'iiils on all media.
          and any At me I doeumeriW. eorrespondence                                                     on.
                                                        on or before the Tenninatioii l.>;ite. In addin
          Ivmployeu will return all property 10 Atmel
                                                        daia intact.
          computers must be reiumcd with all Company
                                                             the consideration set forth in this Agreement,
  «       \'ou acknowledge and represem that, other than                                                   oJ'f.
                                                        , wages, bomises. nccrueu vricnti(>n''piiid lime
          the Company luis paid or provided ;ill salary                               anco. otuplu cemem ensts.
                                                        tion costs,  intere st. Kevcr
          premiums, leaves, housing allowances, reloca
                                                              <,toek options, vesting, and any and u!l other
          lees, reimbursable expenses, commissions, stock.
          benefits and eompensatioi: due to you.
                                                                               ments
                                  Clenenil [Jndcr^tandings itiid Aeknon loduc-
                                                                                                                         ai
                                                              end abide by the terms of the fConfidenti
  °       Yuu hereby reaffirm and agree to observe                                        .Agree  ment"   )  betwe en  yon
                                                                  rietary Information
          Infomuition and Imention Assiarunentl (the "Prop
                             . specif ically includ inu the prc^v  isions therein regarding nondisclosure of the
          and Atmcl, I.LC.
                                                              propri eVciry inlbrnvation. You represent that you
          Compnny's trade secrets and confidential and                                                                   or
                                                              provided to you by the Company, developed
          have- returned all dbcumems and other items                                   :my.   or oiherw    isc belon gine
                                                             ^'ment with    the Co)ii]i
          obtained In you in connection uiih your entplo
          to the Comp  any.

                                                            atiotv Agreement stales your and the Company's
   •      This Agreeniom and the Proprietary Infonn                                                                     ihe
                                                            t matter of tliis A':reenieni and .sour rights and
          complete understandinys reuurdiiie the subjec                                            y mm      with  Atme   l.
                                                               or arising out of. your emplo
          Company's obligations rei.'-nina in any v.'uy io.                                it is writte n  and  signed   b\
                                                                 will be \;did   unle*. -
           I.LC. No future nVudification of this .Agreement
                    tive ofllee r of the  Comp  ain   and you.   if any provision in tin's Agreement is deemed
          an execu                                                                                                       of
                                                             and will nm affect the enforceability of the rest
           unenforceable, it will be considered -.everablc
           the .Agreement.

                                                       to eoiisiciur wheiher ;.'ou want to accept tlie offer
      *    You have until 5:00 p.m. on May 23, 2016
                                                  ; a! the ugh you do not need to wail until thai time to
           Atmel. LLC is making in this AgreemenC




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      itccepi this (M'TCI and obtain lhe Scn'civinco. To iiccopt ilii.s
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                                                          noi  rt'cen e the Severa    nce unlij {iftei- you deliver ihis
      ilii.s IMIIICI painl. Ax nuied ;ibu\e. yon will
                                                                                  ion period ends and you have not
      sigmd A-Jivcmciv 10 ( ii'ri Sh-.w nml ihc .seven (7) day revocat
      revoked this Agreement.

                                                                              n li:;\ s read ii eart'ful]y, !h;a ii is
  o   iJ;>siyiiiiiii ilii.-j \areemenl. sou ^ill be ycUnv'^ivuuir ,.' jhu ;.
                                                    that >ou have   been  luhised     to consuli with an uiiurney,
      wriiicn ID language tliat you understand,
                                                                            idcr il. and (hat ymi lire signing it
      thai yon have been given ;t reasoimblc jjenod of time to•uons
      knowingly and vohinuirily.
                                                           ent on the respective dates set forth
  In WITNESS WHBROF. the parties have executed this Agreem
  below.                               '




  Date                                                           Donna Castillo




                                                                 Company Witness/Title
  Date

  Internal use:

  Date received:

  7-day revocation period ends:.




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                                                  EXHIBIT A

                                  DECISIONAL UNIT INFORMATION

                                                                                    a decision whether
  The following information is provided under federal law la assisi you in nidciiiu
  10 sign this Agreement and accept ihe severance benefits offered
                                                                   by Aim  el ; LLC;



          .Decisional Unit. The decisional unit for this reduction in force is Marcom Group

                                                                                           - program, All
  2.     EJigil)ilit\. All persons included in ihc Marcom Group are eliuihle for IIK
                                                                             for the program.
  persons who arc being ienninaled in the redxiL-tictn in force are selected
                                                                                                   receipt of this
          Mow Long to Deeidli. Yon will have up »o fttri\ -llve t4.5j days from thy
                  which  m  decide  whetlicr to sign   this Agreemen   l ;ind return   it 10 the Company. 'Die
  Agreemen   t in
                                                                                             stated on page 3 of
  olTer of severance bendits contaiiVed in this Agreement will' expire on the date
                                           you  have,  signcdiih is Agreemen   t,  you  will h;i\e seven (7) days
  the Aercemeni. Please note that once
  to revoke your  signature and  acceptanc e of  the terms  of this Agreemen    t.


   /J       Selection InforraMion.        Federal law provides certain informalion be given to you
  concerning individuals     who were   eliuihle nnd selected lor the reduction in force and individuals who
                                                                                      be found in Exhibits B
  u'isrc eligible but not selected for the reduction in farce. This information can
  and C. which follow this Exhibit A.




                                                                      ATMEL PLAN/BERMAN000097
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                                          Data Sheet by Age
                                               4/6/2016

                                               EXHIBIT B

                                                             Unit for this Reducuon in Force and Koi
   Job Tiller of Individuals Sci Sdccted from the Decisional
                                 .     Offered Severance Benefits

                                   Jul) Titlefsl                            Agefsl

              Will be mailed to home address




                                                    6




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                                         Data Sheet by Age
                                             4/6/20] 6

                                             EXHIBIT C

                                                                                               mui
     Job 1 illes of Individuals Selected from the Decisional L'nit for this Reduction in Force
           Offered Severance Benefits for   Si.uniiijj this Scpavalion Agi'ecmein and Release
                                     Title                                    Age

            Will be mailed to home address




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                    EXHIBIT E to A-5




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    TO:             Donna Castillo

    DATE:           April 11, 2016

    FROM:           Atmel Corporation

    RE:             Severance Agreement and Release



                                                                                               of Microchip Technology
    As you know, Atmel Gorporation ("Atmel") recently became a subsidiary
                                                             and  Microchip    are making    this offer, in part to resolve
    Incorporated ("Microchip") (the ''Merger"). Atmel
                    agreement    or misunderst anding  regarding  severance    benefits  previously offered by Atmel. In
    any currentdis
                                                                                         April 6, 2016 (the 'Termination
    connection with the termination of your employment from Atmel effective
                 are offering  you  a severance   package   on  the  terms   set forth  In  thfs document. This offer is
    Date"), we
                                                              you.  If you  decide to  accept   this offer by slBrtlng at the
    voluntary and whether you accept it is entirely up, to
                document,   you  will be entering into a legally-bind  ing contract  (the  "Agreement") with Microchip,
    end of this
                                                                                    on the terms stated below.
    Atmel, and their affiliates, and subsidiaries (collectively the "Company"),



                                              Company Commitments to You



                                                                                  lump sum total of (i) $29,400.00
    •     In consideration for entering into this Agreemenv, Atmel will pay you a
                                                                                  your Base Pay, and (ii) $1,972.60
          representing, a lump sum cash payment in cash equal to 0.20 times the
                                                                                    Bonus, prorated to the date of
          represanting, a lump sum payment in cash equal to 50% bf.Uie your 2015
          the your Involuntary Termination.

                                                                                    to COBRA, the Company shall
    •     In addition, if you timely elects to continue health coverage pursuant
                                       costs for you  and your  covered  dependent   s, for up to two (2) months
          directly pay, the premium
                                                                                      the Company ceases to pay
          following the Separation Date, subject to compliance with COBRA. After
                                to the preceding sentence, you  may, if eligible, continue  healthcare coverage at
          premiums' pursuant
          your.expense in accordance with the provisions of COBRA.

    ®     The benefits described in the two bullets above are the "Severance Benefits."

                                                                                     earned but unpaid salary and
    •     Regardless of whether you sign this Agreement, you will be paid all
                                                                       You  will receive information regardingyour
          accrued but unused vacation through the Termination Date.
                                     continuatio n under COBRA.  Nothing in this  ABreeinent  will impair any COBRA
          rights to health insurance
                                                                                          benefit plans.
          rights you have oryour rights to vested benefits under the terms of Company

                                                                                       to Atmel Human Resources
    •     Provided that you direct any inquiries by potential future employers
                                                                                          and dates of employment.
          department, Atmel shall use its best efforts to provide only your last position

                                                                                you may file.
    •     The Company will not contest any claim for unemployment benefits that




                                                                                ATMEL PLAN/BERMAN000101
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     TO:             Donna Castillo
     DATE:           April 11,2016

     FROM:           Atmel Corporation

     RE:             Severance Agreement and Release



                                                                            became a subsidiary of Microchip Technology
     As you Know, Atmel Corporntion ("Atmel") recently
                                       (the  "Merger   ").  Atmel    and   Microch   ip are making this offer, in part to resolve
     Incorporated ("Microchip"!
                                                                         g severance benefits previously offered by Atmel. In
     any current dlsiigreement or misunrJerslanding regardin
                                         ion.of   your employm    ent   from    Atmel effective April S, 2016 (the "Termination
     connection with the termiriat
                                                                              terms   set forth in this document. This offer is
     Date"), we are offering you a severance package on the
                                 you   accept  It is entirely up to  you.    If you decide   to accept this offer by sifining at the
     voluntary and whether
                                                                           inding   contract  (the "Agreement") with Microchip,
     etui of this document,, you will be entering into a legally-b
                                    , and  subsidiar ies (collectiv ely  the  "Compan    y"), on the terms stated below.
     Attn.el, .and their affiliates



                                                  Company Commitments to You



                                                                        will pay ypu a lump sum total of (i) $29,400.00
     *     In consl.deration for entering into this Agreement, Atmel
                                                             equal  to 0.20  times the your Base Pay, and (il) $1,972,60
           representing, a lump sum cash paymunt in cash
                    ting, a lump  sum  payment   in cash equal to SOSo of the your 2015 Bonus, prorated to the.date of
           represen
           the your Involuntary Termination.

                                                                             pursuant to COBRA, the Company shall
     ®     In addition, if you timely elects to continue health coverage
                                                                             depende   nts, for up to two (2) months
           directly pay, the premium costs for you and your Covered
                                           subject  to complian  ce with   COBRA.   After the Company ceases to pay
           following the Separation Date,
                                                                         if eligible, continue  healthcare coverage at
           premiums pursuant to the preceding sentence, you may,
           your expense in accordan  ce with the provision s of COBRA.

                                                                   "Severance Benefits."
     •     The benefits described in the two bullets above are the

                                                                     will be paid all earned but unpaid salary and
     •     Regardless of whether you sign this Agreement, you
                                         through  the Termina tion Date.  You will receive Information regarding your
           accrued but unused vacation
                                                                            In this Agreement will impair any COBRA
           rights to health Insurance continuation under COBRA. Nothing
                                          to vested benefits under the  terms of Company benefit plans.
           rights you have or your rights

                                                                   future employers to Atmel Human Resources
     •>    Provided that you direct any inquiries by potential
                                                        to provide only your last position and dates of employment.
           department, Atmel shall use its best efforts

                                                                   benefits that you may file.
      ®    The Company will not contest any claim for unemployment




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                                                                                      and Its and their officers, agents and
     o    You agree to release the Company, Its subsidiaries and affiliates,
                                                                             of your  employm    ent with any of them. This
          employees from any liability relating to or arising out
                               of  any'liabili ty  for claims  of any  kind  that you   ever  had   or may have at this time,
          Includes a release
                                                                         as  broad as  the  law allows and includes, a release
          whether you know about them or not. This release is
                                    and  state    laws, such  as anti-discr imination / harassme   nt and retaliation laws and
          of claims under federal
                                                                                    in Employment Act. This release also
          expressly Includes any claims under the Age Discrimination
                              of  any  tort and     contract  claims, and   any other   claims that could be asserted under
          includes a release
          federal, state or local statutes, regulations or common law.

                                                                                 Section '1S'!2 of the Civil Code of the
     o    you agree that this release of claims is a waiver of all rights undei'
          State of California , which reads "o general release  does   not extend  to claims which the creditor does
                                                                                     the release, which if known by
          not know or suspect to exist In his or her favor at the time of executing
              or her must have materiall  y affected his or her settlemen t with the debtor."
          him

                                                                            enforce any term of this Agreement or to
     •>   In agreeing to this release, you are not giving up your rights to
                                        file a charge with, any governme   nt  agency. However, in agreeing to this
          provide information to, or
                                                                              the reinstatement of your employment,
          release, you are agreeing that you will not accept any money, or
          for any claim you have released.



                                      General Understandings and AckhowledEeinents

                                                                                 dings regarding your rights and the
     ®    This Agreement states your and the Company's complete understan
                                         in any way  to, or arising out of, your employm   ent With the Company. No
          Company's obligations relating
                                                                                   and signed by an executive officer
          future modification of this Agreement will be valid unless it is written
                                                                             t is deemed unenforceable, it will be
          of the Company and you. If any provision in this Agreemen
                                                                         the  rest of the Agreement.
          considered severable and will not affect the enforceability of

                                                                             you want to accept the Severance
     •    You have until 5:00 p.m. on May 27, 2016 to consider whether
                                           nt, although you do not need to wait until that time to accept this offer
          Benefits by signing this Agreeme
          and obtain the Severance Benefits.

                                                                              signed copy of It to Geri Shaw in Hurtvan
     o    To accept this offer, you must sign this Agreement and deliver a
                                      time  stated In the previous  bullet  point. As noted below, you will not receive
          Resources by the date and
                                                                                e payroll after the eighth calendar day
          the Severance Benefits until the next administratively practicabl
                                                                                   If you decide to accept this offer and
          after you delivered this signed unrevoked Agreement to Gerl Shaw.
                                                                       seven   (7)  calendar days to change your mind
          you deliver a signed Agreement to Geri Shaw, you have
                                    nt. To revoke  this Agreema  nt after  signing  it, you must deliver a written notice
          and revoke the Agreeme
                                                                         after you   gave  her the Agreement with your
          of revocation to Geri Shaw within seven (7) calendar days
          signature.

                                                                               read it carefully, that it is written in
      o   By signing this Agreement, you are acknowledging that you have
                                                                            consult  with an attorney, that you have
          language that you understand, that you have been advised to
                                consider It, and that you are signing It knowingly  and voluntarily.
          been given 45 days to
                                                                  2




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                                                                           have been given to consider it, you are
     «   If you sijjn and return this document In less than the time you
                              to  waive the remaining portion of the time that you have been given to consider it.
         votuntarily agreeing

                                                                  ENFORCEABLE                CONTRACT.
         ONCE YOU SiSN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY




                                                               Donna Castillo
    Date




                                                               Company Witness/Title
    Date

    Internal use:

    Date received:

    7-day revocation period ends:




                                                           3




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                        EXHIBIT A-6




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                                 DECLARATION OF KHASHAYAR MIRFAKHRAEI



             I, KhashayarMIrfakhraei, declare as follows:
                                                                r Staff DSP Architect. In July 2015,1 and other
            In 2015,1 was employed by Atmel as a Senio                                                                        m",
                                                          Atmel's "U.S. Severance Guarantee Benefit Progra
   Atmel employees received a letter setting forth                                                      nce   progra    m
                                                     ing additional details about        the   severa
   along with an Addendum to the letter provid                                                                           ed In July
                                   rance Plan") . A copy    of the Severance Plan documents that I receiv
   (hereafter eqllectively "Seve                                                                           nce   benef   its if
                                                          ance Plan provid      ed for  certai n  severa
   2015 is attached hereto as Exhibit A. The Sever
                                                            nated.
   Atmel was acquired and I was subsequently termi
                                                                 d into an agreement with a company called Dialog
            During 2015,1 learned that Atmel had entere                                                                2016, after
                                                       l. In approximately December 2015 or January
   pursuant to which Dialog would acquire Atme                                                              rochip   ) might
                                                           and that Microchip       Techn    ology   ("Mic
   I learned that Dialog might not increase Its offer                                                    by  the   R &   D
                                                            Engineering     (RafI Fried)  was    asked
   become the acquirer, the Vice President of MCU                                                           ge.  Dr.   Fried
                                                        ongoing     validi ty of the  sever  ance   packa
   engineers in his reporting structure about the                                                                   told by
          quent  ly held a meeti ng with these  engin   eers at Atmel's San Jose headquarters. I was
   subse                                                                                                   engin  eers    that he
                                                       that, at the meeting, Dr. Fried told the
   several engineers who attended this meeting                                                             assure   d  them     that
                                                            rces about this severance issue          and
   had specifically spoken with Atmel Human Resou
                                                            chip as the purchaser.
   their severance package was still valid with Micro
                                                                     ently Asked Questions ("FAQ's") that had been
            In February 2016,1 read a memo entitled Frequ                                                                  of the
                                                        potential Microchip acquisition of Atmel. A copy
    published for Atmel employees regarding the                                                          be  honor    ing   the
                                                         ed to confirm that Microchip would
    FAQ's Is attached as Exhibit B. The FAQ's seem                                                      out,  I asked    my    direct
                                                      February 20l6, afterthe FAQ's came
   Severance Plan if Itacquired Atmel. In early                                                  about    the Sever    ance    Plan
                                                        of Research and Devel        opme    nt)
   supervisor Gaute Myklebuste (Vice President                                                        ed me   to  the    FAQ's
                                                       (Microchip). Dr.       Myke   lbuste   referr
   staying Intact underthe new acquiring entity
                                n  Resou rces, Imply  ing  that the Severance Plan would remain intact.
    published by Atmel     Huma

                                                                   in San Jose believed and understood that the
             All of the Atmel employees I am familiar with                                                           el, and all of
                                                         chipreplaclng Dialog as the purchaser of-Atm
    Severance Plan remainecfintact despite Micro                                                    their  super   iors.
                                                           received such      assura   nces  from
    the employees I am familiar with had uniformly
                                                                                                                                  ing
                                                                 other Atmel employees received a letter Inform
   .         On approximately April 6,2016,1 and many                                                         Micro     chip  would
                                                              diately. These letters       indica  ted  that
    usthatwe were being terminated effective imme                                                                             is
                                  as sever ance.  Acop    y  of the April 6,2016 termination letter I received
    only pay 5 weeks of salary
    attached hereto as Exhibit C.
                                                                        Atmel employees who were terminated
             On approximately April 11,2016,1 and the other                                                                  ts due
                                                              chip wo;uld pay us 50% of the severance benefi
     received a new letter, which indicated that Micro                                                      hereto    as  Exhibi   t D.
                                                          11,2016 letter I recei       ved  is attach  ed
     under the Severance Plan. A copy of the April




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                                                                                           l managers In
                                                   assurances I had received from Atme
           I relied on the Severance Plan and the                                       d have left Atmel and
                                                                              n. I woul
                                         l through the Microchip acquisitio
   deciding to stay Employed with Atme                                      n that Micr  ochip was  not going to
                                            ochip acquisition if I had know
   found another job well before the Micr
                                          the Severance Plan.
   pay me the severance benefits under


                                                                                           that   this declaration
                                                     the foregoing Is true and correct and
           I declare under penalty of perjury that
                                                    A- Li~0<,                             1 j-- Q f -VN       dS
                                                                                                          I
   was executed on May \ ^ . 2016 at

                                            //'
                                               'JAA
                                                Kh^hayar Mirfakhrae^J/




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                     EXHIBIT A to A-6




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                                                 STRICTLY PERSONAL AND CONFIDENTIAL


  July 9, 2015

  Khashayar Mirfakhraei
  Re: Severance Guarantee

  Dear Khashayar,
                                                                                                                     recognize that
                                                          we value and appreciate all you do fbrAtmel. We
  Our employees,are the lifeblood of our company and                           le transa ctions  Involvi ng the company and
                                             specul ation  regard  ing  possib
  recent!/there has been slBnlfJcant market                                                                          everyone focused
                                                        unsettling. To support our employees and to keep
  understand that such rumors can be distracting and                                      ly approv  ed  U.S. Severa  nce Guarantee
                                                       with you the terms of a recent
  on our continued success, we are pleased to share                                 Under  this proara m,  you  will have the
                                                     among     our  emplo  yees.
  Benefit program that Is intended to ease concerns                                                                    t Cause after the
                                                       if your employment Is Involuntarily terminated withou
  opportunity to receive benefits as described below                       "Sever   ance  Guara  ntee Benefi  ts") Include:
                                                    's (collec tively, the
  occurrence of a Change of Control. These benefit
                                                                                                                         Control
                                                                  base rate of pay In effect on the date the Change of
       «    Cash Severance: 40% of base salary (based on your
            transaction closes}; and     '                                                                                   of
                                                                    l M1P or SIP, whichever you are eligible for at the time
       •    Target Incentive: If you are eligible, a prorated annua                  or SIP at the time of termin ation, as
                                                                ination  of your MIP
            termination; the proration will be based a determ
            determined by thie Company;and
                                                                  ts paid for by the Company
       o    COBRA Benefits: Four (A) months' of COBRA benefi
                                                                                                            this letter. To
                                                        terms and conditions in the Addendum attached to
  All Severance Guarantee Benefits are subject to the                    and  releas e agreem ent reason ably acceptable to the
                                                      form of separation
  receive any benefits, you will be required tosign a
                                                     (the "Release").
  Company (or its successor) If a transaction occurs
                                                                                                                    yment, otherthan
                                                          dict, modify or alter the terms of your at-will emplo
  Nothing In this letter Is intended to, or shall, contra                       nteeB enefits    provid ed by this letter.  You shall
                                                         the Severa  nce  Guara
  the provision by the Company (or its successor) of                                     (or Its succes sor) may   termin  ate your
                                                          ng that you or the Company
  remain an at-will employee for all purposes, meani                             t Cause , and  with or  withou  t notice.
                                                        reason  , with or withou
  employment at any time for any reason or for no
                                                                                                          they convey our
                                                      with these Severance Guarantee Benefits and hope
  Khashayar, we are pleased to be able to provide you                you for your contin ued contrib utions to our success.
                                                     to Atmel. Thank
  recognition and appreciation of your contributions

  Sincerely,


  Suzanne Zoumaras
  Senior Vice President, Global Human Resources

  Attachment




  Gaute Myklebust
  Gaute Myklebust




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                                                     STRICTLY CONFIDENTIAL

                                                             ADDENDUM TO
                                                                                             R
                                          U.S. SEVERANCE GUARANTEE PROGRAM LETTE
                                             '            July 9, 2015


                                                                                                          m Is effective from
                                                      m: The U.S. Severance Guarantee Benefit Progra
   Term of the Severance Guarantee Benefit Progra                                ring Event (as descri bed below) has
                                                   2015 unless an Initial Trigge
   July 1, ?.01S and will terminate on November 1,                                  ntee Benef it Progra m will remain ln
                                                          the U.S. Sever ance Guara
   occurred prior to November 1, 2015, in which event
                                                          Triggering Event.
   effect for 18 (eighteen) months fbllowinB that Initial
                                                                                                              e of Control is
                                                          yees of Atmel Corporation as of the date a Chang
   EUgifaility: Eligibility is limited to U.S.-based emplo
   consummated,
                                                                                                              e available to
                                                      Severance Guarantee. Benefit Program will becom
   Initial Triggering Event: Benefits under tfie U.S.                              (a "Defin itive Agree ment"), on or before
                                                    Into a defini tive agree ment
   eligible employees only If the Company enters                                                                 Is not entered
                                                       Control ofthe Company, ff-a Definitive Agreement
   November 1,2015, that will result In a Change of                               m descri bed  In the letter and this Addendum
                                                     Guara  ntee Benef  it Progra
   Into on or before that date, the U.S. Severance
                                                       ed by the Company's Board of Directors.
   will automatically expire, unless expressly extend
                                                                                                          yees the U,S.
                                                    Event occurs that makes available to eligible emplo
   Benefits Conditions: After an Initial Triggering                          d to receiv e cash payme nts and COBRA
                                                        will then be entitle
   Severance Guarantee Benefit Program, participants
   benefits if, but only If:

        A.     A Change of Control actually occurs; and                                                      within 18
                                                             e" by the Company (or its successor) at anytime
        B.     Their employment Is terininated without "Caus
                                                             Agree ment.
               months ofthe execution date of the Definitive
                                                                                                            l" and
                                                      Benefit Program, the definition of "Change of Contro
       For purposes of this U.S. Severance Guarantee                                        e of Contro l andSe Verance
                                                         Company's Senior Executive Chang
       "Cause" will be the same as that contained in the
       Plan.
                                                                                                   and you are entitled
                                                 Conditions described above have been satisfied,
  Severance Guarantee Benefits: If the Benefits                                                  e the benefits as
                                                  Severance Guarantee Program, you will receiv
  to Severance Guarantee Benefits under the U.S.                                 5.
                                                      ed to you dated July 9,201
  described in the Severance Guarantee letter provid
                                                                                                               ran Initial
                                                  employment is terminated at any time before orafte
• Terminations Not Subject to Program: If your                        atioiy death , disabil ity or terinin atlon-f br Gause> you
                                                    voluntary' fesigh
  Triggering Event has occurred as s result of your                                  above  ,  the U.S. Severa   nce Guarantee
                                                       ntee Benefits. As discussed
  Will riot be eligible to receive any Severance Guara                       ble under  this Progra  m  unless   there  is both a
                                                      o benefits are  availa
  Program Is a "double trigger" plan, meanlng thatn
                                                  yment is terminated without Cause.
  Change of Control that occurs and your emplo
                                                                                                              your executing a
                                                      Severance Guarantee Benefits will be subject to
   Release of Claims (the "Release"): Receipt of any                               Comp  any or its succes  sor (the "Release"). If
                                                        ably acceptable to    the
   separation and release agreement In a form reason                          Severa nce  Guara  ntee  Benefi  ts. If any portion
                                                   forfei t the right to  any
   you do not timely provide the Release, you will                                                             ve, that portion
                                                       to be paid prior to the date the Release is effecti
   of the Severance Guarantee Benefits Is scheduled                             follow ing the Releas  e effecti ve date.
                                                      istratively  practi cable
   Will, instead, accrue and be paid as soon as admin
                                                                                                            but not limited to
                                                    eligible for statutory severance benefits, such as
   Coordination of Benefits: if you are or become                                                     Guara   ntee Benefits, but
                                                   of tliose statutory benefits orthe Severance
   WARN notice pay, you will receive the greater
   not both (and without duplication).



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     Payments; All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
     determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
    subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
    are Intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
    interpreted accordingly.

      Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
      under the Program, the term "Company" will include any successor to the Company's business and/or assets which
      becomes bound by the terms of the Program by operation of law, or otherwise. Tbe Company will withhold from any
     severance benefits allfederal, state, local and other taxes required to be withheld therefrom and any other required
      payroll deductions. The Program will be administered and interpreted by the Company, Any decision made or other
     action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
     Company priorto a Change of Control of any term or condition of the Program, or any related document, will be
     conclusive and binding on ail persons and be given the maximum possible deference allowed by law. Following a
    Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
    of any term or condition of the Program, or any related document that (I) does not affectthe benefits payable under
    the Program shall not be subject to review unless found to be arbitrary and capricious or (11) does affectthe benefits
   payable under the Program shall not be subjectto review unless found to be unreasonable or not to have been made
   in good faith. The Company may. In Its sole discretion and on such terms and conditions as it may provide, delegate
   In writingto one or more officers of the Company all or any portion of its authority or responsibility with respect to
   the Program; provided, however, that any Program amendment or termination or any other action that could
   reasonably be expected to Increase significantly the cost of the Program must be approved by the Company's Board
  of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
   be construed, administered and enforced In accordance with the Internal substantive laws of the State of California
  (with the exception of its conflict of laws provisions).




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                                                                                                                    c Daylight Time
                                                                         Friday, April 8,2016 at 12:19:18 PM Pacifi

                                                                                 to the Microchip Merger
                                           ding Compensation & Benefits Relating
 Subject: Frequently Asked Questions Regar
                                                 PM Pacific Standard Time
 Date:    Wednesday, February 3, 2016 at 5:57:34
              Human Resources                             .
  From:

 Dear Atmel Employees,
                                                                                            Questions (FAQs) related to
                                                 posted our first set of Frequently Asked
 I am pleased to announce that today,we                                               l Conn ect, at
                                                are available on our intranet, Atme
 the Atmel/Microehip merger. The FAQs                                                ions: relate d to compensation and
                                               and are focused oti answ  ering quest
 l->ilp://coiineci.aim&l.ccjnvA'ndsy..lil'iril
 benefits.

                                       will provide further updates and FAQs.
 As we have additional information, we

 Warm regar ds,

 Suzy
                                                   ent, Global Human Resources
 Suzanne Zoumaras J Senior Vice Presid
 0: '108.187.2604 |        M:  850.3  54.48   77
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                            FREQ UENT LY ASK ED QUE STIO NS
                                Micr ochi p Tran sacti on:
                                                        for U.S. Emp loye es
               Effe ct on Com pens ation and Ben efits


                                              nsatory arrangement               s with Atmel after the closing?
      What happens to my employment and compe
                                                                                                             ing
                                                      employment arid compensatory contracts (includ
      Microchip has agreed to honor each of your                                       incent ive and  change  in
                                                          continuation, severa   nce,
      retention awards and employment, employment                                     iately prior to the closing
                                                    iaries, that are In effect Immed
      control agreements) with Atmel, or its subsid
      of the transaction,
                                                          ed after the transaction closes?
      How will my compensation and benefits be affect
                                                                                                     2016. In
                                                     salary or base wages through December 31,
      Microchip has agreed not to reduce your base                                benefi ts packag e for 2016
                                                  aggreg ate  eompe  hsatio n and
      addition. Microchip has promised that your                                                      benefits
                                                     value of your pre-doslng compensation and
      will be comparable in value to the aggregate                                stock purcha se plans.
                                                     pensio n plans or emplo  yee
      package, excluding the value attributed to any
                                                          following the transaction?
      Will J participate in the same Atmel benefit plans
                                                                                                           will be
                                                       closing of the transaction Atmel's benefits
      We anticipate that sometime following the                                          to be  determ ined. Upon
                                                       timing of this transit ion is yet
      transitioned onto Microchip's benefit plans. The                                       e to participate in all
                                                plans,  you  will be Immed   iately  eligibl
      the transition to the Microchip benefits                                                                 with
                                                        ements of the Microchip plans. We will work
      Microchip plans subject to the eligibility requir                                    rm.
                                                    the Micro chip  plans In the   nearte
      Microchip to provide you information about
                                                          chip's benefits plans?
      Will I receive service credit for purposes of Micro
                                                                                                           you as of
                                                      same service credit that Atmel recognizes for
      Microchip has agreed to provide you with the                                ses of  eligibil lty, vestin g, and
                                                      es to Microchip), for purpo
      the closing (as If you had provided such servic                                    health  Insurance plans,
                                                are compa   rable to Atmel  plans (e.g.,
      level of benefits In Microchip plans that                                                          •
      paid time off).
                                                      s after the transaction closes?
       What will happen to my. Atmel .equityAward
                                                                                                               yee's
                                                           Microchip will assume each continuing emplo
      RSUs & PRSUs. At the closing of the transaction,                                   and   perfor mance  -based
                                                      restricted stock units (RSUs)
      then-outstanding and unvested awards of
                                                            awards into awards for Microchip common stock
      restricted stock units (PRSUs), and convert those                                                        s will
                                                        the definitive agreement. The converted award
      with an equivalent value as determined under                                     have to  accele rated vesting
                                                     includ  ing any rights  you may
      retain the same material terms (e.g., vesting,                                                          Atmel
                                                     yment agreement or Atmel's stock plan) as your
      under the terms of your award, your emplo                                      of RSUs  and  PRSUs  (Includ ing
                                                       ction,  any vested   award s
      award. In addition, at the closingof the transa                                   have not yet been Issued,
                                     closing of the  transa ction) for   which  shares
      any portion that vests on the                                                                                to
                                                          withholding taxes, and converted into the right
      will be settled In shares, subject to applicable                                      like  any  other  Atmel
                                                        shares after the closing just
      receive the merger consideration for those                                                    .
      stockholder.
                                                                                                                 and
                                                        s that you hold will accelerate and become vested
      Stock Options. All unvested Atmel stock option                                      ued  service  throug h the
                                                      closing , subjec t to  your contin
      exercisable in full immediately prior to the                                                          you may
                                                      you as we get closer to the closing date on how
      closing. We will provide more information to                                           ction  with the closing.
                                                        this accele rated  vesting  in conne
      exercise your stock options that are eligible for

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       If you do not exercise your stock options prior to the closing, Atmel will automatically "net exercise"
       your stock options, which means that the exercise price and applicable withholding taxes will be paid
       by withholding the appropriate amount of shares otherwise issuable to you on the exercise of your
       stock options, You will receive merger consideration for the shares you are issued for your options
       after the closing just like any other Atmel stockholder.

        Purcha.-.e.Rlahls uiidgr Hie' Employee Stock Purchase Plan (ESPP1. Atmel expects to continue the ESPP
       until just before closing. For any offering period under the ESPP that would otherwise be in effect at
       the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
       on the 10th business day prior to such closing. All shares of Atmel stock purchased on that purchase
       date will not be released until the closing and will be treated like all other outstanding shares at the
       closing. The ESPP will terminate immediately prior to the closing.

       How much will I receive for my shares of Atmel stock?

      Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 In cash,
      plus a fraction of a share of Microchip common stock having a value of approximately Sl.15; provided
      however that Microchip will make a cash payment in lieu of issuing a fractional share of its common
      stock. For more Information, please see our filing on Form 8-K from January 19, 2016 at:
      lHlP:/A'.'ww.sec.Eov/Ai,chives/£aEar/data/872448/Q00157i04916010841Al600178 8k.htm

      When is the transaction expected to close?

      We expert the transaction to close during the second calendar quarter of 2016, subject to customary
      closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
      Microchip will continue to operate as Independent companies.

      Will there be salary adjustments in 2016?

      Atmel agreed not to increase salary for any employees before July 1, 2016. We expect Microchip to
      review compensation arrangements/ including salary levels, during the integration process.

      Who should I contact if I have questions about the transaction?

      If you have any questions, please contact Atmel's HR department.




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                                                           Additional Information
                                                                                                                                 ifivok-ing
                                                                     ion mstei'ial in respect of the proposed mergc-r
      This cQir.miinicaiion niay be- c/ec-med to be solicitat
                               In ix.imeci ion  wirh   the piopoie     tl  merger,    Microchip will file with The U.S. Securlftes and
      Mictoclni) sivii Aim?I                                                                                                             nf)
                                                                     Statement on Form 5-4 (the "tleaistrotion Stateme
      Exchnngu Conimissioci {(In? "SSC") s nceisKaiinn                                                                      d merger   and
                                                                     ip commo      n stock  to  be issued   in the  propose
      containing 3 prosiiacws with respect to the- Microch
                                                                               d merger (the "Proxy Slotemerd/l'rbspectus"). Each
      s ptpxy lUilc-meni of Atmel in connection with the propose
                                                file other  docume        nts  with the SEC regarding the proposed merger. The
      of Microchip and Atmel Intends to                                                                                                   nt
                                                              iviniled     to  stockholders of Atmel and will contain importa
      definitive Proxy Statement/Prospectus will be
                            c. propose   d merfjer   and related    matters     . The final Proxy State ment/Frcspectus will describe
      information nbouuh                                                                                                       g details of
                                                                   proposed merger will be implemented, Includin
      the terms and condltioni of the way In which the
                                                         d merger      agreem     ent. Any  respons   e  to the  proposed merger should
      how to vote on the adoption of the propose
                                                             the Proxy St3teinent/P"ospectus.
      be Tiade only on the basis of the information in
                                                                                                                                        tion
                                                                     copies of the Proxy Stateinc-m/Prospectus and Registra
      Securityholders oi Atmel may obtain, free of charge,                                                              with the proposed
                                                                   and     Microch   ip with  the SEC   In connect  ion
      Statement, and any other documents filed by Atmel                                                                               of the
                                                                       hclclers of Atmel may obtain, free of charge, copies
      merger at the SEC's website at www.sec.gov. Sacurlty
                                        and   any  other   docume      nts   filed  by  Atmel    with the SEC in connection with the
      Proxy Sratement/Prospectus
                                                                        website at www'.atmel.com.
      proposed merger in the "Investors" section of Annel's
                                                                                                                                 TO READ
                                                               DECISION, WE URGE SECURlTYHOlDI-RS OF ATMEL
      BEFORE MAKING AW INVESTMENT OR VOTiNS
                                     STATEM    ENT/PRO    SPECTU      S   AND      REGISTR   ATION STATEMENT [INCLUDING AMY
      CAREFULLY THE PROXY                                                                                                           HIP OR
                                                                   ANY OTHER RELEVANT DOCUMENTS THAT MICROC
      AMENDMENTS OR SUPPLEMENTS THERETO) AND                                                                               N  IMPORT    ANT
                                                                        c AVAILAB    LE,  BECAUS   E THEY    WILL  CONTAI
      ATMEL WILL FILE WITH THE SEC WHEN THEY BECQMf
                                THE   PROPOS   ED  MERGER    .
      INFORMATION ABOUT
                                                                                                                                  to sell c.r
                                                                   to buy or exchang e, or the solicitation of an offer
      This commonlcation does not constitute an offer                                                                         offer, sale or
                e, any securiti es, nor shall there   be any   sale- of securities in any.Juiisdlction in which such
      eiicltang                                                                                                               of any such
                                                                tion or quElliicattofi under the securities laws
      exchange would be unlawful prior 10 registra                                                                    any other document
                                                                te  for   any  prospec   tus, proxy  stateme    nt or
      jurisdiction. Tills communication is not a substitu
                                                               connection with the proposed merger.
      that Atmel or Microchip may file with the SEC In
                                                      Participants in the Solicitation
                                                                                                                          ants in the
                                                         ancl executive officers may be deemed to be particip
      Atmel, Microchip and their respective directors                                                                 agreeme   nt in
                                                           In connection     with  the   adoptio   n  of the  merger
      salicitatlon of proxies from Atmel's stodrltoWers
                               propose d merger   and  may    have   direct  or  indirect interests in the proposed inerger.
      connection with the                                                                                                      nt on
                                                                  e officers is set forth in Miciochlp's Proxy Stateme
      Information about Microchip's directors and executiv                                                    on July ID, 2015, and
                                                                 lders,  which  was   (llc-d.wit h  theSF.C
      Schedule i<t'A for it's 2015 Annual Meeting of Stockho                                                            SEC on May
                                                            ended March 31, 2015, which was filed with the
      its Annual Report on Forni 10-K for the fiscal year
                                    June 8, 2015.  These  docume    nts are  availabl  e free of charge at the SEC's website at
      27, 2015 and amended on                                                                                            tion about
                                                           www.microchlp.coni/irrvestorshome.aspx. Informa
      www.sec.goy and from Microchip's v-'ebsite at                                                           holdings  or otherwise
                                                           respective    interest s in Atmel   by   security
      Atmel's directors and executive officer s and their
                               Proxy Statem ent on  Schedul  e 1-)A for its 2015 Annual Meeting of Stockholders., which was
      is set forth in Atmel's                                                                                                       at
                                                                 nts are available free of charge at the SEC's website
      filed with the SEC on April 3, 2015. These docume                                                    . Additional information
                                                          of  Atmel's   website   at  www.gt   mel.com
      www.sec.gDv and from the "Investors" section                                                                                 will
                                                                ion of proxies in connectiun with tire proposed merger
      regarding the interests of participants in the solicitat
                                  Statemf int/Pros pectus and  the   Registra tion  Statement that Microchip will file with the
      be Included in the Proxy
      SEC.
                                                                                       g Statements
                              Cautionary Statements Related to Forward-lookin
                                                                                                                            ip,
                                                                 d-looking statements" in relation to Atmel and Microch
      This communication contains, or may contain, "fonvar                                                    d company that
                                                          l effects on  Atmel, Microch   ip and the  combine
      as well ss other future events and their potentia                                                        e," "believes,"
                                                         ly, the words "will," "mey," "should," "continu
      are subject to risks and uncertainties. General
                                     "estima  tes," "aims,"   "intend s," "anticip ates"  or similar expressions or negatives
      "targets," "plans," "expects,"                                                                                   (1) the
                                                                -looking statements include statements relating to
      thereof identify forward-looking statements, Forward
                               includin g future financia l and  operatin g results of the combined company. Microchip's
      benefits of the merger,


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        or Atmel'1; pisns, pojectives. expectations and fntenilcr.s, snd thi2 expectec timing of compietion cf Hie
        trcnsacticn; (2) expacted dev&lcpmenis in p'oduct portfoiio, ek-perred revenues. expC'Cted cperathc can
        scv'ngi, t»Kc-ecT£d future css.i gensretrcn. expected fjiL a* design whs snd increase in market snare, expected
        rcorpcrtirbii cf prcdLCK m those cf rtstoneri, sriopUcn of new techno og 55. rhe fxpfcctstion of volume
       .wipmpr-is of jrcicucts. cppcrtiii-.tTic-s ir> t.'.e ser.'.icotKiucicr inclusfy and rhc ab'lity to tski advantage cf those
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        b e ' i c ! : i.' '-he inri'.rgfiT-.rt: o( N/!c(^cr:p r.nd Ai -i-el. u-'; the expansion and growth of Microdiip's 01 Atmc-is
       OpeivitioriS. I 1 ') '.he SKpfCtsr cci.t ( revenue, technology and Other synergies of the proposed merger, rhs
       expfntn                cf the pi .••nc&eo merger on cuitcmess arte end-users, fhe combineti rsir.ppivy'b ijrjie capilai
       expenditures, expenses, revenues, earnings, economic performance, financial condition, losses and future
       prospects; (5) business and menaeement strategies and the expansion and growth of the combined company's
       operations; and (6) the anticipated timings of the Atmol stockholders' meeting and completion of tho proposed
       merger.

       These'forward-looking statements are based upon '.he current beliefs and expectations of the manaftemertof
       Atmel and Involve tislts sue uncc-rtaintlei thai could cause actual result; to differ rnaterislly from those
       expressed in the forward-looking statements. Many of tnese risks and uncertainties relate to factors that are
       beyond Almel's ability r.o control or estimate precisely Those (actors Include (1) the outcome of any legal
      proceedings thai could be instituted against Atmel or ics directors related to the discussions with Microchip, the
      merger flgreenients    with Dialog or Microchip or any unsolicited proposal; (2) the occui'rence of any event,
      change or other circumstances that could give rise to the termination of the merger agreement with Microchip;
      (3) the abJIUy-o obtain governmental and regulatory approvals of the proposed merger between Atmel and
      Microchip; (<1) the possibility tha: the proposed merger between Atmel and Microchip does (tot close when
      expected or at all, or that the parties, In order to achieve governmental and regulatory approvals, may be
      required to modify aspects of the proposed merger or to accept conditions that could adversely affect the
      cornbifisd company or the expected benefits of the proposed merger; (S) the possibility that other competing
      offers or acquisition proposals'will be marie; (5) the ability to realize the expected synergies or savings from the
        proposed merger in the amounts or in the timeframe anticipated; (7) the potential harm to customer, supplier,
       employee and other relationships caused by the announcement or closing of the proposedtnerger; (8) the ability
       lo Integrate Atmel's businesses into that of Microchip In a timely and cost-efficient manner; (5) the combined
       company^ ability to develop and market products containing the respective technologies of Atmel and
       Microchip Ir, a timely and cost-effective manner; (10) the combined company's ability to protect Invellectucl
       property rights; (13 J litioation (including Intellectual pro petty lltiEStlon in which the combined company may be
       involved or In which customers of the combliied compeny may be Involved,.especially in the mobile device
      sector), and the possible .unfavorable results.of Ic-fjal proteediriBs; (12) dependence on key personnel; (IB) the
       inability to realise the antidpaled benefits of acquisitions and lesUticturing activities, incfudine in connection
      vyith the proposed mergei. or pthei initiBttves in a Umely manner or at all; (15} the development of the markets
      •for Atmel's and Microchip's products; (35) risks related U> Micrr.ch.'p's ability to successfully implement its
      acquisitions strategy; (16) uiKerta'in'ty as to fhefutuTe'profitability of businesses acquired-by-Miciochip, and
      delays in the realization of, of the foilure to reallie. any accretion from any other acquisition transactions by
      Microchip: (17) the inherent uncertainty associated with financial projections; (18) disruptions in the-avjilabllity
     cf ray/ materisls; (IS) compliance with U.S. and Intsrnaxion.el laws and reeulations by the combined company
     and its distnbu'.ors; (20) the marfeex price snd volatility of Microchip cormnon stock (if the merger is completed);
      (21) the cyclical nature of the semiconductor industry; (22) an economic downturn in the semicondt.cror and
     telecommunications markets; (23) consolidation occurring within the semiconductor Industry; (2<1) general
     global macrocconomic and geo-political conditions; (25) financial ri:arket conditions; (2G) business-interruptions,
     natural disasters or terrorist acts; and (2?) other risks and uncertainties, including those dfttsiled front time to
     time in Microchip's and Atmel's periodic reports and other filings with the SEC or other regulator' authorities,
     inctuCing Atniel'i Annual Report on FOrm 10-K forthe YiscaI year ended 0ecember3l, 2014 and Quarterly Report
     on Form 10-Q for the quarterly period ended September 30,2015 (whether under the ceptlon Risk Factors or
     Forward Looking Statements or elsewhere) and Microchip's: Annual Report on Form 10-K for the fiscal year
     ended March 31, 2015, which was filed with the SEC on May 27, 2015 and amended on June S, 2015 and
     Ciuarterly Report on Form 10-0 for the a jarlarly period ended September 30,2015 (whether under the caption
     Risk Factors or Forward Looking StatemenTS or elsewhere).

     Neither Atmel nor Miciochip can give any assurance that such forward-iccking statements will piove to be
     correct. Tne reader is cautioned not to place undue relisnca on these forward-iooking statements, which speak



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                                                                   nor Mictochip nor any other person undertakes any
      only as of the date of this announcement. Neither Atmel
                                              any of the forward- looking statements sel out herein, whether as a result
      obligation to update or revise publicly
                                                               to the extent legally required.
      of new information, future events or otherwise, except
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   TO:            Khashayar Mirfakhraei
    DATE:         April 6,2016
   FROM:          Atmel, LLC.
   RE:            Severance Agreement and Release



                                                       yment from Atmel, LLC. effective April 6, 2016
   In connection with the termination of your emplo
                                                     a severa   nce package on the terms set forth in this
   (the "Termination Date"), we are offering you
                                                          accept it is entirely up to you. If you decide to
   document. This oifer is voluntary and whether you
                                                          ent, you will he entering into a legally-binding
   accept this offer by signing at the end of this docum
                                                         its affiliates, parent coloration and subsidiaries
   contract (the "Agreement") with Atmel, LLC., and
                                                stated below  .
   (collectively the "Company"), on the terms

                                     Atmel, LLC Commitments to You


                                                           Atmel, LLC. -will pay you a lump sum total of
   •    In consideration for entering into this Agreement,
                                                         y equal to 5 weeks of your current base pay.
        $17,358.37 ("Severance"), which is approximatel
                                                               within 30 business days after the Effective
   •    The Severance will be paid to you in one lump sum
                                                          taxes and witliho]dings, including any advanced
        Date of this Agreement, less all legally-required
        PTO pay.
                                                           will be paid all earned but unpaid salary and
    o   Regardless of whether you sign this Agreement, you
                                                         nation Date. You will receive information
        accrued but unused vacation through the Termi
                                                           uation under COBRA, l^othing in this
        regarding your rights to health insurance contin
                                                            or your rights to vested benefits under the
        Agreement will impair any COBRA rights you have                                      .
        terms of Company-benefit plans.
                                                          ial future employers to Atmel, LLC. Human
    o   Provided that you direct any inquiries by potent
                                      LLC.  shall use its best efforts to provide only your last position
        Resources department, Atmel,
        and dates of employment.

                                    Your Commitments to the Comnanv .


                                                             t and former officers, directors, employees,
    o    You agree to release the Company and its curren
                                                           istrators, insurers, trustees, divisions, and
         shareholders, affiliates, benefit plans, admin
                                                             ations and assigns (including, but not limited
         subsidiaries, and predecessor and successor corpor
                                                          and  promise never to assert any and all actions,
         to, Atmel, LLC.) (collectively, the "Releasees")




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                                                                                                                             any
                                                             ages; Josses and claims of every kind based on
        causes of action, grievances, obligations,.dam                                            but   not  .limit ed  to,  any
                                                             this Agreement, including,
        act, omission, event up to tie date you sign                                 termm   ation   of  your    empl  oyme     nt
                                                                oyment and/or
        claims relating to or arising out of your empl                            from   liabil ity  for  all  claim  s of   any
                                                              the Relea     sees
        with Atmel, LLC. In particular, you release
                    you  ever had   or  may   have   at this  time,    whether you know about them or not. This
        nature that                                                                                                             as
                                                                to,, any claims under federal or state law, such
        release specifically includes, but is not limited                              imina  tion   in   Empl   oyme   nt   Act
                                                               , the Age Discr
        Title VII of the Civil Rights Act of 1964
                         Ame   rican s with   Disab  ilities Act,     as well as any contract claim or other claim
        ("ADEA"), the                                                                                                       You
                                                             t extent the law permits a release of claims.
        under statutory or common law, to the fulles                                        beha  lf  of yours   elf and    your
                                                            in this paragraph is on
        agree that the waiver and release, of claims
                                repre senta tives , execu  tors,   successors and assigns, and all such persons are
        heirs, administrators,                                                                                                and
                                                             that the release set forth in-this section shall be
        bound by this waiver and release. You agree                                               matte   rs  relea sed.    Tin's
                                                                 general release as to the
        remain in effect in all respects as a complete                                                                         not
                                      any oblig   ation s incur   red under this Agreement. This release does
        release does not extend to                                            inclu ding,  but   not  limite  d to,  your   right
                                                                   r of law,
        release claims that cannot be released as a matte
                 a  charg e  with   or  partic ipate   in  a   charg    e by the Equal Employment Opportunity
        to file                                                                                                               that
                                                                al administrative body or government agency
        Commission, or any other local, state, or feder                           oyme  nt, again   st  the  Comp    any   (with
                                                            related to empl
        is authorized to enforce or administer laws                                                                           any
                      ding  that  any  such  filing  or  partic  ipation does not give you the right io recover
        the understan                                                                                     n   bars   you    from
                                                                     your release of claims herei
        monetary damages against the Company and
                                              from   the  Com     pany  ). This release does not extend to any right
        recovering such monetary relief                                                                                      You
                                                                 benefits or workers' compensation benefits.
        you may have to unemployment compensation                             fer of  any  claim   or   other   matte  r waived
                                                                   t or trans
        acknowledge that you have made no assignmen
        or released by this Agreement.
                                                         er of all rights under Section 1542 of the Civil
    o You agree that this release constitutes a waiv
      Code of the State of California, which reads:
                                                              END TO CLAIMS WHICH THE
          A GENERAL RELEASE DOES NOT EXT
                                                            PECT TO EXIST IN HIS OR HER
           CREDITOR DOES NOT KNOW OR SUS
                                                           THE RELEASE, WHICH IF KNOWN
          FAVOR AT THE TIME OF EXECUTING
                                                          ERIA  LLY AFFECTED HIS OR HER
          BY HIM OR HER MUST HAVE MAT
          SETTLEMENT-WITHTHE DEBTOR.
                                                                                                              that
                                                    releasing rights you may have under ADEA, and
    o You acknowledge that you are waiving and                              Com   pany  agree  that  this waiv    er
                                                       tary. You and die
      this waiver and release is knowing -and volun                   may  arise  unde r the  ADE   A   after   the
                                                        claims that
      and release does not apply to any rights or                                                                 er
                 Date of this Agre emen  t. You  ackn owle  dge that the consideration given for this waiv
      Effective                                                                       alrea dy  entitl ed.    You
                                                      value to which you were
      and release is in addition to anytliing of                                                              with
                                 you   have  been advis ed by this writing that: (a)you should consult
      acknowledge further that                                          forty -five (45) days   withi n wliic   h to
                                                      t; (b) you  have
      an attorney prior to executing this Agreemen                                        have  been  advis   ed  in
                                                          bits A, B and C herein, you
      consider thus Agreement; (c) as set forth in Exlii                        s cover ed by  the  reduc  tion   in
                                                     or group of individual
      writing by the Company of the class, unit,                                                            of all
                              facto rs for  the reduc tion in force, and the job titles and ages
      force, the eligibility                                                                      the  execu    tion
                                                      (d) you have seven (7) days following
      individuals who were and were not selected;                                       be effec tive  \intil  after
                                                        (e) this Agreement shall not
       of this Agreement to revoke this Agreement;
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                                                        ng in (Jiis Agreement prevents or precludes you
      the rcvqeation period has expired; and (f) npllii
                                                               faitli of the validity ••of this waiver under Hie
      fiom cliallenging or seeking a determination in good
                                                          dent, penalties, or costs for doing so, unless
      ADEA, nor does it impose any condition prece
                                                          the Atmel, LLC. agree that changes, whether
      specifically authorized by federal law. You and
                                                         of the 45-day period.
      material or immaterial, do not restart the running
                                                          cable on the eighth             day after botli parties
    ° Tliis Agreement will become effective and irrevo                       Agree  ment   and returns it to the
                                                          you sign this
      execute it (the "Effective Date"). In the event                        above  , you   hereby acknowledge
                                                             d  identi  fied
      Company in less than the forty-five (45) day perio
                                                          full time period allotted for considering this
      that you have voluntarily chosen to waive the
                                                           revocation must be accomplished by a written
      Agreement. You acknowledge and understand that
                                                             l, LLC., that is received prior to the Effective
      notification to Geri. Shaw, Human Resources, Atme
      Date.
                                                                                                              nal
                                                    ssion of any Atmel property, including perso
    « To the extent Employee is in the posse                         rs  cellul ar phone s,  Atme l credit cards,
                                                        ers,  copie
      computers (PCs), laptops, fax maehineS' scann
                                                               related corporate materials on all media.
      and any Atmel documents, correspondence and
                                                          or before the Termination Date. In addition,
      Employee will return all property to Atmel on
                                                             intact.
      computers must be returned with, all Company data
                                                         the consideration set forth in this Agreement,
    »   You acknowledge and represent that, other than
                                                      wages :, bonuses, accrued vacation/paid time off,
        the Company has paid or provided all salary,
                                                          costs, interest, severance, outplacement costs,
        premiums, leaves, housing allowances, relocation
                                                        , stock options, vesting, and any and all other
        fees, reimbursable expenses^ commissions, stock
        benefits and compensation due to you.
                                                                      cnts
                              General Understandings and Acknowlcducm

                                                       and abide by the terms of the [Confidential
    o You hereby reaffirm and agree to. observe
                                                          rietary Information Agreement") between you
      Information and Invention Assignment] (die "Prop
                                                     provisions therein regarding nondisclosure of :the
      and Atmel, LLC., specifically including the
                                                      proprietary information. You represent that you
       Company's trade secrets and confidential and
                                                      provided to you by the Company, developed qr.
      Jiaye returned all documents and oilier items:
                                                             t"with the Company, or otherwise belonging
       obtained by you in connectiou witfi your eniployiSen
       to the Company.
                                                   nation Agreement states your and the Company's
    o This Agreement and the Proprietary Irifon
                                                       matter of this Agreement and your rights and the
       complete understandings regarding the subject
                                                       or arising out of, your employment with Atmel,
       Company's obligations relating in any way to,
                                                         will he valid unless it is written and signed by
       LLC. No future modification of tliis Agreement
                                                  you.   If any provision in this Agreement is deemed
       an executive officer of the Company and
                                                           will not affect the enforceability of the rest of
       unenforceable, it will be considered severable and
       the Agreement.
                                                     consider whether you want to accept the offer
    o   You have until 5:00 p.m. on May 23, 2016 to
                                                       gh, you do not need to wait until that time to
        Atmel, LLC is making in this Agreement, althou
                                                  3




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                                                                                                  greement
                                                    . To accept this offer, you must sign this.A
        accept tliis offer and obtain the Severance                          by the date  and time  stated in
                                                       in Hum an Reso urces
        and 'deliver a signed copy of it to Geri Shaw                                       you. delive r this
                                                     not receive die Severance until, after
        this, bullet point. As noted above, you will                              d ends  and you  have   not
                                                   seven (7) day revocation perio
        signed Agreement to Geri Sliaw and the
        revoked this Agreement..
                                                                                                 that it is
                                                      owledging that you have read it carefully,
    o   By signing this Agreement, you will be ackn                                      with an attorn ey,
                                                 that you have been advised to consult
        written in language that you understand,                               and that you are.si gning  ii
                                                     d of time to consider it,
        that you have been given a reasonable perio
        knowingly and voluntarily.
                                                                                                         forth
                                                        ted this Agreement on the respective dates set
    In WITNESS WHEROF, the parties have execu
    below.


                                                           Khashayar Mirfekhiaei
    Date




                                                              Company Witness/Title
    Date

    Internal use:
    Date received:

    7-day revocation period ends:




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                                                   EXHIBIT A

                                   DECISIONAL UNIT INFORMATION
                                                                      you in making a decision -whether
    The following information is provided under federal law to assist
                                                                     by Atmel, LLC:
    to sign this Agreement and accept the severance benefits offered

                                                                            is CTO Organization
    1.     Decisional Unit, The decisional unit for this reduction in force
                                                                             eligible for the program.        All
    2.     Eligibility. All persons ineluded in the CTO Organization are
                                                                           d for the program,
    persons who are being terminated in the reduction in force are selecte
                                                                             days from the receipt of this
    3.      How Long to Decide. You will have up to forty-five (45)
                                           r to sign this Agreem   ent and return it to the Company. The
    Agreement in which to decide whethe
                                                                           on the date stated on page 3 of
    offer of severance benefits contained in this Agreement will expire
                                                                  Agreem  ent, you will have seven (?) days
    the Agreement. Please note that once you have signed tliis
                                                    terms of this Agreem  ent.
    to revoke your signature and acceptance of tlie
                                                                                        ation be given to you
    4.     Selection Information. Federal law provides certain, infonn
                                                              d for the  reducti on in force  and individuals Who
    concerning individuals who were eligible and selecte                                       fovmd in Exhibits B
                                                     on in force.. TJiis inform ation can  be
    were eligible but not-selected -for tlie reducti
    and C, which follow this Exhibit A.




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                                            Data Sheet by Age
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                                               EXHIBIT B

                                                                                                  and Not
    Job Titles of Individuals Not Selected from the Decisional Unit for this Reduction in Force
                                        Offered Severance Benefits

                                    Job Titlcfe')                             Agefs)
               Will be mailed to home address




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                                              EXHIBIT C

                                                                  for this Reduction in Force and
      Job Titles of Individuals Selected from the Decisional Unit
                                                                    Agreement and Release
           Offered Severance Benefits for Signing this Separation
                                      Title                                  Age
            Will be mailed to home address




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                        EXHIBIT D to A-6




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      TO:              Khashayar Mirfakhrae)

      DATE:           April 11,2016

      FROM:           Atmel Corporation

      RE:             Severance Agreement and Release



                                                                       became a subsidiary of Microchip Technology
      As you know, Atmel Corporation ("Atmel") recently
                                                 r").  Atmel    and   Microch  ip are making this offer. In part to resolve
      Incorporated ("Microchip") (the "Merge
                                                                   ngsevera nee benefits previously offered by Atmel. In
      any current disagreement or misunderstanding rcgardi
                                                  employ   ment    from   Atmel effective April 6,2016 (the "Termlnatipn
      connection with the termination of your
                                                                   the terms set forth In this document This offer Is
      Date"), we are offering you a severance package on
                                                         up  to  you.  If you decide to accept this offer by signing atthe
      voluntary and whether you accept It is entirely
                                                                     binding contract (the "Agreement") with Microchip,
      end of this document, you will be entering Into a legally-
                                                    (collect ively  the "Company")) on the terms stated below.
      Atmel, and their affiliates, and subsidiaries

                                               Company Commitments to You


                                                                       will pay you a lump sum total of (I) $36,105.40
      «     In consideration for entering into this Agreement, Atmel
                                                    tTn cash equal to 0.20  times the your Base Pay, and (11) $2,564.38
            representing, a lump sum cash paymen
                                                                      of the your 2015 Bonus, prorated tothe date of
            representing, a lumpsum payment In cash equal to 50%
            the your Involuntary Termination.
                                                                            e pursuant to COBRA, the Company shall
      «     In addition, if you timely elect to continue health coverag
                                                              your  covered   dependents, for up to two (2) months
            directly pay, the premium costs for you and
                                  ion  Date, subject to  complia nce with   COBRA   . After the Company ceases to pay
            following the Separat
                                                                 may, If eligible, continu e healthcare coverage at your
            premiums pursuant to the preceding sentence you
            expense In accordance   with the provisio ns of COBRA .

                                                                    "Severance Benefits."
      o     The benefits described in the two bullets above are the
                                                                       will be paid all earned but unpaid salary and
      o     Regardless of whether you sign this Agreement, you
                                        n through  the Termin   ation Date. You will receive Information regarding your
            accrued but unused vacatio
                                                                    . Nothing in this Agreement will impair any COBRA
            rights to health Insurance continuation under COBRA
                                    rights to vested benefit s under  the terms of Company benefit plans.
            rights you have oryour

                                                                     future employers to Atmel Human Resources
      o     Provided that you direct any Inquiries by potential
                                                         to provide only your last position and dates of employment.
            department, Atmel shall use its best efforts
                                                                    benefits that you may file.
      •     The Company will not contest any claim for unemployment




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                                             Your Commftments to the Company


                                                                                     Its and their officers, agents and
      «    You agree to release the Company, Its subsidiaries and affiliates, and
                                                    to  or arising out of your employm     ent with any of them. This
          employees from any liability relating
                                                                                 ever had or may have at this time,
          includes a release of any liability for claims of any kind that you
                                                                                    law allows and includes a release
          whether you know about them or not. This release is as broad as the
                                                                                harassment and retaliation laws and
          of claims under federal and state laws, such as anti-discrimination,
                                                                                Employment Act, This release also
          expressly Includes any claims under the Age Discrimination In
                                                                                claims that could be asserted under
          includes a release of any tort and contrart claims, and any other
          federal, state or local statutes, regulations or common law.

                                                                                 Section 1542 ofthe Civil Code of the
      °   You agree that this release of claims Is a waiver of all rights under
                                                                        not extend  to claims which the creditor does
          State of California, which reads "or genera) release does
                                to exist In his or her favor at the time  of executing the release; which If known fay
          not know or suspect
                                                                  settleme nt with the debtor."
          him or her must have materially affected his or her

                                                                                     any term of this Agreement or to
      »   In agreeing to this release, you are not giving up your rights to enforce
                             on  to, or file a charge with, any governm   ent agency.   However, In agreeing to this
           provide informati
                                                              any money,   or the reinstate ment of your employment,
          release, you are agreeingthat you will not accept
          for any claim you  have  released.


                                      General Understandings and Acknowledrcements

                                                                                        dings regarding your rights and the
      •   This Agreement states your and the Company's complete understan
                     obligatio ns, relating  In any way to, or  arising out  of, your   employm   ent with the Company. No
          Company's
                                                                   unless It Is written   and signed  by an executive officer
          future modification of this Agreement will be valid
                            and   you.    If  any provision  In  this Agreeme    nt  is  deemed    unenforceable, it will be
          of the Company
                                                                                         ofthe Agreement,
          considered severable and will not affect the enforceability ofthe rest

                                                                               you want to accept the Severance
      o   You have until 5:00 p.m. on May 27, 2016 to consider whether
                              this Agreeme nt, although you do not need   to wait until that time to accept this offer
          Benefits by signing
          andxjbtain the-Severance Benefits.                   .      ...

                                                                                          copy of It to Geri ShawIn Human
      •   To accept this offer, you must sign this Agreement and deliver a signed
                                  and time  stated In the previous  bullet  point, As    noted  below, you will not receive
          Resources by the date
                                                                    practicab  le  payroll   after  the eighth calendar day
          the Severance Benefits until the next administratively
                              this signed unrevoke  d  Agreeme nt to Gerl  Shaw.    If you  decide   to accept this offer and
          after you delivered
                                                                 have  seven   (?)   calendar   days   to change your mind
          you deliver a signed Agreerrtent to Geri Shaw, you
                                    nt. To revoke  this Agreeme  nt after  signing   it, you mustdell   ver a written notice
          and revoke the  Agreeme
                                                                  days  after  you     gave  her the  Agreeme   nt with your
          of revocation to Gerl Shaw within seven (7) calendar
          signature.

                                                                                read it carefully, that It Is written In
      o   By signing this Agreenrient, you are acknowledging that you have
                                                                             consult with an attorney, that you have
          language that you understand, that you have been advised to
                                          it, and that you are signing it knowingly and voluntarily.
          been given 4S..d3ys to consider
                                                                 2




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                                                                                       given to consider it, you are
      «   If you sign and return this document In less than the time you have been
                     y agreeingt o waive the remaining portion of the time that you have been given to consider it.
          voluntaril

                                                                                          BLE CONTRACT.
          ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEA




                                                                 Khashayar Mlrfakhraet
      Date




      Date                                                       Company Witness/Title


     Internal use:

     Date received:

     7-day revocation period ends;




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                                                       EXHIBIT A

                                            DECISIONAL UNIT INFORMATION

                                                                                                        to sign
     The fallowing information is provided under federal law to assist you (n making a decision whether
     this Agreement  and accept  the severance benefits offered byAtmel,  LLC:



              Decisional Unit. The decisional unitforthls reduction in force is CTO Organization

            Eligibility. All persons included in the CTO Organization are eligible for the program. All persons
     who are being terminated fn the reduction fn force are selected for the program.

                                                                                                                  in
     3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this Agreement
                                           Agreement  and return  It to GeriShawat   Atmel,  The offer of severance
     which to decide whether to sign this
                                                                                                             Please
     benefits contained in this Agreement wi/l expire on the date stated on page 2 of the Agreement,
                                      this Agreement, you  will have   seven (7) days to revoke your signature  and
     note that once you have signed
     acceptance of the terms of this Agreement.

                                                                                                      concerning
             Selection Information. Federal law provides certain Information be given to you
                                                 for the reduction in force and Individuals who  were eligible but
     individuals who were eligible and selected
                                                                                                               this
     not selected for the reduction in force. This information can be found In Exhibits B and C, which follow
     Exhibit A.




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                                                  Data Sheet by Age
                                                      4/6/2016

                                                       EXHIBIT B

                                                                                                    and Not Offered
      Job Titles of Individuals Mot Selected from the Decisional Unit for this Reduction in Force
                                   .              Severance Benefits

                                          JgbTHteffl
                                                                                        Acefsl

                 attBched




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                                                      EXHIBIT C

                                                                                                    Offered
        Job Titles of Individuals Selected from the Decisional Unit for this Reduction in Force and
                       Severance Benefits forSigriing this Separation Agreement and Release
                                           Title                                      Ml
              attached




                                                                       ATMEL PLAN/BERMAN000133
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                          DECLARATION OF GIRISH RAMESH

          I, Girish Ramesh, declare as follows:

         In 2015,1 was employed by Atmel as a Senior Marketing Manager. In July 2015,1 and other
  Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program",
  along with an Addendum to the letter providing additional details about the severance program
  (hereafter collectively "Severance Plan"). Attached hereto as Exhibit A is a copy of the Severance Plan
  document that I received in July 2015. The Severance Plan provided for certain severance benefits if
  Atmel was acquired and I was subsequently terminated.

        In approximately September 2015,1 learned that Atmel had entered into an agreement with a
 company called Dialog Semiconductor ("Dialog") pursuant to which Dialog would acquire Atmel. In
 approximately December 2015,1 heard that Atmel had received another acquisition offer from a
 different company. There was speculation among employees at Atmel that the "other" company
 looking to acquire Atmel was Microchip Technology, Inc. ("Microchip"). In approximately the last half
 of December 2015,1 made an appointment to speak with Suzy Zoumaras, Atmel's Senior Vice President
 of Human Resources, in order to ask her for confirmation that the Severance Plan would be valid and in
 effect even if a company other than Dialog wound up acquiring Atmel. During our meeting, Ms.
 Zoumaras assured me that the Severance Plan had been triggered when Atmel had entered into the
 agreement with Dialog, and that the Severance Plan was valid and in effect regardless of which company
 wound up acquiring Atmel. Ms. Zoumaras also indicated that I did not need to worry about looking for
 other employment outside of Atmel, since I would be protected with severance payments under the
 Severance Plan if a company acquired Atmel and I was terminated as a result. Ms. Zoumaras also
 encouraged me to disseminate this message about the Severance Plan to other Atmel employees who
 might have similar concerns or questions.

         In early February 2016,1 read the Frequently Asked Questions ("FAQ's") that had been
 published for Atmel employees regarding the potential Microchip acquisition of Atmel. A copy of the
 FAQ's is attached as Exhibit B. Reading the FAQ's confirmed again to me that Microchip would be
 honoring the Severance Plan if it acquired Atmel.

        On multiple occasions between approximately January 2016 and March 2016,1 had discussions
 with my immediate manager, Tushar Dhayagude (Atmel's Director of Marketing for the MCU Business
 Unit) about the issue of severance. Mr. Dhayagude told me multiple times that if Microchip acquired
 Atmel and then terminated my employment, that I would have a financial cushion because of the
 severance pay I would receive under the Severance Plan. Mr. Dhayagude also told me that he had been
 in meetings with Steve Laub (the Chief Executive Officer of Atmel) after Microchip had become the likely
 acquirer of Atmel, in which Mr. Laub gave assurances that the Atmel employees would receive their
 severance payments under the Severance Plan if they were terminated following an acquisition. Many
 other employees at Atmel told me that they also had been assured by their managers that the
 Severance Plan was valid and in effect and that Microchip would need to pay this severance if it
 terminated Atmel employees following the acquisition.




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             On approximately April 4, 2016, the acquisition between Atmel and Microchip closed. On
     approximately April 6, 2016,1 learned that some Atmel employees received a letter informing them that
     they were being terminated effective immediately. I was told that these termination letters indicated •
     that Microchip would only pay a small number of weeks of salary as severance. Approximately one
     week later, 1 learned that many Atmel employees who had been terminated had subsequently received
     a new letter, which indicated that Microchip would pay them only 50% of the severance benefits due
     under the Severance Plan.

             On approximately April 13, 2016,1 received a letter from Atmel which proposed a "new"
     severance agreement for me. A copy of this April 13, 2016 letter is attached as Exhibit C. Under this
     "new" severance proposal, I would only receive 50% of the severance benefits which were due to me
     under the Severance Plan if I were subsequently terminated by Microchip. I refused to sign this April 13,
     2016 letter proposal.

             On approximately May 20, 2016,1 was informed that I was being terminated effective
     immediately. A copy of the "Notice To Employee As To Change In Relationship" that I received on May
     201, 2016, informing me that I was being laid off as of May 20, 2016, is attached hereto as Exhibit D. I
     was terminated without "cause". However, Microchip has failed and refused to pay me any of the
     severance benefits due to me under the Severance Plan.

             I relied on receiving severance benefits under the Severance Plan in making the decision to stay
     at Atmel through the time of the Microchip acquisition. I certainly would have left Atmel and found
     another job long before Microchip's April 2016 acquisition if I had known that Microchip was not going
     to pay me the severance benefits under the Severance Plan.



             I declare under penalty of perjury that the foregoing is true and correct and that this declaration

     was executed on June   I flj 2016 at    £-A~lAP          LL                  CA



                                                   (iirish Ramesh      —




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                                                               STRICTLY PERSONAL AND CONFIDENTIAL

                July 9, 2015


                Girish Ramesh
                Re: Severance Guarantee

                Dear Girish,

               Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize that
               recently there has been significant market speculation regarding possible transactions involving the company and
               understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
               on our continued success, we are pleased to share with you the terms of a recently approved U,S, Severance Guarantee
               Benefit program that is Intended to ease concerns among our employees. Under this program, you will have the
               opportunity to receive benefits as described below If your employment Is Involuntarily terminated without Cause after the
               occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include:

                     •     Cash Severance: 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
                           transaction closes); and
                     «     Target Incentive: If you are eligible^ a prorated annual MIP or SIP, whichever you are eligible for at the time of
                           termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
                           determined by the Company; and
                    •      COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company                                   .

              All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
              receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
              Company (or its successor) if a transaction occurs (the "Release").

               Nothingwthis letterisintended to, or shall, contradict, modify or alter th'e"terms of your at-will employment, other than
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               remain-an-at'-will-employee-for-Bll-purposes,-meaning'that-you-orthe-eompany(oritssuccessor)-maytermfn3teyour                     —
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              Girish, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
         •    recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

              Sincerely,


             Suzanne Zoumaras
             Senior Vice President, Global Human Resources

             Attachment




             Tushar Dhayagude
             Patrick Sullivan




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                                                   ADDENDUM TO
                                     U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                     July 9, 2015



 Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
 July 1, 2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
 occurred priorto November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
 effect for 18 (eighteen) months following that Initial Triggering Event.

 Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
 consummated.

 Initial Triggering Event: Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
 November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
 into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
 will automatically expire, unless expressly extended by the Company's Board of Directors.

 Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
 benefits if, but only if:

      A.    A Change of Control actually occurs; and                    .
      B.    Their employment is terminated without "Cause" by the Company (or Its successor) at any time within 18
            months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
      P-ian.

Severance Guarantee Benefit's: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9, 2015.

Terminations Not Subject to Program: If your employment is terminated at any time before or after an Initial
Triggering Event has occurred as a result of yourvoluntary resignation, death, disability ortermination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program Is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid priorto the date the Release is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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 Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
 determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
 are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
 interpreted accordingly.

  Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
  under the Program, the term "Company" will include any successor to the Company's business and/or assets which
  becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
  severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
  payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
  action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
  Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
 conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
 Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
 of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
 in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced In accordance with the internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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                                                            Friday, April Sj 2016 at 12!l9:18 PM Pacific Daylight Time


 Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
 Date:    Wednesday, February 3, 2016 at 5:57:34 PM Pacific Standard Time
 From:     Human Resources

 Dear Atmel Employees,

 I am pleased to announce that today we posted our first set of Frequently Asked Questions (FAQs) related to
 the Atmel/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at
 http';//comi6cLaimel.com/inds>iJ'it'ml and are focused on answering questions related to compensation and
 benefits.                        •

As we have additional information, we will provide further updates and FAQs,

Warm regards,

Suzy
Suzanne Zoumaras| Senior Vice President, Global Human Resources
O: 408.487.2604 | M: 858.354.4877
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                                   FREQUENTLY ASKED QUESTIONS
                                           Microchip Transaction:
                 Effect o n C o m p e n s a t i o n a n d B e n e f i t s f o r U.S. E m p l o y e e s


       What happens to my employment and compensatory arrangements with Atme! after the dosing?

       Microchip has agreed to honor each of your employment and compensatory contracts (including
       retention awards and employment, employment continuation, severance, incentive and change in
       control agreements) with Atmel, or its subsidiaries, that are in effect immediately prior to the closing
       of the transaction.

       How will my compensation and benefits be affected after the transaction closes?

      Microchip has agreed not to reduce your base salary or base wages through December 31, 2016. In
      addition. Microchip has promised that your aggregate compensation and benefits package for 2015
      will be comparable in value to the aggregate value of your pre-closing compensation and benefits
      package, excluding the value attributed to any pension plans or employee stock purchase plans.

      Will I participate in the same Atmel benefit plans following the transaction?

      We anticipate that sometime following the closing of the transaction Atmel's benefits will be
      transitioned onto Microchip's benefit plans. The timing of this transition is yet to be determined. Upon
      the transition to the Microchip benefits plans, you will be immediately eligible to participate in all
      Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
      Microchip to provide you information about the Microchip plans in the near term.

      Will 1 receive service credit for purposes of Microchip's benefits plans?

      Microchip has agreed to provide you with the same service credit that Atmel recognizes for you as of
      the closing (as if you had provided such services to Microchip), for purposes of eligibility, vesting, and
      level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health insurance plans,
      paid time off).

      What will happen to my. Atmel equity awards after the transaction closes?

      RSUs & PRSUs. At the closing of the transaction, Microchip will assume each continuing employee's
     then-outstanding and unvested awards of restricted stock units (RSUs) and performance-based
     restricted stock units (PRSUs), and convert those awards into awards for Microchip common stock
     with an eqfu/valent value as determined under the definitive agreement The converted awards will
     retain the same material terms (e.g., vesting, including any rights you may have to accelerated vesting
     under the terms of your award, your employment agreement or Atmel's stock plan) as your Atmel
     award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (including
     any portion that vests on the closing of the transaction) for which shares have not yet been issued,
     will be settled in shares, subject to applicable withholding taxes, and converted into the right to
     receive the merger consideration for those shares after the closing just like any other Atmel
     stockholder.

     Stock Options. All unvested Atmel stock options that you hold will accelerate and become vested and
     exercisable in full immediately prior to the closing, subject to your continued service through the
     closing. We will provide more information to you as we get closer to the closing date on how you may
     exercise your stock options that are eligible for this accelerated vesting in connection with the closing.



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        If you do not exercise your stock options prior to the dosing, Atinel will automatically "net exercise"
       your stock options, which means that the exercise price and applicable withholding taxes will be paid
       by withholding the appropriate amount of shares otherwise issuable to you on the exercise of your
       stock options. You will receive merger consideration for the shares you are issued for your options
       after the closing just like any other Atmel stockholder.

       Purchase R'mhis under the Employee Sloch Purclissc- Plan (ESPPi. Atmel expects to continue the ESPP
       until just before closing. For any offering period under the ESPP that would otherwise be in effect at
       the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
       on the 10th business day prior to such closing. All shares of Atmel stock purchased on that purchase
       date will not be released until the closing and will be treated like all other outstanding shares at the
       closing. The ESPP will terminate immediately prior to the closing.

       How much will I receive for my shares of Atmel stock?

      Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 in cash,
      plus a fraction of a share of Microchip common stock having a value of approximately $1.15; provided
      however that Microchip will make a cash payment in lieu of issuing a fractional share of its common
      stock. For more Information, please see our filing on Form 8-K from January 19, 2016 at:

      hvto://www.sec.eov/Archlv'&s/edKar/dats/S7?.448/0001571049l60i0S''.i/tl60Cil7fi            ak .htm

      When Is the transaction expected to close?

      We expect the transaction to close during the second calendar quarter of 2015, subject to customary
      dosing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
      Microchip will continue to operate as independent companies.

      Will there be salary adjustments in 2016?

     Atmel agreed not to increase salary for any employees before July 1, 2016. We expect Microchip to
      review compensation arrangements, including salary, levels, during the integration process.

     Who should I contact if I have questions about the transaction?

     If you have any questions, please contact Atmel's HR department.




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        Exchange Comrrission (the "SEC) a Rfigist.-st'on StE-enent on Fcrni S-4 ;tr.6 "RegiSthilicn Statetmrf')
        conialring a prospectus wilii respect to the Microchip corr.iron stock io be issued ir. the p.toycseci merEe/' ;rd
       a p'.oxy statement of Atmei ir. connEction with the proposed merger (the 'PrsyyScotemem/Prospcctus''). Each
       of Microchip and Atmei intends to file DTher documents with the SFC regsrding the proposed merger The
       definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmei and will co-itein important
       information s bout the picpcsed merge'•and related matters. The final Proxy Statement/Prcspectus will describe
       the terms and conditions of the way in v.'h!ch the proposed merger will be Implemented, including details of
       how to vote on the adoption of the proposed merger agreement. Any response to the proposed merge' should
       be made only on the basis of the information !n the Proxy Statement/Prospectus.

       Securityholders of Atmei may obtain, free of charge, copies of the Proxy Statement/Prospectus and Regiitration
       Statement, and any ether documents filed by Alrr.sl and Microchip with the SEC in connection with the proposed
       merger = t the SEC's website at www.sec.gov. Securityholders of Atmei -nay cbtaln, free of charge, copies of the
       Proxy Stats.Tient/Prospscius and any other cccuments filed by At^iei with the SEC in connection with the
       proposed merger in the "Investors" section of Atmel's website at www.atmel.com.

      BEFORE MAKING AN INVESTMENT OR VOTING DECISION, WE URGE SECURITYHOLDERS OF ATiV.EL TO READ
      CAREFULLY     THE   PROXY    STATEMENT/PROSPECTUS          AND     REGISTRATION    STATcMENT (INCLUDING           ANY
      AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RElFVAK'T DOCUMENTS THAT MICROCHIP OR
      ATM EL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANT
      INFORMATION ABOUT THE PROPOSED MERGER.

      This communication does not ccnstltute an offer to buy or exchange, or the soltatatior. of an offer to sel. or
      exchange, any securities, nor sl'all there be sny sale of securities in any jurisdiction in which such offer, sale or
      exchange would be uniawful, prior to registration or Qualification under the securities laws of any such
      jucisdiclicn. This communication is not a substitute far any prospectus, prcxy statement or any other docunoent
      that At.^.el 01 Microchip may fiie with the SEC In connection with the p-cposed merger.

                                                 Participants In the Solicitstion
      Atirel, Microchip and their respective directors and executive officers may be deen'-.ed to be oarticipants in the
      solicitation of proxies from Atmel's stockholders in connection with the adoption of the merger agreement in
      connection with the proposed merger and may have direct or indirect interests in the proposed merger,
      inforrr.stion pOoi.t Micrcchip's directors and executive officers is set forth in Microchip's Proxy Stetement on
     Schedule I4A for .rs 20iS Amiual tC'isetirig of Slo'cliHolo'ersrwhich wss'flled with the SEC on July 10, 2015; and
      its Antusl Report on Form IC-K for the fiscal year ended March 31, 2015, which was filed with the SEC on May
     27, 2015 anc amended on June 8, 2015. These documents are available free of charge stthe SEC's website- st
     www.sec.gcv and from Microchip's weos'te at www.microchip.ccn/investors'nome.aspx. Information about
     Atmel's directors and executive officers and their respective interests in Atmei by security holdings or othewise
     is set forth in Atmel's Proxy Stslemem cn Schedule 14 A for its 2015 Annual Meeting of Stockholders, which was
     filed with the SEC on April 3., 2015. These docuinents are available free of charge at the SEC's website at
     www.sec.gov and from the "Investors" section of Atmel's website &t www.atmel.com. Additional information
     regarding the interests of psrtlcipsnts 'n the sclicltation of proxies In connection with the proposed merger will
     be included in the Proxy Statement/Pros pectus and the Registraiion Statement that Microchip will file with the
     SEC.
                              Cautionary Statements Related to Forwsrd-LookingStatements

     This communication contains, or may contain, "forwsrd-ioolcing statements" In relation to Atmei and Microchip,
     as well as other future events and their potential effects cn Atmei, Microchip and the combined company that
     are subject to risks and unceitslnties. Generally, the words "will," "r-.sy," "should," "continue," "believes/'
     "targets," "plans," ''expects," "estimates," "aims," "intends," "sntidpstes" or similar expressions or negatives
     thereof identify fcrward-iooklng statements. Forward-looking statements include statements relating tc {!) the
     benefits of the merger, including future financial and operating results of the combined company, Microchip's


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        cpergtions; /*) the expected cost, revenue, tecrnclogy sna other svne'gies of rhe prooa&ed rr-erger, the
        expected 'n-.pact cf :re proposed merger on customers and end-osers, the cc-mbined coTipany's future csptre
        ezpendirurei, expenses, revenues, earnings, economic pcrforrr.anre, firsnaal condition, iosses sr.o' future
        prospects; (S) business snd mar.agement strategies and rhe Expansion and growth of the combined company's
        operations; ar.d {(3) the anticiosted timings of the Atmei stockhoiders' -T-eeting and completion of the proposed
        meigai.

         These fo-ward-lockir.g ststenne its are DBSCC upon the currer.t oeliefs snd expectsrions of the .Tariagemcnt of
          Atmel and irvoive risks and urcertair.t:es that could cajse actual results to differ mste'is.ly from those
         expressed in the forward-looking siatemern. Many cf these'risks and uncertainfas reiate to factors that are
         beyond Atrnei's ability to control or estimate precisely. Those factors include (1) the outcome cf any legal
         croceedings that could be instituted against Atmel or ;ts directors relared to the discussions with Microchip, ^he
         merger agreements with Dialog cr Microchip or any unsolicited prcposai; (2) fre occurrence cf any event,
         change cr other circumstances that could give rise to the termination of the merger agreeniEnt with Microchip;
         (3) the ability to obtain governnsnial and regulatory approvais cf the p'oposed merger between Atmel snd
         Microchip; (4) the possibility thai the proposed merger between Atmel and Microchip does not close when
        expected or at all. or that rhe perries, in order to achieve Governmental and regulatory approvals, may be
        required to modify aspects of the proposed merger cr to accept cood-tions that could adversely a Pert the
        comb^ied company or the expected benefits of rhe proposed r-eiger; {5) the possibility that other competing
        offers or acquisition proposals will oe r^arie; (5) the ability to realise the expected syneigies cr savings from rhe
        proposed -lerger in rhe arounts or in the timeframe cntlc'psted; (7) the potential ^arm to ccstorrcr, supplier,
        employee ano other re.'atior.shlps caused by the annourcerr.enl o" dosing of rhe proposed merger; (Sj the ability
       to Tiiagiate Atmal's businesses .'nto that of Microchip in a cimely a-'d cost-efficient manner; (9) the combined
       company's aoi'iTy to dsvesop ar.d market products containing the rsspsctlve technologies c"* Atme' a-d
        Viicroc.hip in a timely and cost-sPecllve manner: (10) tne combined company's ability to protect ir.teilectual
       prcpertv rights; (ii) litigation (Including intellectual property litigation in which the combined ccmpany may be
       Involved or in wnich customers of the combined company may ce involved, especially in the mobile device
       sector), and the possible unfavorable results of legal proceedings; {12} ceper.cfence on key persc-nnes; (IS) tSe
       inability to -eaP.-.e the antic pared benefits cf acquisitions and restructuring activities, including in connection
       with the oroposed merger, cr other i-iitiatives in s timely manner or at all; {14) the ceveioprrient cf tne merkets
      fo- Armei's snd VUcrochlp's crcducts; '51 r.si'.s related to Micrechio'i abil'ty rc successfully "rp.'einer.t its
      accjuisi'tions scategy; {16; uncerrain'ty ss fo The fCT.ure profitability of businesses acqu'red by i/.icochip, a"d
      delays in the realization cf, cr the failure to realize, any accretion 'rem any other scquisitior transactions by
      Miirrcc'' ip; {:?! the innerent uncertainty associstec wirh ^nahc'-al p'o-ect'ons; (IS} dis-options .t rha avaitebllfty
      of raw rratprisls, (13) comolia-.ce with U.S. and inierrations' laws snd -egjlatiens by the combined corrpany
      and ts distributers; {2C} tne market price and volatility of Microchip ccntmon stock (if rhe "nei ger is completed}.
      (21} i~.e cyclical ratuie of the seir:ic2r,ouctor industry; >22) an economic downturn m the remiccnductor s'c
     telecon-iminications ma-irets: i'23)' corsolldaTion occurring wirhi'- the semiconductor industry; (24) general
     gloPal macroecc-vomit and geo-political conditions; (iS) financial market conditions; (251 buslress inter "uptions.
     narurai disasters cr terrorist acts; and (li/) other risks and uncertainties, inducing tnose detailed from rime tc
     time in Microchip's a.'d Aime,'r periodic reports and drher filings with the SSC or other rpgulatory authoiities.
     including Atmel's Annual Report on Fcrm 10-K for tha fiscal year ended December 31, 2fJl4and Quarterly flepcit
     on Form 10-Cifoi the quarterly period ended September 30.. 2015 (s'.'hether under the caption Risk Factors oi
     Forward Locki-ig Statements or elsewhere) and Microchip's Annual Repoit on Fcrm 10-K for rhe fiscal year
     endeo March 31, 2015,. which was filed with rhe SEC o1", May 7:7, 2015 and amended on June S, 2015 ar.d
     Quansriy Repcr: on Fornt lC-Qfpr the quarterly period snded September 30, 2015 (whether under the caption
     Risk Kactcrs or Fc-rward Looking Statements or elsewhe'ej.

     Neither Atmei nor Microchip can give any assurance that such forward-'ockir.g state menu will prove to he
     correct. The reader is cautioned not tc piace undue reliance on these forward-looking statements, which speaK



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    /kmonly £5 of the date of this arnoimcement. (Meither /vtmfi! Mm Microchip nor any ot' e r person undeitekes any
       obligation to upriste or revise publicly any cf the rorward-icclting staterrents set out h.grsi.i. wlieiher as a ie«ult
       of new infonration. future events or otherwise, Mcepttc the extent legally required.
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                                                                            Letter for Exempt Employees hired before 12/51/15

 April 13, 2016

 Girish Ramesh

 Re: Severance Benefits

 Dear Girish,

 I am pleased to offer you a severance agreement on the terms and conditions set forth below.

As you know, Atmel Corporation (the "Company") recently became a subsidiary of Microchip Technology
Incorporated ("Microchip") (the "Merger")- The Company and Microchip are making this offer, in part to resolve
any current disagreement or misunderstanding regarding severance benefits previously offered by the
Company, and in part to provide you with the security of certain benefits in the event your relationship is
terminated involuntarily without Cause (as defined in Appendix A) by the Company, Microchip or any U.S.
subsidiary or affiliate of the Company or Microchip (the "Microchip Group"), and other than due to your death
or disability, on or prior to April 4, 2017 ("Qualifying Termination").

These benefits (collectively, the "Severance Benefits") are:
    o Cash Severance: A lumpsum payment equal to 20% of your annual base salary, less applicable
       withholdings, based on your base rate of pay in effect immediately prior to the date your employment
       is terminated (the "Separation Date");
   « Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP) that you
       received from the Company for 2015, then annualized, less applicable withholdings, prorated based on
       the number of days between January 1, 2016 and your Separation Date 1 ; and
   • COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

Your receipt-of the Severance Benefits-will be subject to you signing and not revoking a release of any and all
claims, in a form prescribed by Microchip and substantially the same as that attached at Appendix B (the
"Release"). Upon the Release becoming effective, the Cash Severance and Target Incentive will be payable in a
lump sum without interest as soon as administratively practicable, and all other amounts will be payable in
accordance with the payment schedule applicable to each payment or benefit.

Nothing in this agreement is intended to, or shall, contradict, modify or alter the terms of your at-will
employment. You shall remain an at-will employee of the Company and the Microchip Group for all purposes,
meaning that you, the Company or the member of the Microchip Group employing you may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.
Moreover, the at-will status of your relationship cannot be changed except in a written document, signed by
Microchip's Chief Executive Officer and you, and which expressly modifies your at will status. This agreement
constitutes the complete, final, and exclusive embodiment of the entire agreement between you and the


     1  For example, if your performance bonus for working the entire year of 2015 was $10,000, less applicable
     withholdings, and you are employed for a total of 180 days after January 1,2016, then you will be eligible for a Target
     Incentive of (($10,000 x .5) x (180/365))= $2,465.75, less applicable withholdings. However, if you were hired by the
     Company sometime after January 1, 2015, then your 2015 bonus number will be annualized accordingly. For example,
 .   if you were hired April 1, 2015 and received a performance bonus for 2015 of $7,500, and you are employed for a
     total of 180 days after January 1, 2016, then you will be eligible for a Target Incentive of ((($7,500 x 365/275) x .5) x
     (180/365)) =$2,454.55.


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 Microchip Group with regard to its subject matter and supersedes any other actual or perceived promises,
 warranties, or representations with regard to its subject matter made by the Company or any other member of
 the Microchip Group, including, for the avoidance of doubt, any programs, policies, or agreements with respect
 to severance or equity acceleration benefits made prior to April 4,2016.

In the event that a portion of the Microchip Group is sold to an unrelated party and your employment is
transferred to that party, Microchip and the Company will ensure that the new employer assumes responsibility
for this agreement,

If a Qualifying Termination does not occur on or prior to April 4, 2017, this agreement will expire and you will
not be eligible to receive the Severance Benefits described here.

To accept this offer, counter-sign in the space provided below and return it to your HR business partner no later
than April 20,2016.

Thank you for your continued contributions to our success.

Sincerely,


               0.' (—fit—
Lauren Carr
Vice President, Global Human Resources

AGREED AND ACKNOWLEDGED:                                     MICROCHIP TECHNOLOGY INC.



Signature (Girish Ramesh)   .                                 HR Business Partner



Date                                                          Date




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                                                  APPENDIX A

                                ADDITIONAL TERMS TO SEVERANCE AGREEMENT

Unless otherwise defined below, capitalized terms used herein will have the meanings set forth in the
agreement.                       •



1. Cause. "Cause" is defined as (i) your willful and continued failure to perform the duties and responsibilities
   of your position after there has been delivered to you a written demand for performance from Microchip's
   Vice President, Worldwide Human Resources which describes the basis for her belief that you have not
   substantially performed your duties and you have not corrected such failure within 30 days of such written
   demand; (ii) any act of dishonesty by you in connection with your responsibilities as an employee of the
   Company with the intention or reasonable expectation that such action may result in your substantial
   personal enrichment; (iii) your conviction of, or plea of nolo contendere to, a felony that Microchip's Vice
   President, Worldwide Human Resources reasonably believes has had or will have a material detrimental
   effect on the reputation or business or any member of the Microchip Group; (iv) a breach of any fiduciary
   duty owed to the Company or the Microchip Group by you that has a material detrimental effect on the
. reputation or business of any member of the Microchip Group; (v) you being found liable in any Securities
  and Exchange Commission or other civil or criminal securities law action or entering any cease and desist
  order with respect to such action (regardless of whether or not you admit or deny liability); (vi) you (A)
  obstructing or impeding; (B) endeavoring to obstruct, impede or improperly influence, or (C) failing to
  materially cooperate with, any investigation authorized by the Board or any governmental or self-reguiatory
  authority (an "Investigation"}; however, your waiver of attorney-client privilege relating to communications
  with your own attorney in connection with an Investigation will not constitute "Cause"; or (vii) your
  disqualification or bar by any governmental or self-regulatory authority from serving in the capacity
  contemplated by your position or your loss of any governmental or self-regulatory license that is reasonably
  necessary for you to perform your responsibilities to the Company or any member of the Microchip Group,
  iffAJ-the-'disqualificationj-bar-oHoss-'Contimjes-for more-than 30 days,--and--(B)- during that period the
  Company or any member of the Microchip Group uses its good faith efforts to cause the disqualification or
  bar to be lifted or the license replaced, it being understood that while any disqualification, bar or loss
  continues during your employment, you will serve in the capacity contemplated by your position to
  whatever extent legally permissible and, if your service in the capacity contemplated by your position is not
—permissible,—you-will—be—placed—on—leave—(which-will -be-paid-to -the- extent legally-permissible).




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                                                       APPENDIX B

       TO:             [NAME]

       FROM:           Microchip Technology Incorporated

       DATE:           [XXXX]

       RE:             Employment Separation, Severance and Release ("Agreement")




  As you know, the Company2 has decided to end your employment without cause (as defined in the
  Severance Agreement that you signed in April 2016). Under the terms of the Severance Agreement, you are
  entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
  Agreement.

                                          The Company's Commitments to You

  •          The Company will give you:

                o   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
                    withholdings, based on your base rate of pay in effect immediately prior to the date your
                    employment is terminated (the "Separation Date");
                o   Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP)
                    that you received from the Company for 2015, less applicable withholdings, prorated based on
                    the number of days between January 1, 2016 and your Separation Date; and
                o   COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

  <•     The Company will not contest any claim for unemployment benefits that you may file.

                                          Your Commitments to the Company

 •       You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
         employees from any liability relating to or arising out of your employment with any of them. This
         includes a release of any liability for claims of any kind that you ever had or may have at this time,
         whether you know about them or not. This release is as broad as the law allows and includes a release .
         of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
         expressly includes any claims under the Age Discrimination in Employment Act. This release also
         includes a release of any tort and contract claims, and any other claims that could be asserted under
         federal, state or local statutes, regulations or common law.

 •       You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
         State of California, which reads "a general release does not extend to claims which the creditor does
         not know or suspect to exist in his or her favor at the time of executing the release, which if known by
         him or her must have materially affected his or her settlement with the debtor."




 2  In this document, unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
 Corporation and any of their affiliated entities.


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      •    In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or
           to provide information to, or file a charge with, any government agency. However, in agreeing to this
           release, you are agreeing that you will not accept any money, or the reinstatement of your
           employment, for any claim you have released.

                                    General Understandings and Acknowledgements

      «    This Agreement states your and the Company's complete understandings regarding your rights and the
           Company's obligations relating in any way to, or arising out of, your employment with the Company.
           No future modification of this Agreement will be valid unless it is written and signed by an executive
           officer of the Company and you. If any provision in this Agreement is deemed unenforceable, it will be
           considered severable and will not affect the enforceability of the rest of the Agreement.

      o   You have until 5:00 p.m. on XXXXX (XX days after your Separation Date), to consider whether you want
          to accept the Severance Benefits by signing this Agreement, although you do not need to wait until that
          time to accept this offer and obtain the Severance Benefits.

  •       To accept this offer, you must sign this Agreement and deliver a signed copy of it to Lauren Carr in
          Human Resources by the date and time stated in the previous bullet point. As noted below, you will not
          receive the Severance Benefits until seven (7) business days after you deliver it to Lauren Carr. If you
          decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
          calendar days to change your mind and revoke the Agreement. To revoke this Agreement after signing
          it, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
          you gave her the Agreement with your signature.

  °       By signing this Agreement, you are acknowledging that you have read it carefully, that it is written in
          language that you understand, that you have been advised to consult with an attorney, that you have
          been given 21 days [or 45 days if you are not the only employee separated from the Company at the
          same time] to consider it, and that you are signing it knowingly and voluntarily.

  «       If you sign and return this document in less than the time you have been given to consider it, you are
          voluntarily agreeing to waive the remaining portion of the time you have been given to consider it.

          ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




  Date                                                        [XXXX EMPLOYEE NAME]




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           NOTICE TO EMPLOYEE AS TO CHANGE IN RELATIONSHIP
                 (Issued pursuant to provisions of Section 1089
                of the California Unemployment Insurance Code)

                           Girish Ramesh
       Employee Name;

       Social Security Number: last 4 digits 0008
                                                05/20/2016
       You were 0 laid off / • discharged on

              OR

      You resigned your employment voluntarily with an effective date of



                                     ATMEL CORPORATION


                                                    J\   A<

                                                I
                                  . BY:             fU
                                           Signature
                                           Jayme Valdoz

                                           Printed Name


     NOTICE ACKNOWLEDGMENT


     I received a copy of this notice.


     Signed:

     Date:
     Rev 10 October 2015




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                       EXHIBIT A-8




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                                              DECLARATION OF PETER 5CHUMAN



             I, Peter Schuman, declsre as follows:

            In 2015,1 was employed by Atmel Corp. ("Atmel") as a Senior Director of Investor Relations, In
    July 2015,1 and other Atmel employees received a letter setting forth Atmel's "U.S. Severance
    Guarantee Benefit Program", along with an Addendum to the letter providing additional details about
    the severance program (hereafter collectively "Severance Plan"). A copy of the Severance Plan I
    received in July 2015 is attached as Exhibit A. The Severance Plan provided for certain severance
    benefits if Atmel was acquired and I was subsequently terminated.

            In September 2015,1 learned that Atmel had entered into an agreement with a company called
    Dialog Semiconductor ("Dialog") pursuant to which Dialog would acquire Atmel. In December 201S, I
    heard that Dialog might not be the buyer and that another potential purchaser had emerged. In January
    2016,1 learned that Microchip Technology, Inc. ("Microchip") was the new potential buyer and that
    Microchip had made a purchase offer superior to Dialog's, On approximately January 14, 2016,1
    received a letter from Suzanne Zoumaras, Atmel's Senior Vice President of Global Human Resources. A
   copy of the January 14, 2016 letter I received from Ms. Zoumaras is attached as Exhibit B. In that letter,
   Ms. Zoumaras stated that I would be eligible for the severance benefits provided in the July 2015
   Severance Plan if I were to be involuntarily terminated following a change in control, regardless of
   whether the acquisition of Atmefwas done by Dialog or Microchip. The January 14, 2016 letter also
   emphasized that the Severance Plan continued to remain in place.

           After.Dialog failed to increase its purchase offer, I learned in the last half of January 2016 that
    Microchip had entered Into an agreement with Atmel pursuant to which Microchip would acquire               •
   Atmel.

            On the morning of February 29, 2016, three senior members of Microchip's finance team visited
   Atmel's corporate headquarters in San Jose, California, In order to discuss the upcoming
   a.cquisiticn/nxerger between^Atmel and Microchip. These three Microchip individuals were Eric
    Bjornholt (Microchip's Chief Financial Officer), Nawaz Sharif (Microchip's Vice President of European
   Finance) and Phil Kagel (Microchip's Director of Finance). At approximately 10:30 a.m., these three
   Microchip executives met with the senior members of Atmel's Finance team (Director level and above)
   in the "training room", which was the large meeting room on the ground floor of Atmel's headquarters.
   There were approximately 12 to 15 Atmel employees at this meeting, including me. During this
   meeting, which included a question and answer session regarding the upcoming merger between Atmel
   and Microchip, one of the Atmel employees asked for confirmation that Microchip would be honoring
   the severance agreements and programs which the Atmel employees had received the previous year. In
   response, Mr. Bjornholt assured the Atmel employees that. If Microchip acquired Atmel and then
   terminated Atmel employees, that Microchip would honor the severance agreements which the Atmel
   employees had received.




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            Later on that same morning of February 29, 2016, Mr. Bjarnholt, Mr. Sharif and Mr. Kagel held 3
    second meeting with a larger group of Atmel finance employees in the same "training roonr" at Atmel's
    headquarters in San Jose, This meeting was attended by all (or almost all) members of the San Jose
    Atmel finance team, including me. There were approximately 40 to 60 Atmel employees in attendance
    at this meeting. During this second meeting, which again focused on the upcoming merger between
    Microchip snd Atmel, Mr. Bjornholt again reiterated TO the Atmel employees that Microchip would
    honor the Atmel severance agreements and programs that the Atmel employees had received, if
    Microchip terminated Atmel employees following the acquisition by Microchip,



           I declare under penalty of perjury that the foregoing is true and correct, and that this declaration

   was executed on June. _7    , 2015 at       Burlingame, California



                                           r   j       y
                                                     4^
                                                       Peter Schuman




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                                                 STRICTLY PERSONAL AND CONFIDENTIAL

    Julys, 2015

    PeterSchuman
    Re: Severance Guarantee

    Dear Peter,

   Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize that
   recently there has been significant market speculation regarding possible transactions involving the company and
   understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
   on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
   Benefit program that is intended to ease concerns among our employees. Under this piogram, you will have the
   opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
   occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include:

        •      Cash Severance: 50% of base salary (based on your base rate of pay in effect on the date the Change of Control
               transaction closes); and
        •      Target Incentive: A prorated annual MIP or SIP, whichever you are eligible for at the time of termination; the
               proration will be based a determination of your MIP or SIP at the time of termination, as determined by the
               Company; and
        •      COBRA Benefits: Six (6) months' of COBRA benefits paid for by the Company

  All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
  receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
  Company (or its successor) if a transaction occurs (the "Release").

  Nothing in this letter is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
  the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
  remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
 "empToytriem'aTany timefof'any reason offo'rno'reason, with or wifFiout Cause, and with or without notice.

  Peler, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
  recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

  Sincerely,



 Suzanne Zoumaras
 Senior     Vice President, Global Human Resources

  Attachment




 Stephen Skaggs
 Stephen Skaggs




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                                                   STRICTLY CONFIDENTIAL


                                                        ADDENDUM TO
                                       U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                       July 9, 2015



  Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
  July 1, 2015 and will terminate on November L 2015 unless an Initial Triggering Event (as described below) has
  occurred prior to November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
  effect for 18 (eighteen) months following that Initial Triggering Event,


  Eligibiltty: Eligibility is limited to UiS.-based employees of Atmel Corporation as of the date a Change of Control is
  consummated.                                                                                                 .


  Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benefit Program will become available to
  eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
  November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
  into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
  will automatically expire, unless expressly extended by the Compan/s Board of Directors.                    •


  Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S,
  Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
  benefits if, but only if:

       A.      A Change of Control actually occurs; and
       B.      Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
               months of the execution date of the Definitive Agreement.

       For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
       "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
       Plan.                          •

 Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
 to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
 described in the Severance Guarantee letter provided to you dated July 9, 2015.

 Terminations Not Subject.to Program: If your employment is terminated ?.t any tjjTie before or after an Initial
 Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you
 will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
 Program is a "double trigger" plan, meaningthat no benefits are available under this Program unless there is both a
 Change of Control that occurs and your employment is terminated without Cause.

 Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
 separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
 you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits, If any portion
 of the Severance Guarantee Benefits Is scheduled to be paid prior to the date the Release is effective, that portion
 will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

 Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
 WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
 not both (and without duplication).




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        Payments; All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
        determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
        subject to all applicable tax Withholdings and other payroll deductions. The Severance Guarantee Benefit payments
        are intended to be exemptfrom application of Section 409A of the Code, and any ambiguities herein shall be
        interpreted accordingly.

        Additional Matters. Any successorto the Company will assume the obligations under the Program. For all purposes
        under the Program, the term "Company" will Include any successor to the Company's business and/or assets which
        becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
        severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
.   .   payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
        action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
        Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
        conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
        Change of Control, any decision made or other action taken by the Company, and any Interpretation by the Company
        of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
        the Program shall not be subject to review unless found to be arbitrary and capricious or (II) does affect the benefits
        payable underthe Program shall not be subjectto review unless found to be unreasonable or not to have been made
        in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
        in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
        the Program; provided, however, that any Program amendment ortermination or any other action that could
        reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
        of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
        be construed, administered and enforced in accordance with the internal substantive laws of the State of California
        (with the exception of its conflict of laws provisions),




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                    EXHIBIT B to A-8




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                                                       STRICTLY PERSONAL AND CONFIDENTIAL

    Ja-uarv    K,


    Pete Sdvjrnan

    Ctar Helet,

    Ws recognlie that there continues to be significant speculation regarding the acquisition of the company and understanfi
    rhst !his can be distracting and unsettling. As a result, we believe it is Important to remind you cf the benefits for whidi
    you may be eligible .n the event that your employment is involuntarily terminated without Cause in connection with a
    Change of Control of the company, including an acquisition by Dialog ot Microchic.


    'n July 2015. we provided you a letter (the "July Severonce Benefits Letter") describing the U.S. Severence Guarantee
    Benefits for which you are eligible. This U.S. Severance Guarantee Program continues to remain in place             In addition. In
   September 2015, we Informed you that the company's Compensation Committee approved acceleration of unvested non-
    perfonvonce restricted stock units ("RSUs") for out U.S. based Director-level employaes under certain conditions. Under
   that program you will be eligible for 100% acceleration of your unvested RSUs if there Is a Change of Control and your
   employment Is involuntarily terminated without Cause during the period beginning three (3) months prior to the Change of
   Control and ending twelve (12) months following the Change of Control


   The benefits undar the 'J.S. Severance Guarantee Program and the U.S Oirectc-r-levei equity acceleration programs are
   sjbject to trie terms and conditions of each as approved by the company's Compensation Committee. To receive these
   benefits you will be required to sign a form of separation and release agreement reasonably acceptable to the enmoany (or
   its successor). Capitalized terms that are not defined in this letter shall have the meanings set forth in the July Severance
   Bpneflts Letter


   Nothing   in this letter or   the July Severance Benefits Letter is intended to, oi shall, contradict, modify or alter the terms of
  your at-will employment, other than the provision by the company (or its successor) of the benefits provided by Ibis letter
  and the July Severancn Benefits Letter. Vou shall lemsin an at-will employee for all purposes, mean.'ng that you or the
  company (or its successor) may terminate your employment at any time for any reason or for no reason,            With or without
  C?use,.andAw   ,ith or-vjithoirt-itiotice,   J ••                                                                       ~—-         ~


  Peter, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel              And, thank
  you for your continued focus during these unusual times.


  Sincerely,
                     ^
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  Senior V.'ee President, of&bsi -urnar Kd^o-.-rces




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                                             LAW OFFICES          OF
                             MCGUINN,        H I L L S M A Nf i t P A L E F S K Y
JOHN A. McGUINN
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JOHN R. HILLSMAN
CLIFF PALEFSKY                       535     PACIFIC
                                                  AVENUE,    SUITE
                                                                 lOO
DEREK B. JACOBSON
                                    SAN    FRANCISCO,CALIFORNIA      94J       33
KEITH A. EHRMAN
ABRAHAM FEINSTEIN-HILLSMAN                TELEPHONE     (4t5)
                                                          421-9292
SCOTT M.  STILLMAN
                                                                                         FAX (4 5)403-0202
                                                                                                1
JEANNETTE      VACCARO
               A.



                                             January 19, 2017


       Ms. Carly Petrovic
       Plan Administrator for
          Atmel Corporation's U.S. Severance          Guarantee Program
                                                                  Benefit
       c/o Microchip Technology Corporation
       2355 West Chandler Blvd.
       Chandler, AZ 85224-6199


              Re:     Robin Berman
                                 Atmel
                                    v. Corvoration/Microchip            Technoloev Incorporated
                      Appeal of Denial of Benefits


       Dear Plan Administrator:

              This office represents Robin Berman.
                                                By this letter, Ms. Berman appeals November
                                                                                      your
       29, 2016 denial of her claim for      benefits   under the     "U.S.
                                                                       AtmelSeverance
                                                                                 Corporation
       Guarantee Benefit Program" (hereafter
                                          "Severance Plan").

                      SUMMARY OF CLAIM AND DENIAL

              On May 20, 2016, Ms. Berman submitted a              claim     for     benefits        under     the
      to the Plan Administrator ("the     May 20thLetter").
                                                      ClaimOn June 9, 2016, Ms. Berman provided
      supplemental evidence to      the Plan Administrator which         was       to       be      considered       as
      ("the June 9th Supplemental Letter").On November 29, 2016, the Administrator
                                                                         Plan          sent Ms.
      Berman a letter in which she denied         Ms. Berman's         claim     for        benefits
                                                                                            A               ("the
      copy of the Denial Letter is attached hereto as           Exhibit       B.

              The stated reason for denying Ms. Berman's             claim
                                                                       "You arewasnot that,
                                                                                        eligible for
      benefits under the Atmel Severance See, Plan."Exhibit B. The explanation given by the Plan
      Administrator for this decision was agreement
                                                that thewhich Atmel entered into with Dialog
      Semiconductor prior to November 1,            2015 was       not     the        'same            agreement'
      eventual Change in Control in       April
                                              Thus,2016.
                                                     the Denial Letter stated: "The            agreement with
      respect to Dialog Semiconductor PLC...did          nota 'Change
                                                                result in inControl'.
                                                                                   Thus, you are
      not eligible for benefits under the Atmel Severance            Plan    with      respect       to       the         a
      respect to Dialog Semiconductor PLC".Id. The Denial Letter further asserted that that the
      Severance Plan had "expired"      on November 1,            2015      with    respect       to         any     ent
      Id.




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         In essence, the Plan Administrator asserted that Ms. Berman could not be eligible for
 benefits under the Severance Plan unless the 2015 agreement between Atmel and Dialog
 eventually resulted in the Change of Control itself. Apparently, the Plan Administrator is
 claiming that: 1) only a Change of Control involving Atmel and Dialog could qualify Atmel
 employees for benefits under the Severance Plan, and 2) since Microchip did not enter into any
 agreements with Atmel before November 1, 2015, a Change of Control involving Atmel and
 Microchip could not result in any Atmel employees being eligible for benefits.

        For the reasons set forth below, and based upon the evidence and arguments submitted by
Ms. Berman in connection with her claim, the Plan Administrator's denial of Ms. Berman's
claim is completely indefensible. Indeed, the Plan Administrator's denial of Ms. Berman's claim
contravenes the terms of the Severance Plan; is arbitrary and capricious; was clearly done in bad
faith; and constitutes a breach of the Plan Administrator's fiduciary duties which she owes to the
beneficiaries of the Severance Plan.

        As part of her appeal, Ms. Berman hereby incorporates all of the material she previously
submitted to the Plan Administrator in connection with her claim for benefits, including all of the
arguments and evidence submitted in the May 20,h Claim Letter and in the June 9th Supplemental
Letter. As part of her appeal, Ms. Berman also hereby incorporates all of the documents which
Ms. Berman requested from the Plan Administrator in her May 20th Letter, in her June 9th
Supplemental Letter, and in the December 22,2016 letter which this law office sent to the Plan
Administrator on behalf of Ms. Berman and ten other Atmel claimants ("the December 22nd
Letter"). A copy of the December 22nd Letter is attached hereto as Exhibit C. Ms. Berman
contends that these requested documents are relevant to her claim and must be reviewed and
considered by the Plan Administrator as part of Ms. Berman's claim and appeal determination.
Because Ms. Berman is incorporating her previously submitted materials, Ms. Berman is not
attaching to this appeal letter Exhibits A through I from her May 20th Claim Letter, nor is she
attaching to this appeal letter the material attached to her June 9th Supplemental Letter. Instead,
Ms. Berman will refer to that evidence where appropriate in this appeal letter.

       II.     THE REASON GIVEN FOR THE DENIAL OF MS, BERMAN'S CLAIM
               CONTRAVENES THE SEVERANCE PLAN. IS ARBITRARY AND
               CAPRICIOUS. DEMONSTRATES BAD FAITH. AND CONSTITUTES A
               BREACH OF FIDUCIARY DUTY

        As demonstrated by the facts and evidence submitted by Ms. Berman, much of which is
set forth in Part III below, the Plan Administrator's denial of Ms. Berman's claim contravenes
the terms of the Severance Plan and is completely baseless.

       First, in her November 29,2016 denial letter, the Plan Administrator has arbitrarily
added a "condition" to Ms. Berman's eligibility for benefits which does not exist in the




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Severance Plan. The Plan Administrator added this fictitious "condition" for the specific
purpose of depriving Ms. Berman of benefits. The Plan Administrator has required that, as a
condition of being eligible for benefits under the Severance Plan, the entity which entered into
the "Definitive Agreement" with Atmel prior to November 1,2015 (Dialog) was required to be
the same entity which eventually became a party to the Change in Control. There is no such
"condition" in the Severance Plan. Indeed, as described in more detail below, Atmel never
intended this to be a "condition" of eligibility under the Severance Plan. To the contrary, Atmel
(as the drafter and creator of the Severance Plan) intended, and repeatedly and expressly
emphasized to its employees and to Microchip, that exactly the opposite was true: that because
the September 2015 Atmel-Dialog agreement was drafted to result in a change of control, that
agreement would extend the term of the Severance Plan by 18 months (until March 2017), even
z/Dialog was replaced by another suitor who whom Atmel reached another agreement; that even
though Microchip was going to replace Dialog as the acquiring company for purposes of the
Change in Control, the Severance Plan had not expired; that the Severance Plan was still fully in
effect; and that Atmel employees who were terminated without cause by Microchip following a
Change in Control involving Microchip were eligible for benefits under the Severance Plan.

        Second, prior to the April 4,2016 Change in Control, Atmel had already decided the
Severance Plan "eligibility" issue with respect to the pending Microchip acquisition; had already
interpreted the Severance Plan to mean that Atmel employees remained eligible for benefits
under the Severance Plan regardless of whether Microchip or Dialog was the acquiring company;
and had already communicated that decision and interpretation to its employees. Under the
express terms of the Severance Plan, once Atmel had made this decision and interpretation and
taken this action prior to the Change in Control, Microchip had no power to subsequently
contravene or reject that decision/interpretation/action. Thus, the Severance Plan expressly
states:

        "The [U.S. Severance Guarantee Benefit] Program will be administered and interpreted
by the Company. Any decision made or action taken by the Company prior to a Change in
Control with respect to the Program, and any interpretation by the Company prior to a Change in
Control of any term or condition of the Program, or any related document, will be conclusive and
binding on all persons and will be given the maximum possible deference allowed by law."
(emphasis added). See, Exhibit A-3, Declaration of Bo Kang (page 2 of "Addendum to U.S.
Severance Guarantee Program Letter, July 9,2015", attached as Exhibit A to Kang Declaration).

        Prior to the April 4,2016 "Change in Control", Atmel had "made a decision or taken
action" with respect to the Severance Plan, and had made an "interpretation.. .of a term or
condition" of the Severance Plan with respect to the issue of whether Atmel employees remained
eligible for benefits under the Severance Plan if Microchip were to become the acquiring
company rather than Dialog. Indeed, Atmel senior management repeatedly and definitively
communicated to its employees prior to the Change in Control (both orally and in writing) that,
regardless of the fact that Microchip was likely to be the acquiring company rather than Dialog,




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Atmel employees who were terminated without cause by Microchip following the Change in
Control remained'eligible for benefits under the Severance Plan, and that the Severance Plan
remained intact and was unaffected by the fact that Microchip might be the acquiring company.
Since Atmel made this interpretation and decision regarding the Severance Plan, and took this
action to communicate its decision and interpretation to its employee, prior to the Change in
Control, this was "conclusive and binding on all persons". Therefore, under the express terms of
the Severance Plan, Microchip had no authority or power following the Change in Control to
contravene Atmel's previous interpretation, decision and action.

        The explanation given in the Denial Letter for denying Ms. Berman's claim directly
contradicts and contravenes Atmel's pre-Change in Control interpretation, decision and action.
However, the Severance Plan flatly prohibited Microchip from ignoring what Atmel had already
decided concerning the eligibility of its employees for benefits under the Severance Plan. Thus,
any effort by the Plan Administrator to disregard and contravene the express terms of the
Severance Plan in this respect in order to avoid paying benefits was arbitrary, capricious, bad
faith and an abuse of discretion.

        Third, even if the Severance Plan had not expressly prohibited Microchip from adopting
an interpretation of the Severance Plan which had already been decided by Atmel prior to the
Change in Control, Microchip's only possible argument would be that the Severance Plan is
purportedly "ambiguous" on the issue of whether the agreement that constitutes the "Definitive
Agreement/Initial Triggering Event" has to be the same agreement that results in the actual
"Change of Control". However, there is nothing in the Severance Plan which states or even
suggests that the Definitive Agreement entered into prior to November 1,2015 needs to be the
same agreement that governs the later Change of Control, nor is there anything in the Severance
Plan which states or suggests that the entity which enters into the original Definitive Agreement
                                                               i
needs to be the same entity which ultimately acquires Atmel.

i Indeed, there is no logical basis to support Microchip's contention in its November 29'h Denial
Letter that the "agreement" entered into prior to November 1,2015 needs to be the same
"agreement" that results in the Change in Control. Merger and acquisition agreements are
routinely subject to re-negotiation of the terms. Under Microchip's theory, if Atmel and Dialog
entered into an agreement in September 2015 for a purchase price of $50,000,000, but in
December 2015 they re-negotiated the terms and signed a new agreement for $49,000,000, the
Atmel employees would no longer be eligible for benefits under the Severance Plan, as the
Severance Plan would have "expired". Similarly, there is no logical basis for Microchip's
argument that the Severance Plan "expired" on November 1, 2015 unless Atmel entered into a
Change in Control agreement with the same company that was a party to the original "Initial
Triggering Event" agreement. In mergers and acquisitions, the potential parties change
frequently. This is precisely why Atmel intended and drafted the Severance Plan to remain in
effect even if a merger partner with whom Atmel reached a definitive agreement before
November 1, 2015 was replaced after that date with a new merger partner; and why Atmel did




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        Microchip was not involved in the drafting or creation of the Severance Plan. Even if the
Microchip Plan Administrator now claims that there is some "ambiguity" in the Severance Plan
language and that Microchip's purported interpretation is "possible", the Plan Administrator was
well aware prior to November 29, 2016 that Atmel—which had drafted and created the
Severance Plan—had intended its Severance Plan to be interpreted and administered in a manner
that was completely contrary to the Plan Administrator's position. Thus, even assuming that the
Plan Administrator could conjure an interpretation consistent with her Denial Letter, the Plan
Administrator was fully aware that Atmel never intended for such an interpretation to be given
and that Atmel had repeatedly and clearly announced that the correct interpretation of its
Severance Plan (that Atmel employees remained eligible for benefits under the Severance Plan
even if Microchip was the acquiring company) was the opposite of the one proposed by the Plan
Administrator in the Denial Letter.

         In light of these facts, it was completely arbitrary and capricious and an abuse of
discretion for the Plan Administrator to disregard and contravene the interpretation of the
Severance Plan given by the entity that drafted and created the Severance Plan, when
determining Ms. Berman's claim for benefits. Indeed, Atmel's interpretation had been
repeatedly and consistently expressed by Atmel to its employees (and to Microchip) for many
months prior to the Change in Control, and this point was made very clearly in Ms. Berman's
claim for benefits. Microchip deliberately disregarded Atmel's interpretation for the specific
purpose of depriving Ms. Berman and other Atmel employees of Severance Plan benefits. Such
conduct constitutes an abuse of discretion and a breach of the Plan Administrator's fiduciary
duties.

       III.    FACTUAL BACKGROUND AND EVIDENCE SUPPORTING MS.
               BERMAN'S CLAIM AND APPEAL

       As noted above, Ms. Berman incorporates by reference all of the evidence and arguments
she previously submitted to the Plan Administrator. However, Ms. Berman will again
summarize the factual background supporting her claim and appeal.

        On July 9, 2015, Atmel Corporation ("Atmel") delivered to Ms. Berman and other
employees a letter setting forth its "U.S. Severance Guarantee Benefit Program," along with an
Addendum to the letter providing additional details (hereafter collectively "Severance Plan").
Examples of these July 9, 2015 documents are attached hereto as part of Exhibits A-l through
A-ll (Declarations of William Coplin, Robin Berman, Bo Kang, Thong Van Vu, Donna Viera-
Castillo, Khashayar Mirfakhraei, Girish Ramesh, Patrick Hanley, liana Shtemshain, Peter



not draft the Severance Plan with any language suggesting that the parties to the two agreements
had to be the same.




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
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Schuman and Mandy Schwarz). The Severance Plan constitutes an ERISA plan created by
Atmel for the benefit of its employees.

        The terms of the Severance Plan were clearly spelled out: if an "Initial Triggering Event"
occurred prior to November 1,2015, the Severance Plan would remain in effect for 18 months
following that triggering event. An Initial Triggering Event occurred if Atmel entered into a
definitive agreement (before November 1,2015) "that will result in a Change of Control of the
Company." If a change of control of Atmel subsequently occurred and an employee was
terminated without "cause" within 18 months of the Initial Triggering Event, the employee
would become entitled to benefits under the Severance Plan.

        On September 19,2015, an Initial Triggering Event occurred when Atmel entered into a
definitive agreement with Dialog Semiconductor PLC ("Dialog"), pursuant to which Dialog
would acquire Atmel for stock and cash worth approximately $4.6 billion. Not only did Dialog
and Atmel enter into a formal "Agreement and Plan of Merger" ("Merger Agreement"), but the
Merger Agreement was announced publicly in press releases; the Merger Agreement was the
subject of a Form 8-K filing with the SEC in September 2015; and the Merger Agreement was
the subject of a Form 425 filing with the SEC in September 2015. Excerpts from these
documents are attached hereto as Exhibits B, C and D to the May 20th Claim Letter. The
Merger Agreement with Dialog constituted a "definitive agreement that will result in a change of
control of [Atmel]" within the meaning of the Severance Plan. Therefore, an Initial Triggering
Event within the meaning of the Severance Plan occurred prior to November 1, 2015, thereby
extending the Severance Plan for 18 months.

         In creating the Severance Plan, Atmel recognized and contemplated the common and
foreseeable possibility that, after Atmel entered into an agreement constituting the Initial
Triggering Event, a second company might seek to acquire Atmel before the merger with the
first suitor had closed. Atmel drafted the Severance Plan to reflect its intent that Atmel
employees would be provided with the benefits under the Severance Plan even in the event that
the merger was eventually consummated with a different, merger partner than the one with whom
Atmel had initially reached an agreement constituting the Initial Triggering Event. Thus, Atmel
drafted the Severance Plan so that the agreement constituting the Initial Triggering Event was not
required to be the same agreement under which a Change of Control eventually occurred. For
the same reason, the Severance Plan does not state, imply or in any way require that the Initial
Triggering Event and the Change of Control must relate to the same company.

        Several months after Atmel entered into its Merger Agreement with Dialog (but before
the transaction had closed). Microchip Technology Corporation ("Microchip") approached
Atmel  and made   a more lucrative purchase offer. When Dialog declined to increase its offer,
Atmel elected to back out of its Merger Agreement with Dialog in January 2016. Atmel then
entered into a new merger agreement with Microchip on January 19, 2016, pursuant to which
Microchip would purchase Atmel. See, Exhibit E to the May 20th Claim Letter. The parties




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contemplated that the merger transaction would close (thereby constituting a "Change of
Control" under the Severance Plan) in the spring of 2016.

         Consistent with Atmel's intent when drafting the Severance Plan, beginning in
approximately January 2016, numerous members of Atmel management (including Atmel Chief
Executive Officer Steve Laub and Atmel Senior Vice President of Human Resources Suzanne
Zoumaras) repeatedly informed the Atmel employees-both orally and in writing—that their
eligibility for benefits under the Severance Plan remained intact and were unaffected by the fact
that Microchip might be replacing Dialog as the acquiring company. See Exhibits A-l through
A-ll. For example, after it became apparent that Microchip might replace Dialog as the
acquiring company, Atmel senior management wrote a letter to Atmel employees on January 14,
2016, in which senior management stated:

              "We recognize that there continues to be significant speculation
              regarding the acquisition of the company and understand that this
              can be distracting and unsettling. As a result, we believe it is
              important to remind you of the benefits for which you may be
              eligible in the event that your employment is involuntarily
              terminated without Cause in connection with a Change of Control
              of the company, including an acquisition by Dialog or Microchip.
              In July 2015, we provided you a letter (the "July Severance
              Benefits Letter") describing the U.S. Severance Guarantee Benefits
              for which you are eligible. The U.S. Severance Guarantee
              Program continues to be in place....To receive these benefits you
              will be required to sign a form of separation and release
              agreement...Nothing in this letter or the July Severance Benefits
              Letter is intended to.. .modify.. .the terms of your at-will
              employment, other than the provision by the company (or its
              successor) of the benefits provided by this letter and the July
              Severance Benefits Letter."

An example of this January 14, 2016 letter is attached as Exhibit F to the May 20th Claim Letter.
See also Exhibit A-l (Declaration of William Coplin) and Exhibit A-10 (Declaration of Peter
Schuman).

       Microchip was aware of the Severance Plan; was aware of Atmel's interpretation of the
Severance Plan; and was aware of its obligation under the Severance Plan to pay the benefits
provided therein in the event Atmel employees were terminated following an acquisition by
Microchip. Furthermore, Atmel employees were informed that Microchip was well aware of its
severance obligations. See Exhibit A-2 (Declaration of Berman). For example, on
approximately February 3, 2016, several weeks after Atmel had withdrawn from its merger
agreement with Dialog and had entered into a new merger agreement with Microchip, Atmel




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management published for its employees a "Frequently Asked Questions" memorandum
regarding the Microchip transaction. That FAQ began with the question, "What happens to my
employment and compensatory arrangements with Atmel after the closing?" The FAQ that
answers that question stated: "Microchip has agreed to honor each of your employment and
compensatory contracts (including retention awards and employment, employment continuation,
severance, incentive and change in control agreements) with Atmel, or its subsidiaries, that are in
effect prior to the closing of the transaction." See Exhibit G to the May 20th Claim Letter.
Microchip senior management reviewed and approved the FAQs before they were made
available to Atmel employees, and Microchip also participated in drafting the language of the
FAQs. See Exhibit A-10 (Declaration of Schuman), Exhibit A-l (Declaration of Coplin) and
Exhibit A-2 (Declaration of Berman). Microchip knew that Atmel employees reading this FAQ
would believe that Microchip was aware of the Severance Plan and had agreed to pay the
severance benefits set forth in the Severance Plan to Atmel employees who were terminated
without cause following Microchip's acquisition of Atmel.

        Similarly, the Proxy Statement filed with the Securities and Exchange Commission in
February 2016, which contained the Merger Agreement between Atmel and Microchip,
specifically stated: "Microchip has agreed, as of the Effective Time, to honor and perform all
employment or compensatory contracts between Atmel or any of its subsidiaries, on the one
hand, and any Atmel employees, on the other (including all...severance,...change in control and
termination contracts disclosed to Microchip and the assumed Atmel equity awards)." See
Exhibit H to the May 20th Claim Letter. Microchip helped draft, and then reviewed and
approved, the Proxy Statement prior to its filing with the SEC. Microchip knew that the Proxy
Statement would lead Atmel employees to believe that Microchip would pay the severance
benefits set forth in the Severance Plan to Atmel employees who were terminated following
Microchip's acquisition of Atmel.

       Furthermore, during meetings between Microchip senior management and Atmel
employees in February 2016, Microchip senior management (including Microchip's Chief
Financial Officer) explicitly acknowledged to the Atmel employees on multiple occasions that
Microchip was aware of the severance agreements and programs that were in place at Atmel, and
Microchip senior management explicitly assured the Atmel employees that, if Microchip
acquired Atmel and then terminated Atmel employees, that Microchip would honor those
severance agreements. See, Exhibit A-10 (Declaration of Schuman).

       In sum, the Atmel employees were assured both orally and in writing that both Atmel and
Microchip understood that the Severance Plan was still in effect and that the Atmel employees
would receive the benefits of the Severance Plan if they were terminated by Microchip following
the acquisition. As intended by Atmel senior management and by Microchip, the Atmel
employees relied on these repeated assurances and remained at Atmel from July 2015 through
the Microchip acquisition in April 2016. See Exhibit A-l through A-ll. If these assurances had




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not been given to Atmel employees, those employees would have looked for other jobs and left
Atmel long before Microchip's acquisition of Atmel. Id.

        In the months prior to the April 4,2016 merger closing, as the negotiations between
Atmel and Microchip continued, Atmel provided relevant company documents to Microchip
showing Microchip's potential obligations and liabilities. Atmel discussed with and
communicated to Microchip the severance obligations that would be owed to Atmel employees if
Microchip terminated their employment following a merger, including providing Microchip with
summaries of the dollar severance amounts that would be due to terminated Atmel employees
pursuant to the Severance Plan. In the months prior to the April 4,2016 merger closing,
Microchip was also aware that Atmel—as the drafter and creator of the Severance Plan—
believed and intended that the Severance Plan was in effect and that Microchip would be legally
obligated to pay Atmel employees the severance benefits set forth in the Severance Plan if
Microchip terminated Atmel employees without cause following the acquisition. Microchip was
also aware that Atmel had communicated this position to Atmel employees.

        Prior to and up until the April 4, 2016 merger closing. Microchip was fully aware that
Atmel management, including the senior management of Atmel, had determined that the
Severance Plan was in effect and that Atmel employees would be eligible to receive benefits
under the Severance Plan even if Microchip replaced Dialog as the acquiring company. Prior to
and up until the April 4, 2016 merger closing. Microchip was also fully aware that not only had
Atmel interpreted the Severance Plan in this manner, but that Atmel management, including
senior management, had communicated to Atmel employees that they remained eligible for
benefits under the Severance Plan even if Microchip replaced Dialog as the acquiring company,
and that Atmel employees would receive benefits under the Severance Plan if Microchip
acquired Atmel and then terminated Atmel employees without cause. Despite being aware of
these things. Microchip never suggested or indicated to Atmel prior to the closing of the April 4,
2016 merger that Microchip had any understanding or interpretation of the Severance Plan that
was different than Atmel's. Prior to the closing of the April 4, 2016 merger. Microchip never
suggested or indicated that the Severance Plan had 'expired' or was otherwise not in effect, nor
did Microchip ever suggest or indicate to Atmel that Microchip believed that Atmel employees
would have no right to any severance benefits under the Severance Plan if Microchip terminated
their employment following the merger.2


       2  Indeed, prior to the April 4, 2016 merger. Microchip knew and believed that the
Severance Plan was in effect; knew that Microchip had a legal obligation to pay the severance
benefits set forth in the Severance Plan to Atmel employees who were terminated without cause
following the merger; knew that Microchip had agreed to honor the severance obligations under
the Severance Plan; and knew that Microchip had led Atmel management and employees to
believe that Microchip would pay the severance benefits set forth in the Severance Plan to Atmel
employees who were terminated without cause following the merger.




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        On April 4,2016, Microchip's acquisition of Atmel closed and Atmel became a wholly
owned subsidiary of Microchip. This merger transaction constituted a "Change in Control"
within the meaning of the Severance Plan. Microchip promptly terminated many Atmel
employees in the days immediately following the change of control.

       On April 6,2016, Ms. Berman's employment was involuntarily terminated without
"cause." See Exhibit A-3. Since all three conditions under the Atmel Severance Plan had now
occurred-the Initial Triggering Event prior to November 1,2015; a change of control; and a
termination without cause—Ms. Berman was entitled to the benefits provided by the Severance
Plan. Thus, Ms. Berman was entitled to 40% of her base salary, a prorated portion of 100% of
her annual incentive bonus, and four months of paid COBRA benefits. However, on April 6,
2016, Ms. Berman and other terminated Atmel employees received a letter from Microchip
which indicated that Microchip would only pay either 5 or 6 weeks of salary as severance. See,
Exhibits A-2 through A-6.

        In the days and weeks immediately following the April 4,2016 merger, Atmel employees
were falsely told by Microchip that Atmel employees who were terminated were not entitled to
any benefits under the Severance Plan; were falsely told that the Severance Plan had 'expired'
and that Atmel employees were therefore not eligible for benefits; and were falsely told that
Microchip has no knowledge of the Severance Plan prior to the merger. Atmel employees were
also falsely told by Microchip that the Severance Plan only applied if Dialog had been the entity
which acquired Atmel and that it did not apply to Microchip's purchase of Atmel. See, Exhibits
A-ll (Declaration of Schwarz), A-10 (Declaration of Schuman) and A-l (Declaration of Coplin).
Microchip also told Atmel employees that if they wanted to challenge Microchip's refusal to pay
the severance benefits under the Severance Plan, they would have to fight Microchip in court.
Id. Microchip also told Atmel employees that Microchip might offer them severance benefits
equal to 50% of the benefits they were due under the Severance Plan, if the employee signed an
agreement to take only 50% and if the employee then signed a release of all claims following the
employee's termination.

       On April 11,2016, Ms. Berman and other Atmel employees were sent another letter from
Microchip ("the April 11th Letter") which indicated that Microchip would only pay them 50% of
the severance benefits due to them under the Severance Plan. See Exhibits A-l through A-ll.

        Prior to Microchip sending the April 11th Letter to Ms. Berman and other Atmel
employees. Microchip's Chief Executive Officer gave an interview to an electronics industry
publication in which he acknowledged that Microchip was aware that Atmel had represented in
writing to its employees in January 2016 that the Atmel employees would be eligible for the
severance benefits contained in the Severance Plan in connection with an acquisition by
Microchip and that the Severance Plan remained in place, and that this had been confirmed again
to the Atmel employees in the February 2016 FAQs regarding the potential Microchip
transaction. See Exhibit I to the May 20th Claim Letter. Prior to Microchip sending Ms.




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Berman and other Atmel employees the April ll,h Letter, Microchip's Chief Executive Officer
was also aware that Microchip's own executives had explicitly assured Atmel employees that
Microchip would honor the severance agreements of the Atmel employees if they were
terminated following an acquisition by Microchip. See, Exhibit A-10 (Declaration of Schuman).
Thus, despite knowing that Atmel had made a decision and interpretation prior to the Change in
Control that the Severance Plan was in effect and that Atmel employees remained eligible for
benefits under the Severance Plan if they were terminated without cause by Microchip; despite
knowing prior to April 11, 2016 that these representations and assurances had been made to the
Atmel employees by both Atmel and Microchip; and despite knowing and believing that the
Severance Plan was in effect, Microchip nevertheless tried to coerce and intimidate Ms. Berman
and other employees into accepting only 50% of the severance benefits due to them under the
Severance Plan.

        Furthermore, following the Change in Control, Microchip never informed Atmel
employees that they had the right, under ERISA, to submit a claim for benefits under the
Severance Plan and to ask for a determination as to whether they were, in fact, entitled to
benefits under the Severance Plan. To the contrary, Microchip falsely told Atmel employees
after the Change in Control that the Severance Plan had "expired" and no longer existed. In
doing these acts and omissions. Microchip acted in bad faith and breached its fiduciary duties
under ERISA as a Plan Administrator.

       IV.     DEMAND FOR BENEFITS AND DOCUMENTS

         By this letter, Ms. Berman is appealing the Plan Administrator's November 29, 2016
denial of her benefits, and Ms. Berman demands that Microchip honor its obligations and pay her
100% of the severance benefits due to her under the Severance Plan, i.e., 40% of her base salary,
a pro-rated portion of 100% of her annual incentive bonus, and four months of paid COBRA
benefits. As contemplated by the Severance Plan, Ms. Berman is prepared to sign an appropriate
separation and release agreement upon confirmation that Microchip intends to pay Ms. Berman
her full severance benefits.

        We demand that Microchip inform us in writing no later than March 21,2017 whether or
not Microchip will pay Ms. Berman all of her Severance Plan benefits. If Microchip's stated
position in response to this demand is that Microchip will not pay Ms. Berman all of her
Severance Plan benefits, Microchip must provide us with an explanation for its position and any
documents supporting this position. If any of these requested documents are withheld, we
demand that the Plan Administrator provide us with a list of each document being withheld
together with a complete explanation of the basis upon which each document is being withheld.

       In Ms. Berman's original May 20th Claim Letter, Ms. Berman included a request for 23
categories of documents relating to her claim. In addition, in the December 22nd Letter, Ms.
Berman's attorneys: 1) demanded that the Plan Administrator immediately provide us with a




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complete copy of the administrative record on which you based your denial of Ms. Berman's
claim, and 2) reiterated Ms. Berman's prior demand for documents, i.e., the request for
documents that was included in Ms. Berman's May 20th Claim Letter. As of January 18,2016,
the Plan Administrator has failed to provide us with a copy of the administrative record on which
you based your denial of Ms. Berman's claim. The Plan Administrator has also failed to provide
us with the other documents we requested in Ms. Berman's May 20th Claim Letter and in the
December 22nd Letter. Because the Plan Administrator has failed to provide us with these
documents, the Plan Administrator has intentionally hindered Ms. Berman's appeal and
prevented her from obtaining a full and fair review of her claim as is required by ERISA.
Therefore, Ms. Berman reserves the right to submit a response to any further documents that are
provided to her by the Plan Administrator in the future, prior to the Plan Administrator rendering
any decision regarding Ms. Berman's appeal.

        As noted above, Ms. Berman's appeal incorporates all previous letters, arguments,
documents and evidence which Ms. Berman has previously submitted to the Plan Administrator
in support of her claim for benefits. Thus, when considering Ms. Berman's appeal, the Plan
Administrator is expected and required to consider, review and evaluate all prior letters,
arguments, documents and evidence which Ms. Berman submitted, including all materials
accompanying the May 20th Claim Letter and the June 9th Supplemental Letter. In addition, Ms.
Berman also expects and demands that the Plan Administrator review and consider all of the
documents which Ms. Berman has previously requested from the Plan Administrator (regardless
of whether the Plan Administrator has produced them to Ms. Berman), including the documents
requested in the May 20th Claim Letter, the June 9th Supplemental Letter and the December 22nd
Letter, since these documents are relevant to Ms. Berman's claim for benefits.

                                     Very truly yours,



                                     Keith Ehrman


Enclosures


cc: Michael Rubin, Esq. (w/Enclosures)




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                      EXHIBIT A-l




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                                   DECLARATION OF WILLIAM COPLIN



          1, William Coplin, declare as follows:

          In 2015,1 was employed by Atmel Corporation (hereinafter "Atmel" or "Company") as a Director
  of Human Resources. In July 2015,1 and all other U.S. Atmel employees received a letter setting forth
  Atmel's "U.S. Severance Guarantee Benefit Program", along with an Addendum to the letter providing
  additional details about the severance program (hereafter collectively "Severance Plan"). A copy of the
  Severance Plan I received in July 2015 is attached as Exhibit A. The Severance Plan provided for certain
  severance benefits if Atmel was acquired and I was subsequently terminated without cause. Under the
  terms of the Severance Plan, my severance benefits included cash payments representing 50% of my
  base salary, a pro-rated amount of my annual bonus target, and six months of COBRA insurance to be
  paid for by the Company.

           In early September 2015, Steve Laub ("Laub"), Atmel's Chief Executive Officer, held a meeting
  with Atmel U.S. employees who were at the Director level or above. At this meeting, which I attended,
  Mr. Laub informed us that Atmel's Board of Directors had approved an additional severance benefit for
  all Director level and above U.S. Atmel employees. Mr. Laub explained that, in the event that Atmel was
  acquired and such employees were subsequently terminated without cause, they would be entitled to
  accelerated vesting of any unvested equity awards they held, such as Restricted Stock Units ("RSUs"), in
  addition to the cash payments previously set forth in the Severance Plan.

         In September 2015,1 learned that Atmel had entered into a definitive agreement with a
  company called Dialog Semiconductor ("Dialog"), pursuant to which Dialog would acquire Atmel. In
  December 2015,1 heard that Dialog might not be the buyer, since another potential purchaser had
  emerged and had made an offer that might be superior to Dialog's. In January 2016,1 learned that
  Microchip Technology, Inc. ("Microchip") was the new potential buyer.

        On or around January 13, 2016,1 attended a meeting which Mr. Laub held with Atmel
  employees who were at the Director level or above. After explaining that Microchip had made a
  superior offer to purchase Atmel, and that Atmel was going to give Dialog four days in which to make a
  counter-offer, Mr. Laub reiterated that all of the severance benefits previously presented to the Atmel
  employees In the Severance Plan remained in effect, regardless of whether the ultimate purchaser was
  Microchip or Dialog.

          On or around January 14, 2016,1 received a letter from Suzanne Zoumaras, Atmel's Senior Vice
 President of Global Human Resources ("the January 14,2016 Letter"). A copy of the January 14,2016
 Letter that I received is attached as Exhibit B. Ms. Zoumaras was my immediate supervisor. In the
 January 14,2016 Letter, Ms. Zoumaras stated that I would be eligible for the severance benefits
 provided in the July 2015 Severance Plan if i were to be involuntarily terminated without cause following
 a change in control, regardless of whether the acquisition of Atmel was done by Dialog or Microchip.
 The January 14,2016 Letter also emphasized that the Severance Plan continued to remain in place. The
 January 14,2016 Letter also specifically referenced the September 2015 communication which had
 informed the Atmel employees at the Director level or above that they would be entitled to accelerated

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           I relied on theSeverance Plan and the assurances I had received from Atmel executive
                                                                                                     the
    management, including Mr. Laub and Ms. Zoumaras, and I relied on the assurances contained In
    documents described above, including the January 14,2016 Letter and the FAQs and Proxy Statement
                                                                                                   through
    which had been reviewed and approved by Microchip, in deciding to stay employed with Atmel
    the Microchip acquisition period. I would have looked for a Job outside of Atmel well before the
    Microchip acquisition had I known that Microchip was not going to honor the Severance Plan benefits.

            I declare under penalty of perjury that the foregoing Is true and correct and that this declaration

    wa s executed on September^$2016 at            yiOwv       P&XL            ,    dsfic


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                                             William Coplin




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     employees signed an agreement accepting this 50% proposa
                                                                    l, and if they later signed a release of claims.
      Mr. Sanghi repeated multiple times that Atmei employees
                                                                 were not eligible for the benefits under the
     Severance Plan and that Atmel employees would have to fight
                                                                       him in court if they wanted to challenge
     him on their entitlement to benefits under the Severance Plan.
                                                                        As a senior HR manager, I made an
     effort to gauge how the Atmel employees were responding
                                                                  to Mr. Sanghi and Microchip's conduct and
     threats during the first half of April 2016. Based on my own
                                                                    communications with Atmel employees as
     well as the feedback I received from other HR managers who
                                                                     were in contact with employees, many
    Atmel employees felt fearful and intimidated by Microchip's
                                                                    conduct and threats, and they believed that
    they would not receive any severance benefits whatsoever
                                                                 if they did not sign the 50% agreement.
    Many employees also feared that they would be promptly
                                                                terminated by Microchip if they did not sign
    the 50% agreement.

             On approximately April 13, 2016,1 received a letter "severa
                                                                           nce agreement" from Microchip
    ("the April 13 Agreement") which offered to pay me 50% of
                                                                  the Severance Plan benefits if i signed the
    April 13 Agreement and was subsequently terminated, provide
                                                                      d that I also signed a release of claims
   following my termination. A copy of the April 13 Agreement
                                                                   is attached hereto as Exhibit D. Based on
    Microchip's and Mr. Sanghi's statements, I believed that if
                                                                I did not sign the April 13 Agreement,
    Microchip would refuse to pay me any of the severance benefits
                                                                        1 was due under the Severance Plan
   and would not accelerate the vesting of any of my RSUs. I
                                                                also felt that Microchip might immediately
   terminate my employment if i did not sign the April 13 Agreem
                                                                      ent. I also believed that I could not afford
   to challenge Microchip in court regarding my Severance Plan.
                                                                     For these reasons, I felt compelled to sign
   the April 13 Agreement in order to receive some portion of
                                                                 the severance benefits I was due. On April
   18, 2016,1 signed the April 13 Agreement.

           On June 10, 2016, my employment was terminated by Microch
                                                                               ip without cause. On or about
  June 10,2016,1 received from Microchip a Severance Agreem
                                                                    ent and Release (the "June 10 Agreement
  and Release"). A copy of the June 10 Agreement and Release
                                                                   is attached hereto as Exhibit E. The June
  10 Agreement and Release provided that Microchip would
                                                                pay me 50% of the severance benefits to
  which 1 was entitled under the Severance Plan, and would
                                                               accelerate the vesting of my RSUs, if 1
  released Microchip from all claims and liabilities. I believed
                                                                  that if I did not sign the June 10 Agreement
  and Release, Microchip would refuse to pay me any of the
                                                                severance benefits I was due under the
  Severance Plan and would not accelerate the vesting of any
                                                                 of my RSUs. I also believed that I could not
  afford to challenge Microchip In court. I felt compelled to
                                                               sign the June 10 Agreement and Release in
  order to receive some portion of the severance benefits I
                                                              was due, and so I signed the June 10
  Agreement and Release on the day I received it.




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 vesting of their unvested RSUs in the event of a termination foliowing a change of controi. The January
 14,2016 Letter emphasized that this accelerated vesting benefit also remained in place.

        After Dialog failed to Increase its purchase offer in January 2016,1 learned on approximately
 January 20, 2016 that Microchip had entered into an agreement with Atmel pursuant to which
 Microchip would acquire Atmel.

         On approximately February 3,2016, Ms. Zoumaras sent an e-mail to Atmel employees entitled
 "Compensation Benefits Relating to the Microchip Merger", which had links to a series of Frequently
 Asked Questions ("FAQs") that had been published for Atmel employees regarding the potential
 Microchip acquisition. A copy of the FAQs Is attached as Exhibit C. These FAQs had been reviewed by
 the HR team, and had been sent to Microchip for Microchip's review and approval, prior to their release
 to the Atmel employees. Ms. Zoumaras confirmed to our HR team that these FAQs had been reviewed
 and approved by Microchip and that Microchip would honor the Severance Plan if it acquired Atmel.
 Ms. Zoumaras also explained that Microchip insisted that no communications of this sort (including the
 FAQs) could be released by Atmel without specific approval by Microchip. Following Microchip's
 approval, the FAQs were released to Atmel employees and were posted on Atmel's intranet site. The
 FAQs remained on the Atmel intranet site and were available for review by Atmel employees through at
 least the date of the acquisition closing in April 2016.

          As part of the HR team, I attended multiple meetings throughout the acquisition process which
 Ms. Zoumaras held with her direct HR reports. These meetings were generally held weekly, but more
 often when required. In these meetings, the HR team reviewed the progress of the acquisition and
 specifically reviewed Exhibits A, B and C. During these HR meetings, we addressed employee questions
 and concerns regarding the pending acquisition. One of the issues we discussed was whether the terms
 of the Severance Plan remained in effect under the Microchip acquisition. During the period from
 January through March 2016, Ms. Zoumaras emphatically confirmed that she had discussed this point
 with Atmel's executive team and with others, and that the terms of the Severance Plan would apply to
 the Microchip acquisition. Ms. Zoumaras assured me and the HR management team multiple times that
 if Atmel employees were terminated without cause following the acquisition by Microchip, they would
 receive the severance benefits provided in the Severance Plan. To reassure me and the entire HR team
 further, and to provide information for the HR team to disseminate to concerned employees, Ms.
 Zoumaras also referred us to the Proxy Statement which Atmel and Microchip had filed in February 2016
 with the Securities and Exchange Commission ("Proxy Statement"). The Proxy Statement contained
 language specifically confirming that Microchip had agreed to honor any severance contracts of the
 Atmel employees which had been disclosed to Microchip.

         On April 4, 2016, Microchip's acquisition of Atmel closed. On approximately April 5 and 6,2016,
 Microchip communicated to the Atmel employees that the Atmel employees were not entitled to the
 benefits set forth in the Severance Plan and that Microchip would not pay those severance benefits.
 Microchip also claimed that It purportedly had been unaware of the Severance Plan/severance packages
 that had been provided to Atmel employees prior to the acquisition closing. Within a few days of these
 communications, Steve Sanghi, the Chairman and Chief Executive Officer of Microchip held a general
 meeting with Atmel employees. During this meeting, Mr. Sanghi informed Atmel employees that they
 were not entitled to any benefits under the Severance Plan, but that Microchip was nevertheless willing
 to offer terminated Atmel employees 50% of the benefits provided by the Severance Plan if Atmel


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  Atmel                                        STRICTLV PERSONAL AND CONFIDENTIAL

   January 14, 2016


   William Coplin


   Dear William,

   We recognize that there continues to be significant speculation regarding the acquisition of the company and understand
   that this can be distracting and unsettling. As a result, we believe It Is important to remind you of the benefits for which
   you may he eligible in the event that your employment is Involuntarily terminated without Cause in CDnnectiori with a
   Change of Control of the company, including an acquisition by Dialog or Microchip.


   In July 2015, we provided you a letter (the "July Severance Benefits Letter") describing the U.S. Severance Guarantee
   Benefits for which you are eligible. This CU Severance Guarantee Program continues to remain in place, in addition. In
   September 2015, we informed you that the company's Compensation Committee approved acceleration of unvested non­
   performance restricted stock units ("RSUs") for our U.S. based Director-level employees under certain conditions. Under
   that program you will be eligible for 100% acceleration of your unvested RSUs if there is a Change of Control and your
   employment is involuntarily terminated without Cause during the period beginning three (3) months prior to the Change of
   Control and ending twelve (12) months following the Change of Control.


   The benefits under the U.S. Severance Guarantee Program and the U.S Director-level equity acceleration programs are
   subject to the terms and conditions of each as approved by the company's Compensation Committee. To receive these
   benefits you will be required to sign a form of separation and release agreement reasonably acceptable to the company (or
   its successor). Capitalized terms that are not defined In this letter shall have the meanings set forth In the July Severance
   Benefits Letter.


   Nothing In this letter or the July Severance Benefits Letter Is Intended to, or shall, contradict, modifv or alter the terms of
   your at-will employment, other than the provision by the company (or its successor) of the benefits provided by this letter
   and the July Severance Benefits Letter. You shall remain an at-will employee for all purposes, meaning that you or the
   company (or its successor) may terminate your employment at any time for any reason prforno reason, with or without
   Cause, and with or without notice.                     -


   William, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel, And, thank
   yau for your continued focus during these unusual times.


   Sincerely,

                           ttw awe
  ^Suzanne Zoumaras
   Senior Vice President, Global Human Resources




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  Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
   Data:      Wednesday, February 3,2016 at 5:57:34 PM Pacific Standard Time
   From:      Human Resources

  Dear Atmel Employees,

  I am pleased to announce that today we posted our first set of Frequently Asked Questions (FAQs) related to
  the Atmel/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at

  benefits.

  As we have additional information, we will provide further updates and FAQs.

  Warm regards,

  Suzy
  Suzanne Zoumaras | Senior Vice President, Global Human Resources
  0: 4U8.487.2604 | M: 858.354.4877
  su/MOJinarasgialTnel.com | www.atmel.com




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    Atmel
                            FREQUENTLY ASKED QUESTIONS
                                Microchip Transaction:
                Effect on Compensation and Benefits for U.S. Employees

       What happens to my employment and compensatory arrangements with Atmel after the closing?

       Microchip has agreed to honor each of your employment and compensatory contracts {including
       retention awards and employment, employment continuation, severance, Incentive and change in
       control agreements) with Atmel, or Its subsidiaries, that are In effect Immediately prior to the closing
       of the transaction.

       How will my compensation and benefits be affected after the transaction doses?

      Microchip has agreed not to reduce your base salary or base wages through December 31, 2016. In
      addition. Microchip has promised that your aggregate compensation and benefits package for 2016
      will be comparable in value to the aggregate value of your pre-closing compensation and benefits
      package, excluding the value attributed to any pension plans or employee stock purchase plans.

      Will I participate In the same Atmel benefit plans following the transaction?

      We anticipate that sometime following the closing of the transaction Atmei's benefits will be
      transitioned onto Microchip's benefit plans.The timing of this transition Is yet to be determined. Upon
      the transition to the Microchip benefits plans, you will be immediately eligible to participate In all
      Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
      Microchip to provide you Information about the Microchip plans in the near term.

      Will I receive service credit for purposes of Microchip's benefits plans?

      Microchip has agreed to provide you with the same service credit that Atmel recognizes for you as of
      the closing (as if you had provided such services to Microchip), for purposes of eligibility, vesting, and
      level of benefits In Microchip plans that are comparable to Atmel plans (e.g., health Insurance plans,
      paid time off).

      What will happen to my Atmel equity awards after the transaction closes?

      RSUs & PRSUs. At the closing of the transaction, Microchip will assume each continuing employee's
      then-outstanding and unvested awards of restricted stock units (RSUs) and performance-based
      restricted stock units (PRSUs), and convert those awards Into awards for Microchip common stock
      with an equivalent value as determined under the definitive agreement. The converted awards will
      retain the same material terms (e.g., vesting, Including any rights you may have to accelerated vesting
      under the terms of your award, your employment agreement or Atmei's stock plan) as your Atmel
      award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (including
      any portion that vests on the closing of the transaction) for which shares have not yet been issued,
      will be settled in shares, subject to applicable withholding taxes, and converted Into the right to
      receive the merger consideration for those shares after the closing just like any other Atmel
      stockholder.

      Stock Potions. All unvested Atmel stock options that you hold will accelerate and become vested and
      exercisable In full immediately prior to the closing, subject to your continued service through the
      closing. We will provide more information to you as we get closer to the closing date on how you may
      exercise your stock options that are eligible forthls accelerated vesting In connection with the closing.


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        If you do not exercise your stock options prior to the closing, Atmel will automatically "net exercise"
        your stock options, which means that the exercise price and applicable withholding taxes will be paid
        by withholding the appropriate amount of shares otherwise issuable to you on the exercise of your
        stock options. You will receive merger consideration for the shares you are issued for your options
        after the closing just like any other Atmel stockholder.

       Purchase Rights underthe Employee Stock Purchase Plan lESPPi. Atmel expects to continue the ESPP
       until just before closing. For any offering period under the ESPP that would otherwise be in effect at
       the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
       on the 10th business day prior to such closing. Ail shares of Atmel stock purchased on that purchase
       date will not be released until the closing and will be treated like all other outstanding shares at the
       closing. The ESPP will terminate immediately prior to the closing.

       How much will I receive for my shares of Atmel stock?

       Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 In cash,
       plus a fraction of a share of Microchip common stock having a value of approximately $1-15; provided
       however that Microchip will make a cash payment in lieu of issuing a fractional share of its common
       stock. For more Information, please see our filing on Form 8-K from January 19,2016 at:
       htm://www.sM.('.ov/Arclnvc'!./e(li:.ii7cliUa/8/?MH/()OC1 ;.7.1O'l91()()J0811/:J(jO0r/a
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       When Is the transaction expected to close?

       We expect the transaction to close during the second calendar quarter of 2016, subject to customary
       closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
       Microchip will continue to operate as independent companies.

       Will there be salary adjustments In 2016?

       Atmel agreed not to increase salary for any employees before July 1, 2016. We expect Microchip to
       review compensation arrangements, Including salary levels, during the Integration process.

       Who should I contact If I have questions about the transaction?

       if you have any questions, please contact Atmel's HR department.




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                                                    Additional Information

       This communication may be dsemed to be solicitation material in respect of the proposed merger involving
       Microchip and Atmel, In connection with the proposed merger, Microchip will file with the U.S. Securities and
       Exchange Commission (the "SBC") a Registration Statement on Form S-4 (the "Registration Statement")
       containing a prospectus with respect to the Microchip common stock to be Issued In the proposed merger and
       a proxy statement of Atmel In connection with the proposed merger (the "Proxy Statement/Prospectus"), Each
       of Microchip and Atmel Intends to file other documents with the SEC regarding the proposed merger. The
       definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmel and will contain Important
       Information about the proposed merger and related matters, The final Proxy Statement/Prospectus will describe
       the terms and conditions of the way in which the proposed merger will be implemented, including details of
       how to vote on the adoption of the proposed merger agreement, Any response to the proposed merger should
       be made only on the basis of the information In the Proxy Statement/Prospectus.

       Securityholders of Atmel may obtain, free of charge, copies of the Proxy Statement/Prospectus and Registration
       Statement, and any otherdocuments filed by Atmel and Microchip with the SEC In connection with the proposed
       merger at the SEC's website at www.sec.gov. Securityholders of Atmel may obtain, free of charge, copies of the
       Proxy Statement/Prospectus and any other documents filed by Atmel with the SEC In connection with the
       proposed merger In the "Investors" section of Atmel's website at www.atmel.com.

      BEFORE MAKING AN INVESTMENT OR VOTING DECISION, WE URGE SECURITYHOLDERS OF ATMEL TO READ
      CAREFULLY THE    PROXY STATEMENT/PROSPECTUS AND REGISTRATION STATEMENT (INCLUDING ANY
      AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS THAT MICROCHIP OR
      ATMEL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANT
      INFORMATION ABOUT THE PROPOSED MERGER,

      This communication does not constitute an offer to buy or exchange, or the solicitation of an offer to sell or
      exchange, any securities, nor shall there beany sale of securities In any Jurisdiction In which such offer, sale or
      exchange would be unlawful prior to registration or qualification under the securities laws of any such
      Jurisdiction, This communication is not a substitute for any prospectus, proxy statement or any other document
      that Atmel or Microchip may file with the SEC in connection with the proposed merger.

                                                Participants In the Solicitation

      Atmel, Microchip and their respective directors and executive officers may be deemed to be participants In the
      solicitation of proxies from Atmel's stockholders In connection with the adoption of the merger agreement in
      connection with the proposed merger and may have direct or Indirect interests In the proposed merger.
      Information about Microchip's directors and executive officers Is set forth in Microchip's Proxy Statement on
      Schedule 14A for its 2015 Annual Meeting of Stockholders, which was filed with the SEC on July 10, 2015, and
      its Annual Report on Form 10-K for the fiscal year ended March 31, 2015, which was filed with the SEC on May
      27, 2015 and amended on June 8, 2015, These documents are available free of charge at the SEC's website at
      www,sec.gov and from Microchip's website at www.mlcrochip.com/lnvestorshome.aspx, Information about
      Atmel's directors and executive officers and their respective Interests In Atmel by security holdings or otherwise
      Is set forth In Atmel's Proxy Statement on Schedule 14A for Its 2015 Annual Meeting of Stockholders, which was
      filed with the SEC on April 3, 2015. These documents are available free of charge at the SEC's website at
      www.sec.gov and from the "Investors" section of Atmel's website at www.atmel.com. Additional Information
      regarding the Interests of participants In the solicitation of proxies in connection with the proposed merger will
      be Included In the Proxy Statement/Prospectus and the Registration Statement that Microchip will file with the
      SEC.

                             Cautionary Statements Related to Forward-looking Statements

      This communication contains, or may contain, "forward-looking statements" In relation to Atmel and Microchip,
      as well as other future events and their potential effects on Atmel, Microchip and the combined company that
      are subject to risks and uncertainties. Generally, the words "will," "may," "should," "continue," "believes,"
      "targets," "plans," "expects," "estimates," "alms," "Intends," "anticipates" or similar expressions or negatives
      thereof Identify forward-looking statements. Forward-looking statements Include statements relating to (1) the
      benefits of the merger. Including future financial and operating results of the combined company, Microchip's



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         or Atmel's plans, objectives, expectations and Intentions, and the
                                                                                 expected timing of completion of the
        transaction; (2) expected developments In product portfolio, expected
                                                                                     revenues, expected operating costs
        savings, expected future cash generation, expected future design wins
                                                                                  and Increase In market share, expected
        Incorporation of products In those of customers, adoption of new
                                                                              technologies, the expectation of volume
        shipments of products, opportunities In the semiconductor Industry
                                                                             and the ability to take advantage of those
        opportunities, the potential success to be derived from strategic partnerships,
                                                                                         the potential Impact of capacity
        constraints, the effect of financial performance on share price, the
                                                                              Impact of government expectations and
        beliefs of the management of Microchip and Atmel; (3) the expansion
                                                                                   and growth of Microchip's or Atmel's
        operations; (4) the expected cost, revenue, technology and other
                                                                               synergies of the proposed merger, the
        expected impact of the proposed merger on customers and end-users,
                                                                                 the combined company's future capital
        expenditures, expenses, revenues, earnings, economic performance
                                                                                , financial condition, losses and future
        prospects; (5) business and management strategies and the expansion
                                                                                and growth of the combined company's
        operations; and (6) the anticipated timings ofthe Atmel stockholders
                                                                             ' meeting and completion of the proposed
        merger.

         These forward-looking statements are based upon the current beliefs
                                                                                      and expectations ofthe management of
         Atmel and Involve risks and uncertainties that could cause actual
                                                                                      results to differ materially from those
         expressed in the forward-looking statements. Many of these risks and
                                                                                        uncertainties relate to factors that are
         beyond Atmel's ability to control or estimate precisely. Those factors
                                                                                         Include (1) the outcome of any legal
         proceedings that could be instituted against Atmel or Its directors related
                                                                                          to the discussions with Microchip, the
         merger agreements with Dialog or Microchip or any unsolicited proposal;
                                                                                              (2) the occurrence of any event,
        change or other circumstances that could give rise to the termination
                                                                                    ofthe merger agreement with Microchip;
        (3) the ability to obtain governmental and regulatory approvals of the
                                                                                        proposed merger between Atmel and
        Microchip; (4) the possibility that the proposed merger between Atmel
                                                                                          and Microchip does not close when
        expected or at all, or that the parties, in order to achieve governmenta
                                                                                           l and regulatory approvals, may be
        required to modify aspects of the proposed merger or to accept conditions
                                                                                                that could adversely affect the
        combined company or the expected benefits of the proposed merger;
                                                                                      (5) the possibility that other competing
        offers or acquisition proposals will be made; (6) the ability to realize the
                                                                                        expected synergies or savings from the
        proposed merger In the amounts or in the timeframe anticipated; (7)
                                                                                   the potential harm to customer, supplier,
        employee and other relationships caused by the announcement or closing
                                                                                         ofthe proposed merger; (8) the ability
       to Integrate Atmel's businesses Into that of Microchip In a timely and
                                                                                     cost-efficient manner; (9) the combined
        company's ability to develop and market products containing the
                                                                                      respective technologies of Atmel and
        Microchip In a timely and cost-effective manner; (10) the combined
                                                                                    company's ability to protect Intellectual
       property rights; (11) litigation (Including Intellectual property litigation
                                                                                     In which the combined company maybe
       Involved or in which customers of the combined company may be
                                                                                  Involved, especially in the mobile device
       sector), and the possible unfavorable results of legal proceedings; (12)
                                                                                      dependence on key personnel; (13) the
       Inability to realize the anticipated benefits of acquisitions and restructuring
                                                                                              activities, Including In connection
       with the proposed merger, or other initiatives In a timely manner or at
                                                                                    all; (14) the development of the markets
       for Atmel's and Microchip's products; (15) risks related to Microchip's
                                                                                         ability to successfully Implement Its
       acquisitions strategy; (16) uncertainty as to the future profitability
                                                                                 of businesses acquired by Microchip, and
       delays In the realization of, or the failure to realize, any accretion from
                                                                                        any other acquisition transactions by
       Microchip; (17) the inherent uncertainty associated with financial projections;
                                                                                              (18) disruptions in the availability
       of raw materials; (19) compliance with U.S. and International laws and
                                                                                      regulations by the combined company
      and its distributors; (20) the market price and volatility of Microchip common
                                                                                             stock (If the merger Is completed);
      (21) the cyclical nature of the semiconductor Industry; (22) an
                                                                            economic downturn In the semiconductor and
      telecommunications markets; (23) consolidation occurring within
                                                                                 the semiconductor industry; (24) general
      global macroeconomlcand geo-political conditions; (25) financial market
                                                                                       conditions; (26) business Interruptions,
      natural disasters or terrorist acts; and (27) other risks and uncertainties
                                                                                      . Including those detailed from time to
      time In Microchip's and Atmel's periodic reports and other filings with
                                                                                     the SEC or other regulatory authorities.
      Including Atmel's AnnualReporton Form 10-K for the fiscal year ended
                                                                                   December 31,2014 and Quarterly Report
      on Form 10-Qfor the quarterly period ended September 30, 2015 (whether
                                                                                             under the caption Risk Factors or
      Forward Looking Statements or elsewhere) and Microchip's Annual
                                                                                   Report on Form 10-K for the fiscal year
      ended March 31, 2015, which was filed with the SEC on May 27,
                                                                                 2015 and amended on June 8, 2015 and
      Quarterly Report on Form 10-Qfor the quarterly period ended September
                                                                                         30,2015 (whether under the caption
      Risk Factors or Forward Looking Statements or elsewhere).

      Neither Atmel nor Microchip can give any assurance that such forward-look
                                                                                   ing statements will prove to be
      correct. The reader is cautioned not to place undue reliance on these
                                                                            forward-looking statements, which speak




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      only as of the date of this announcement. Neither Atmel nor Microchip nor any other person undertakes any
      obligation to updateor revise publicly any of theforward-looklng statements set out herein, whether as a result
      of new Information, future events or otherwise, except to the extent legally required.
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Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
determined by the Company, but In no case more than ninety (90) days following the date of termination, and will be
subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
interpreted accordingly.

Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
under the Program, the term "Company" will include any successor to the Company's business and/or assets which
becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
action taken by the Company prior to a Change of Control with respect to the Program, and any Interpretation by the
Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced in accordance with the internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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                                                  ADDENDUM TO
                                    U,S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 8, 2015


  Term of the Severance Guarantee Benefit Program; The U.S. Severan
                                                                             ce Guarantee Benefit Program is effect ive from
  July 1,2015 and will terminate on November 1, 2015 unless an
                                                                    initial Triggering Event (as described below) has
  occurred prior to November 1,2015, In which event the U.S. Severan
                                                                            ce Guarantee Benefit Program will rema in in
  effect for 18 (eighteen) months following that Initial Triggering
                                                                    Event.

  Eligibility: Eligibility is limited to U.S.-based employees of Atmel
                                                                       Corporation as of the date a Change of Control Is
  consummated.

 initial Triggering Event; Benefits under the U.S. Severance Guarant
                                                                     ee Benefit Program will become available to
 eligible employees only if the Company enters into a definitive
                                                                 agreement (a "Definitive Agreement"), on or before
 November 1, 2015, that will result in a Change of Control of the
                                                                  Company. If a Definitive Agreement is not entered
 Into on or before that date, the U.S. Severance Guarantee Benefit
                                                                    Program described in the letter and this Ad dendum
 will automatically expire, unless expressly extended by the Compan
                                                                     y's Board of Directors.

 Benefits Conditions; After an Initial Triggering Event occurs that
                                                                    makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be
                                                                  entitled to receive cash payments and COBRA
 benefits if, but only if;

      A.    A Change of Control actually occurs; and
      B.    Their employment Is terminated without "Cause" by the Compan
                                                                         y (or its successor) at any time w Ithin 18
            months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program
                                                                    , the definition of "Change of Control" and
      "Cause" will be the same as that contained In the Company's Senior
                                                                          Executive Change of Control and Severance
      Plan.

 Severance Guarantee Benefits; If the Benefits Conditions describe
                                                                   d above have been satisfied, and you are entitled
 to Severance Guarantee Benefits under the U.S. Severance Guarant
                                                                   ee Program, you will receive the benefits as
 described In the Severance Guarantee letter provided to you dated
                                                                   July 8,2015.

Terminations Not Subject to Program; Ifyour employment is termina
                                                                        ted at anytime before or after an Initial
Triggering Event has occurred as a result of your voluntary resignat
                                                                     ion, death, disability or termination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits
                                                                 . As discussed above, the U.S. Severance Guarantee
Program Is a "double trigger" plan, meaning that no benefits are
                                                                   available under this Program unless there is both a
Change of Control that occurs and your employment is termina
                                                                ted without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarant
                                                                         ee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptab
                                                                    le to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right
                                                                  to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid prior
                                                                     to the date the Release Is effective, that po rtion
will, instead, accrue and be paid as soon as administratively practica
                                                                        ble following the Release effective date.

Coordination of Benefits: if you are or become eligible for statutor
                                                                     y severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutor
                                                                 y benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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yitmel
                                              STRICTLY PERSONAL AND CONFIDENTIAL

July 9, 2015

William Coplin
Re: Severance Guarantee


Dear William,


Our employees are the lifeblood of our company and we value and appreciate all you do for Atrnel. We recognize that
recently there has been significant market speculation regarding possible transactions involving the company and
understand that Such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
Benefit program that Is intended to ease concerns among our employees, under this program, you will have the
opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include;


     •       Cash Severance; 50% of base salary (based on your base rate of pay In effect on the date the Change of Control
             transaction closes); and
     •   Target Incentive: A prorated annual MiP or SIP, whichever you are eligible for at the time of termination; the
             proration will be based a determination of your MiP or SIP at the time of termination, as determined by the
             Company; and
     •       COBRA Benefits: Six (6) months' of COBRA benefits paid for by the Company

All Severance Guarantee Benefits are subject to the terms and conditiohs In the Addendum attached to this letter. TO
receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
Company (or its successor) if a transaction occurs (the "Release").


Nothing In this letter is Intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
remain an at-will employee for ail purposes,, meaning that you or the Company (or its successor) may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.


William, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
recognition and appreciation of your contributions to Atmei. Thank you for your continued contributions to our success.


Sincerely,



Suzanne Zoumaras
Senior Vice President, Global Human Resources


Attachment




Tim Mueller
Tim Mueller




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                    EXHIBIT D to A-1




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                                                    MICROCHIP
                                                                                    Letter for Directors hired before 12/31/15


 April 13,2016


 William Caplln


 Re; Severance Benefits


 Dear William,


 I am pleased to offer you a severance agreement on the terms and conditions set forth below.


 As you know, Atmel Corporation {the "Companv") recently became a subsidiary of Microchip Technology
 Incorporated ("Microchip") (the "Merger"). The Company and Microchip are making this offer, In part to resolve
 any current disagreement or misunderstanding regarding severance benefits previously offered by the
 Company, and In part to provide you with the security of certain benefits In the event your relationship is
 terminated Involuntarily without Cause (as defined in Aooendix A1 by the Company, Microchip or any U.S.
 subsidiary or affiliate of the Company or Microchip (the "Microchip Group"), and other than due to your death
 or disability, on or prior to April 4, 2017 ("Qualifying Termination").


 These benefits (collectively, the "Severance Benefits") are:
     •    Cash Severance: A lump sum payment equal to 2596 of your annual base salary, less applicable
          withholdings, based on your base rate of pay in effect Immediately prior to the date your employment
          Is terminated (the "Separation Date");
     •    Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP) that you
          received from the Company for 2015, then annualized, less applicable withholdings, prorated based on
          the number of days between January        1, 2016 and your Separation Date1;
     •    Equity Acceleration:     100% vesting acceleration of your restricted stock units that were assumed by
          Microchip in connection with the Merger; and
     •    COBRA Benefits; Three months of COBRA benefits paid for by Microchip.


 Your receipt of the Severance Benefits will be subject to you signing and not revoking a release of any and all
 claims, in a form prescribed by Microchip and substantially the same as that attached at Appendix B (the
 "Release"). Upon the Release becoming effective, the Cash Severance, Target Incentive, and Equity Acceleration
 benefits will be payable in a lump sum without interest as soon as administratively practicable, and all other
 amounts will be payable in accordance with the payment schedule applicable to each payment or benefit.


 Nothing in this agreement is Intended to, or shall, contradict, modify or alter the terms of your at-will
 employment. You shall remain an at-will employee of the Company and the Microchip Group for all purposes,


      1  For example, if your performance bonus for working the entire year of 2015 was $10,000, less applicable
      withholdings, and you are employed for a total of 180 days after January 1, 2016, then you will be eligible for a Target
      Incentive of (($10,ODD x .5) x (180/SBS))"$2,465.75, less applicable withholdings. However, if you were hired by the
      Company sometime after January 1,2015, then your 2015 bonus number will be annualized accordingly. For example,
      If you were hired April 1, 2015 and received a performance bonus for201S of $7,500, and you are employed for a
      total of 180 days after January 1,2016, then you will be eligible for a Target Incentive of ((($7,500 x 365/275) X .5) X
      (180/365)) = $2,454.55.


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                                                  MICROCHIP
                                                                        Group employing you may terminate your
   meaning that you, the Company or the member of the Microchip
                             for any reason  or for  no reason, with or without Cause, and with or without notice.
   employment at any time
                                                                          except in a written document, signed by
   Moreover, the at-will status of your relationship cannot be changed
                                                                       modifies your at-will status. This agreement
   Microchip's Chief Executive Officer and you, and which expressly
                                                                          entire agreement between you and the
   constitutes the complete, final, and exclusive embodiment of the
                                                                          any other actual or perceived promises,
   Microchip Group with regard to its subject mattpr and supersedes
                                               to its subject matter made  by the Company or any other member of
   warranties, or representations with regard
                                                                                policies, or agreements with respect
   the Microchip Group, including, (or the avoidance of doubt, any programs,
                                                                       2016.
   to severance or equity acceleration benefits made prior to April 4,

                                                                    an unrelated party and your employment is
   In the event that a portion of the Microchip Group is sold to
                                        and the Company will ensure that the new employer assumes responsibility
   transferred to that party. Microchip
   for this agreement.

                                                                      2017, this agreement will expire and you will
   if a Qualifying Termination does not occur on or prior to April 4,
   not be eligible to receive the Severance Benefits described here.


                                                                      return it to your HR Bjsiness Partner no later
   To accept this offer, counter-sign in the space provided below and
   than April 20, 2016.


   Thank you for your continued contributions to our success.


   Sincerely,




   Lauren Carr
   Vice President, Global Human Resources


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                                                                 \                   -Ath
   Signature (Williaiti Coplln)                                    Mt/Bui./hriss P.-frui/;!
                                                                                                   c
                                                                           yiblitfC
   Date                                                            Date




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                                                      APPENDIX A

                                   ADDITIONAL TERMS TO SEVERANCE AGREEMENT

Unless otherwise defined below^ capitalized terms used herein will have the meanings
                                                                                     set forth in the
agreement.


1.   Cause. "Cause" is defined as (i) your willful and continued failure to perform
                                                                                    the duties and responsibilities
     of your position after there has been delivered to you a written demand for performance
                                                                                                 from Microchip's
     Vice President, Worldwide Human Resources which describes the basis for
                                                                                    her belief that you have not
     substantially performed your duties and you have not corrected such failure
                                                                                   within 30 days of such written
     demand; (ii) any act of dishonesty by you in connection with your responsibilities
                                                                                           as an employee of the
     Company with the intention or reasonable expectation that such action may
                                                                                        result in your substantial
     personal enrichment; (iii) your conviction of, or plea of nolo contendere to,
                                                                                   a felony that Microchip's Vice
     President, Worldwide Human Resources reasonably believes has had or will
                                                                                     have a material detrimental
     effect on the reputation or business or any member of the Microchip iSroup;
                                                                                    (iv) a breach of any fiduciary
      duty owed to the Company or the Microchip Group by you that has a material
                                                                                           detrimental effect on the
      reputation or business of any member of the Microchip Group; (v) you being
                                                                                        found liable in any Securities
      and Exchange Commission or other civil or criminal securities law action or
                                                                                      entering any cease and desist
      order with respect to such action (regardless of whether or not you admit
                                                                                       or deny liability); (vl) you (A)
      obstructing or impeding; (B) endeavoring to obstruct, impede or improperly
                                                                                          influence, or (C) failing to
      materially cooperate with, any investigation authorized by the Board or any governmental
                                                                                                     or self-regulatory
     authority (an "Investigation"); however, your waiver of attorney-client privilege
                                                                                          relating to communications
     with your own attorney in connection with an Investigation will not constitute
                                                                                                "Cause"; or (vii) your
     disqualification or bar by any governmental or self-regulator/ authority
                                                                                      from serving in the capacity
     contemplated by your position or your loss of any governmental or self-regulatory
                                                                                            license that is reasonably
     necessary for you to perform your responsibilities to the Company or gny member
                                                                                              of the Microchip Group,
     if (A) the disqualification, bar or loss continues for more than 30
                                                                             days, and (B) during that period the
     Company or any member of the Microchip Group uses its good faith efforts to
                                                                                         cause the disqualification or
     bar to be lifted or the license replaced, it being understood that while any
                                                                                         disqualification, bar or loss
     continues during your employment, you will serve In the capacity contemplated
                                                                                                  by your position to
     whatever extent legally permissible and, If your service in the capacity contemplated
                                                                                               by your position is not
     permissible, you will be placed on leave (which will be paid to the extent legally
                                                                                        permissible).




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                                                     MICROCHIP
                                                           APPENDIX B

        TO:              [NAME]
        FROM:            Microchip Technology Incorporated

        DATE:            [XXXX]
        RE;              EmploymentSeparatlonj Severance and Release ("Agreement")




        As you know, the Company1 has decided to end your employment without cause (as defined
                                                                                                         In the
        Severance Agreement that you signed in April 2016). Under the terms of the Severance Agreement,
                                                                                                        you are
        entitled to the Severance Benefits listed below provided you sign, return and do not revoke
                                                                                                            this
        Agreement.


                                              The Comoanv's Commitments to You


              •   The Company will give you:


                  o       Cash Severance: A lump sum payment equal to 25% of your annual base salary, less
                          applicable withholdings, based on your base rate of pay in effect immedlatsly prior to the
                          date your employment is terminated (the "Separation Date");
                  c       Target Incentive; A lump sum payment equal to 50% of the annual performance bonus
                          (M1P) that you received from the Company for 2015, less applicable withholdings, prorated
                          based on the number of days between January 1,2016 and your Separation Date;
                  o       Equity Acceleration: 100% vesting acceleration of your restricted stock units that were
                          assumed by Microchip In connection with the April 4, 2016 Merger between Atmel
                          Corporation and Microchip Technology Incijrporated; and
                  O       COBRA Benefits: Three months of COBRA benefits paid for by Microchip.


           •      The Company will not contest any claim for unemployment benefits that you may file.


                                              Vour Commitments to the Comoanv


           •      You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents
                  and employees from any liability relating to or arising out of your employment with any of them.
                  This includes a release of any liability for claims of any kind that you ever had or may have at this
                  time, whether you know about them or not. This release is as broad as the law allows and includes
                  a release of claims under federal and state laws, such as anti-discrimination, harassment and
                  retaliation laws and expressly includes any claims under the Age Discrimination in Employment Act.




    2  in this document, unless otherwise noted, "Company" means Microchip Technology Incorporated,
                                                                                                    Atmel
    Corporation and any of their affiliated entitles.



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                                              MICROCHIP
            This release also includes a release of any tort and contract claims, and any other claims that could
            be asserted under federal, state or local statutes, regulations or common law.


        •   You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of
            the State of California, which reads "a general release does not extend to claims which the
            creditor does not know or suspect to exist in his or her favor at the time of executing the release,
            which if known by him or her must have materially affected his or her settlement with the
            debtor."

        •   In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement
            or to provide  information to, or file a charge with, any gDvernment agency. However, In agreeing
            to this release, you are agreeing that you will not accept any money, or the reinstatement of your
            employment, for any claim you have released.


                                 General Understandings and Acknowledgements

    •   This Agreement states your and the Company's complete understandings regarding your rights and the
        Company's obligations relating in any way to, or arising out of, your employment with the Company.
        No future modification of this Agreement will be valid unless it is written and signed by an executive
        officer of the Company and you. If any provision in this Agreement is deemed unenforceable. It will be
        considered severable and will not affect the enforceability of the rest of the Agreement.


    •   You have until 5:00 p.m. on XXXXX (XX days after your Separation Date), to consider whether you want
        to accept the Severance Benefits by signing this Agreement, although you do not need to wait until that
        time to accept this offer and obtain the Severance Benefits.


    •   To accept this offer, you must sign this Agreement and deliver a signed copy of it to Lauren Carr in
        Human Resources by the date and time stated in the previous bullet point. As noted below, you will not
        receive the Severance Benefits until seven (7) business days after you deliver It to Lauren Carr. If you
        decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
        calendar days to change your mind and revoke the Agreement. To revoke this Agreement after signing
        it, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
        you gave her the Agreement with your signature.


    •   By signing this Agreement, you are acknowledging that you have read It carefully, that It is written in
        language that you understand, that you have been advised to consult with an attorney, that you have
        been given 21 days [or 45 days If you are not the only employee separated from the Company at the
        sametime] to consider it, and that you are signing it knowingly and voluntarily.


    •   If you sign and return this document in less than the time you have been given to consider it, you are
        voluntarily agreeing to waive the remaining portion of the time you have been given to consider It.


        ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




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   Date
   Date                        [XXXXEMPLOYEE
                               [XXXX EMPLOYEE NAME]
                                              NAME]




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                   EXHIBIT E to A-1




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                                                  MICROCHIP
                                                        APPENDIX B

      TO:             William Coplln

      FROM:           Mlcrochi|D Technology Incorporated

      DATE:           June 10,2015

      RE;             Emplovment Separation, Severance and Release ("Agreement")




      As yOu know, the Company1 has decided to end your employment without cause (as defined In the
      Severance Agreement that you signed in April 2016). Under the terms of the Severance Agreement, you are
      entitled to the Severance Benefits listed below prdvided you sign, return and do not revoke this
      Agreement.
                                             The Company's Commitments to You

            •   The Company will give you:


                o       Cash    Severance:   A lump sum payment equal to 25% of your annual              base salary
                        ($48,255.99), less applicable withholdings, based on your base rate of pay In effect
                        immediately prior to the date your employment is terminated (the "Separation Date");
                o       Incentive Bonus: A    lump sum payment equal to 50% of the annual performance bonus
                        (MIP)   ($7,745.90) that you received      from the Company for 2015,        less applicable
                        withholdings, prorated based on the number of days between January 1, 2016 and your
                        Separation Date;
                o       Equity Acceleration: 100% vesting acjceleratlon of your restricted stock units that were
                        assumed by Microchip In connection with the April 4, 2016 Merger between Atmel
                        Corporation and Microchip Technology Incorporated; and
                o       COBRA Benefits: Three months of COBRA benefits paid for by Microchip.

            •   The Company will not contest any claim for unemployment benefits that you may file,


                                             Your Commitments to the Company


            •   You agree to release the Company, Its subsidiaries and affiliates, and its and their officers, agents
                and employees frotn any liability relating to or arising out of your employment with any of them.
                This includes a release of any liability for claims of any kind that you ever had or may have at this
                time, whether you know about them or not. This release is as broad as the law allows and includes
                a release of claims under federal and state laws, such as anti-discrimination, harassment and
                retaliation laws and expressly includes any claims under the Age Discrimination in Employment Act.




      1  In this document, unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
      Corporation and any of their affiliated entitles.



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              This release also includes a release of any tort and contract claims, and any other claims that could
              he asserted under federal, state or local statutes, regulations or common law.


          •   Yoo agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of
              the State of California, which reads "a general release does not extend to claims which the
              creditor does not know or suspect to exist in his or her favor at the time of executing the release,
              which if known by him or her must have materially affected his or her settlement with the
              debtor."

          •   In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement
              or to provide information to, or file a charge with, any government agency.      However, in agreeing
              to this release, you are agreeing that you will not accept any money, or the reinstatement of your
              employmentj for any claim you have released.


                                    General Understandings and Acknowledgements


      •   This Agreement states your and the Company's complete understaridings regarding your rights and the
          Company's obligations relating in any way to, or arising out of, your employment with the Company.
          No future modification of this Agreement will be valid unless it is written and signed by an executive
          officer of the Company and you. If any provision in this Agreement is deemed unenforceable. It will be
          considered severable and will not affect the enforceability of the rest of the Agreement.


      •   You have until 5:00 p.m. on July 25,2016(45 days afteryour Separation Date), to consider whether you
          want to accept the Severance Benefits by signing this Agreement, although you do not need to wait
          until that time to accept this offer and obtain the Severance Benefits.


      •   To accept this offer, you must sign this Agreement and deliver a signed copy of It to Lauren Carr in
          Human Resources by the date and time stated in the previous bullet point. As noted below, you will not
          receive the Severance Benefits until seven (7) business days after you deliver it to Lauren Carr. if you
          decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
          calendar days to change youf mind and revoke the Agreement. To revoke this Agreement after signing
          it, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
          you gave her the Agreement with yoursignature.


      •   By signing this Agreement, you are acknowledging that you have read It carefully, that it is written In
          language that you understand, that you have been advised to consult with an attorney, that you have
          been given 21 days [or 45 days if you are not the only employee separated from the Company at the
          same time] to consider it, and that you are signing it knowingly and voluntarily.


      •   If you sign and return this document in less than the time you have been given to consider it, you are
          voluntarily agreeing to waive the remaining portion of the time you have been given to consider it.


          ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT,




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     Date
     Date                         William Coplin
                                  William Coplin




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                                                 EXHIBIT A

                                   DECISIONAL UNIT INFORMATION

     The following information is provided under federal law to assist you in making a decision whether
     to sign this Agreement and accept the severance benefits offered by Microchip:


     1.     Decisional Unit. The decisional unit for this reduction in force is Human Resources

     2.     Eligibility. All persons included in the Human Resources are eligible for the program. All
     persons who are being tenninated in the reduction in force are selected for the program.

     3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this
     Agrecmeni in which to decide whether to sign this Agreement and return it to the Company. The
     offer of severance benefits contained in this Agreement will expire on the date stated on page 2 of
     the Agreement. Please note that once you have signed this Agreement, you will have seven (7) days
     to revoke your signature and acceptance of the terms of this Agreement.

            Selection Information. Federal law provides certain information be given to you
     concerning individuals who were eligible and selected for the reduction in force and individuals who
     were eligible but not selected for the reduction in force. This information can be found in Exhibits B
     and C, which follow this Exhibit A.




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   EXHIBIT B -Atmei - HR (6/10/16)
   Group Not Selected
   Title                             Age(s)
   HR Buslnets Partner                36
   Benefits Analyst                   41
   Sr. Payioll Specialist             42
   Senior Manager, Global HRMS        43
   Sr. Global Payroll Manager         53
   Sr. CompensatlDn Analyst            5S
   Sr. HR Business Partner             56
   Manager, Benefits                   60




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     EXHIBIT C - Atmel - HR (6/10/2016)
     Group Selected
     Job Title                             Age(sl
     Compensation Analyst                   25
     Senior Manager, Global Compensation    55
     Director, Human Resources              67




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                                DECLARATION OF ROBIM BERMAM



                I, Robin Berman, declare as follows:

                In 2015,1 was emptoved by Atmel as a Creative Director. In July 2015, i and other Atmel
       employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program", along
       with an Addendum to the letter providingadditional details about the severance program (hereafter
       collectively "Severance Plan"). A copy of the Severance Plan documents that I received In July 2015 Is
       attached hereto as Exhibit A. The Severance Plan provided for certain severance benefits If Atmel was
       acquired and I was subsequently terminated.

                In September 2015,1 learned that Atmel had entered Into an agreement with a company called
        Dialog Semiconductor pursuant to which Dialog would acquire Atmel. In December 2015,1 heard that
       another co mpany had made an offer to purchase Atmel and that a decision would be made In January.
       The rumor among employees was that the new company was Microchip. I and many other employees
       thought this would be bad for Atmel and forthe future of many Atmel employees.

               In mtd-January 2016,1 learned that Microchip had made a superior offer to that of Dialog. My
       superior, Sander Arts (the Vice President of Corporate Marketing), assured me and other employees
       that we should not look elsewhere for a Job outside of Atmel, since the Severance Plan was In place and
       so we had financial protection in the event that Microchip terminated us.

              On approximately January 20,2016,Steve Laub (the Chief Executive Officer of Atmel) held an
       informal all hands meeting. During this meeting, Laub discussed the Microchip offer, and indicated to
       the employees that the Severance Plan was still In place.

                in February 2016,1 discussed with Sander Arts thefact that I and others had not started looking
       for new Jobs in lightof the Severance Plan. Arts again assured me thatthe Severance Plan was intact
       and so I would have financial protection for many months If Microchip terminated me. I had an almost
       identical discussion with Arts again in March 2016.

              On approximately April 6,2016,1and many other Atmel employees received a letter informing
      us that we were beingterminated effective Immediately. These letters Indicated that Microchip would
      only pay 5 weeks of salary as severance. A copy of the April 6,2016 termination letter I received Is
      attached hereto as Exhibit B, As I was being escorted out of the lobby on April 6th, I had a discussion
      with Ravi Ball (a Manager of Human Resources). Ball made It clear that he was shocked that Microchip
      was not honoring the Severance Plan, and he also indicated that It was a complete surprise to the
      remaining Atmel Human Resources team that Microchip was not paying the severance.

              On approximately April 11,2016,1and the other Atmel employees who were terminated
      received a new letter, which indicated that Microchip would pay us SOW of the severance benefits due
      under the Severance Plan. A copy of the April 11,2016 letter I received is attached hereto as Exhibit C.

              Based on my discussions with other Atmel employees prior to the closing of the acquisition In
      April 2016, It was my understanding that Atmel had made Microchip aware of the existence of the
      Severance Plan prior to April 2016, end that Atmel had also made Microchip aware of the fact that
      Atmel believed thatthe Severance Plan wasstilt In place following Microchip's agreement to purchase

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      Atmel In January 2016 and that the Severance Plan would require Mlcrachlp to pay severance benefits If
       Microchip acquired Atmel and then terminated Atmel employees. Based on my discussions with other
      Attnel employees prior to the dosing of the acquisition In April 2016, Microchip had knowledge of, and
      had been Involved in the drafting of, the language of the February 2016 "Frequently Asked Questions"
      that were pubHshadfbr Atmel employees to address questions regarding the Microchip acquisition.

               On approximately May 11,2016,1had a conversation with Sander Arts, In which Arts confirmed
      that prior to the Microchip acquisition, he had conveyed to his whole team that the Severance Plan was
      Intact even with Microchip becoming the purchaser. Arts also confirmed that, prior to the April
      acquisition by Microchip, Laub had told all of his direct reports (including Arts) that the Severance Plan
      was still Intact.

              I relied on the Severance Plan and the assurances I had received from Atmel managers In
      deciding to stay with Atmel through the Microchip acquisition, i would have left Atmel and found
      another job long before the Microchip acquisition if I had known that Microchip was not going to pay
      me the severance benefits under the Severance Plan.



             i declare under penalty o f perjury that the foregoing Is true and correct and that this declaration

      was executed on May 18,2016 at Palo Alto, California.




                                                          Robin Berman




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    /Itmet                                          STRICTIY PERSONAL AND CONFIDENTIAL

     July 9,2015

      Robm Berman
     Re: Severance Guarantee

     Dear Robin,


     Our employees arc the llfeblood of our company and we value and appieclme all you do for Atmd. We recognize that
     recently there has been slgnlRcant market speculation regarding possible transoctlons involving the company and
     understand that such rumors can ba distracting and unsettling. To support our employees and lo keep everyone focused
     on our continued niccess, we are pleated to share with you the terms of a recently approved U.S. Severance Guarantee
     Benefit program that Is Intended to ease concerns among our employees. Under this program, you will have the
     opportunity to receive benefits as described below If your employment Is Involuntarily terminated without Cause after the
     occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benellts") Include;


         •       CMh Savtraiica; 40H of base salary (based on your base rate of pay in effect on the date the Change of Control
                 transaction closes); and
         •       Target Incenthrai tl you art eligible, a prorated annual MP or SIP, whlchevar you are eligible for at the time of
                 termination; the proration wlii be based a detarrnlnation of your MIP or SIP at the time of   termlnBllon, is
                 determined by the Company;and
         •       COMA •enaflti; Four (4) months' of COBRA ben eftts paid for by the Company

     All Severance Guarantee Benefits are subject to the terms and condHlons In the Addendum attached to this lett«r. To
    receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable tothe
    Company (or Us successor] If a transaction occurs (the "Release").


    Nothing In this loner Is Intended to, or shall contradict, modify or alter the terms of your at-will employment, other than
    the provision by the Company (or Its successor) of the Severance Guarantee Benefits provided by this letter. You shall
    remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
    employment at any time for any reason or for no reason, with or without Cause, and with or without notice,


    Robin, wa are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
    recognition and appreciation of your contributions to Atmel. Thank you for your continued contrlbutioni to our success.


    Sincerely,



    Suianne Zoumaras
    Senior Vice President, Global Human Resources

    Attochment




    Sander Arts
    Robin Mrrrin




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                                                        STRICTLY CONFIDENTIAL

                                                             ADDENDUM TO
                                            U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                               July 9,2015


    Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program Is effective from
     July   1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below} has
     occurred prior to November    1,2015, In which event the U.S. Severance Guarantee Benefit Program will remain in
     effect for 18 (eighteen) months following that initial Triggering Event.


     EllglblHty: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control Is
    consummated.


    Initial Triggering Event; Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
    eligible employees only If the Company enters Into a definitive agreement (a "Definitive Agreement"), on or before
    November 1, 2015, that will result In a Change of Control of the Company. If a Oefinltlve Agreement Is not entered
    Into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
    will automatically expire, unless expressly extended by the Company's Board of Directors.


    Benefits Conditions; After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
    Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
    benefits if, but only If:


            A.      A Change of Control actually occurs; and
            B.      Their employment is terminated without "Cause" by the Company (or Its successor) at any time within IS
                    months of the execution date of the Definitive Agreement.


            For purposes of this U.S. Severance Guarantee Benefit Program,the definition of "Change of Control" and
            "Cause" will be the same as that contained In the Company'sSenior Enecutlve Change of Control andSeverance
            Plan.


    Severance Guarantee Benefits; If the Benefits Conditions described above have been satisfied, and you are entitled
    to Severance Guarantee Benefits undertha U.S. Severance Guarantee Program, you will receive the benefits as
    described In the Severance Guarantee letter provided to you dated July 9,2015.


    Tertnlnaticms     Not Subject to   Program: If your employment Is terminated at anytime before or after an Initial
   Triggering Event has occurred as a result      of your voluntary resignation, death, disability or termination for Cause, you
   -wlllnothreallBlblB-torecelveanySeverancc-Ouarantee-Beneflts.-As-discussed above,-theU;SrSeverance Guarantee—
    Program Is a "double trigger" plan, meaning that       no benefits are available underthis Program unless there is both a
   Change of Control that occurs and your employment Is terminated without Cause.


   Release of Claims (the "Release'): Receipt of any Severance Guarantee Benefits will be subject to your executing a
   separation and release agreement In a form reasonably acceptable to the Company or its successor (the "Release"). If
   you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
   of the Severance Guarantee Benefits Is scheduled to be paid prior to the date the Release Is effective, that portion
   will, instead, accrue and be paid as soon as admlnlstratlvelv practitoblo following the Release effective date.


   Coordination of Benefits; If you are or become eligible for statutory severance benefits, such as but not limited to
   WARN notice pay, you will receive the greater of those statutory benefits orthe Severance Guarantee Benefits, but
   not both (and without duplication).




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                                                                                                   practicable as
    Paymantt: All Severance Guarantee Benefit payments will be made as soon as administratively
                                                                                              of termination, and will be
    determined by the Company, but In no case more than ninety (90} days following the date
                                                                                                      Benefit payments
    subject to ail applicable tax withholdings and other payroll deductions. The Severance Guarantee
                                                                                                  herein shall be
    are Intended to be exempt from application of Section 409A of the Code, and any ambiguities
    Interpreted accordingly.

                                                                                                      Forall purposes
   Additional Matters. Any successor to the Company will assume the obligations under the Program.
         the Program, the term "Company"   will includa any successor to the Company's business and/or assets which
   under
                                                                                               will withhold from any
   becomes bound by the terms of the Program by operation of law, or otherwise. The Coinpany
                                                                                                    and any other required
   severance benefits all federal, state, local and other taxes required to be withheld therefrom
                                                                                                   decision madeot other
    payroll deductions. The Program will be administered and Interpreted by the Company. Any
                                                                                                  any Interpretation by the
   actton taken by the Company prior to a Change of Control wllh respect to the Program, and
                                                                                                     document will he
   Company prlorto a Change of Control of any term or condition of the Program, or any related
                                                                                                    by law. Following a
   conclusive and binding on all persons and be given the maximum possible deference allowed
                                                                                                            by the Company
   Change of Control, any decision made or other action taken by the Company, and any Interpretation
   of any term or condition    of
                               the Progra m, or any related document that (I) does not affect the benefits payable under
                                                                                                  does affect the benefits
   the Program shall not be subject to review unless found to be arbitrary and capricious or (n)
                                                                                                 or not to have been made
   payable under the Program shall not be subject to review unless found to be unreasonable
                                                                                                 It may provide, delegate
   In good faith. The Company may. In Its sole discretion and on such terms and conditions as
                                                                                                           with respect to
   in writing to one or more officars of the Company all or any portion of its authority or responsibility
                                                                                                  action that could
   the Program; provided, however, that any Program amendment orterminatlon or any other
                                                                                                 by the Company^ Board
   reasonably be expected to Increase significantly the cost of the Program must be approved
                                                                                                          of the Program will
   of Directors or the Compens.ition Committee of the Company's Board of Directors. The provisions
                                                                                            ofthe State of California
   be construed, administered and enforced In accordance with the Internal substantive laws
   (with the exception of its conflict of laws provisions).




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      TO:          Robin Herman
      DATE:        April 6,2016
      FROM;        Atmcl, LLC.
      RE;          Severance Agreement and Release


      In connection with the termination of your employment from Atmel, LLC. effective April 6,2016
      (the 'Termination Date"), wc are offering you a severance package on the teems set forth in this
      document. This offer is voluntary and whether you accept it is entirely up to yon. If you decide to
      accept this offer by signing at the end of this document, you will be entering into a legally-binding
      contract (the "Agreement") with Atmel, LLC., and its affiliates, parent corporation and subsidiaries
      (collectively the "Company"), on the terras stated below,
                                       Atmel. LLC Commitmentu to You


      • In consideration far entering into this Agreement, Atmel, LLC. will pay you a lump sum total of
        $12,538.17 ("Severance"), which is approximately equal to 5 weeks of your current base pay.

      • The Severance will be paid to you in one lump sum within 30 business days after the Effective
        Date of this Agreement, less all legally-required taxes and withholdings, including any advanced
        PTO pay.

      » Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
        accrued but unused vacation through the Tenmination Date. You will receive infoimotion
        regarding your rights to health insurance continuation under COBRA, Nothing in this
        Agreement will impair any COBRA rights you have or your rights to vested benefits under the
        terms of Company benefit plans.

      • Provided that you direct any inquiries by potential future employers to Atmel, LLC. Human
        Resources department, Atmel, LLC. shell use its best efforts to provide only your last position
        and dates of employment.

                                      Vour CommitnuBti to ih« Company


     • You agree to release the Company and its current and former officers, directors, employees,
       shareholders, affiliates, benefit plans, administrators, insurers, trustees, divisions, and
       subsidiaries, and predecessor and successor corporations and assigns (Including, but not limited
       to, Atmel, LLC.) (collectively, the "Releasees") and promise never to assert any and all actions,




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            causes of action, grievances, obligations, damages, losses and claima of every kind bued on any
            act, amission, event up to the date you sign this Agreemeiit, including, but not limited to, any
            claims relating to or arising out of your employment nnd/or termination of your cmployrnEnt
           with Almel, LLC. In particular, you release the Releasees from liability for ail claims of any
            nnuire thai you ever had or may have at this time, whether you know about them or not, This
            release spccificully includes, but is not limiied to. any claims under federal or state law, such as
           Title Vll of the Civil Rights Act of I9M, the Age Discrimination in Hmploynicnt Act
           ("ADEA"), the Americans with Disabilities Act, as well as any contract claim or other claim
            under statutory or common law, to the fullest extent the Jaw permits a release of cloinis. You
           agree that the waiver and release of claims in this paragraph is on behalf of yourself and your
           heirs, administrnturs, representatives, executors, successors and assigns, and all such persons are
           bound by this waiver and release. You agree that the release set forth in this section shall be and
           remain in effect in nil respects as n complete general release as to the matters released. This
           release does not extend to any obligations incurred under this Agreement, This release does not
           release claims thnt cannot bo released as a matter of law, including, but not limited to, your right
           to file a charge with or participate in a charge by the Equal Bmploymuut Opportunity
           Commission, or any other local, state, or federal administrative body or government agency thai
           is authorized to enforce or administer lows related to employment, against the Company (with
           the understanding that any such tiling or participation does not give you the right to recover any
           monetary damages against the Company and your rclcn.sc of claims herein bars you from
           recovering such monetary relief from the Company), This release docs not extend to any right
           you may have to unemployment compensation benefits or workers' compensation benefits. You
           acknowledge that you have made no assignment or transfer of any claim or other matter waived
           or released by this Agreement

       •   You agree that this release constitutes a waiver of all rights under Section 1542 of the Civil
           Code of the State of California, which reads:
              A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
              CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
              FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
              BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
              SETTLEMENT WITH THE DEBTOR.

       • You acknowledge that you are waiving and releasing rights you may have under ADEA, and thnt
         this waiver and release is knowing and voluntary. You and the Company agree that this waiver
         and release does not apply to any rights or claims that may arise under the ADEA after the
         Effective Date of this Agreement. You acknowledge that the consideration given for Ibis waiver
         and release is in addition to anything of value to which you were already entitled. You
         acknowledge further that you have been advised by this writing that; (a) you should consult with
         an attorney prior to executing this Agreement; (b) you have forty-Five (45) days within which to
         consider this Agreement; (c) as set forth in Exhibits A, B and C herein, you have been advised in
         writing by the Company of the class, unit, or group of individuals covored by the reduction in
         force, the eligibility factors for the reduction In force, and the job titles and ages of all
         individuals who were and were not selected; (d) you have seven (7) days following the execution
         of this Agreement to revoke this Agreement; (c) this Agreement shall not be effective unlil after
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          the revocation period has expired; and (t) nothing in this Agreement prevents or precludes you
          from challenging or seeking a determination in good faith of the validity of this waiver under the
          ADEA, nor docs it impose any condition precedent, penalties, or costs for doing so, unless
          specifically authorized by federal law. You and the Atrael, LLC. agree that changes, whether
          material or immaterial, do not restart the running of the 45-day period.

      • This Agreement will become effective nnd irrevocable on the eighth (S ) day after both parties
                                                                               01

        execute it (the "Effective Dote"). In the event you sign  this Agreement  and returns it to the
        Company in less than the forty-five (45) day period Identified above, you hereby acknowledge
        that you have voluntarily ohoscn to waive the flill time period allotted for considering this
        Aijtccment You acknowledge and understand that revocation must be accomplished by a written
        notification to Gcri Shaw, Human Resources, Atmol, LLC., that la received prior to the Bffeotive
        Date.
      • To the extent Employee is in the possession of any Atmel properly, Including personal
        computers (PCs), laptops, fox machines scanners, copiers cellular phones, Atmel credit cards,
        and any Atmel documents, correspondence and related corporate materials on all media,
        Employee will return all property to Atmel on or before the Termination Date. In addition,
        computers must be returned with all Company data intact.

      • You acknowledge and represent that, other than the consideration set forth in this Agreement,
        the Company has paid or provided all salary, wages, bonuses, accrued vacation/paid lime off,
        premiums, leaves, housing allowances, relocation costs, interest, severance, outplacement costs,
        fees, reimbursable expenses, commissions, stock, stock options, vesting, and any and all other
        benefits and compensation due to you.
                               General Understandlnm and Acknowledgements

      » You hereby reaffiim and agree to observe and abide by the terms of the [Confidential
        Information and Invention Assignment] (the "Proprietary Information Agreement") between you
        and Atmel, LLC, specifically including the provisions therein regarding nondisclosure of the
        Company's trade secrets and confidential and proprietary information. You represent that you
        have returned all documents and other items provided to you by the Company, developed or
        obtained by you in connection with your employment with the Company, or otherwise belonging
        to the Company.

      • This Agreement and the Proprietary Information Agreement states your and the Company's
        complete understandings regarding the subject matter of this Agreement and your rights nnd (he
        Company's obligations relating in any way to, or arising out of, your employment with Atmel,
        LLC. No future modification of this Agreement will be valid unless it is written and signed by
        an executive officer of the Company and you. If any provision in this Agrcemcnl is deemci)
        unenforceable, it will be considered severable and will not affect the enforceability of the rest of
        the Agreement.

      • You have until 5:00 p,m. on May 23, 2016 to consider whether you want to accept the offer
        Atmel, LLC is making in this Agreement, although you do not need to wait until that time to
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           accept this offer and obtain the Severance. To accept this offer, you must sign this Agreement
           and deliver a signed copy of it to Gerl Shaw in Human Resources by the date and time stated in
           this bullet point. As noted above, you will not receive the Severance until after you deliver this
           signed Agreement to Geri Shaw and the seven (7) day revocation period ends and you have not
           revoked this Agreement.

       • By signing this Agreement, you will be acknowledging that you liuvc read it carefully, that it is
         written in language that you understand, that you have been advised to consult with an attorney,
         thai you have been given a reasonable period of time to consider it, and that you arc signing it
         knowingly and voluntarily.

       In "WITNESS WHEROF, the parties have executed this Agreement on the respective dates set forth
       below.



       Date                                                  Robin Herman




       Date                                                  Company Witness/Title

       Internal use:

       Date received:

       7-day revocation period ends:




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                                                  EXHIBIT A

                                    DECISIONAL UNIT INFORMATION

      The following information is provided under federal law to assist you In making a decision •whether
      to sign this Agreement and accept the severance benefits offered by Atmel, LLC;         •


      ].     Decisional Unit. The decisional unit for this reduction in force is Marcom Group

      2.     Eligibility. All persons included in the Marcom Group ate eligible for the program. All
      persons who are being terminated in the reduction in force arc selected for the program.

      3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this
      Atjrcumoiit in which to decide whether to sign this Agreement and return it to the Company, The
      offer of severance benefits contained in this Agreement will expire on the date stated on page 3 of
      the Agreement. Please note thai once you have signed this Agreement, you will have seven (7) days
      to revoke your signature and acceptance of the terms of this Agreement.

      4.     Selection Information. Federal law provides certain information he given to you
      concerning Individuals who wore eligible and selected for the reduction in force and individuals who
      were eligible but not selected tor the reduction in force. This information can be found in Exhibits B
      und C, which follow this Exhibit A.




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                                              Data Sheet by Age
                                                  4/6/2016

                                                 EXHIBIT B

       Job Titles of Individuals Not Selected from the Decisional Unit for this Reduction in Force andNot
                                           Offered Severance Benefits

                                      Job Titled                                Ageto
                  Will be mailed to home address




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                                           Data Sheet by Age
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                                              EXHIBIT C

        Job Tides of Individuals .Selected from the Decisional Unit for this Reduction in Force and
             Offered Severance Benefits for SigninR this Separation Agreement and Release
                                         lilifi                                 AS£
              Will be mailed to home nddress




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     * 1




           TO:             Robin Berman

           DATE            April 11,2016
           FROM:           AtmalCorpontlon
           RE:             Severance Agreement and Release



           As you know, Atmel Corporntlon ("Atniel") recently become a subsidiary of Microchip Tpclmolog/
           Incorporated ("Microchip") (the "Merger"). Atmol and Microchip are making Oils offer, m part to resolve
           any current disagreement or misunderstanding regardlnB severance benefits previously offered by Atmel, In
           connection with the termination of your employment from Atmel effective April 6, 2016 (the 'Tennlnallcm
           Date"), we arc offering you a severance package on the terms set forth In this document. This offer Is
           voluntary and whether you accept it Is entirely up to you. If you decide to accept this offer by signing at the
           end of this document, you will be entering Into n legally-binding contract (the "Agreement") with Microchip,
           Atmal, and their affiliates, and subsidiaries (collectively the "Company"), on the terms stated below.

                                                   Cnmnanv Comtnltmartti ta Vau



           •     In consideration for entering Into thli Agreement, Atmel will pay you a lump sum total of (I) $26,079.40
                 representing, i lump sum cash payment In cash equal to 0.20 times the your Base Pay, and (II) $1,052.05
                 representing, a lumpsum payment In cash equal to 50% of the your 2015 Bonus, prorated to the date of
                 your involuntary Termination-

           •     in addition, if you timely elect to continue health coverage pursuant to COBRA, the Company shall
                 directly pay, the premium costs for you and your covered dependents, for up to two (2) months
                 following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
                 premiums pursuant to the preceding sentence, vou may, if eligible, continue healthcare coverage at
                 your expense in accordance with the provisions of COBRA.

           •—Tht bsrafltsUescribechnrthe two bollets above are the "Severance Benefits;*—                            - —

           •     Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
                 accrued but unused vacation through the Termination Date. You will receive information regarding your
                 rights to health Insurance continuation under COHRA. Nothing in this AQrcemom will Impair any COBRA
                 rights you have or your rights to vested benefits under the terms of Company benefit plans.

           •     Provided that you direct any Inquiries by potential future employers to Atmel Human Resources
                 department, Atmal shall use Its best efforts to provide only your last position and dates of employment.

           »     The Company wlH not contest any claim for unemployment benefits that you may file.




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                                             Vnur CammHmtnb to tht Comp»nv



        •   You agree to release the Company. Its suhsldlarles and affiliates, and Its and their
                                                                                                 officers,agents and
            employMs from any     llablltly relatlna to or arising out of your employment with any of     them. This
            Includes a release of   any liability for claims of any kind that you ever had or may havt at this time,
            whether you know about them or not. This release Is as broad as the law allows and
                                                                                                  Includes s release
            of claims under federal and state laws, such as anti-dlscrlmtnatlon, harassment and
                                                                                                retaliation laws and
            expressly Includes any claims under the Age Discrimination In Employment Act This release also
            Includes a release of any tort and contract claims, and any other claims that could be asserted under
            federal, state or local statutes, regulations or common law.

        •   Vou agree that this release of claims Is a waiver of all rights under Section 1542 of the Civil Code of the
            State of California, which reads "a general release don not extent/ to c/a/mx which the creditor does
            not know or sutpeet to exist In his or herfavor ot the time of executing the release, which If known by
            Mm or her must have materially effected his or her settlement with the debtor."

        •   In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or to
            provide Information to, or file a charge with, any government agency. However, In agreeing to this
            release, you are agreeing that you will not accept any money, or the reinstatement of your employment,
            for any claim you have released.


                                      General Understandings and Admawledaamenta

        •   This Agreement states your and the Company's romplete understandings regarding
                                                                                                     yourrights and the
            Company's obligations relating In any way to, or arising out of, your employment with
                                                                                                      the Company. No
            future modlllcatlon of this Agreement will lie valid unless It is written and signed by
                                                                                                    an executive officer
            of the Company and you. If any provision In this Agreement Is deemed unenforceable, it will be
            considered severable and   win not affect the enforceability of the rest of (he Agreement.

        •   You have until 5:00 p.m. on May 27, 2016 to consider whether you want to accept the Severance
            Benefits by signing this Agreement, although you do not need to wait until that time to accept this offer
            and obtain the Severance Benefits.

        •   To accept this offer, you must sign this Agreament and deliver • signed copy of It to Gerl Shaw In Human
            Resources by the date and time stated in the previous bullet point. As noted below, you will not receive
            the Sevaranca Benefits until the next administratively practicable payroll after the eighth calendar day
            after you delivered this signed unrevoked Agreement to Gerl Shaw, If you decide to accept this offer and
            you deliver a signed Aijrcenient to Gerl Shaw, you have seven (7} calendar days to change your mind
            and revoke the Agreement. To revoke this Agreement after signing 11, you must deliver a written notice
            of revocation to Gerl Shaw within seven (71 calendar days after you gave harthe Agreement with your
            signature.

        •   By signing this Agreement, you are acknowledging that you have read It carefully, that It Is written In
            language that you understand, that you have been advised to consult with an attorney, that you have
            been given 45 days to consider It, and that you are signing It knowingly and voluntarily.
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                                                                        you have been given to consider It, you are
       •   If you sign and return thh document In lass than the time
                                            remainin g portion of the time thatYOu have been given to contldarH.
           voluntaHly agreeing to waive the
                                                                      LEGALLY ENFORCEABLE CONTRACT.
           ONCE VOU SIGN BELOW, THIS DOCUMENTWILL BECOME A



                                                               Robin Beman
       Date




                                                               Company Wltneu/TWe
       Date

       Internal use:

       Data received.'

       7-dBy revocation period ends;




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                                                         EXHIBIT A

                                             DECISIONAL UNIT INFORMATION

                                                                                                           to sign
        The fbllowlni Informitlon Is provided under federal law to attlst you In making a decision whether
        this Agreement and accept the   severance benefits offered by Atmel, LLC


        L       Deditonet Unit. The decisional unitfor this reduction In force Is Marcom Group
                                                                                                                who
        2.      Eligibility. All persons Included In the Marcom Group are eligible for the program. All persons
        are being terminated In the reduction In force are selected for the program.
                                                                                                                   In
        3.      How Long to Dedda. You will have up to forty-five (45) days from the receipt of this Agreement
                                  to sign                and return it to Ger) .Shaw at Atmel. The offer of severance
        which to decide whether           this Agreement
        benefits contained In this Aereement will expire on the date stated on page 2 of the Agreemem.
                                                                                                               Please

        note that one* you havi signed this Agreement, you will have seven (7) days to revoke your
                                                                                                       signature and

        acceptance of the terms of this Agreement.

        4.      Selection Information, Federal law provides certain Information be given to you concerning
                                                                                                    were eligible but
        Individuals who were eligible and selected for the reduction In force and Individuals who
                                                                                                    which follow this
        not selected for the reduction In force. This Information can be found In Exhibits B and C,
        Exhibit A.




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                                                   Data Shut by Aga
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                                                         EXHIBIT B

        jobTitles of Indtvlduali MatSalgettd from the Decisional Unit for this Reduction In Forca and Not Offered
                                                   Severance Benefits

                                           Job TUIBISI                                 Aaafil

                   attached




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                                                     EXHIUTC

          Job Titles of IndividualsSpitted from ths Decisional Unit for this Reduction In Force and Offered
                       Severance Benefits for Signing this Separation Atreement and Release
                                            Title                                     AU
                 attached




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                        EXHIBIT A-3




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                                     DECLARATION OF BO KANG



               i, Bo Kang, declare as follows:
               In 2015,1 was employed by Atmel as a Senior Applications Manager In July 2015,1 and
       other Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee
       Benefit Program", along with an Addendum to the letter providing additional details about the
       severance program (hereafter collectively "Severance Plan"). Acopy of the Severance Plan
       documents thai I received in July 2015 Is attached hereto as Exhibit A. The Severance Plan
       provided for certain severance benefits ff Atmel was acquired and I was subsequently
       terminated.
               During 2015,1 learned that Atmel had entered into an agreement with a company called
       Dialog pursuant to which Dialog would acquire Atmel. In approximately December 2015,1 heard
       that Dialog might not be the buyer and that Microchip might be the potential purchaser, Around
       this time period, I had several conversations with my manager. Steve Pancoast (the Vice
       President of Software, Tools and Applications) about the ongoing validity of the severance.
       Pancoast communicated to me his understanding and belief that the severance remained In
       place.
              In approximately early February 2016,1 read the Frequently Asked Questions ("FAQ'S1)
       that had been published for Atmel employees regarding the potential Microchip acquisition of
       Atmel. A copy of the FAQ's Is attached as Exhibit B. The FAQ's appeared to confirm that
       Microchip would be honoring the Severance Plan if it acquired Atmel, consistent with what
       Pancoast had expressed to me.
              In early March 2016,1 spoke with Pancoast about my possible future if Microchip
       acquired Atmel, and how my position might not be safe. Pancoast discussed with me that both
       of us would have some financial protection for a transition period because of the severance
       package, as assured by the FAQ's.
               In ear|y April 2016,1 was on a pre-arranged vacation overseas, and my paid time off was
       scheduled to last through April 11,2018. I returned to work at Atmel on April12,2015 and
       learned that many employees had received a letter on April 6,2016 terminating them and
       offering six weeks of severance. Because I had been on vacatidnTi Bid not receive such a
       letter. However, when I returned to the office on April 12,2016,1 was informed by Human
       Resources thai my employment was being terminated effective April 12,2016. 1 then received a
       letter which was dated April 11,2016, That letter Indicated that Microchip would pay me 50% of
       the severance benefits due under the Severance Plan, A copy of the April 11,2016 letter which
       I received Is attached hereto as Exhibit C,
               In ail of my discussions with other Atmel employees pilor to April 2016, there was no
       doubt in anyone's mind that the Severance Plan was valid and Intact for the upcoming Microchip
       acquisition, based on assurances they had received from Atmel management. I and other
       employees were shocked when the Severance Plan was not honored by Microchip after our
       termination in April 2016.




                                                       1




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             I relied on receiving severance benefits under the Severance Plan in making the
      decision to saty at Atmel through the time of the Microchip acquisition, and r would have left and
      looked for another job outside Atmel long before April 2016 If l had known that Microchip was
      not going to pay me the severance benefits under the Severance Plan.
             I declare under penalty of perjury that the foregoing Is true and correct and that this
      declaration
      was executed on Mav 18 .2016 at              pUtedi     hhot
          CA(^hnir\i&.                    ..


                                                     BoKang




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   >ItmeL                                            STRICTLY PERSONAL AND CONFIDENTIAL

    July 9,2015


     Bo Kang
     Re: Severance Guarantee


    Dear   Bo,
    Our employees are the tlfeblood cf our company and we value and appreciate all you do for Atmel. We recoenl7e that
    recently there has been significant market speculation regarding possible transnr.tlons Involving the company and
    understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
    on our continued success, we are pleased to share with you the terms of a recently npprowd U.S. Severance Guarantee
    Benefit program that Is Intended to ease concerns among our employees. Under this program, you will have the
    opportunity to receive benefits as described below if your employment Is InvoluntarSy terminated without Cause after the
    occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include;


         •       Cash Severance: 40% of base salary (based on your base rate of pay In effect on the date the Change of Control
                 transaction closes]; and
         »       Target Incentive: If you are eligible, a prorated annual MIP or Sip, whichever you are eligible for at the time of
                 termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
                 determined by the Company; and
         »       COBRA Beneflts: Four (4) months' of COBRA benefits paid for by the Company


    All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached to this letter. To
    receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
    Company (or Its successor) If a transaction occurs (the 'Release").


    Nothing In this letter Is Intended to, or shall, contradict, modlly or alterthe terms of your at-will employment, other than
    the provision by the Company (or Its successor) of the Severance Guarantee Benefits provided by this letter. You shall
   remain an at-will employee for all purposes, meaning that you or the Company (or Its successor) may terminate your
   employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

   So, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our recognition
   and appreciation of your contributions to Atmel. Thank you (or your continued contributions to our success.


   Sincere!/,



   Suzanne Zoumaras
   Senior Vice President, Global Human Resources


   Attachment




   Stevan Pancoast
   Steven Pincoart




                                                                                             ATMEL PLAN/BERMAN000235
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                                                      STRICTLY COmDENTIAL


                                                           ADDENDUM TO
                                         U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                         Julyfl, 2015


                                                                                                                         from
     Term of the Severance Guarantee Denefit Progrnm: Tiip U.S. Severance Guarantee Benefit Program IJ effective
     July 1,2015 atirl will terminate on Novembei 1,2015 unless an Initial Trigger!nt; Event (as described lielow) has
                                                                                                                       In
     occurred prior to Novemher ), 201S, In whicli event llie U.S. Severance Guarantee Benefit I'rogram will remain
     effect for 18 (eighteen) rnonttis following that initial TrtRgerlngEvonl.

                                                                                                                           is
     Eligibility: Elfgibillty is limited to U.S.-based etmployees of Atmel Corporation as of the date a Cfiange cf Control
     consummated.

     Initial Triggering Event: Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
     eligible employees only If the Company enters Into a rlcflnitlve aEreement (a "Definitive Agreement"), on or before
     November 1, 2015, that will result In a Change ofCtmirol o( the Company. If a Definitive Agreement is not entereH
     Into on or before that date, the U.S. Severance Guarantee Benefit Program described In the inter and this Addendum
     will automatically expire, unless expressly extended by the Company's Board of Directors.

    Benefits Conditions; After an Initial TriggeringEvent occurs that makes availableto eligible employees the U.S.
    Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
    benefits If, but only If;

          A.     A Change of Control actually occurs; and
          B.     Their employment is terminated without "Cause" bythe Company (or Its successor) at anytime within 18
                 months of the execution date of the Definitive Agreement.

          For purposes of this U.S. Severance Guarantee Benefit Program, the definition of'Change of Conirol" and
          "Cause" will he the same as that contained In the Company's Senior Executive Change of Control and Severance
          Plan.

    Severance Guarantee Benefits: If the Benefits Conditions described above havebeen satisfied, and you are entitled
    to Severance Guarantee Benefits underthe U.S. Severance Guarantee Program, you will receive the benefits as
    described In the Severance Guarantee letter provided to you dated July 9,2015.

    Terminations Not Subjectto Program:If your employment is terminated at anytime before or after an Initial
                                                                                                                            y.oy..
    Triggerlng Event haj ocrutieil as a rusult of your voluntary resignation, tleaiii, disability or termination for Cause,
    will not be c-liyiljlK Ui rutelve any Severanco Guaraiilep tii-ncfits. As dlsrusr.edabove, the U.S. Severance Guarantee
                                                                                                                       both a
    Program Is a "double triKger" plan, meanlius thaino benefits arc avalialile unr.ler this Program unless there Is
    Change of Control that occurs and your emiikiyment Is terrnlnated without Cause.

                                                                                                                        a
    Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing
                                                                                                                          If
    separation ana release anrceiiienl In o fumil esstinnbly acceptable to the Company or Its successor (the "Release").
    you do not timely provide tlw Release, ymi will forfeit the right to any Severance Guarantee Benefits. If any portian
    of the Severance nuaramep Benefits is scheduled to be paid prior to the date the Release Is effective, that portion
    will. Instead, accrue and be paid as soon as administratively practicable following the Release effective date.

                                                                                                                      to
    Coordination of Benefits; If you are or become eligible for statutory severance benefits, such as but not limited
                                                                                                                      but
    WARN notice pay, you will receive the greater ofthose statutory benefits orthe Severance Guarantee Benefits,
    not both (and without duplication).




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    Paymants: All Severance Guaramee Benefit payments will be made as soon as admlnlstrativelv practicable as
    determined by the Company, but in no case more than ninety (90) days followingthe date of termination, and will be
    subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
    are Intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
    interpreted accordingly.

     Additional Matters. Any successor to the Companywlil assume the obligations under the Program. For all purposes
    under the Program, the term "Company" will include any successor to the Company's business and/or assets which
    becomes bound by the terms of the Program by operation of law, orotherwIse.TheCorrpany will withhold from any
    severance benefits ail federal, state, local and other ta*es required to be withheld therefrom and any other laqulred
    payroll deductions. The Program will be administered and interpreted by the Company, Any decision made or other
    action taken by the Company priorto a Change of Control with respect to the Program, and any Interpretation by the
    Company priorto a Change of Control of any term or condition of the Program, or any related document, will be
    conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
    Change of Control, any decision made or other action taken by the Company, and any Interpretation by the Company
    of any term or condition of the Program, or any related document that (1) does not affect the benefits payable under
   the Program shall not be subject to review unless found to be arbitrary and capricious or (il) does affect the benefits
   payable under the Program shall not be subject to review unless found to be unreasonable or not to hove been made
   In good faith. The Company may, in Its sole discretion and on such terms and conditions zs it may provide, delegate
   in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
   the Program; provided, however, that any Program amendment or termination or any other action That could
   reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
   of Directors or the Compensation Committee of the Company's Board of Directors, The provisions of the Program will
   be construed, administered and enforced In accordance with the Internalsubstamtlve laws of the State o-f California
   (with the exception of Its conflict of laws provisions).




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                       EXHIBIT B to A-3




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                                                                Friday, April 8,2016 at 12:19:18 PM Pacific Daylight Tlm«


                                                                 & Benefits Relating to the Microchip Merger
    Subject; Frequently Asked Questions Regarding Compensation
                                                                        Time
    Date:    Wednesday, February 3, 2016 at 5:57:34 PM Pacific Standard
    From:       Human Resources

    Dear Atmel Employees,

                                                                    of Frequently Asked Questions (FAQs) related to
    I am pleased to announce that today we posted ourflrst set
                           merger.   The FAQs are available on our intranet , Atmel Connect, at
    the Atmel/Mlcrochlp
                                                     focused  on answerin  g  questions related to compensation and
    httD://connec>.iitmtil.tfiin/iiidex.lnml and are
    benefits.

                                                                       updates and FAQs.
    As we have additional information, we will provide further

    Warm regards,

    Suzy
    Suzanne Zoumara* I Ssnior Vice President, Global Human Resources
    O: 408.187,2604 | M; SSB-SS-Ma??
    siiiiv.zoumarasffialinol.eom | iwmv.acmel.cjm




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       /Itmel
                              FREQUENTLY ASKED QUESTIONS
                                  Microchip Transaction:
                  Effect on Compensation and Benefits for U.S. Employees

                                                                                      with Atmel after the doting?
          What happens to my employmant and compensatory arrangements
                                                                                       tory contracts (Including
         Microchip has agreed to honor each of your employment and compensa
                                                                                     , Incentive and change In
         retention awards and employment, employment continuation, severance
                                                                                 immediately prior to the closing
         control agreements) with Atmel, or its subsidiaries, that are in effect
         of the transactio n.
                                                                                           n doses?
         How will my compensation and benefits be affected after the transactio
                                                                                through December 31, 2016. In
         Microchip has agreed not to reduta your base salary or base wages
                                                                                 and benefits package for 2015
         addition. Microchip has promised that your aggregate compensation
                          le In value to  the aBgregate  val ie of your pre-closin g compensation and benefits
         will be comparab
                                       attributed to any pension  plans or employee   stock purchase plans.
         package, excluding the value
                                                                                     n?
         Will I participate in the same Atmel benefit plans following the transactio
                                                                                        n Atmel's benefits will be
         We anifcipale that sometime following the closing of the transactio
                                     's benefit plans. The timing of this transition is yetto be determined. Upon
         transiHonetl onto Microchip
                                                                                    ly eligible to participate In all
         the (ranslilon to the Microchip benefits plans, Vou will be immediate
                                                                                         plans. We will work with
         Microchip plans suhject to the ellfflbllUy requirements of the Microchip
                                                                                 the near term.
         Microchip lo piovidr: you Information about the Microchip plans In
                                                                                 plans?
         Will I receive service credit for purposes of Microchip's benefits
                                                                              that Atmel recognizes for you as of
         Microchip has agreed to provide you with the same service credit
                                                                               purposes of eligibility, vesting, and
         the closing (as If you had provided such services to Microchip), for
               of benefits  In Microchip plans that are comparab le to Atmel   plans (e.g., health insurance plans,
         level
         paid time off),
                                                                                    n doses?
          What will happen to my Atmel equity awards after the transactio
                                                                                            each continuing employee's
         RSUs & PRSUs. At the flndng ol the irnnsactlDn, Microchip will assume
                    tanding   and  unvested   awards    of restricted   stock  units   (RSUs) and performance-based
         then-outs
                                                                                          for Microchip common stock
         restricted stotk umls (PRSUs), and convert tlwe awards into awards
                                                   d  undei   the  definitive agreemen     t. The converted awards will
         with an equivalent value as determine
                                                                                   you may have to accelerated vesting
         retain Hie same mnloriiil terms (e.g., vesting, including any rights
                                                                                     AtniBl's stock plan) as your Atmel
         under the terms of your award, your employment agreement or
                 In  addltiun, at the closing of the 1 ransactlon  , any vested   awards   of USUs and PRSUs (Iricluding
         award.
                                   on the closing of  the  transactio n)  for which   shores  have not yol been issued,
         any portion that vests
                                                                                       and converted Into the right to
         will bo settled In shares, subject to applicable withholding taxes,
                                                                                    closing Just like any other Atmel
         receive the merger tonsideratiuii for those shares after the
         stockhold  er.
                                                                                     accelerate and become vested and
         Stocli Potions. All unvested Atmel stock options that you hold will
                   le in full immediat  ely prior to  the   closing, subject  to  your continued service through the
         exercisab
                                                                                    to the closing date on how you may
         closing. We will provide more information to youas we get closer
                                                         for  this accelerate  d vesting In connection with the dosing.
         exercise your stock options that are eligible

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      Atmel
        If you do not exercise your stock options prior to the closing, Atmel will
                                                                                   autontiaticallv "net exercise"
                                                                                             g taxes will be paid
        your stock options, which means that the exercise price and applicable withholdin
                                                                                   you on the exercise of your
        by withholding the appropriate amount of shares otherwise Issuable to
                                                                                    are issued for your options
        stock options. You will receive merger consideration for the shares you
        after the dosing Just like any other Atmel stockholde r

                                                                                             to continue the ESPP
        Piireha'.p Hlahti undo; the Emiilovcc Stock Puichasc Plan (E5PP1. Atmel expects
                                                                                         otherwise be In effect at
        untiijust lv?foip closinu. ^or any offoring penort under the ESPP that would
                                                                                     that purchases will be made
        the clor.mj? of the tfaruacllon, AtmH will shorlcn the offering period so
                                day prior to such ciosine. All shares of Atmel stock  purchased on that purchase
        on the 10th business
                                                                                        outstanding shares at the
        dale will nnt be released until the doslnn and will be treated like ail other
        closing, The ESPP will terminate immediately prior to the closing.

        How much will I receive for my shires of Atmel stock?
                                                                                               n of $7.00 In cash,
        Microchip has agreed to pay, for each shaie cf Atmel common stock, a combinaiio
                                                                                             k'ly $1.35; provided
        plus a fraction of a share of Mlcmchlp common stock tiavlnu a value ol ^oproxima
                                                                                            share of Us common
        however that Microchip will make a cash payment In lieu of issulnn a fiactional
                    more  Informatio  n, please see out llllng on Form 8-K liom January 19, 2016 at;
        stock. For
                               fchlves /edBar /data/873'4   48/000157 108916010  B<l/H6OO   17fl flk.htm
        httn://www.tec.gov/A

        When Is the transaction expected to dose?
                                                                                2016, subject to customary
        We expect the transaction to dose during the second calendar quarter of
                           , regulaloty approvals and Atmel stockholde r approval, Until then, Atmel and
        closing conditions
        Microchip will continue to operate as Independent companies.

        Will there be salary adjustments in 2016?
                                                                                   We expect Microchip to
        Atmel agreed not to Increase salary for any employees before July 1, 2016.
                                                                              Integration process.
        review compensation arrangements, including salary levels, during the

        Who should I contact If I have questions about the transaction?

        If you have any questions, please contact Atmel's HR department.




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                                                          Additional Information

            This communication may be deemed to be solicitation material in respect nf the proposed merger involving
            Microchip snd Aimi't In cofincciton with ilit proposed narptr, Mlcoi lilp will (lie Willi Ihf O S. Securities afd
            Exchange Commrssion [the 'Ht") i> 1i;(!iitraliofi iluie'rtent «iti four 11.4 (the "Rcgnttutmn iloicwnf'l
            containing a prospectus with respect to the Mictoclnn tommon slock Ic be issued n the propesed mr-uer nnd
           s proKV statement o» Atmel in canncctioii with Ihe proposed merger (the 'Proxy IfnfemMf/Proipmus"). £jth
           of Microchip >nd fitmei Intend! to (lie other documents with the SEC regarding the proposed merger. The
           definitive Proxy Stat«mcnt/Pfospeclus will be mailed td jtockholders of Atmel and will contain important
           iiifciiinalinr.i)linulthcpiunoscdnicr||C< anrtrclatr-rf matters. The final ProxyStBtcment/Prospectus will describe
           the tornn ami condillons (if tlit way in winch the ptoposed merger will be Implemented, Including details of
           huw it' volo nn the ndciptif n oi the r"opn:cd iiietitci agreement. Any response to tfie proposed merger should
           be made- only on the baS'S ol tho liildiinalinn in the Proxy Statement/Prospectus,

           Sfruiitylirtldcii al Atmei may obtain, liocnl thaigtf, copies of thePmyv Slatemem/Pin^peci.ii snri Rcgls'c j-.ion
          Stateniei't, and any oilier doi'umentt 'llert by Alrnel <iitd Microchip v.ith the SEC 11 comiRCtlon with the proposed
          meigei at tlio SEC's website at www.sef.gnw Sotuillyhrdilers of Atmel may obtain, i(ei> of charge, cnples tl the
          I'inxy Sletemenl/PidspeLlus and any othei oocmnpnts filed by Attnel wMh the SRL in ronncctlon with Ihe
          piopused nio'Rer ill thp "investats" section ol Atrnufj wehsite at www.atmelicom.
          BtfORE MAKING AN INVCSTMI-NT OR V0TIN6 DECISION, WE URGE SEC-UBITYHLILOERS Oh /-Jt/fl TO KEAC
          CARErUI LV THE PROXY STATEMENT/nROSPECTOS AluO REGISTRAT OR aTATfMEfvt (INCLUDING ANV
          AMENDMENTS OR SUPPLEMEN1S "HERETO) AND ANV OTHER RELS-VAMT DOCUMENTS THAT MICROCHIP OR
          ATMEL Will FILE WITH THC SEC WHEN THEY BECOME AVAILABLE OECAUSl THFY W'Lt CONTAIN iMPOPTANl
          IWORMATlON ABOUT THE PROPOSED MERGER.
          This communication does not ronstltute an offet to buy ui en'.hsnge, or the solicitation of an offer lo sell ur
          exchange, any secunnes, nor slmll ttwie he any sa c of ser.iiritits In any jurisdmlor m whi'h such nftr-i, .ale or
          exchange wmild be unlawful prior to icgistiatinn or (iii<>llficsiinn under the seui'llles lav.'s •./ ary sijri^
          Jurisdiction Tint tommunicstint, is not a Siibiniiitt (tit ony piusrectus. pri'xy statement ot any otnei rirtrutrtert
          that At-net oj Mlr.iochlp may Ilk' with the SEC In rcnnectlon with the proposed merger.
                                                     Participant! In the Solicitation

          Aimrt Mli.iutliiii .tail theli lespective dneri.tis UIIC eKecutlve officers may be deemed to be participants In the
          sollrliaHrin m pioxifu fiom At-'uel's itocknoldi'rv In connECtiotl with the adoption of the merger agreement In
          cummUlun with the proptiM-it ivierg^i and ir.nv have direct or Indirect Interests In the proposed merger.
         Information about Microclili!'^ directois and tkciotlxc ulftccrs 15 set forth In Mkrucliip'i I'roi'y f.tacrr.eft? on
          Schedule MA for >1 •. ;!II15 Annual Mtetmg nt rtticLlnildeis. whkh wai lllctl Willi tht SLL on July 10, ?.n'S, and
         115 Annual Re|i(..'t 011 lonn 10 K for the fiscal yfoi ended March 31,1'fllS. wWch was filed With the Sff or M«y
         .:7, .If!15 snd amended on June a >.IIJS Ihe-.n dncurrent!. arp available (rce u( charge at the StT s website at
         www scc.gov and (rom Micioclilp'i website a", V/WVMMCI ucnifi rnm/divesloijtiome atp* mlotmailnn abnui
         Atmcl'i directors and rxenuiVL urtiitrs and their lespectivp interesu In Atmel by seem it^ linlrlhi/sf m otlicnvise
         Is set (orth In Atmcl's Proxy Statement on Schedule MA lor Its IS Annual Meeting cf Swdtholders. Wh'ch wis
         filed with the SEC on April 3, 2015- These doLuments sre available free nf .-.haigt 01 the SEC's website at
         WWW.SPC.gOV and from the "(m'MJorj" sertlon o( Atmel's WebSite i\ www.alniel.coin Arldihtinal info'.Tisflon
         regarding the interests of partlclpflius m the snllcltatltiii of proxlps in renr tctiDn with the prnnmecl me.rgci will
         be included In the Proxy Statement/Prospertus and the Reglstrodon Statement thai Mluochlp v'll1 Me with the
         SEC,

                                  Csutlonary Statements Related to forward-looking statements

         This communication contains, or may contain, "forward-looking statements'In relationto Atmel and Microchip,
         as well as other future events and their potential effects on Atmel, Microchip and the combined company that
         are subjaet to risks and uncertainties. Generally, tht words "will* "may," "thould," 'continue," "believes"
         "targets," "plans," "«xp«cts," "estimates," "aims," "Intends," "antlcJpites" or similar expressions or negativas
         thereof identify forward-looking statements. Forward-lookingstatementi Include statements relatingto <11 the
         benefits of the merger, Including future financial and operating results of the combined company. Microchip's


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          or Atmel's plans, objectives, expectations and intertionsj and the expected timing of completion of the
         tr.nisactlon, |3) expvcteo developmentj ir product ponfolio, expcrVO tevsnues. pxoc^'ed '-•petalmj; (ail:
          ssulnijs, oKpnnco luture cash generalicn, fnpeCWfi fiilm e design w'nj ilnr/ IntCfeaM? In injrkiii jliiiif cxf'ei.ltt?
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         tcn-.tramri the effect of finance peifoin>Bn:c on ih;rv prite, the irnpftd ol eweinmenl sxpeualiC" s 5nd
         beliefs of the management of Microchip and Atmel; (3) the expansion and growth of Microchip's or Atmel's
         cipei!ir'Oi,>.: Id) thf expected coil, rcucrne. lecf nologv and other synergies of the proposed merger, the
         excected irrfact of he tnoptrtd me'sei t"i rujtomers nr.rt end-users, the combined company's future capital
         expenditu -us. i-xpenas. invtnwf earnings, cconumic performance, financial condition, losses 2nd futme
         piospeuts, IS) business ano nlallaeeit^Cll•. svelea ei a/id ihe expansion and growth ofthernniblned company's
         oper»lki'is. and (6) the aittlcipAted t minus of the Aiinei stackholcers1meeting and completion of the proposed
         meigei.
          These forward-looklr.g statements are based upon the current beliefs and expectations of the management ol
           Atmel and lnvoli/e rislrs and uncertainties that coi,ld cause actual results to differ rasterislly from those
          expipsicd       the forwaid looking itali-meMt* Manv of tlu-se ml j anfl uttU'rUinlles relcle lo 'actci: llul «ii
          bi'vomf Atnd's atiiity ir, rontiol or estimate precise"!* Itiose factor.', .rrluor |l| the outronr! of any'enf
          pioceudiiiRS ihat could be instituted atw 'lit Atnit1 M Its riirorton rfl.-.i^il (n the iliirosslor;, Willi Mkro,;hi[i, ilis.
           neigei sgti-cme"t! with Oiclug ar Microchip or any unsolinicd iiropos*'; (21 tin ocftirrriirr nf any event
          change oi other cirtumstam es fhai rould give rise to ;lie tennination of the merfiE" agreement wuh Microchip,
          13) the dl.ilitv to obtain governmental ami ifcguiatoiv approuftis il tup nmnti'.pri merge' hr.iween Atmol and
          Micrcji.hls, (4| the possibility th;l the piopoied mefger tirnvrer Atmel iini) Microchip does lot ciosf wfien
          expuctc-iJ fir at all 01 that the panics, in 01 del t.i acineve government?! ami regulatory approvals, may hp
          rci|.lired to inivdi'v aspects ol it(' .'iroptiied me s*" 01 to accept conditions I'IM could ndwriPly (.feci 1I11
          combined cpmpaiy or the experteri heisedts •if the umposi-d iinrjw, (!•) the porsibilily dial other compftmf
         c fle'SCi dciiuisitiuii proposals JVIM he madr; iR) the dbllity tci rtalliP the expected synergies or savings (10m
         pruposed 'uergci in tiic amount! o. m t'ie timufranc antlcipateo; ;"l the poiensiai harm tocuitame'. 'upplier
         employee .inn other reMtlunships caused hy tli< annoiiiii.omtiil 01 dosnipu' the p'Oposectmerger; [SI the dpilitv
         t^i InlegiatL rttmel t businesses Ttc rhai r.f Mu rwhlp In a timely and ccM-efficienl manner: (!l| the :omlii'ie.1
         CDrnpany'i ahillty (C Jevtlcip arid msrxet products contnininf tnc respective teitiiio!c>gici ol Atmel and
         •Vicionip in a timely ar,J coM-eCecthw mar.iei, |I0| till1 •.oinliihi'H company's ibiiity Ui piotect intf-llerlii.ll
         piopcrty riflits, (li) litigatlor (includm; 1nipllecr11.1t proueily llligatlon In which me cumhmeil company may be
         Involved or {1 wiiith customers of the cpmhineii company rnav tie involved, eitiecijlly in Uie mobile .tevice
         sector], and the possible cnfavorahie result?, of ic^l uro .cc Jings. IJi) ocpvnience on key peiwniiel: (13) the
         Inability to realize the anlitipasod benefit; of acquisition: fnd rustrucluimg activltle!, Intludinii in runnectlon
         witn the proposed mergei, >r jtnei inuiativei ir n iiinply i idnnci or at all; (I'.J the developme-u of lite markets
         for Atmel's and Microchip's piorlurts: (151 1 iks 'ciated 10 MinoUiip's ability to succeistuliy in piemen' its
         acquisitions strstegy; (16) uncertainty as to the fun.re prafltalillily u( buiintiscs acquired by Microchip, end
         delays l-i the -eallzation of, or the failure to reall?e any amtllOii (rpin any othvr acquisition transactions by
        Microchip; (17) the inherent uncertainty associated wlih ' rianaal p'ojett ons; (IS) disruptions In the awilablllty
        of raw mater.'fils; (19) compliance with U.S. and internatioiifl! laws iiid 'Ovulations by the combined company
        and i'^ distributors; (20) the markat price and Vnlrtllltynf MicioclipiOirmyti stock (If the nergei is completed);
        (21) the cyclical nature of the semiconductor InduEtry; (22) an economic downturn in the semlcanductor and
        telecommunications markets; (23) consolidation occurring within the semiconductor industry; (24) general
        global macioeconomic and geo-political condlticms; (25) financial market conditions;|26) business interrupilcns,
        natural disasters or terrorist acts; and (27) other risks and uncertainties, Including those detailed from time to
        time m IvliciochlR s and Atmel's periodic epuits ar d otliei (ilingi wits the SEC m <i:iiei legjlauiry authorities,
        including Ah le1 5 Aniiusi Hepon on fo.*m 10-i' foi the.fiscal year enrlfd December 31,2Dlrt ondGua'leilyRenon
        on Form 10 a for The nuarterly period er.titd beptcmbcr ?.C. 2015 (v.-hctlici under tht tsplion ftisl' Factor; ui
        ^orwsrd Looking SraTements 01 elaewheie) and M crocMp's Annual Repuit on form 10+; fur tht fiscal yuai
        enriei; March i'i. 20.5. which A'SS filed with the itC cm May 27. jni - and smended cin lunc S, 101'j end
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        OLarterly Report on Form lO-Uforthe querterly period ended September 30,2015 (whether under the caption
        Risk Factors 01 Forward Looking Statements or elsewhere),

        Merther Atmel nor Mlc-ochip can give any assurance that such forward-looking statements will prove to be
        correct. The reader 1$ cautioned not to place undue reliance on these forward-looking statements, which speak



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          only as of the dsta of this announcement Neither Atmel nor Microchip nor any othtr person undertakes any
          obligation to update or revise publicly any of the forward-looking statementi set put herein, Whether as a result
          of new information, future events or otherwise, except to the extent legally required.
                                                                >•**




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           TO:            Bo Kang

           DATE;          April H, 2016

           FROM:         Atmel Corporation

           BE:           Severance Agreement and Release




           As you know, Atmel Corporation ("Atmel") recently became a subsidiary of Microchip Technology
        Incorporated ("Microchip") (the "Merger"). Atmel and Microchip are making this offer, In part to resolve
        any current disagreement or misunderstanding regarding severance benefits previously offered by Aimei. In
       connection with the termination of your employment from Atmel effective April 6,2015 (the "Termination
       Date"), we are offering you a severance package on the terms set forth In this document. This offer Is
       voluntary and whether you accept It Is entirely up to you. if you decide to accept this offer by signing at the
       end of this document, you will be entering Into a legally-binding contract (the "Agreement") with Microchip,
       Atmel, and theiraffiliates, and subsidiaries (collectively the "Company"), on the terms stated below.

                                                Comoantf Commitments to You



       •     In consideration for entering Into this Agreement Atmel will pay you a lump sum total of (I) $32,000.00
             representing, a lump sum cash payment In cash equal to 0.20 times your Base Pay, and (II) $3,024,66
             representing, a tump sum payment in cash equal to 50% of your 2015 Bonus, prorated to the date of
             your Involuntary Termination.

       •     in addition, if you timely elect to continue health coverage pursuant to COBRA, the Company shsll
             directly pay, the premium costs for you and your covered dependents, for up to two (Z) months
             following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
             premiums pursuant to the preceding sentence, you may, If eligible, continue healthcare coverage at
             your ekpense In accordance with the provisions of COBSA.

       •     The benefits described in the two bullets above are the "Severance Benefits."

       •     Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
             accrued but unused vacation through the Termination Date. You will receive information regarding your
             rights to health Insurance continuation under COBRA. Nothing In this Agreement will Impair any COBRA
             rights you have or your rights to vested benefits under the terms of Company benefit plans.

       »     Provided that you direct my Inquiries by potential future employers to Atmel Human Resources
             department, Atmel shall use its best efforts to provide only vour last position and dates of employment.

             >     The Company willnotcontestanyclalmforuneniploymentbenefitstliatvou may file.




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                                                                                         its and their officers, agents
            • You agree to release the Company, its subsidiaries and affiliates, and
                                                                                               with any of them. This
           and employees from any liability relating te or arising out of your umpioyment
                     a release  of  any liability for claims of any kind that you ever had  or may have at this time,
           Includes
                                                                                         allows and includes a release
           whether you know about them or not. This release is a;, broad as the law
                                                                                              and retaliation laws and
           of claims under federal and state laws, such as antl-discrlmlnatkm, harassment
                                                                                               Act. This release also
           expressly Includes any claims under the Age Discrimination In Employment
                                                                                        that could be asserted under
           includes a release of any tort and contract claims, and any other claims
           federal, state or local statutes, regulations or common law.

                                                                                            1S42 of the Civil Code of
            • You agree that this release of claims Is a waiver of all rights under Section
           the State of California, which reads "a general relapse does not extend
                                                                                       to claims which the creditor
                                                                                                   release, which If
           dees not know or suspect to exist In hb or her favor at the time of executing the
           known by Mm or her must have materially affected hit or her settlement with the debtor.'

                                                                                               term of this Agreement
           •   in nijrecing to this release, you are not (jlvlne up your rights to enforce any
                                                                                           However, In agreeing to this
           or to (uoulrli? Information to, or file a charge Willi, any eovei nment agency.
                                                                                                t ofyour empioyment,
           release, you are agreeing that you will not accept any money, or the reinstatemen
           for any claim you have released.



                                     Central UndeisUndlnn and Acknowladnements

                                                                                          regarding your rights and the
       •   This Agreement states your and the Company's complete understandings
                                                                                                 with the Company. No
           Company's obligations reliitlnu In any way to, or arising out of, your employment
                  modificatinn of this Agreement  will be valid unless It is written and signed by an executive officer
           future
                                                                                                           e, it will be
           of the Company and you. If any provision in this Agreement Is deemed unenforceabl
                                                                                           Agreement.
           considered severable and will not affect the enforceability of the rest of the


       •   You have until 5:00 p.m. on May       27,
                                                   2016 to consider whether you want to accept the Severance
                                                                                      that time to accept this offer
           Benefits by signing this Agreement, although you do not need to wait until
           and obtain the  Severance  Benefits.

                                                                                         of It toGerl Shaw In Human
       •   To accept this offer, you must sign this Agreement and deliver a signed copy
                                                                                          below, you will not receive
           Resources by the date and time stated in the previous bullet point. As noted
                                                                                       after the eighth calonUai day
           the Scvoranrt' nenefits until the next administratively practicable payroll
                                                                                       decide to accept this offer and
           after you delivered this signed unrevoked Agreement to fier i Sliaw If you
                                  Agreement  to Gerl Shaw, you  have seven   (7| calendar days lu change your mind
           you deliver a signed
                                                                                        must deliver a will ten notice
       '   and revoke the Agiecrnent. To revoke this Agreement aftei signliiB it. you
                                                                                       her Hie Agioement with your
           of revocation to Gerl Shaw within seven (7) calendar days aftei you gave
           signature.

                                                                                        carefully, that it Is written In
       •   By signing this Agreement, you are acknowledging that you have read It
                                                                                          an attorney, thjt you have
           language that you understand, that you have been advised to consult with
                                                                                        voluntarily.
           been given 45 days to consider It, and that you are signing It knowingly and
                                                                2




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        •   If you sign and return thfs document In tus than tht tlms you have been given to consider It, you are
            voluntarily agreemg to waive the remaining portion of the time thatyou have been given to consider It.

            ONCE YOU SIGN BELOW. THIS DOCUMENT WILL BECOME A LEGALLY ENraHCEABUE CONTRACT.



        Date
                                                               Bo King




        Date                                                   Company Wltneis/lttle

        Internal use;

        Date received:

        7-day revocation period ends:




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                                                        EXHIBIT A

                                            DECISIONAL UNIT INFORMATION

                                                                                                  whetherto sign
       The following Information Is provided under federal law to assist you In making a decision
       this Agreement and accept the severance benefits offered by Atmel;



       1.      Decisional Unit The declslonat unit forthls reduction In force Is MCU Apps Engineering Group
                                                                                                   the program. All
       2.     Eligibility. All persons Included In the MCU Apps Engineering Group are eligible for
       persons who am being terminated In the reduction In force areselected forthe program.

                                                                                                this Agreement In
       3.      How Long to Decide. You Will have up to forty-five (15) days from the receipt of
                                                                                           The offer of Severance
       which to decide whetherto sign this Agreement and return It to Gcrl Shnw at Atmel.
                                                                                      of the Agreement. Please
       Benefits contained In this Agreement will expire en the date stated on page 3
                                                                                       revoke your signature and
       note that one* you have signed this Agreement, you will have seven (7) days to
       acceptance of the terms of this Agreement.

                                                                                               to you concerning
       4.      Selection Information. Federal law provides certain Information be given
                                                                                             who were eligible but
       individuals who were eligible and selected for the reduction in force and Individuals
                                                                                         B and C, which follow this
       not selected forthe reduction In force. This Information can be found In Exhibits
       Exhibit A.




                                                              4




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                                                    OataStitetby Age
                                                          4/6/2016


                                                          EXHIBITS

                                                                                 Reduction In Force and Not Offered
        Jab Titles of Individuals Not s«lectod from the Decisional Unit for this
                                                   Severance Benefits

                                            lob Tliiebl                                  &elsl
                   attached




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    EXHIBIT B -Atm»l MCU Apps - (4/6/16)
    TMi                                    Af«W
    Sr. ApplteatonB / Systems Englnaar      32
                                            32
    Senior Appllcatlona EnglnMr
                                            38
    Staff AppBcadona Engineer
                                            49
    Menagar, Syatema AppVoatfons
    Sr. Appllcaaona Manager
                                            60
    Sr. RFAppfloallonB Engineer             57

    Staff Applloations Englnaar
                                            ei
                                            65
    Sr. Appllcationa Englnaar




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                                                Data Sheet by Age
                                                     4/6/2016


                                                     EXHIBIT C

                                                                                                      Offered
         Job Titles of Indluldiialt Sehtted from the Decisional Unit fortfib Reduction In Force and
                       Severance Benefits for SlgnlnR this Separation Agreement and Release
                                              Mfi                                      ASS
                nttnehed




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     EXHIBIT C - Atmel MCU Apps (4/S/16)
                                                Aga(s)
     Jab Title
                                                 60
     Senior Manager, Applications Engineering




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                         EXHIBIT A-4




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                                                 DECLARATION OF THONG VAN VU




                I, Thong Van Vu, declare as follows:

              In 2015,1 was employed by Atmel as a Digital Marketing and Online Acquisition Manager. In July
      2015,1 and other Atmel employees received a letter setting forth Atmel's "US. Severance Guarantee
      Benefit Program", along with an Addendum to the letter providing additional details about the
      severance program {hereafter collectively "Severance Plan"). A copy of the Severance Plan documents
      that i received in July 2015 Is attached hereto as Exhibit A. The Severance Plan provided for certain
      severance benefits if Atmel was acquired and I was subsequently terminated.

              During 2015,1 learned that Atmel had entered Into an agreement with a company called Dialog
      pursuant to which Dialog would acquire Atmel. In approximately late December 2015 or early January
      2016,1 heard that Dialog might not be the buyer and that another potential purchaser had emerged, In
      early January 2015,1 heard that it was Microchip that was the new emerging buyer. During this time
      period, I was assured by various Atmel employees (Including Sanders Arts, the Vice President of
      Marketing) that the Severance Plan was in place and that I should not go look for another job outside
      Atmel, since If I wound up losing my Job through the acquisition that I was protected by the Severance
      Plan and so would have time available to find another job, with my severance payout acting as a
      financial bridge.

               In February 2016, after It had become clear that Microchip was the entity that was going to
      purchase Atmel, I was assured by Shantanu Dhavalc (Director) that the Severance Plan was In place and
      that I should not go look for a Job outside Atmel (as I was inclined to do). Mr. Dhavale assured me that If
      I wound up losing my Job through the Microchip acquisition, that I and the other team members would
      still be protected by the Severance Plan and so would have time available to find another job. We also
      discussed that the Severance Plan would offera bridge to our next transition and allow us to find out
      more about the Integration plans from the merger with Microchip. Mr. Dhavale encouraged me to
      believe that, because of the severance package, i would have time to find another Job and that i should
                                                         wlth   the company.
      stay at Atm^l and see what was going to happen

                                                                                               l
               In February 2016,1 read a memo entitled Frequently Asked Questions ("FACl's ')that had been
      published for Atmel employees regarding the potential Microchip acquisition of Atmel, A copy of the
      FAQ's Is attached as Exhibit B. As I read the FAQ's, they confirmed that Microchip would be honoring
      the Severance Plan If It acquired Atmel.

              In March 2016,1 was assured by Laura Roseill (Director) that i should not look for another Job
      outside Atmel (as I was inclined to do), and assured me that If I wound up losing my job through the
      Microchip acquisition that i would be protected by the Severance Plan. Ms. Roseill encouraged me to
      believe that, because of the financial security of the severance package, combined with my unique
      digital marketing role, I should stay at Atmel and see whether I would be part of the team following the
      merger.                                                      '




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                On approxlmatety April B, 2016,1 and ma ny other Atmel employees renlved a letter Informing
       us thatwe were being terminated effective immediately. These letters Indicated that Microchip would
       only pay 4 weeks of salary as severance. A copy of the April 6,2016 termination letter I received Is
       attached hereto as Exhibit C. On that same day, I had a discussion with Ravi Ball (a Director of Human
       Resources). Bali expressed that he was shocked that Microchip was not honoring the Severance Plan.
       Bail told me that It was a complete surprise to the Atmel Finance team, Investor Relations team and
       Human Resources teem that Microchip was not paying the severance,

               On approximately April11,2016,1 and the other Atmel employees who were terminated
       received a new letter, which Indicated that Microchip would pay us S0% of the severance benefits due
       underthe Severance Plan. A copy of the April 11,2016 letter 1 received is attached hereto as Exhibit D.

               I relied on the Severance Plan and the assurances I had received from numerous Atmel
       managers In deciding to stay with Atmel through the Microchip acquisition. I would have left Atmel and
       found anotherJob long before the Microchip acquisition If i had known that Microchip was not going to
       pay me the severance benefits underthe Severance Plan. In fact, I and many other employees
       considered Microchip an undesirable purchaser for Atmel, and I was very concerned about the future of
       Atmel and my own Job security when I learned that Microchip was attempting to acquire Atmel.



               I declare under penalty of perjury that the foregoing Is true and correct and that this declaration

       was executed on May    jft , 2016 at                                                                      .




                                                           Thong Van Vu




                                                            2




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             ,          . A
             '     '•     ; 0•
                        • !

                                                    STRICTLY PERSONAL AND CONFIDENTIAL




    Thong Van Vu
    RE ; Severance Guarantee


    Dear Thong Van,

                                                                                       you do lor Almei. Wc roccgnln that
    Our employees are tha lifeblood of our company and we value anct appreciate all
                                                                                             Involvlrig the tompany ani/
    recently there has been significant market speculallon regai dinB possible transactions
                that such rumors  can be distracting and unsettling  To support  our employees and to keup cveryOite focused
    understand
                                                                                         approved U.S. Si"/cr;incc- tt.irir.-mtee
    on our continued success, we are pleased to share with you tlie terms of a recently
                                                                                       this proeram, you will have the
    Bene'lt program that Is Intended to ease concerns among our employees. Under
                                                                                              terminated without Cause after the
    oppo-tunlty to receive benefits as described below If your employment Is Involuntarily
                                                                                      Guarantee Benefits") include:
    occurrence of a Change of Control. These benefits (coliei-tlvely, the "Severance

                                                                                                   the date the Change of Control
         •       Cash Severance; 40% of bass salary [based on your base rate of pay In effect on
                 transaction closesj; and
                                                                                                    are eligible for at the time of
         •       Target Incentive; If you are eligible, a prorated annual MlPor SIP, whichever vop
                                                                                                     time of termination, as
                 termination; the proration wl II be based a determination of your MIP or SIP at the
                 determined by the Company; and
         •       COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company

                                                                                             m attached to this letter. To
   All Severance Guarantee Benefits aresubjectto the terms and conditions in theAddendu
                                                                                       agreement reasonably acceptable to the
   receive any benefits, you will be required to sign a form of separation and release
   Company (or Its successor) If a transaction occurs (the "Release").

                                                                                           of your at-will employment, other than
   Nothing In this letter Is Intended to, nr shall, contradict, modify or alter the terms
                                                                                               provided by this letter. You shall
   the provision by the Company (or Its successor) of the Severance Guarantee Benefits
                                                                                        |or Its successor) may terminate your
   remain an at-will employee for all purposes, meaning that you or the Company
                                                                                          and with or without notice.
   employment at any time for any reason or for no reason, wh.li or without Cause,

                                                                                        Benefits and hope they convey our
   Thong Van, we are pleased to ba able to provide you with these Severance Guarantee
                                                                                   continued contributions to our success.
   recognition and appreciation of your contributions to Atmel, Thank you for your

   Sincerely,



   Suzanne Zoumaras
   Senior Vice President, Global Human Resources

   Attachment




   Sander Arts
   Sander Arts




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                                                     STRICTLY CONFIDENTIAL

                                                       ADDENDUM TO
                                         U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                         July 9,2015


     Term of the Severance Guarantee Benefit Program! The U.S. Severance Guarantee Benefit Program is effective from
     July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
     occurred prior to November 1,2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
     affect for 18 (eighteen) months following that Initial Triggering Event.

     Eligibility: Eligibility Is itmited to U.S.-based employees of Atmei Corporation as of the date B Change of Control Is
     consummated.

    Initial Triggering Event: Uoncfits under the U.S. .'igverantc Gtiarmilee Henefit Program will hocomt available to
    eligible employees only il Hie Lompany enters Into a definitive agreement (a "tleflnltive ARreemcm"), on or before
    November 1, 2015, that will result In a Change of Control of the Company. K a Deflnlilvt? Agrenrnftnt Is not entered
    Into on or before that date, the U.S. Severance Guarantee Benefit Program described In the ii'ttei and this Addendum
    will automaticallv expire, unless expressly extended by the Company's Board of Directors.

    Benefits Conditions; After an initial Triggering Event occurs that makes available to eligible employees the U.S.
    Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
    benefits if, but only If;

          A.     A Change of Control actually occurs; and
          B,     Their employment Is terminated without "Cause" by the Company (or its successor) at anytime whhln 18
                 months of the execution date of the Definitive Agreement.

         For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
         "Cause* will be the same as that containad In the Company's Senior Executive Change of Control and Severance
         Plan.

    Severance Guarantie Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
    to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
    described in the Severance Guarantee letter provided to you dated July 9,2015.

    Terminations Not Subject to Program: if your employment is terminated at anytime before or after an Initial
    Triggering Event has occurrctl os a result of your votuntory resignation; death-, disability or termination for Cause, you
    will not be eligible to receive any Soverance Guarantee Benefits, As discussed above, the U.S, Severance Guarantee
    Priigrarn Is D "double trlgK"" plan, meaning that no benefits are available under this Program unless there Is both a
    Change ol Control thai occurs nndyoui employment Is tarnilnated without Cause.

    Rplnnsfi of Claims (the "Relense"): Receipl of any SeverBiice Guarantee Benefits will be subject to your executing a
    separation and idease agreement In a form reasonably .uceptable to the Company or Its successor (the "Release''). If
    you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
    of the Severance Guarantee Oeneflts Is scheduled to be paid prior to the date the Release Is effective, that portion
    will, instead, accrue and be paid as soon as admlnlstratlveiy practicable following the Release effective date.

    Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
    WARN notice pay, you will receive the greater of those statutory benefits orthe Severance Guarantee Benefits, but
    not both (and without duplication).




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                                                                                                                    ble as
                                                                                soon as ndmlnlstratlv/ely in actica
                                            Benefit payments will be made as
   Payments; AllSeverance- Guanuitce                                        days follow ing Iheda te of termi nation, and v/liltae
                                         in no case niofe that) ninety 190)
   determined by the Compnny, liul                                            s. TIIK Severance Guataniee Bene
                                                                                                                   fli payments
                                        nldlngs and other payroll deduction
   subject to all applicable tax wiilih                                 the Code  , and any  ambiguities herein shall be
                                       appllnatimi of Sectio n 409 A of
   are intended to he exempt from
   Interpreted accordingly.
                                                                                                              am. For all purposes
                                        the Company will assum              e the obllgntlons under the Progr
   Additional Matters. Any successor to                   successor to the Company s busin
                                                                                           ess nnd/or assets which
                                        patty" will Include any
   under the Prcgrsm, the term "Com                                          ot otherwise. The Company will
                                                                                                                      withhold iruni any
                    by the terms (if the Program by operation uf law,                                                                   ed
   becom  es boun d
                                                           taxes  lequlr   od to  be   withh  eld therefrom and any other icfitili
                                          local and other
   severance benefits sli federal, slate,                                  reted   by   the Comp   any.   Any  decision made or niher
                                      will be administered and Imerp
   payrull dnrtnctlons The Piogram                                               r.l to the Program, and any interp
                                                                                                                           retation by the
                                        to a Chaiigp of Control with respe
   action taken by the Company prior                                      of the  Progr   am,  or any related document, will lie
                                          ol of any term or   cond ition
   Company prior to a Change of Contr                                               ble deference allowed by law. Follow
                                                                                                                                  ing a
                                        ns and be given the maximum possi
   conclusive and binding on all perso                                         Company,      and  any  Interp retati on  by  the Comp   any
                                     made or other action taken bv the
   Chance of Control, any decision                                     ment   that   (i) does  not affect the benefits payable under
                                    Pi ocram, or any   relate  d docu
   of any term or condition of the                                              al y and uiprlclous or (11) does affec
                                                                                                                            t the benefits
                                      to review unless found to be arbitr
   the Program shall not be sublect                                                  to  be itnre«  onab   le or not  to have been made
   payable under the Program shall
                                      not be subject to review unless found                                                  de, delegate
                                                                               terms and conditions as It may provi
                                       In lis sole discretion and nn such
   in good faith. The Company may.                                    porth  ri of  Its  aulho rity or rfispun.'.lbllity with rpsiieci
                                                                                                                                        in
                                    rs of the Coinpciny   all or any
   In writing to one or more office                               dmen    t or termi   natio n  or any  oilier action that could
                                       lhat any Program amen
   the Program; provided, however,                                         Pingiam must be upprovud by the
                                                                                                                       Company's Hoard
                                     ase significantly the cost of the
   reasonably be expected to Incre                                                  of Pre dors.     The  provis ion!,  of the Pro|>ium will
                                        Commlltce of the Company's Hoard
   of Directors or the Compensation                                     lite inter  nal  subst anllve  laws of the State of California
                                      enforced In accordance      with
   be construed, administered and
                                           laws provisions).
   (with the exception of its conflict of




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                                                                                                                    t Time
                                                                Friday, April 8,2016 at 12:19:18 PM Pacific Dayligh


                                                                  nsation & Benefits Relating to the Microchip Merger
    Subject: Frequently Asked Questions Regarding Compe
                                                                 Standard Time
    Date:       Wednesday, February 3,2016 at S;57:34 PM Pacific
    From:       Human Resources

    Dear Atmel Employees,
                                                                                                     related to
                                                  our first set of Frequently Asked Questions (FAQs)
    I am pleased to announce that today we pasted                                     ct, at
                                                     le on our Intrane t, Almei Conne
    the Atmel/Mlcrochlp merger. The FAQs are availab

    benefits,

                                                      e further updates and FAQs.
    As we have additional Information, we will provid

    Warm regards,

    Suzy
                                                     Human Resources
    SuzamiB Zoumaras | Senior Vice Pnesldenl, Glooal
    0: 4oa.487.2604 ( M: 8S8.3S4.4877
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        >ltmeL
                                FREQUENTLY ASKED QUESTIONS
                                    Microchip Transaction:
                    Effect on Compensation and Benefits for U.S. Employees

                                                                                                  after the closing?
          What happens to my employment and compensatory arrangements with Atmel
                                                                                        ory contracts (Including
          Microchip has agreed to honor each of your employment and compensat
                                            t, employmen   t continuatio  n, severance, Incentive and change In
          retention awards and employmen
                                                                                             y prior to the dosing
          control agreements) with Atmel, or Its subsidiaries, that are In effect immediatel
          of the transaction.

          How will my compensation and benefits be affected after the transaction doses?
                                                                                        December 31, 2016. In
          Microchip has agreed not tn reduce your base salaiy or base wages through
                                                                                and benefits package for 2016
          addition. Microchip has promised that your aggrn^Hte compensation
                                                                                   compensailon and benefits
          will be compaiable In value to the aKuregatc vnlui' of your pre-doslng
                    excludlnB the value attrlbuicd to any pension plans or employee stock purchase plans,
          package,

          Will I participate In the same Atmel benefit plans following the transaction?
                                                                                          Atmel's benellts Will be
          We anticipate that sometime following the (.losing of the transaction
                      d onto Microchip's benelii plans. The timing of thistransition Isyet lo be determined. Upon
          transitione
                                                                                     y eligible to participate in aH
          the transition to the Microchip benefits plans, you will be Immediatel
                                                                                        plans. We will work with
          Microchip plans subject to the ellgibtliiy requirements of the Microchip
                                                                                     near term.
          Microchip to provide you Information about the Microchip plans in the

          Will I receive service credit for purposes of Microchip's bengftts plans?
                                                                                   Atmel recognizes for you as of
          Microchip has agreed to provide you with the same service credit that
                                                                                         of eligibility, vesting, and
          the closing (as If you had provided such services to Microchip), for purposes
                                                                                    (e.g., health Insurance plans,
          level of benefits In Microchip plans that are comparable to Atmel plans
          paid time off).

          What wljl happen to my Atmel equity awards after the transaction closes?

          RSUS ft PRSUs. At the closing of the transaciicin. Microchip will
                                                                            assume each continuing employee's
                                                                                    (RSUs) and performance-based
          then-outstandlnB and unvested awards of restricted stock units
                                   IPKSUs),  and  «mvc?ft  those awards   Into awards  for Microchip common stock
          restricted stock units
                                                                                          The converted awards will
          with an equivalent value as determined under the definitive agreement
                                                                                     may have to accelerated VRStlng
          lelain the same material terms (e.g., vesting, including any rlgntsyou
                                                                                           stock plan) as your Atmel
          under the terms of your award, your employment agre.prrieiit or Atmel's
                   In addition, at  the closing of the transaction , any vested awards  of RSUs and PRSUs (Including
          award.
                                                                                           have not yet been Issued,
          any portion that vests on the closing ol the transaction) fnr which shaics
                                                                                         converted Into the right to
          will be settled in shares, subject to applicable withholding taxes, and
                                                                                          Just like any other Atmel
          receive the merger consideration for those shares after the closing
          stockholder.
                                                                                            and become vested and
          Stock Options. All unvested Atmel stock options that you hold will accelerate
                      In full Immediate ly prior to the   closing, subject to your  continued service through the
          exercisable
                                                                                  the closing date on how you may
          dosing. We will provide more Information to you as we get doserto
                                                                                     In connection with the dosing.
          exercise your stock options that are eligible for this accelerated vesting


                                                                                                               Pag* i on
                                                                                       Confldtntlal "* Not for DIMributlon




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       A tm el
         If you do not exercise your stock options prior to the
                                                                 closing, Atmel will automatically "net exercise"
                             which   means  that the exercise price and applicable withholding taxes will be paid
         your stock options,
                                                      shares  otherwis  e issuable to you on the exercise of your
         by withholding the appropriate amount of
                                                                  for the shares you are Issued for your options
         stock options. Vou will receive merger consideration
         after the dosing Just like any other Atmel stockholder.
                                                                      (ESPPl Atmel expects to continue the ESFP
        Purchase Rlatm under ihe Emolovee Siock Purchasi? Plan
                                      any  offering period  under   the ESFP that would otherwise be in effect at
        until Just before dosing. For
                                                             the  offering period so that purchases will he made
        the dosing of the transaction, Atmel will shorten
                                                                       of Atmel stock purchased on that purchase
        on the 10th business day prior to such closing. All shares
                                                                  treated like all other outstanding shares at the
        date will not be released until the closing and will be
                                        e immedia   tely prior to the closing.
        closing. The ESPP will terminat

        How much will I receive for my shares of Atmel stock?
                                                               common stock, a combination of $7.00 In cash,
        Microchip has agreed to pay, for each share of Atmel
                                   of Microch ip common stock  having a value of approximately Si.IS; provided
        plus a fraction of a share
                                                    payment In lieu of Issuing a fractional share of Its common
        however that Microchip will make a cash
                                                           on Form fl-K from January 19, 2016 at;
        stock. For more Information, please see our filing
        htlo:/A'.ww.sec.aov/Aichiues/t'dBar/d3ia/«y?448/00QtS
                                                                   71oa9t60108'»l/n600J7f Mk.him

        When Is the transaction expected to close?

                                                              calendar quarter of 2016, subject to customary
        We expect the trsnsaclion to close during the second
                                                              stockholder approval, Until then, Atmel and
        closing conditions, regulatory approvals and Atmel
                ip will continue to operate as indepen dent compani es.
        Microch

        Will there be salary adjustments In 2016?
                                                            es before July 1,2016. We expect Microchip to
        Atmel agreed not to Increase salary for any employe
                                                             levels, during the Integration process,
        review compensation arrangements, Including salary

                                                           transaction?
        Who should I contact If f have questions about the

                                                             departm      ent.
        if you have any questions, please contact Atmel's HR




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                                                               Additional Information

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           crjnUiMinc .1 p/fupcclos wuh crpect to tlir Mitrothir coTmon ftoct ro pr muec in Hie atuiioserd TiM jie-                 i
           n proxy itatcincm ul fttmel    in conncctmn with tne proposed rr-oigci     "Proxc SlnlcmMi/PPDspeclui") EaC
           rif Mlcrothll) ii'id Al-nt-l mlcnjs to lilp other dncurntntl with the 5EC lugaidlnu llir |iin|int£d intrge' Tlit
            Ue'inil•vt fioK,- Statemenl/fiosputli.i will oc mallt-d lo itockhoideti ol '>10101 aid will contain impuilam
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           the refnu and coiKllf'ons u) tht w.iy In wlikn Ihc pr.'iposed mcifei will be (mplcrneriitio, mcludlng tleiails ct
           lu'v-r to vcre an the drtopiioti pf the iiropaie:) merger agrnorni'nl 'Mty 'eipor^t lo tin p'Opjied nicige ihrinlrf
           he made vnly or> tl". basli /'f Hie ntfu matiori r the p'lixy StaleiTienl/P'PJpettus

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          .Statement. <intl .iny nlhcr (KK jiTietit',' ieel h\ A'.melana Microc'iip with the ^EC in Cunnyitin^ w.I'l the piopOCi!.'
           mcicer at thr srT\ '.vi-biile at www.wr.gou. Stcoiitvlioibeis o' Atmel niny abtain hec of chsigc, coiiiMi of Oie
          Proxy Matpinci't/P'ospactiii and any nthei tlcwufnents t.leJ liy Atmel uyilh 1 'if? SEC In conncctiun with rhi
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          BEFORE MAK1KB AN INVI-.STMKNT OP. VOTHJCJ UHriSION, WE URGE SECilRITi'ilO-OCH; OF AfMLt TC r.EAE'
          CAREFULLY THE Pt-'OXV STATtMENT/PROiPtCIUS AND REGISTRATION SIAItMtNl (INCIUDMG A'P'
          AMENDMENTS OK Si.'PPUMI NTS IiieRrT0| A^D AMit1 OTHER RELEVANT OOCJIvlFHTS THAI MICROCHIP UK
          AWEL WILL FILE WilH tht SIC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN 'MPOHIANT
          INFORMATION ABOUTTHE PROPOSED MERGER,

          This coIT municritloi doci not tonslli.;te an cttet tn hay <<1 cxrhar.gE or the so'lcltstici of an offer to sell or
          exchanK*. any securilies noi shall theie be tny vine o: -..icu Hit; 111 anv |urii<».rtioii In .•.'l ich such offer, ssle or
          exchaiiif ivpnld bp jnaw'ni f'or tc ecfiistrftinr. 01 oiialiftit an UMUCI the iPiiidtes laws of any such
          juriiUicltun Tills comwur.lraiUm is nut a wbsriluH fm any prnspvctus. p/oxy ua:i'twi orany other documert
          that Alrne' 01 Mifmrhio may tile with tlio ScC m CDnneclion wt'i the propnMiil nir-rgtr

                                                       Participants in the Solicitation

         VUmci Microchip and thn i i-'.fipi.lK'e 0 ectcus and executive iihicei! may br. neemeti tr. be pjrU'oanti m the
          toliclthtlon u' pr./xu'i fmm Atmcl'*. MocfctoWet! m tuimPct'O" w th ihe aHoptlo'' o( Hie merger agieenieni in
         lonneclion wilt" :lit- pi000f.ed mei((«i enrj rruy have direct cr indirecl nierests In "he (irnposfrt meigci
         inftirmation ibout hiiciorlilp'i diio'tuis and tvetunve o'liten 15 set Icrth n Mirrcchip's Proxy Statement M
         Schedule UA for its          15 Annual Meiitmp ol Sto:kt>oli)eis. winch w.is (lied with V.c JEL oi'.'uly 1U. 'IU1 rir
         (ti Annual Kepoit on f oim lfl-l< foi Ihe lufa' yvar prided March ?i. /.03S, wmch wasfHen villi", 'he ',EC IV May
         i? 2015 jnd amendPrt rin Mine S, :01b 'hes* dafumtnti aie avuliibie ti'ec a' risrre a" the iEC •. v/sbsite a!
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         Aimel's Inrcri's «inrf executive n'lici'i: BMC theh respective Int'-'ests in ALmel by security "iptd'ngs ir ntnerwise
         is art fcrti In A'.rr.ei j Pi-oxy Statement un Schedule 10A for Iri 2011 Annual Meeting cf Stockholders, wnich was
         filed with the Sit. or April 5. 2Q1S Ihese cariime'itj arc available liee 0' clifige at tl>e SEt i websilv ul
         www.(CC.g:>v arid Irnrn the "irtvcslMS" section ol Atmel s weh?ite at www.atmel tun Aoclitiunal Infriimatian
         icgaidiiip fhe Inteletu "f paiticlpanls in the r.ollcilotlor rf pioxies In corineclit n with the piiippsed rtetgor will
         he Included -n the pi'D^y Stntfrnenl/piospectus and rlir 'i?f istr.-tinn Statemeni that ii/ic<cmi r- will hn with thf
         SEC.

                                   Cautionary Statements Related to Forward-looking Statements

         This commun (alien contains, or may contain, "loi waid-loolnrg •itatpmsnrs' <i iplstlo-' tu Atmel si d wiiciochip
         as well is < ther rjtuie pi.enf ind "heli pn'.entii' t rfoctc on Atmel, MIcrori Ip and the curnhined compaiiv Out
         die luliiccl to tlshs and uncertainliei. Generally, the words "will." 'rnsy," 'should," "conlinuc." "believes"
         "targets." 'plans,' "rxperls," "estimates ' "aims." "Intends,' "anticipates" 31 smWai eitpntisiopi or negativt?
         thereof identify (orward looking st.iteinonls Faiwaid-looking statements Indi.dc staTenicriirelal itg lu (1| tiic
         benefits of the merger. Including future f'nancla' and opeiatlng lesuhs of Ihe combined ttimpany Microchip-!



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         or Atmel's plans, objectives, expecta'cinfis arid Intertions, and ths expected timing of completion of the
         transaction; (2) expected daiielopmerits n product Liortfolio, e-xpected leveimes, expected operating costs
         sayings, expected future cash gereiaticn, expected future design iwins and increase in market share, expected
         incorporation of products in those of custoners, arioption of rew Technologies, the expectation of volume
         shipments of products, capoitunitles in the semiconductor indcstrv and the ehiliry tc take advantage of those
         opportunities, tile potential success to be derived from stiategic partnerships, the potential iinpact of capacity
         consUainls, ihe effect of fina.-jcial performanre on share price, the Impact of government expectations 3ncl
         beliefs of the managemant o( Microchip and Atmei; (3) tne expansion and srovv.h of Microchip's or Atmel's
         operaiions; (4) the expected cost, revenue, technology ar.d other synergies of the proposed metger, the
         expected impart of the praposed merger on customers and end-users, the combined company's futuie capital
         oxpenditureb, expenses, revenues, earnings, economic perfoimancej fitianciai condition, losses and future
         prospects; (5) business and management strategies and the expansion <ind growth of the combined company's
         operations; and (e) the anticipated timings of the Atmel stockholders' meeting and completion of the proposed
         merger.
                                                                                                                           of
          ihese forward-looking statements aie based upon the current beliefs and expectations of the manaeemenl
         Atmai and involve risks and uncertainties that could cause actual results to differ materiallv from those
         expressed in the forward-looking statements. Many of these risks and uncertainties iclate to factor that are
         beyond Atmel's ability to control or esliirate precisely Those factors include (1) the outcome of sny legal
                                                                                                                         the
         proceedings tnat could be instituted against Atrnel or itsdnectors related to the dlscuss'ons with Microchip,
         merger agreements with Dialog or Microchip or any unsolicited proposal; (a) the occurrence of any event,
         change or other circumstances that could give rise to the termination of the merger agreement with Microchip;
         (3) the ability vo obtain governmental and regulatory approvals of the proposed merger between Almol and
         Microchip; (4| the possibility that the pioposea mergsr Uetivoen Atmel and Microchip dofs not close when
                                                                                                                          be
         expected or at ail. or that the parties,, in aider to achieve governmental and regulatory approvals, may
                                                                                                                         the
         required to modify aspects of the proposed merger nr to accept conditions that couid adversely affect
         combined company or the expected benefits of the oroposed merger; (S| the possibility that other conipetinj
                                                                                                                         tie
         offers or acquisition proposals will be made; (61 the ability to leailze the expected synergies or savings from
         proposed merger in the amount! oi In the timeframe anKipated: (7| the potential hsrmlo customer, supplier,
        employee and other relationships caused by the announcement or cbsingol the pi oposed merger; (6) the ability
        to Integrate Atmei's businesses into that of Microchip In 3 timely and cusl-efflclent manner; (9) the combined
                                                                                                                         and
        company's ability to develop and market products contaiiiine the respective technologies of Atmei
         Microchip in a timely and cost-effective manner; (10) the combined cornpsny's ability to protect Imeilectual
                                                                                                                          bs
         property lights; (11) lltigsLion (inducing intellectual pioperty iitlgoUon in which thecombired company may
        involved or in which customers of the combined romcany may ba involved, especlslly in the mobile devics
                                                                                                                         the
        sector), and the passible unfavorable results of legal proceedings; (12) dependence on key pei 5Dp.n;l; (13|
        Inability to lealize the anticipated benefits of acquisitions and restructuring activitlas, Including in connection
        with the proposed merger, or other initiatives in 3 timely manner or at all; (14) the development of the markets
                                                                                                                           its
        for Aimel's and Microchip's products, (15| ''isks related to Microchip's ability to successfully implement
                                                                                                                         and
        acquisitions strategy; {1.5) uncertainty as to Ihe futuie profltablUty of businesses acquired by MicrnclUp,
                                                                                                                          by
        delays In the realljalicn of, or the (allure to realiio, any accretion from any other acquisition transactions
        Microchip; (37) the inherent unceitaintyasscciawd with financial projections; (IP) dliruptiaiu in the availability
        of raw mnterlala; (IS) compliance with U.S. and Intiinationai laws and regulations by the combined company
        and Its distr butors; (2D) the market price ana volatility o Microchip common stock (ll the meiger is completed);
                                                                    f

                                                                                                                         and
        (21) the cyclical nsture of the semiconductor industry; (22) an economic downtun- in the semiconductor
        telecommunicstlons markets; (23) consoiicatlon occurring within the semiconductoi industry; (24) general
                                                                                                                            s,
        global macrceconomic and geo-political conditions; (JS)'inanclal fnaiketCQiidllion5;(26) buSiressintemiption
                                                                                                                from time to
        natural disasters or terrorist acts; and (27) other risks and uncertainties, including those detailed
        fme in Microchip's aid Aimel's periodic reports and •nther fllin|s with the SEC or other rigulatory authorities,
        including Atmel's Annua) Report on Form 10-K for the fiscal year ended December 31,2011 and Quarterly Repart
                                                                                                                           or
        on Form 10-Qfor the quarterly period ended September 30, 2035 (whether under the caption Risk Factors
                                                                                                                        year
        Forward Looking Statements oi elsewhere) end Microchip's Annual Report on Form 10-Kfor the fiscal
                                                                                                                         and
        ended March 31, 2015, which was filed with the SEC on May 27, 2015 and amended on June 8, 201S
        Quarterly Report on Form 10-Qforthe quarteriy period ended September 30, 2015 (whetliei under the caption
        Risk Factors or Foiward Looking Statements or elsewhere).
                                                                                                                   be
        Neither Atmel no"- Microchip can give any assurance that such forward-looking statements will piove .o
        co'iect, The reader is cautioned not to place i.ndua reliance on these foward-looking statements, which speak



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          only as of the date of this »nnouncen\ent Neither Atmel nor Microchip nor any other person undertakes any
          obligation to update or revise publicly any oftheforward-looking statements set out herein, whether as i result
          of new Information, future events or othirwlse, except to the extent legally required,
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                     EXHIBIT C to




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      TO:            Thong Van Vu

      DATE:          April 6,2016

      FROM;          Atmel, LLC.

      RE:            Severance Agreement and Release



                                                                            Aimcl, LLC. effective April 6,2016
      In connection with the termination of your cniploymcni from
                                      arc offerlnfi you  o  scvornn  cc   package   on die temw set forth in this
      (the "Tcmiination Dale"), we
                                                              accept   it is entirely up to you. If you decide to
      document. This offer is voluntary ami whether you
                                   at the end  of this docume   nt, you    will bo entering Into a legally-binding
      accept this offer by signing
                                                                 affiliate s, parent corporat ion and subsidiaries
      contract (the "Agreement") with Almel, LLC., and its
      (collectively the "Compa  ny"), on the terms  stated below.

                                          Atmel. LLC CommUroenU to Vou


                                                                          will pay you a lump mm total of
       •   In consideration for entering into this Agreement, Atmel, LLC.
                                                              equal to 4 weeks of your current base pay.
           $11,36S.3S ("Severance"), which is approximately
                                                                         30 business days after the Effective
       •    The Severance will be paid to you in one iump sum within
                                                                                 ings, including any advanced
            Date of this Agreement, less all legally-required taxes and withhold
            PTO pay,
                                                                         paid all earned but unpaid salary and
       •    Regardless of whether you sign this Agreement, you will be
                                                    the  Termina tion   Date.   You will receive information
            accrued but unused vacatiun through
                     g your rights to  health  insuranc e continua  tion  under COBRA. Nothing in this
            regardin
                                                                            rights to vested benefits under the
            Agreement will impair any COBRA rights you have or your
            terms of Company benefit plans,"    "'

                                                                         employers to Atmel, LLC. Human
       •    Provided that you direct any inquiries by potential future
                    es departm ent, Atmel, LLC. shall uae its best efforts to provide only your last position
            Resourc
            and dates of employment.

                                          Your Commitments to the Compapv


                                                                                   officers, directors, employees,
       •    You agree to release the Company and its current and former
                            affiliate s,   benefit  plans,  adminis trators, insurers,   trustees, divisions, and
            shareholders,
                                                           r corporat ions and assigns  (includin g, but not limited
            subsidiaries, and predecessor and successo
                               (ooUeot   ivoly, the "Releas ees") and  promise never to  assert any and all actions,
            to, Atmel, LLC.)




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                                                                                                of every kind based on any
         causes of action, grievances, obllumions, damages, Josses and claima
                                                          sign   this  Agiccmc     nl, including   , but not limited to, nny
         act, omission, event up to the date you
                           to or  arising out   of  your     employm     ent  and/or    terminati  on of youi employment
         claims rcinling
                                                                  the   Releasee   s from   liability  for all claims of any
         with Aunci, LLC, In particular, you release
                           ever  bad  or may    have   at   this time,    whether    you   know   about   them or no(, This
         nature thai you
                                                                   to, any   claims    under   federal  or stale law, such ns
         release specifically includes, but is not limited
                              Civil   Rights   Act    of    1964,    the   Age     Discrimi   nation   in  Employment Act
         Title VII of the
                                                            ies  Act,   as  well   aa  any  cotnroci   claim   or other claim
         ("ADEA"), the Americans with Disabilit
                           or common     low,  to  the   fullest   extent   the   law  permits   a rtleaie of claims. You
         under  statutory
                                                                                           on behalf of yourself and your
         agree that the waiver ond release of claims in this paragraph is
                administ rators,  represen tatives,  executor     s, successo   rs  and  assigns, and all such persons arc
         heirs,
                                                                                          forth in this section shall be and
         bound by this waiver and release, You agree thut the release set
                  in effect in all  respects  as  u  complet     e general    release   as to the matters released. This
         remain
                                                                                                  nt, This release docs not
         release does not extend to any obligsitions incuired under this Agreeme
                                                                                            , but not limited to, your tight
         release claims (hat cannot be released ns a matter of law, including
                                                                                        Equal Employment Oppommity
         to file it charge wiih or participate in a charge by the
                                                                                 rative  body or government agency Hint
         Commission, or any other local, state, 01 federal administ
                                         administ   er  laws    related   to employm      ent, nguinst the Company (with
         is authorized to enforce    01
                                                                       llon  does   not  give  you the right to recover any
         the understanding that any such filing or parlicipn
                     damages    against   the  Compan       y  and    your   release    of claims herein bars you from
         monetary
                                                                                               docs not extend to any right
         recovering such monetary relief from the Company). This release
                    have to unemplo    yment   compens      ation  benefits    or  workers'    compensation benefits. You
         you  may
                                                 no  assignm     ent   or transfer   of  any  claim   or other matter waived
         acknowledge that you have made
         or released by this Agreement
                                                                        under Section 1542 of the Civil
     •   You agree that this release constitutes a waiver of all rights
         Code of the State of Californ ia, which reads:

                                                                 WHICH THE
             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                    OR DOES  NOT KNOW  OR  SUSPEC T TO EXIST  IN HIS OR HER
             CREDIT
                                                           WHICH IF KNOWN
             FAVOR AT TJIE TIME OF EXECUTING THE RELEASE,
                                                             ED HIS OR HER
             BY HIM OR HER MUST HAVE MATERIALLY AFFECT
             SETTLEMENT WITH  THE DEBTO R.

                                                                                   may have under ADEA, and ihftt
     •   You acknowledge that you are waiving and relcnsing lights you
                                                and   voluntar  y.   You   and the  Company agree that this waiver
         this waiver and release is knowing
                                                                                   arise under the A DBA after the
         and release does not apply to any rights or claims that may
                                                                                            ation given for this waiver
         Effective Date nf this Agreement. You acknowledge that the consider
                                                                                 you were already entitled. You
         and release is in addition to anything of value to which
                                                                                    that: (a) you should consult with
         acknowledge further that you have been advised by this writing
                                                                         have  forty-fiv  e (45) days within which to
         an attorney prior to executing this Agreement; (b) you
                                em;  (c) as set  forth in Exhibits    A, 13 and C   herein,   you have been advised in
         consider this Agrccm
                                                               group    of individua  ls  covered    by the reduction in
         writing by the Company of the class, unit, or
                              ty  factors  for  the  reductio  n   in  force,  and   the   job  titles  and ages of all
         force, the eligibili
                                                          ; (d)  you  have   severi (7)  days  followin  g the execution
         individuals who were and were not selected
                         ent to  revoke  this  Agreem   ent; (e) this   Agreeme   nt shall   not be effective until after
         of this Agreem
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                                                                                                        you
          the revocation period has expired; and (f) nothing in this Agreement prevents or prculitdcs
                                                                                                   under Itie
          from challenging or seeking a determination in good foitb of the validity of this waiver
                                                                                                  so, unless
          ADEA, nor does it impose any condition precedent, penalUca, or costs for doing
                                                                                                    whether
          specifically authorized by federal law. You and the Aimcl, LLC. agree that changes,
          material or immaterial, do not restart the running of Ifae 45-day period.

                                                                                   lh           both parlies
      •   This Agreement will become effective and irrevocable on the eighth (8 ) day after
          execute it (the "Elective Date"), In the event you sign     this Agreement  and returns it to the
                                                                                              acknowledge
          Company in less than the forty-five (45) day period identified above, you hereby
                                                                                                        iliis
          that you have voluntarily chosen to waive the full time period allotted for considering
                            acknowled  ge and understand that revocation must be accomplish ed  by a written
          Agreement. You
                                                                                               the Effective
          noiification lo Gci i Shaw, Human Resources. Atmel, LLC., that is received prior to
          Date,
                                                                                                personal
      •   To the extent Employee is in the possession of any Atmel property, including
                                     fax machines scanners, copiers cellular phones, Atmel credit cards,
          computers (PCs), laptops,
                                                                                             all media,
          and any Atmel documents, correspondence and related corporate materials on
                                                                                            In addition,
          Employee will return all property to Atmel on or before the Termination Dale.
          computers roust be returned with all Company data intact.
                                                                                                 Agreement,
      •   You acknowledge and represent that, other than the consideration set forth in this
                                                                                                 id time off,
          the Company has paid or provided all salary, wages, bonuses, accrued vacation/pa
                                                , relocation oosts, interest, severance, outplaceme  nt costs,
          premiums, leaves, housing allowances
                                                                                                and all other
          fees, reimbursable expenses, commissions, stock, stock options, vesting, and any
          benefits nnd compensation due to you.

                                Gwcral Undenf ndlma and Admowledgemcnfr
                                                                                                 [Confidential
      •   You hereby reaffirm and agree to observe and abide by the (ems of the
                     n and Invention Assignmen t] (the  "Proprietar y  Information   Agreement" ) between you
          Informatio
                                                     the provisions    therein regarding nondisclosu  re of the
          and Atmel, LLC., specifically including
                                                                                                       thai you
          Company's trade secrets and confidential and proprietary information. You represent
                                       and  other  items  provided    lo  you  by the  Company,  developed   or
          have returned all documents
                                                                                                     bclongiDjj
          obtained by you in connection with your employment with the Company, or otherwise
          to the Company.
                                                                                                  ComjJMy's
      •   This Agreement and the Proprietary Information Agreement states your and the
                                              the subject metier of this Agreement   and your  rights and the
          complete understandings regarding
                                                                                                with Atmel,
          Company's obligations relating in any way to, or arising out of, your employment
                                                                                                   signed by
          LLC. No future modification of this Agreement will be valid unless it is written and
                                                                                                   is deemed
          an executive officer of the Company and you. If any provision in this Agreement
                                                                                                of the rest of
          unenforceable, it will be considered severable nnd will not affect the enforceability
          the Agreement.

                                                                                              the offer
      •   You have until 5:00 p.m. on May 23, 2016 to consider whether you want to accept
                                   this Agreement , although you do not need to wait until that time to
          Atmel, LLC is making in
                                                      3




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                                                           accept this offer, you must sign This Agreement
         accept ihis offer and obtain the Severance, To
                                                           Human Resources by the date and time staled in
         and deliver a signed copy of it to Geri Shaw in
                                                 will not receiv e the Severance until after yon deliver Hiis
         this bullet point. As noted above, you
                                                              day revocation period ends and you have not
         signed Agreement lo Geri Shaw and the seven (7)
         revoked this Agreement.

                                                          ledging thai you have read It carefiilly, that it is
     •   By signing this Agreement, you will be acknow
                                  you unders tand, that you  have been advised to consult with an attomoy,
         written in language that
                                                            time  to consider it, and that you are signing it
         that you have been given a reasonable period of
         knowingly nnd voluntarily.
                                                         ed this Agreement on the tespective dates set forth
     In WITNESS WHEROF, the parties have execut
     below.



                                                            Thong Van Vu
      Date




                                                             Company Witness/Title
      Date

      Internal use;

      Date received;

      7-day revocation period ends:




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                                                  EXHIBIT A

                                    DECISIONAL UNIT INFORMATION

                                                                                                   whether
      The following imformelion is provided under federal law to assist you in making a decision
      to sign this Agreement and accept the severance benefits offered by Atinel, LLC:


      1.     Decisional Unit, The decisional unit for this reduction in force is Matcom Group

      2.     Eligibility. All persons included in the Marconi Group arc eligible for the program. All
      persons who are being terminated in the reduction in force are selected for the program.

      3.      How Long to Decide. You will hove up to forty-five (45) days from the receipt of this
                                                                                                      The
      Agreement in which to decide whether to sign this Agreement and return it to the Company.
                                                                                                 page 3 of
      offer of severance benefits contained in this Agreement will expire on the date staled on
                                                                                                  (7) days
      the Aaieenieiit. Please note that once yon have signed this Agrceaient, you will have seven
      to revoke your signature and nuccplancc of the icrms of this Agreement,

      4.     Selection InConnation. Federal law provides certain information be given to you
                                                                                                        who
      concerning individuals who were eligible and selected for the tYdiKition in force and individuals
                                         the reduction in force. This information can be found in Exhibits B
      were eligible but not selected foi
      and C, which follow this Exhibit A.




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                                              Data Sheet by Age
                                                     4/6/2016

                                                   EXHIBIT B

      Job Titles of Individuals Not Selected fifom the Decisional Unit for this Reduction in Force and Not
                                          Offered Severance Benefits

                                       .Inb Titled                               Amfrt
                 IWill be mailed to home address




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                                           Data Sheet by Age
                                                4/6/2016

                                                EXHIBIT C

        Job Titles of Individuals Selected from the Decisional Unit for this Reduction in Force and
             Offered Severance Benefits for Siftninft this Separation Aitreement and Release
                                        Title                                   AM
               Will be mailed to home address




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                     EXHIBIT D to
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             TO;             Thong Van Vu
             DATE;           April 11.2016
             FROM;           Atmcl Corporation

             RE:             Sevennci Aarecment and Reltase



             As ynu know, Atmel Corporation ("Atmcl") recently bveame a subddiary of Microchip rcchnology
             Incorporated ("Microchip") (tlie "Mnrger"!. Atmel and Microchip arc making this offer, In part to rsiolve
             uny current disaKrcentcnl or mlsunderslanillng retinrdlng sei/crnncc benefit! previously offered by Atmel. In
             connection with the termination of yont employment from Atmel efli-ctlvc April 6. 2016 (the "Termination
             Date"), we are offering you a severance p.ickane on the terms set forth In this document. This offer Is
             voluntary and whether you accept It Is entirely up to you. If you decide l:o accept this offer by signing at the
             end of this document, you will hp entering Into a Icgnlly binding contract (the "Agreement') with Microchip,
             Atmel, and their affiliates, and subsidiaries (collectively the "Company4), <on the ttrms stated below.

                                                    Comoenv Commitment i to Voti


             •     In consideration for entering Intu this Agreement, Atmel,, LLC. will pay you a lump sum total of |l)
                   $23,550.00 representing, a lump sum cash payment In cash equal to 0.20 times the your Base Pay, and
                   (II) $1,116,IB represuntint;, a lump sum payment in cash equal to SOS of your 2015 Bonus, prorated to
                   the data of the your Involuntary Termination.

         •        In addition. If you timely elect TO continue health coverage pursuant to COBRA, the Company shall
                  directly pay, the premium costs for you and your covered dependents, for up to two (2) months
                  following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
                  premiums pursuant to the preceding sentence, you may, if eligible, continue healthcare coverage at
                  your expense In accordance with the provisions of COBRA,

         •       The benefits described In the two bullets above >r« the 'Severance Benefits."

         •       RcKardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
                 accrued but unused vacation through the Termination Date. You will receive Information regarding your
                 rights to health Insurance continuation under CODRA. Nothing in this Afifeement will Impair any COBRA
                 rights you have or your rights to vested benefits under the terms of Company benefit plans.

         •       Provided thai you direct any inquiries by potential future employers to Atmel Human Resources
                 department, Atmel shall use Its best efforts to provide only your last position and datesof employment.

         •       The Company will not contest any claim for unemployment benefits that you may file.




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                   uolantirily iiminl (D wih* Iht rtmmlni portion of Iks tMw thai you hivt bwn frviti to canudcr«

                   ONCE YOU SIGN IllOW, THIS DOCUMENT WIU BECOMfi A UfiMLV INfOMUIU COMTMa.



              Dltl                                               ThofiivinVu




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                                                          EXHIBIT A

                                              DECISIONAL UNIT INFORMATION
                                                                                               whether to sign
                                                   federal law to assist youIn makinga dcdilcn
       The following Information Is provided under
                                                       s offered by  Atmel, LLC:
       this Agreement and accept the severance baneflt


                                                                      on In force Is Marcom Group
       1       OacMonal Unit. The decisional unit for this reducti
                                                              Group are eltgiMa for the progra      m. All parsons who
        2.     EII|IMnty. All persons Included In the Marcom
                                                     are lalected far the program.
        arc beingterminated In thereduction Inforce
                                                                                                                       In
                                                                      * (45) days from the receipt of this Agreement
        3i      How Long to Decide. Vou will h»vt «ip to forty-fw
                         whethn r lo  jlfln (hn. Agrccm cnl and return  II to Gen ShAW at Altncl. The offer of severance
        which to decide                                                                                      ent. Please
                                                             on th? date stated on page 2 of Ihc Agreem
        benefits contained In ihH Agrccnnem will expire                                                           re and
                                            this Agrtem cnl. ynu will have seven (V) dayt to revoke your slgnaiu
        note thst once vou   have  signed
         acceptance of the tarms of this Agreem    ent.
                                                                                                                    ing
                                                                 s certain Information be gh/en to you concern
         4,      Salactlon infonraHen. Federal law provide                       and Individu als who were allglbk but
                                                   d for the reducti on in force
         Individuals who were ellgttle and selecte                                                                 this
                                                              ation can be found In Exhibits B and C, which fallow
         not selected for the reduction In force. This inform
         Exhibit A.




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                         EXHIBIT A-5




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                                DpCLARATIQN OP DONNA VIEKA-CASTltiQ
            I, Donna Viera-Castillo, declare as followsi

            In 2015,1 was employed by Atmel as an Event Marketing Manager. In July 2015,1 and other
    Atmel employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program",
    along with an Addendum to the letter providing additional details about the severance program
    (hereafter collectively "Severance Plan"). I cannot locate the actual Severance Plan document that I
                                                                                                                                        vi"
    received in July 2015. However, attached hereto as Exhibit A is a copy of the Severance Plan docunent
    that Bo Kang received in July 2015, and the Severance Plan document I received in July 2015 was
    identical to Exhibit A, except that ray name was on the letter rather than Mr. Kang's. The Severance
     Plan provided for certain severance benefits If Atmel was acquired and I was subsequently terminated.

             During 2015,1 learned that Atmel had entered Into an agreement with a company called Dialog
     pursuant to which Dialog would acquire Atmel. In the last half of January 2016,1 learned that Dialog
     seemed to be on the way out as a purchaser, and that Microchip Technology looked like It would be the
     new purchaser. My boss, Sanders Arts (vice President of Corporate Marketing), assured me and others
     that we were still covered by the Severance Plan and would gel severance benefits, and that we should
     stay focused on our jobs and not worry about the potential acquisition by .Microchip.

             In approximately late January 2016,1 learned about a January, W, 2016 letter that was sent by
     Atmel to director-level employees. That January      2016 letter Spodflcally conf irmed that the
     Severance Plan was still intact and that the severance benefits under the Severance Plan would be paid                       ^
     if Microchip completed the acquisition and terminated Atmel employees. Acopy of the January 14,
      2016 letter Is attached as Exhibit B.                                            H 11


              In early t-ebruafy Z016,1 read the Frequently Asked Questions ('TAQ's") that had been
      published for Atmel employees regarding the 'potential Mlcrndiip acquisition of Atmel. A topy of the                            :4P
      FAQ's Is attached as Hxhlblt C. Heading the FAQ's confirmed again to me tliot Microchip would be
      honoring the Severance Plan If It acquired Atmel. At staff meetings during this time period, It was noted
      multiple times that employees who were terminated by Microchip would be receiving the severance
      benefits of tha Severance Plan.

             During the time period between Microchip signing Its agreement with Atmel in January 2016
      and the closing of the acquisition In early April 2016,1 had a conversation with Steve Laub (Atmel's Chief
      Executive Officer) about the Severance Plan. During this conversation, Laub told me that the Severance
      Plan was still In effect Bob Martin, another Atmel employee, was present during that conversation,

              On approximately April 6,2016,1 and many other Atmel employees received a letter informing                           '&M
      us that we were being terminated effective Immediately. These ietters Indlcited that Microchip would !$ i ' « >
      only pay6 w e e k s o f salary a s severance, A c o p y of the April 6 , 2 0 1 6 termination letter I received Is •, i f f j f a p P -
      attached hereto as Exhibit D.

              On approximately April 11,2016,1 and the other Atmel employees who were terminated            :.jj
                                                                                                                         -tW'
      received a new letter, which indicated that Microchip would pay us 50% of the severance benefit! due " S
      under the Severance Plan, A copy of the April 11,2016 letter I received is attached hereto aiKfet £..




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                                                                    employees, Sanders Artsexpressed to me
              After the April 6th termination of me and other Atmel
                                                          benefits due under Severance Plan.
      his shock that Microchip did not pay the severance
                                                                   Steve Laub and discussed Microchip's
               Between April 6 and April 11,2016,1 had lunch with
                                                       the Severa nce Plan. Laub told me that the July 2015
      refusal to pay the severance benefits due under
                                                        ed that Microc hip wis not.honorfni ,the Severance
      Severance Plan was In effect; that he was surpris
                                                       nce  Plan.
      Plan; and that Microchip knew about the Severa

              I relied on receiving severance benefits under the
                                                                 Severance Plan in making the decision to stay
                                                               I certainly would have left Atmel and found
      at Atmel through the time of the Microchip acquisition.
                                                            ition If I had known that Microchip was n6t going
      another job long before Microchip's April 2016 acquis
                                                              Plan.                    . •
      to pay me the severance benefits under the Severance


                                                                       Is true and correct and that this declaration
               I declare under penalty of perjury that the foregoing
                                                                              ,   (^aXifovruitU
       was executed on May &2016at


                                          WMAYA. IA             O.oslZtl"
                                           O            Donna Vlera-Castlllo




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    yitmel                                          STRICTLY PERSONAL AND CONFIDENTIAL

      July 9, 2015

      Bo Kang
      Re: Severance Guarantee

      Dear Bo,

     Our employees are Hie llfeblood of our company ami v/e value nnd appreciate all you ilo for Atmel We rccounUe llial
     rocontly Iticro IIHJ been slBnlllcnnt market speculation reRardlng possllilu transaction!;Involvlnt; the company .mil
     urulcrsiand thai such rumors can be distracting and imseltllnf;. To suppuil our employees and to keep everyone focused
     on our continued success, WP are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
     Benefit prngrnm Iluil Is intended to ease concerns among our employuos. Under (his program, ynu will have the
     opportunity to receive beneflls as dcscrltied below If your cmplnymrnt is involuntarily terniinated wlthnui Cause after the
     occurrence of a Chanec of Control. These benefits (colleclively, the "Severance b'uarameu Hnneflts") Include:

          •      Cash Severance: 40% of base salary {based on your base rate of pay in effect on the date the Change of Control
                 transaction doses); and
          •      Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time of
                 termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
                 determined fay the Company; and
          •      COBRA Benaflts: Four (4) months' of COBRA benefits paid for by the Company

     All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached to this letter. To
     receive any benefits, You will be required to sign a form of separation and release agreement reasonably acceptable to the
     Company (or Its successor) if a transaction occurs (the "Release").

     Nothing in this letter is inietiiJed to. or shnli. conirarilct, morilly or alter the terms of your at-will cmployrnBnt, other than
     the provision by Hie Company (or its stxxcssoi) of the Severance Ciunrantee Hrneflts provided by this letter, Vou shall
     remain an si-will employee for all pmpuses, mi'HninR tliui ynu or the Canipany |or Us successor) may terminate your
     employment at any time for any reason oi for no ronson, with ot without Cmisc, and with or without notice.

     Bo, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our recognition
     and appreciation of your contributions to Atmel, Thank you for your continued contributions to our Success.

     Sincerely,


     Suzanne Zoumaras
     Senior Vice President, Global Human Resources

     dttac/imcnt




     Steven Pincout
     Steven Pancoitt




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                                                      STRICTLY CONFIDENTIAL

                                                           ADDENDUM TO
                                         U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                              July 9,2015


                                                                                                                Is effective from
                                                         : Tlie U.S. Severance Guarantee Benefit ProBram
  Tarm of the Severance Guarantee Benefit Program
                                               r 1,2015    unless an   Initial Triggerln E Event (as described below) hsi
  July 1,2015 and wllltcrnilnate on Novembe                                                                         rmnalii In
                                                          the U.S. Severance Guarantee Benefit Proei am will
  occurred prior to November 1,2015, In which event
                (eighteen ) monlhs followln gthat Initial Trl(jeerln E Event.
  effect for 18

                                                           es of Atmel Corporation as of the       date a Change of Control is
  eUglbiilty: Eligibility Is limited to U.S.-based employe
  consummated.
                                                                                                                           to
                                                                    e Guarantee Benefit Program will become available
  Initial '1'lingering Event: Bunefiis underlhe U.S. Severanc
                                                            a definitiv e ngreeme  nt (a "Definiti ve Agreeme nt"), on or before
  fill(jtble amplovces only If tlie Company enters     inin
                                                                                                                  Is not entered
                                                          Control of the Company, If a Rellnillve Agreement
  November 1,2015, thai will result in a Change of                                                                               m
                hefore thai date, lire U.S. Severanc e  Guarant   ee Benefit Progriim described In the letter and this Addendu
  Into on or
                               unless   expressty extended    by the  Compan  y's Board of Directors,
  will automatically expire,
                                                                                                            the U,S,
                                                         occurs that makes available to eligible employees
  Benefits Conditions: After an Initial Triggering Event                                               and COBRA
                                                    nts will then be entitled to receive cash payments
  Severance Guarantee Benefit Program, participa
  benefits If, but only If;

        A.       A Change of Control actually occurs; and                                                               18
                                                                  by the Compa ny (or Its successor) at any time within
        6.       Their employment Is terminated without "Cause"
                                                                       ent.
                 months of the execution date of the Definitive Agreem

                                                              Program, the definition of 'Change of Control" and
        For purposes of this U.S. Severance Quarantee Benefit                                                        e
                                                   in the Compan y's Senior Executive Change of Control and Severanc
        "Cause" will he the same as that contained
         Plan.
                                                                                                               entitled
                                                         ns described above have been satisfied, and you are
  Severance Guarantee Benefits: If the Benefits Conditio
                                  underth  e U.S. Severan ce Guarant ee Program , you will receive the benefits as
  to Severance Guarantee Benefits
                                                       to you dated July 9,2015.
  described In the Severance Guarantee letter provided

                                                                   ent is terminated at any time before orafter an Initial
   Terminations Not Subject to Program: If your employm                                                                            you
                                 red :is a reMill of voiir volimlm   v '(.•limitation, death, disability or termination for Cause,
   rnEgerlng Event lias occiu
                                                   co fiuarantee   Benefits.   As  discusse d above,  the U.S. Severance Guarantee
   will not be eligible to receive any Severan
                                                                                                                      there is both a
                                                            no benolits are available under this Program unless
   Program is a "double trigger* plon, meaning thai
                                                            ent Is terminat   ed without   Causa,
   (.luinije of Confr ol ihat occurs and your employm
                                                                                                                    executing a
                                                         Severance Guarantee Oenelils will be subject to your
   fleleasc of Chilms (Iho "Reloase"): Receipt nf any
                                              form reasonab   ly acceptab  le to the Compan y or Its suaessor (the "Helease"), If
   separation and release aRreernen! In    a
                                                                                                                     any portion
                                                               the right to any Severance Guarantee Benefits. II
   you do not timely provide the Release, you will forfeit                                                       , that portion
           Severan ce Gitarant ee Oenefits is  schedule d tn be paiti prior to the date the Release Is effective
   of the                                                                                                           date.
                                                            ratively practicable following the Release effective
   will, Instead, accrue and be paid as soon as administ
                                                                                                         not limited to
                                                  eligible for statutory severance benefits, such as but
   Coordination of Benefits; If you are or become                                                        e Benefits, but
                                                    those statutory benefits orthe Severance Guarante
   WARN notice pay, you will receive the greater of
   net both (and wltliout duplicat ion).




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                                                                                  soon ai idmlnlstrttivGly prndlcable »
      Pnymcnts; All Severance Guarsmcc Benefit pavments will be made «s
                                                                                    followlni the date of terralrialion, and will be
     determined by the Company, but In no case more than ninety (90) days
              to all applicable IDX wltlilioldlriH s and otliKr payroll dedudlons. The Severance Guaramti! Benefit psymnrts
     subject
                                                                                     and any ambiguities herein shall be
     .ire intended to be exempt from application of fiertlon 405A of the Code,
     Interpreted accordingly,

                                                                                      abllnatlons under the Program. For all purpmcs
      Additional Matters. Any successor to the Company will ar.sume Ihe
                                                                                     to the Company's business and/or assets which
     under the ProgrBm, the term "Company'' wlH include any successor
                                                                                       otherwise. The Company will withhold from any
     becomes bound by the terms of the Program by operation of law, or
                 benefits all federal, state,  local and   other  taxes rcnulrcd    to be withheld therefrom and any other required
     severance
                                                                                        by the Company. Any decision made or other
     payroll deductions. The Program will be administered and interpreted
                                                                                         to the Program, and any interpretation by the
    action taken by the Company prior to a Change of Control with respect
                                                                                        Program, or any related document, will be
     Company prior to a Change of Control of any term or conrlltion of Ihe
                                                                                              deference allowed by law. Following a
     conclusive and binding on all persons and be given the rnnxlinum possible
                                                 or other   action  taken hy  the  Company,       and any interpretation by the Company
    Change of Control, any ilccislon made
                                                                                         (I) does not affect the bpneflts payable tintler
     nf any term or cuiiditlOn of the I'rogiam, or any rnlated document tliiil
                                                                                         and capricious or (II) doss affect the benefits
     the Program shall not be subject to review unless found to be arbitrary
                     the Program   shall not    be subject   to review  unless   found   In   be unreasonable or not lo have been made
     payable tinder
                                           In its sole  discretion  and  on such   inrms    and   conditions as it may provide, delejatt
    in good faith. The Company may.
                                                                                     of its authority or responsibility with icspect to
     in writing lo one or more officers of the Company all or any portion
                                                                                    lermlnation or any oilier action thatcuuld
    the Program; provided, however, that any Program amendment or
                                                                                           must be approved by the Company's Board
    reasonably Do exppcted to Increase significantly the cusl of the Program
                         Compensail    on Committee       of the; Gompany'v    Donrd    of  Directors. The provisions of ihe Program will
    of Dircttors or the
                                         enforced    in accordance    wiih  Iht: mlo-nai     substantive laws of the State of California
    be construed, administered and
    (with the exception of its conflict of laws provisions),




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                     EXHIBIT B to
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                                                    STRICTLY PERSONAL AND CONFIDENTIAL


      Janusry 14, 5D16




      Dear

      \A/e iL -cognire ihat thtie connnues to tic significant ipeculalion regardnu! the uLqililtlon o( thl- corrpany ind urdtrslsnd
      thai (his can lie dlstrncting anil unscstllng As a rcsull, we believe It is Imporiam to remind you ol Uiu Imfielm lor which
      you may be eligible In thd event that your emnloyment Is Inuoluntarllv icfmlnritr d without Cause m cunnectlnr w 1)12
      Change of Cnntral at (he company, includlnf. an bcqulsltlon by Dialog or Microchip

     In July 2015, wa provided you a letter (the 'July Severance Benefits Letler") describing the U.S. Severance Guarantee
     Banefits for which you arc eligible. This J S Severance Gunr.mttre Program conlinuei to remain In place. In addition, in
     Septcmbm ^015, we Informed you that the compnny's Compensation Committee approved acceleration of unvested non-
     performnnco resliMird stock units ("RSUs'') for oui u.S based Director-level employees under certain conditions. Under
     thai program you wili bi: ellgiblr for lOUK accalerallor of your unvested ASUsIf there is a Change of Control and your
     en-.ploymeiit ii. involuntarily tpimlnated without Cause during the period beginning three (3| months prior to the Change of
     Control and ending iweive (12) months following the Change of Control

     The benefits under the U.S. Severance Guarantee Program and the U.S Director-level equity acceleration programs are
     (ubjsct to the terms and conditions of esch as approved by the company's Compensallon Comrnitiae. To recelvethese
     benefits you will be required to signs form of separation and release agreement reasonably ac';cpi.ihle to the company (or
     Its successor). Capltalijed terms that are not defined In this letter shall have the meanings set forth in the Jul/Severance
     Benefits Letter.

    Nothing In this letter or the July Severance Benefits Letter U Intended to. or shall, contradict, modify or alter the terms of
    your at-will employment, other than the provision by the company (or Its succeiSor)of the benefits prnvided by this letter
    and the July Severance Benefits Letter. You shall remain an at-will employes for all purposes, meaning that you crthe
    company (or Its successor) may terminate your employment at anytime for any reiscn or fono reason, with or without
    cause, snd with or without notice.

    Andy, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel. And, thank
    you for your continued focus during these unusual times.

    Sincerely,



    SUz»nnc2eumaras
    Senior Vice President, Global Human Resources




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                     EXHIBIT C to A-5




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                                                                   Friday, April 8,2016 at 12:19:18 PM Pacific Daylight Ttma

       Subject; Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
       Date;     Wednesday, February 3,2016 at 5:57:34 PM Pacific Standard Time
       From;     Human Resources

      Dear Atmel Employees,

      I am pleased to announce that today we posted our first set of Frequently Asked questions (FAQs) related to
      the Atmei/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at
      httD://connect.atmel,com/lndcx.html and are focused on answering questions related to compensation and
      benefits.

      As we have additional biformatfon, we will provide further updates and FAQs.

      Warm regards,

     Suzy
     Suzanne zoutnnras j Senior Vice President, Global Human Resources
     Oi 408.467.2604 | M; 858.354,4877
     surv.ioumarasditatniel.entn | wwiv.atmel.cofn




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      Atmel
                             FREQUENTLY ASKED QUESTIONS
                                 Microchip Transaction:
                 Effect on Compensation and Benefits for U.S. Employees

                                                       arrangements with Atmel after the dosftis?
        What happens to my emplovment and compensatory
                                                                  ent and compensatory contracts {Including
        Microchip has agreed to honor each of your employm
                                             employm   ent continua  tion, severance. Incentive and change In
        retention awards and employment,
                                                             that are In effect Immediately prior to the dosing
        control agreements) with Atmel, or its subsidiaries,
        of the transaction.
                                                                the transaction closes?
        How will my compensation and benefits be affected after
                                                               or base wages through December 31, 2015, In
        Microchip has agreed not to reduce your base sftlary
                                                              p compensation and benefits package for 2016
        addition, Microchip has promised that yout afigreeai
                                                              of your pre-doslng compensation and benefits
        Will be comparable in value to the aperegale value
                               value attribute d to any pension plans or employee slock purchase plans.
        package, excluding the
                                                                     the transaction?
        Will I participate In the same Atmel benefit plans fallowing
                                                                 of the transaction Atmel's benefits will be
        We anticipate that sometime following the closing
                                  lp'sbene fltplans. The timing of this transition Is yet to be determined. Upon
        transitioned onto Mlcroch
                                                  plan$i you will  be Immediately eligible to participate in all
        the transition to the Microchip benefits
                                                            ents of the Microchip plans. We will work with
        Microchip plans subject to the eligibility requirem
                                                                   p plans in the near term.
        Microchip to provide you Information about the Microchi
                                                                 benefits plans?
        Will I receive sen/Icecredit for purposes of Microchip's
                                                              service credit that Atmel recognizes for you as of
        Microchip has agreed to provide you with the same
                                                             Microchip), for purposes of eligibility, vesting, and
        the closing (as If you had provided such services to
                                                               ble to Atmel plans (e.g., health Insurance plans,
        level of benefits In Microchip plans that are compara
        paid time off].
                                                             transaction doses?
        •What will happen to my Atmel equity awvds after the
                                                            Microchip will assume each continuing employee's
        RSUt & PfiSUs. At the closing of the transaction,
                 standing  and  unvested   awards  of restricted   stock units (RSUs) and performance-based
        then-Out
                               (PRSUs), and  convert those   awards   into awards for Microchip common stock
        restricted stock units
                                     determin  ed under  tlie definitive  agreement. The converted awards will
        with an equivalent value as
                                                      ircludlng  any   rights you may have to accelerated vesting
        retain the samernatcnal terms (e.g., vesting,
                                                              agreement or Atmel's stock plan) as your Atmel
        under the terms of your award, your employment
                                                               any vested awards of RSUs and PRSUs (Including
        award. In ndditlon, at the dosing of the transaction,
                                on the closing of the transacti on) for which shares have not yet been Issued,
        any portion that vests
                                            to applicab le withhold  ing taxes, and converted Into the right to
        will be settled In shares, subject
                                                                  after the dosing Just like any other Atmel
        receive the merger consideration for those shares
        stockholder.

                                                                 you hold will accelerate nnd hecmne vfileo and
        Stock Potions. All unvested Atmel stock options that
                  le In full immedia tely prior to the  closing, subject to yout continued service through the
        exercisab
                                                             as we get closer to the closing date on how you may
        closing. We will provide more Information to you
                                                      for this accelerated vesting In cormettion with the closing.
        exercise your stock options that are eligible


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         >ltmeL
           If you do not exercise your stock options prist to the dosing, Atmel will automatically "net exercise"
           your stock options, which means that the exercise price and applicable withholding taxes will be paid
           by withholding the impropriate amount of shares otherwise Issuable to you on the exercise of your
           stock options. You will receive merger consideration for the shares you .are issued for your options
           after the closing just like any other Atmel stockholder.

           Pi/rchase Rlahls under ihc Employee Slock Purchase Plan (ESPP1 Atmel expects to continue the ESPP
           until Just before dosing. For any offering period under ihfi ESPP that would otherwise be In effect at
           the dosing of the transaction, Atmel will shorten the offering period so that purchases will be made
           on the 10th business day prior to Mtch closing. All shares of Atmel stock purchased on that purchase
           date will not be released until the closing and will be treated like all other outstanding shares at the
           closing. The tSPP will terminate linmBrliateiy prior to the closing.

           How much will I recelva for my shares of Atmel stock?

          Microchip has agreed to pay, for each share of Atmel common stock, a combination of S7.00 In cash,
          plus a fraction of a share of Microchip common stock havmii a value of approximately $1.15; provided
          however that Microchip will make a cash payment In lieu ol issuing a fractional share of Its common
          stock. For more Information, please see our filing on Form H-K from January 19,2016 at;

          hilo:y/ww^.scc.gov/Atchlvi».s/edKar/daia/87;aag/000ir.71049160l084i/il60017B Hk htm

          When Is the transaction expected to close?

          We expect the transaction to close during the second calendar quarter of 2016, subject to customary
          closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
          Microchip will continue to operate as Independent companies.

          Will there be salary adjustments in 2016?

          Atmel agreed not to increase salary for any employees before July 1, 2016. We expect Microchip to
          review compensation arrangements, Including salary levels, during the Integration process.

          Who should f contact If t have questions about the transaction?

          If you have any questions, please contact Atmel'sHR department.




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                                                                  Additional Information

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        Proxy Statement/Prospectus
                                                                      of Atmel's website at wwiv.stmei.com.
        proposed mergei in the"Invettoft" section
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        lunidlctlun This communicj^on
                                                    SEC In connection with the proposed merger.
        that Aimel or Microchip may file with tec
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        Att'ir'l. Miurrjclilli.mo thfeir 'espemw Uuuitvi                                                                                   nt In
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        sciliiitatioi) of t"nxiii'.
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        Infumiiitron rtit..Hil Mlrrti'lilpS cli'^fto'                                                                                       and
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        be Included in the Proxy Slatemenl/Piosp
        SEC.
                                                                                 -looking statements
                                        Cautionary Statements Related to Forward
                                                                                                       to Atmel and Microchip,
                                                          "forward-locikinistatements" in relation
        This communication contains, or may contain,
                                        and their potentia   l effects on  Atmel;  Microchip and the combined company that
        as well as other future events                                                                " "continue," "believes,"
                                                  Generally, the words "will," "may," "should,
        are sublect to risks and uncertainties.
                                                                         ,1' "anticipates" or similar expiessions or negatives
                                                es,"  ''alms,"  "intends
        "targets," "plans," "expects," "estimat
                                                                                                  statements relating to (l)the
                                                    nts. Forward-looking statements Include
        thereof identify fonvard-looklng stateme
                                                   financia  l and  operatin  g results of the combinec company, MicrocHp's
        benefits of the merger, Including future


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          or Atmel's plans, objectives, EKpectations and intentions,
                                                                                 and tKe expected timing of completon of the
                                             developme  nts  in  prodjet portfolio, expected revenues, QKpected opetarlng costs
          tiansaction; (2) expected
                                                                                      wins and Increase In market share, expected
          savings, e«pectea future cash geneiaticn, expacted future design
                                                                                 of new technologies, the expectation of volume
          inccrporation of products in those of customers, adoption
                                                                                industry snd the ability to take advantage of those
          shipments of products, opportunities In the semiconductor
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                                                                                 expansion and growth of Microchip's or Atmel's
          te.lirls jt the oi.iiuserne'it of M oochip and Ai'flek (3) the
                                                                                    other synergies of the proposed merger, the
          opc-rdKom; Ml 'be expeited LOM, evsnoe tPchnoiagy and
                                   f the propo.sed msrgei fti customers and pnd-useis, the; combined company's
                                                                                                                      future capital
          cxpectea    Impact      o
                        es,    expenses,   revenues,   earnings,  economic   performanc   e, financial condition, losses and fcturs
          expenditur
                                                                                expansion and growth of the combined company's
          prospectsj fS) business and management stiategies and the
                                 (6) the anticipated timings  of the Atmel stockholde  rs' meeting and completion of the proposed
          operations; and
          merger,
                                                                          r.utrent beliefs and expectations of the management of
          ilioji: InrwiiKl-KiokiMg sr;iteirit?i»l*. rfit I'jwd uoon the
                                        ann   unreiliil'iile s Ibol LOIIIU   cause actual results to differ materially from those
          Almpl imd invo.vs mks
                                                                            these rlski and uncert»lntie$ relsti to faclorj thtl are
          "Kprcstrtl i« tlic (ofwurd-k'ioirlng (tatc/ncnls. Many ol
                                                                               Those factors include (11 the otiUbms of any legal
          i.eyond Atmel's ability to control or cstlmnto prccscty.
                                                                             dlieclori related to the dttcusslorvj with Microchip, (he
          iiroc<i(flii(i that could be mvntulcd againsl Atmel or Us
                                                                          unsolicited propoHl; (2) (he occurrence of any evont.
          merger r-igieemenit with Dialog :>r Micoditp or any
                                                                              termination of the merger agreement with Microchip;
          change or olhei clicumsunccs :hst r.nuld gn-c rue tr>ilie
                                                                          approvals of the pioposcd merger between Atmel and
          (3) the soillly to obtain govcrnwontal and regulatory
                                                                              between Atmel and Microchip does not close when
          Microchip; (4) the possibility that (he proposed merger
                                                                                     govern mental and regulatoiy approval, may be
          expcctod or at ail. or that (he pnrllcs. In order to »ehlpve
                                                                         oi to accept conditions that could adversely affect the
          required to modily usper.ls of the proposed merger
                                                                                        tnefger; (5] the possibility that other competing
          combined company or the expected benefit! ol the proprsm
                                                                                to realise the expected synergies or savings from the
          (jflets oi acquisillon ptripasdli will be msrliv (fi) the AIMIIIV
                                                                         einiclpated: (7) the potential harm to customer, supplier,
          proposed merger in the amounts or in the timeframe
                                                                                    ent orclosing of the proposed merger; (8) the ability
          employee and other relationships caused by ihe announcem
                                                                           In a tirneiy and cost-efficient manner; (9) the combined
          to Intcgiatc Atmel's businesses into that o( Microchip
                                                                                             the respective technologies of Atmel and
          company's ability to develop and market oroducts containing
                                                                            the combined company's ability to protect intellectual
          Microchip in a timely and cosi-cifecllve manner; (101
                                                                                      litigation in which the combined company maybe
          ptopi-rty uglits, (11) litigation (Int'udmu .nielhM ml property
                                                                                                                        the mobile device
          mwolvod oi MI witirn • ustomeis             il'f combined lumpany may be involved, especially in
                                                                         nrocedlngs; (12) dependence on key pcrionnel; U3) the
          seitpil, and the pnsslblc unl.ivnraWe results ol legal
                                                                                  and resrructurlns activities. Including In connection
          inritiihtv to -cnlut "w nntlr i|iatnd benefits of acaulsitlnns
                                                                               manner or at all; (!•() the development of the marketi
          with tlic prti.vosr-d viorcor. nr mhei Initiatives m a tmieiy
                                                                                 lo Microchip's ability to successfully Implement its
          'oi Atmel's and Mir mi tup t products, 115) iislii 'elated
                                                                             prolltabllity of businesses acquired by Microchip, and
          acquisitions stiategy; (IA) uncerumily as 'II (he future
                                                                         any accretion from any utbei ncquisitlon iransactions by
          delays in (he icalliaiinn ol. oi (he falluie tc icaluc,
                                                                              liii»nci.il projections; (13) dlsruolionjln ihe availability
          Microchip; (JV) the intiori-ni uncei tainty a.v<.nclJted with
                                                                                    al lay^i and regulations by t' e comtiinrd company
                                                                                                                    -
          of law inateiials. (19) compliatif wKli U.S. jnil ineinilion
                                                                                              common stock (If the merger is completed);
          .H.U Its dlstnlmturs. (10) the market price and volatility of Microchip
                                                                             (?.2| an economic downturn In the semiconductor and
          (Jl) the cyclical Iiatnrc of ihe jcnucondiirtoi mtluitry,
                                                                                       v/ltnih the semiconductor Industry; (24) general
          tKlmnnmunlCiitinn; markets, (23) lonsoiiHallnn nrcurring
                                                                             -fmBriclBl market conditions; (26) business Inteiruptlons,
          Klcihiil nioCioeconomn and lieo-polilu ,il condliions,! ?•;)
                                                                           Mild uncertainties. Including those detailed from time to
          natural diSESters or terrorist acts, and !71 oliio' i'isl:s
                                                                          other filings with the SEC or other regulatory authorities,
          time i" Mlr.iochlp'f and AtmiTi pcnodlt rcpoits and
                                                                         fiscal year ended December 31,2014 and Quarterly Report
          inclndirif; Atmel's Annum(ti'puit cm fomi lO.K Inr the
                                                                                  3D, 2C1S (whether under the caption Risk Factors Or
          on form JO-O lor the quorterlv period ended icptember
                                                                                                                                 fiscal year
           l o'w.-ro i.uoking Slatpments or L-isevihere)
                                                                and Microchip's Annual Report on Form 10-1: foi the
                                                                                                          amended on )uiie 8, 2015 and
          ended March St.              whicli was tiled with the SEC on May 27, 201S and
                                                                              ended September 30, 2015 (v.'hethcr under the capllon
          Uuailcrly ftcpnii on r-O'in 10-l'l for the Qu|r(ei'lv perlnd
                                                                                  .
          Ulsc far.tois or for wai ri looking Statc-ments oi eljuvhere]
                                                                       such forward-looking statements will prove to be
          Neither Atmei nor Microchip can give any assurance that
                   The reader is cautioned no: to place undue re iance on these forward-looking statements, which speak
          correct,


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         only as of the dite of this innouiKenwiit NtUh*r A{mel nor Microchip nor any other
                                                                                               person undartskes any
                                                                                                   whether as a result
         obligation to upd»te or rcvlie puMcly anyofthc forward-looKlng statements set out herein,
         of new Informittori, futan evtntj or othkrwlM, except 10 the extent letf Hy required.
                                                               V. •/.




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                                                                                       ConfMinUil "*Molfar Dumbutlon




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       TO:            Donna Castillo

       DATE:          April 6, 2016

       FROM:          Atme], LLC,

       RE;            Severance Agreement and Release


                                                                                                              6. 2016
                                                      employment I'rom Aime). LLC. effcciive April
       In couneciion will) the icnTiir.aiion of your                            ge  on  l)u-  terms  set forth in this
                                                      you  a severa  nce  packa
       (ilu: " l ermination Dan:''), wc are offering                                       to you. If you decide to
                                                       tc) you accept it is entirely up
       document. Tltis offer is voluntary and vNlicif                           be cmuri  ng   into a lecaMy-hindiny
                                                of this  docum  ent, you   will
       accept this offer by signing at the end                            tes, parent corpo  ration  mid subsidiaries
                                                          and its affilia
       contract (the "Agreement") with Atmel. U.C..
                                                     stntcd bdnw.
       (collectively the "Company"), on the terms
                                            Atmel. LLC Coimnitrocnts to Yon

                                                                                                            total of
                                                         ment, Atmel, LLC. will pay you a lump sum
       • In consideration for entering into this Agree                       weeks of your current base pay.
                                e"), which   is appro ximat  ely equal to 6
         S16,96J .54 ("Severanc
                                                                                                          Effective
                                                        lump sum within 30 business days after the
       • The Severance will be paid to you in one                        withh   oldings, including any advanced
                                  less all legall y-requ ired taxes  and
         Date of this Agreement,
         PTO pay.
                                                                                                         salmy mid
                                                     ccinem, you will be paid all eurnud but unpaid
       • Ucgardic-KS of whether you sign litis Agi                       Date.     You   will  receive informaiion
                                                 jh  She  Term!  nation
         accrued but unused vacation throuj                                                                      this
                                                            contiiuuitioi) under CODRA. Kothinji in
          regarding your rights to health insurance                            lights to vested benefits under the
                                      COBI    lA  rights  you  have or  your
          Agreement will impair any
          icmis of Company benefit plans.
                                                                                                             Human
                                                      by potential future employers to AttneJ, LLC.
       • Provided that you direct any inquiries                              s to  provid e only  your last position
                                                  shall  use its best effort
          Resources department, Atmel, LLC.
          and dates of employment,

                                            Your CommitmcnK to the Com nam

                                                                                                                  yees,
                                                          its current and fonm-i officers, directors, emplo
       •     You agree lo release the Company and                                       rs, trustees, divisions, and
                                         licnef il plans,   admii iislrat ars.   insure
             shareholders, affiliates,                                                                          limited
                                                             corporations :md assigns (including, but not
             subsidiaries, and predecessor and successor                           never  to assert any and all action s,
                                                                ) and promi    se
             to, Atmel, I.LC.) (collectively, the "Releasees"




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                                                                                    s of every kind based on any
                                               Biions. tlamajjus. losses and claim
           causes of action, grievances, oblig                                inclu ding, bui not liiiiiied to. any
                                                 you sign this  Agre  emen t,
           act, oinisslon, evcnl up lu (hu date                                           n of your employmeni
                                                  your cmploymcnl and'or tciminuiio
           claims relaiHig 10 or arising out of                                             for all claims of any
                                                   release Ihc Releasees from liability
         with Aimcl, 11 C". In particular, you                                                                    them or not. This
                                            hnvc    ai this lime, whether you know about
         nature ibat you ever had or may                                           s unde    r feder     al   or   slate law. such as
                                                     limited to.     aii\  claim
         release specirically includes, but is not                                       imina    tinn       in    hmplnyment Act
                                                   of IOMf die Aye Discr
          fitle VII of the Civil Rights Act                               well   as  any     contr   act     claim or other claim
                                                    ilities    Act,  as
         {"ADF.A"), the Amciicans with Disab                                                             release of claims. You
                                                the fullest extern the law permits a
         under statutory or common law, to                                     raph    is  on   behal      f of yourself and your
                                                 claim    s  in  this  parag
         agree thai the waiver and release of                             ssors   and    assig   ns,   and      nil such persons arc
                                                  executors, succe
         heirs, administrators, representatives,                                                   in   this    sectio   n shall be and
                                                    agree that the release set forth
         bound by this waiver and release. Yon                         ral   relea se   as   to   the    marte     rs   released. This
                                                  complete       gene
         remain in effect in all respects ns a                                                          t, This release docs not
                                                ations Incurred under this Agreemen
         release does not extend !o any nhlig                                  inclu  ding,    but     not    limited to, your rigln
                                                   as   a  mnttc  r of  law.
         release claims that cannot be released                        e   by   the     kqua   l    Empl      oyme     ni Oppoituniiy
                                                       in a charg
         to file a charge with or participate                                             body     or   govo     rnme    ni agency ilmt
                                                    or federal administraiive
         Commission, or nny other local, state,                            empl   oyme     nt,   again      st   the Company {with
                                                  r laws      relate d  to
         is authorized to enforce or administe                                                                  right to recovei any
                                                    or participation does not give you Ihe
         the understanding thai any such filing                             relea se    of   claim    s herein bars you from
                                                   pany     and     your
          monetary damages against the Com                                                                        extend to any right
                                                    the Compan)), This release docs not
         recovering such monetary relief from                                                   comp       ensat    ion benefits. You
                                                    ensation benefits or workers"
          you may have to unemployment comp                                    fer  of  any    claim       or   other    matter waived
                                                  .'tssignmen     t or  trans
         acknowledge that you have made no
          or released by this Agreement.
                                                                                                              on 1542 of the Civil
                                                     s a waiver of all rights under Secti
       •   You agree that this release constitute
                                                    reads:
          Code of the Slate of California, which
                                                                                                                     CH THE
                                                         \UI KXI END TO CLAIMS WHI
               A liKNKRAl RHl.RASh DOES                                     J   TO      PXIS   'l    IX     HIS      OR HER
               C REDITOR DOES NOT KNO
                                                   W UK SUSPLC
                                         01-   FXE    CLU      Nt.   THE     RELE    ASE. WHK HIT KNOWN
               1AV0H AI THE IIME                                                                                      OR HER
                                                       E MATERIALLY ATFbCTED HIS
               BV HIM OR HER MUSI HAV
                                                            .
               SETTLEMENT WITH THE DEBTOR
                                                                                                             under ADIiA. and thai
                                                 ing and releasing rights you ma> have
       • You acknowledge chat you ere wm\                                      and    the   Comp      any      agree thai this waiver
                                                 and voluntary. You
           this waiver and release is knowing                                                                    the ADI.A after the
                                                  rights or claims that may arise under
          and release does not apply to any                                 that  the   consi   derat     ion   given     for ibis waiver
                                                 You acknowle        dge
           Effective Date of this Agreement.                                                    were        nlread    y   entitl ed. You
                                                    ing of value lo which you
           and release is in addition to anyth                                  writi ng   that;    (al    you     should consult with
                                                 been advis      ed  by   this
           acknowledge further that you have                                                                             within which to
                                                        emenl; (b) you have Ibny-ftvc (45) days
           an attorney prior to executing this Agre                       A.  B  and    C   herein    ,  you hnvc hocn advised in
                                                 forth    in  Exhi  bits
           consider this Agreement; (c) as sci                                                               ed by ihc reduction in
                                                    , unit, or group of individuals cover
           writing by tire Company of the class                                                      job      titles and ages of all
                                                        reduction in force, and the
           force, Ihc eligibility factors foi the                          have   seven     C7)df    lys    follow     ing the execution
                                                 selected;      (d)  you
           individuals who were and were not                                               l shall      not    be   effec  tive until after
                                                      ement; le) this Agreemen
           of this Agreement to revoke this Agre
                                                                          2




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                                                                                                                         des you
                                                           npihinji in ibis Ajjreeniom prevents or preclu
           ihc rc vocal um period has expired; an J (f)                                    validi i)  of this waiver under ihc
                                                   iinaiio n  in good     fuilh of   the
           from challenging or seckiny a dctem                                                                        so. unless
                                                              precedent, penalties, or cosis lor doing
           ADhA, nor docs ii impuse any condition                                                       lhai changes, whether
                                               l law.  You     imO   ihc    Atmc  l.  I.f  C.  ayrce
           spBL'iiicallv mahorized !•.> federa
                                                                 g of ihc 45-ddy period.
           imitcnnl or immnioriul. df not rcstari (he runnin
                                                                                                                           panics
                                                             irrcvociiblc «.<:) the c-iylnh 'S' ) day alter both
                                                                                                     11
       *   This Agreemotii will become el'ietiive and                                     Agree   mem     and  return s it  to the
                                                           event you       sign   this
           execute it (the "Effective Date''). In the                                     above  , you hereby ackiiowledgc
                                             five   (45) day     period    identi lied
           Company in less ihan the tbrty-                                                                                    this
                                                                die full lime period allotted lor considering
           thai you have voluntarily chosen to waive                                           be accom    ptishe d  b> a  wriiic n
                                                                 that revocation must
           Agreement. You acknowledge and understand                                       is rcceivL  -d prior to  the Effective
                                                                Atmc   l.  U.C..   that
           notification so Geii Shaw. Human Resources,
           Date,
                                                                                                     personal
                                                       ssion of an) Annel propeiiy. including
       *    I n ihe extent Impicycc is in the posse                  rs cellul ar phone s. Aimel credit cards,
                                                    scanners, copie
           computers (I'Cs), laptops, fax machines                              rate materials on all media.
                                         corres ponde nce  ami relate d  corpo
           and any Aimel documents,                                                                  addition,
                                                       l on ci before die Terminaiion Dale hi
           Employee will return all property to Aime
                                                     any data intact.
           computers nuisi be returned wiih all Comp
                                                                                                                ment,
                                                          ihan the consideration set forth in this Agree
       *   You acknowledge and represent that, oilier                       es,   accrue d vacati on/pai d lime   off.
                                                             wages, bonus
           the Company has paid or provided all saiary                        st,  severa nce, ouiplacemem costs,
                                                  , reloca tion costs, intere
           premiums, leaves, housing allowances                                                             al) other
                                                      s, stuck stock options, vesting, and any and
           lees, reimbursable expenses, commission
           benefitsi anc coinpcnsatitm due to you
                                                                           geinents
                                     Ccncral tindcrsfndiiigs and Acknowlcd
                                                                                                                   idcntial
                                                          ve and abide by the ternuv ui the [Cnm
       •   You hereby rcuffinn and agree to obser                                    ation  Agree  ment  ")  between you
                                                           "Prop  rietar y Inform
           Infonnation and Invention Assiunmcnl] (the                                                             re of ilto
                                                        the provisions therein teynrditiy nondisdosu
           and Atmcl. I LC.. specifically inchidin(i                                   ation.   You irpiesem that you
                                                 cntial  and   propr ietary  inform
           < ompany's trade secrets and itonfid                                                             developed m-
                                                      ileitis provided to u«ii by the Company,
           have returned all documents and other                             ( IK - Comp  any,  or otherw   ise behmj'ino
                                                      employment with
           obiained by you in conncciioii with your
           10 the Company,
                                                                                                                      any's
                                                             ation Agreement states your and ihe Comp
       »   This Agreement and the Proprietary Inform                               Agree ment   and  your rights and the
                                                the subjec   t matte  r of this
           complete understandings regarding                                                                         Annel
                                                           to, or arising out of. your cinplo\ment with
           Company's obligations relating in any way                                 unless it is written and sitmcd bv
                                        on of this Agree   ment   will  be  %alid
            l.LC. No future modificati                                                                          is deemed
                                                          you. If any provision in this Agreement
           an executive officer of the Company and                           affeci    the cnforc  eabilii y of  ik* rest of
                                                         ble and will not
            unenforceable, it will be considered severa
            the Agreement.
                                                                                                  offer
                                                     to consider whether you want to accept the
       •   You have until 5:00 p.m. on May 23, 2016                 not need to wait until that time to
                                                   althou gh you do
           Atmcl. LLC is making in this Agreement,




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              accept this offer and oblain the Severance. To accepi ll)is offer, mi musi sign ihis Aerccment
              and deliN er n stoned copy of it U> Gcri Shaw in Human Resources bx the (hue and time staled in
               tliis bullet point, As noted above, you will not receixc the Severance until after you deliver this
              signed Aareemeni to Gcri Shaw and the seven {!) day revocation period ends and ynn have not
              revoked this Agreement,

        »   H; signing this -Vgreemem, yog will be acknowlcdginji th«i >ou have read it carefully, that it is
            written in language tliai you understand, that you have been advised to consult with an uttumcy,
            that you have been given a reasonable period of time to consider it. and that you are signing it
            knowingly and voluntarily.

        In WIWESS WHEROF, the parties have executed this Agreement on. the respective dates set forth
        below



        Date                                                     Donna Castillo




       Date                                                      Company "Witness/Title

       Internal use;

       Date received;

       7-day revocation period euds;




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                                                       EXHIBIT A

                                       DECISIONAL UNIT INFORMATION

                                                                          you in making a decision whether
       The following information is provided under federal law lo assist
                            nt and accept the severanc e benefits offered by Aunel, LLC:
       to sign this Agreeme

                                                                                         Group
               Decisional Unit The decisional unit for this reduction in force is Maioom
                                                                                         for the program. All
              Eligibility. All persons included in the Marcotn Group are eligible
                        being terminai ed in ihe reduction in force are selected for the program.
       persons who are
                                                                                     days from ihe receipt of this
       3.       How Long to Decide. You will have up 10 fony-five (45)
                                         whether    to sign  this Agreeme   nt and return   it to the Company. The
       Agreement in which to decide
                                                                    m  will expire on   the date stated on page 3 of
       offer of severance benefits contained in this Agieeme
                    nt.  Please note  that once   you  have, signed  this Agreeme  nt, you will have ses-cn f7) days
       the Acreeme
                                                                                   nt.
       t(i revoke your signauirt' imtl aceepiftiice of the let ins oflhis Agreeme

              Selection Information.        Federal law provides certain information be given to you
                                                                                  in force and individuals who
       concerning individuals who were eligible and selected for the reduction
                                                                                ion can be found in Exhibits B
       were eligible but not selected for the reduction in farce. This informat
       and C. which follow this Exhibit A.




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                                               Data Sheet by Age
                                                    4/6/2016

                                                   EXHIBIT B
                                                                                    ction in Force and   KToi
                                             from the Decisional Unit for this Redu
       Job Tides of Individuals Nol Selected
                                           Offered Severance Benefits
                                                                                  AgeC.O
                                        Job Tltlefrl
                  Will be mailed to home address




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                                            Data Sheet by Age
                                                 4/6/2016

                                                EXHIB IT C

                                                                          this Reduction in Force and
        Job Titles of Individuals Selected from ihe Decisional Unit for
                              ce  Benefit s for Si^nina this Separai ion Afircern gm and Release
             Offered Sevetan
                                         Title                                     Age
              Will lie mailed to home address




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                       EXHIBIT E to
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            TO:            Donna Castillo

            DATE:         April 11,2016
            FROM:         Attn el Corporation

            RE;           Severance Agreement and Release




           As you know, Atmel Corporation ("Atmal") recently botame a subsidiary of Mtcrorliip Tcclinoiog/
           Incorporated ("Microchip") (the 'Merger"). Alcnel and Microchip arc rn,iking this offor, In part to resolve
           any current disagreement or inlsundcritandlng regarding seueiance benefits previously offered by Aimtl. In
           connection with the termination of your employment from Atmel effective April 6, 201G (the "Termination
           Date"), we are offering you a severance package on the terms set forth In this document. This offer is
           voluntary and whether you accept It Is vntlrcly up lo you. If you decide to accept this offer by signing at the
           end of this document, you will be entering into a legally-binding contract (the "Agrvament") with Microchip.
           Atmel, and lltelr affiliates, and subsidiaries (collectively the "Company"), on the terms stated below.




        •     In consideration for entering into this Agreement, Atmel will pay you a lump sum total of (I) SJ9.100.00
              representing, a lump sum cash payment In cash equal to 0.20 times the your esse Pay, and (II) S ],972.60
              representing, a lump sum payment In cash equal to 50% ol the your WIS Bonus, prorated to the date of
              the your Involuntary Termination.

        •     In addition, If you timely elects to continue health coverage pursuant to COBRA, the Company shall
              directly pay, the premium costs for you and your covered dependents, for up to two (2) months
              following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
              premiums pursuant to the preceding sentence, you may, if eligible, continue healthcare coverage at
              VOkir Gxpqme in accordance^with the provisions of COBRA.


        •     The benefits described In the two bullets above are the "Severance Benefits."

       •      Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
              accrued but unused vacation through the Termination Date. You will receive Information regarding your
              rights lo health Insurance continuation under COBRA. Nothing In this Agreement will Impair any COBRA
              rights you have or your rights to vested benefits under the terms of Company benefit plans.

       •     Provided that you direct any Inquiries by potential future employers to Atmel Human Resources
             department, Atmel shall use its best efforts to provide only your last position and dates of employment.

       •     The Company will not contest any claim for unemployment benefits that you may file.




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         TO:             Donna Castillo

         DATE:           April 11,2016
         FROM:           Attn el Corporation

         RE;             Severance Agreement and Release



                                                           became a subsidiary of Microchip Technology
         As you know, Atmel Corporation ("Atmel") recently                                      resolve
                                                                    and Microchip are making this offer. In part to
         Incorporated ("Microchip") (the 'Merger"). Atmel
                                                   standing   regarding    severance benefits previously offered by Atmel. In
         any current disagreement or misunder
                                                       employm    ent   from  Atmel effective April 6, 2016 (the "Termination
         connection with the termination of your
         Date"), wc are offering you a severance package on
                                                                        the terms sat forth In this document. This offer Is
                                                                      you. If you decide to accept this offEr by signing at the
         voluntary and whether you accept U Is entirely up to
                     documen   t, you  will be entering  Into a legally-bi  nding contract (the "Agreement"] with Microchip,
         end of this
                                      and   subsldlar in [collectiv ely  the "Ctimpany''), on the terms stated below.
         Atmel, and their afflllales,



                                                   comnanv Commttmenti to You



                                                                         will pay you a lump sum total of (0 $29,400.00
         •     In consideration for entering Into this Agreemsnt, Atmel
                                                                     to 0.20 times the your Bate Pay, and (II) $1,972.60
               representing, a lump sum cash payment In cash equal
                                                                   SOX of the your 201S Bonus, prorated to the date of
               representing, a lump sum payment in cash equal to
               the your  involunta ry Terminat ion.

                                                                    coverage pursuant to COBRA, the Company shall
         •     In addition, H you timely elects to continue health
                                                 for you  and your   covered dependents, for up to two (2) months
               directly pay. the premium costs
                                                                   ce with COflRA. After the Company ceases to pay
               following the Separation Date, subject to complian
                                                                     may. If eligible, continue healthcare coverage at
               premiums punuant to the preceding sentence, you
               your expense In accordance with the provisions of COBRA.

                                                                  the "Severance Benefits."
         •     The benefits described in the two buNets above are

                                                                     you will be paid all earned but unpaid salary and
         •     Regardless of whether you sign this Agreement,
                                                                    ion Oiitc. You will receive Infoimatlon regarding your
               accrued but unused vacation through the Terminat
                                                                        Nothing In this Agreement will Impair any COBRA
               rights to health Insurance continuation under COBRA.
                      you have or  your rights to vested benefits under the terms of Company bem-rit plans.
               righu

                                                                       future employsrs to Atmel Human Resources
         •     Provided that you direct any Inquiries by potential
                                                                       only your last position and dates of employment.
               department, Atmel shall use Its best efforts to provide

                                                                  yment benefits that you may file.
         »     The Company will not contest any claim for unemplo




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                                                mitggmmiiaaan sa tfit COITIMPV

                                                                                                                             and
                                                                   ries anil af/IllnU'S, am) lis anrf thuir nffcors, agcfits
         •   Vou afiree to release the Company, Its subsidia
                                                         to or  arising  out  of   your  employm  ent   with any of them. This
             employees (mm any liability relating                                                                  at thi« tlmo,
                                                                of any hind that you ever had or may tiovc
             ImiluiJei a release; of any liability fnr claims
                       you know   alionl them   or  not.  This release  is as hroad as lite law allows and Includes a release
             wlicther                                                                                                  laws and
                                                                  antl-dlscrlmlnation, harassment and reialiatlon
             of claims under federal and state laws, such as
                                                under    the  Age   Discrimi  nation   In Employm   ent Art, This releBse also
             exprissly Includes any claims                                                                                 under
                                                                        and any other claims that could be asserted
             Includes a release of any tort and coutiact clilms,
                                                                common law.
             federal, State or local statutes, regulations or
                                                                                                                  of the
                                                               of ail rights under Section 1542 of the Civil Code
         •   You agree that this release of claims Is a waiver
                                               "o general rtleate  dots   not extend to  claims which the creditor dels
             State of California, which reads                                                        which If known by
                                                                         of executing the release,
             not know or suspect to exist In hit ot herfavor at the time
                                                                          nt with the debtor."
             him or her must have matcrlalty affected his or her ssttlvne
                                                                                                                  ent or Jo
                                                                up your rights to enforce any term of this Agreem
         •   In agreeing to this release, you are not giving                                                        to thfs
                      Informa tion to, or   flic a charge   with, any government agency. However, In afreslng
             provide
                                        i thai you  will not accept any monoy,   or the reinstatement of your employmant,
             release, you are agrceliif
             for any clolm you have released.



                                         amtal Underatindlmi and Admowlgileemints
                                                                                                                  ami the
                                                           y's complete understandings regarding your lights
         •   Thb Agreument states your and the Compan                                                    the Company. No
                                                        to,  or arising  out of, your employm   ent with
             Company's obligations relating In any way                                                             nHlcer
                                                             valid unless It Is wrttten and signed by an eKecutlw
             future modification of this Agriemem will be                                                       it will be
                the Compan   y and  you.   If any provisio n  hi this ARfoement Is deemed unpufoicvable,
             of
                                                                     bility of the rest of the Agreement
             considered severable and will not affect the enforcea
                                                                                                          Severance
                                                          to consider whether you want to accept the
         •   You have until 5:00 p.m, on May 27, 2016                                                       this offer
                                                          you do not need to wait until that time to accept
             Benefits by signing this Agreement, although
             and obtain the  Severan  ce Benefits .

                                                                                                                   In Human
                                                               ent and deliver a signed copy of It to Gerl Shaw
         •   To accept this oiler, you must sign this Aiircem
                                                       In the previou  s bullet point. Ai  noted betew,  you will not receive
             Resources by the date and time slated                                                                       day
                                                              tratively practicable payroll aftei the eighth fMcnrtar
             the Severance Benefits until the next adminis                                                               and
                       delivere d this signed unrevol ied AcroBm   entTo Ge»l Shaw. If you decide to accept this offer
             after you                                                                                                  mind
                                                                 you have seven (7) calendar days to change your
             you deliver a signed Agreernent to Gerl Shaw,
                                            1o revoke  this Acrnorn iint after  slgmnB  It, you must deliver a written HOIICM
             and revoke the Agreement.                                                                          nt with your
                                                             calendar days after you gave Iter the Agreeme
             of revocation to Gerl Shaw within seven (7)
             signature.

                                                                   that you have read It carefully, that It Is written
                                                                                                                       In
         •   By signing this Agreement, you are acknowledging
                                                  you  have  been  advised  to consult with an attorney, that you have
             language that Vou understand, that
                                                             are signing It knowingly and voluntarily.
             been given 45 days to consider It, and that you
                                                                      2




                                                                                    ATMEL PLAN/BERMAN000308
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                                                                                                             you an
                                                               the tfme you have been given to cpntider It,
        •   If you sign and return this document in tau than                 that you have been given to consider It
                                                              n of the tfcne
            voluntarily agreeing to waive the remaining portio
                                                            BECOME A LEGALLY ENFORCEAB LE CONTRACT.
            ONCE YOU SIGN BELOW, THIS DOCUMENT Will




                                                                 Donna Castillo
        Date




                                                                 Company Wttness/Tltie
        Date

        Intarnal use:


        Date received:

        7-day revocation period ends:




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                        EXHIBIT A-6




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                                      MOAUmaU (* KHAIHAVAK MtfA
                                                                UHmi


                                                           s;
                  \, KhuhiyarMlrfikhrael, declare as follow
                                                                                                                  ,1 and other
                                                            Senior Staff DSP Architect, in July 2015
                 In 2015,1 wr employed by Atmel as a                                          Guar   antee    Benefit Proiram",
                                                    g forth  Atme   l's "U.S.   Saver  ance
        Atmcl emp^oyeM reoilvod • letter settin                                                     severance program
                                               providing additional details about the
        along wfth an Addendum to the letter                                    ance  Plan   docu   ments that I received In July
                                                  ). A copy of    the   Sever
        (hareader collectively 'Severance Plan"                                             certa  in severance benefits If
                                               The severance Plan provided for
        2015 It attached hereto as Exhibit A.
                                                     tly terminated.
        Atmel was acquired und I was subsequen
                                                                                                                   any called Dialog
                                                            enteneri into an egreement with a comp
                 During 2015,1learned that Atmei had                                                2015   or   Janue     ry 2016, after
                                                    Atmei. in approximately December
        pursuant to which Dlolog would acquire                                     chip Techn    ology  ("Mic    rochi    p) might
                                                   Its offer and   that   Micro
        i leerned that Dialog might not Increase                                                     asked    by   the    R ft 0
                                                     of MCU Engineering (Rafi Fried] was
        become the acquirer, the Vice President                               ty  of the  sever  ance  packa     ge.     Dr.  Fried
                                                     t the ongoing validi
        engineers In his reporting structure abou                                Sen  Jose  head   quarters, i was told by
                                                    engin   eers at  Atme   l's
        subsequently held a uneeting with these                                                           the engineers that he
                                                       ing that, at the meeting, Dr. Fried told
        several engineers who attended this meet                                                          and   assured them that
                                                      n Resources about this severance issue
        had specifically spoken with Atmei Huma                                        aser.
                                                 with Microchip as the purch
        their severance package was still valid
                                                                                                                's") that had been
                                                             ed Frequently Asked Questions ("FAQ
                 In February : 016,1 read a memo entitl                                      isition  of Atmel. A copy of the
                                               ding     tht poten  tial Micro    chip  acqu
        published for Atmel nmpioyeesregar                                                                    be honoring the
                                                     s seemed to confirm that Microchip would
        FAQ's It attached as Exhibit B. The FAQ'                              , utter  the  FAQ's    oune    out I askedmy direct
                                               In early    Febru  ary  2016
        Severance Wan If It acquired Atmel.                                                                  t the Severance Plan
                                                      dent of Research and Development) abou
        supervisor Saute Myklebuste (Vice Presi                               Or. Myke   ibust  e referrad me to the FAQ's
                                                   entity   (Microchip   ).
         suying Intact under the new acquiring                                                          remain intact.
                                                 , Implying that the Severance Man would
        published by Atmel Human Resources
                                                                                                                 stood that the
                                                            iar with in San Jose believed and under
                  Ail of the Atmel employees I am famil                                                  aser    of   Atmel, and all of
                                                ite Microchip replacing Dialog es the purch
         Severance Plan remainedTniact desp                               such     assur  ances   from   their   super     iors.
                                                 uniformly received
         the employees I em familiar with had
                                                                                                                   a letter Informing
                                                             many other Atmel employees received
        .         On approximately April 6,2016/ i and                                          Indica ted    that   Microchip would
                                                     tive Immediately. Thust letters
         us that we were being terminated effec                                         9  termi  netio n   letter    I received it
                                                     . A copy of the April       6,201
         only pay 5 weeks of seiary as severance
         attached hereto as Exhibit C.
                                                                                                                    termlfletid
                                                               the other Atmel employees who were
                  On approximately April 11,2016,1 and                                           of  the  tevera    noa    benefits due
                                                    that Microchip woul        d  pay  us  50%
         received a new iettar, which Indicated                                                              ed  heret     o as Exhibit D.
                                                  the April 11,2016 letter i received is attach
         under the Severance Plan. A copy of




                                                                           1




                                                                                          ATMEL PLAN/BERMAN000311
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                                                                      received from Atmel managers In
             I relied on theSeverance Plan and the nturances I had
                                                                hip acquisition. I would have left Atmel and
      deddinf to stay employed with Atmel through the Microc
                                                         tion If I had known that Microchip was not going to
      found another job well before the Microchipacquisi
      pay ma theseverance benefi  ts under theSevera nce  Plan.


                                                                         true and correct and that this declaration
              I declare under penalty of perjury that the foregoing Is
                                                    ALTO5                     ,                     ^ ,V          .
      was executed on May^SL 2016 at         liK




                                                 KM^myar Mirfakhrfle^




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                      EXHIBIT A to




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     Atmei                                           smicnv KKSONM AND CONHDENHAL

      July 9,2015

      Khadiayar Mlrfakhnel
      R«: Swerance'Guananteff

      DearKhubayar,
                                                                                                                               that
                                                               wt value una uppreclite all you do for Atmol, We rBCogfllw
      Our amploytm w* the Uftblood of our company and                                                                      and
               ther* hu bMn   s/fnlflum   marfart  tflaculatt on rsaanilng poHJbM tmnMralcms (nvolvhii We company
      rsctntly                                                                                                                focused
                                                              unnttltng. To support our tmployaosand 10 fcttp tvsryont
      undarrtand that tuch rumors can bo dltuactlr*and
                                 we are  pleased  to  shire with  you Ihrtarm    s of a racintly approved U.S. Stverince Qujrsnta#
      on our continued success,                                                                                      havt tht
                                                           amons our •mpfoytas. Undor this projrarn, you wHI
      OtnafH program that fa Intended to ASM concerns
                                                   d  below )f your tmploym   ont   Is Involunta rtty terminated wWiout Causa after the
      oppart\intty toraoalvo bin*fits as dascrlbe
                                                             (collectively, the "Sawranca Guaranlte Bermtits") Indude;
      occurranca of e Chang* of Control. Ttiese beflsflts

                                                                                   of pay In effect on thedate the Changaof Control
           •    Carfi SMrancK 40X of base salary (baied on your bate rate
                transaction dotes); and                                                                                      of
                                                                       M)P or SIP, whichever you are tllalble forat the time
           •    Tariet Incentive: If you ar* ell^le, a prorated annunl
                                          n wHI bo based a determin ation of your  MIP or SIP at the time of termination,as
                termination; the proratio
                determined by the Company; and
                                                                      paid for fay the Company
           •    COBRA taneftai Four (4) months' of COBRA benents
                                                                                                               this letter. To
                                                             terms and oontfltlons fn the Addendum attached to
      All Sevannca Guarantee Benefits are aubjtct to the                                                                   le tothe
                  benefits, you will ba required to sign a form  of separation and release agreement reasonably acceptab
      receive any
                               r} If a tranndf an octun  (the  "Release *).
      Company (or Its successo
                                                                                                                                   than
      Notlilng (n thb letter Is Intendod to, orshall, contMdf
                                                                 ct, modify or alter the terms of your at-will emptoyment, other
                                                       r) of the  Seviranc  c Guininie  a Benefits provided by this latter. You shall
      the provision by tlieCompany (or Its successo                                                                           eysur
                                                                 that you or the Company (or Its successor) may ttrmlnat
      remain an at-will employee for all purposes, meaning
                                                              a ion, with or without causa, and whh or without notice.
      emptoymBOt atany Umefor any reason or for no re
                                                                                                             they convey our
                                                           with these Severance Guarantee BenafHt and hope
     Khashayar, we are plaBted to be able to provide you
                 and apprecia tion of your contrlbu tloiu to Atmel. Thank you for your continued contributions to our success.
     recognition

     sincerely,


     Suzanne Zoumaraa
     Senior Vice President Global Human Resources

     Attachmtnt




     Gauta MyUebust
     Saute MyMebust




                                                                                         ATMEL PLAN/BERMAN000314
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                                                          STMICTLY CONFHXhITIM.

                                                           ADDENDUM TO
                                             U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                             July 9,2015


                                                                                                                           Is effective from
                                                                                      ance Guarantee Benefit Program
                                               Bmaftt Program: Ttta U.S. Sever
     Tnrni ofth* Savvranca Ouarantaa                                                          ering Event  (as descr ibed below  ) has
                                                                                Initial Trigg
                                          on November1,2015 unless an
     July 1,2015 and wW tarmlnate                                                    ance Guarantee Benefit Program will
                                                                                                                              remain In
                                              S, In wWdi  ewnt     the U.S.  Sever
     occurred prior to Novambar 1,201
                                                           Initial Trlggarlng Event.
     effect for     (eighteen) months following that
                   IB
                                                                                                                        ge of Control Is
                                                                                l corporation as of the date a Chan
                                            U.S.-based employees of Atme
     EKglhilitv: Eligibility Is limited to
     consummated.
                                                                                                                        e available to
                                                                                   antee Benefit Program will becom
                                        fits under the U.S. Severance Guar
     Initial Trfcgarlng EVant: Bene                                             af  reem ant (s *DeflnMve Agneemenf),
                                                                                                                            on or btfore
                                               any enter s  Into a  defin itive
     eligible employees only If tha Comp                                          Comp  any.  If a Dafln Wv* ^raement U not entered
                                              In a Change of Contr    ol of tha
     Novambar t, 2015, tltat will result                                        fit Program described In tha letter
                                                                                                                        and this Addantlum
                                           U.S. Severance Guarantee Bene
     Into on or before that date, the                                              any's Soord   of Direc tors.
                                          s expmtsfy extended fay the Comp
     will automatically expire, unles
                                                                                                 eligible employees the U.S.
                                                               occurs that mekal available to
     Bueftta CondMam:        After an Initial Trigfertng Event                                        payments and COBRA
                                                                       be entitl ed to receiv e cash
                                      Program, participants will then
     Severance Guarantee Benefit
     benefits If, but only If:

                                                       s; and
           A.       A Change of Control actually occur                                           (or Its successor) at any time within
                                                                                                                                       18
                                                     without "Causal faytheCompany
           B.       Their employment Is terminated
                                                  of the Definitive Agreement.
                    months of the execution date
                                                                                                          Control* and
                                                                        am, the definition of "Change of
                                           ance Guarantee Benefit Progr
           For purposes of this U,S. Sever                                     r Execu tive Chan ge of Control and Severance
                                             contained In the Company's  Senio
           "Cause' will be the same as that
           Plan.
                                                                                                       and you are entitled
                                                                      ibed above have been satisfied,
                                     If the Benefits Conditions descr
     Severance Ouarwitae Benefit*;                                     antee Progr am, you win receiv e the benefitsas
                                 fits under the U.S. Severance
                                                                 Guar
     to Sevaranoe Guarantee Bene                                          July 9,2015.
                                     anie* letter provided to you dated
     described In the Severance Guar
                                                                                                                            an Initial
                                                                                  nated at any time before or after
                                           am: If your employment Is termi
     Termlnationi Not Subject to Progr                                    tSlgn itlon, death , disabi lity  ortefmlnetlonforCauw^yau-
                                      as a result ofyour wlurMJRyr
     Triggering Event has occurred                                              As discussed above, the U.S. Sever
                                                                                                                           ance Suarantea
                                         Severance Guarantee Benefits,
     wlll not be eligible tu receive ony                                   are available under    this  Progr   am  unles  s there Is both a
                                     plan, meaning that no benefits
     Program Is a "double trigger"                                        ated    witho  ut Cause.
                                      and your employme     nt  Is termin
     Change of Control that occurs
                                                                                                                          youretfictitlng a
                                                                                 antee Benefits will be subject to
                                            Receipt of any Severance Guar
     ROIMM of CMma (the Halata')t                                                  to the Company     or   Its succe ssor  (the Deleas*'). If
                                            In a form reaeonably acceptable
     separation and rtleaM egreement                                          to any  Sava  renn  Guarantee Benefits. If any portls
                                                                                                                                           n
                                      Release, you will forfeit   the  right
     you do not timely provide the                                               to tha  date  the Mea      se Is affect tva, Diet porUon
                                          fits la scheduled to be paid prior
     of the Severance Guarantee Bene                                                    followlngthe Release effective date.
     will, instead, accrue end be paid
                                         as soon as admlnlstnrtlvaly practicable
                                                                                                                    but net limited to
                                                     e elglWe for statu           tory severance benefits:, such as
     CoerAntf on of Benefits: If you a re or becom those statutory benefits or theSaveranee Guarantee Benefits, but
                                        the great er of
     WARN notice pay, you will recei
                                     ve
                                      n).
     not both (and without duplicatio




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         Ptyimntf: All Severanct Guarantet Benefit payments will be made as soon as adnrinbtratlvefy practicable»
         determined by the Company,but tn no case more than ninety (30] days fallowingthe date of termination, and willbe
         subject to allapplicable tax withholdings and other payrolldeductions. The Severance Guarantee Benefit payments
        am intended to beexempt from application of Section 409A ofthe Code/ and any ambiguities herein shall be
        Interpreted accordingly.

          Additional Mettan. Any successor to the Company will assumethe obligations under theProgram. Far al purposes
          under the Pragram,the term "Company"Will Include any successor to the Company's business and/or assets which .
         becomes bound by the termsof the Program by operation of law,or othetwlse. The Company will withholdfrom any
         severance benefits all federal, state, local andother taxes required to be withheld therefromend any otherrequired
         payroll deductions.The Program will be administeredand Interpreted by the Company. Any dectslon made or other
         action taken by theCompany prlor to a Change of Control with respect to the Profram,and anyInterpretation by the
         Company prior to •Change of Controlof any termorcondltlon of the Program, or any related document, willbe
        conclusive and binding on all persons and be given the maximum possible deference alloweti by law. Fallowing a
        Change of Control, any decision made or other action taken by the Company, and any Interpretation by the Company
        of anytermor condition of the Program,or any related document that (1) does not affect the benefits payable under
        the Program shellnot besubject to review unless found to be arbitrary and capricious or (11) does affect the benefits
        payable under the Program shallnot be subject to review unless found to be unreasonable or not to have been made
       In good faKh. The Company may. In Its solediscretion and onsuch terms and conditions as it may provlda, delegate
       In wrftlngto one or mora officers of the Companyall or any portion cf to authority or responsibility with respect to
       the Program; provided, however, that any Program amendment or termination or any other action that could
       reasonably be expected to Increase significantly the cost of the Program mustbe approvedby the Company's Board
      of Directors orthe Compensation Committee of the Compan/s Board of Directors. The provisions of the Program will
       be construed, administered end enforcedIn accordance withthe Internal substantive laws of the State of Cailfbrnia
      (with the exception of Its conflict of laws provisions).




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                       EXHIBIT B to
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                                                                                                                      ht   Time
                                                                    Friday, April 8,2016 at 12:19:18 PM Pacific Daylig

                                                                                        the Microchip Merge                 r
                                               ding Compensation & Benefits Relating to
     Subject: Frequently Asked auestions Regar
                                                     PM Pacific Standard Time
     Data:    Wednesday, February 3,2016 at 5:57:34
      From;      Human Resources

     Dear Atmel Employees,

                                                        first set of Frequently Aiked Questions           (FAQs) related to
     I am pleased to announce that today we posted our                                      at
                                               available on our Intranet, AtmalConnect,
     the Atmel/Mlcrochlp merger. The FAQs are                              questi ons related to compensation and
                                                  focuse d on  answe  ring
     http://conner.t.atmel.com/index.html and are
     benefits.

                                                provid         e further updates and FAQs.
     As we have additional information, wa will

     Warm regards,

     Suzy
     Suranne Zoumaras|Stmlor Vice Preslde
                                              nl, Global Human Resourcss
     O: 4D(WS7.2G04 I M: 858.354.4877
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                                 FREQUENTLY ASKED QUESTIONS
                                     Microchip Transaction:
                                                         for U.S. Employees
                   Effe  ct on Compensation and Benefits

                                            compensatory arrangement with                     Atmel after the dosing?
          What happens to my employment and
                                                                                                ory contracts (Including
                                                of your employment and compensat
         Microchip has agreed to honor each                                 on,  sever  ance,   Incen  tive and change In
                                               employmen     t conti nuati
         retention awards and employment,                             are  in effec  t Imme   diatel y prior ta the ciaslng
                                                 subsidiaries, that
         control agreements) with Atmel, or Its
         of the transaction.
                                                                                                      s?
                                                 its be affected after the transaction close
         How will my compensation and benef
                                                                                              gh December 31, 2016. In
                                               your bate salary or base wages throu
         Microchip has agreed not to reduce                                             and   benef  its package for 2016
                                                  your aggregate compensation
         addition. Microchip has promised that                    of  your   pre-cl cslng   compensation and benefits
                                              aggre  gate  value
         will be comparable In value to (he                                                          purchase plans.
                                                   to any pension plans or employee stock
         package, exdudlng the value attributed
                                                                                                 ?
                                               benefit plans following the transaction
         Will I participate In the same Atmel
                                                                                        ction Atmel's benefits will be
         We Hiuiclpate thai sometime
                                          following the dosine of the transa
                                                plans. The   timin g of this ti ansltl on is yet to be delermlned. Upon
         transitioned onto Microchip's benefit                          be  Imme   dlBlel y  eligible to participate In all
                                                 its plans, you will
         the transition to the Microchip benef                                          chip  plans. We will work with
                                                lllly requirements of the Micro
         Microchip plsns subject to the ellBib                             plans  In  the  near term.
                                                 abou  t the  Micro  chip
         Microchip to provide you information
                                                  ses of Microchip's b«n«ms plans?
          Will I recefva service credit for purpo
                                                                                              recognises for you as of
                                                 with the same service credit that Atmel
          Microchip has agreed to provide you                    Micro  chip), for purpo ses of eligibility, vesting, and
                                               such servic es to
          the closing (as if you had provided                                                  health Insurance plans,
                                                     are comparable to Atmel plans [e.g.,
          level of benefits In Microchip plans that
          paid time off).
                                                              after the transaction closes?
          4*tfi«t-will-happ   «aJmny-AtiMl jaultv awards
                                                                                                                     y#e's
                                                                        chip will assume each continuing emplo
          RSUs 8c PRSUs.   At the closing of the transaction, Micro                            ) and  performance-based
                                                    s of   restri cted  stock   units  (RSUs
          then-outstanding and unvested award                                                         chip common stock
                                                      rt those awards Into awards for Micro
          rtstrlcted stock units (PRSUs), and conve                            agree ment   .  The  conve  rted awards will
                                                   d under the definitive
          with an equivalent value as determine                        any  rights youm    iy have to aecalarated vesting
                                                 vestin g, Includ  ing
          retain the same material terms (e.g.,                                                        plan) as your Atmel
                                                   employment agreement or Atmei's stock
          under the certnt of your award, your                       any  veste d award  s  of  RSUs and  PRSUs {Indudlni
                                                 the transactio   n,
          award. In addition, at the closing of                                which  shar«  >  have  not yet been Issued,
                                                g of the transaction) for
          any portion that vests on the closin                         oldin g taxes , and converted into the right to
                                            ct to appli cable  withh
          will be settled In shares, subje                                                     )ust like any other Atmel
                                                 for those shares after the closing
          receive the merger consideration
          stockholder.
                                                                                                    become vested and
                                                   options that you hold will accelerate and
          .stock OoUons. All unvested Atmel stock                        ct to  your  contin ued   servic e through the
                                                to the dosing, subje
          exercisable in full Immediately prior                                 r to the  dosin g date on  how you may
                                              mation to you as we get close
          dosing. We will provide more Infor                           erated  vestin g In connection with the closing.
                                              eligib le for this accel
          exercise yourstock options that are

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          If you do not exorcise your slock options
                                                       pi lot To the closfng, Atmcl will .nilomaticall
                                                                                                         v "nci Rxertlie*

                                              that the  cxercl  te price  and  applic able wllhholdine tnx« will be paid
          your stock options, which means                                                            the expir.isp of your
                                                      of shafes otherwise Issuable to ynu on
          by withhoklitiB the approprliitf amount                                      , yon arc Issued for your oollniis
                                                     consideration for the      share;
          slock options. Vou will receive meigor
                                                Atmel   stockh   older.
          after the rloslng (ust like any other
                                                                                                              ue the fc'SPP
                                                         Purchase Plan tCSPPI. Atmel expects to contin
          Purchase Rlflhtt under the Emolovce Stock                                      would  otnerwise tie in etfed at
                                                      g period   under   the ESff  that
          until Just before closing, For any offerin                                                    sos v/KI bp mailc
                                                       shorten the offcrlnn pciind so that piirctis
          the closing of the transaction, Atmel will
                               ss day prior to such closing  , All shares   of Atmel stock puichased on that purehasp
          on the 10th busine                                                                                ihares at the
                                                         and will be treated like all oilier outstanding
          date will not be released until the closing                              .
                                                    diately  prior  to the rloslny
          closing. The ESPP will terminate Imme
                                                               stack?
          How much will I receive for my shares cf Atmel
                                                                                                     $7.00 In cash,
                                                        of Atmcl common stotk, a combination of
         Microchip has agreed to pay, for each share                        value of approx imately $1.15; provided
                                                 comm   on   stock having a
         plus a fraction of a share of Microchip                                                     of Its common
                                                      payment in lieu of Issuing a fratttona) share
         however that Microchip will make s cash                                  Januar y 19,20 16 #t;
                                                     our filing on Form 8 -K from
         stock. For more Information, please see
                            ovMrc  hlves /edMr /d3ta /87W    e/0Q015710a9160l0Hai/t36QO17B 8k.htm
         hllu://www.sec.«

          When Is the transaction expected to dose?
                                                                                                 t to customary
                                                    the second calendar quarter of 2016, subjec
         We expect the transaction to close during                           approv al. Until then,  Atmel and
                                                    and Atmel stockh   older
         closing conditions, regulatory approvals
                                 to opera te as Indep enden t compa nies.
         Microchip will continue

          Will there be salary adjustments In 2016?
                                                                                              expect Microchip to
                                                   any employees before July 1,2015. We
          Atmel agreed not to Increase salary for
                             n  arrang emen ts, includ ing salsry levels, during theIntegration process.
          review compensatio
                                                         the transaction?
          Who should I contact if I have questions about
                                                  ct     Atmel's HR department
          If you have any questions, please conta




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                                                           Additional Information

            Thii cOtTimunlcalton nfvay be deemec) to be solicitation maiensl in teiiwcl of the propesed meigei Involving
            Microchip and Atmel in tcnneclion with the proposed merger. Mlcrftchlp will (He wiilt ilit i) •> Secunrics and
            tvehnnfo Commission (the "5fC*) a Regislretion Statiimenl on lonn s-<l (iht "Heyhuothn Stolenicnf'l
            containing a prospectus with respect to the Microchip common stnek t j lie issued in the pioposcd mcice> and
            a proxy statement of Atmel In connection with the proposed merger (me "Pri»ij/5»iiie«ie/.|//,/oipecri(s") Each
            o( Microchip and Atmel Intends to file other documents with the SI'c reiardlnu the proposed mercer The
           daflnltlve Proxy StatemDnr/Prospectos will be mailed to stockholders ci( Atmel and will contain imponant
           inlormallon about the proposed merger and related metterj.Tlie final f'rony Stalement/l'tospeclusv/llldescilte
           tin; temu and conditions of the way In vrhich the iiroposcrt merger will be l>i\plciiienied. incluilinc oclaiK ni
           how to vote on the odoptloii nf the muiwwri inerger dgrcr incnt, Any response tu lite proposed niprgei shuwld
           be -narje only on the basil of thn hn'oinielioti in the Prnxy Statement/P'ospectus,

           Securityholders of Atmel may obtain, free of charge, copies nf thn Proxy Statament/Prospenus and RegltCratlon
           swtumcnt, and any other documants filed by Atmil and Mlrtoi lilpwlth the SEC In connection with the proposad
           merger at the SEC't website at www,sec gov. Securltvholdurs uf Atmel may obtain, free of charge, copies of the
           Proxy Statement/Prospectus and any other documents filed by Atmel with the StC in (nrmorUm with ilie
           proposed merger in the "Investors" section ot Atmcl's website at www.atmel.com.

          DEfORt MAKING AN INVESTMENT OR VOTING DECISION, WE URGE StCliRlTYHOLDERS Of ATMEl TO HEAD
          fAREFUItV THE PROXV STATEMfNT/PRObPECTUS AND ilEGISTRAtlOM STATEMENT (INCll/niNfi Mii
          AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS THAT Ml< ROCHIP nil
          /^fMEl WILL FIU- WITH THE SEC WHEN THEY BECOME AVAILABU. BcCAUSU Tlirv WILl CONTAIN IW'ORTAM
          INEDRMATION AHOUT THE PROPOSED MERGER.

          This communication does not constitute an offer to buy v> excliange. or the solicitation of an offer to sell or
          rxcharigo. any securities, nor shall there be any sale of icrurttles in any jinlsdirlicin In which such offer, sale or
          exchange would be unlawful prior to reclstratlon 01 qualification under the securities laws of any such
          jurisdiction. This cormnunicatlon Is not a substitute for jiny pruspectuv pio*v siatemenr or any other document
          that Atmel 01 Microchip may (lie with the SEC In connection with thn prpposeo merger.

                                                      Participants In the Solicitation

         Atmel, Microchip and their respective directors and executive officers may be deemed to be participants In the
         solicitation of proxies from Atmel's stockholders In connection with the adoption of the merger agreement In
         connection with the proposed merger and may have direct or Indirect interests In the proposed merger.
         Information about Microchip's directors and executive officers Is set forth in Microchip's Proxy Statement on
         Schedule MA for ill 2015 AnmiBt Meeting of Stockholdersrwliirh was filed with the SECon July 10,2015. and
         It*. Anpufli I'cpnrI on Form IU K for the hscnl yeai ended March 31,           which was filed with the SfC un M.iy
         ?7. W-i anri amended on June 8, 303 V lliesr diicurnent: .no avaiialile (ice nl rim rue at the St-O website at
         www.suc..gov and iiom Microchip's website at www inlcrochlpioni/itivcuorsiiome iispx informatlnn jlioul
         Atmel's dltertfjis and exerutivc officer sand their respective mteiesis In Atmel by security lioldliigs oi otherwise
         is set forth In Atmcl's Proxy Statement on "jchodule MA fm Its 2015 Annual Meeting of Stociiholders, which y/ii%
         (lied with the SEC on April 3. 20i;i These duuimctits a"' availalile free 01 rhaigc at the SEC's websiU at
         www,soc.gov and from the "Investors' section of Atmel's website at mvw.atmei.com Mdltlnnii mformatlun
         ipgsrding the Interests of participants Ir the solicitation of proxies in coniieaiun Wllh the proposed mergei will
         be Included In ihe Proxy Ststement/Prospeclus and Uie Registration Staleineni that Minoilnp will Mc with the
         SEC,

                                  Cautionary   Statement? Relatsd to Farward-Looklng Statements
         This communication contains, or may contain, "forward-looking statements" In relation to Atmel and Microchip,
         as well as otherfuture events and their potential effects on Atmel, Microchip and the combined company that
         are subject to risks and uncertainties. Generally, the words "will," "may," "should," "continue," "believes,'
         "targets," "plans," "expects," "estimates," "alms," "intends," "anticipates" or similar expressions or negatives
         thereof Identify forward-looking statements. Forward-looking statements include statements relating to (1) the
         benefitJ of the merger. Including future financial and operating results of the combined company. Microchip's



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         or At meI's plans, o&jectlves, expectations and
                                                                        Intentions, and the expected timing of completi
                                                                                                                                  on cf the
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                                                                              portfolio, expected revenues, expected operating
         transaction; (2) expected developments in product                                                                         expected
                                                                           future design wins and Increase in tnsrket Shire,
         savings, expected future cash generation, expected                                                                   on of volume
                                                                       s, adoption of new technologies, the expectati
         incorporation nf products In those of customer
                                      , opportun    ities in the  semicond    uctor    industri' and the abilltv to take adventage nf those
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         c. nsrtair.Ts. :r.e enr .nit
                                         ent   of Viciori-.l p and   ^tirel;  (3)  tl-e  expansion and growth of Microchip's or Atmel's
         (jeliefs cf the managem
                                                  cost,  revenue,    technolo   gy   and   other synergies of the proposed merger, the
         oppi'ations, (•!! the expectec
                                                     merger    on  customer   s  and    enJ-user s, the comhlnr>ri company's future capnal
         eiipectefl inipert cf the proaosed
                                                      ,  earnings  , economi   c   perform    ance   financial condition, losses and future
         expenditures, expenses, revenues
                                                          ent  strategie s  and  the   expansio  n and  growth of the combined company's
         prospects; (5) business and managem
                                                                 of the Atmel    stockhol   ders' meeting   and completion of the proposed
         operailons; and (6| the anticipated timings
         merger,
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         lu'VOnd Almel's ahllil)' to conlrol or estlrnalf
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         proreudinci that roirld Ijn iniKtJtcd AirnlnS) Almel                                                                            of .my tutnt.
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         /3) the alillily to clitaln (jnvermnemal and lefiiiatD                                                                              cloie wlier
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         Mlrrochln, (S) the posiibiMly I'l.ir Hie |>ri/posed                                                                                  s, may He
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         combined cuntpanvur the evpetted UendHs                                                                                   or savings from d.r
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         projioscd tnerfpr In the nmounts or in the llmefram                                                                               (S) the ahllllv
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         employee .mri oti-oi relatl6i>ships caused by Ihe
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         natural disBSters oi lerrorlsl *ctl. and (77) olbet                                                                               y autti&iilles,
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         tunc in Microchip's and Atmel's periodic tepous
                                                                                                                                       Quarterly Report
                                                                       fpt tllC llsial year ended December 32, 2011and
         including Atmel's Annual Kcpo t on form 1 O K
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                            i'i,  JOJS,    which   was    hleo   >vlth   the     SCf   or. May 7,7. 2015 and omenHpd on June 8. 7.01;
         pnried Mutch                                                                                                                               raiilmii
                                on  form     10-0. for  the  o.iai teiiy    period     ended September 3D, JOJf (whtlliei undo' the
         CUinrteiiy   Heporl
                                                                        c-isewitere).
         liiifr n^ctcirj c.r Poi ward LookitiR staternents oi
                                                                                                                                                      ts h<
                                              lp  can   Rive  any   assuianc        t that such foiward-Ioekrne stitements will piove
         Heltiie' Atmel nor Mirrorh
                                                                      undue        relianre   or  these   foiv^ard-lonkinR    staiemeiils. vrtmh speak
         correct Tnc 'uaifui is ceutione         d  not   tc place


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       >Itmet
          only as of the date of this announcement. Neither
                                                                 Atmel nor Microchip nor arty other person underta
                                                                                                                   kes any

                   on to update or revise publicly any of the forward -lookingststements set out herein, whether es a result
          obligati
                                                                    to the extent legally required.
          of new Information, future events or otherwise, except
                                                                 <1**




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                      EXHIBIT C to A-6




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       TO:            Khashayar Mirfakhraei
       DATE:          April 6,2016
       FROM:          Atmd, LLC,
       BE:           Severance Agreement and Release

                                                                                                   April 6,2016
                                                      employment ftom Abnel, LLC. effective
       In conneoticm with the totmlnadon of your                        pack age  on the  teimi set forth in this
                                                      you • severance
       (the Termination Date"), we are offering                                     up to  you. If you dwide to
                                                      her you noccpl It is entlioly
       document This offer is voluntary and whet document, you will be entering into a legally-binding
                                                   this
       accept this offer by alguing at the end of                                             n and subsidiaries
                                                  LLC., and Its affiliates, parent corpondo
       contract (the "Agreement") with Atmel,
                                                   s stated below.
       (collectively the "Company"), on the term
                                         Afanet. LLC roMlfmrnta to Ynm

                                                                                                        sum total of
                                                  Agrcanent, Atmel, LLC. will pay you a lumpbase pay.
        « In coQsidcnttion for entering into this      xima tely equa l to 5 week  s of your  cune  nt
          $17,358.37 ("Severfmce"), which is appro
                                                                                                       the Effective
                                                  one lump sum within 30 business days after advanced
        • The Severance will be ptld to you in         quiied  taxes and   withh oldin gs, inclu ding  any
          Date of this Agreement, less all legally-re
          PTO pay,
                                                                                                  unpaid salary and
                                                 Agreement, you will be paid all earned but ve information
        • Regardless of whether you sign this        the Termination Date      .   You   will  recei
           accrued but unused vacation through                                                           ing In this
                 ding your  right s to healt h  insur ance continuation under COBRA. Noth under the
           regar                                                     or  your right s to veste d  benef its
                                                        s you have
           Agreement will impair uny COBRA right
           tonw of Company benefit-plans.
                                                                                                       LLC. Human
                                                      by potential fiiture employers to Atmel.
        • Provided that you direct any inquiries use its best efforts to provide only your last position
           Resources department, Atmel, LLC. shall
           and dates of employment.
                                       Yiiar Cnmntitminti to thi Com
                                                                             pany


                                                                                             tors, employees,
                                                and its current and foimer officers, direc
        • You agree to release the Company          , edminulralors,   insur ers, truste es,  divisions, and
          shareholders, affiliates, benefit plans corporations and assigns (including, but not limited
          sobsidiaries, and predecessor and aacoessor                                               ill actions,
                                                   easees") and promise never to assert any and
          to, Atmel, LLC.) (oollcctively, the "Rel




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                                                                                                                   bucd on aay
                                                       damages, losses end claims of every kind
          causes of action, grievances, obligations,                                t, indud  mg,    but   not limited to, my
                                                     sign    this     Agre   emen
          act, omission, event up to the dtte you                                                                   enployment
                                                        employment «nd/or termination of your
          claims relating to or arising out of your                           sees   from   liabil ity  for   all clahni of any
                                                          se    the   Relea
          with Atmcl, LLC. In particular, you relea                                                                 or not. 'ibis
                                                       this time, whether you know about them
          nature that you ever h*d or may bave at                            claim  *  under  fedor   a] or stale law, such as
                                                not limite    d   to, any
          release specifically includes, but is                                                                    ]oymtDt Act
                                                        1964, the Ago Discrimination in £mp
          Title VH of the Civil Righto Act of                                               contr act    claim   or  other claim
                                                              Act. as well as any
          ("ADEA"), the Americans with Dlsabilides                          the  law   petxa ita a  relea   se  of claims. You
                                                     folles   l   exten  t
          under statutory or common law, to the                                                                      elf and your
                                                          s in tfaia paragraph ia on behalf of yours
          agree that the wuiver and release of claim                        ssors  and   assig ns,  and all such pwsotu are
                                                  execu    tory     succe
          hcire, administrator, representatives,                                                                            be and
                                                              that the release act forth in this section afcill
          bound by this waiver and release. You agree                                       to  the   matte   rs relea  sed.   This
                                                          lete general release tu
          remain in effect in all respects as a comp                           r this   Agre emen    t.  This   releas e does not
                                                       s Incur     red  unde
          release does not extend to any obligation                                                              d to, your right
                                                       a. matter of low, including, but not limite
          release claims that cannot be released a*                          by   the   Equa  l  Empl     oyment Oppottunity
                                                  e   ia   a     charg  e
          to file a charge with or participat                                                                       t agency that
                                                        federal admimstrative body or governmen
          Commission, or any other local, state, or                                             again   st the   Comp   any (with
                                                             related to employment,
          is authorized to enforce or admiraster laws                        does   not  give   you   the   right to recover any
                                                        parti    cipat ion
          the understanding that any such filing or                                                                     you from
                                                            and your release of claimi herein bats
          monetary dimuges against the Company                           ).   This   relea su does    not extend to any right
                                                    the  Com       pany
          recovering «uch monetary relief fiom                                                                            its. You
                                                            ion benefits or workers' compenfiaticm benef
          you may have to unemployment compensnt                                         any  claim    or  other  matte   r waived
                                                          nment or transfer of
          acknowledge that yon have made no asiiig
          or released by this Agreement.
                                                                                                                      of the Civil
                                                        a waiver of all rights under Section 1542
        • You agree that this release constitutes
                                                             ;
          Code of the State of California, which reads
                                                EXTEND TO CLAIMS WHICH THE
                 A GENERAL RELEASE DOES NOT
                                    KNO W  OR  SUSP ECT TO EXIST IN HIS OR HER
                 CREDITOR DOES NOT
                                              ING THE RELEASE, WHICH IF KNOWN
                 FAVOR AT THE TIME OF EXECUT                               HER
                                            MATERIALLY AFFECTED ICS OR
                 BY MM OR HER MUST HAVE
                                         TQR .
                 SEITLEMKNT WITHTIIEDER
                                                                                                       ADHA, end that
                                                     and rcleauing rights you may havo under
        •    You acknowlftdgc that you are wsuvlng                 You   and  the Comp     any  agree (hit this waiver
                                                 and  volun tary.
             tills waiver and release is knowing                                                               alter the
                                                       s or clauna that may arise under the ADEA
             and release does not apply to any right                                  derat ion  given   for this waiver
                                                      acknowledge that the consi
             Effective Date of this Agreement You                   to  which  yoo     were  alread   y entitled. You
                                                        of  value
             and release is in addition to anything                                                      d consult with
                                                       advised by this writing that (a) you shoul
             acknowledge further that you have been                     hove  forty  -five (45)  days within which to
                                                      emen  t; (b) you
             an attorney prior to executing this Agre                                                   been advised in
                                                       in Exhibits A, B and C herein, you have
             consider this Agreement; (c) as set forth                                   cover ed  by  the  reduction in
                                                     unit, or group of incKviduali
             writing by the Company of the doss,                      force , and   the   job  titles  and ages of all
                                                     reduc  tion  in
             force, the eligibility factors for the                                                        the execution
                                                       ted; (d) you have seven <7) dnyg following
             individuals who were end were not selec                   Agre  emen t  lhall not  be effective until tftcr
                                                    emen  t; (e) this
             of this Agreement to revoke this Agre
                                                                       2




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                                                                                              prevents or precludes you
                                                and (f) nothing in this Agreement
          the revocation period has expired;                                                 ity of thia waiver under the
                                               nninalion in good flrith of the valid
          from challenging or seeking a dctc                         t, pena   ltiex ,  or   ootts for doing so, unless
                                              condition preceden
          ADEA, DOT does it Impose any                                                     agree that changes, whether
                                               law. You and the Atmel, LLC.
          specifically authorized by federal                      the   4S-d   ay perio    d.
                                                rt the running of
          material or inunaterial, do not resta
                                                                                   eighth (8*) day after both parties
                                         effective and irrevocable on the
        • This Agreement will become                                          this  Agreement and rclunu it to the
                                                 In the event you sign
          execute it (the "Effective Date").                                                    you hereby acknowledge
                                                   (45) day period identified above,
          Company in less than the forty-five                          lime    peri od     allot ted for conaideiing this
                                                 to waive the Ml
          that you hove voluntarily chosen                                              t be   acco  mplished by a written
                                                undentand that revocation mun
          Agreement You acknowledge and                          el, LLC    ., that  is  rece  ived   prior to the Effective
                                               Resources, Atm
          notifioation to Oeri Shaw, Human
          Date.
                                                                                    el property, including petsoiml
                                           in the possession of any Atm
        • To the extent Employee is                                                                es, Atmel credit cards,
                                                 hines scanners, copiers cellular phon
          computers (PCs), laptops, fox mac                                                   e materials on all media,
                                                 spondenee and related corporat
          and any Atmel documents, oonc                                    re   the  Term     ination Date, In addition,
                                                  to Atmel on or befo
          Employee will return all property
                                              all Company data intact.
          computers must be returned with
                                                                                            set forth in this Agreement,
                                             t that, other than the consideration
        • Yon acknowledge and represen                                                              vacation/paid time off,
                                                   nil salary, wages, bonuses, accrued
          the Company has puid or provided                        casta  , intei  esl,  seve   ranc  e, autplacetnent costs,
                                              ances, relocation
          premiums, leaves, housing allow                                          ns,    vesti ng,  and any and ell other
                                               missions, stock, slock optio
           fees, reimbursable eicpciues, com
                                                you.
          benefits and compensation due to
                                                                               iowledgcmMits
                                     Gmcral Undentandiam and Aclu
                                                                                       tenns of the [Confidential
                                           e to observe and abido by flie
        • You hereby reaffirm and agre                                   Infor mati  on  Agreement") betwoeo you
                                                ent] (tho "Proprietory
          Information atnd Invention Assignm                                                   g nondisclottire of the
                                                 ding the provialona therein regardin
          and Atmel, LLC., specifically inclu                     rieta ry infom uttio  n.    You   rcprwant that you
                                              ldentin! arid prop
          Company's trade secret# and oonf                                       by    the  Com   pany  , developed or
                                               otheHtcms provided to you
          have returned all documents and                                                    , or othe rwis e belonging
                                                your wnplojroeht with the Company
          obtained by you in connection with
          to the Company.
                                                                                 states your and the Company's
                                          rietary Information Agreement
        • This Agreement and the Prop                                of  (bis Agre   ement and your rights and the
                                              g the aubjoct matter
          complete understandings regardin                                          your employment with Atmel,
                                           in any way to, or arising out of,
          Company's obligations relating                              be  valid unle   ss it is written and signed by
                                             this Agreement will
          LLC. No fiiture modification of                                             in  this Agreement is deemed
                                            pany and you. If any prevision
          on executive officer of the Com                  e and  will not  affec t the  enfo  rceability of the rest of
                                             ed severabl
          unenforceable, it will bo consider
          the Agreement.
                                                                                her you want to accept the offer
                                         May 23, 2016 to consider whet
        • You have until 5:00 p.m. on                  nt, altho ugh  you  do  not   need to wait until that time to
                                           Agreeme
           Atmel, LLC is making in this
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                                                                                                       Agnement
                                                         To accept this offer, you tnun sign du't
           accept this offer and obtain the Sevorance.                Reso urces  by the date  and  time  stated in
                                                           in Htan ao
           nod deliver a signed copy of it to Geri Slmw                        ance  until after  you  delive r this
                                                        not receive the Sever
           this bullet point Ae noted above, you will                revoc ation perio d ends  and   you have not
                                                      seven  (7) day
           signed Agreement to Geri Shaw end the
           revoked this Agrccmcut.
                                                                                              careftilly, that it is
                                                 bo ncknowlcdging that you liave read it
       • By signing this Agreement, you will                    lave  been advis ed to consu  lt with an attorney,
                                                    , that  you
           written in language that you underntand                                                   are tigning it
                                                    period of time to consider it, and that you
           that you have been given a reasonable
           knowingly and voluntarily.
                                                                                                    dates set forth
                                                   executed this Agreement on the respective
       in WITNESS WHERQF, the parties have
       below.


                                                                Khashayar Mir&khraei
       Date




                                                                Company Witness/Tide
       Date

       Internal use;

       Date received:

       7-day revocation period ends;




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                                                         EXHIBIT A
                                                                   N
                                         DECISIONAL UNIT INFORMATIO
                                                                                       ng ft decision whether
                                               under federal law to assist you in maki
        The following information is provided                                     d, LLC:
                                              severance benefits offered by Atm
        to sign this Agreement and accept the

                                                         this reduction in         force is CTO Organization
        1.      Decisional Unit, The decisional unit for
                                                                                                          program. All
                                                           CTO Organization are eligible for the
        2.     Eligibility. All persons included in the                are selec ted  for  the   program.
                                              the redu  ction in force
        persons who art being terminated in
                                                                                                               pt of this
                                                            up to forly-five (45) days from the recei
        3.      How Long to Decide. You will have                     emen   t end  retur  n  it to the Compuny. The
                                                   to sign  (his Agre
        Agreement in which to decide whether                                                  date stated on pngc 3 of
                                                in this Agreement will expire on lite
        offer of severance benefits cooUuned                signe d this Agre  emen  t,  you   will have seven (7) days
                                                you   have
        the Agreement. Please note that once                         this Agre emen   l.
                                                   of the terms of
        to revoke your signature and acceptance
                                                                                                          given to you
                                                        law provides certain information be
        4.      Selection InfunnHtiun. Federal                         the  reduc tion   in  force  and indiv iduals who
                                                  le and selected for
        concerning individuals who were eligib                                              can   be found  in Exhibits 13
                                                     ction in force. This informafen
        wore eligible but not selected for the redu
        and C, which follow this Exhibit A.




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                                              Data Sheet by Age
                                                  4/6/2016

                                                  EXHIBIT B

                                                                 Unit for this Reduction in Force end Not
       Job Tides of Individuals Not Selected from the Decisional
                                          Offered Severance Benefits

                                        Job TltWiO                               Artti
                  Will be mailed to home address




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                                             Data Sheet by Age
                                                   41612016

                                                EXHIBIT C
                                                           ional Unit for this Reduction in Force and
          Job Tides of Individuals Selected from the Decis
               Offered Severance Benefits for Signin R this  Separation Agreement and Release
                                          llllfi                                  AjtE

                Will be moile d to home  addres  s




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                      EXHIBIT D to A-6




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              TO;            Khashayar Mirfikhrael
              DATE:         April 11,2016
              FROM:         Atmel Corporation
              RE:           SiverjnoaAfreemerit and Rtliait



             As you know, Atmel Corporation ("Atmel") recently became a subsidiary of Microchip Technology
             incorporated ("Microchip") (the "Mer|er"). Atmel and Microchip are making this offer, In pirt to resolve
             any currant dlugracment or mlitindeRtandlng rogurdlng severance benefits preulouily offered by Atmel. In
             connection wNh the termination of your amptoyrnent from Atmel affacttva AprN 6,2016 (the Tarmlnatlon
             Data"), we are offering you a severance package on the terms set forth In thk document. This offer Is
             voluntary and whether you accept it Is entirely up to you. If you decide to occaptthls offer by styling at the
             end of tWs document, you will be entering Into a legally-binding contract (the "Agreement") with Microchip,
             Atmel, and their affiliates, and subsidiaries (collectlvety the "Company*), on the terms stated belnw.

                                                    OanamiQmmlvaHftiaJCBM

         •      In consideration for entering Into this Agreement, Atmel will pay you a lump sum total of (I) $36,105.40
                representing, a lumpsum cash payment In cash equal to 0.20 times the your Base Pay, and (II) $2,564.38
                representing, a lumpsum payment In cash equal to SON of the your 2015 BonuSj prorated to the date of
                the your Involuntary Termination.

         «     In addition. If you timely elect to continue health coverage pursuant to COBRA, the Company shall
               directly pay, the premium costs for you and your covered dependents, for up to two (2] months
               following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
               premiums purauant tothe preceding sentence you may. If eligible, continue healthcare coverage at your
               expense In accordance with the provisions of COBRA.

         •     Hie benefits described in the two bullets above are the "Severance Benefits."

         •     Regardless of whether you sign this Agreement) you will ba paid all earned but unpaid salary and
               accrued but unused vacation through the Termination Oete. You will receive Information regarding your
               rights to health Insurance continuation under COBRA. Nothing In this Agreement wHI Impair any COBRA
               rights you have or your rights to vested benefits under the terms of Compeny benefit plans.

         •     Provided that you direct any Inquiries by potential future employers to Atmel Human Resources
               department Atmel shall use Its best efforts to provide only your last position and dates of emplitymant

         •    The Company wlH not coiWast eny claim for unemployment benefits that you miy file.




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                                                    Yaur CammUfTWrtito thi Comcinv


                                                                                                                       agenu and
                                                                 lartee and affiliates, ind Its and thetr oWtsry
         •   You agree to release the CottipJny, Its »ubsid                                      yment    wHh  any  of  tfium, ThU
                                                                arislnir out   of  your emplo
             employees from any liability relrtlni to or
                               e  of any liabilit y for claims  of  any  kind   that you ever h»d or may hsva at thb time,
             Includes s releas                                                                                          s i refcut
                                                               release is ss broad as (hi lew allows and Include
             whether you know about them or not. This                                    , harass  ment   and retaliation lewi and
                                                          such  as antl-dl ccrlml natian
             of claims under federal and state laws,                                                                            also
                                                                    discrimination In Employment Art, This roloaia
             expressly Includes any dalms under the Age                                    claims  that could  be  asserte  d under
                                                               claims, and any     other
             Includes a retehse of any tort and contract
                                                                common law.
             federal state or local statutes, regulations or
                                                                                                                              of the
                                                                    of all rights under Section 1542 of the Civil Code
         •   You agree that this release of claims Is a wahmr                       extend    to clatmi   whkh   ih# cmlllordott
                                                             l ntuan    tfo*$  not
             State of California, which reads "a genera                                                                           4y
                                                                    at tht Urn* of executing the re/ense, which If known
             not Arrro* ortutpttl to aafcf In hit or Im finer                     ent with   the rfeiror ."
                                                                    hertettlem
             Mm orhtrmust fmve nwnerfWy tffntedhl*or
                                                                                                                tnt or to
                                                             up your rights to enforce any term of this Agream
         »   In agreeing to this release, you are not giving                     agency . Howev  er, In agreeing to this
                                                charge   with, any govern ment
             provide Information to, or flla a                                                                     ment,
                                                                 any money, or the reinstatement of your employ
             release, you are agreeing that you will not accept
             for any claim you have released.


                                           fiaial     UndarsanOlMi and Attooidadiimarta
                                                                                                                rights and itic
                                                             ny's complete understandings reeardtng your
         •   1Ills Agrcotnent slates your and the Compa                              your emplo  yment  with the Company. No
                                                           to, or arising out    of,
             Company's obligations relatingIn any way
                                     this A(jree mont will  be valid unless   It is written and signed by an exocutlvc oillcer
             future modification of                                                                        rceable, it will be
                                                           ion In this Agrosment is deemed unenfo
             of the Company and you. If any provis                                     rest of the Afream ent.
                                                       Hie   enforc  eabilit y of  the
             considered severable and will not affect
                                                                                                          Severance
                                                           to consider whether you want to accept the
         *   You have until 5:00 p.m. on May 27, 2016                      to wait until thattime to accept this offer
                                 this Agree ment althou gh you do not need
             Benefits by signing
             amhTbtulii the Sevamnee BeneflUr
                                                                                                                            In Human
                                                                 ment and deliver a signed copy of M to Gerl Shaw
         •   To accept this offer, you must sign this Agree                          point. As noted below, you will nut receive
                                data and time   staled   In the  previo  us bullet
             Resources by the                                                                                           calendar day
                                                                lstratlvaly practicable payroll after the eighth
             the Severance Benefits until the next admln                             Shaw.  If you  decide to accept this offer and
                                                       ked   Agree   ment  to Gerl
             after you dcKvcrcd this signed unrevo                                                                         your mind
                                                                    you have seven (7) calendar days to change
             you deliver a signed Agreement to Gerl Shaw,                           signing  It, you  must dellvar  a written notice
                                                               Agree   ment  after
             and revoke the Agreement. To rt-voke this                                                                 ent with your
                                                                calendar days after you gave her th« Agreem
             of revocation to Gerl Shsvu within seven (7|
             signature.
                                                                                                                      It Is written In
                                                               ledging that you have read it carefully, that
         •   By signing this Agreement, you are acknow                                  consul   t with an attorne y, that you hive
                                                                   been advise   d   to
             languoge that you understand, that you have
                                  to consid er it, and  that  you   ire signin g It knowingly and voluntarily.
             been given 45 days
                                                                        2




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                                                                              have been gfvsn to consider ft, you are
          •   If yqu sign and return thU document In less than tha tine you
                                                                 of the time that you have been given to coiulder It
              voluntarily agreelnglo waVe the remaining portion
                                                                                    ENFORCEABLE CONTRACT.
              ONCE YOU 5IQN BELOW, THIS DOCUMENTWILL BECOME A LEGALLY




                                                                    Khashayar l/llrfekhraal
         Date




                                                                    Company Wltness/ntle
         Date

         Internal use:

         Date received;

         7'd»v revocation period ends;




                                                                3




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                                                          EXHIBIT A

                                               DECISIONAL UNIT INFORMATION

                                                                                                            to sign
         The follawlng Information is provided under federal law to assist you In nuking s decision whether
         this Agraement and aceeptthe severance benefits offered byAtmel, LLC:


         1,      Dedslaiwl Unit. The decisional unit forthis reduction In force b CTO Organization

         2.     Ell|lblllty. All persons Included In the CTO Orsanteatlon are eligible for the program. All person;
         who are being terminated In the reduction In force are selected for the pragram.
                                                                                                                   In
                 How Long to Otdde. You will have up to forty-five (45) days from the receipt of this Agreement
                                  to sign thli Agreement and return It to Gerl Shaw at Atmel. The offer of severance
         which to decide whether
                                                                                                              Please
         benefits contained In thb Agreement wit! expire on the date stated on page 2 of the Agreement,
                                                                                                                 and
         note that once you have signed this Agreement you will hive seven (7] days to revoke your signature
         acceptance of the terms of this Agreement.

                Selection Information. Federal law provides certain Information be given to you concerning
                                                                                                                 but
        Individuals who were eligible and selected for the reduction In force and Individuals who were eligible
                                                                                                          follow this
        not selected for the reduction In force. This Information can be found In Exhibits B and C, which
        Exhibit A.




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                                                       Data Sheet byAg*
                                                           4/6/2016

                                                            EXHIBIT B

                                                                              for this Reduction In Force md Not Offered
          Job Titles of Individuals Mn* s«l«irty|i from the Decisional Unit
                                                       Severance Benefits

                                               Job Titled                                      Alfilsl
                     attached




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                                                  MaShtttbyAi*
                                                      4/6/2016

                                                      EXHIBIT C

           Job Titlesof inHtuidnalt Started from the Oedslotnl Unit for this Reduction (n Farce and Offered
                         Severance Benefits forSigning this Separation Agreement md Rateise
                                             nm                                        Aa
                 attached




                                                                         ATMEL PLAN/BERMAN000338
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                             DECLARATION OF GIRISH RAMESH

             I, Girlsh Ramesh, declare as follows:

             In 2015,1 was employed by Atmel as a Senior Marketing Manager. In July 2015,1 and other
     Atmei employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program",
     along with an Addendum to the letter providing additional details about the severance program
     (hereafter collectively "Severance Plan"), Attached hereto as Exhibit A is a copy of the Severance Plan
     document that I received In July 2015. The Severance Plan provided for certain severance benefits if
     Atmel was acquired and I was subsequently terminated.

            In approximately September 201S, I learned that Atmel had entered Into an agreement with a
    company called Dialog Semiconductor ("Dialog") pursuant to which Dialog would acquire Atmel. In
    approximately December 2015,1 heard that Atmel had received another acquisition offer from a
    different company. There was speculation among employees at Atmel that the "other" company
    looking to acquire Atmel was Microchip Technology, Inc. ("Microchip"). In approximately the last half
    of December 2015,1 made an appointment to speak with Suiy Zoumaras, Atmel's Senior Vice President
    of Human Resources, in order to ask her for confirmation that the Severance Plan would be valid and in
    effect even If a company other than Dialog wound up acquiring Atmel. During our meeting, Ms.
    Zoumaras assured me that the Severance Plan had been triggered when Atmel had entered into the
    agreement with Dialog, and that the Severance Plan was valid and In effect regardless of which company
    wound up acquiring Atmel. Ms. Zoumaras also Indicated that I did not need to worry about looking for
    other employment outside of Atmel, since I would be protected with severance payments under the
    Severance Plan if a company acquired Atmel and I was terminated as a result Ms. Zoumaras also
    encouraged me to disseminate this message about the Severance Plan to other Atmel employees who
    might have similar concerns or questions.

            In early February 2016,1 read the Frequently Asked Questions ("FAQ's") that had been
    published for Atmel employees regarding the potential Microchip acquisition of Atmel. A copy of the
    FAQ's is attached as Exhibit B. Reading the FAQ's confirmed again to me that Microchip would be
    honoring the Severance Plan If it acquired Atmel.

            On multiple occasions between approximately January 2016 and March 2016,1 had discussions
    with my immediate manager, Tushar Dhayagude (Atmel's Director of Marketing for the MCU Business
    Unit) about the issueof severance. Mr. Dhayagude told me multiple times that if Microchip acquired
    Atmel and then terminated my employment, that I would have a financial cushion because of the
    severance pay I would receive under the Severance Plan. Mr. Dhayagude also told me that he had been
    in meetings with Steve Laub (the Chief Executive Officer of Atmel) after Microchip had become the likely
    acquirer of Atmel, In which Mr. Laub gave assurances that the Atmel employees would receive their
    severance payments under the Severance Plan if they were terminated followingan acquisition. Many
    other employees at Atmel told me that they also had been assured by their managers that the
    Severance Plan was valid and in effect and that Miaochip would need to pay this severance if it
    terminated Atmei employees following the acquisition.




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                  On approximately April 4,2016, the acquisition between Atmel and Microchip closed.
                                                                                                        On
          approximately April 6, 2016,1 learned that some Atmel employees received a letter
                                                                                            Informing them that
          they were being terminated effective Immediately. I was told that these termination
                                                                                              letters Indicated
          that Microchip would only pay a small number of weeks of salary as severance. Approxima
                                                                                                   tely one
          week later, I learned that many Atmel employees who had been terminated had subsequent
                                                                                                     ly received
          a new letter, which Indicated that Microchip would pay them only 50% of the severance
                                                                                                 benefits due
          under the Severance Plan.

                 On approximately April 13,2016,1 received a letter from Atmel which proposed a
                                                                                                   "new"
         severance agreement for me. A copy of this April 13,2016 letter is attached as Exhibit
                                                                                                C. Under this
         "new" severance proposal, I would only receive SOX of the severance benefits which
                                                                                             were due to me
         under the Severance Plan If I were subsequently terminated by Microchip. I refused
                                                                                            to sign this April 13,
         201S letter proposal.

                 On approximately May 20,2016,1 vuas Informed that I was being terminated effective
         immediately. A copy of the "Notice To Employee As To Change In Relationship" that
                                                                                             1 received on May
         201,2016, informing me that I was being laid off as of May 20,2016, Is attached
                                                                                         hereto as Exhibit D. I
         was terminated without "cause". However, Microchip has failed and refused to
                                                                                         pay me any of the
         severance benefits due to me under the Severance Plan.

                I relied on receiving severance benefits under the Severance Plan In making the decision
                                                                                                         to stay
        at Atmel through the time of the Microchip acquisition, I certainly would have left
                                                                                            Atmel and found
        another job long before Microchip's April 2016 acquisition if I had known that Microchip
                                                                                                 was not going
        to pay me the severance benefits under the Severance Plan.



                I declare under penalty of perjury that the foregoing is true and correct and that
                                                                                                     this declaration
        was executed on June LS 2016 at         OVlAP BG                             c/v


                                                      i iirish Ramesh




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                                                     STRICTLY PERSONAL AND CONFIDENTIAL

       July 9,2015

       Glrlsh Ratnesh
       Re: Severance Guarantee

       DMrGlrish,

      Our employees are the llfeblood of our company and we value and appreciate all you do fo^Atmel. we recognizethat
      recently there has been significant market speculation regarding poislble transactions Involving the company and
      understand that such rumors can be dlstractlnf and unsettling. To support our employees and to keep everyonefocused
      on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
      Benefit program that Is Intended to ease concerns among our employees. Under this program, you will have the
      opportunity to receive benefits as described below If your employment Is Involuntarily terminated without Cause after the
      occurrence of a Change of Control. These benellts (collectively, the "Severance Guarantee Beneflts") Include:

           •      Cash Severance; 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
                  transaction closes); and
           •      Targe* Incentive: If you are eligible, a prorated annual MIP orSIP, whichever you are eligible for at the time of
                  termination; the proration will be based a determination of your M IP or SIP at the time of termination, as
                  determined by the Company; and
           •      COBRA BeneHts: Four (4) months'of COBRA benefits paid for by the Company                                    .

      All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached tothis letter. To
      receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
      Company (or Its successor) If a transaction occurs (the "Release").

      Nothtng-Itrthb letterlsIntended to, orshall, contradict, modify or alter theterms of your at-will employment, other than
      the provisionbyJte Company (or. lis successor) oftheSeverance.Guarantee Benefits provided by ihis,letter. Youshall

 -    Braptoyrwrntta^sny time torartyTwswror-fornoreason, with wwtthoutCause/and'Wlthro'wWnjwwrioe,—~

      Glrlsh, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
      recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

     Sincerely,


     Suzanne Zoumaras
     Senior Vice President, Global Human Resources

     Attachment




     TusharDhayagude
     Patrick SuiNvan




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                                                    STRICTLY CONFIDENTIAL

                                                      ADDENDUM TO
                                        U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                        July 9,2015


    Term of the Severance Guarantee Benefit Program; The U.S. Severance Guarantee Benefit Program is effective from
    July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
    occurred prlorto November 1,2015, In which event the U.S. Severance Guarantee Benefit Program will remain In
    effect for 18 (eighteen) months following that Initial Triggering Event

    Eligibility: Ellglblilty is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
    consummated.

    Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benetlt Piogram will hecani« availabte to
    eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
    November 1,2015, that will result in a Change of Control of the Company. If a Definitive Aorficment is not entered
    Into on or before that date, the U.S. Severance Guarantee Benefit Program described In the tetter and this Addpmlum
    will automatically expire, unless expressly extended by the Company's Board of Directors.

    Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
    Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
    benefits If, but only If:

         A.    A Change of Control actually occurs; and
         B.    Thalr employment Is terminated without "Cause" by the Company (or Its successor) at any time within 18
               months of the execution date of the Definitive Agreement.

         For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
         "Cause* will he the sarne as that contained in the Company's Senior Executive Change of Control and Severance
         Plan.

   Severance Guftrahlee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
   to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
   described In the Severance Guarantee letter provided to you dated July 9,2015.

   Terminations Not Subject to Program: If your employment is terminated at any time before or after an I nitlal
   Triggering Event has occurred as a result of your voluntary resignation, tlcalli, di5«ljllltv ortermlnatlon for Cause, you
   will not be ellglhle to receive any Severance Guarantee Benefits. As discussed abuve, the U.S. Severance Guarantee
   Program Is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
   Change of Control that occurs and your employment is terminated without Cause.

   Release of Claims (the "Release!")! Receipt of any Severance Guarantee Benefits will be subject to your executing a
   separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
   you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
   of the Severance Guarantee Benefits Is scheduled to be paid prior to the date the Release Is effective, that portion
   will, Instead, accrue and be paid as soon as administratively practicable following the Release effective date.

   Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
   WARN notice pay, you will receive the greater ofthose statutory benefits or the Severance Guarantee Benefits, but
   not both (and without duplication).



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    Payments; All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
    determined by the Company, but In no case more than ninety (90) days following the date of termination, and will be
    subject to all applicable tax withholdings and other payroll daductlons. The Severance Guarantee Benefit payments
    are Intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
    interpreted accordingly.

     Additional Matters. Any successor tothe Company will assume the obligations under the Program. For all purposes
     u nder the Program, the term "Company" will Include any successor to the Company's business and/or assets which
     becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
     severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
     payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
    action taken by the Company prior to a Change of Control with respect to the Program, and any Interpretation by the
    Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
    conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
    Change of Control, any decision made or other action taken by the Company, and any Interpretation by the Company
    of any term or condition of the Program, or any related document that (I) does not affect the benefits payable under
    the Program shall not be subject to review unless found to be arbitrary and capricious or (II) does affect the benefits
    payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
    In good faith. The Company may, in Its sole discretion and on such terms and conditions as It may provide, delegate
   In writing to one or more officers of the Company all or any portion of its authority or responsibility with respect W
   the Program; provided, however, that any Program amendment or termination or any other action that could
   reasonably be expected to Increase significantly the cost of the Program must be approved by the Company's Board
   of Directors orthe Compensation Committee of the Company's Board of Directors. The provisions of the Program will
   be construed, administered and enforced In accordance with the internal substantive laws of the State of California
   (with the exception of Its conflict of laws provisions).




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                                                               Friday, April 8,2016 at 12:19:18 PM Padfle Dayllfiht Time

                                                                           Relating to the Microchip Merger
     Subject: Frequently Asked Questions Regarding Compensation & Benefits
     Date:    Wednesday, February 3,2016 at 5:57:34 PM Pacific Standard Time

     From:      Human Resources

    DearAtmel Employees,

                                                                              Asked Questions (FAQs) related to
    I am pleased to announce that today we posted our first set of Frequently
                                                                               Connect, at
    the Atmel/Microchip merger. The FAQs are available on our intranet. Atmel

    benefits.

    As we have additional information, we will provide further updates and FAQs,

    Warm regards,

    Smv
   Suzanne Zaumaras | Senior Vice PreSdent, Global Human Resources
   0: 408.487.2604 | Mi 858.354.4877
   6ugvi.MunaTatttihTm.eQtn | yymi'.nHl.Mffl




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        /It m el
                                FREQUENTLY ASKED QUESTIONS
                                    Microchip Transaction:
                    Effect on Compensation and Benefits for U.S. Employees

                                                                      wfth Atmel after                       the dosing?
          What happens to my employment and compensatory arrangements
                                                                              compensatory contracts (Including
          Microchip has agreed to honor each of your employment and
                                         ent,  employm   ent continuat ion,  severance , Incentive and change In
          retention awards and employm
                                                                                  Immediately prior to the closing
          control agreements) with Atmel, or Its subsidiaries, that are In effect
          of the transaction,
                                                                                            n closes?
          How will my compensation and benefits be affected after the transactio
                                                                               through December 31, 2016. In
          Microchip has agreed not to reduce your base salary or base wages
                                                                           tion and benefits package for 2015
          addition. Microchip has promised that your aggregate compensa
                                                                                 g compensation and benefits
          will be comparable In value to the aggregate value of your pre-dosin
                                 value attributed to any pension plans or employee  stock purchase plans.
          package, excluding the
                                                                          transaction?
          Will I participate in thesame Atmel henaflt plans following the
                                                                                         n Atmel's benefits will be
          We anticipate that sometime following the closing of the transactio
                                     p's benefit plans. The timing of this transition Is yet to be determined. Upon
          transitioned onto Microchi
                                                                                    ely Eligible to participate in ail
          the transition to the Microchip benefits plans, you will be Immediat
                                                                                          plans. We will work with
          Microchip plans subject to the eligibility requirements of the Microchip
                     to provide you Informati on about   the Microchip   plans In the near term.
          Microchip
                                                                                  plans?
          Will I receive service credit for purposes of Microchip's benefits
                                                                              that Atmel recognizes for you ssof
          Microchip has agreed to provide you with the same service credit
                                                                               purposes of eligibility, vesting, and
          the closing{as If you had provided such services to Microchip), for
                   benefits In Microchi p plans that are compara ble to Atmel  plans (e.g., health Insurance plans,
          level of
          paid time off).
                                                                                    n closes?
         -Whatw.iiLhappen.tQ,my_Atmel equity awards after the transactio
                                                                                 assume each eontini.-iufi pmployee's
          RSUi, & PRSUs. At the closing of the transaction, Microchip will
                                   unvested   awards    of restricted   stock  units  (RSUs) and pL'trormance-based
         then-outstanding and
                                                                                         for Microchip common stock
          restricted stock units (PRSUs), and convert ihnse awards Into awards
                                                                                        nt The converted awards will
         with an equivalent value as determined under the definitive agreeme
                                                                                  you may have to accelerated vesting
          retain the same material terms (e.g., vesting, including any rights
                      terms of your award,   your  employm     ent agreeme   nt ot  Atmel's stock plan) as your Atmel
          under the
                                  the         of the transacti  on, any  vested  awards   of RSUs and PRSUs (including
         award. In addition, at       closing
                                                                                     shares have not yet been Issued,
         any portion that vests on the closing of the transaction) for which
                                                                                      and converted Into the right to
         will be settled In shares, subject to applicable withholding taxes,
                   the   merger considera  tion  for  those   shares   after  the  closing Just like any other Atmel
         receive
         stockholder.
                                                                                    accelerate and become vested and
         stock Ootlons. All unvested Atmel stock options that you hold will
                                                  to  the  closing,  subject  to your   coniinued service through the
         exercisable In full immediately prior
                                                                                   to the closing date on how you may
         closing. We will provide more Information to you as we get closer
                                                                                         In connection with the closing.
         exercise your stock options that are eligiblefor this accelerated vesting

                                                                                              .,                   PajalofS
                                                                                           Confldsntial ***Not for Dlitrlbution




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       /Itmel
          tf you do not exercise your stock options ptior to the doling, Atmel will automatica
                                                                                                lly "net exercise"
                                                                                                taxes uuill be paid
          your stock options, which means lhal the exercise price and applicable withholding
                                            e amount  of shares otherwise Issuable to you an the  enercise of your
          by withholding the appropriat
                                                                                          issued for your options
          stot.k options Vou will receive meigei consideration for the shares you are
          aftei the CIOSIIIE lust like any other Atmel stockholder
                                                                                                 to contl nue the ESPP
          Purchase RIHIUS under the Emuiovee Slock Purchase Plan IESPPI. Atmel expects
                                    For any  otfering period   under  the ESPP  that   would otherwise  be in effect at
         until just before clos/ng.
                                                                                              purchases will be made
         the closing of the tninsaction, Atmel will shorten the offering period so that
                                                                                                     on that purchase
         on the JOth business day prior to such closina. All shares of Atmel stock purchased
                        be released until the closing and  v/lll be treated  like all other outstanding  shares at the
         date will not
         closing. The ESPP will terminate   immediate  ly prior  to the closing,

         How much will 1 receive for my shares of Atmel stock?
                                                                                            n of $7.00 in cash,
         Microchip has agreed to pay, for each share of Atmel common stock, a romblnatio
                                                                                           uly S3 15; provided
         plus a fraction of a share of Microchip common stock having n value ol appruxinut
                                                                                          share of Its common
         however that Microchip will make a cash payment In lieu of issuing a fractional
                                                                                      19, 2016 dt
         stock. For more Information, please see our filing on l-orm a-K from January
                                                                                          l78 8k.htm
         litlo:/Avww.sec,i!QuMrchlves/BdBar/d»ta/87iM4B/0001S710fl9160lQB»lAl60Q

         When Is the transaction expected to dote?

         We expect the transaction to close during file second calendar quarter
                                                                                of 2016, subject to customary
                                                                                  Until then, Atmel and
         closing conditions, regulatory approvals and Atmel stockholder approval.
         Microchip will continue to operate as independe nt companies .

         Will there be salary adjustments In 2016?
                                                                                        We expect Microchip to
         Atmel agreed not to Increase salary for any employees before July 1, 2016.
                                         nts, Including salary levels, during the Integration process.
         review compensation arrangeme

         Who should 1 contact if I have questions about the transaeHon?

         if you have any questions, please contact Atmel's HR department.




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        Atmel
                                                                     &*»


                                                           Additional Information
                                                                                                    proposed merger ir.vclvrg
            This commjnicaticn xay be deemsd to be solicitatior r.aterlsl in respect of the
                                                                                                   with the U.S. Sect rkles end
             Microchip and Atme1 In conrection with the proposed merger. Microchip wl'l file
            Cxclsanse Canirrission {the "SfT'/ a ncglstral'on Ststement on Form S-4 (the
                                                                                                    "Registration Statement)
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            sortai'iiiiE ? pi05|jpt.tui witli rcspec; to the Mic'iUhlp tDrnmon stock to be issued
            a ptoxy stricrr.f-rti ol Atnifil in conriectiun wl(b Vho proposed merger (the 'Proxy
                                                                                                 Stotement/Prospcctus"\. Each
            of Miciothiji arid ^Inu-i ir;cnus tc tile n-.liet riocunients   with the SEC regarding the proposed merger. The
                                                                                                   and will contain Important
            dafinilive Proxy Slotement/Pfospeelus wl'l be mailed to stockholders of Atmel
                                                                                                     iyProspectus will describe
            inforniatior. abcui the piupcseOmeiBfcr arid ret&iort ruatters. The final ProxyStatemen
                                                                                                           Including details of
            the terms and conditions of the way In which the proposed merger will fae Implemented,
                                                                                                  the proposed merger should
            how to vote on the adoption of the proposed merger agreement. Any response to
            be made only on the baslf of the (nfaimstlon in the Proxy Statement/Prospectus.

           Securityholders of Atmel may obtain, free of chfir(je, copies of the Proxy Statement/Prospectus and Registration
           Statement, and any other documents filed by Atmel and Microchip with the SEC In connection with thepropesed
           merger at the SEC's website at www.see.gou. Securityholders of Atmel may obtain, free of charge, copies of the
           Proxy StBtemcnt/Profpectus and any other documents filed by Atmel with the SEC In connection with the
           proposed mercer In the "Inuesrors" section of Atmel's website at www,atmel.com,
                                                                                   ERS OF ATMEL TO READ
           BEFORE MAKING AN INVESTMENT OR VOTING DECISION, WE URGE SECUfilTVHOLD
                                                                                         (INCLUDING ANV
           CAREFULLY THE PROXY STATEMENT/PROSPECTUS AND REGISTRATION STATEMENT
                                                                                      THAT MICROCHIP OS
           AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS
                                                                                 WILL CONTAIN IMPORTANT
           ATMEL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY
           INFORMATION ABOUT THE PROPOSED MERGER,
                                                                                                          of an offer to sell or
           This communication does not constitute an offer to buy or exchange, or the solicitation
                                                                                                    In which such offer, sale or
           exchange, any securities, nor shall there be any sale of securities In any jurisdiction
                                                                                                  securities lams of any such
           exchange would be unlawful prior to registration or ouDllficatlon under the
           jLirtscflcllon. T/ils communication Is not a substitute for any prospectus, prcxy
                                                                                             state-ient or any other document
                                                                                               meieer,
           that Atmel or Microchip may file with the SEC In conneclion with the proposed
                                                      Participants In the Solicitation
                                                                                                                         the
           Atmel, Microchip and their respective directors and executive officers may be deemed to be participants In
                                                                                                                           In
          sallcltatlon of proxies from Atmel's stockholders in connection with the adoption of the merger ajreement
           connection with the proposed merger and may have direct or Indirect interests In the proposed merger,
                                                                                                                          on
          information about Microchip's dlrectoii and executive officers Is set forth in Microchip's Proxy Statement
         —s'cheiJule MA for its 20irKh iTual CTeeting of SiocURaMire^hith was-flted with the s-EE on-July 10, 2015,- and-
                                                                                                                        May
          its Annual Report on Form 10-K for tha fiscal year ended March 31, 2015, which was filed Wth the SEC on
                                                                                                                           st
          27, 2015 and amended on June 8, 2015, These documents are available free cf charge tt the SEC's website
          www.see.gov and from Microchip's website st www.microchip,ccm/lnvestcrshome.espx. Information about
          Atmel's directors and executive officers «nd their respective Interests In Atmel by security holdings or otherwise
                                                                                                                         was
          is set forth In Atmel's Proxy Ststement on Schedule 14Afor its 2015 Annual Meeting of stockholders, which
                                                                                                                           at
          filed with the SEC on April 3, 2015. These documents are available free of charge at the SECs website
          www.see.gov and from Hie "IwesWrs" section of Atmel's website at wwiv.atmeUom. Additional InforitiBtion
                                                                                                                          will
          regarding the Intercstf.of paitic.panls In the solicitation of proxies In connection with the proposed merger
                                                                                                                         the
          be Included In the Proxy Statr"ii.'"t/pl ospKCtU5 and the Registration StBtemetrtthdi Miciorlup will file with
          SEC.
                                  Cautionary Statements Related to Forward-Loo king Statement!
          This communication contains, ormay contain, "forward-looking statements" In relation to Atmel and Microchip,
                                                                                                                      that
          as well as other future events and their potential effects on Atmel, Microchip and the combined company
          are subjtct to risks and uncertslnties. Generally, the words "will," "may," "should," "coi'tlnue," "believes,"
          "targets," "plans," "expects," "estimotes," "alms," "Intends," "anticipates" or similar expressions or negsllves
                                                                                                                       the
          thereof identify forward-looking statements. Forward-looking statements Include itaremcnts relating la fl|
          benefits of the merger, including future financial and operating results of the combined company, Microchip's

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          cr Atn^el's pisns, objectives, expectaTions ano i'lteracns, a.nd The ejected timing cf completiaf. of the
          rrsnsactinn; (2) expected developments -n p^odj:! pctfolio, expected levenuei, expected operating costs
          ssvingi, expected future cash generation, expectec .'utfe cesign w ns and Increase in i-ns-kat share, expected
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          shipments of prodocts, opportt-nltles In The semlcondjctor indjstry end the ability to cal;e adva.'nsge c-f frcse
          opponunltles, the potenllal success to be derived from strategic oarlnershlps, the potent,si iir.pact o' capacltv
          constraints, the effect of financial performance on s.hcie price, the Impact nf goverumen: Kipccratiocs anc
          beliefs of the matiagement of Microchip ano ^tmel; (?) the expansion and growth of Microchip's or Atmel's
          operations; f4) the expected cost, revenue, tecnnclogy and other syne-gies of die proposed merger, the
          expected impact cf the proposed merger on customers snd end-users, the combined company'^ future capital
          expenditures, expenses, revenues, earnings, economic performance, financial condition, losses and future
          prospects; (S) business and management strategies and the expansion and growth of the enmbined company's
          operatrons; snd (6) the anticipated timings of the Atmel stockholaers' meeting and completion of the proposed
          merger.

          These fo'ward-lookir.g statements are baseo upon the current beliefs slid expectations of the manBgenient of
          Atmel and involve rislcs and uncertainties that could cause actual results to differ materially from those
          expressed in the forward-looldng statements. Many of these risks and uncertainties reiatc to factors that ore
          beyond Atmel's ability to control or estimate precisely. Those factors include (X) the outcome of sny legal
         pioceedings that could be Instituted against Atmel or its directors related to the discussions with Microchip, the
         merger agreements with Dialog or Microchip or any unsolicited proposal; (2) the occurrence of any event,
         chsnge ur other claumstancesthat could give rise to tha terniinEtion of the merger agreement with Microchip;
         (3) the ability to obtain eovernmental and regulator^' approvals of the proposed merger between Atmel and
         Microchip; (4) the possibility that the proposed merger between Atmel and Microchip does riot close when
         expected or at all, or that the parties, In order to achieve governmental ana regulatory approvals, may be
         required to modify aspects of the proposed merger or to accept conditions that could adversely sfect the
         combined company or the expected benefits of the proposed nerger; (51 the possibility that other competing
         offers or acquisition proposals will be nade; (6) the cbllltv to realize the expected synergies or savings from the
         proposed merger in the enounts or in the timeframe antlc'pated; (7) the potential harm to customer, supplier,
         employee and other relationships caused by the announcement o dosing ofthe proposed merge'; (8) the ability
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         70 integrate Atmel's businesses into that of Microchip In a timely a^d cost-efficient manner: (9) the combined
         cortipsny's abilltv t o deveiop and market products contalnlrg the respective tschnologles o ' At-ricl srd
         Microchip in a tiniely and rost-ePectlve manner; UO) tne combined company's ability to proieci iritellectual
         property rights; (11) llcigation (including Intellectual property litigation in which the combined compnny may fce
         Involved or in which customers cf the combined company may ae involved, especially In the monllc- device
         sector), and the possible unfavorable results of legal pioceedings; (12) oepenuencE on key personnel; (13) the
         Inablilty to realize the anticipated benefits of acquisitions and restructuring activities, Including In connectior
         with the proposed merger, or other Initiatives in a timely manner or at all; (l4)ihEo'evelopnentof:he markets
         for Atmel's and Mlciochlp's products; (151 risks related to Microchip's ablKy to successfully .'n-pieniGr.t Its
        'acquisitions strategy; (It) uncerfairPEyes to the future profitability of bjsinesses acquired ty Mlc'cichlp, ard
         delays in the realization of, ci1 the failure to leallie, any accretion 'rom any other acquisition transocilons by
         Microchip; (17) the Innerent uncertainty associated with financial promotions; (13) disruptions in the availablllxy
         of raw materials; (19) compliance with U.S. and Interritlonal laws and regulations by the combined company
         and Its distributors; (20) the market price and volatility of Microcnip ccmmcn stock (If the merger Is coniplcted);
         (21) the cyclical nature of the semiconductor Industry; (22) an econcmlc downturn in the semiconductor and
        telecommunications markets; (22) consolidation occurring within the semiconductor Industry; (24) general
        global macroeconomlc and geo-political conditions; (2S) financial market conditions; (25) business intei ruptions,
        natural disasters or terrorist acts; and (27) other risks and uncertainties, inducing those detailed from time to
        time In Mlcroch^'s and Atmel's periodic reports and other filings with the SEC or other regulatory Biithorltles,
        Including Atmel's Annual Report on Form lO-Kforthefiscal year ended December 31, 5014 and Quarterly Sepoit
        on Form lO-Q for the quarterly period ended September 33, 2015 (whether under the caption Risk Factors or
        Forward Looking Statements or elsewhere) and Microchip's Annual Report on Form 10-K for the fiscal year
        ended March 31, 2015, which was filed with the SEC on May 27, 2015 and amended on June S, 2015 and
        Quarterly Report on Forrr; 10-Qfor the quarterly period ended SEptemfaer EC, 2Q1S (whether under the caption
        Risk Factors cr Forward Looking Statements or elsewhere).

        Neither Atmel nor Microchip can give any assurance that such foiward-locWng ststements will prove ti) bf
        correct. The reader is cautioned not to place undue reliance on these forward-looking statements, which speak



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           only «s of the date of this arnouncemsnt Neither Atmel nor Microchip nor any otier persan undertakss any
           obligation to update or revise publicly a ny of theforward-locking statementsset out herein, whether as o result
           of new Information, future events or otherwise, except to the extent legBllv required.
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                                                                              Letter for Exempt Employees hired before 12/3I/I 5

     April 13,2016

    Gfrlsh Ramesh

     Re: Severance Benefits

    Dear Girish,

    I am pleased to offer you a severance agreement on the terms and conditions set forth below.

    As you know, Atmel Corporation (the "Company") recently became a subsidiary of Microchip Technology
    Incorporated ("Microchip") (the "Merger"). The Company and Microchip are making this offer, in part to resolve
    any current disagreement or misunderstanding regarding severance benefits previously offered by the
    Company, and In part to provide you with the security of certain benefits In the event your relationship is
    terminated Involuntarily without Cause (as defined In Appendix A) by the Company, Microchip or any U.S.
    subsidiary or affiliate of the Company or Microchip (the "Microchip Group"), and other than due to your death
    or disability, on or prior to April 4,2017 ("Qualifying Termination").

    These benefits (collectively, the "Severance Benefits") are:
        • Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
            withholdings, based on your base rate of pay in effect Immediately prior to the date your employment
            is terminated (the "Separation Date");
        • Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP) that you
            received from the Company for 2015, then annualized, less applicable withholdings, prorated based on
                                                                                   1
           the number of days between January1,2016 and your Separation Date ; and
        • COBRA Benefits: Two months of COBRA benefits paid for by Microchip,

    Your recelpt-of the Severance Benefits-will be subject to you signing and not revoking a release of any and all
    claims. In a form prescribed by Microchip and substantially the same as that attached at Appendix B (the
    "Release"). Upon the Release becoming effective, the Cash Severance and Target Incentive will be payable In a
    lump sum without Interest as soon as administratively practicable, and all other amounts will be payable in
    accordance with the payment schedule applicable to each payment or benefit.

    Nothing In this agreement Is Intended to, or shall, contradict, modify or alter the terms of your at-will
    employment. You shall remain an at-will employee of the Company and the Microchip Group for all purposes,
    meaning that you, the Company or the member of the Microchip Group employing you may terminate your
    employment at any time for any reason or for no reason, with or without Cause, and with or without notice.
    Moreover, the at-will status of your relationship cannot be changed except In a written document, signed by
    Microchip's Chief Executive Officer and you, and which expressly modifies your at wilt status. This agreement
    constitutes the complete, final, and exclusive embodiment of the entire agreement between you and the


        i For example. If your performance bonus for working the entfrevear of 2015 was$10,000, less applicable

        withholdings, and you are employed for a total of ISO days after January 1,2016, then you will be eligible for a Target
        Incentive of (($10,000 x .5) x (180/365))= $2,465,75, less spplicable withholdings. However, If you were hired by the
        Company sometime after January1,2015, then your 2015 bonus number will be annualized accordingly. For example,
        If you were hired April 1,2015 and received a performancB bonus for 2015 of $7,500, and you are employed for a
        total of 180 days after January 1,2016, then you will be eligible for a Target Incentive of ((($7,500 x 365/275) x .5) x
        (180/365)} >$2,454,55.

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    Microchip <3roup with regard to Its subject matter and supersedes any other actual or perceived promises,
    warranties, or representations with regard to its subject matter made by the Company or any other member of
    the Microchip Group, Including, for the avoidance of doubt, any programs, policies, or agreements with respect
    to severance or equity acceleration benefits made prior to April 4,2016.

   In the event that a portion of the Microchip Group is sold to an unrelated party and your employment Is
   transferred to that party, Microchip and the Company will ensure that the new employer assumes responsibility
   for this agreement.

   If a Qualifying Termination does not occur on or prior to April 4, 2017, this agreement will expire and you will
   not be eligible to receive the Severance Benefits described here.

   To accept this offer, counter-sign In the space provided below and return It to your HR business partner no later
   than April 20,2016.

   Thank you for your continued contributions to our success.

   Sfncereiy,


   ^^UAJU^.       0.- (-0*—
   Lauren Carr
   Vice President, Slobal Human Resources

   AGREED AND ACKNOWLEDGED:                                      MICROCH1P TECHNOLOGY INC.



   Signature {Glrlsh Ramesh)                                       HR Business Partner



   Date                                                            Date




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                                                       APPENDIX A

                                     ADDITIONAL TERMS TO SEVERANCE AGREEMENT

     Unless otherwise defined below, capitalized terms used herein will have the meanings set forth in the
     agreement.



     1. Cause. "Cause" is defined as (1) your willful and continued failure to perform the duties and responsibilities
         of your position after there has been delivered to you a written demand for performance from Microchip's
         Vice President Worldwide Human Resources which describes the basis for her belief that you have not
         substantially performed your duties and you have not corrected such failure within 30 days of such written
         demand; (11) any act of dishonesty by you in connection with your responsibilities as an employee of the
         Company with the intention or reasonable expectation that such action may result In your substantial
         personal enrichment; (111) your conviction of, or plea of nolo contendere to, a felony that Microchip's Vice
         President, Worldwide Human Resources reasonably believes has had or will have a material detrimental
         effect on the reputation or business or any member of the Microchip Group; (Iv) a breach of any fiduciary
        duty owed to the Company or the Microchip Group by you that has a material detrimental effect on the
         reputation or business of any member of the Microchip Group; (v) you being found liable in any Securities
        and Exchange Commission or other civil or criminal securities law action or entering any cease and desist
        order with respect to such action (regardless of whether or not you admit or deny liability): (vi) you (A)
        obstructing or Impeding; (B) endeavoring to obstruct. Impede or Improperly Influence, or (C) falling to
         materially cooperate with, any investigation authorized by the Board or any governmental or self-regulatory
        authority (an "Investigation"); however, your waiver of attorney-client privilege relating to communications
        with your own attorney in connection with an investigation will not constitute "Cause"; or (vil) your
        disqualification or bar by any governmental or self-regulatory authority from serving in the capacity
        contemplated by your position or your loss of any governmental or self-regulatory license that is reasonably
        necessary for you to perform your responsibilities to the Company or any member of the Microchip Group,
        If fAJ^the-tifsqtialiflcationT-bar-oHoss-continMes-for more-than 30 davs;-ami-(B)- during that period the
        Company or any member of the Microchip Group uses Its good faith efforts to cause the disqualification or
        bar to be lifted or the license replaced, It being understood that while any disqualification, bar or loss
        continues during your employment, you will serve in the capacity contemplated by your position to
        whatever extent legally permissible and. If your service in the capacity contemplated by your position Is not
     —permissible;—you-will—be—placed-on—leave—(which-will -be-pald—to -the- extent legally-permissible).




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                                                            APPENDIX B

         TO:             [NAME]

         FROM:           Microchip Technologv Incorporated

         DATE:           [XXXX]

         RE:             Employment Separation, Severance and Release ("Agreement")




         As you know, the Company2 has decided to end your employment without cause (as defined In the
         Severance Agreement that you signed In April 2016). Under the terms of the Severance Agreement, you are
         entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
         Agreement.

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         •   The Company will give you:

                  o   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
                      withholdings, based on your base rate of pay in effect immediately prior to the date your
                      employment is terminated (the "Separation Date");
                 o    Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP)
                      that you received from the Company for 2015, less applicable withholdings, prorated based on
                      the number of days between January 1,2016 and your Separation Date; and
                 o    COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

     •       The Company will not contest any claim for unemployment benefits that you may file.

                                              Your Commitments to the Company

     •       You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
             employees from any liability relating to or arising out of your employment with any of them. This
             includes a release of any liability for claims of any kind that you ever had it may have at thli time, _ ..
             whether you know about them or not. This release is as broad as the law allows and includes a release
             of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
             expressly includes any claims under the Age Discrimination in Employment Act. This release also
             includes a release of any tort and contract claims, and any other claims that could be asserted under
             federal, state or local statutes, regulations or common law.

     •       You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
             State of California, which reads "a general release does not extend to claims which the creditor does
             not know or suspect to exist In his or her favor at the time of executing the release, which If known by
             him or her must have materially affected his or her settlement with the debtor."




     2  In this document, unless otherwise noted, "Company* means Microchip Technology Incorporated, Atmel
     Corporation and any of their affiliated entitles.

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          •    In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or
               to provide information to, or file a charge with, any government agency. However, In agreeing to this
               release, you are agreeing that you will not accept any money, or the reinstatement of your
               employment, for any claim you have released.

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       •      This Agreement states your and the Company's complete understandings regarding your rights and the
              Company's obligations relating In any way to, or arising out of, your employment with the Company.
              No future modification of this Agreement will be valid unless It is written and signed by an executive
              officer of the Company and you. If any provision in this Agreement is deemed unenforceable, it will be
              considered severable and will not affect the enforceability of the rest of the Agreement.

      •       You have until 5:00 p.m. on XXXXX (XX days after your Separation Date), to consider whether you want
              to accept the Severance Benefits by signing this Agreement, although you do not need to wait until that
              time to accept this offer and obtain the Severance Benefits.

      •       To accept this offer, you must sign this Agreement and deliver a signed copy of it to Lauren Carr In
              Human Resources by the date and time stated In the previous bullet point. As noted below, you will not
              receive the Severance Benefits until seven (7) business days after you deliver it to Lauren Carr. If you
              decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
              calendar days to change your mind and revoke the Agreement. To revoke this Agreement after signing
              It, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
              you gave her the Agreement with your signature.

      •       By signing this Agreement, you are acknowledging that you have read It carefully, that it Is written In
              language that you understand, that you have been advised to consult with an attorney, that you have
              been given 21 days [or 45 days If you are not the only employee separated from the Company at the
              same time] to consider it, and that you are signing it knowingly and voluntarily.

      •       If you sign and return this document In less than the time you have been given to consider It, you are
              voluntarily agreeing to waive the remaining portion of the time you have been given to consider It,

              ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




      Date                                                         [XXXX EMPLOYEE NAME]




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           /Itmet
               NOTICE TO EMPLOYEE AS TO CHANGE IN RELATIONSHIP
                     (Issued pursuant to provisions of Section 1089
                    of the California Unemployment insurance Code)

                               Girish Ramssh
          Employee Name:
                                     last 4 digits 0008
          Social Security Number;
                                                      05/20/2016
          You were ED laid off / • discharged on

                 OR

          You resigned your employment voluntarily with an effective date of



                                         ATMEL CORPORATION



                                         BY:          (ft—"
                                                Slgnlj ure
                                                Jayme Vafdoz
                                                Printed Name


         NOTICE ACKNOWLEDGMENT


         1 received a copy of this notice.


         Signed:

         Date:
         Rev 10 October 2015




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                                        DECLARATION OF PATRICK HANLEY




    I, Patrick Hanley, declare asfollows:
                                                               as a Product Marketing Manager. In July 2015,
             In August 2010,1 was hired by Atmet Corporation
                                                           forth Atmei's "US Severance Guarantee Benefit
    I and other Atmel employees received a letter setting
                                                      providing additional details about the severance
    Program", along with an addendum to the letter
                                                                                                          Plan
                                                        Attached as Exhibit A is a copy of the Severance
    program (hereafter collectively "Severance Plan").                                                       ce
                                                         . This Severance Plan provided for  certain severan
    documents I received on approximately July 9,2015
                                                     uently terminated (without cause).
     benefits If Atmel was acquired and I was subseq
                                                               Atmel had entered Into an agreement with
             In approximately September 2015,1 learned that
                                           which   Dialog would  acquire Atmel. I believed this would be a
    Dialog Semiconductor ("Dialog") under
                                                        t partner for my primary project, and I Instantly
    very beneficial move for me, as Dialog was a perfec
                                                      201S, I learned that Atmel had received another
    engaged with them. In approximately December                                                           we
                                                        e this, my relationship with Dialog continued, as
    acquisition offer from a different company. Despit                                                  ) and
                                                  variety of Origina l Equipm ent Manuf acturer s (OEMs
    Jointly traveled and presented our plans to a                                                           ber
                                                       e was very positively received. During the Decem
    Liquid Crystal Manufacturers (LCMs). Our messag                                                           be
                                                         in whether Dialog or  some   other compa  ny might
    2015/January 2016 time frame, since it was uncerta                                                       the
                                                                         my manag  er Brian Daly  (who was
                                                    conversations with
    the eventual purchaser of Atmel, I had several                                                     multiple
                                                    the Atmel Severance Plan. Mr. Daly assured me
    Vice President of the maXTouch BU) regarding                                                          it was
                                                        the Severance Plan would be honored whether
    times that the severance commitment set forth in
     Dialog or some other acquiring company.
                                                                   other acquisition bid was from Microchip
            In the first half of January 2016, i learned that the
                                                                                                                 was
                                                            to counter Microchip's offer, but chose not to. I
     Corporation ("Microchip"). Dialog had the chance
                                                              hip offer, the partner   ship betwee  n Dialog and
     informed by Dialog that if Atmel accepted the Microc                                                     that the
           for my  curren  t project would be over.   I again went to Mr. Daly and asked for assurances
     Atmel
                                                        would  be made    even if It turned  out to be Microchip (or
     severance payments under the Severance Plan
                                                             Dialog. Mr. Daly reassured me that our severance
     another company) that acquired Atmel rather than
                                                           who the acquirer was.
     was covered under the Severance Plan no matter
                                                                    ntly Asked Questions ("FAQs") that had been
             In early February 20161 read through the Freque
                                                                hip acquisition Atmel. A copy of the FAQs is
     published for Atmel employees regarding the Microc                                                           g
                                                            reaffirmed to me that Microchip would be honorin
     attached as Exhibit B. Reading through the FAQs
                                                                       rances  by Mr. Daly and the FAQ's, I decided
                                                         these reassu
     the Severance Plan If It acquired Atmel. Given                                                             I
                                                           iately try to find employment elsewhere. That Is,
     to remain employed at Atmel rather than Immed                                                              al
                                                            ainty over Microchip's acquisition and  my potenti
     decided that I could afford to wait out the uncert
                               receivi ng a signific ant severa nce payment if I wound up being terminated by
     future, since I would be
      Microchip and needed to look for another Job.
                                                              hip and Atmel. On approximately April 5 and
              On April 4,2016, the deal closed between Microc
                                                                                                          are"
                                                       yees that Microchip had purportedly been "unaw
      6,2016, Microchip communicated to Atmel emplo
                                                     ed to Atmel  employ ees. Microc hip indicat ed to the
      of the severance packages that had been promis



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    Atmel employees that they would offer Atmel employees severance packages that were 50% of what
    they had previously received from Atmel.

            On approximately April 13,2016,1 received a letter from Microchip offering me 50% of the
    severance benefits due to me under the Severance Plan If I were to be terminated In the future. I
    understood that Microchip sent similar severance offer letters to other Atmel employees In April 2016.
    A copy of the April 13,2016 letter I received from Microchip is attached hereto as Exhibit C, i rejected
    this "new offer" of a 50% severance payout from Microchip.

            On June lO* 2016, my employment was terminated by Microchip without cause. Acopyofthe
    June 10,2016 termination notice that I received is attached hereto as Exhibit D. Microchip indicated to
    me that, because I had rejected Microchip's April 13,2016 "new offer". Microchip would not pay me any
    severance.

            I relied on the Severance Plan and the assurances I had received from my manager and from the
    FAQs In deciding to stay employed with Atmel through the Microchip acquisition period. I would have
    looked for a job outside of Atmel well before the Microchip acquisition if I had known that Microchip
    was not going to pay me the severance benefits under the Severance Plan.

            I declare under penalty of perjury that the foregoing Is true and correct and that this declaration
    was executed on June 3 2 2016 in     <<in Fr** els t o             .   t/j


                                                          Cuvnv


                                                                  Patrick Hanley




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                                COIMFIRMATION OFATTORNEY REPRESENTATION

              I, Patrick Hanley, hereby confirm that the (aw firms of McGuInn, Hlllsman & Palefskyand

      Attshuler Berzon LLP are authorized to represent me fn connection with my claim for benefits against

      Atmel Corporation/Microchip Technology, Inc. I also hereby confirm that McGuInn, Hlllsman & Palefsky

      and Aitshuier Berzon LLP are authorized to obtain documents on my behalf, Including obtaining '

      documents from Atmel Corporation/Microchip Technology, Inc. I also request that future

      correspondence and communications concerning my claim for benefits be directed by Atmel

      Corporation/Microchip Technology, inc. to the law firms of McGuInn, Hlllsman & Palefsky and Aitshuier

      Berzon LLP.




                                                         n       .I
                                                             fifej       %
      Dated; J u n e ® , 2016
                                                                      Paunck Hanley




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                      EXHIBIT A to
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                                               STRICTLY PERSONAL AND CONFIDENTIAL

  July 9,2015

  Patrick Hanley
  Re; Severance Guarantee

  Dear Patrick

                                                                                                                   that
  Our employees are the Itfeblood of our company and we value and appreciate all you do for Atmel. We recognize
           there has been significant market speculation regarding possible transactions Involving the company and
  recently
                                                                                                                  focused
  understand that such rumors can be distracting and unsettling, To support our employees and to keep everyone
                                                                                                              Guarantee
  on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance
                                                                                                              the
  Benefit program that IsIntended to ease concerns among our employees. Under this program, you will have
                                                                                                            Cause after the
  opportunity to receive benefits as described below if your employment Isinvoluntarily terminated without
  occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include:


       •   Cash Severance; 40% of base salary (based on your base rate of pay In effect on the date the Change of Control
           transaction closes); and
                                                                                                                           of
       •   Target Incentive; If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time
           termination; the proration  will be based  a determination of your MIP  or SIP at the time of termination,  as
            determined by the Company; and
       •    COBRA Benefits: Four (4) months' of COBRA benefits paid for fay the Company

                                                                                                             letter. To
  All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached to this
              benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
  receive any
  Company (or Its successor) if a transaction occurs (the "Release").

                                                                                                                      other than
  Nothing In this letter Is Intended to, or shall, contradict, modify or alter the terms of your at-will employment,
                                                                                                                     You shall
  the provision by the Company (or Its successor) of the Severance Guarantee Benefits provided by this letter.
                                                                                                                        your
  remain an at-will employee for all purpose^ meaning that you or the Company (or its successor) may terminate
  employment    at any time   for any reason or for no  reason, with or without  Cause, and with  or without notice.

                                                                                                            convey our
  Patrick, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they
                   appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.
  recognition and

  Sincerely,



  Suzanne Zoumaras
  Senior Vice President, Global Human Resources

  Attachment




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  Blnay BaJaJ




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                                                 ADDENDUM TO
                                   U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                   July 9,2015            •



                                                                                         Benefit Program Is effective from
Term of the Severance Guarantee Benefit Program; The U.S. Severance Guarantee
                                                                    Triggering Event (as described below) has
July 1,2015 and will terminate on November 1,2015 unless an Initial
                                                                         Guarantee Benefit Program will remain In
occurred prior to November .1, 2015, In which event the U.S. Severance
effect for 18 (eighteen) months following that Initial Triggering Event.


                                                                                n as of the date a Change of Control is
Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporatio
 consummated.

                                                                            Benefit Program will become available to
Initial Triggering Event: Benefits under the U.S. Severance Guarantee
                                                                    aoreement  (a "Definitive Agreement"); on or before
eligible employees only If the Company enters into a definllive
                                       In a Cliango of Control of the Company   If a Definitive Agreement is not entered
November 1,2015,      that will result
                                                                        Program described In the letter and this Addendum
Into on or before that date, the U.S. Severance Guarantee Benefil
                 lly expire, unless expressly   extended by the  Company's  Board  of Directors.
will automatica

                                                                                      eligible employees the     U.S.
Baneflts Conditions; After an Initial Triggering Event occurs that makes available to
                                                                        to receive cash payments and COBRA
Severance Guarantee Benefit Program, participants will then be entitled
benefits If, but only If:


      A.      A Change of Control actually occurs; and
                                                                                Its successor) at any time within 18
      B.      Their employment Is terminated without "Cause" by the Company (or
              months  of the execution date of thq Definitive Agreemen t.


                                                                         definition of "Change of Control" and
      For purposes of this U.S. Severance Guarantee Benefit Program, the
                                                        Compan/s  Senior Executive  Change of Control and Severance
      "Cause" will be the same as that contained In the
      Plan.

                                                                                    satisfied, and you are entitled
 Severance Guarantee Benefits: If the Benefits Conditions described above have been
                                                                      Program, you will recelvethe benefits as
 to Severance Guarantee Benefits under the U.S. Severance Guarantee
           In the Severance Guarantee letter provided to you dated July 9,2015.
 described

                                                                                          before or after an Initial
 Terminations Not Subject to Program: If your employment is terminated at anytime
                                           of your voluntary resignation , death, disability or termination for Cause, you
 Triggering Event has occurred as a result
                                                                       discussed above; the U.S. Severance Guarantee
 will not be eligible to receive any Severance Guarantee Benefits. As
                                                                              under this Program unless there Is both a
 Program Is a "double trigger" plan, meaning that no benefits are available
                                                                      without Cause.
 Change of Control that occurs and your employment is terminated

                                                                             Benefits will be subject to your executing a
 Release of Claims (the "Release"): Receipt of any Severance Guarantee
                                     In a  form reasonably  acceptable  to the Company or Its successor (the "Release"). If
 separation and release ogrecmenl
                                                                           Severance Guarantee Benefits. If any portion
 you do not timely provide the Release, you will forfeit the right to any
                                        Is  scheduled to be paid prior to the date the Release Is effective, that portion
 of the Severance Guarantee Benefits
                                                                             following the Release effective date.
 will. Instead, accrue and be paid as scon as administratively practicable

                                                                                               such as but not limited to
 Coordination of Benefits; If you are or become eligible for statutory severance benefits,
                                                                         orthe Severance Guarantee Benefits, but
 WARN notice pay, you will recelvethe greaterof those statutory benefits
 not both (and without duplication),




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                                                                                                       Pacific Daylight Time
                                                                   Friday, April 8,2016 at 12:19:18 PM

                                                                             Relating to the MicrochipMerger
                                         Regarding Compensation & Benefits
     Subject: Frequently Asked Questions
                                                   34 PM Pacific Standard Time
     Date;    Wednesday, February 3, 2016 at 5:57:
     From:       Human Resources

     Dear Atmel Employees,
                                                                                                                 d to
                                       today we posted our first set of
                                                                        Frequently Asked Questions (FAQs) relate
     I am pleased to announce that                                                         ect, at
                                           FAQs are available on our Intra
                                                                           net, Atmel Conn
     the Atmel/Mlcrochip merger. The                                                                    ensation and
                                /iiicJe x.htm l and are focus ed on answering questions related to comp
     rirtp://coiineci.atmel.com
     benefits.
                                                                                  FAQs     .
                                              we will provide further updates and
     As we have additional Information,

     Warm regards,


     Suzy
                                             ant, Global Human Resources
     suziinuu Zoumnr.is | Senloi Vice Presid
     O;               | M: USB.354.4877
                                              om
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        Atmel
                                FREQUENTLY ASKED QUESTIONS
                                    Microchip Transaction:
                                                        for U.S. Employees
                    Effect on Compensation and Benefits

                                                                                                Atmel after the closing?
                                                   and compersatary arrangements with
          What happens to my employment
                                                                                      ensatory contracts (Including
                                          each of your employment and comp
          M/crochlp has agreed to honor                                     n, sever unce, Incenllue and change In
                                           t, employmen     t contl nuallo
          retention awards and employmen                                 In effect Imrnc dliitel y prior to the dosing
                                          or Its subsidiaries, that  are
          control agreements) with Atmel,
          of the transaction.
                                                                                                doses?
                                                      its be affected after the transaction
          How will my compensation and benef
                                                                                through Oecember i:i, 2016. in
                                             e your base salary or base wages
          Microchip has agreed not to reduc                                  ion and bnnefils parirsge (or 2016
                                            that your agereeate compensat
          addition. Microchip has promised                              pre-d oslng cnmpensatlon and benefits
                                         the  aagfe  gatc value of your
          will be comparable In value to                                         yee swek purchase plans.
                                             utcci to wny pension plans or emplo
          package, excluding the value aUiHi
                                                                                           ction?
                                                   l benefit plans following the transa
          Will i participate In the same Atme
                                                                                         r.ilon Aimcl's benefits will be
                                          following tht closing of ihc transa
          We anildpatc thiU sometime                                           transi tion  is yel to lie neTermlnp.d. Upon
                                              lil plans. The  ttiviinB of this
          liansitlonerl nmo Microchip's hone                             be  imme  diatel   y  eligibtn 10 participate In all
                                          benefits plans, you will
          the transition to the Microchip                                         Micro  chip   plans We will work with
                                                  illtv requirements ol HIP
          Mictochip plans subject to the ellpib                             plans In the near term.
                                           ation   abou  t the  Micro  chip
          Microchip to provide you inform
                                                      ses of Microchip'sbenefits plans?
          Will 1 receive service creditfor purpo
                                                                                   that Atmel recognizes for you as of
                                             you with the same service credit
          Microchip has agreed to provide                              chip) , for purposss of eligibility, vesting,
                                                                                                                     and
                                           ded such servic es to Micro
          the closing (as If you had provi                             to Atme   l plans (e.g., health Insurance plans,
                                                that are comp   arable
          level of benefits In Microchip plans
          paid time off}.
                                                                                                 ?
                                                        jaj«3rd.g.»ft«r the transaction closes
           What will haBaeo^amv Atmel jE<»)jltv
                                                                                              e each continuing employee's
                                             the transaction, Microchip will assum
          KSUs & EBSiiS- At the clasing of                                stock    units   (RSUs  ) and performance-based
                                              awards of    restri cted
          then-outstanding and unvested                                    s  Into  award   s for Microchip common stock
                                                convert those award
          restricted stock units (PRSUs), and                                     ngree ment,     The converted awards will
                                              mlned under the definitive
          with nn equivalent value as dctar                                    rights you may have to accelerated
                                                                                                                       vestlne
                                          (e.g., vestin g, Includ  lnfi any
          retain thesame material terms                                      ment   or  Atmel's stock plan) as youi Atmel
                                             your  empl  oyme   nt  agren
          under the terms of yom award,                                                      s of RSUs and PRSUs (including
                                            g of the transaction, any vested award
          award. In addition, at the closin                                       which   snares   have not yet been Issued,
                                                g of the transaction      )  for
          any portion that vests ort the closin                                         ,  and   conve .lc-d Into the right to
                                           ct to sppllcable withholding taxes
          will be settled in shares, subje                                        the  closing Just like any othei Atmel
                                            ion  for  those   share  s   ,7fter
          receive the merger considerat
          stockholder.
                                                                                         rate and become vested and
                                             l stock options that you hold will accele
          Stock Ootions. All unvested Atme                                   to your  contin ued service through the
                                           prior to the closing, subje    ct
          exercisable In full immediately                              get doserto the closing date on how
                                                                                                             you may
                                   more Inform   ation   to you  as we
          dosing. We will provide                                              vestin gin connection withthe closing.
                                           are  eligib le for thisaccel erated
          exercise your stock options that

                                                                                                                     PSQfil OfS
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        Atmel
          If you do not exercise your stock options
                                                        prior to the closing, Atmel wlH automatically
                                                                                                          "net exercise"
                                                                                                       taxes will be paid
                                                         exercise price and applic   able withho lding
          your stock options, which means that the                                       to you on the exercise of your
                                                     t of  shares  otherw  ise Issuab le
          by withholding the appropriate amoun                                                          for your options
                                                      consideration for the shares you are issued
          stock options, Vou will receive merger
                                      any other  Atmel  stockh  older.
          after the closing just like
                                                                                                             ue the ESPP
                                                          Purchase I'lan IESPP). Atmel expects to contin
          Purchase tilulm under the Emolovec- .Stock                                     would otherwise be in effect at
                                                      u  period under   Uio  b"5PP that
          until Just before closing. For any otferin                                                   ses will be made
                                                        shorten the offering period so that purcha
          the closing of the transaction, Atmel will
                              ss  day  prior to such closing . All shares  of Atmel stock purchased on that purchase
          on the IQth busine                                                                                shares at the
                                                          and will be treated like all other outstanding
          date will not be released until the closing
                                                      iately prior  to the closin g.
          closing. The ESPP will terminate Immed
                                                         Atmel stock?
          HOW much will J receive for my shares of
                                                                                                       $7.DO (n cash,
                                                         of Atmel common stock, a combination of
          Microchip has agreed to pay, for each share                             of approx imatel y $1.15; provided
                                                         on  stock having a value
          plus a fraction of a share of Microchip comm                                                of Its common
                                                      payment In lieu of issuing a fractional share
          however that Microchip will make a cash
                                   ation, please see our filing on Form  S-K from January 19,2016 at:
          stock. For more Inform
                                                           .VO.0.0^7Ma91^pl084^All?Q9^8 9k,htm
          Mtj^^W.<.Pi?JQ^:<^e>Z.Mtor/d?ta/87^0
          When is the transaction expected to close?
                                                                                                 t to customary
                                                     the second calendar quarter of 2016, subjec
          We expect the transaction to dose during
                                     tory approv als and  Atmel stockh older approval. Until then, Atmel and
          closing conditions, regula
                                                       endent companies,
          Microchip will continue to operate as Indep

          Will there be salary adjustments In 2016?
                                                                                               expect Microchip to
                                                  any employees before July 1, 2016. We
          Atmel agreed not to Increase salary for                               the Integra tion process.
                                                     ing sal&ry levels , during
          review compensation arrangements, includ
                                                   about the transaction?
          Who should I contact If I have questions
                                                        t Atmel's HR department.
          If you have any questions, please contac




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        Atmel
                                                           Additional Information

            lliis comnvinicxtmn may hi clbn^ei) tu li<! solitiu'ion inaierlal In respect of the propoica mcrtief liwolwnf
            Micindiit> ind          In t'-;iiicr'.ipn wltit (he propoW merger, Microchip will llle with tho U.S Sftcuiltlcs ano
            'atianjc ConMTilSJion (<lit "Sff'l « Ht'glitrainjn !iritement on form S-1 (the "fiegMrotlon statei)ient"\
            toniainlng a pmspectus with respect to (he Microchip common sloch to be Issues In the proposed merger and
            e proxy Uainmenl cf Atrncl In ccitmettion with the proimsed merger (the "Proxy Swtemenl/Proipectjs"). Each
            of Mlcwihlp and Aiiwel Intcndi to lile olhci iloturnents with the SEC regarding the proposed merger, The
           definitive f'io);y Statarnent/Proi.pectus will be mailed to stockholders of Atmel and will contain important
           liifnirnatimt about'IiR froposMlmeiljKr ami folatcilmatters.The final Proxy Staiement/Prospectui will describe
           the- sernn snd Kinditlons of the way in wnich the (.uoposed merger will be Implemented, Including details of
           how tu vnie on HIE adoption of the pMpiwfl mcrtsei agreement. Any response to the proposed merger should
           ha -naic only on the arsis of the Infurrnatloii III 'hr. P'oxy Statement/P^ospoctus,

           Socurltyholdi'fi of Atmcl ftiav obtatn, fieeol ehsrjc. copies M iho Proxy Statement/Prospectus and Registration
           SiatemniM, auo any other docunioriti 'iled by Atmel and Mi-ifn hip with the SEC In connection with the proposed
           mt'Rer a; vhe SEC', v^chslte at V/W A'.SCC cov. Secinllyhclden uf Atmel mjy obtain, free of charge, copies of the
           froxy Stati'inenl/Priispecius anrl any other dot.iineits filert by Atmel with the SEC In connfictlon with the
           proposed merger in the "Invfftnn" section of AtniBl'swebsite at www.atmel.com.

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          INfOriMATlON AUOUT I HE PPn»OIiED MERCiCft.

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          enchange, any secufiflcs, nui ^hall there bo iiny sale o! wciu ltles in    v luilsali nun which such oiler, snip 01
          exchange would re unlawful prior to reglslratmn or qualification under the securities laws of any such
          jurisdiction. ThlsioilimiMN;*tion is nt)T a substitute for any prospectus, proxy statement or any other document
          that Atmel 01 Mlcrnchip may 'He with the 5EC in cunnection with the proposed merger.

                                                      Participants In the Solicitation

          Atniftl, Microchip and their iiiiiicctu-e directors and executive officers may be deemed to bs participants in the
          MllcltaUnu of pl'oxlL-s frnm Atirieli sror.Mioli Iff. In connection with the adoption of the merger agreement In
          rcnnsctlon with iie pwpoaed inoifef unil may have direct or Indirect interests In the proposed merger.
          Infurrnaticn nhciiit Microchip's dlu'durt •mrl executive officers is set forth in Microchip's Proxy Statement on
         SihedulL' lit A fonts' 2015 AmuntMcuinr of Itort-holders, which-was-flled-Wltli..tbai£C^.n July. If1. JWS, snd.
         its Annual ftepori cn I oi m m-lt fw the filer,! yi vi I'nded March 31, 2015, which was filed with the SEC on May
         . 7,       ill-ill umonrlrd on Juim 8. AUO. Iliest «li.ir.uments are available free of charge at the SEC's website at
         www.scc.eov and froin Mlcroi lilp'i website at www.inicrochlp.coin/lrivestorshome aspx, Information about
         Atnipl'wllroi.tuis ant) «ycniiivp tilfrtEr;. sntl ihalr re'iu ctlve interest! In Atmel by security holdings or otherwise
         is set forth In Atmel'l Proxy Statement on Irhcdule tM for Its 2015 Annual Meeting of Stodrholders, which was
         filed with iho '..Er cm April 3. 20J5 These duLurnoiits are available free of charge at the SEC's website at
         www.ser.gov and irom the "Investors'' section of Atmel's website at www.atmel.com. Additional Information
         regarding tin; inifesls of pamrlparits In the solicitation of proxies in connection with the proposed merger will
         be irmuded In the Pioxy Sutement/Prospeitus and the Registration Statement that Microchip will file with the
         SEC.

                                  Cautionary Stataments Related to Forward-Looking Statements

         This communication contains, or may contain, "forward-looking statements" in relation to Atmel and Microchip,
         as well as other future events and their potential effects on Atmel, Microchip and the combined company that
         are subject to risks and uncertainties. Generally, the words "wlli," "may," "should," "continue," "believes,"
         "targets," "plans," "expects," "estimates," "aims " "intonds," "anticipates" or similar expressions or negatives
         thereof identify forward-looking statements. Forward-looking statements Include statements relating to [l|the
         benefits of the merger, Including futuie financial and operating results of the combined company, Mlci'ochlp's



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        /ItmeL
           or Atmel''; pians, objectives, expectations and intention!,
                                                                              and the expected timing of completion cf the
                                                                                 expected revenues, expected ooersting costs
           transaction; (2) expected developments In piuduct portfolio,
                                                                                        and Increase in nwlrft shsre, expected
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                        on nf products in those of  customers,    adoption    of new technoiog'es,. the expectation of volume
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                                                                                              ability to take advantage of those
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                                                                                        and growth of Microchip's oi Atmel's
          bdiefi cf the inaitfgement o( (v'lttoeMp md 'tire;; (3) rfe expansion
          opciai'.iMi'; «} th-- svpfertsc cost, revci-.ue,
                                                            technoiagy and other syneigles of the proposed merger, the
                                                                                       the combined company'sfuruie capital
          expected impect ct !h» p'.iprsed merger on customers ana end-users,,
                                                                                  e. (Ir.snr.lal condition, losses and future
          expend tures, expenses, revenues, earnings, economic performanc
                                                                        expansion and growth of the combined company's
          proipects; (S) business and management strategies and the
                                                                               rs' meeting ard completion of the proposed
          :iopiations; and (5| the anticipated timings of the Atmcl stockholde
           merger.
                                                                                                 beliefs and expectations o( the manaflemcnt of
           These forward-loofsing statements are based upon the lunent
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           Atmel and Involve risks and uncertainties thai coulri cause
                          m  the  (orw.mMoo      kini; sliitwu-nij    . (vi.wy   of   these    risks and uncertainties relate to factors that are
           cxcrcswi/
           K-VdiiU Atmel's slMliiy In coMtrol c.f •'slliiwlt picnsoly.
                                                                                        Those factors include (1) the outcome of soy legal
                            lli.n coulu   lie Inslilutt'd  nRnlnsl   Ainu-l  ot  its  directors     related to the discussions with Microchip, the
           proi-coditips
                                    s  Willi  (iMiOfi  m   Microclup     oi   any   unsolicited       proposal: (2) the occurrence of any event,
           ineigc-i agfECtucnt
                                               ces that   could  (live  ilsc  iu the   termination       ofthe mergeraBreementwIth Microchip;
           chanQco' nilifi clraiinstan
                                                                                                    of the proposed merger between Atmel and
           (ill i)itf alnliiy to clit.-iin (jovemmGntal ond rrculatorv ftpprowals
                                                                                                      Atmel and Microchip does not dose when
           Mli ioctiip, jr.) the (lusiilillliy 'lia: tht (l oposed nierRi't beiween
                                                                                            Governmental and regulatory approvals, may be
          cxpertcrl or al iill, or that tho panics. In oide' to Achieve
                                                                                           accept conditions that could adversely affect the
          lequned lo inodlfv aspwti. o) ilit proposed merger or to
                                                                                                 merger; (5) the possibility that other competing
          rnmblned company oi thf cxpeLted benefits if tho iiroposed
                                                                                              realize the expected synergies or savings from the
          offers or .if (imsltif' proposals will he made, |i.; Hie ?l>llltv to
                                                                                                   ; (7) the potential harm to customer, supplier,
           proposed rnerprr m Hie amot-nts oi in thn llrneframc anticipated
                                                                                           enl or dosing of the proposed merger; (S) the ability
          erniloyt-eandoihei relitionsh-ps rauscri by the ennounccm
                                                                                          timely and cost-efflclsnt manner; (5) the combined
          io Integrate Atmel's Imsincssos into that of Ktlcroclilp In a
                                                                                                      the respective technologies of Atmel and
          lyinpniiy's iibmiv to clave lop aim "vitfi products containing
                                                                                 :         camblned company's ability to protect intellectuEl
          Micrortilp ii. J timely and cosi-etfraiv't mannei. |l' l t^e
                                                                                              litigation In which the combined company may be
          P'Op'"'v tifihts; (I i) 'Hiuation (including imclleclual p'Dpeity
                                                                                              may be involved, especially in ths mobile device
          Involved oi In whicli customers of tlie combined company
                                                                                                   s; (12) dependence on key peisonnel; (13) the
          sectvO. •.ml the po'.Mblf jnljwirablc n-siilts of li.-fM- proceeding
                                                                                          and restructunng Ectivitles, Including in connection
          iiuoilitv to reaii.-c '.lip antlcinalcd benedlsnf .ic.-tuisitlons
                                                                                                    or at all; (1«) the development of the markets
          wiili HK f.r(-.[i/.'.fi<l mcrg"! ir •jihm un-if t.v. v m * tiwely manner
                                                                                               Microchip's ability to successfully Implement its
          loi Atmel': .ifd .VJici'oclnp'i pmdocts. (35) HSIII "i-l.'.ted to
                                                                                             tability of businessej ncqulicd by MIcrotMp, and
          acquisitions strategy, (JIA) unr.erid.nty as 'n thn (utuorprofl
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          delays in me loaliiDttori o(, or the lalluie to reallie. any accretion
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          Microclup. (17) Hie inbcrcnt unceitamty aj.soclateri v.'ltb financial
                                                                                           al lavjs and regulations by the combined company
          of lav/ materui!. 119) rumnliancc v.'itlv u.S and intcmatlnn
                                                                                                       common stock (i'the merger Is completed):
          .-.iid its distnotito's, (20) the •n.'Kci (irite anrt volatlilly of Microchip
                                                                                             an economic downturn in the semiconducloi and
          (;i) the tychcal n.nur# uf thr scmlconduttoi imlusliy; (22)
                                                                                               wltnln the semlconducto/ Industry; (24) general
          lelfcoiimiiinicailons naikets, pi) coi'soimation o.-currlng
                                                                                                    market conditions; [26) business interruptions,
          global inacroccononni and Beo-p<".llliv.«l curiflmrms; (^5) financial
                                                                                     and uncertainties, including tnase detailed from time to
          natural disasters or tfrcorlsl acts, and (7 '| oilier risks
                                                                                            filings with the SEC or other regulatory authorities,
          time in Microchip's anrl Atmel's gci iodic rcpous and other
                        /.liners  Annual     Itopon   on  Foriii 10 -K  feir the   fiscal year ended December 31,20W and QuarterlyTleport
          incliiding
                                                                                                201S (vyhether under the caption Hlsk Factors or
          on l:orm 1(1'O. few the ouartcrly penod ended September 3D,
                                  Slotienienl    s at  e'srwlie'el     and    Microchip's        Annual Report on Form 10-K for the fiscal year
          loiwaro (.ookmc
                                             winch    was  filed   wuf.    the  SFC    on   May     27, 201S and amended on June 8, 2015 and
          ended Maich 91. ^U35,
                                                                                                 September 30, 2015 (whethei under the caption
          Oua'teriy Itetmrl on Foi'm iO-Q foi the qjaiterly period ended
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          Hiii. i rtCic-ti ot "oiwarri puoKIng Stoteivipiit' <« clsewliere)
                                                                            forwsrd-lopking statements will prove to be
          Nelthp.r Atmel nor Microchip can give any assurance tbsl such
                                                                       on these forward-lonking statements, which speak
          correct. The reader is cautioned not to place undue reliance


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          only as of the data of thli •nnoun.ccmfint Neither Atmel nor Microchip
                                                                                    nor any other person undertakes any
                                                                                      ts set out herein, whether as a result
          obllgBtlcm to update or revise publicly any of theforward-looking statemen
                                                                                legally required,
          of new Information future events or otherwise, except to the extent
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                   EXHIBIT C to
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                                                                             Letter for Exempt Employees hired before 12/31/15


 AprH 13,2016


 Patrick Hanley


 Re; Severance Benefits


 Dear Patrick,

                                                                             set forth below.
 ( am pleased to offer you a severance agreement on the terms and conditions

                                                                             a subsidiary of Microchip Technology
 As you know, Atmel Corporation (the "Company") recently became
                                                                              are making this offer, in part to resolve
 Incorporated ("Microchip") (the "Merger"). The Company and Microchip
                                                anding  regarding  severance   benefits previously offered by the
 any current disagreement or misunderst
             and   in  part to provide  you with the  security of certain benefits in the event your relationship is
 Company,
                                                                           by the Company, Microchip or any U.S.
 terminated involuntarily without Cause (as defined In Appendix A)
             or affiliate of the Company  or Microchip  (the "Microchip  Group"), and other than due to your death
 subsidiary
 or disability, on or prior to April 4,2017 ("Qualifying Termination").


 These benefits (collectively, the "Severance Benefits") are:
                                                                                  salary, less applicable
     •   Cash Severance: A lump sum payment equal to 20% of your annual base
                                                                                  to the date your employment
         withholdings, based on your base rate of pay In effect immediately prior
          is terminated (the "Separation Date");
                                                                                                                (MIP) that you
      •   Target Incentive: A lump sum payment equal to 50% of the annual performance bonus
                                                                               withholdings, prorated based on
          received from the Company for 2015, then annualized, less applicable
                                                                               1; and
          the number of  days between January 1,2016 and your  Separation  Date

      •   COBRA Benefits; Two months of COBRA benefits paid for by Microchip.

                                                                        and not revoking a release of any and all
 Your receipt of the Severance Benefits will be subject to you signing
                                  Microchip   and substantial ly the same   as that attached at Appendix B (the
 claims, in a form prescribed by
                                                                         and Target incentive will be payable in a
 "Release"). Upon the Release becoming effective, the Cash Severance
                                                                      , and all other amounts will be payable in
 lump sum without interest as soon as administratively practicable
             with the payment  schedule applicable to each payment   or benefit.
 accordance

                                                                      modify or alter the terms of your at-will
  Nothing In this agreement is intended to. or shall, contradict,
                                                              Company   and the Microchip Group for ail purposes,
  employment. You shall remain an at-will employee of the
                     the Company    or the  member    of the Microchip Group  employing you may terminate your
  meaning that you,
                                                                   or  without Cause, and with or without notice.
  employment at any time for any reason or for no reason, with
                               of your  relationshi p cannot be changed  except  in a written document, signed by
  Moreover, the at-will Status
                                                                               your at will status. This agreement
  Microchip's Chief Executive Officer and you, and which expressly modifies
                                                                         entire agreement between you and the
  constitutes the complete, final, and exclusive embodiment of the



       1 For example, if your performance bonus for working the entire vear of 2015 was $10,000, less
                                                                                                           applicable
                                                                                             then you will be eligible for a Target
       withholdings, and you are employed for a total of 180 days after January 1,2015,
                                                                                           , However, if you were hired by the
       Incentive of (($10,000 x .5) x (180/365))= $2,465.75, less applicable withholdings
                                           1,2015, then your  2015  bonus  number  will be  annualized accordingly. For example,
       Company sometime after January
                                                                                     of $7,500, and you are employed for a
       If you were hired April 1,2015 and received a performance bonus for 2015
                                                                                      Incentive of ((($7,500 x 365/275) x .5) x
       total of 180 days after January 1,2016, then you will be eligible for a Target
       (180/365)) =$2,454.55.

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                                                                                          or perceived promises,
 Microchip Group with regard to tts subject matter and supersedes any other actual
                                                           matter made by the Company    or any other member of
 warranties, or representations with regard to Its subject
                Group, including, for the avoidance of doubt, any programs, policies, or agreements  with respect
 the Microchip
 to severance or equity acceleration benefits made prior to April 4, 2016.

                                                                                     and your employment Is
 In the event that a portion of the Microchip Group is sold to an unrelated party
                                              Company will ensure that the new employer assumes responsibility
 transferred to that party. Microchip and the
 for this agreement.

                                                                                         will expire and you will
 If a Qualifying Termination does not occur on or prior to April 4, 2017, this agreement
 not be eligible to receive the Severance Benefits described here.

                                                                                         business partner no later
 To accept this offer, counter-sign in the space provided below and return It to your HR
 than April 20, 2016,


 Thank you for your continued contributions to our success.


 Sincerely,


                0.'     C.C(s)r~~
 Lauren Carr
 Vice President, Global Human Resources

                                                               MICROCHIP TECHNOLOGY INC.
 AGREED AND ACKNOWLEDGED;



 Signature (Patrick Hanley)                                     HR Business Partner



                                                                Date
Date




                                                                                                                 2




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                                                         APPENDIX A

                                     ADDITIONAL TERMS TO SEVERANCE AGREEMENT

                                                                                      set forth in the
 Unless otherwise defined below, capitalized terms used herein will have the meanings
 agreement.



                                                                                                duties and responsibilities
 1.   Cause. "Cause" Is defined as (i) your willful and continued failure to perform the
                                                                                                            from Microchip's
      of your position after there has been delivered to you a written demand for performance
                                                                describes   the basis  for her   belief   that  you have not
      Vice President, Worldwide Human Resources which
                    performed   your duties  and you  have  not  corrected   such failure within    30 days of such written
      substantially
                                                                                                es as an employee of the
      demand; (ii) any act of dishonesty by you in connection with your responsibiliti
                           intention  or reasonable    expectation   that  such  action  may    result in your substantial
      Company with the
                                                                                            felony that Microchip's Vice
      personal enrichment; (III) your conviction of, or plea of nolo contendere to, a
                                                                                            have a material detrimental
      President, Worldwide Human Resources reasonably believes has had or will
                                                                                                 a breach of any fiduciary
      effect on the reputation or business or any member of the Microchip Group; (iv)
                                            Microchip   Group   by you   that has  a  material  detrimental      effect on the
      duty owed to the Company or the
                                                                                                     liable in any Securities
      reputation or business of any member of the Microchip Group; (v) you being found
                                                                                                       any cease and desist
      and Exchange Commission or other civil or criminal securities law action or entering
                                                                                               deny liability); (vl) you (A)
      order with respect to such action (regardless of whether or not you admit or
                                                                                              Influence, or (C) falling to
      obstructing or impeding; (B) endeavoring to obstruct, impede or improperly
                            with,  any investigation  authorized  by  the Board   or any governmenta       l or self-regulator/
      materially cooperate
                                                                                              relating to communications
      authority (an "investigation"); however, your waiver of attorney-client privilege
                                                                                                      "Cause"; or (vii) your
      with your own attorney in connection with an Investigation will not constitute
                                                                                                   serving in the capacity
      disqualification or bar by any governmental or self-regulatory authority from
                                                                                                y license that Is reasonably
      contemplated by your position or your loss of any governmental or self-regulator
                                                                                                   of the Microchip Group,
      necessary for you to perform your responsibilities to the Company or any member
                                        or loss continues   for  more   than   30 days,  and   (B)   during that period the
      if (A) the disqualification, bar
                                                                                             cause the disqualification or
      Company or any member of the Microchip Group uses Its good faith efforts to
                                                                                             disqualification, bar or loss
      bar to be lifted or the license replaced, it being understood that while any
                                                                                                        by your position to
      continues during your employment, you will serve in the capacity contemplated
                                                  If your service in  the capacity  contemplated      by your position is not
      whatever extent legally permissible and.
                                                                                             extent legally permissible),
      permissible, you will be placed on leave (which will be paid to the




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                                                       APPENDIX 8

       TO:            [NAME]

       FROM:          Microchip Technology Incorporated

       DATE:          [XXXX]

    RE;              Employment Separation, Severance and Release ("Agreement")




    As you know, the Company2 has decided to end your employment without cause (as defined in the
    Severance Agreement that you signed in April 2016). Under the terms of the Severance Agreement, you are
    entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
    Agreement.


                                         The Company's Commitments to You

    •     The Company will give you;


               o   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
                   withholdings, based on your base rate of pay in effect immediately prior to the date your
                   employment is terminated (the "Separation Date");
               o   Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIR)
                   that you received from the Company for 2015, less applicable withholdings, prorated based on
                   the number of days between January 1,2016 and your Separation Date; and
               o   COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

   •     The Company will not contest any claim for unemployment benefits that you may file.


                                          Your Commitments to the Company

   •     You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
         employees from any liability relating to or arising out of your employment with jmy of tlti>m. This
         includes a release of any liability for claims of any kind thai you ever iiad nr may liavi' at llils time,
         whether you know about them or not. This release Ls ys broad ah Hie law allows and includes a release
         of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
         expressly Includes any claims under the Age Discrimination in Employment Act. This release also
         includes a release of any tort and contract claims, and any other claims that could be asserted under
         federal, state or local statutes, regulations or common law.


   •     You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
         State of California, which reads "a general release does not extend to claims which the creditor does
         not know or suspect to exist in his or her favor at the time of executing the release, which If known by
         him or her must have materially affected his or her settlement with the debtor,"




   2  In this document, unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
   Corporation and any of their affiliated entitles.


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                                                                                  any term of this Agreement or
    •   In agreeing to this release, you are not giving up your rights to enforce
                               n to, or file a charge with, any governme nt agency. However, in agreeing to this
        to provide Informatio
                                                                                 or the reinstatement of your
        release, you are agreeing that you will not accept any money,
        employment, for any claim you have released,


                                    General Understandings and Acknowledgements

                                                                                         ings regarding your rights and the
    •   This Agreement states your and the Company's complete understand
                                                        to,  or arising  out   of, your    employment with the Company.
        Company's obligations relating in any way
                    modificatio n of this  Agreemen   t will be valid  unless   it is   written and signed by an executive
        No future
                                                                        Agreemen      t is deemed   unenforceable, it will be
        officer of the Company and you. If any provision In this
                                     will not affect the enforceabi   lity of the  rest   of the Agreement .
        considered severable and

                                                                                   to consider whether you want
    •   You have until 5:00 p.m. on XXXXX (XX days after your Separation Date),
                  the Severance   Benefits by signing this Agreemen t, although you do not need to wait until that
        to accept
        time to accept this offer and obtain the Severance Benefits.

                                                                              signed copy of it to Lauren Carr in
    •   To accept this offer, you must sign this Agreement and deliver a
                                           time  stated in the previous bullet point. As noted below, you will not
        Human Resources by the date and
                                                                              you deliver It to Lauren Carr. if you
        receive the Severance Benefits until seven (7) business days after
                                                                             to Lauren Carr, you have seven (7]
        decide to accept this offer and you deliver a signed Agreement
                 days to  change your  mind  and revoke  the Agreemen   t To  revoke this Agreement after signing
        calendar
                                                             to Lauren  Carr within seven (7) calendar days after
        it, you must deliver a written notice of revocation
        you gave her the Agreement with your signature.

                                                                            read It carefully, that It Is written in
    •   By signing this Agreement, you are acknowledging that you have
                                                                                with an attorney, that you have
        language that you understand, that you have been advised to consult
                                         if you are not the only  employee  separated  from the Company at the
        been given 21 days [or 45 days
                                                                             voluntarily.
        same time] to consider it, and that you are signing it knowingly and

                                                                             been given to consider It, you are
    •   If you sign and return this document in less than the time you have
                                                            of the time you have been given to consider it.
        voluntarily agreeing to waive the remaining portion

                                                                 ENFORCEABLE CONTRACT.
        ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY




                                                                     [XXXX EMPLOYEE NAME]
    Date




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        /Itmet                                                            ; um
            NOTICE TO EMPLOYEE AS TO CHANGE IN RELATIONSHIP
                  (Issued pursuant to provisions of Section 1089
                 of the California Unemployment Insurance Code)

                             . Patrick J Hanley
        Employee Name:
                                       last 4 digits--1779
        Social Security Number

        You were 0 laid off / • d i s c h a r g e d o n   J- w   M }0/6

                OR

        You resigned your employment voluntarily with an effective date of



                                           ATMEL CORPORATION



                                           BY:                   J.
                                                   Signature
                                                   Rani Rajan

                                                   Printed Name


        N&flCE ACKNOWLEOGMEI#


        I received a copy of this notice.


       Signed:

        Date:
       Rev 10 Octobet 2015




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                     EXHIBIT A-9




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                               DECLARATION OF 1LANA SHTERNSHA1N


                I, liana Sbtemshain, declare as follows:
                 In 2015,1 was employed by Atmel as a Staff Design Engineer. In My 201S, land other
         Abnel employees received aletter setting forth Atmel's "U.S. Severance Guarantee Benefit
         Program", along with an Addendum to the letter providing additional details about the severance
         program (hereafter colleotively "Severance Plan'O- Attached hereto asExhibit A is a copy of
         the Severance Plan document that I received in July 2015. The Severance Plan provided for
         certain severance benefits if Atmel was acquired and I was subsequently teiminated. Under the
         terms of (he SeverancePlan, ray severance benefits included cash payments representing 40% of
         my base salary, a pro-rated amount of my annual bonus target and four months of COBRA
         insurance to be paid by the company.
                 In approximately September 2015,1learned that Atmel had entered into an agreement
         with a company called DialogSemiconductor ("Dialog") pursuant to which Dialog would
         acquire Atmel. In approximately December 201S, I heard that Atmel had received another
         acquisition offer from a different company. There was speculation among employees at Atmel
         that the "other" company looking to acquire Atmel was Microchip Technology, Inc.
         ("Microchip").
                 In approximately the last half of December 2015, at an MCU design team meeting
         attended by Rafael Fried (the MCU design team director) and Suzy Zoumaras (Attnd's Senior
         Vice President of Human Resources), our team received confirmation that the Severance Plan
         would be valid and in effect even if a company other than Dialog wound up acquiring Atmel.
         During this design team meeting, Ms. Zoumaras assured the team that the Severance Plan had
         been triggered when Atmel had entered into the agreement with Dialog in September 20IS, and
         that the Severance Plan was valid and in effect regardless of which company wound up acquiring
         Atmel. Ms. Zoumaras and Mr. Fried also indicated that I did not need to worry about looking for
         other employment outside of Atmel, since I would be protected with severance payments under
         the Severance Plan if a company acquired Atmel and I was terminated as a result. Ms. Zoumaras
         and Mr. Fried also encouraged us to disseminate this message about the Severance Plan to other
         Atmel employees who might have similar concerns or questions.
                 In early February 2016,1 read the Frequently Asked Questions ("FAQ's") that had been
         published for Atmel employees regarding the potential Microchip acquisition of Atmel. A copy
         of the FAQ's is attached as Exhibit B. Reading the FAQ's confirmed again to me that
         Microchip would be honoring the Severance Plan if it acquired Atmel.




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                During multiple MCU design team meetings which I attended between approximately
         January 2016 and March 2016, Mr, Fried told the team multiple times that if Microchip acquired
        Atmel and then terminated our employment, we would have a financial cushion because of the
        severance pay we would receive under the Severance Plan. At these MCU design team
        meetings, Mr. Fried also told the team that he had been meetings with Steve Laub (the Chief
        Executive Officer of Atmel) after Microchip had become the likely acquirer of Atmel, and that
        Mr. Laub had given assurances at those meetings that the Atmel employees would receive their
        severance payments under the Severance Plan if they were terminated following an acquisition
        by Microchip. Many other Atmel employees told me that they had also been assured by their
        managers that the Severance Flan was valid and in efToct, and that Microchip would need to pay
        this severance if it tenninated Atmel employees following the acquisition.
               On approximately April 4,2016, the acquisition between Atmel and Microchip closed.
        On approximately April 6,2016,1 learned that some Atmel employees had received letters
        informing them that they were being tenninated etlective immediately. I was told that these
        termination letters indicated that Microchip would only pay a small number of weeks of salary as
        severance. Approximately one week later, I learned that many Atmel employees who had been
        tenninated had subscquectly received a new letter, which indicated that Microchip would pay
        them only 50% of the severance benefits due under the Severance Plan. I was not terminated in
        April 2016 and so remained as an employee of Atmel/Microchip.
                On approximately April 7,2016, Microchip's Chief Executive Officer (Steve Sanghi)
       called an all hands meeting at Atmel's San Jose office. At this meeting, which I attended, Mr.
       Sangihi told employees that he considered the Severance Plan offered by Atmel to be invalid, and
       that he was going to offer a "new" severance plan which would pay 50% of the benefits provided
       by the Atmel Severance Plan. Mr. Sangjii told the employees that if they were not satisfied with
       this, they would have to go to court against him.
               On approximately April 8,2016, Mr. Fried held a design team meeting in which he told
        employees that he had been assured by upper level Atmel executives that the Severance Plan was
        valid.
              On approximately April 13,2016,1 received a letter from Atmel which proposed a "new"
       severance agreement for me, A copy of this April 13,2016 letter is attached as Exhibit C.
       Under this "new" severance proposal, I would only receive 50% of the severance benefits which
       were due to me under the Severance Plan if I were subsequently terminated by Microchip
       without cause. I refused to sign this April 13,2016 letter proposal.




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                 On July 12,2016,1 was informed that I was bdng teiminated effective imniBdietely. f
         was terminated without"cause" effectiveJuly 12,2016. On July 12,2016,1 reocived a
         Severance Agreement from Microchip which offered to pay me only 50% of the severance
         benefits due to me undo; the Severance Plan. A copy of the July 12,2016 Severance Agreement
         which I received from Microchip is attached hereto as Exhibit D. Under the terms of the July
         12,2016 Severance Agreement, I would have to sign a release of all claims against Ahnel and
         Microchip in order to receive these 50% severance benefits. 1refused to sign this July 12,2016
         Severance Agreement and Release.       -
                 I relied on receiving severance benefits under the Severance Plan in making the decision
         to stay at Atmel through the time of the Microchip acquisition. 1 would have left Atmel and
         found another job long before Microchip's April 2016 acquisition ifl had known that Microchip
         was not going to pay me the severance benefits under the Severance Plan.
                1 declare under penalty of perjury that the foi egoing is true and correct and that this
         declaration was executed on September^ /. 2016 at           Sicu* xToSe. .
            Colt fay" n

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  Atmel                                        STRICTLY PERSONAL AND CONFIDENTIAL

  July 9.2015


  liana Shtemshaln
  Re: Severance Guarantee


  Dear liana.


  Our employees are the llfeblood of our company and we valueand appreciate all you do for Atmel. We recognize that
  recently there has been significant market speculation regarding passible transactions involving the company and
  understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
  an our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
  Benefit program that is intended to ease concerns among our employees. Under this program, you wiil have the
  opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
  occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include:


       •    Cash Severance; 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
            transaction closes); and
       •    Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time of
            termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
            determined by the Company; and
       •    COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company


  All Severance Guarantee Benefits are subject to the terms and conditions In the Addendum attached to this letter. To
  receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
  Company (or its successor) if a transaction occurs (the"Release").


  Nothing in this letter Is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
  the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
  remain an at-will employee for all purposes, meaningthat you or the Company (or Its successor) may terminate your
  employment at any time for any reason or for no reason, with or without Cause, and with or without notice.


  liana, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
  recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.


  Sincerely,



  Suzanne Zoumaras
  Senior Vice President, Global Human Resources


  Attachment




  Benjamin Froemming
  Rafael Fried




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                                                  STRICTLY CONFIDENTIAL

                                                      ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                              •          July 9,2015



 Term of the Severance Guarantee Benefit Program; The U.S. Severance Guarantee Benefit Program Is effective from
 July 1,2015 and will terminate on November 1, 2015 unless an Initial Triggering Event (as described below) has
 occurred prior to November 1,2015, In which event the U.S. Severance Guarantee Benefit Program will remain hi
 effect for 18 (eighteen) months following that Initial Triggering Event.


 Eligibiiity; Eligibility is limited to U.S.-ba$ed employees of Atmel Corporation as of the date a Change of Control Is
 consummated.


 Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only if the Company enters Into a definitive agreement (a "Definitive Agreement"); on or before
 November 1,2015, that will result In a Change of Control of the Company. If a Definitive Agreement is not entered
 Into on or before that date, the U.S. Severance Guarantee Benefit Program described In the letter and this Addendum
 will automatically expire, unless expressly extended by the Company's Board of Directors.


 Benefits Conditions; After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
 benefits if, but only if:


      A.      A Change of Control actually occurs; and
      B.      Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
              months of the execution date of the Definitive Agreement,


      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained In the Company's Senior Executive Change of Control and Severance
      Plan.


 Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
 to Severance Guarantee Benefits u nder the U.S. Severance Guarantee Program, you will receive the benefits as
 described in the Severance Guarantee letter provided to you dated July 9,2015.


 Terminations Not Subject to Program: If your employment is terminated at any time before or after an Initial
 Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you
 will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
 Program Is a "double trigger" plan, meaning that no benefits are available under this Program unless there Is both a
 Change of Control that occurs and your employment is terminated without Cause.


 Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
 separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
 you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
 of the Severance Guarantee Benefits Is scheduled to be paid prior to the date the Release is effective, that portion
 will. Instead, accrue and be paid as soon as administratively practicable following the Release effective date,


 Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
 WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
 not both (and without duplication).




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 Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
 determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
 are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
 interpreted accordingly.


 Additional Matters. Any successor to the Company will assume the obligations under the Program.        For all purposes
 under the Program, the term "Company' will include any successor to the Company's business and/or assets which
 becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
 severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
 payroll deductions. The Program will be administered and Interpreted by the Company. Any decision made or other
 action taken by the Company prior to a Change of Control with respect to the Program, and any Interpretation by the
 Company prior to a Change of Control of any term orcondition of the Program, or any related document, will be
 conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
 Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
 of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (11) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
 in good faith. The Company may. In its sole discretion and on such terms and conditions as It may provide, delegate
 in writing to one or more officers of the Company all or any portion of Its authority or responsibility with respect to
 the Program; provided, however, that any Program amendment or termination or any other action that couid
 reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
 of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
 be construed, administered and enforced In accordance with the internal substantive laws of the State of Callfomla
 (with the exception of its conflict of laws provisions).




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                            FREQUENTLY ASKED QUESTIONS
                                Microchip Transaction:
                Effect on Compensation and Benefits for U.S. Employees


       What happens to my employment and compensatory arrangements with Atmel after the closing?

       Microchip has agreed to honor each of your employment and compensatory contracts (including
       retention awards and employment, employment continuation, severance, Incentive and change in
       control agreements) with Atmel, or its subsidiaries, that are In effect immediately prior to the closing
       of the transaction.

       How will my compensation and benefits be affected after the transaction closes?

       Microchip has agreed not to reduce your base salary or base wages through December 31, 2016, In
       addition. Microchip has promised that your aggregate compensation and benefits package for 2016
       will be comparable In value to the aggregate value of your pre-cioslng compensation and benefits
       package, excluding the value attributed to any pension plans or employee stock purchase plans.

       Will I participate In the same Atmel benefit plans fallowing the transaction?

       We anticipate that sometime following the closing of the transaction Atmel's benefits will be
       transitioned onto Microchip's benefit plans.Thetimfng of thlstransltionisyetto be determined. Upon
       the transition to the Microchip benefits plans, you will be immediately eligible to participate in all
       Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
       Microchip to provide you Information about the Microchip plans In the near term.

       Will I receive service credit for purposes of Microchip's benefits plans?

       Microchip has agreed to provide you with the same service credit that Atmel recognizes for you as of
       the closing (as If you had provided such services to Microchip), for purposes of eligibility, vesting, and
       level of benefits In Microchip plans that are comparable to Atmel plans (e.g., health insurance plans,
       paid time off).

       What will happen to my Atmel equity awards after the transaction closes?

       RSUs & PRSUs. At the closing of the transaction. Microchip will assume each continuing employee's
      then-outstanding and unvested awards of restricted stock units (RSUs) and performance-based
      restricted stock units (PRSUs), and convert those awards into awards for Microchip common stock
       with an equivalent value as determined under the definitive agreement. The converted awards will
       retain the same material terms (e.g., vesting, Including any rights you may have to accelerated vesting
       under the terms of your award, your employment agreement or Atmel's stock plan) as your Atmel
      award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (Including
       any portion that vests on the closing of the transaction) for which shares have not yet been Issued,
       will be settled in shares, subject to applicable withholding taxes, and converted Into the right to
       receive the merger consideration for those shares after the closing just like any other Atmel
      stockholder.

      Stock Options. All unvested Atmel stock options that you hold will accelerate and become vested and
      exercisable in full Immediately prior to the closing, subject to your continued service through the
      closing. We will provide more information to you as we get closer to the closing date on how you may
      exercise your stock options that are eligible forthis accelerated vesting in connection with the closing.



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    Atmel
      If you do not exercise your stock options prior to the closing, Atmel wlli automatically "net exercise"
      your stock options, which means that the exercise price and applicable withholding taxes will be paid
      by withholding the appropriate amount of shares otherwise Issuable to you on the exercise of your
      stock options. Vou will receive merger consideration for the shares you are Issued for your options
      after the closing Just like any other Atmel stockholder.

      Purchase Rights under the Employee Stock Purchase Plan (ESPP1. Atmel expects to continue the ESPP
      until Just before closing. For any offering period under the ESPP that would otherwise be In effect at
      the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
      on the 10th business day prior to such dosing. All shares of Atmel stock purchased on that purchase
      date will not be released until the closing and will be treated like all other outstanding shares at the
      closing. The ESPP will terminate Immediately prior to the closing.

      How much will I receive for my shares of Atmel stock?

      Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 In cash,
      plus a fraction of a share of Microchip common stock having a value of approximately $1.15; provided
      however that Microchip will make a cash payment in lieu of issuing a fractional share of Its common
      stock. For more information, please see our filing on Form 8-K from January 19,2016 at:

      hllt)://www.st'r.t:ovMirhivos/i:'di;.it/clnl3/a/'<?4^8/000157J009i60:L08 l l/tiG0D17B 8k.litm
                                                                              /




      When is the transaction expected to close?

      We expect the transaction to close during the second calendar quarter of 2016, subject to customary
      closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
      Microchip will continue to operate as Independent companies,

      Will there be salary adjustments In 20167

      Atmel agreed not to Increase salary for any employees before July 1, 2016. We expect Microchip to
      review compensation arrangements, including salary levels, during the integration process.

      Who should I contact If I have questions about the transaction?

      If you have any questions, please contact Atmel's HR department.




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    yitmel!
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                                                     Additional Information

       This communlcatlan may be deemed to be solicitation material In respect o f the proposed merger Involving
       Microchip and Atmel. In connection with the proposed merger, Microchip will file with the U.S. Securities and
       Exchange Commission {the "SEC") a Registration Statement on Form S-4 (the "Registration Statement")
       containing a prospectus with respect to the Microchip common stock to be Issued in the proposed merger and
       a proxy statement of Atmel In connection with the proposed merger (the "Proxy Statement/Prospectus"). Each
       of Microchip and Atmel Intends to file other documents with the SEC regarding the proposed merger. The
       definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmel and will contain Important
       Information aboutthe proposed merger and related matters.The final Proxy Statement/Prospectus will describe
       the terms and conditions of the way in which the proposed merger will be Implemented, Including details of
       how to vote on the adoption of the proposed merger agreement. Any response to the proposed merger should
       be made only on the basis of the information In the Proxy Statement/Prospectus.

       Securityholders of Atmel may obtain, free of charge, copies of the Proxy Statement/Prospectus and Registration '
       Statement, and any otherdocuments filed by Atmel and Microchip with the SEC in connection with the proposed
       merger at the SECs website at www.sec.gov. Securityholders of Atmel may obtain, free of charge, copies of the
       Proxy Statement/Prospectus and any other documents filed by Atmel with the SEC In connection with the
       proposed merger In the "Investors" section of Atmel's website at www.atmel.com.

       BEFORE MAKING AN INVESTMENT OR VOTING DECISION, WE URGE SECURITYHOLDERS OF ATMEL TO READ
       CAREFULLY THE PROXY STATEMENT/PROSPECTUS AND REGISTRATION STATEMENT (INCLUDING ANY
       AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS THAT MICROCHIP OR
       ATMEL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANT
       INFORMATION ABOUT THE PROPOSED MERGER,

       This communication does not constitute an offer to buy or exchange, or the solicitation of an offer to sell or
       exchange, any securities, nor shall there be any sale of securities In any Jurisdiction In which such offer, sale or
       exchange would be unlawful prior to registration or qualification under the securities laws of any such
       Jurisdiction. This communication Is not a substitute for any prospectus, proxy statement or any otherdocument
       that Atmel or Microchip may file with the SEC in connection with the proposed merger.

                                                 Participants in the Solicitation

       Atmel, Microchip and their respective directors and executive officers may be deemed to be participants In the
       solicitation of proxies from Atmel's stockholders In connection with the adoption of the merger agreement In
       connection with the proposed merger and may have direct or Indirect interests In the proposed merger.
       Information about Microchip's directors and executive officers Is set forth In Microchip's Proxy Statement on
       Schedule 14A for Its 2015 Annual Meeting of Stockholders, which was filed with the SEC on July 10,201S, and
       its Annual Report on Form 10-K for the fiscal year ended March 31, 2015, which was filed with the SEC on May
       27, 2015 and amended on June 8, 2015. These documents are available free of charge at the SECs website at
       www.sec.gov and from Microchip's website at www.mlcrochlp.com/lnvestorshome.aspx, Information about
       Atmel's directors and executive officers and their respective interests in Atmel by security holdings or otherwise
       is set forth In Atmel's Proxy Statement on Schedule 14A for its 2015 Annual Meeting of Stockholders, which was
       filed with the SEC on April 3, 201S. These documents are available free of charge at the SECs website at
       www.sec.gov and from the "Investors" section of Atmel's website at www.atmel.com. Additional information
       regarding the Interests of participants in the solicitation of proxies In connection with the proposed merger will
       be Included In the Proxy Statement/Prospectus and the Registration Statement that Microchip will file with the
       SEC.

                               Cautionary Statements Related to ForwaFd-Looldng Statements

       This communication contains, or may contain, "forward-looking statements" In relation to Atmel and Microchip,
       as well as other future events and their potential effects on Atmel, Microchip and the combined company that
       are subject to risks and uncertainties. Generally, the words "will," "may," "should," "continue," "believes,"
       "targets," "plans," "expects," "estimates," "aims," "intends," "anticipates" or similar expressions or negatives
       thereof identify forwa rd-iooking statements. Forward-looking statements Include statements relating to (1) the
       benefits of the merger. Including future financial and operating results of the combined company, Microchip's


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      or Atmel's plans, objectives, expectations and Intentions, and the expected timing of completion of the
      transaction; (2) expected developments In product portfolio, expected revenues, expected operating costs
      savings, expected future cash generation, expected future design wins and Increase In market share, expected
      Incorporation of products In those of customers, adoption of new technologies, the expectation of volume
      shipments of products, opportunities In the semiconductor industry and the ability to take advantage of those
      opportunities, the potential success to be derived from strategic partnerships, the potential Impact of capacity
      constraints, the effect of financial performance on share price, the Impact of government expectations and
      beliefs of the management of Microchip and Atmel; {3) the expansion and growth of Microchip's or Atmel's
      operations; (4) the expected cost, revenue, technology and other synergies of the proposed merger, the
      expected impact of the proposed merger on customers and end-users, the combined company's future capital
      expenditures, expenses, revenues, earnings, economic performance, financial condition, losses and future
      prospects; (5) business and management strategies and the expansion and growth of the combined company's
      operations; and (6) the anticipated timings of the Atmel stockholders' meeting and completion of the proposed
      merger.

      These forward-looking statements are based upon the current beliefs and expectations of the management of
      Atmel and involve risks and uncertainties that could cause actual results to differ materially from those
      expressed in the forward-looking statements, Many of these risks and uncertainties relate to factors that are
      beyond Atmel's ability to control or estimate precisely. Those factors Include (1) the outcome of any legal
      proceedings that could be Instituted against Atmel or Its directors related to the discussions with Microchip, the
      merger agreements with Dialog or Microchip or any unsolicited proposal; |2) the occurrence of any event,
      change or other circumstances that could give rise to the termination of the merger agreement with Microchip;
      (3) the ability to obtain governmental and regulatory approvals of the proposed merger between Atmel and
      Microchip; (4) the possibility that the proposed merger between Atmel and Microchip does not close when
      expected or at all, or that the parties, in order to achieve governmental and regulatory approvals, may be
      required to modify aspects of the proposed merger or to accept conditions that could adversely affect the
      combined company or the expected benefits of the proposed merger; (5) the possibility that other competing
      offers or acquisition proposals will be made; (6) the ability to realize the expected synergies or savings from the
      proposed merger in the amounts or In the timeframe anticipated; {7) the potential harm to customer, supplier,
      employee and other relationships caused by the announcement or closing of the proposed merger; (8) the ability
      to Integrate Atmel's businesses into that of Microchip In a timely and cost-efficient manner; (9) the combined
      company's ability to develop and market products containing the respective technologies of Atmel and
      Microchip in a timely and cost-effective manner; (10) the combined company's ability to protect Intellectual
      property rights; (11) litigation (Including Intellectual property litigation In which the combined company may be
      Involved or in which customers of the combined company may be involved, especially In the mobile device
      sector), and the possible unfavorable results of legal proceedings; (12) dependence on key personnel; (13) the
      inability to realize the anticipated benefits of acquisitions and restructuring activities. Including In connection
      with the proposed merger, or other initiatives In a timely manner or at all; (14) the development of the markets
      for Atmel's and Microchip's products; (15) risks related to Microchip's ability to successfully Implement Its
      acquisitions strategy; (16) uncertainty as to the future profitability of businesses acquired by Microchip, and
      delays In the realization of, or the failure to realize, any accretion from any other acquisition transactions by
      Microchip; (17) the Inherent uncertainty associated with financial projections; (18) disruptions in the availability
      of raw materials; (19) compliance with U.S. and international laws and regulations by the combined company
      and its distributors; (20) the market price and volatility of Microchip common stock (If the merger Is completed);
      (21) the cyclical nature of the semiconductor Industry; (22) an economic downturn In the semiconductor and
      telecommunications markets; (23) consolidation occurring within the semiconductor industry; (24) general
      global macroeconomlcand geo-political conditions; (25) financial market conditions; (25) business Interruptions,
      natural disasters or terrorist acts; and (27) other risks and uncertainties, including those detailed from time to
      time in Microchip's and Atmel's periodic reports and other filings with the SEC or other regulatory authorities,
      Including Atmel's Annual Report on Form 10-K fortheflscal year ended December 31,20l4and Quarterly Report
      on Form 10-Q for the quarterly period ended September 30, 201S (whether under the caption Risk Factors or
      Forward Looking Statements or elsewhere) and Microchip's Annual Report on Form 10-K for the fiscal year
      ended March 31, 2015, which was filed with the SEC on May 27, 2015 and amended on June 8, 2015 and
      Quarterly Report on Form 10-Q for the quarterly period ended September 30,2015 (whether under the caption
      Risk Factors or Forward Looking Statements or elsewhere).

      Neither Atmel nor Microchip can give any assurance that such forward-looking statements will prove to be
      correct. The reader is cautioned not to place undue reliance on these forward-looking statements, which speak



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       only as of the date of this announcement. Neither Atmel nor Microchip nor any other person undertakes any
       obligation to update or revise publicly any of the forward-looking statements set out herein, whetheras a result
       of new Information, future events or otherwise, except to the extent legally required.
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                                                                            Letter for Exempt Employees hired before 12/31/15

  April 13,2016

  liana Shternshaln

  Re: Severance Benefits

  Dear liana.

  I am pleased to offer you a severance agreement on the terms and conditions set forth below.

  As you know, Atmel Corporation (the "Company") recently became a subsidiary of Microchip Technology
  incorporated ("Microchip") (the "Merger"). The Company and Microchip are making this offer, in part to resolve
  any current disagreement or misunderstanding regarding severance benefits previously offered by the
  Company, and in part to provide you with the security of certain benefits in the event your relationship is
  terminated Involuntarily without Cause (as defined in Appendix Al by the Company, Microchip or any U.S.
  subsidiary or affiliate of the Company or Microchip (the "Microchip Group"), and other than due to your death
  or disability, on or prior to April 4,2017 ("Qualifying Termination").

  These benefits (collectively, the "Severance Benefits") are:
      • Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
          withholdings, based on your base rate of pay in effect immediately prior to the date your employment
          Is terminated (the "Separation Date");
      • Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP) that you
          received from the Company for 2015, then annualized, less applicable withholdings, prorated based on
          the number of days between January 1,2016 and your Separation Date1; and
      • COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

  Your receipt of the Severance Benefits will be subject to you signing and not revoking a release of any and all
  claims, in a form prescribed by Microchip and substantially the same as that attached at Appendix B (the
  "Release"). Upon the Release becoming effective, the Cash Severance and Target Incentive will be payable in a
  lump sum without Interest as soon as administratively practicable, and all other amounts will be payable In
  accordance with the payment schedule applicable to each payment or benefit.

  Nothing In this agreement Is Intended to, or shall, contradict, modify or alter the terms of your at-will
  employment. You shall remain an at-will employee of the Company and the Microchip Group for all purposes,
  meaning that you, the Company or the member of the Microchip Group employing you may terminate your
  employment at any time for any reason or for no reason, with or without Cause, and with.or without notice.
  Moreover, the at-will status of your relationship cannot be changed except in a written document, signed by
  Microchip's Chief Executive Officer and you, and which expressly modifies your at will status. This agreement
  constitutes the complete, final, and exclusive embodiment of the entire agreement between you and the


       1 For example. If your performance bonus for working the entire year of 2015 was $10,000, less applicable

       withholdings, and you are employedfor a total of 180 days after January 1,2016, then you willbe eligible for a Target
       Incentive of (($10,000 x .5) x (180/365))= $2,465.75, less applicable withholdings. However, if you were hired by the
       Company sometime after January 1,2015, then your 2015 bonus number will be annualized accordingly. For example,
       If you were hired April 1,2015 and received a performance bonus for 2015 of $7,500, and you are etnpioyed for a
       total of 180 days after January 1, 2016, then you will be eligible for a Target Incentive of ((($7,500 x 365/275) x .5) x
       (180/365)) = $2,454.55.

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 Microchip Group with regard to Its subject matter and supersedes any other actual or perceived promises,
 warranties, or representations with regard to its subject matter made by the Company or any other member of
 the Microchip Group, including, for the avoidance of doubt, any programs, policies, or agreements with respect
 to severance or equity acceleration benefits made prior to April 4,2016.

 In the event that a portion of the Microchip Group Is sold to an unrelated party and your employment is
 transferred to that party. Microchip and the Company will ensure that the new employer assumes responsibility
 for this agreement.

 If a Qualifying Termination does not occur on or prior to April 4, 2017, this agreement will expire and you VKIII
 not be eligible to receive the Severance Benefits described here.

 To accept this offer, counter-sign In the space provided below and return It to your HR business partner no later
 than April 20,2016.

 Thank you for your continued contributions to our success.

 Sincerely,


                 A'         —•

 Lauren Can-
 Vice President, Global Human Resources


 AGREED AND ACKNOWLEDGED;                                      MICROCHIP TECHNOLOGY INC.




 Signature (liana Shternshain)                                  HR Business Partner




 Date                                                           Date




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                                                    APPENDIX A

                                  ADDITIONAL TERMS TO SEVERANCE AGREEMENT

  Unless otherwise defined below, capitalized terms used herein will have the meanings set forth in the
  agreement.


  1. Cause. "Cause" is defined as (I) your willful and continued failure to perform the duties and responsibilities
     of your position after there has been delivered to you a written demand for performance from Microchip's
     Vice President, Worldwide Human Resources which describes the basis for her belief that you have not
     substantially performed your duties and you have not corrected such failure within 30 days of such written
     demand; (ii) any act of dishonesty by you In connection with your responsibilities as an employee of the
     Company with the intention or reasonable expectation that such action may result in your substantial
     personal enrichment; (iii) your conviction of, or plea of nolo contendere to, a felony that Microchip's Vice
     President, Worldwide Human Resources reasonably believes has had or will have a material detrimental
     effect on the reputation or business or any member of the Microchip Group; (Iv) a breach of any fiduciary
     duty owed to the Company or the Microchip Group by you that has a material detrimental effect on the
     reputation or business of any member of the Microchip Group; (v) you being found liable in any Securities
     and Exchange Commission or other civil or criminal securities law action or entering any cease and desist
     order with respect to such action (regardless of whether or not you admit or deny liability); (vi) you (A)
     obstructing or impeding; (B) endeavoring to obstruct, impede or improperly influence, or (C) failing to
     materially cooperate with, any Investigation authorized by the Board or any governmental or self-regulatory
     authority (an "Investigation"); however, your waiver of attorney-client privilege relating to communications
     with your own attorney in connection with an Investigation will not constitute "Cause"; or (vii) your
     disqualification or bar by any governmental or self-regulatory authority from serving In the capacity
     contemplated by your position or your loss of any governmental or self-regulatory license that is reasonably
     necessary for you to perform your responsibilities to the Company or any member of the Microchip Group,
     if (A) the disqualification, bar or loss continues for more than 30 days, and (B) during that period the
     Company or any member of the Microchip Group uses its good faith efforts to cause the disqualification or
     bar to be lifted or the license replaced, it being understood that while any disqualification, bar or loss
     continues during your employment, you will serve in the capacity contemplated by your position to
     whatever extent legally permissible and, if your service in the capacity contemplated by your position is not
     permissible, you will be placed on leave (which will be paid to the extent legally permissible).




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                                                       APPENDIX B

    TO:              [NAME]

    FROM;            Microchip Technology Incorporated

    DATE:            [XXXX]

    RE:              Employment Separation, Severance and Release ("Agreement")




    As you know, the Company2 has decided to end your employment without cause (as defined in the
    Severance Agreement that you signed in April 2016). Under the terms of the Severance Agreement, you are
    entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
    Agreement.

                                          The Company's Commitments to You


    •     The Company will give you;

              o   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
                  withholdings, based on your base rate of pay in effect immediately prior to the date your
                  employment is terminated (the "Separation Date");
              o   Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIR)
                  that you received from the Company for 2015, less applicable withholdings, prorated based on
                  the number of days between January l, 2016 and your Separation Date; and
              o   COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

    •     The Company will not contest any claim for unemployment benefits that you may file.

                                          Your Commitments to the Company

    •     You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
          employees from any liability relating to or arising out of your employment with any of them. This
          includes a release of any liability for claims of any kind that you ever had or may have at this time,
          whether you know about them or not. This release is as broad as the law allows and includes a release
          of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
          expressly includes any claims under the Age Discrimination in Employment Act. This release also
          includes a release of any tort and contract claims, and any other claims that could be asserted under
          federal, state or local statutes, regulations or common law.

    •   You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
        State of California, which reads "a general release does not extend to claims which the creditor does
        not know or suspect to exist In his or her favor at the time of executing the release, which If known by
        him or her must have materially affected his or her settlement with the debtor."




    2  In this document, unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
    Corporation and any of their affiliated entities.


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    •   In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or
        to provide information to, or file a charge with, any government agency. However, in agreeing to this
        release, you are agreeing that you will not accept any money, or the reinstatement of your
        employment, for any claim you have released.

                                 General Understandings and Acknowledgements

    •   This Agreement states your and the Company's complete understandings regarding your rights and the
        Company's obligations relating in any way to, or arising out of, your employment with the Company.
        No future modification of this Agreement will be valid unless it is written and signed by an executive
        officer of the Company and you. If any provision in this Agreement is deemed unenforceable, It will be
        considered severable and will not affect the enforceability of the rest of the Agreement.

    •   You have until 5:00 p.m. on XXXXX (XX days after your Separation Date), to consider whether you want
        to accept the Severance Benefits by signing this Agreement, although you do not need to wait until that
        time to accept this offer and obtain the Severance Benefits.

    •   To accept this offer, you must sign this Agreement and deliver a signed copy of it to Lauren Carr in
        Human Resources by the date and time stated in the previous bullet point. As noted below, you will not
        receive the Severance Benefits until seven (7) business days after you deliver It to Lauren Carr. If you
        decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
        calendar days to change your mind and revoke the Agreement. To revoke this Agreement after signing
        it, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
        you gave her the Agreement with your signature.

    •   By signing this Agreement, you are acknowledging that you have read it carefully, that it is written in
        language that you understand, that you have been advised to consult with an attorney, that you have
        been given 21 days [or 45 days if you are not the only employee separated from the Company at the
        same time]to consider it, and that you are signing it knowingly and voluntarily.

    •   if you sign and return this document in less than the time you have been given to consider it, you are
        voluntarily agreeing to waive the remaining portion of the time you have been given to consider it.

        ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




     Date                                                    [XXXX EMPLOYEE NAME]




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                                                  MICROCHIP
                                                           APPtNDIXB

          TO:             liana Shternshaln
          FROM:           Microchip Technology Incorporated
          DATE:           July 12,2016
          RE;             Emplovment Separation, Severance and Release ("Agreement")



          As you know, the Company1 has decided to end your employment without cause (as defined in the
          Severance Agreement that you signed In April 2016). Under the terms of theSeverance Agreement, you are
          entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
          Agreement.

                                               The Company's Commitments to Vou

          • The Company will give you:

                    o Cash Severance; A lump sum payment equal to 2055 of your annual base salary ($26,000.00),
                      less applicable withholdings, based on your base rate of pay in effect Immediately prior to the
                      date your employment Is terminated (the "Separation Date");
                    o Incentive Bonus: A lump sum payment equal to S05S of the annual performance bonus (MIP)
                      ($1,703.85) that you received from the Company for 2015, less applicable withholdings,
                      prorated based on the number of days between January 1,2016 and your Separation Date; and
                    o COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

          • The Company will not contest any claim for unemployment benefits that you may file.

                                               Your Commitments to the Company

          »     You agree to release the Company, its subsidiaries and affiliates, and their officers, agents and
                employees from any liability relating to or arising out of your employment with any of them. This
                Includes a release of any liability for claims of any kind that you ever had or may have at this time,
                whether you know about them or not. This release Is as broad as the law allows and Includes a release
                of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
                expressly includes any claims under the Age Discrlmlnatlan In Employmcm Act, This release also
                includes a release of any tort and contract claims, and any other claims that could be asserted under


          1  in this document unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
          Corporstlon and 8ny of their affiliated entities.

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                federal, state or local Statutes, regulations or coinmon law.Including disputed claims that you were not
                paid wages or benefits due to you under the Atrrel Severance plan.


          •     Vou agree that this rrlease of claims Is a waiver of all rights under Section 15+2 ofthe Civil Code of the
                State of Cilifomia, which reads "a general release does not extend to claims which the creditor does
                not know or suspect to exist in Ms or her favor at thetime of executing the release, which If known by
                him or her must have materially affected his or her settlement with the debtor."

          •   in agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or
              to provide Information to, or file a charge with, any governinent agency. However, in agreeing to this
              release, you are agreeing that you will not accept any money, or the reinstatement of your
                employment, for any claim you have released.


                                         General Understandlnei and Acknowlndcemenls

         •    This Agreement states your and the Company's complete understandings regarding your rights and the
              Company's obligations relating in any way to, or arising out of, your employment with the Company.
              No future modification of this Agreement will be valid unless 11 Is written and signed by an executive
              officer of the Company and you. If any provision in this Agreement is deemed unenforceable, it will be
              considered severable and will not affect the enforceability of the rest of the Agreement.


         •    You have until 5:00 p.m. on August 26, 201E (45 days after your Separation Date), to consider whether
              you want to accept the Severance Benefits by signing this Agreement, although you do not need to
              wait until that time to accept this offer and obtain the Severance Benefits,


         «    To accept this offer, you must sign this Agreement and deliver a signed copy of It to Lauren Carr In
              Human Resources by the date and time stated In the previous bullet point. As notedbelow, you will not
              receive the Severance Benefits until seven (7) business days after you deliver it to Lauren Carr. If you
              decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
              calendar days to change your mind and revoke the Agreement To revoke this Agreement after signing
              It, vou must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
              you gave her the Agreement with your signature.


         •    By signing this Agreement, you are acknowledging that you have read It carefully, that it is written in
              language that you understand, that you have been advised to consult with an attorney, that you have
              been given 45 days to consider It, and that you are signing it knawlngly and voluntarily.


         •    If you sign and return this document In less than the time you have been givento consider It, you are
              voluntarily agreeing to waive theremaining portion of the time you have bean given to consider it.


              ONCE BOTH PARTIES SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE
              CONTRACT.




         Date                                                        liana Shternshaln




         Date Received                                               Company Representative

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                                                    EXHIBIT A

                                      DECISIONAL UNIT INFORMATION

        The following information is provided under federal law to assist you in making a decision whether
        to sign this Agreement and accept the severance benefits offered by Microchip:


        1.     Decisional Unit. The decisional unit for this reduction in force is MCU Engineering

        2.     Eligibility. All persons included in the MCU EngineBting are eligible for the program. All
        persons who are being terminated in the reduction in force are selected for the program.

        3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this
        Agreement in which to decide whether to sign this Agreement and return it to the Company. The
        offer of severance benefits contained in this Agreement will expire on the date stated on page 2 of
        Ihe Agreement. Please note that once you have signed this Agreement, you will have seven (7) days
        to revoke your signature and acceptance of the terms of this Agreement.

        4.     Selection Information. Federal law provides certain infomrniion be given to you
        concerning individuals who were eligible and selected for the reduction in force and individuals who
        were eligible but not selected for the reduction in force. This information can be found in Exhibits B
        and C,which follow this Exhibit A.




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        EXHIBIT C• Atmel -MCU Engineering (07-12-16)
        Group Selected
        JobTltts                                       Ag«(l)
       AnalogDesign Engineer                            25
       Analog Design Engineer                           25
       Senior Analog Design Engineer                    35
       Staff Software Development Engineer              35
       Senior Analog Design Engineer                    37
       Sr. Design Engineer                              3B
       Sr. Project Manager                              38
       Sr. Design Engineer                              43
       Staff Design Engineer                            44
       Staff Development Engineer                       45
       Staff Design Engineer                            46
       Sr. Staff AnalogDesign Engineer                  47
       Senior Analog Layout Engineer                    50
       Sr. Digital Design Engineer                      53
       Staff Deiign Engineer                            55
       Senior Layout Engineer                           56
       Sr. Digital DesignEngineer                       57
       Staff Analog Design Engineer                     59




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                     EXHIBIT A-10




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                              DECLARATION OF PETER SCHUMAN



            I, Peter Schuman, declare as follows;
                                                                                                 . In July 2015,1 and
             In 2015,1 was employed by Atmel as a Senior Director of Investor Relations
                                                              Atmel's  "U.S. Severanc    e Guarant    ee Benefit
    other Atmel employees received a letter setting forth
                                         m to the  letter providing additiona  l details about    the severance
    Program", along with an Addendu
                       r collective ly "Severan ce  Plan"). A copy  of the Severanc    e Plan 1 received In July 2015
    program (hereafte
                                                                                      e benefits If Atmel was
    is attached as Exhlbft A. The Severance Plan provided for certain severanc
                                                 ed  without cause.   Under   the  terms  of the Severance Plan, my
    acquired and I was subsequently terminat
                         Included cash   payment  s represen ting 50%   of my  base  salary, a pro-rated amount of
    severance benefits
                                                                         be  paid  for by  the  company.
    my annual bonus target, and six months of COBRA Insurance to
                                                                                           Officer, held a meeting
             In early September 2015, Steve Laub ("Laub"), Atmel's Chief Executive
                                                           level or above. I was  such an  employe    e and I attended
    with Atmel employees who were at the Director
                                    Mr.     Laub Informed   us that Atmel's  Board  of Directors   had approved an
    the meeting. At this meeting,
                                                                                  or above.   Mr.   Laub explained
    additional severance benefit for those employees at the Director level
                                                               employe  es were  subseque  ntly   terminat ed without
    that. In the event that Atmel was acquired and such
                                          accelera ted vesting  of any unvested  equity  awards    they held, such as
    cause, they would be entitled to
               d Stock Units ("RSUs") ,  in addition to the  cash  payment s previousl y set forth in the Severance
    Restricte
    Plan.
                                                                                           nt with a company called
              In September 2015,1 learned that Atmel had entered Into an agreeme
                                                     to which   Dialog would  acquire  Atmel.   In December 201511
     Dialog Semiconductor ("Dialog"), pursuant
                               not be   the  buyer, since another   potential purchase  r had  emerged    and had made
     heard that Dialog might
                                                                                    that  Microchi   p Technolo gy, Inc.
     an offer which might be superior to Dialog's. In January 2016,1 learned
     ("Microchip") was the new potential buyer.
                                                                                     Laub held with Atmel
             On approximately January 13,2016,1 attended a meeting which Mr.
                                  Director level or above.  After explainin g that Microchi p had made a
     employees who were at the
              offer to purchase Atmel, and  that Atmel   was going to give Dialog four days in which to make a
     superior
                                                                             previously presented to the Atmel
     counter-offer, Mr. Laub reiterated that all of the severance benefits
                                         regardle ss of whether  the ultimate  purchaser was Microchip or
     employees would remain in effect,
     Dialog.
                                                                                          Zoumaras, Atmel's Senior
             On approximately January 14,2016,1 received a letter from Suzanne
                                                                              Letter"). A copy of the January 14,
     Vice President of Global Human Resources ("the January 14,2016
                                                      s is attached  as Exhibit  B. In that letter, Ms. Zoumaras
     2016 Letterthat I received from Ms. Zoumara
                 I would be eligible for the severanc   e benefits  provided  in the July 2015 Severance Plan if I
     stated that
                                                                              regardless of whether the acquisition
     were to be involuntarily terminated following a change in control,
                                       Microchi p. The    January 14,2016    Letter also emphasized that the
     of Atmel was done by Dialog or
              e  Plan continue d to remain  in place.   The  January   14,2016   Letter also specifically referenced
     Severanc
                                                                                 employees at the Director level or
     the September 2015 communication which had Informed the Atmel
                                          to accelera  ted  vesting of their unvested   RSUs In the event of a
     above that they would be entitled



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    termination following a change of control. The January 14,2016 Letter emphasized that this accelerated
    vesting benefit also remained in place.

            After Dialog failed to increase Its purchase offer in January 2016,1 learned on approximately
    January 20, 2016 that Microchip had entered into an agreement with Atmel pursuant to which
    Microchip would acquire Atmel.

            On approximately February 3,2016, Ms. Zoumaras sent an e-mail to Atmel employees entitled
    "Compensation Benefits Relating to the Microchip Merger", which had links to a series of Frequently
    Asked Questions ("FAQs") that had been published for Atmel employees regarding the potential
    Microchip acquisition. A copy of the FAQs is attached as Exhibit C. I read the FAQs shortly after
    receiving Ms. Zoumaras' e-mall, and the FAQs seemed to dearly confirm that Microchip would be
    honoring the Severance Plan If it acquired Atmel. Shortly after reading the FAQs, I asked Mr. Laub's
    Executive Assistant, Cynthia Martsolf, whether the FAQs had been approved by Microchip. Ms. Martsolf
    stated that they had, and that she herself had sent the FAQs to Steve Sanghi (Microchip's Chief
    Executive Officer) for approval prior to the FAQs being posted on Atmel's intranet site and that Mr.
    Sanghi had approved them. Ms. Zoumaras also subsequently confirmed to me that Mr. Sanghi and
    Microchip had reviewed and approved the FAQs prior to their being posted for Atmel employees. The
    FAQs remained on the Atmel Intranet site and available for review by Atmel employees through at least
    the date I was terminated (April 6,2016).

            On the morning of February 29,2016, three senior members of Microchip's finance team visited
    Atmel's corporate headquarters in San Jose, California, in order to discuss the upcoming
    acquisition/merger between Atmel and Microchip. These three Microchip individuals were Eric
    BJornholt (Microchip's Chief Financial Officer), Nawaz Sharif (Microchip's Vice President of European
    Finance) and Phil Kagel (Microchip's Director of Finance). At approximately 10:30 a.m., these three
    Microchip executives met with the senior members of Atmel's Finance team (Director level and above)
    In the "training room", which was the large meeting room on the ground floor of Atmel's headquarters.
    There were approximately 12 to 15 Atmel employees at this meeting, including me. During this
    meeting, which Included a question and answer session regarding the upcoming merger between Atmel
    and Microchip, one of the Atmel employees asked for confirmation that Microchip would be honoring
    the severance agreements and programs which the Atmel employees had received the previous year. In
    response, Mr. Bjomholt assured the Atmel employees that, if Microchip acquired Atmel and then
    terminated Atmel employees, Microchip would honor the severance agreements which the Atmel
    employees had received.

             Later on that same morning of February 29,2016, Mr. BJornholt, Mr. Sharif and Mr. Kagel held a
    second meeting with a larger group of Atmel finance employees in the same "training room" at Atmel's
    headquarters In San Jose. This meeting was attended by all (or almost all) members of the San Jose
    Atmel finance team, including me. There were approximately 50 to 60 Atmel employees in attendance
    at this meeting. During this second meeting, which again focused on the upcoming merger between
    Microchip and Atmel, Mr. Bjomholt again reiterated to the Atmel employees that Microchip would
    honor the Atmel severance agreements and programs that the Atmel employees had received, if
    Microchip terminated Atmel employees following the acquisition by Microchip.




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             During February and March 2016, both my immediate supervisor Steve Skaggs (who was a
    Senior Vice President and the Chief Financial Officer of Atmel) and Ms. Zoumaras assured me multiple
    times that if I were terminated following the acquisition by Microchip, that I would receive the
    severance benefits provided In the July 2015 Severance Plan and would receive the accelerated RSU
    vesting, and that there was nothing to worry about. To reassure me further, they also referred me to
    the Proxy Statement which Atmel and Microchip had filed in February 2016 by with the Securities and
    Exchange Commission ("Proxy Statement"). The Proxy Statement contained language specifically
    confirming that Microchip had agreed to honor any severance contracts of the Atmel employees which
    had been disclosed to Microchip.

            On approximately April 4,2016, Microchip's acquisition of Atmel closed. On April 6,1 was
    informed by Mr. BJornholt (Microchip's Chief Financial Officer) and a Microchip Human Resources
    executive that I was being terminated, effective that day. They also told me that Microchip was going to
    take the position that I and other Atmel employees were not entitled to any severance benefits under
    the Severance Plan and so we would not receiveany of the cash benefits of the Severance Plan
    (including the paid healthcare benefits). I objected to this, but was told that Microchip would only allow
    the acceleration of my unvested RSUs, but that Microchip would not pay out any of the cash benefits.

            On April 6,2016,1 learned that other Director level Atmei employees were also being
    terminated, and that these employees were also being told by Microchip that they would not be paid
    any of the cash benefits under the Severance Plan, but instead would only receive accelerated vesting of
    their RSUs.

            On April 6,2016, Microchip gave me a document titled "Severance Agreement and General
    Release" ("the April 6 Agreement"). A copy of the April 6 Agreement Is attached as Exhibit D. Under the
    terms of this document, I was required to sign a release of all claims against Atmel and Microchip in
    order to receive the accelerated vesting of my RSUs, but I would not receive any of the cash severance
    benefits provided by the Severance Plan (including the paid healthcare benefits). I continued to object
    to Microchip about Microchip's refusal to honor the Severance Plan. I did not sign the April 6
    Agreement.

             On April 11,2016,1 received another "Severance Agreement and Release" ("the April 11
    Agreement"). An executed copy of the April 11 Agreement is attached as Exhibit E. The April 11
    Agreement provided that, if I signed It, I would receive accelerated vesting of my RSUs and would
    receive 50% of the cash severance benefits to which I was entitled under the Severance Plan. I
    continued to object to Microchip about Microchip's refusal to honor the Severance Plan, and objected
    to Microchip's effort to force me to give up 50K of my cash severance benefits (Including my paid
    healthcare benefits) by threatening to refuse to accelerate the vesting of my RSUs and by threatening to
    not pay me any of the cash severance benefits which were due to me. Although I continued to object
    to Microchip's refusal to honor the Severance Plan, Microchip told me multiple times that If I did not
    sign the April 11,2016 Severance Agreement and Release, I would receive no cash severance benefits
    and I would also not be permitted to vest in my RSUs. i felt that Microchip's conduct was outrageous
    but i felt compelled to sign the April 11,2016 Severance Agreement and Release in order to receive
    some portion of the money I was due and to receive the RSUs I was due.




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             I relied on the Severance Plan and the assurances i had received from Atmel management and
     the assurances contained In the documents described above which had been prepared by Atmel and
     Microchip (the January 14,2016 Letter, the FAQs, the Proxy Statement) In deciding to stay employed
     with Atmel through the Microchip acquisition. I might have left Atmel and found another job well
     before the Microchip acquisition If I had known that Microchip was not going to pay me the full
     severance benefits provided under the Severance Plan.

            I declare under penalty of perjury tfiat the foregoing Is true and correct and that this declaration

     was executed on August "5    2016 at    G o r i i r t j .4/r\t          .. C.  '        'Ol*~     _    .




                                                        Peter Schuman




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/Itmet                                        STRICTLY PERSONAL AND CONFIDENTIAL

July 9, 2015

Peter Schuman
Re: Severance Guarantee


Dear Peter,


Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel, We recognize that
recently there has been significant market speculation regarding possible transactions Involving the company and
understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
Benefit program that is Intended to ease concerns among our employees. Under this program, you will have the
opportunity to receive benefits as described below If your employment Is involuntarily terminated without Cause after the
occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") Include:


     •       Cash Severance: 50% of base salary (based on your base rate of pay In effect on the date the Change of Control
         transaction closes); and
     •   Target Incentive: A prorated annual MIP or SIP, whichever you are eligible for at the time of termination; the
          proration will be based a determination of your MIP or SIP at the time of termination,      determined by the
          Company; and
     •    COBRA Benefits; Six (6) months' of COBRA benefits paid for by the Company


All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
Company (or Its successor) if a transaction occurs (the "Release").

Nothing In this letter Is intended to, or shall, contradict; modify or alter the terms of your at-will employment, other than
the provision by the Company (or Its successor) of the Severance Guarantee Benefits provided by this letter. You shall
remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

Peter, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.


Sincerely,



Suzanne Zoumaras
Senior Vice President, Global Human Resources

Attachment




Stephen Skaggs
Stephen Skaggs




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                                                STRICTLY CONFIDENTIAL

                                                  ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 9,2Q15



 Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
 July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
 occurred prior to November 1,2015,in which event the U.S. Severance Guarantee Benefit Program will remain In
 effect for 18 (eighteen) months following that Initial Triggering Event.

 Eiiglbility: Eligibility is limited to U^,-based employees of Atmel Corporation as of the date a Change of Control Is
 consummated.

 Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only If the Company enters Into a definitive agreement (a "Definitive Agreement"), on or before
 November 1,2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
 Into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
 will automatically expire, unless expressly extended by the Compan/s Board of Directors.

 Benefits Conditions: After an initial Triggering Event occurs that makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
 benefits if, but only if:

      A,     A Change of Control actually occurs; and
      B.     Their employment Is terminated without "Cause" by the Company (or its successor) at any time within 18
             months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
      Plan.

 Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
 to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
 described In the Severance Guarantee letter provided to you dated July 9, 2015.

 Terminations Not Subject to Program: If your employment is terminated at any time before or after an Initial
 Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you
 will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
 Program Is a "double trigger" plan, meaning thai no benefits are available under this Program unless there is both a
 Change of Control that occurs and your employment is terminated without Cause.

 Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will lie subject lo your executing a
 separation and release agreement In a form reasonably acceptable to the Company or its successoi" (the "Release"). If
 you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Qenefits- if any portion
 of the Severance Guarantee Benefits Is scheduled to be paid prior to the date the Release is effective, that portion
 will, instead, accrue and be paid as soon as administratively practicable following the Release efleclive date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits orthe Severance Guarantee Benefits, but
not both {and without duplication).




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      k
 Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
determined by the Company, but in no case more than ninety (90) days following the date of termination, andwill be
subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
are Intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
interpreted accordingly.

 Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
 under the Program, the term "Company" wfH Include any successor to the Company's business and/or assets which
 becomes bound by the terms of the Program by operation of law, or otherwise^ The Company will withhold from any
 severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
 payroll deductions. The Program will be administered and Interpreted by the Company. Any decision made or other
 action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
 Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
 conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
 Change of Control, any decision made or other action takenby the Company, and any interpretation by the Company
 of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (11) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
In writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced In accordance with the internal substantive laws of the State of California
(with the exception of Its conflict of laws provisions).




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  /^Itmel
                                                STRICTLY PERSONAL AND CONFIDENTIAL

   January 14,2016

   Peter Schuman

   •ear Peter,

   We recognize that there continues to be significant speculation regarding the acquisition of the company and understand
   that this can be distracting and unsettling. As a result, we believe it Is Important to remind you of the benefits for which
   you may be eligible in the event that your employment Is Involuntarily terminated without Cause In connection with a
   Change of Control of the company. Including an acquisition by Dialog or Microchip.

  In July 2015, we provided youa letter (the "July Severance Benefits Letter") describing the U.S. Severance Guarantee
  Benefits for which you are eligible. This U.S. Severance Guarantee Program continues to remain in place. In addition. In
  September 2015, we Informed you that the corrlpany's Compensation Committee approved acceleration of unvested non­
  performance restricted stock units CRSUs") for our U.S. based 01rector-level employees under certain conditions. Under
  that program you will be eligible for 100M acceleration of your unvested RSUs if there Is a Change of Control and your
  employment is involuntarily terminated without Cause during the period beginning thrae (3) months prior to the Change of
  Control and ending twelve (12) months following the Change of Control.                    ,

  The benefjts under the U.S.Severance Guarantee Prbgrjun and the U.S Director-level equity accaiantton proorttns ore
  subject to the terms and conditions of each as approved by the company's Compensation Committee. To receive these
  benefits you will be required to sign a form of separation and release agreement reasonably acceptable to the company (or
  its successor). Capitalized terms that are not defined in this letter shall have the meanings set forthin the July Severance
  Benefits Letter.

  Nothing in this letter or the July Severance Benefits Letter Is Intended to, or shall, contradict, modify or alter the terms of
  your at-will employment, other than the provision by the company (or its successor) of the benefits provided by this letter
  and the July Severance Benefits Letter. You shall remain an at-will employee for all purposes, meaning that you or the
  company (or Its successor) may terminate your employment at any time for any reason or for no reason, with or without
  Cause, and with or without notice.

  Peter, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel. And, thank
  you for your continued focus during these unusual times.

  Sincerely,

                 (. yp ftyU-VX'"
  Suzarme Zoumaras--
  Senior Vice President, GlobalHuman Resources




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                                                               Friday, April 8,2016 at 12:19:18 PM Pacific Daylight Time


  Subject: Frequently Asked Questions Regarding Compensation & Benefits Relating to the Microchip Merger
  Date:       Wednesday, February 3,2016 at 5:57:34 PM Pacific Standard Time
  From;       Human Resources

  DearAtmel Employees,

  I am pleased to announce that today we posted our first set of Frequently Asked Questions (FAQs) related to
  the Atmel/Microchip merger. The FAQs are available on our intranet, Atmel Connect, at
                                                       on answering questions related to compensation and
  benefits.

  As we have additional information, we will provide further updates and FAQs.

  Warm regards.

  Suzy
  Suzanne Zoutnaras | Senior Vice President, Global Human Resources
  O: 408,487.2604 | M: 858,354.4877
  sii/v.zouiiiiirasPalniel.com | www.alfnel.com




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                           FREQUENTLY ASKED QUESTIONS
                              Microchip Transaction:
               Effect on Compensation and Benefits for U.S. Employees

                                                                                             after tKe closing?
      What happens to my employment and compensatory arrangements with Atmel
                                                                                            contracts (Including
      Microchip has agreed to honor each of your employment and compensatory
                                                                                                  and change In
      retention awards and employment, employment continuation, severance, incentive
               agreement s) with Atmel, or Its subsidiaries , that are in effect Immediatel y prior to the closing
      control
      of the transaction.

      How will my compensation and benefits be affected after the transaction closes?
                                                                                              31, 2016. In
      Microchip has agreed not to reduce your base salary or base wages through December
                                         that your aggregate compensat  ion and benefits package for 2016
      addition. Microchip has promised
                                                                                          ion and benefits
      will be comparable In value to the aggregate value of your pre-closing compensat
                                                                                     purchase plans.
      package, excluding the value attributed to any pension plans or employee stock

      Will I participate in the same Atmel benefit plans following the transaction?
                                                                                                benefits will be
      We anticipate that sometime following the closing of the transaction Atmel's
                  d onto Microchip's benefit plans. The timing of thistransition Is yet to be determined, Upon
      transitione
                                                                                             to participate in all
      the transition to the Microchip benefits plans, you will be immediately eligible
                                                                                              We will work with
      Microchip plans subject to the eligibility requirements of the Microchip plans.
      Microchip to provide you   information  about  the Microchip  plans In the  near term.

      Will Ireceive service credit for purposes of Microchip's benefits plans?
                                                                                                    for you as of
      Microchip has agreed to provide you with the same service credit that Atmel recognizes
                         you had provided such services to Microchip), for purposes of eligibility,  vesting, and
      the closing (as if
                                                                                              Insurance plans,
      level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health
      paid time off).

       What will happen to my Atmel equity awards after the transaction doses?
                                                                                                    employee's
      RSUs & PRSUs. At the closing of the transaction. Microchip will assume each continuing
                                                                                           performance-based
      then-outstanding and unvested awards of restricted stock units (RSUs) and
                                                                                                common stock
      restricted stock units (PRSUs), and convert those awards into awards for Microchip
                                                                                                    awards will
      with an equivalent value as determined under the definitive agreement. The converted
                                                                                        to accelerated vesting
      retain the same material terms (e.g., vesting, including any rights you may have
                                                                                           plan) as your Atmel
      under the terms of your award, your employment agreement or Atmel's stock
                                                                                          and PRSUs (including
      award, In addition, at the closingof the transaction, any vested awards of RSUs
                                                                                          not yet been Issued,
      any portion that vests on the closing of the transaction) for which shares have
                                                                                                   the right to
       will be settled In shares, subject to applicable withholding taxes, and converted Into
                     merger  considerati on for those   shares  after the  closing just like  any  other Atmel
      receive the
      stockholder.
                                                                                            become vested and
       Stock Options. Ail unvested Atmel stock options that you hold will accelerate and
                   in full Immediatel y prior to the   closing, subject to your  continued service through the
       exercisable
                                                                                          date on how you may
       closing. We will provide more information to you as we get closer to the closing
                                                                                                with the closing.
       exercise your stock options that are eligible for this accelerated vesting in connection

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   >ltmel
      If you do not exercise your stock options prior to the ciosing, Atmel wili automatically "net exercise"
      your stock options, which means that the exercise price and applicable withholding taxes will be paid
      by withholding the appropriate amount of shares otherwise Issuable to you on the exercise of your
      stock options. You will receive merger consideration for the shares you are issued for your options
      after the closing Just like any other Atmel stockholder.

      Purchase Rights under the Employee Stock Purchase Plan (ESPPt. Atmel expects to continue the ESPP
      until Just before ciosing. For any offering period under the ESPP that would otherwise be in effert at
      the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
      on the 10th business day prior to such closing. All shares of Atmel stock purchased on that purchase
      date will not be released until the closing and wilt be treated like all other outstanding shares at the
      closing. The ESPP will terminate Immediately prior to the closing.

      How much will I receive for my shares of Atmel stock?

      Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7.00 in cash,
      plus a fraction of a share of Microchip common stock having a value of approximately $1,15; provided
      however that Microchip will make a cash payment In lieu of issuing a fractional share of Its common
      stock. For more information, please see our filing on Form 8-K from January 19,2016 at:
      imi).//www.<iC'C.iiHv/Atc.hivcs/t>(ip.ai/(inia/fi7?7l^R/000.1571019160308<ll/il60U:i 78 8k.htm

      When Is the transaction expected to dose?

      We expect the transaction to close during the second calendar quarter of 2016, subject to customary
      closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
      Microchip will continue to operate as independent companies.

      Will there be salary adjustments In 201ET

      Atmel agreed not to Increase salary for any employees before July 1,2016. We expect Microchip to
      review compensation arrangements. Including salary levels, during the Integration process.

      Who should I contact If I have questions about the transaction?

      If you have any questions, please contact Atmel's HR department.




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                                                    Additional Information
                                                                                           proposed merger Involving
      This communication may be deemed to be solicitation material in respect of the
                                                                                           with the U.S. Securities and
      Microchip and Atmel. In connection with the proposed merger, Microchip will file
                                                                                            "Registration Statement")
      Exchange Commission (the "SEC) e Registration Statement on Form S-4 (the
                  a prospectus with respect to  the Microchip common  stock to be  issued in the proposed merger and
      containing
                                                                                                       rospectus"). Each
      a proxy statement of Atmel In connection with the proposed merger (the "Proxy Statement/P
                                                                                           the proposed merger. The
      of Microchip and Atmel Intends to file other documents with the SEC regarding
                                                                                          and will contain Important
      definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmel
                                                                                                 rospectus will describe
      Information about the proposed merger and related matters. The finalProxy Statement/P
                                of the way   in  which the proposed merger  will be  implemente   d, Including details of
      the terms and conditions
                                                                                          the proposed merger should
      how to vote on the adoption of the proposedmerger agreement, Any response to
      be made only on the basis of the Information In the Proxy Statement/Prospectus.
                                                                                             rospectus and Registration
      Securityholders of Atmel may obtain, free of charge, copies of the Proxy Statement/P
                 and any  other documents  filed by Atmel and Microchip   with the SECIn connection with the proposed
      Statement,
                                                                                           free of charge, copies of the
      merger at the SECs website at www.sec.gov. Securityholders of Atmel may obtain,
                                                                                          SEC In connection with the
      Proxy Statement/Prospectus and any other documents filed by Atmel with the
      proposed merger In the "Investors" section of Atmel's website at www.atmel.com.
                                                                                               LDERS OF ATMEL TO READ
      BEFORE MAKING AN INVESTMENT OR VOTING DECISION, WE URGE SECURITyHO
                          PROXY     STATEMENT    /PROSPECTU    S  AND   REGISTRATIO   N   STATEMENT       (INCLUDING ANY
      CAREFULLY THE
                                                                                                    S THAT MICROCHIP OR
      AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENT
                                                                                               WILL CONTAIN IMPORTANT
      ATMEL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY
      INFORMATION ABOUT THE PROPOSED MERGER.
                                                                                                        of an offer to sell or
      This communication does not constitute an offer to buy or exchange, or the solicitation
                       securities, nor shall there be any sale of securities in any Jurisdiction in which  such offer, sale or
      exchange, any
                                                                                               securities laws of any such
      exchange would be unlawful prior to registration or qualification under the
                                                                                                     or any other document
      iurlsdlctlon. This communication is not a substitute for any prospectus, proxy statement
      that Atmel or Microchip may file with the SEC in connection with the proposed merger.
                                                  Participants In the Solicitation
                                                                                                      to be participants in the
       Atmel, Microchip and their respective directors and executive officers may be deemed
                                                                                                 of the merger agreement In
       solicitation of proxies from Atmel's stockholders in connection with the adoption
                                                                                                    in the proposed merger.
       connection with the proposed merger and may have direct or indirect Interests
                                                                                                          Proxy Statement on
       Information about Microchip's directors and executive officers is set forth In Microchip's
                       for Its 2015 Annual  Meeting  of Stockholder  s, which  was  filed with the  SEC  on July 10, 2015, and
       Schedule 14A
                                                                                               was filed with the SEC on May
       Its Annual Report on Form 10-K for the fiscal year ended March 31, 2015, which
                                                                                                       at the SECs website at
       27, 201S and amended on June 8, 2015. These documents are available free of charge
                                                                                                      spx. Information about
        www.sec.gov and from Microchip's website at www.mlcrochlp.com/lnvestorshome,a
                                                                                               security holdings or otherwise
        Atmel's directors and executive officersand their respective Interests In Atmel by
                    in Atmel's  Proxy Statement  on Schedule  14A  for Its 2015 Annual   Meeting  of Stockholders, which was
       Is set forth
                                       3, 2015. These  documents     are  available free  of charge   at the SECs website at
        filed with the SEC on April
                                                                                                 com. Additional Information
        www.see.gov and from the 'Investors" section of Atmel's website at www.atmel.
                                                                                                     the proposed merger will
        regarding the Interests of participants In the solicitation of proxies in connection with
                                                                                                   Microchip will file with the
        be included in the Proxy Statement/Prospectus and the Registration Statement that
       SEC,
                                Cautionary Statements Related to Forward-looking Statements
                                                                                                 to Atmel andMicrochip,
       This communication contains, or may contain, "forward-looking statements" in relation
                                                                                            the combined company that
       as well as other future events and their potential effects on Atmel, Microchip and
                                                                                                  "continue," "believes,"
       are subject to risks and uncertainties. Generally, the words "will," "may," "should,"
                           "expects," "estimates," "aims," "Intends,"  "anticipates* or similar expressions or negatives
       "targets," "plans,"
                                                                                           statements relating to (1) the
       thereof Identify forward-looking statements. Forward-looking statements Include
                                                                                                    company. Microchip's
       benefits of the merger, including future financial and operating results of the combined

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    Atmel
      or Atmel's plans, objectives, expectations and Intentions, and the expected timing of completion of the
      transaction; (2) expected developments in product portfolio, expected revenues, expected operating costs
      savings, expected future cash generation, expected future design wins and increase In market share, expected
      incorporation of products In those of customers, adoption of new technologies, the expectation of volume
      shipments of products, opportunities In the semiconductor Industry and the ability to take advantage of those
      opportunities, the potential success to be derived from strategic partnerships, the potential Impact of capacity
      constraints, the effect of financial performance on share price, the impact of government expectations and
      beliefs of the management of Microchip and Atmel; (3) the expansion and growth of Microchip's or Atmel's
      operations; (4) the expected cost, revenue, technology and other synergies of the proposed merger, the
      expected Impact of the proposed merger on customers and end-users, the combined company's future capital
      expenditures, expenses, revenues, earnings, economic performance, financial condition, losses and future
      prospects; (5) business and management strategies and the expansion and growth of the combined company's
      operations; and (6) the anticipated timings of the Atmel stockholders' meeting and completion of the proposed
      merger.
       These forward-looking statements are based upon the current beliefs and expectations of the management of
       Atmel and involve risks and uncertainties that could cause actual results to differ materially from those
       expressed in the forward-looking statements. Many of these risks and uncertainties relate to factors that are
      beyond Atmel's ability to control or estimate precisely. Those factors Include (1) the outcome of any legal
      proceedings that could be Instituted against Atmel or Its directors related to the discussions with Microchip, the
      merger agreements with Dialog or Microchip or any unsolicited proposal; (2) the occurrence of any event,
      change or other circumstances that could give rise to the termination of the merger agreement with Microchip;
      (3) the ability to obtain governmental and regulatory approvals of the proposed merger between Atmel and
      Microchip; (4) the possibility that the proposed merger between Atmel and Microchip does not close when
      expected or at all, or that the parties. In order to achieve governmental and regulatory approvals, may be
      required to modify aspects of the proposed merger or to accept conditions that could adversely affect the
      combined company or the expected benefits of the proposed merger; (5) the possibility that other competing
      offers or acquisition proposals will be made; (6) the ability to realize the expected synergies or savings from the
      proposed merger In the amounts or In the timeframe anticipated; (7) the potential harm to customer, supplier,
      employee and other relationships caused by the announcement or closing of the proposed merger; (8) the ability
      to Integrate Atmel's businesses into that of Microchip in a timely and cost-efficient manner; (9) the combined
      company's ability to develop and market products containing the respective technologies of Atmel and
      Microchip In a timely and cost-effective manner; (10| the combined company's ability to protect Intellectual
      property rights; (11) litigation (IncludingIntellectual property litigation In which the combined company maybe
      involved or in which customers of the combined company may be Involved, especially In the mobile device
      sector], and the possible unfavorable results of legal proceedings; (12) dependence on key personnel; (13) the
      Inability to realize the anticipated benefits of acquisitions and restructuring activities, Including In connection
      with the proposed merger, or other initiatives in a timely manner or at all; (14) the development of the markets
      for Atmel's and Microchip's products; (IS) risks related to Microchip's ability to successfully Implement Its
      acquisitions strategy; (16) uncertainty as to the future profitability of businesses acquired by Microchip, and
      delays In the realization of, or the failure to realize, any accretion from any other acquisition transactions by
      Microchip; (17) the Inherent uncertainty associated with financial projections; (18) disruptions in the availability
      of raw materials; (19) compliance with U.S. and international laws and regulations by the combined company
      and its distributors; (20) the market price and volatility of Microchip common stock (If the merger is completed);
      (21) the cyclical nature of the semiconductor Industry; (22) an economic downturn in the semiconductor and
      telecommunications markets; (23) consolidation occurring within the semiconductor industry; (24) general
      global macroeconomlc and geo-political conditions; (25) financialmarket conditions; (26) business Interruptions,
      natural disasters or terrorist acts; and (27) other risks and uncertainties, Including those detailed from time to
      time In Microchip's and Atmel's periodic reports and other filings with the SEC or other regulatory authorities.
      Including Atmel's Annual Report on Form 10-K for the fiscal yearended DecemberBl, 2014 and Quarterly Report
      on Form 10-Q for the quarterly period ended September 30, 2015 (whether under the caption Risk Factors or
      Forward Looking Statements or elsewhere) and Microchip's Annual Report on Form 10-K for the fiscal year
      ended March 31, 2015, which was filed with the SEC on May 27, 2015 and amended on June 8, 2015 and
      Quarterly Report on Form 10-Q for the quarterly period ended September 30,2015 (whether under the caption
      Risk Factors or Forward Looking Statements or elsewhere).
      Neither Atmel nor Microchip can give any assurance that such forward-looking statements will prove to be
      correct, The reader Is cautioned not to place undue reliance on these forward-looking statements, which speak


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      only as of the date of this announcement. Neither Atmel nor Microchip nor any other person undertakes
                                                                                                                 any
                                                                                                               result
      obligation to update or revise publicly any of the forward-lookingstatements setout herein, whether as a
      of new Information, future events or otherwise, except to the extent legally required.
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                                                               (the "Agreement") between Peter
   SEVERANCE AGREEMENT AND GENERAL RELEASE
          n ("Emplo yee") and Atmel LLC. (the "Compa ny" or "Atmel" )
   Schuma

                                                                     n without cause effective as of April
   Whereas Atmel is terminating the employment of Peter Schuma
   6, 2016

                                                               of which is hereby acknowledged.
   NOW, therefore for good and adequate consideration, receipt
   Employee and the Company agree as follows;
                                                                        Company shall be April 6,
   1.     Termination Date. Employee's last date of employment with the
          2016 (the "Termination Dale").
                                                                     be entitled to the following
   2,     General Benefits. Upon the Termination Date, Employee will
          general benefits;
                                                                                 Date, less applicable
          a,     All salary and wages earned but unpaid through the Termination
                                                                                 the date of receipt if
                 tax witliholding, to be paid on the Termination Date or through
                 later.
                                                                               ing, to be paid on the
          b.     All accrued and unused PTO time, less applicable tax withhold
                 Termination Date or through the date of receipt if later.

                                                                                         the Consolidated
          c.     Employee may elect Ihe conlinualion nf heahh coverage under
                                  Reconci liation Act of 1986 ("COBR   A")   after the Termina    tion Dale,
                 Omnibus  Budget
                                                                ing event" under   COBRA     , if Employee
                 which will be deemed the date of the "qualify
                                 or depende   nts arc  currentl y receivin g  heullh   I'uiiclils  from the
                 or any spouse
                 Company.
                                                                                     disability, and other
          d.     All group term life insurance, long-term disability, short-term
                                                   accorda nce  with   the  provisio ns of these plans.
                 welfare benefits terminate in
                         cc  may be  entillud  to individu al conversi on  privilege s under the various
                 Hmpluy
                                                                                        ee regarding all
                 policies. The Company will provide information to Employ
                 individual conversion rights.

                                                                                        a distribiition of all
          c.      limployee will be entitled to, but .shall not he obligated lo take,
                  liRiiefits under the Atmel Corporation 401 (k) I'lan
                                                                           (the "Section 401(k) I'lnn"). in
                                                                                     severance hcnclit will
                  accordance with the provisions of the Section 401(k) I'lan. 1 he
                             treated as "Compe nsation"  for  purpose  s  of  Employe  e Salary Ueduetion
                  not be
                                                                or for   purposes of  any  Atmel Matching
                  Contributions to the Section 401(k) Plan,
                  Contributions.




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   3   Severance Benefit. Employee will be entitled to the following severance benefits if
       Employee signs and return this Agreemenl between the date this Agreement is cxceuted by
       the Company and the expiration of the period for review and consideration of this Agreement,
       and Employee does not revoke his signature within the seven (7) day revocation period JIS
       described in Section 14 of this Agreement:

               In accordance with the Atmel Corporation Severance Guarantee Benefits (the
               "Severance Plan"), the Covered Employee shall be entitled to (i) each outstanding
               equity award, including without limitation, restricted stock unit and restricted stock
               award, held by Employee shall automatically become vested and, if applicable,
               exercisable and any forfeiture restrictions or rights of repurchase thereon shall
               immediately lapse.


       No severance benefit will be paid until eight (8) days after receipt of an executed copy of this
       Agreemenl by Atmel, Atmel shall deduct from all payments made to Hmploycc all
       applicable federal, stale or local taxes required by law lo be withheld from sudi paymenlb. In
       addition, any advanced PTO pay will also be subject to deduction. All severance benefits art-
       conditioned upon execution of this Agreement, in acamlancc with the terms of the Severance
       Plan.

   4   Atk'diitilc Consideration. Employee agrees that the severance benefit identified in Section
       3 is adciumtc UIMJ sufficient consideration for Employee's execution of this Agreement.

   5   Rcluni of PriHH'i'tv To the extent Employee is in the possession ol any Atmel property.
       including personal computers ("PCs"), fax machines, scanners, copiers, eellulai phones.
       Atmel credit cards, and any Atmel documents, correspondence and related loipnralc
       materials on all media, Employee will return all property to Atmel on or before the
       Termination Date. In addition, computers must be returned with all Company data intact.

   6   Expense Accounts mid Rcimrls Employee will be allowed to submit any final expense
       reports with receipts and accountings lo Atmel within thirty (30) days after the Termination
       Date, mul will receive nil necessary reimbursements from Atmel, subject to, and in
       accordance with, the applicable expense reimbursement policies of Atmel.

   7    Hoiird/ConimiHee Ucxianatioii. Employee agrees to resign, as of the Termination Date and
        lo the extent applicable, all positions and titles with the Company, including as a member of
        the Hoard (and any committee thereof) and all positions and titles, including service as a
        member of the Board of Directors (and any committee thereof), of any of the Company's
        affiliates.
                                                                                                  this
   8    General Release, In exchange for the severance benefits made available under
        Agreement, Employee hereby releases, remises and acquits Atmel and all of its affiliates, and

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                                                                      rs, shareholders, members, partners,
       their respective current and former officers, directo
                                                         contruc   tors.   attorneys, advisers, successors and
       agents, employees, consiliums, imlepcndent
                              the "Relea sees"), Jointly   and  severa   lly,   from any and all claims, kiunvn
       assigns (collectively,
                                                                 sors  or   assigns    have or may have against
       or unknown, which limployee or his heirs, succes
                                        or prior  to the  date   of this   Agreem     cnl  and any and all liability
       any of the Releasees arising on
                                                                    whethe    r  denom    inated  claims, demands,
       which any of the Releasees may have to Employee,
                                                              ies arising    from    any   and  all bases, however,
       causes of action, obligations, damages or liabilit
                                         not  limited     to,   Federa   l   Worke     r   Adjust ment   Retraining
       denominated, including but                                                                           Act, the
                                                                        Nation     al   Labor   Relatio ns
       Notification Act, the Fair Labor Standards Act, the                                                    ymeni
                                                        of  1974,   the  Age     Discrim   ination   in Hmplo
       Employee Retirement Income Security Act
                                    ans  with Disabi   lities  Act  of 1900,      the  family   and Medical Leave
       Act ("ADEA"), the    Americ
                                                                          Act of 1964. 42 L.S.C g I9HL the
        Act of 1993, Title VII of the United States Civil Rights
                                           ination  Act   of  2009   ("CUN     'A"), the Lilly Lcdbcttur fair 1'ay
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                                                                          other federal, stale or local law and
        Act, the Older Workers Benefit Protection Act, and any
                                                      claims    under    any     such laws or claims under any
        any workers compensation or disability
                     1

        contract.

                                                                  and/or during Employee's cmploymeiK
        This release relates to any and all claims arising from
                                                                  of the termination of such relationship,
        relationship with Atmel and its affiliates or as a result
                                              this Agreem  ent,  this release is not intended io interfere
        NolwhiiKtamlmt! any provision of
                                                                         Employment Opportunity Atmel
        with Employee's right to file n charge with the Equal
                                                            any  claim   Employee believes he may have
        Commission (the "El .OC") in eonneelion with
                                   Howev er, by execut ing (his Agreem   ent, limployee hereby waives the
        against or its affiliates.
                                                                      form   ol recovery or relief in any
        light to recover damages of any kind or any other
                                                   the  EL.OC   or any  state human rights commission oi
        proceeding Employee may bring before
                                                                    stale   human  rights commission on
         in any proceeding brought by the EEOC or any
        Employee's behalf.
                                                                             is waiving and releasing any rights
        Employee understands and acknowledges that he/she
                                       Age    Discrim   ination  in  Emplo     yment Act of 1967 ("ADEA"), and
        he/she may have under the
                                                                           Employee tindersiamls and agrees that
        that this waiver and release is knowing and voluntary.
                                               apply to  any  rights  or  claims    that may arise under the ADEA
        this waiver and release does not
                                                                          unders   tands  and acknowledges that the
        after the Effective Date of this Agreement, Employee
                                                         release  Is in  additio  n  to  anythin g of value to which
        consideration given for this waiver and
                                  entitled .   Emplo  yee   further  unders    tands  and  acknow  ledges that he/she
        Employee was already                                                                        attorney prior to
                                                             he/she   should     consult   with an
        has been advised by this writing thai: (a)
                                  enl, (b)   lie/she has   forty-li ve  (45)    days  within  which to consider this
        executing this Agtcem
                                                                                 he/she has been advised in writing
         Agreement; (c) as set forth in Exhibits A, B, and C herein,
                                                  or group    of individ   uals  covered by the reduction in force,
         by the Company of the class, unit,
                                                                         the job titles and ages of all individuals
         the eligibility factors for the reduction in force, and
                                                             has  seven   (7) days following his/het exccittion of
         who were and were not selected; (d) he/she
                                      this Agreem    ent;   (e) this Agreem     ent shall not be effective until alter
         this Agreement to revoke
                                                                       in   this  Agreemem prevents or precludes
         the revocation period has expired: and (1) nothing
                                   ging   or   seekin g  a determ   ination    in good faith of ihe validity of this
         Employee from challen
                                                                any  conditi   on  precedent, penalties, or costs for
         waiver under the ADEA, nor does it impose
                                                           3




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          doing so, unless specifically authorized by federal law. In the event Employee signs this
          Agreement and returns it to the Company in less than the forty-five (45) day period identified
          above, Employee hereby acknowledges that he/she has freely and voluntarily chosen to
          waive the time period allotted for considering this Agreement.

          This release is for any relief, no matter how denominated, including, but not limited to,
          injunctive relief, wages, back pay, front pay, compensatory damages, punitive damages or
          attorneys' fees.

          This release shall not apply to any obligation of Atmel or its affiliates pursuant to this
          Agreement, any rights in the nature of indemnification which Employee may have with
          respect to claims against him relating to or arising out of his employment with Atmcl and its
          affiliates (including Microchip Technology Incorporated, Microchip Technology
          Management Co., and their affiliates), future rights with respect to Employee's outstanding
          Atmel equity awards, or any vested benefit to which he is entitled under any tax qualified or
          other pension plan of Atmel or its affiliates (including without limitation Atmel's 401(k)
          plan), COBRA continuation coverage benefits or any other similar benefits required to be
          provided by statute.

   9      Californin Civil Code Section 1542.

          California Civil Code Section 1542. Employee acknowledges that he has been advised to
          consult with legal counsel and is familiar with the provisions of California Civil Code
          Section 1542, a statute that otherwise prohibits the release of unknown claims, which
          provides as follows:

                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
                 THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HJS
                 OR HFR FAVOR AT THE TIME OF EXECUTING THE RELEASE,
                 WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
                 AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

          Employee, being aware of said code section, agrees to expressly waive any rights he may
          have thereunder, as well as under any other statute or common law principles of similar
          effect.


   10.    No Future Lawsuits. Employee agrees lhat he will not file, or permit to be filed in his name
          or on Employee's behalf, any lawsuit or administrative claim against any of the persons or
          entities released in this Agreement based upon any act or event which occurred before the
          effective date of this Agreement.

    11.   Non-Admission of LiiUiilily. The use of this Agreement by Atmel does not signify any
          wrongdoing hy A unci or any affiliates or related companies, all of which is expressly denied,


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    12.   Period for Review and Consideration of Agreement. Employee acknowledges thai, by his
          free and voluntary act of signing below, he agrees to all of the terms of this Agreement and
          intends to be legally bound thereby, Employee understands that he may consider whether to
          agree to the terms contained herein for a period of forty-five (45) days after the date hereof.
          However, the severance benefits provided herein will be delayed until this Agreement
          becomes effective, enforceable and irrevocable in accordance with the terms hereof.

    13.   EBCOUragcmcnf to Consult Attorney.               Employee should consult with an attorney
          concerning the terms of this Agreement.

    14.   Right to Revoke Agreement. This Agreement will become effective, enforceable and
          irrevocable on the eighth (8lh) day after the date on which it is executed by Employee (the
          "Effective Dale"). During the seven-day period prior to the Effective Date. Employee may
          revoke his agreement to accept the terms hereof by indicating in writing to Geri Shaw, Sr.
          Benefits Manager, Human Resources at Atmel his intention to revoke. If Employee
          exercises his right to revoke hereunder, he shall forfeit his right to receive any of the benefits
          provided for herein, and to the extent such payments have already been made, he hereby
          agrees that he will immediately reimburse Atmel for the amounts of such payment.

          15.    Trade Secrets. Confidential and/or Proprietary Information. Employee will
                 regard and preserve as confidential the following information; (i) all trade secrets
                 and/or other proprietary and/or confidential information belonging to Atmel or any
                 affiliate; and (ii) all trade secrets and/or other proprietary and/or confidential
                 information belonging to a third party which have been confidentially disclosed to
                 Atmel or any affiliate, which trade secrets and/or other proprietary and/or confidential
                 information described in (i) and (ii) above (collectively, "Confidential Information")
                 have been disclosed to Employee by reason of his employment with Atmel.
                 Employee will not, without written authority from Atmel to do so, use for his own
                 benefit or purposes, or the benefit of purpose of any person or entity other than Atmel,
                 nor disclose to others, any Confidential Information. This provision will not apply to
                 Employee's general expertise and know-how that Employee learned prior to
                 employment with Atmel, nor to Confidential Information that has been voluntarily
                 disclosed to the public by Atmel, or otherwise entered the public domain through
                 lawful means. Confidential Information will include, but not be limited to, all
                 nonpublic information relating to Atmel's or any of its affiliates' (i) business,
                  research, development and marketing plans, strategies and forecasts; (ii) business;
                  (iii) products (whether existing, in development, or being contemplated); (iv)
                  customers' identities, usages, and requirements; (v) reports; (vi) specifications; (vii)
                  designs, software and other technology; (viii) research and development programs;
                 (ix) terms of contracts; and (x) any employee information.


    16.   Non-Solicitation of Umplovm. During the course of Employee's employment with Atmel,
          Employee came into contact and became familiar with the Company's employees, their
          knowledge, skills, abilities, salaries, commissions, draws, benefits, and other matters with

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         respect to such employees, all of which infoimation is not generally known to the public, but
         has been developed, acquired or compiled by the Company at its great effort and expense.
         Employee understands that any solicitation, luring away or hiring of such employees of the
         Company shall be highly detrimental to the business of Atmel and may cause serious loss of
         business and great and irreparable harm. Consequently, Employee covenants and agrees that
         for a period of one (1) year after the Termination Date, Employee shall not, directly or
         indirectly, whether on behalf of Employee or others, solicit, lure or hire away any employees
         of Atmel or any subsidiary or assist or aid in any such activity.

   17.   Rfitsoiiablciicss uf Non-Coiniu'tt' »'»! Nnn-SnliyitiHion Prnvisions.           Employee
         acknowledges that the scope of the non-solicitation of client, if applicable, and non­
         solicitation of employees provisions are reasonable. In the event that any aspect of the
         applicable provisions is deemed to be unreasonable by a court, Employee will submit to any
         reduction(s) as the court will deem reasonable. In the event Employee violates these
         provisions, then the time limitations will be extended for a period of time equal to the
         pendency of such proceedings, including appeals.

   18    Protgctgd Activity Not Prohibited. Employee understands that nothing in this Agreement
         shall in any way limit or prohibit Employee from engaging for a lawful purpose in any
         Protected Activity. For purposes of the Agreement, "Protected Activity7' shall mean filing a
         charge or complaint, or otherwise communicating, cooperating, or participating with, any
         state, federal, or other governmental agency, including the Securities and Exchange
         Commission, the Equal Employment Opportunity Commission, and the National Labor
         Relations Board. Notwithstanding any restrictions set forth in this Agreement, Employee
         understands that he is not required to obtain authorization from the Company prior to
         disclosing information to, or communicating with, such agencies, nor is Employee obligated
         to advise the Company as to any such disclosures or communications. Notwithstanding in
         making any such disclosures or communications. Employee agrees to take all reasonable
         precautions to prevent any unauthorized use or disclosure of any information that may
         constitute Company confidential information under the Confidentiality Agreement to any
         parties other than the relevant government agencies. Employee further understands that
         "Protected Activity" does not include the disclosure of any Company attorney-client
         privileged communications, and that any such disclosure without the Company's written
         consent shall constitute a material breach of this Agreement.

   19.   Confidentiality of Terms. Employee and Atmel agree thai Ihe fact and terms of this
         Agreement are confidential, including without limitation all prior discussions, and will not be
         disclosed to any person without the written consent of Atmel, except to Employee's legal and
         tax advisors and Employee's spouse, or to the extent required by law; provided however, that
         Employee shall be responsible for breaches of confidentiality by any such person with whom
         Employee shares the fact or terms of this Agreement. However, Employee agrees and
         acknowledges that this Agreement may be introduced as evidence by Atmel in Ihe event
         Employee commences any legal, administrative, judicial or arbitration proceeding against
         Atmel.


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                                                                                               public
   20.    Non-Defamation. limploycc agrees ihat limploycc will not, directly or indirectly, in
                                                                                                or be
          or private, deprecate, impugn or otherwise make any remarks that would lend to
                                                                   nor will Employee assist any other
          construed to lend to defame Atmel or its reputation,
          person, firm or company  in engaging in such activities.

                                                                                                           of his
    21.   Consequences of Emnluvce Violation of Promises. If Employee breaks any
                    contained   within this Agreement    and/or files any  lawsuit   based on  legal  claims   that
          promises
                                                                                                                 or
          Employee has released. Employee will pay for all costs incurred by Atmel, any affiliated
                                        directors or  employees    of  any   affiliated or  related   companies   ,
          related companies, or the
                                                                                                             claim
          including reasonable attorney's fees to enforce any provisions or to defend against any
                                                                                                                   ,
          by Employee. Employee also agrees that if Employee acts in violation of this Agreement
                     will  remit to Atmel   any  and all  monies  paid  to  Employee    under   this  Agreement    ,
          Employee
                                                                                                             which
          with the exception of $100.00 which Employee may retain under such circumstances,
          shall serve as consideration for his execution of this Agreement, which shall otherwise
                                                                                                                 to
          remain in full force and effect. The terms of this paragraph shall not apply to a challenge
                                                      waiver   of  claims   under   the Age   Discrimina   tion  in
          the knowing and voluntary nature of a
          Employme   nt Act  of 1967  and  Employee   shall not be  penalized   for  exercising  that right.


    22.   Sarbancs-Oxlcv Acl of 2002. Atmel and Employee agrees that this termination is occurring
                                                                                                 under
          for the reasons cited above and is not related to any lawful actions taken by Employee
          the provisions of Section 806 of 18 U.S.C.  § 1514A.

                                                                                                     and
    23,   Entire Agreement. This document constitutes the entire Agreement between Employee
                            made  no promises  to Employee   other than those lit this Agreement .  This
          Atmel. Atmel has
                                                                                                    with
          Agreement supersedes all prior agreements and underslnndings between the parties
          respect to such subject matters, except to the extent the Employee    has  greater obligations
          under any Patent and Trade Secrets Agreement or "Employee" Agreement between
          Employee and Atmel.
                                                                                                          for
    24.   Scvcrnhility Chnisc. If any one or more provisions contained in this Agreement will,
          any reason, be held   tn be  invalid, illegal or unenforcea   ble in any respect, such  invalidity,
                                                                                                         this
          illegality or unenforceability will not affect any other provision of this Agreement, but
                                         as if such  invalid, illegal or unenforcea ble provision bad  never
          Agreement will be construed
          been contained herein.
                                                                                        only
    25.    Reference. Reference inquiries from prospective employers will be handled by
           verifying Employee's dates of employment and last position held with Atmel.
                                                                                              and
    26.    Binding Agreement. The provisions of this Agreement will be binding upon Employee,
           Atmel and their successors, assigns, heirs, executors and beneficiari es,

                                                                                                         on
    27.    California Law. Employee and Atmel agree that this Agreement and any interpretati
                             governed by  the substantive laws of the Slate of California without regard to
           thereof will be
           its conflict of laws, except as preempted by ERISA.


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   28.     Captions. The captions used in this Agreement are designed for convenience of reference
           only and are not to be resorted to for the purpose of interpreting any provision of this
           Agreement.

   29.     Taxeg. Employee acknowledges that he is responsible for the payment of all taxes in
           connection with any payments and benefits he will be receiving pursuant to this Agreement,
           and has not relied on the Company for any tax advice in connection with his obligations in
           this regard.


           THE EMPLOYEE ACKNOWLEDGES THAT THE EMPLOYEE HAS READ THIS
           AGREEMENT, UNDERSTANDS IT AND IS VOLUNTARILY ENTERING INTO IT.




   Dated                                       Peter Schuman


                                               Atmel, LLC
   Dated
                                               By:
                                               Its:

   For internal use:

   45 day period for consideration ends, and offer of severance benefits expires: May 23,2016

   Date signed:

   7-day period for revocation ends:




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                                               EXHIBIT A

                                 DECISIONAL UNIT INFORMATION

   The following infonnation is provided under federal law to assist you in making a decision whether
   to sign this Agreement and accept the severance benefits offered by the Atmel, LLC:


   1.     Decisional Unit. The decisional unit for this reduction in force is Finance & Adran Group.

   2.     Eligibility. All persons included in the Finance & Admn Group and above are eligible for
   the program. All persons who are being terminated in the reduction in force are selected for the
   program.

   3.      How Long to Decide. Vbu will have up to forty-five (45) days from the receipt of this
   Agreement in which to decide whether to sign this Agreement and return it to the Company. The
   offer of severance benefits contained in this Agreement will expire on the date stated on page 8 of
   the Agreement. Please note that once you have signed this Agreement, you will have seven (7) days
   to revoke your signature and acceptance of the terms of this Agreement.

          Selection Information. Federal law provides certain infonnation be given to you
   concerning individuals who were eligible and selected for the reduction in force and individuals who
   were eligible but not selected for the reduction in force. This infonnation can be found in Exhibits B
   and C, which follow this Exhibit A.




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                                           Data Sheet by Age

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                                              EXHIBIT B

                                                                      for this Reduction in Force and Not
    Job Titles of Individuals Not Selected from the Decisional Unit
                                        Offered Severance Benefits
                                    Job Titlcfs)                                Agc(s)
               Will be mailed to home address




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                                              EXHIBIT C

      Job Titles of Individuals Selected from the Decisional Unit for this Reduction in Force and
           Offered Severance Benefits for Signint; this Sepinalion Aurcuucnl and Release
                                       Title                                  Ace
             Will be mailed to'home address




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      TO:             Peter Schuman
      DATE;            April 11,2016
      FROM:           Atmel Corporation

      RE:             Severance Agreement and Release



      As you know, Atmel Corporation ("Atmer) recently became a subsidiary of Microchip Technology
      incorporated ["Microchip"] (the "Merger"). Atmel and Microchip are making this offer, in part to resolve
      any current disagreement or misunderstanding regarding severance benefits previously offered by Atmel. In
      connection with the termination of your employment from Atmel effective April 6, 2016 (the "Termination
      Date"), we are offering you a severance package on the terms set forth In this document This offer Is
      voluntary and whether you accept It Is entirely up to you. If you decide to accept this offer by signing at the
      end of this document, you will be entering Into a legally-binding contract (the "Agreement") with Microchip,
      Atmel, and their affiliates, and subsidiaries (collectively the "Company"), on the terms stated below.

                                              Company Commitments to You


      •     In consideration for entering into this Agreement, Atmel will pay you a lump sum total of (I) $53,045.00
            representing, a lump sum cash payment In cash equal to 0.25 times the your Base Pay, and (II) $5,917.81
            representing, a lump sum payment in cash equal to 50% of the your 2015 Bonus, prorated to the date of
            the your Involuntary Termination (III) each outstanding equity award, including without limitation,
            restricted stock unit and restricted stock award, held by you shall automatically become vested and, if
            applicable, exercisable and any forfeiture restrictions or rights of repurchase thereon shall immediately
            lapse.

      •     In addition. If you timely elect to continue health coverage pursuant to COBRA, the Company shall
            directly pay, the premium costs for you and your covered dependents, for up to three (3) months
            following the Separation Date, subject to compliance with COBRA. After the Company ceases to pay
            premiums pursuant to the preceding sentence, you may. If eligible, continue healthcare coverage at
            your expense In accordance with the provisions of COBRA.

     •      The benefits described in the two bullets above are the "Severance Benefits."

     •      Regardless of whether you sign this Agreement, you will be paid all earned but unpaid salary and
            accrued but unused vacation through the Termination Date. Vou will receive Information regarding your
            rights to health insurance continuation under COBRA. Nothing in this Agreement will impair any COBRA
            rights you have or your rights to vested benefits under the terms of Company benefit plans.

     •      Provided that you direct any Inquiries by potential future employers to Atmel Human Resources
            department, Atmel shall use Its best efforts to provide only your last position and dates of employment




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     •   The Company will not contest any claim for unemployment benefits that you may file.

                                          Voiir Commitments to the Comoatw



     •    You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
         employees from any liability relating to or arising out of your employment with any of them. This
         Includes a release of any liability for claims of any kind that you ever had or may have at this time,
         whether you know about them or not. This release Is as broad as the law allows and Includes a release
         of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
         expressly includes any claims under the Age Discrimination in Employment Act. This release also
         Includes a release of any tort and contract claims, and any other claims that could be asserted under
         federal, state or local statutes, regulations or common law.

     •   You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
         State of California, which reads "o general release does not extend to claims which the creditor does
         not know or suspect to exist In his or her favor at the time of executing the release, which If known by
         him or her must have materially affected hisor her settlement with the debtor."

    •    In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or to
         provide information to, or file a charge with, any government agency. However, in agreeing to this
         release, you are agreeing that you will not accept any money, or the reinstatement of your employment,
         for any claim you have released.


                                   General Understandings and Acknowlcdeements

    •    This Agreement states your and the Company's complete understandings regarding your rights and the
         Company's obligations relating in any way to, or arising out of, your employment with the Company. No
         future modification of this Agreement will be valid unless It is written and signed by an executive officer
         of the Company and you. If any provision in this Agreement is deemed unenforceable, it will be
         considered severable and will not affect the enforceability of the rest of the Agreement.

    •    You have until 5:00 p.m. on May 27, 2016 to consider whether you want to accept the Severance
         Benefits by signing this Agreement, although you do not need to wait until that time to accept this offer
         and obtain the Severance Benefits.

    •    To accept this offer, you must sign this Agreement and deliver a signed copy of it to GeriShaw in Human
         Resources by the date and time stated In the previous bullet point. As noted below, you will not receive
         the Severance Benefits until the next administratively practicable payroll after the eighth calendar day
         after you delivered this signed unrevoked Agreementto Gerl Shaw. If you decide to accept this offer and
         you deliver a signed Agreement to Geri Shaw, you have seven (7) calendar days to change your mind
         and revoke the Agreement. To revoke this Agreement after signing it, you must deliver a written notice
         of revocation to Geri Shaw within seven (7) calendar days after you gave her the Agreement with your
         signature.


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      •   By signing this Agreement, you are acknowledging that you have read it carefully, that It Is written In
          language that you understand, that you have been advised to consult with an attorney, that you have
          been given 45 days to consider It, and that you are signing it knowingly and voluntarily.


      •   If you sign and return this document in less than the time that you have been given to consider It, you
          are voluntarily agreeing to waive the remaining portion of the time you have been given to consider It.

          ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.

                <                                                      )




     Date
                                                               /,A
                                                              Peter Schuman
                                                                               ' y' -




     Date
          HJpihb                                              Company Witness/Title

     Internal use:

     Date received:

     7-day revocation period ends:   f/ZilHe




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                                                       EXHIBIT A

                                           DECISIONAL UNIT INFORMATION

     The following Information is provided under federal law to assist you in making a decision whether to sign
     this Agreement and accept the severance benefits offered by Atmel, LLC;


             Decisional Unit. The decisional unit forthis reduction in force is Finance Group

             Eligibility. All persons Included In the Finance Group are eligible for the program. All persons who
     are being terminated in the reduction in force are selected for the program.

     3.      How Long to Decide. You will have up to forty-five (45) days from the receipt of this Agreement In
     which to decide whether to sign this Agreement and return It to Gerl Shaw at Atmel. The offer of severance
     benefits contained in this Agreement will expire on the date stated on page 2 of the Agreement. Please
     note that once you have signed this Agreement, you will have seven (7) days to revoke your signature and
     acceptance of the terms of this Agreement.

              Selection Information. Federal law provides certain information be given to you concerning
     individuals who were eligible and selected for the reduction in force and Individuals who were eligible but
     not selected for the reduction In force. This Information can be found In Exhibits B and C, which follow this
     Exhibit A.




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                                                          EXHIBIT B

       Job Titles of Individuals Not Selected from the Decisional
                                                                  Unit for this Reduction in Force and Not Offered
                                                   Severance Benefits

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                  attached




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                                                   EXHIBIT C

       Job Titles of Ind Ivlduab Selected from the Decisional Unit for this Reduction in Force and Offered
                      Severance Benefits for SiBiiinR this Separation Agreement and Release
                                            Title                                     Mfi
              attached




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                                    DECLARATIOM OF MANDY SCHWARZ



           I, MandySchwatz, declare as follows;

           In 2015,1 was employed Jjy Atmel Corporation (hereinafter "Atmel",or "Compsny") asa Sales
   Operation Senior Manager. In July 2015,1and other U.S. Atmel employees received a tetter setting
   forth Atmel's "U.S. Severance Guarantee Benefit Program", along with an Addendum to the letter
   providing additional details about the severance program (hereafter collectively "Severance Plan"). A
   copy of the Severance Plan I received. In July 20151s attached as Exhibit A. The Severance Planprovided
   for certain severance benefits if Atmel was acquired and I was subsequently terminated without cause,            .
   Under the terms of the Severance Plan, my severance benefits fncluded cash payments representing
   40% of my base salary,.a pro-rated amount of my annual bonus target, and four months of COBRA                •
   Insurance to be paid for by the"Company.                             .                                   -

           in September 2015,1 learned that Atmel had entered Into a merger agreement with a company
   called Dialog Semiconductor {"Dialog4), pursuant to which Dialog would acquire Atmel. in December
   2015,1 heard that Dialog might not be the buyer, since another potential purchaser had emerged and
   had made an offer that might be superior to Dialog's.

           In January 20J.6.1learned that Microchip Technology, Inc. ("Microchip'') was the new potential
   buyer and had made an offer that was superiorto Dialog's. After Dialog failed to increase its purchise
   offer in January 2016,1learned on approximately January 19,2016 that Microchip hadentered into an
   agreement with Atmel pursuant to which Microchip would acquire Atmel.

          On approximately February 3,2016, Suzanne Zoumaras (Atmel'sSenior Vice President of Human
   Resources) sent an e-mail to Atmel employees entitled"Compensation Benefits Relating to the
   Microchip Merger", which had links to a series of Frequently Asked Questions {"FAQs") that had been
   published for Atmel employees regarding the potential Microchip acquisition. A copy of the FAQs is
   attached as Exhibit B. I read the PACls In early February 2016. The FAQS stated that Microchip had
   agreed tip honor the SeverancePilan Ifit acquired Atmel, and so I believed that Microchip would paythe
   severance benefits set forth In the Severance Plan if it terminated Atmel employees without cause after
   the merger closed.

           Between January 2016 and March 2016,1 had multiple discussions with severalmembers of
   Atmel management regarding the issue of Microchip honoring the Severance Plan and paying the
   severance benefits set forth in the Severance Plan. During this time period, I had discussionts WithKiran
   Ramakrishnan (who was my Immediate supervisor], Yang Chiah Yes (Mr. Ramakrishnan's Immediate
   supervisor) and Ravi Bali (who was in Atmells Human Resources department). All three of these
   individuals assured me that, even if Dialog was not to be the acquiring company, whichever company
   acquired Atmel (including Microchip) would have to pay the severance benefits set forth In the
  ! Severance Plan if it terminated Atmel employees following the merger. They told me that the severance
   payment would not be a problem and that I should not worry about this Issue.




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            On Aprlt A, 2015, Microchip's acquisition of Atmel closed. On apprdxirtiately April s, 2016^ I
     learned that many Atmel employees had been terminated and that Microchip was now stating that
     Atmet emplayees were not entitled to the benefit set forthin the Severance Plan and thatMicrochip
     would not pay those severance benefits:

            On approximately April 6,2016, Steve. Sarighi, the Chairman and Chief Executive Officer of
     Microchip held a general meeting with Atmel employees.- During thismeeting, Sanghi informed Atmel
    employees that they were not entitled to anybenefits under the Severance Plan;that he had no
    knowledge of the July 2015 Severance Plan prior to the merger;that theJuly 2015 Severance Plan had
    "expired" in November 2015; that even though Atmel executives had assured Atmei employees in mid-
    January 3016 that whichever company acquired Atmel (including Microchip) woutd haveto pay the        -
    severance benefits under thelSeverance Plan, Microchip hadnot entered into its merger agreement
    withAtmei until'January 19,2016, which was after th]s assurance by Atmel executives, and so Microchip
    did not have to honor the Severance Plan; and that Microchip was not obligated to honor the Severance
    Plan and would not do so. Sanghi eventually said that Microchip was nevertheless willing to offer
    terminated Atmel employeeslSOK of the benefits provided by the Severance Plan If Atmei employees
    signed an agreement accepting this 50% proposal, and W they later signed a release of claims, Sanghi
    said that employees who refused to sign thisnew severance agreement would receive no severance
    whatsoever.

            On approximately April 13; 2016,1 received a letter "severance agreement" from Microchip
    ("the April 13 Agreement") which offered to pay me 5Q% of the Severance Plan benefits if I signed the
    April 13 Agreement and was subsequently terminated, provided that I also signed a release of dairas
    following my termination. A copy of the April 13 Agreement is attached hereto as Exhibit C. I refused to
    sign the April 13 Agreement.

           On June 28,2016, my employment was terminated by Microchip without cause. I received no
    severance benefits from Microchip,

            I relied on theSeverance Plan, and on the assurances I had received from Atmel management
    and firom the FAQs, about my entitlement to severance benefits under the Severance Plan even If
    Microchip became the acquiring eompany, in dedding to stay employed with Atmel through the
    Microchip acqUttitidrt period. I would have looked for a job outside of Atmel well before the Microchip
    acquisition had I known that Microchip was hot goingto honor the Severance Plan benefits.

            I declare under penalty of perjury that the foregoing is true andcorrect and that this declaration

    was executed on October2016 at.            IXm                         ^




                                            Mandy Schwarz




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                                                STRICTLY PERSONAL AND CONFIDENTIAL

  July 9, 201S



  Re: Severance Guarantee

  •>es

 Our employees are the llfeblood of our company and we value and appreciate all you do for Atmel. We recognize that
 recently there has been significant market speculation regarding possible transactions involving the company and
 understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
 on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
 Benefit program that is Intended to ease concerns among our employees. Under this program, you will have the
 opportunity to receive benefits as described below If your employment is involuntarily terminated without Cause after the
 occurrenceof a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include:

         •   Cash Severance; 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
             transaction closes); and
         •   Target Incentive: If you are eligible, a prorated annual MIP or SIP, whichever you are eligible for at the time of
             termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
             determined by the Company; and
         •   COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company

 All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
 receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
 Company (or its successor) if a transaction occurs (the "Release").

Nothing In this letter is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
the provision by the Company (or Its successor) of the Severance Guarantee Benefits provided by this letter. You shall
remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

John, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
recognition and appreciation ofyour contributions to Atmel. Thank you for your continued contributions to oursuccess.

Sincerely,



Suzanne Zoumaras
Senior Vice President, Global Human Resources

Attachment




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                                                  ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 9, 2015



 Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
 July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
 occurred prior to November 1,2015, In which event the U.S. Severance Guarantee Benefit Program will remain in
 effect for 18 (eighteen) months following that initial Triggering Event.

 Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
 consummated.

 Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
 November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
 into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
 will automatically expire, unless expressly extended by the Company's Board of Directors.

 Benefits Conditions; After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
 Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
 benefits if, but only if:

      A.    A Change of Control actually occurs; and
      B.    Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
            months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
      Plan.

Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9, 2015.

Terminations Not Subject to Program: If your employment Is terminated at any time before or after an Initial
Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
Change of Control that occurs and your employment Is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid prior to the date the Release is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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 Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
 determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
 are Intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
 interpreted accordingly.

  Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
  under the Program, the term "Company" will include any successor to the Company's business and/or assets which
  becomes bound by the terms of the Program by operation of (aw, or otherwise. The Company will withhold from any
  severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
  payroll deductions. The Program will be administered and Interpreted by the Company. Any decision made or other
  action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
  Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
  conclusive and binding on all persons and be given the maximum possible deference allowed by law. Fallowing a
 Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
 of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
 the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
 payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
 in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
 In writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
 the Program; provided, however, that any Program amendment ortermination or any other action that could
 reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
 of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
 be construed, administered and enforced in accordance with the Internal substantive laws of the State of California
 (with the exception of its conflict of laws provisions).




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                            FREQUENTLY ASKED QUESTIONS
                                Microchip Transaction:
                Effect on Compensation and Benefits for U.S. Employees


       What happens to my employment and compensatory arrangements with Atmel after the dosing?

       Microchip has agreed to honor each of your employment and compensatory contracts {Including
       retention awards and employment, employment continuation, severance, incentive and change in
       control agreements) with Atmel, or Its subsidiaries, that are in effect Immediately prior to the closing
       of the transaction.

       How will my compensation and benefits be affected after the transaction closes?

       Microchip has agreed not to reduce your base salary or base wages through December 31,2016, In
       addition, Microchip has promised that your aggregate compensation and benefits package for 2016
       will be comparable in value to the aggregate value of your pre-closing compensation and benefits
       package, excluding the value attributed to any pension plans or employee stock purchase plans.

       Will) participate In the same Atmel benefit plans fallowing the transaction?

       We anticipate that sometime following the closing of the transaction Atmel's benefits will be
       transitioned onto Microchip's benefit plans. The timing of this transition Is yet to be determined. Upon
       the transition to the Microchip benefits plans, you will be Immediately eligible to participate in all
       Microchip plans subject to the eligibility requirements of the Microchip plans. We will work with
       Microchip to provide you information about the Microchip plans in the near term.

       Will I receive service credit for purposes of Microchip's benefits plans?

       Microchip has agreed to provide you with the same service credit that Atmel recognizes for you as of
       the closing (as If you had provided such services to Microchip), for purposes of eligibility, vesting, and
       level of benefits in Microchip plans that are comparable to Atmel plans (e.g., health Insurance plans,
       paid time off).

        What will happen to my Atmel equity awards after the transaction closes?

       RSUs & PRSUs. At the closing of the transaction. Microchip will assume each continuing employee's
       then-outstanding and unvested awards of restricted stock units (RSUs) and performance-based
       restricted stock units (PRSUs), and convert those awards into awards for Microchip common stock
       with an equivalent value as determined under the definitive agreement. The converted awards will
       retain the same material terms (e.g., vesting, Including any rights you may have to accelerated vesting
       under the terms of your award, your employment agreement or Atmel's stock plan) as your Atmel
       award. In addition, at the closing of the transaction, any vested awards of RSUs and PRSUs (Including
       any portion that vests on the closing of the transaction) for which shares have not yet been Issued,
       will be settled in shares, subject to applicable withholding taxes, and converted Into the right to
       receive the merger consideration for those shares after the closing just like any other Atmel
       stockholder.

       Stock Potions. All unvested Atmel stock options that you hold will accelerate and become vested arid
       exercisable in full Immediately prior to the closing, subject to your continued service through the
       closing. We will provide more information to you as we get closer to the closing date on how you may
       exercise your stock options that are eligible for this accelerated vestingIn connection with the closing.


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      If you do not exercise your stock options prior to the closing, Atmel will automatically "net exercise"
      your stock options, which means that the exercise price and applicable withholding taxes will be paid
      by withholding the appropriate amount of shares otherwise issuable to you on the exercise of your
      stock options. You will receive merger consideration for the shares you are issued for your options
      after the closing just like any other Atmel stockholder.

      Purchase Rights under the Emolovee Stock Purchase Plan (ESPP1. Atmel expects to continue the ESPP
      until Just before dosing. For any offering period under the ESPP that would otherwise be in effect at
      the closing of the transaction, Atmel will shorten the offering period so that purchases will be made
      on the 10th business day prior to such closing. Ail shares of Atmel stock purchased on that purchase
      date will not be released until the closing and will be treated like ail other outstanding shares at the
      closing. The ESPP will terminate immediately priorto the dosing.

      How much willI receive for my shares of Atmel stock?

      Microchip has agreed to pay, for each share of Atmel common stock, a combination of $7,00 In cash,
      plus a fraction of a share of Microchip common stock having a value of approximately $1.15; provided
      however that Microchip will make a cash payment in lieu of Issuing a fractional share of its common
      stock. For more information, please see our filing on form 8-K from January 19, 2016 at:
      .,iU(j./,Aivww.!.ef..i'.ov/Aii.iiiVrsAjdi'.;ir/dcHa/3'/W8/0001^7104916010841AUiOOl'/B Hk.lUm

      When is the transaction expected to close?

      We expect the transaction to close during the second calendar quarter of 2016, subject to customary
      closing conditions, regulatory approvals and Atmel stockholder approval. Until then, Atmel and
      Microchip will continue to operate as independent companies.

      Will there be salary adjustments in 20167

      Atmel agreed not to increase salary for any employees before July 1, 2015. We expect Microchip to
      review compensation arrangements, including salary levels, during the Integration process.

      Who should I contact If I have questions about the transaction?

      If you have any questions, please contact Atmel's HR department.




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                                                     Additional Information

       This communication may be deemed to be solicitation material in respect of the proposed merger involving
       Microchip and Atmel. In connection with the proposed merger, Microchip will file with the U.S. Securities and
       Exchange Commission (the "SfC") a Registration Statement on Form S-4 [the "Registration Statement")
       containing a prospectus with respect to the Microchip common stock to be issued In the proposed merger and
       a projfy statement of Atmel in connection with the proposed merger (the "Proxy Statement/Prospectus"). Each
       of Microchip and Atmel intends to file other documents with the SEC regarding the proposed merger. The
       definitive Proxy Statement/Prospectus will be mailed to stockholders of Atmel and will contain important
       information about the proposed merger and related matters. The final Proxy Statement/Prospectus will describe
       the terms and conditions of the way In which the proposed merger will be Implemented, including details of
       how to vote on the adoption of the proposed merger agreement. Any response to the proposed merger should
       be made only on the basis of the information in the Proxy Statement/Prospectus.
       Securityholders of Atmel may obtain, free of charge, copies of the Proxy Statement/Prospectus and Registration
       Statement, and any other documents filed by Atmel and Microchip with the SEC In connection with the proposed
       merger at the SEC's website at www.sec.gov. Securityholders of Atmel may obtain, free of charge, copies of the
       Proxy Statement/Prospectus and any other documents filed by Atmel with the SEC In connection with the
       proposed merger in the "Investors" section of Atmel's website at www.atmel.com.
       BEFORE MAKING AN INVESTMENT OR VOTING DECiSiON, WE URGE SECURITYHOLDERS OF ATMEL TO READ
       CAREFULLY THE PROXY STATEMENT/PROSPECTUS AND REGISTRATION STATEMENT (INCLUDING ANY
       AMENDMENTS OR SUPPLEMENTS THERETO) AND ANY OTHER RELEVANT DOCUMENTS THAT MICROCHIP OR
       ATMEL WILL FILE WITH THE SEC WHEN THEY BECOME AVAILABLE, BECAUSE THEY WILL CONTAIN IMPORTANT
       INFORMATION ABOUT THE PROPOSED MERGER.
       This communication does not constitute an offer to buy or exchange, or the solicitation of an offer to sell or
       exchange, any securities, nor shall there be any sale of securities in any Jurisdiction In which such offer, sale or
       exchange would be unlawful prior to registration or qualification under the securities laws of any such
       Jurisdiction, This communication is not a substitute for any prospectus, proxy statement or any other document
       that Atmel or Microchip may file with the SEC in connection with the proposed merger.
                                                 Participants fn the Solicitation

       Atmel, Microchip and their respective directors and executive officers may be deemed to be participants In the
       solicitation of proxies from Atmel's stockholders In connection with the adoption of the merger agreement In
       connection with the proposed merger and may have direct or indirect interests in the proposed merger.
       Information about Microchip's directors and executive officers Is set forth in Microchip's Proxy Statement on
       Schedule 14A for Its 2015 Annual Meeting of Stockholders, which was filed with the SEC on July 10, 2015, and
       its Annual Report on Form 10-K for the fiscal year ended March 31, 201S, which was filed with the SEC on May
       27, 2015 and amended on June 8, 2015. These documents are available free of charge at the SEC's website at
       www.sec.gov and from Microchip's website at www.microchlp.cam/investorshome.aspx. Information about
       Atmel's directors and executive officers and their respective Interests in Atmel by security holdings or otherwise
       is set forth in Atmel's Proxy Statement on Schedule 14A for its 2015 Annual Meeting of Stockholders, which was
       filed with the SEC on April 3, 2015. These documents are available free of charge at the SECs website at
       www.sec.gov and from the "Investors" section of Atmel's website at www.atmel.com. Additional Information
       regarding the interests of participants in the solicitation of proxies In connection with the proposed merger will
       be included in the Pro^y Statement/Prospectus and the Registration Statement that Microchip will file with the
       SEC.
                               Cautionary Statements Related to Forward-Looking Statements

       This communication contains, or may contain, "forward-lookingstatements" in relation to Atmel and Microchip,
       as well as cither future events and their potential effects on Atmel, Microchip and the combined company that
       are subject to risks and uncertainties. Generally, the words "will," "may," "should," "continue," "believes,"
       "targets," "plans," "expects," "estimates," "aims," "intends," "anticipates" or similar expressions or negatives
       thereof identify forward-looking statements. Forward-looking statements Include statements relating to (1) the
       benefits of the merger. Including future financial and operating results of the combined company. Microchip's


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       or Atmel's plans, objectives, expectations and Intentions, and the expected timing of completion of the
       transaction; (2) expected developments In product portfolio, expected revenues, expected operating costs
       savings, expected future cash generation, expected future design wins and increase in market share, expected
       incorporation of products In those of customers, adoption of new technologies, the expectation of volume
       shipments of products, opportunities in the semiconductor Industry and the ability to take advantage of those
       opportunities, the potential success to be derived from strategic partnerships, the potential Impact of capacity
       constraints, the effect of financial performance on share price, the impact of government expectations and
       beliefs of the management of Microchip and Atmel; (3) the expansion and growth of Microchip's or Atmel's
       operations; (4) the expected cost, revenue, technology and other synergies of the proposed merger, the
       expected Impact of the proposed merger on customers and end-users, the combined company's future capital
       expenditures, expenses, revenues, earnings, economic performance, financial condition, losses and future
       prospects; (5] business and management strategies and the expansion and growth of the combined company's
       operations; and (6) the anticipated timings of the Atmel stockholders' meeting and completion of the proposed
       merger.

        These forward-looking statements are based upon the current beliefs and expectations of the management of
         Atmel and involve risks and uncertainties that could cause actual results to differ materially from those
        expressed in the forward-looking statements. Many of these risks and uncertainties relate to factors that are
        beyond Atmei's ability to control or estimate precisely. Those factors Include (1) the outcome of any iegal
        proceedings that could be Instituted against Atmel or Its directors related to the discussions with Microchip, the
        merger agreements with Dialog or Microchip or any unsolicited proposal; (2) the occurrence of any event,
        change or other circumstances that could give rise to the termination of the merger agreement with Microchip;
        (3) the ability to obtain governmental and regulatory approvals of the proposed merger between Atmel and
        Microchip; (4) the possibility that the proposed merger between Atmel and Microchip does not close when
        expected or at all, or that the parties, in order to achieve governmental and regulatory approvals, may be
        required to modify aspects of the proposed merger or to accept conditions that could adversely affect the
        combined company or the expected benefits of the proposed merger; (5) the possibility that other competing
        offers or acquisition proposals will be made; (6) the ability to realize the expected synergies or savings from the
        proposed merger In the amounts or In the timeframe anticipated; (7) the potential harm to customer, supplier,
        employee and other relationships caused by the announcement or closing of the proposedmerger; (8) the ability
       to integrate Atmel's businesses into that of Microchip In a timely and cost-efficient manner; (9) the combined
       company's ability to develop and market products containing the respective technologies of Atmel and
       Microchip in a timely and cost-effective manner; (10) the combined company's ability to protect intellectual
       property rights; (11) litigation (including Intellectual property litigation in which the combined company may be
       involved or in which customers of the combined company may be Involved, especially In the mobile device
       sector), and the possible unfavorable results of legal proceedings; (12) dependence on key personnel; (13) the
       inability to realize the anticipated benefits of acquisitions and restructuring activities, including In connection
       with the proposed merger, or other initiatives in a timely manner or at all; (14) the development of the markets
       for Atmel's and Microchip's products; (15) risks related to Microchip's ability to successfully implement its
      acquisitions strategy; (16) uncertainty as to the future profitability of businesses acquired by Microchip, and
      delays in the realization of, or the failure to realize, any accretion from any other acquisition transactions by
      Microchip; (17) the inherent uncertainty associated with financial projections; (18) disruptions In the availability
      of raw materials; (19) compliance with U.S. and international laws and regulations by the combined company
      and its distributors; (20) the market price and volatility of Microchip common stock (if the merger is completed);
      (21) the cyclical nature of the semiconductor industry; (22) an economic downturn in the semiconductor and
      telecommunications markets; (23) consolidation occurring within the semiconductor industry; (24] general
      global macroeconomic and geo-political conditions; (25) financial market conditions; (26) business interruptions,
      natural disasters or terrorist acts; and (27) other risks and uncertainties, including those detailed from time to
      time in Microchip's and Atmel's periodic reports and other filings with the SEC or other regulatory authorities,
      Including Atmel's Annual Report on Form 10-K for the fiscal year ended December 31,2014 and Quarterly Report
      on Form lO-Qforthe quarterly period ended September 30, 2015 (whether under the caption Risk Factors or
      Forward Looking Statements or elsewhere) and Microchip's Annual Report on Form 10-K for the fiscal year
      ended March 31, 201S, which was filed with the SEC on May 27, 2015 and amended on June 8, 2015 and
      Ouarterly Report on Form 10-Q,for the quarterly period ended September 30, 2015 (whether under the caption
      Risk Factors or Forward Looking Statements or elsewhere).
      Neither Atmel nor Microchip can give any assurance that such forward-looking statements will prove to be
      correct. The reader is cautioned not to place undue reliance on these forward-looking statements, which speak


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       only as of the date of this announcement Neither Acroel nor Microchip nqr any other person undertakes any
       obligation to update or revise publldy any of the forward-looking statements set out herein, whether asa result
       of new Information, future events or otherwise, except to the extent legally required.
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                                                                           Letter for Exempt Employees hired before 12/31/15

 April 13,2016

 Mandy Schwarz

 Re: Severance Benefits

 Dear Mandy,

 I am pleased to offer you a severance agreement on the terms and conditions set forth below.


 As you know, Atmel Corporation (the "Company") recently became a subsidiary of Microchip Technology
 Incorporated ("Microchip") (the "Merger"). The Company and Microchip are making this offer, In part to resolve
 any current disagreement or misunderstanding regarding severance benefits previously offered by the
 Company, and in part to provide you with the security of certain benefits in the event your relationship is
 terminated involuntarily without Cause (as defined in Appendix A) by the Company, Microchip or any U.S.
 subsidiary or affiliate of the Company or Microchip (the "Microchip Group"), and other than due to your death
 or disability, on or prior to Aprils 2017 ("Qualifying Termination").

 These benefits (collectively, the "Severance Benefits") are:
     •   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
         withholdings, based on your base rate of pay in effect immediately prior to the date your employment
         is terminated (the "Separation Date");
     •   Target Incentive: A lump sum payment equal to 50% of the annual performance bonus (MIP) that you
         received from the Company for 2015, then annualized, less applicable withholdings, prorated based on
         the number of days between January 1,2016 and your Separation Date1; and
     •   COBRA Benefits: Two months of COBRA benefits paid for by Microchip.

 Your receipt of the Severance Benefits will be subject to you signing and not revoking a release of any and all
 claims, in a form prescribed by Microchip and substantially the same as that attached at Appendix B (the
 "Release"), Upon the Release becoming effective, the Cash Severance and Target Incentive will be payable in a
 lump sum without interest as soon as administratively practicable, and all other amounts will be payable in
 accordance with the payment schedule applicable to each payment or benefit.

Nothing in this agreement is intended to, or shall, contradict, modify or alter the terms of your at-will
employment. You shall remain an at-will employee of the Company and the Microchip Group for all purposes,
meaning that you, the Company or the member of the Microchip Group employing you may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.
Moreover, the at-will status of your relationship cannot be changed except in a written document, signed by
Microchip's Chief Executive Officer and you, and which expressly modifies your at will status. This agreement
constitutes the complete, final, and exclusive embodiment of the entire agreement between you and the


     1 For example,
                     if your performance bonus for working the entire year of 2015 was $10,000, less applicable
     withholdings, and you are employed for a total of 180 days after January 1,2016, then you will be eligible for a Target
     Incentive of (($10,000 x ,5) x (180/365))= $2,465.75, less applicable withholdings. However, if you were hired by the
     Company sometime after January 1,2015, then your 2015 bonus number will be annualized accordingly. For example,
     if you were hired April 1,2015 and received a performance bonus for 2015 of $7,500, and you are employed for a
     total of 180 days after January 1,201G, then you will be eligible for a Target Incentive of ((($7,500 x 365/275) x .5) x
     (180/365)) = $2,454.55.


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Microchip Group with regard to Its subject matter and supersedes any other actual or perceived promises,
warranties, or representations with regard to Its subject matter made by the Company or any other member of
the Microchip Group, including, for the avoidance of doubt, any programs, policies, or agreements with respect
to severance or equity acceleration benefits made prior to April 4,2016.

In the event that a portion of the Microchip Group Is sold to an unrelated party and your employment is
transferred to that party. Microchip and the Company will ensure that the new employer assumes responsibility
for this agreement

If a Qualifying Termination does not occur on or prior to April 4, 2017, this agreement will expire and you will
not be eligible to receive the Severance Benefits described here.


To accept this offer, counter-sign in the space provided below and return it to your HR business partner no later
than April 20, 2016.

Thank you for your continued contributions to our success.


Sincerely,




Lauren Carr
Vice President, Global Human Resources

AGREED AND ACKNOWLEDGED:                                      MICROCHIP TECHNOLOGY INC



Signature (Mandy Schwarz)                                      HR Business Partner



Date                                                           Date




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                                                     APPENDIX A


                                  ADDITIONAL TERMS TO SEVERANCE AGREEMENT

 Unless otherwise defined below, capitalized terms used herein will have the meanings set forth in the
 agreement.



 1.   Cause. "Cause" is defined as (i) your willful and continued failure to perform the duties and responsibilities
      of your position after there has been delivered to you a written demand for performance from Microchip's
      Vice President, Worldwide Human Resources which describes the basis for her belief that you have not
      substantially performed your duties and you have not corrected such failure within 30 days of such written
      demand; (ii) any act of dishonesty by you in connection with your responsibilities as an employee of the
      Company with the intention or reasonable expectation that such action may result in your substantial
      personal enrichment; (iii) your conviction of, or plea of nolo contendere to, a felony that Microchip's Vice
       President, Worldwide Human Resources reasonably believes has had or will have a material detrimental
       effect on the reputation or business or any member of the Microchip Group; (iv) a breach of any fiduciary
       duty owed to the Company or the Microchip Group by you that has a material detrimental effect on the
       reputation or business of any member of the Microchip Group; (v) you being found liable in any Securities
       and Exchange Commission or other civil or criminal securities law action or entering any cease and desist
      order with respect to such action (regardless of whether or not you admit or deny liability); (vi) you (A)
      obstructing or impeding; (B) endeavoring to obstruct, impede or improperly Influence, or (C) failing to
      materially cooperate with, any investigation authorized by the Board or any governmental or self-regulatory
      authority (an "Investigation"); however, your waiver of attorney-client privilege relating to communications
      with your own attorney in connection with an Investigation will not constitute "Cause"; or (vii) your
      disqualification or bar by any governmental or self-regulatory authority from serving in the capacity
      contemplated by your position or your loss of any governmental or self-regulatory license that is reasonably
      necessary for you to perform your responsibilities to the Company or any member of the Microchip Group,
      if (A) the disqualification, bar or loss continues for more than 30 days, and (B) during that period the
      Company or any member of the Microchip Group uses its good faith efforts to cause the disqualification or
      bar to be lifted or the license replaced, it being understood that while any disqualification, bar or loss
      continues during vour employment, you will serve in the capacity contemplated by your position to
      whatever extent legally permissible and, if your service in the capacity contemplated by your position is not
      permissible, you will be placed on leave (which will be paid to the extent legally permissible).




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                                                     APPENDIX B


  TO:              (NAME]

  FROM:            Microchip Technology Incorporated

  DATE:            [XXXX]

  RE:              Employment Separation, Severance and Release ("Agreement")




  As you know, the Company2 has decided to end your employment without cause (as defined in the
  Severance Agreement that you signed in April 2016). Underthe terms of the Severance Agreement, you are
  entitled to the Severance Benefits listed below provided you sign, return and do not revoke this
  Agreement.

                                        The Company's Commitments to You


  •     The Company will give you:

            o   Cash Severance: A lump sum payment equal to 20% of your annual base salary, less applicable
                withholdings, based on your base rate of pay in effect immediately prior to the date your
                employment is terminated (the "Separation Date");
            o   Target Incentive; A lump sum payment equal to 50% of the annual performance bonus (MIP)
                that you received from the Company for 2015, less applicable withholdings, prorated based on
                the number of days between January 1,2016 and your Separation Date; and
            o   COBRA Benefits: Two months of COBRA benefits paid for by Microchip.


  •     The Company will not contest any claim for unemployment benefits that you may file.

                                         Your Commitments to the Company


  •     You agree to release the Company, its subsidiaries and affiliates, and its and their officers, agents and
        employees from any liability relating to or arising out of your employment with any of them. This
        includes a release of any liability for claims of any kind that you ever had or may have at this time,
        whether you know about them or not. This release is as broad as the law allows and includes a release
        of claims under federal and state laws, such as anti-discrimination, harassment and retaliation laws and
        expressly includes any claims under the Age Discrimination in Employment Act. This release also
        includes a release of any tort and contract claims, and any other claims that could be asserted under
        federal, state or local statutes, regulations or common law.

  •     You agree that this release of claims is a waiver of all rights under Section 1542 of the Civil Code of the
        State of California, which reads "a general release does not extend to claims which the creditor does
        not know or suspect to exist in his or her favor at the time of executing the release, which if known by
        him or her must have materially affected his or her settlement with the debtor."




  2  In this document, unless otherwise noted, "Company" means Microchip Technology Incorporated, Atmel
  Corporation and any of their affiliated entities.

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    •   In agreeing to this release, you are not giving up your rights to enforce any term of this Agreement or
        to provide information to. or file a charge with, any government agency. However, In agreeing to this
        release, you are agreeing that you will not accept any money, or the reinstatement of your
        employment, for any claim you have released.

                                 General Understandings and Acknowledgements


   •    This Agreement states your and the Company's complete understandings regarding your rights and the
        Company's obligations relating in any way to, or arising out of, your employment with the Company.
        No future modification of this Agreement will be valid unless it is written and signed by an executive
        officer of the Company and you. If any provision In this Agreement is deemed unenforceable, it will be
        considered severable and will not affect the enforceability of the rest of the Agreement.


   •    You have until 5:00 p.m. on XXXXX (XX days after your Separation Date), to consider whether you want
        to accept the Severance Benefits by signing this Agreement, although you do not need to wait until that
        time to accept this offer and obtain the Severance Benefits.


   •    To accept this offer, you must sign this Agreement and deliver a signed copy of it to Lauren Carr in
        Human Resources by the date and time stated in the previous bullet point. As noted below, you will not
        receive the Severance Benefits until seven (7) business days after you deliver it to Lauren Carr. if you
        decide to accept this offer and you deliver a signed Agreement to Lauren Carr, you have seven (7)
        calendar days to change your mind and revoke the Agreement. To revoke this Agreement after signing
        it, you must deliver a written notice of revocation to Lauren Carr within seven (7) calendar days after
        you gave her the Agreement with your signature.


   •    By signing this Agreement, you are acknowledging that you have read it carefully, that it Is written in
        language that you understand, that you have been advised to consult with an attorney, that you have
        been given 21 days [or 45 days if you are not the only employee separated from the Company at the
        same time] to consider it, and that you are signing it knowingly and voluntarily.


   •    If you sign and return this document in less than the time you have been given to consider It, you are
        voluntarily agreeing to waive the remaining portion of the time you have been given to consider it.

        ONCE YOU SIGN BELOW, THIS DOCUMENT WILL BECOME A LEGALLY ENFORCEABLE CONTRACT.




   Date                                                      [XXXX EMPLOYEE NAME]




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                                             Microchip


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                                            November 29, 2016

 This document contains important information that you should retain for your
 records. This document serves as notice of an adverse benefit determination. We have
 declined to provide benefits, In whole or in part, for the claim{s) described below. If you
 think this determination was made in error, you have the right to appeal (see below for
 information about your appeal rights).

 Dear Ms. Berman:

 This letter is in response to your May 20, 2016 claim for benefits under the Atmel U.S.
 Severance Guarantee Benefit Program (the "Atmel Severance Plan"). The Plan
 Administrator has denied your claim.

 Reason for Deniai;

 You are not eligible for benefits under the Atmel Severance Plan.

 Explanation of Basis for Determination;

 As set forth in the Section entitled "Benefits Conditions" of the Addendum to U.S.
 Severance Guarantee Program Letter of the Atmel Severance Plan (the "Plan
 Addendum"), you were only eligible for benefits if:

        (1)      Atmel entered into an agreement qualifying as an "Initial Triggering Event"
                 (discussed below) that would result in a "Change of Control" (discussed
                 further below) on or after July 1, 2015, but before November 1,2015;
        (2)      The agreement qualifying as an "Initial Triggering Event" ultimately
                 resulted in a "Change of Control"; and
        (3)      You were terminated within 18 months of the execution date of the
                 agreement qualifying as an "Initial Triggering Event" and resulting in a
                 "Change of Control."

 The agreement with respect to Dialog Semiconductor PLC referenced In your letter did
 not result in a "Change In Control." Thus, you are not eligible for benefits under the




  Microchip Technology Incorporated- 2355 Wast Chandler Blvd. - Chandler, AZ 852244199- Main Office 480-792-7200




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  Atmel Severance Plan with respect to the agreement with respect to Dialog
  Semiconductor PLC.

  As set forth in the Section entitled "Initial Triggering Event," the Atmel Severance Plan
  automatically expired on November 1, 2015, with respect to any "Definitive Agreement"
  that did not qualify as "Initial Triggering Event" under the Atmel Severance Plan. Thus,
  all agreements entered into on or after November 1, 2015, cannot qualify as an "Initial
  Triggering Event."

  Notes:

  The term "Change in Control" is defined in the Plan Addendum. It generally means a
  transaction or series of transactions whereby persons or entities that did not prior to such
  transaction or transactions control a company, its assets, or its board does so after such
  transaction or transactions.

  The term "Definitive Agreement" is defined in the Plan Addendum. It generally means an
  agreement that provides for obligations that are material to and enforceable against the
  registrant, or rights that are material to a company and enforceable by a company against
  one or more other parties to the agreement, in each case whether or not subject to
  conditions.


                                             Sincerely,

                                                          '/c     -
                                             Carly iWovic
                                             Plan Administrator




  CC: Mr. Cliff Palefsky




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                                             Microchip




                      Important Information about Your Appeal Rights:

 How do Icontact the Plan Administrator? You can contact the Plan Administrator at
 21015 SE Stark St., Gresham, OR 97030 or carly.petrovic@microchip.com.

 What if I need help understanding this denial? Contact the Plan Administrator if you
 need assistance understanding this notice or our decision to deny your claim for
 benefits.

 What if I don't agree with this decision? You have a right to appeal the denial of your
 claim for benefits.

 How do I file an appeal? Contact the Plan Administrator in writing.

 When can 1 file an appeal? You have 60 days following your receipt of this notice to file
 an appeal.

 Who may file an appeal? You or someone you name to act for you (your authorized
 representative) may file an appeal.

 Can I provide additional information about my claim? Yes, you may supply
 additional information. To do so, contact the Plan Administrator in writing. All
 comments, documents, records, and other information you submit will be considered.

 Can I request copies of information relevant to my claim? Yes, you may request
 copies (free of charge). You can request copies of this information by contacting the
 Plan Administrator in writing.

 What happens next? If you appeal, we will review our decision and provide you with a
 written determination.

 When will the appeal review be concluded? We will provide you with a written
 determination regarding your appeal within 60 days after we receive your appeal
 request unless special circumstances require an extension of up to 60 days to process
 your claim.




  Microchip Tschnology Incorporated- 23S5 Wakt Chandlsr Blvd.- Chandler, AZ 89224-6199- Main Offlcs 480-792-7200




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  What happens if my appeal is denied? You have the right to file a civil claim under
  Section 502(a) of the Employee Retirement Income Security Act of 1974, as amended
  ("ERISA"). In order to file such an action, however, you must first complete the Plan's
  claims process (including the appeal described above).




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                                                 LAW OFFICES OF

                             McGUINN, HILLSMAN & PALEFSKY
JOHN A. MCGUINN
JOHN R. HILLSMAN
                                          A   PROFESSIONAL CORPORATION

CLIFF PALEFSKY                                  535 PACIFIC AVENUE
DEREK B.JACOBSON
KEITH A. EHRMAN
                                       SAN FRANCISCO, CAUFORNIA 94133
ABRAHAM FEINSTEIN-HILLSMAN                 TELEPHONE (415) 421-9292
SCOTT M. STILLMAN                                                                             FAX (415)403-0202
JEANNETTE A. VACCARO


                                                December 22,2016



      VIA FEDERAL EXPRESS

      Ms. Carly Petrovic
      Plan Administrator for
         Atmel Corporation's U.S. Severance Guarantee Benefit Program
      c/o Microchip Technology Corporation
      2355 West Chandler Blvd.
      Chandler, AZ 85224-6199

      Ms. Carly Petrovic
      Plan Administrator for
         Atmel Corporation's U.S. Severance Guarantee Benefit Program
      c/o Microchip Technology Corporation
      21015 SE Stark St.
      Gresham, OR 97030


               Re:     ERISA Demand For Administrative Record and Demand for Documents on
      In'lialf of Peter Schunuut. WiUiant Conlin, Robin Bennan, Ro Kane. KUashavar Mirfaklnaci,
      Tham; Van VII, Donna Viera-Castillo, Girish Ramesh, Patrick Ilanlev, liana Shterushnin and
      Mandv Schwarz

      Dear Plan Administrator:

             As you know, this office represents Peter Schuman, William Coplin, Robin Berman, Bo
      Kang, Khashayar Mirfakhraei, Thang Van Vu, Donna Viera-Castillo, Girish Ramesh, Patrick
      Hanley, liana Shtemshain and Mandy Schwarz (collectively referred to as our "Clients") in
      connection with their claims for severance benefits under ERISA.

             You have recently sent letters to our firm and to our Clients, in which you denied the
      claim of every one of our Clients. We are writing: 1) to demand that you immediately provide
      us with a complete copy of the administrative record on which you based your denial of our
      Clients' claims, and 2) to reiterate our Clients' prior demand for documents, i.e., the request for
      documents that was included in each of our Clients' original demand letters.




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 Plan Administrator for Atmel Coiporation's U.S. Severance Guarantee Benefit Program
 Re: ERISA Document Demands
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         Well over thirty days ago, each of our Clients submitted a demand letter in which he or
 she requested that, if the Plan Administrator was not going to pay the benefits demanded, that the
 Plan Administrator produce certain documents which were highly relevant to his or her claim for
 benefits. The Clients' letters were worded in virtually identical fashion with respect to the
 document demand and all of the Clients set forth the same 23 document categories (other than
 substituting the name of the specific individual Client where appropriate). As an example, I will
 quote from the most recent demand letter (dated October 5,2016), which was sent to the Plan
 Administrator by Mandy Schwarz:

        "[I]f Microchip will not pay Ms. Schwarz all of her Severance Plan benefits, we are
        writing to obtain copies of documents pursuant to Employee Retirement Income Security
        Act of 1974, §§ 3(16)(A), 502(c). For purposes of this document demand, the following
        definitions apply:

        a)     The term "Severance Plan" refers to the Atmel "U.S. Severance Guarantee
               Program" as set forth in a July 9, 2015 letter delivered to Atmel its employees,
               together with the July 9, 2015 "Addendum to U.S. Severance Guarantee Program
               Letter". An example of this July 9, 2015 letter and Addendum are attached as
               Exhibit A to the accompanying Declaration of Mandy Schwarz (Exhibit A-l to
               this demand letter).

        b)      The term "Atmel" refers to Atmel Corporation and to any of its any of its
               subsidiaries, parents, divisions or affiliates, and to any of Atmel's employees,
               officers, directors, representatives, agents, attorneys or others acting on behalf of
               Atmel.

        c)      The term "Microchip" refers to Microchip Technology Corporation and to any of
               its any of its subsidiaries, parents, divisions or affiliates, and to any of
               Microchip's employees, officers, directors, representatives, agents, attorneys or
               others acting on behalf of Microchip.

        d)     The term "Document" means and includes any type of written, recorded,
               electronic, graphic or photographic matter of any kind or character, however
               produced or reproduced. The term "Doculnellt,, includes any electronic
               communications such as "e-mails." When an "e-mail" is a responsive
               document, vou are requested to provide a hard-corn' printout of any such e-mail.

       e)      The terra "Communication" means the transmittal of information, whether orally
               or in writing, including electronic communications such as e-mail.




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
Re: ERISA Document Demands
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                             DOCUMENTS TO BE PROVIDED

      Please provide us with copies of:

             Documents governing the operation the Severance Plan for the years 2015 and
             2016.

             The annual report for the Severance Plan for the years 2015 and 2016.

             The summary plan description for the Severance Plan.
      A      The Severance Plan's annual Financial Report for the years 2015 and 2016.

             All documents related to the authorization of any person or committee to
             administer the Severance Plan for the years 2015 and 2016.

      6.     The Rules and Procedures established by the Plan Administrator for the years
             2015 and 2016.

      7.     A complete copy of the Severance Plan's claim file pertaining to Mandy Schwarz.

      8.     A complete copy of all other documentation (whether maintained in hard copy or
             computer medium) pertaining to or referring to Mandy Schwarz's severance
             benefit claim, whether or not it is deemed to be part of the "claim file".

             A copy of all internal rules, guidelines, protocols, or other similar criteria which
             were relied upon to make any decision related Mandy Schwarz's severance
             benefit benefits.

      10.    Each document which was submitted, considered, or generated in the course of
             making all decisions related to Mandy Schwarz's severance benefits, without
             regard to whether they were relied upon in the decision, including but not limited
             to the claim manual(s).           •

     11.     All documents which constitute a statement of policy or guidance with respect to
             claim determinations for severance benefit claimants.

      12.   All documents which reflect any legal opinions obtained related to the subject of
            whether Mandy Schwarz (or any other Atmel employee) is entitled to severance
            benefits under the Severance Plan.




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  Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
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        13.    All documents which demonstrate that the Severance Plan's processes and
               safeguards designed to ensure and to verify that severance benefit claims
               determinations are made in accordance with the terms of the Severance Plan, and
               that those terms have been applied consistently with respect to similarly situated
               claimants.

        14.    All communications between Atmel and Microchip created between July 1,2015
               and the present which discuss, relate or refer to the Severance Plan.

        15.    All communications between Atmel and Microchip created between July 1,2015
               and the present which discuss, relate or refer to any potential obligations or
               liabilities which Microchip may be required to assume or pay for in connection
               with a potential merger/acquisition between Atmel and Microchip. This includes,
               but is not limited to, any potential obligations or liabilities with respect to
               payments to employees who were (or might be) terminated following a
               merger/acquisition.

        16.    All communications between Atmel and Microchip created between July 1,2015
               and the present which discuss, relate or refer to the subject of any severance
               payments or severance benefits which Microchip might be required to assume or
               pay for in connection with a merger/acquisition between Atmel and Microchip.

        17.    All documents which were electronically placed by Atmel after January 1, 2015
               in a "data room" created for review or use in connection with any potential
               merger/acquisition involving Atmel, provided that they discuss, relate or refer to
               the subject of severance or the Severance Plan. This includes any documents
               placed in a data room by Atmel for possible consideration or review by
               Microchip, in connection with a potential merger/acquisition between Atmel and
               Microchip, which discuss, relate or refer to severance or the Severance Plan.

        18.   All documents which were provided by Atmel to Microchip, or which were
              shown by Atmel to Microchip, in connection with a potential merger/acquisition
              between Atmel and Microchip, provided that they discuss, relate or refer to the
              subject of severance or the Severance Plan.

       19.    All minutes of any Atmel Board of Director meetings between July 1,2015 and
              the present, to the extent that such minutes discuss, relate or refer to a potential
              merger/acquisition involving Atmel and Microchip, or to the subject of severance.

       20.    All minutes of any Microchip Board of Director meetings between July 1,2015
              and the present, to the extent that such minutes discuss, relate or refer to a
              potential merger/acquisition involving Atmel and Microchip, or any liabilities or




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                obligations that may arise from such a merger/acquisition, or to the subject of
                severance in connection with Atmel employees.

        21.    All documents created by Microchip (whether for internal use only or
               communicated or shown to any outside entities) which discuss, relate or refer to
               the subject of potential severance payments for Atmel employees which
               Microchip might be obligated to assume or pay for in connection with a merger
               between Atmel and Microchip. This includes, but is not limited to, any forecasts,
               estimates, analyses or summaries of how much in severance payments might
               potentially be due to Atmel employees who were (or might be) terminated
               following a merger.

        22.    All documents created by Atmel (whether for internal use only or communicated
               or shown to any outside entities) which discuss, relate or refer to the subject of
               potential severance payments for Atmel employees which Microchip might be
               obligated to assume or pay for in connection with a merger between Atmel and
               Microchip. This includes, but is not limited to, any forecasts, estimates, analyses
               or summaries of how much in severance payments might potentially be due to
               Atmel employees who were (or might be) terminated following a merger.

        23.    All documents created by Atmel in connection with the drafting or creation of the
               Severance Plan. This includes, but is not limited to, any documents which
               discuss, relate or refer to Atmel's intention or purpose in creating the language of
               the Severance Plan.

                Please provide us with the requested documents within 30 days of receipt of this
       letter. If any documents specified above are withheld, a list of each document being
       withheld together with a complete explanation of the basis upon which each document is
       being withheld." (Quoting October 5, 2016 letter of Mandy Schwarz to Plan
       Administrator).

        To the extent that the Plan Administrator responded at all to our Clients' demands for
documents, the Plan Administrator's written response was identical each time (other than
substituting the name of the Client and the date of that Client's demand letter). As an example,
the Plan Administrator responded to Ms. Schwarz' October 5,2016 demand for documents on
October 18, 2016, in relevant part as follows:

              "Your letter of October 5,2016, requests that, in the event that the Plan
              Administrator denies your client's claim for benefits, the Plan Administrator
              provides you with an extensive list of documents. As noted above, the Plan has
              yet to make a determination with respect to this claim. Nonetheless, we are
              providing you with the following Responsive Items:




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              (1)     A letter regarding "Severance Guarantee" dated July 9,2015;
              (2)     A second letter regarding "Severance Guarantee" dated July 9, 2015;
              (3)     A third letter regarding "Severance Guarantee" dated July 9, 2015;
              (4)     A letter entitled "ADDENDUM TO U.S. SEVERANCE GUARANTEE
                      PROGRAM LETTER" dated July 9, 2015;
              (5)     A second letter entitled "ADDENDUM TO U.S. SEVERANCE
                      GUARANTEE PROGRAM LETTER" dated July 9, 2015; and
              (6)     A presentation slide entitled "US Severance Guarantee Program
                      Summary".

              These documents are responsive to a request under ERISA Section 104(b). Please
              note that in response to your request for the "annual report for the Severance Plan
              for the years 2015 and 2016," that neither annual report is currently due.
              Additionally, in response to your request for the • Severance Plan's annual
              Financial Report for the years 2015 and 2016," the Severance Plan is not funded
              and as such, does not require financial reports.

              Should you require further information while the Plan Administrator reviews your
              client's claim for benefits, please let us know and we will diligently work to
              respond to your requests. However, we note that many of the document demands
              set forth in your letter are inappropriate in the context of an ERISA benefit claim.
              Furthermore, they are enormously broad and burdensome and raise issues related
              to interests associated with their production, accessibility, and relevance to your
              client's claim for benefits.

              For example, your request No. 19 seeks "[a]11 minutes of any Atmel Board of
              Director meetings between July 1, 2015 and the present, to the extent such
              minutes discuss, relate or refer to a potential merger/acquisition involving Atmel
              and Microchip" while your request No. 20 seeks "[a]ll minutes of any Microchip
              Board of Director meetings between July 1, 2015 and the present, to the extent
              that such minutes discuss, relate or refer to a potential merger/acquisition
              involving Atmel and Microchip." Providing you with all Atmel or Microchip
              board minutes containing any mention of a merger or acquisition involving
              Microchip and Atmel would require providing you with documents that are
              completely irrelevant to your client's claim for benefits and beyond the scope of
              what is required under ERISA. Thus, we construe your requests to demand only
              materials relevant to your client's claim for benefits under the Severance Plan.

              We believe that you will find that the documents we are providing fulfill your
              requests. The Plan Administrator will timely inform you of its determination of
              your client's initial claim for benefits under the Severance Plan. Please let me




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               know if I can provide any further information at this time." (Quoting October 18,
               2016 letter from Carly Petrovic to Mandy Schwarz).

        Unfortunately, the documents that the Plan Administrator provided in response to our
Clients' demand letters did not fulfill our requests. We also disagree with your contention that
the document demands were "inappropriate in the context of an ERISA benefit claim." The Plan
Administrator has access to all of the requested documents. The requested documents, including
but not limited to Board minutes and other documents which specifically discuss or refer to the
Severance Plan or to potential severance payments or obligations pursuant to the Severance Plan,
including communications between Atmel and Microchip concerning the Severance Plan or
potential severance payments or obligations in connection with a merger/acquisition or how the
Severance Plan should be interpreted, are highly relevant to our Clients' claims. As such, the
document demands are appropriate in an ERISA benefit claim, and it is an abuse of discretion if
the Plan Administrator did not seek to obtain and consider all of the requested documents. This
is especially true now based upon the recent denials that were issued. Indeed, one of the reasons
the Plan Administrator purportedly did not previously provide responsive documents was that the
claims had not yet been decided; that is obviously no longer the case.

       Accordingly, we not only demand a complete copy of the administrative record on which
the denial of our Clients' claims was based, but we also reiterate our Clients' prior document
demands as set forth in their original claim letters.

       Please do not hesitate to contact me if you have any questions.


                                            Very truly yours,

                                                        -



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cc;    Michael Rubin, Esq. (via email)
       Kim van Herk, Esq. (via email)
       Mark Kisicki, Esq. (via email)




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                                              LAW OFFICES OF

                             McGUINN, H1LLSMAN & PALEFSKY
JOHN A. MCGUINN
                                        A PROFESSIONAL CORPORATION
JOHN R. HILLSMAN

CLIFF PALEFSKY                              535 PACIFIC AVENUE
DEREK B. JACOBSON
                                      SAN FRANCISCO, CALIFORNIA 94133
KEITH A. EHRMAN
ABRAHAM FEINSTE1N-H1LLSMAN               TELEPHONE (415) 421-9292
SCOTT M. STILLMAN                                                                       FAX (4 1 5)403-0202
JEANNETTE A. VACCARO




                                                June 9, 2016


       VIA HAND DELIVERY (Afmei Cornoration)
       and FEDERAL EXPRESS fMicrochip Technology Cornoration)

       Plan Administrator for
          Atmel Corporation's U.S. Severance Guarantee Benefit Program
       c/o Atmel Corporation
       1600 Technology Drive
       San Jose, CA 95110

       Plan Administrator for
          Atmel Corporation's U.S. Severance Guarantee Benefit Program
       c/o Microchip Technology Corporation
       2355 West Chandler Blvd.
       Chandler, AZ 85224-6199

                 Re:   Robin Berman v. Atmel Corporation/Microchip Technology Incorporated

       Dear Plan Administrator:

             This office represents Robin Berman. On May 20, 2016, we served you with a letter
      demanding that Atmel Corporation ("Atmel") and/or Microchip Technology, Inc. ("Microchip")
      pay Ms. Berman the full severance benefits to which she is entitled pursuant to the Severance
      Plan which was provided to Ms. Berman and other Atmel employees in 2015. In our May 20,
      2016 letter, we provided you with explanations for why Ms. Berman was owed this severance,
      and also provided various declarations and documentary evidence in support of Ms. Berman's
      claim for benefits.

              Enclosed with this letter is yet another piece of supporting evidence which should be
      considered by you as part of Ms. Berman's claim for benefits. Specifically, we are attaching a
      Declaration of Peter Schuman, dated June 7, 2016. Mr. Schuman was the Senior Director of
      Investor Relations at Atmel. As set forth in Mr. Schuman's Declaration, senior finance
      executives of Microchip (including Microchip's Chief Financial Officer) held two meetings with
      Atmel's Finance Department employees at Atmel's headquarters on February 29, 2016 to discuss
      the upcoming acquisition. During these meetings, Microchip's Chief Financial Officer
      specifically assured the Atmel employees that Microchip would honor the severance agreements
      which the Atmel employees had received, in the event that those employees were terminated
      following a Microchip acquisition.




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Plan Administrator for Atmel Corporation's
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Re: Robin Berman v. Atmel Corporation/Microchip Technology Inc.
June 9, 2016
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       We are also enclosing a formal "Confirmation of Attorney Representation" signed by Ms.
Berman, in which Ms. Berman has confirmed in writing that the law firms of McGuinn,
Hillsman & Palefsky and Altshuler Berzon LLP are authorized to represent her in connection
with her claims against Atmel/Microchip, and that those law firms are further authorized to
obtain documents on her behalf.

       Finally, we have had no response from you regarding the demand for documents which
we made in our May 20, 2016 letter pursuant to ERISA. Thus, we again demand that you
provide us with copies of the requested documents on or before June 22, 2016.

       If you wish to discuss any of these matters, feel free to call Cliff Palefsky or me.


                                              Very truly yours.
                                                i
                                                I

                                              Keith Ehrman

Enclosures

cc: Michael Rubin, Esq. (via e-mail w/Enclosures)
    Kim Van Herk, Esq. (via e-mail w/Enclosures)




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                                           DECLARATION OF PETER SCHUMAN




         I, Peter Schuman, declare as foiiows:

         In 2015, I was employed by Atmel Corp, ("Atmel") as a Senior Director of Investor Relations, In
July 2015, 1 and other Atmel employees received a letter setting forth Atmel's "U.S. Severance
Guarantee Benefit Program", along with an Addendum to the letter providing additional details about
the severance program (hereafter collectively "Severance Plan"). A copy of the Severance Plan I
received in July 2015 is attached as Exhibit A. The Severance Plan provided for certain severance
benefits if Atmel was acquired and I was subsequently terminated.

         In September 2015,1 learned that Atmel had entered into an agreement with a company called
Dialog Semiconductor ("Dialog") pursuant to which Dialog would acquire Atmel, In December 2015, I
heard that Dialog might not be the buyer and that another potential purchaser had emerged. In January
2016, I learned that Microchip Technology, Inc, ("Microchip") was the new potential buyer and that
Microchip had made a purchase offer superior to Dialog's, On approximately January 14, 2016,1
received a letter from Suzanne Zoumaras, Atmel's Senior Vice President of Global Human Resources. A
copy of the January 14, 2015 letter I received from Ms. Zoumaras is attached as Exhibit B. In that letter,
Ms. Zoumaras stated that I would be eligible for the severance benefits provided in the July 2015
Severance Plan if I were to be involuntarily terminated following a change in control, regardless of
whether the acquisition of Atmel was done by Dialog or Microchip. The January 14, 2016 letter also
emphasized that the Severance Plan continued to remain in place.

         After Dialog failed to increase its purchase offer, I learned in the last half of January 2016 that
Microchip had entered into an agreement with Atmel pursuant to which Microchip would acquire
Atmel,

         On the morning of February 29, 2016, three senior members of Microchip's finance team visited
Atmel's corporate headquarters in San Jose, California, in order to discuss the upcoming
acquisition/merger between Atmel and Microchip. These three Microchip individuals were Eric
Bjornholt (Microchip's Chief Financial Officer), Nawaz Sharif (Microchip's Vice President of European
Finance) and Phil Kegel (Microchip's Director of Finance). At approximately 10:30 a.m., these three
Microchip executives met with the senior members of Atmel's Finance team (Director level and above)
in the "training room", which was the large meeting room on the ground floor of Atmel's headquarters.
There were approximately 12 to 15 Atmel employees at this meeting, including me. During this
meeting, which included a question and answer session regarding the upcoming merger between Atmel
and Microchip, one of the Atmel employees asked for confirmation that Microchip would be honoring
the severance agreements and programs which the Atmel employees had received the previous year. In
response, Mr. Bjornholt assured the Atmel employees that, if Microchip acquired Atmel and then
terminated Atmel employees, that Microchip would honor the severance agreements which the Atmel
employees had received.




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        Later on that same morning of February 23, 2016, Mr. Bjornholt, Mr, Sharif and Mr. Kagel held
                                                                                                      a
second meeting with a larger group of Atmel finance employees in the same "training room" at
                                                                                               Atmel's
headquarters in San Jose. This meeting was attended by all (or almost all) members of the San
                                                                                              Jose
Atmel finance team, including me. There were approximately 40 to 60 Atmel employees in attendance
at this meeting. During this second meeting, which again focused on the upcoming merger between
Microchip and Atmel, Mr. Bjornholt again reiterated to the Atmel employees that Microchip would
honor the Atmel severance agreements and programs that the Atmel employees had received,
                                                                                            if
Microchip terminated Atmel employees following the acquisition by Microchip.




       I declare under penalty of perjury that the foregoing is true and correct and that this declaration

was executed on June _7   , 2016 at      Burlingame, California




                                                  Peter Schuman




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                                               STRICTLY PERSONAL AND CONFIDENTIAL


July 9, 2015

 Peter Schuman
 Re: Severance Guarantee


 Dear Peter,


 Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize that
recently there has been significant market speculation regarding possible transactions involving the company and
understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
Benefit program that is intended to ease concerns among our employees. Under this program, you will have the
opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include:


     •       Cash Severance: 50% of base salary (based on your base rate of pay in effect on the date the Change of Control
             transaction closes); and
     •       Target Incentive: A prorated annual MIP or SIP, whichever you are eligible for at the time of termination; the
             proration will be based a determination of your MIP or SIP at the time of termination, as determined by the
             Company; and
     •       COBRA Benefits: Six (6) months' of COBRA benefits paid for by the Company

All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
Company (or its successor) if a transaction occurs (the "Release").


Nothing in this letter is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.


Peter, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.


Sincerely,



Suzanne Zoumaras
Senior Vice President, Global Human Resources


Attachment




Stephen Skaggs
Stephen Skaggs




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                                                     ADDENDUM TO
                                   U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                        July 9, 2015



Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
July 1, 2015 and will terminate on November 1, 2015 unless an Initial Triggering Event (as described below) has
occurred prior to November 1, 2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
effect for 18 (eighteen) months following that Initial Triggering Event.


Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
consummated.


Initial Triggering Event: Benefits under the U.S. Severance Guarantee Benefit Program will become available to
eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
November 1, 2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
will automatically expire, unless expressly extended by the Company's Board of Directors.


Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
benefits if, but only if:


      A.     A Change of Control actually occurs; and
      B.     Their employment is terminated without "Cause" by the Company (or its successor) at any time within 18
             months of the execution date of the Definitive Agreement.


     For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
     Plan.


Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9, 2015.


Terminations Not Subject to Program: If your employment is terminated at any time before or after an Initial
Triggering Event has occurred as a result of your voluntary resignation, death, disability or termination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid prior to the date the Release is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.


Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits or the Severance Guarantee Benefits, but
not both (and without duplication).




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Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
Interpreted accordingly.


Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
under the Program, the term "Company" will include any successor to the Company's business and/or assets which
becomes bound by the terms of the Program by operation of taw, or otherwise. The Company will withhold from any
severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
the Program shall not be subject to review unless found to be arbitrary and capricious or (11) does affect the benefits
payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced in accordance with the internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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                                             STRICTLY PERSONAL AND CONFIDENTIAL

 January 14, 2016

 Peter Schuman

 Dear Peter,


 We recognize that there continues to be significant speculation regarding the acquisition of the company and understand
 that this can be distracting and unsettling. As a result, we believe it is important to remind you of the benefits for which
 you may be eligible in the event that your employment is involuntarily terminated without Cause in connection with a
 Change of Control of the company, including an acquisition by Dialog or Microchip.

In July 2015, we provided you a letter (the "July Severance Benefits Letter") describing the U.S. Severance Guarantee
Benefits for which you are eligible. This U.S. Severance Guarantee Program continues to remain in place. In addition, in
September 2015, we informed you that the company's Compensation Committee approved acceleration of unvested non­
performance restricted stock units ("RSUs") for our U.S. based Director-level employees under certain conditions. Under
that program you will be eligible for 100% acceleration of your unvested RSUs if there is a Change of Control and your
employment is involuntarily terminated without Cause during the period beginning three (3) months prior to the Change of
Control and ending twelve (12) months following the Change of Control.

The benefits under the (j.S. Severance Guarantee Program and the U.S Director-level equity acceleration programs are
subject to the terms and conditions of each as approved by the company's Compensation Committee. To receive these
benefits you will be required to sign a form of separation and release agreement reasonably acceptable to the company (or
its successor). Capitalized terms that are not defined in this letter shall have the meanings set forth In the July Severance
Benefits Letter

Nothing in this letter or the July Severance Benefits Letter is intended to, or shall, contradict, modify or alter the terms of
your at-will employment, other than the provision by the company (or its successor) of the benefits provided by this letter
and the July Severance Benefits Letter. You shall remain an at-will employee for all purposes, meaning that you or the
company (or its successor) may terminate your employment at any time for any reason or for no reason, with or without
Cause, and with or without notice.

Peter, we hope these benefits provide reassurance and reflect our appreciation for your contributions to Atmel. And, thank
you for your continued focus during these unusual times.


Sincerely,
   „           , <_,
        ^ ('! yt-'-r,wn-}
Suzarfne Zoumarai^
Senior Vice President, Global Human Resources




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                    Confirmationof
                    Confirmation of Attorney
                                     Attorney
                         Representation
                         Representation




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                        CONFIRMATION OF ATTORNEY REPRESENTATION

        I, Robin Berman, hereby confirm that the law firms of McGuinn, Hillsman & Palefsky and


Altshuler Berzon LLP are authorized to represent me in connection with my claim for benefits against


Atmel Corporation/Microchip Technology, Inc. I also hereby confirm that McGuinn, Hillsman & Palefsky


and Altshuler Berzon LLP are authorized to obtain documents on my behalf, including obtaining


documents from Atmel Corporation/Microchip Technology, Inc. I also request that future


correspondence and communications concerning my claim for benefits be directed by Atmel


Corporation/Microchip Technology, Inc. to the law firms of McGuinn, Hillsman & Palefsky and Altshuler


Berzon LLP.




                                                 fS '           S ww'
Dated: June 8, 2016



                                               Robin Berman




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                                                     LAW OFFICES       OF

      J O H N A. MCGUINN
                                   MCGUINN, HILLSMAN P
                                                     &A L E F S K Y
      J O H N R. HILLSMAN                       A PROFESSIONAL CORPORATION
      CLIFF PALEFSKY                                535    PACIFIC AVENUE
      DEREK B. JACOBSON
      KEITH A. EHRMAN                      SAN FRANCISCO, CALIFORNIA 94133
      ABRAHAM FEINSTEIN-HILLSMAN                TELEPHONE      (415)        421-9292
      SCOTT M. STILLMAN                                                                               FAX(415)403-0202
      JEANNETTE     A. VACCARO



                                                          May 20, 2016



              Plan Administrator for
                 Atmel Corporation's     U.S.    Severance       Guarantee             Benefit      Program
              c/o Atmel Corporation
              1600 Technology Drive
              San Jose, CA95110

              Plan Administrator for
                 Atmel Corporation's  U.S. Severance              Guarantee             Benefit     Program
              c/o Microchip Technology    Corporation
              2355 West Chandler Blvd.
              Chandler, AZ 85224-6199

              VIA HAND DELIVERY    (Atmel   Corporation)
              and FEDERAL EXPRESSfMicrochip Technology Corporation)

                     Re:     Robin Berman v.
                                          Atmel Corporation/Microchip                  Technology     Incorporated

              Dear Plan Administrator:

                      This office represents Robin Berman. On July 9, 2015, Atmel Coiporation  ("Atmel")
              delivered to Ms. Berman  and other employees a         letter setting    Severance
                                                                                       forth its     Guarantee
                                                                                                        "U.S.
              Benefit Program," along with         an      Addendum         to      the details
                                                                                              letter
                                                                                                  (hereafter
                                                                                                        providing               additio
              collectively "Severance     Plan").
                                              Examples of these July 9,         2015    documents            are         attached
              of Exhibits A-lthrough A-5 (Declarations of        Robin       Berman,
                                                                              Kang, ThongBo Van Vu,  Donna
              Viera-Castillo and Khashayar        Mirfakhraei).
                                                         The Severance Plan constitutes         an        ERISA          plan
              created by Atmel for the benefit of its employees.         .

                      The terms of the Severance     Plan     were       clearly
                                                                              if an "Initial
                                                                                     spelled Triggering
                                                                                                     out: Event"
              occurred prior to November         1, 2015,      Plan
                                                               the wouldSeverance
                                                                             remainin effect for 18 months
          .   following that triggering   event.
                                            An Initial Triggering Event        occurred      if     Atmel        entered     into
              definitive agreement (before     November "that 1, will result
                                                                        2015) in a        Change      of     Control     of   the
              Company." If a change of control of Atmel             occurred
                                                                     an employee and wasterminated without
              "cause" within 18      months   of      the   Initial     Triggering           Event,       the           employee
              benefits under the Severance Plan.




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Plan Administrator for Atmel Coiporation's U.S. Severance Guarantee Benefit Program
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        On September 19, 2015, an Initial Triggering Event occurred when Atmel entered into a
definitive agreement with Dialog Semiconductor PLC ("Dialog"), pursuant to which Dialog
would acquire Atmel for stock and cash worth approximately $4.6 billion. Not only did Dialog
and Atmel enter into a formal "Agreement and Plan of Merger" ("Merger Agreement"), but the
Merger Agreement was announced publicly in press releases; the Merger Agreement was the
subject of a Form 8-K filing with the Securities and Exchange Commission in September 2015;
and the Merger Agreement was the subject of a Form 425 filing with the SEC in September
2015. Excerpts from these documents are attached hereto as Exhibits B, C and D. The Merger
Agreement with Dialog constituted a "definitive agreement that will result in a change of control
of [Atmel]" within the meaning of the Severance Plan. Therefore, an Initial Triggering Event
within the meaning of the Severance Plan occurred prior to November 1, 2015, thereby
extending the Severance Plan for 18 months.

        Several months after Atmel entered into its Merger Agreement with Dialog (but before
the transaction had closed), Microchip Technology Corporation ("Microchip") approached
Atmel and made a more lucrative purchase offer. When Dialog declined to increase its offer,
Atmel 'elected to back out of its Merger Agreement with Dialog. Atmel then entered into a new
merger agreement with Microchip on January 19, 2016, pursuant to which Microchip would
purchase Atmel. See, Exhibit E.

        Beginning in approximately January 2016, the Atmel employees were repeatedly
informed by Atmel management—both orally and in writing—that their entitlement to severance
benefits under the Severance Plan remained intact and was unaffected by the fact that Microchip
might be replacing Dialog as the acquiring company. See Exhibits A-l through A-5. For
example, in a January 14, 2016 letter to numerous Atmel employees, Atmel senior management
stated:

              "We recognize that there continues to be significant speculation
              regarding the acquisition of the company and understand that this
              can be distracting and unsettling. As a result, we believe it is
              important to remind you of the benefits for which you may be
              eligible in the event that your employment is involuntarily
              terminated without Cause in connection with a Change of Control
              of the company, including an acquisition by Dialog or Microchip.
              In July 2015, we provided you a letter (the "July Severance
              Benefits Letter") describing the U.S. Severance Guarantee Benefits
              for which you are eligible. The U.S. Severance Guarantee
              Program continues to be in place....To receive these benefits you
              will be required to sign a form of separation and release
              agreement...Nothing in this letter or the July Severance Benefits
              Letter is intended to.. .modify.. .the terms of your at-will




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
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              employment, other than the provision by the company (or its
              successor) of the benefits provided by this letter and the July
              Severance Benefits Letter."

An example of this January 14, 2016 letter is attached hereto as Exhibit F. See also Exhibit A-4
(Declaration of Viera-Castillo).                       .

        Atmel employees were also informed that Microchip was aware of the Severance Plan
and its obligation under the Severance Plan to pay the benefits provided therein in the event
Atmel employees were tenninated following an acquisition by Microchip. See Exhibit A-l
(Declaration of Berman). For example, on approximately February 3, 2016, Atmel management
published for its employees a "Frequently Asked Questions" memorandum regarding the
Microchip transaction. That FAQ began with the question, "What happens to my employment
and compensatory arrangements with Atmel after the closing?" The FAQ that answers that
question stated: "Microchip has agreed to honor each of your employment and compensatory
contracts (including retention awards and employment, employment continuation, severance,
incentive and change in control agreements) with Atmel, or its subsidiaries, that are in effect
prior to the closing of the transaction." See Exhibit G attached hereto. Microchip not only
reviewed the FAQs before they were made available to Atmel employees; but Microchip
participated in drafting the language of the FAQs. See Exhibit A-l (Declaration of Berman).
Similarly, the Proxy Statement filed with the SEC in February 2016, which contained the Merger
Agreement between Atmel and Microchip, specifically stated: "Microchip has agreed, as of the
Effective Time, to honor and perform all employment or compensatory contracts between Atmel
or any of its subsidiaries, on the one hand, and any Atmel employees, on the other (including all
retention awards and employment, employment compensation, severance, incentive, change in
control and termination contracts disclosed to Microchip and the assumed Atmel equity
awards)." See Exhibit H attached hereto. In sum, the Atmel employees were assured both orally
and in writing that they would receive the benefits of the Severance Plan in connection with the
Microchip acquisition, and that Microchip understood that the Atmel employees were entitled to,
and were expecting to receive, these benefits.

        As intended by Atmel senior management, the Atmel employees relied on these repeated
assurances and remained at Atmel from July 2015 thiough the Microchip acquisition in April
2016. See Exhibit A-l through A-5. If these assurances had not been given to Atmel employees,
those employees would have looked for other jobs and left Atmel long before Microchip's
acquisition of Atmel. Id.

        In the months prior to the April 4,2016 merger closing, as the negotiations between
Atmel and Microchip continued, and as Atmel discussed with and communicated to Microchip
the various severance obligations that would be owed to Atmel employees if Microchip
terminated their employment following a merger, and as Atmel provided relevant company




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
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documents to Microchip showing Microchip's potential obligations and liabilities, Microchip
was fully aware of the potential severance payments which would be due to Atmel employees
following an acquisition by Microchip. Microchip was also aware that Atmel—as the drafter
and creator of the Severance Plan—believed that the Severance Plan was intact and that
Microchip was legally obligated to pay Atmel employees the severance benefits set forth in the
Severance Plan if Microchip terminated Atmel employees following a Microchip acquisition.
Microchip was also aware that Atmel had communicated this position to Atmel employees.

        On April 4, 2016, Microchip's acquisition of Atmel closed and Atmel became a wholly
owned subsidiary of Microchip. This merger transaction constituted a "change of control"
within the meaning of the Severance Plan. On April 6, 2016, Ms. Berman's employment was
involuntarily terminated without "cause." See Exhibit A-l. Since all three conditions under the
Atmel Severance Plan had now occurred—the Initial Triggering Event prior to November 1,
2015; a change of control; and a termination without cause—Ms. Berman is entitled to the
benefits provided by the Severance Plan. Thus, Ms. Berman is entitled to 40% of her base
salary, a prorated portion of 100% of her annual incentive bonus, and four months of paid
COBRA benefits.

       However, on April 6,2016, Ms. Berman and other Atmel employees received a letter
from Microchip which indicated that Microchip would only pay either 5 or 6 weeks of salary as
severance. See, Exhibits A-l through A-5. On April 11, 2016, Ms. Berman and other Atmel
employees were sent another letter from Microchip which indicated that Microchip would only
pay her 50% of the severance benefits due to her under the Severance Plan. See Exhibits A-l
through A-5.

        Prior to Microchip sending this April 11, 2016, letter to Ms. Berman and other Atmel
employees, Microchip's Chief Executive Officer gave an interview to an electronics industry
publication in which he acknowledged that Microchip was aware that Atmel had represented in
writing to its employees in January 2016 that the Atmel employees would be eligible for the
severance benefits contained in the Severance Plan in connection with an acquisition by
Microchip, and that the Severance Plan remained in place, and that this had been confirmed
again to the Atmel employees in the February 2016 FAQ's regarding the potential Microchip
transaction. See Exhibit I. Thus, despite knowing prior to April 11, 2016 that these
representations and assurances had been made by Atmel to its employees, Microchip
nevertheless tried to force Ms. Berman and other employees to accept only 50% of the severance
benefits due to them under the Severance Plan.

        By this letter, we are demanding that Microchip honor its obligations and pay Ms.
Berman 100% of the severance benefits due to her under the Severance Plan, i.e., 40% of her
base salary, a pro-rated portion of 100% of her annual incentive bonus, and four months of paid
COBRA benefits. As contemplated by the Severance Plan, Ms. Berman is prepared to sign an




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
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appropriate separation and release agreement upon confirmation that Microchip intends to pay
Ms. Berman htvfull severance benefits.

        In light of Microchip's April 11, 2016 communication, we demand that Microchip inform
us in writing no later than 5:00 p.m. on Monday June 6. 2016 whether or not Microchip will pay
Ms. Berman all of her Severance Plan benefits. If Microchip's stated position in response to this
demand is that Microchip will not pay Ms. Berma:n all of her Severance Plan benefits, Microchip
must provide us with an explanation for its position and any documents supporting this position.

        Furthermore, if Microchip will not pay Ms. Berman all of her Severance Plan benefits,
we are writing to obtain copies of documents pursuant to Employee Retirement Income Security
Act of 1974, §§ 3(16)(A), 502(c). For purposes of this document demand, the following
definitions apply:

       a)     The term "Severance Plan" refers to the Atmel "U.S. Severance Guarantee
              Program" as set forth in a July 9, 2015 letter delivered to Atmel its employees,
              together with the July 9, 2015 "Addendum to U.S. Severance Guarantee Program
              Letter". An example of this July 9, 2015 letter and Addendum are attached as
              Exhibit A to the accompanying Declaration of Robin Bennan (Exhibit A-l to this
              demand letter).           .

       b)      The term "Atmel" refers to Atmel Coiporation and to any of its any of its
              subsidiaries, parents, divisions or affiliates, and to any of Atmel's employees,
              officers, directors, representatives, agents, attorneys or others acting on behalf of
              Atmel.

       c)      The term "Microchip" refers to Microchip Technology Corporation and to any of
              its any of its subsidiaries, parents, divisions or affiliates, and to any of
              Microchip's employees, officers, directors, representatives, agents, attorneys or
              others acting on behalf of Microchip.

       d)     The term "Document" means and includes any type of written, recorded,
              electronic, graphic or photographic matter of any kind or character, however
              produced or reproduced. The term "Document" includes any electronic
              communications such as "e-mails." When an "e-mail" is a responsive
              document, vou are requested to provide a hard-copy printout of any such e-mail.

       e)     The term "Communication" means the transmittal of information, whether orally
              or in writing, including electronic communications such as e-mail.




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
Re: Robin Berman v. Atmel Corporation/Microchip Technology Inc.
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                            DOCUMENTS TO BE PROVIDED

      Please provide us with copies of:

             Documents governing the operation the Severance Plan for the years 2015 and
             2016.

             The annual report for the Severance Plan for the years 2015 and 2016.

             The summary plan description for the Severance Plan.

      4      The Severance Plan's annual Financial Report for the years 2015 and 2016.

             All documents related to the authorization of any person or committee to
             administer the Severance Plan for the years 2015 and 2016.

      6.     The Rules and Procedures established by the Plan Administrator for the years
             2015 and 2016.

             A complete copy of the Severance Plan's claim file pertaining to Robin Berman.

       g     A complete copy of all other documentation (whether maintained in hard copy or
             computer medium) pertaining to or referring to Robin Berman's severance benefit
             claim, whether or not it is deemed to be part of the "claim file".

             A copy of all internal rules, guidelines, protocols, or other similar criteria which
             were relied upon to make any decision related Robin Berman's severance benefit
             benefits.

      10.    Bach document which was submitted, considered, or generated in the course of
             making all decisions related to Robin Berman's severance benefits, without
             regard to whether they were relied upon in the decision, including but not limited
             to the claim manual(s).

       11.   All documents which constitute a statement of policy or guidance with respect to
             claim determinations for severance benefit claimants.

      12.    All documents which reflect any legal opinions obtained related to the subject of
             whether Robin Berman (or any other Atmel employee) is entitled to severance
             benefits under the Severance Plan.




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
Re: Robin Berman v. Atmel Corporation/Microchip Technology Inc.
May 20, 2016
Page 7




       13.   All documents which demonstrate that the Severance Plan's processes and
             safeguards designed to ensure and to verify that severance benefit claims
             determinations are made in accordance with the terms of the Severance Plan, and
             that those terms have been applied consistently with respect to similarly situated
             claimants.

      14.    All communications between Atmel and Microchip created between July 1, 2015
             and the present which discuss, relate or refer to the Severance Plan.

      15.     All communications between Atmel and Microchip created between July 1,2015
              and the present which discuss, relate or refer to any potential obligations or
              liabilities which Microchip may be required to assume or pay for in connection
              with a potential merger/acquisition between Atmel and Microchip. This includes,
              but is not limited to, any potential obligations or liabilities with respect to
              payments to employees who were (or might be) terminated following a
              merger/acquisition.

       16.   All communications between Atmel and Microchip created between July 1,2015
             and the present which discuss, relate or refer to the subject of any severance
             payments or severance benefits which Microchip might be required to assume or
             pay for in connection with a merger/acquisition between Atmel and Microchip.

      17.     All documents which were electronically placed by Atmel after January 1, 2015
              in a "data room" created for review or use in connection with any potential
              merger/acquisition involving Atmel, provided that they discuss, relate or refer to
              the subject of severance or the Severance Plan. This includes any documents
              placed in a data room by Atmel for possible consideration or review by
              Microchip, in connection with a potential merger/acquisition between Atmel and
              Microchip, which discuss, relate or refer to severance or the Severance Plan.

      18.     All documents which were provided by Atmel to Microchip, or which were
              shown by Atmel to Microchip, in connection with a potential merger/acquisition
              between Atmel and Microchip, provided that they discuss, relate or refer to the
              subject of severance or the Severance Plan.

      19.    All minutes of any Atmel Board of Director meetings between July 1, 2015 and
             the present, to the extent that such minutes discuss, relate or refer to Microchip; or
             to a potential merger/acquisition involving Atmel and Microchip; or to the subject
             of severance.                                                                  '




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Plan Administrator for Atmel Corporation's U.S. Severance Guarantee Benefit Program
Re: Robin Berman v. Atmel Corporation/Microchip Technology Inc.
May 20, 2016 .
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       20.    All minutes of any Microchip Board of Director meetings between July 1,2015
              and the present, to the extent that such minutes discuss, relate or refer to Atmel; or
              to a potential merger/acquisition involving Atmel and Microchip; or to the subject
              of severance in connection with Atmel employees.

       21.    All documents created by Microchip (whether for internal use only or
              communicated or shown to any outside entities) which discuss, relate or refer to
              the subject of potential severance payments for Atmel employees which
              Microchip might be obligated to assume or pay for in connection with a merger
              between Atmel and Microchip. This includes, but is not limited to, any forecasts,
              estimates, analyses or summaries of how much in severance payments might
              potentially be due to Atmel employees who were (or might be) terminated
              following a merger.

       22.     All documents created by Atmel (whether for internal use only or communicated
               or shown to any outside entities) which discuss, relate or refer to the subject of
               potential severance payments for Atmel employees which Microchip might be
               obligated to assume or pay for in connection with a merger between Atmel and
               Microchip. This includes, but is not limited to, any forecasts, estimates, analyses
               or summaries of how much in severance payments might potentially be due to
             • Atmel employees who were (or might be) terminated following a merger.

       23.    All documents created by Atmel in connection with the drafting or creation of the
              Severance Plan. This includes, but is not limited to, any documents which         .
              discuss, relate or refer to Atmel's intention or purpose in creating the language of
              the Severance Plan.


       If any documents specified above are withheld, a list of each document being withheld
together with a complete explanation of the basis upon which each document is being withheld.

                                             Very truly y0%rs,


                                                  <1,
                                             Cliff Palefs


Enclosures

cc: Michael Rubin, Esq. (w/Enclosures)'




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                               MICROCHIP
                                                                 Writer's Direct Line: (503) 669-5544
                                                            Writer's Direct Facsimile: (503) 669-6055




                                    August 15, 2016

This document contains important information that you should retain for your
records.

Dear Ms. Berman:

This letter is in reference to your claim for benefits under the Atmel U.S. Severance
Guarantee Benefit Program.

Given the integration of the two companies, the Plan Administrator is in the process of
obtaining all appropriate documentation relating to your claim and has determined that
circumstances require an extension of time to process your claim.

Please note that if your claim for benefits is wholly or partially denied, the Plan
Administrator will notify you no later than 180 days after we received your written claim.

If you have any questions, please contact the Plan Administrator at 21015 SE Stark St.,
Gresham, OR 97030 or carly.petrovic@microchip.com.




                                         Sincerely,




                                         Carly Petrovic
                                         Plan Administrator




                                 Microchip Technology
                        21015 SE Stark St. • Gresham, Oregon 97030
                         Phone (503) 669-5500 • Fax (503) 669-6160




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                                               LAW OFFICES OF

J O H N A. McGUINN
                             M C . G U I N N , H I L L S M A N 8c P A L E F S K Y
J O H N R. HILLSMAN
                                         A PROFESSIONAL CORPORATION
CLIFF PALEFSKY                               535 PACIFIC AVENUE
DEREK B. JACOBSON
KEITH A. EHRMAN
                                      SAN FRANCISCO, CALIFORNIA 94133
ABRAHAM FEINSTEIN-HILLSMAN                TELEPHONE (415) 421-9292
SCOTT M. STILLMAN                                                                       FAX (415)403-0202
JEANNETTE A . VACCARO



                                                 .111116   9,2016


      VIA HAND DELIVERY (Atmel Corporation)
      and FEDERAL EXPRESS (Microchip Technology Corporation')

      Plan Administrator for
         Atmel Corporation's U.S. Severance Guarantee Benefit Program
      c/o Atmel Corporation
      1600 Technology Drive
      San Jose, CA 95110

      Plan Administrator for
         Atmel Corporation's U.S. Severance Guarantee Benefit Program
      c/o Microchip Technology Corporation
      2355 West Chandler Blvd.
      Chandler, AZ 85224-6199

              Re:     Robin Berman v. Atmel Corporation/Microchip Technology Incorporated

      Dear Plan Administrator:

             This office represents Robin Berman. On May 20, 2016, we served you with a letter
      demanding that Atmel Corporation ("Atmel") and/or Microchip Technology, Inc. ("Microchip")
      pay Ms. Berman the full severance benefits to which she is entitled pursuant to the Severance
      Plan which was provided to Ms. Berman and other Atmel employees in 2015. In our May 20,
      2016 letter, we provided you with explanations for why Ms. Berman was owed this severance,
      and also provided various declarations and documentary evidence in support of Ms. Berman's
      claim for benefits.

              Enclosed with this letter is yet another piece of supporting evidence which should be
      considered by you as part of Ms. Berman's claim for benefits. Specifically, we are attaching a
      Declaration of Peter Schuman, dated June 7, 2016. Mr. Schuman was the Senior Director of
      Investor Relations at Atmel. As set forth in Mr. Schuman's Declaration, senior finance
      executives of Microchip (including Microchip's Chief Financial Officer) held two meetings with
      Atmel's Finance Department employees at Atmel's headquarters on February 29, 2016 to discuss
      the upcoming acquisition. During these meetings, Microchip's Chief Financial Officer
      specifically assured the Atmel employees that Microchip would honor the severance agreements
      which the Atmel employees had received, in the event that those employees were terminated
      following a Microchip acquisition.




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Plan Administrator for Atmel Corporation's
   U.S. Severance Guarantee Benefit Program
Re: Robin Berman v. Atmel Corporation/Microchip Technology Inc.
June 9, 2016
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       We are also enclosing a formal "Confirmation of Attorney Representation" signed by Ms.
Berman, in which Ms. Berman has confirmed in writing that the law firms of McGuinn,
Hillsman & Palefsky and Altshuler Berzon LLP are authorized to represent her in connection
with her claims against Atmel/Microcliip, and that those law firms are further authorized to
obtain documents on her behalf.

       Finally, we have had no response from you regarding the demand for documents which
we made in our May 20, 2016 letter pursuant to ERISA. Thus, we again demand that you
provide us with copies of the requested documents on or before June 22,2016.

       If you wish to discuss any of these matters, feel free to call Cliff Palefsky or me.


                                              Very truly yours,




                                              Keith Ehrman

Enclosures

cc: Michael Rubin, Esq. (via e-mail w/Enclosures)
    Kim Van Herk, Esq. (via e-mail w/Enclosures)




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                        CONFIRMATION OF ATTORNEY REPRESENTATION

        I, Robin Berman, hereby confirm that the law firms of McGuinn, Hillsman & Palefsky and


Altshuler Berzon LLP are authorized to represent me in connection with my claim for benefits against


Atmel Corporation/Microchip Technology, Inc.   I also hereby confirm that McGuinn, Hillsman & Palefsky


and Altshuler Berzon LLP are authorized to obtain documents on my behalf, including obtaining


documents from Atmel Corporation/Microchip Technology, Inc. I also request that future


correspondence and communications concerning my claim for benefits be directed by Atmel


Corporation/Microchip Technology, Inc. to the law firms of McGuinn, Hillsman & Palefsky and Altshuler


Berzon LLP.




                                                                  —>vfw'
Dated: June 8, 2016



                                               Robin Berman




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                         DECLARATION OF ROBIN BERMAN




         I, Robin Berman, declare as follows:

          In 2015,1 was employed by Atmel as a Creative Director. In July 2015,1 and other Atmel
 employees received a letter setting forth Atmel's "U.S. Severance Guarantee Benefit Program", along
 with an Addendum to the letter providing additional details about the severance program (hereafter
 collectively "Severance Plan"). A copy of the Severance Plan documents that I received in July 2015 is
 attached hereto as Exhibit A. The Severance Plan provided for certain severance benefits if Atmel was
 acquired and i was subsequently terminated.

        In September 2015,1 learned that Atmel had entered into an agreement with a company called
Dialog Semiconductor pursuant to which Dialog would acquire Atmel. In December 2015,1 heard that
another company had made an offer to purchase Atmel and that a decision would be made in January.
The rumor among employees was that the new company was Microchip. I and many other employees
thought this would be bad for Atmel and for the future of many Atmel employees.

        In mid-January 2016,1 learned that Microchip had made a superior offer to that of Dialog. My
superior, Sander Arts (the Vice President of Corporate Marketing), assured me and other employees
that we should not look elsewhere for a job outside of Atmel, since the Severance Plan was in place and
so we had financial protection in the event that Microchip terminated us.

       On approximately January 20, 2016, Steve Laub (the Chief Executive Officer of Atmel) held an
informal all hands meeting. During this meeting, Laub discussed the Microchip offer, and indicated to
the employees that the Severance Plan was still in place.

         In February 2016,1 discussed with Sander Arts the fact that I and others had not started looking
for new jobs in light of the Severance Plan. Arts again assured me that the Severance Plan was intact
and so I would have financial protection for many months if Microchip terminated me. I had an almost
identical discussion with Arts again in March 2016.

        On approximately April 6, 2016,1 and many other Atmel employees received a letter informing
us that we were being terminated effective immediately. These letters indicated that Microchip would
only pay 5 weeks of salary as severance. A copy of the April 6,2016 termination letter I received is
attached hereto as Exhibit B. As I was being escorted out of the lobby on April 6th, I had a discussion
with Ravi Bali (a Manager of Human Resources). Bali made it clear that he was shocked that Microchip
was not honoring the Severance Plan, and he also indicated that it was a complete surprise to the
remaining Atmel Human Resources team that Microchip was not paying the severance.

        On approximately April 11,2016,1 and the other Atmel employees who were terminated
received a new letter, which indicated that Microchip would pay us 50% of the severance benefits due
under the Severance Plan. A copy of the April 11,2016 letter I received is attached hereto as Exhibit C.

        Based on my discussions with other Atmel employees prior to the closing of the acquisition in
April 2016, it was my understanding that Atmel had made Microchip aware of the existence of the
Severance Plan prior to April 2016, and that Atmel had also made Microchip aware of the fact that
Atmel believed that the Severance Plan was still in place following Microchip's agreement to purchase

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Atmel in January 2016 and that the Severance Plan would require Microchip to pay severance benefits if
Microchip acquired Atmel and then terminated Atmel employees. Based on my discussions with other
Atmel employees prior to the closing of the acquisition in April 2016, Microchip had knowledge of, and
had been involved in the drafting of, the language of the February 2016 "Frequently Asked Questions"
that were published for Atmei employees to address questions regarding the Microchip acquisition.

         On approximately May 11, 2016,1 had a conversation with Sander Arts, in which Arts confirmed
that prior to the Microchip acquisition, he had conveyed to his whole team that the Severance Plan was
intact even with Microchip becoming the purchaser. Arts also confirmed that, prior to the April
acquisition by Microchip, Laub had told all of his direct reports (including Arts) that the Severance Plan
was still intact.

        I relied on the Severance Plan and the assurances i had received from Atmel managers in
deciding to stay with Atmel through the Microchip acquisition. 1 would have left Atmei and found
another job long before the Microchip acquisition if 1 had known that Microchip was not going to pay
me the severance benefits under the Severance Plan.



        I declare under penalty of perjury that the foregoing is true and correct and that this declaration

was executed on May 18,2016 at Palo Alto, California.




                                                   Robin Berman




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                                              STRICTLY PERSONAL AND CONFIDENTIAL


July 9,2015

Robin Berman
Re: Severance Guarantee

Dear Robin,

Our employees are the lifeblood of our company and we value and appreciate all you do for Atmel. We recognize that
recently there has been significant market speculation regarding possible transactions involving the company and
understand that such rumors can be distracting and unsettling. To support our employees and to keep everyone focused
on our continued success, we are pleased to share with you the terms of a recently approved U.S. Severance Guarantee
Benefit program that is intended to ease concerns among our employees. Under this program, you will have the
opportunity to receive benefits as described below if your employment is involuntarily terminated without Cause after the
occurrence of a Change of Control. These benefits (collectively, the "Severance Guarantee Benefits") include:

     •       Cash Severance: 40% of base salary (based on your base rate of pay in effect on the date the Change of Control
             transaction closes); and
     •   Target Incentive: If you are eligible, a prorated annual MfP or SIP, whichever you are eligible for at the time of
             termination; the proration will be based a determination of your MIP or SIP at the time of termination, as
             determined by the Company; and
     •       COBRA Benefits: Four (4) months' of COBRA benefits paid for by the Company

All Severance Guarantee Benefits are subject to the terms and conditions in the Addendum attached to this letter. To
receive any benefits, you will be required to sign a form of separation and release agreement reasonably acceptable to the
Company (or its successor) if a transaction occurs (the "Release").

Nothing in this letter is intended to, or shall, contradict, modify or alter the terms of your at-will employment, other than
the provision by the Company (or its successor) of the Severance Guarantee Benefits provided by this letter. You shall
remain an at-will employee for all purposes, meaning that you or the Company (or its successor) may terminate your
employment at any time for any reason or for no reason, with or without Cause, and with or without notice.

Robin, we are pleased to be able to provide you with these Severance Guarantee Benefits and hope they convey our
recognition and appreciation of your contributions to Atmel. Thank you for your continued contributions to our success.

Sincerely,


Suzanne Zoumaras
Senior Vice President, Global Human Resources

Attachment




Sander Arts
Robin Berman




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                                                  ADDENDUM TO
                                    U.S. SEVERANCE GUARANTEE PROGRAM LETTER
                                                    July 9, 2015


 Term of the Severance Guarantee Benefit Program: The U.S. Severance Guarantee Benefit Program is effective from
 July 1,2015 and will terminate on November 1,2015 unless an Initial Triggering Event (as described below) has
 occurred priorto November 1,2015, in which event the U.S. Severance Guarantee Benefit Program will remain in
 effect for 18 (eighteen) months following that Initial Triggering Event.

 Eligibility: Eligibility is limited to U.S.-based employees of Atmel Corporation as of the date a Change of Control is
 consummated.

 Initial Triggering Event: Benefits underthe U.S. Severance Guarantee Benefit Program will become available to
 eligible employees only if the Company enters into a definitive agreement (a "Definitive Agreement"), on or before
 November 1,2015, that will result in a Change of Control of the Company. If a Definitive Agreement is not entered
 into on or before that date, the U.S. Severance Guarantee Benefit Program described in the letter and this Addendum
 will automatically expire, unless expressly extended by the Company's Board of Directors.

Benefits Conditions: After an Initial Triggering Event occurs that makes available to eligible employees the U.S.
Severance Guarantee Benefit Program, participants will then be entitled to receive cash payments and COBRA
benefits if, but only if:

      A.    A Change of Control actually occurs; and
      B.    Their employment is terminated without "Cause" by the Company (or its successor) at anytime within 18
            months of the execution date of the Definitive Agreement.

      For purposes of this U.S. Severance Guarantee Benefit Program, the definition of "Change of Control" and
      "Cause" will be the same as that contained in the Company's Senior Executive Change of Control and Severance
      Plan.

Severance Guarantee Benefits: If the Benefits Conditions described above have been satisfied, and you are entitled
to Severance Guarantee Benefits under the U.S. Severance Guarantee Program, you will receive the benefits as
described in the Severance Guarantee letter provided to you dated July 9, 2015.

Terminations Not Subject to Program: If your employment is terminated at any time before or after an Initial
Triggering Event has occurred as a result of your voluntary resignation, death, disability ortermination for Cause, you
will not be eligible to receive any Severance Guarantee Benefits. As discussed above, the U.S. Severance Guarantee
Program is a "double trigger" plan, meaning that no benefits are available under this Program unless there is both a
Change of Control that occurs and your employment is terminated without Cause.

Release of Claims (the "Release"): Receipt of any Severance Guarantee Benefits will be subject to your executing a
separation and release agreement in a form reasonably acceptable to the Company or its successor (the "Release"). If
you do not timely provide the Release, you will forfeit the right to any Severance Guarantee Benefits. If any portion
of the Severance Guarantee Benefits is scheduled to be paid priorto the date the Release is effective, that portion
will, instead, accrue and be paid as soon as administratively practicable following the Release effective date.

Coordination of Benefits: If you are or become eligible for statutory severance benefits, such as but not limited to
WARN notice pay, you will receive the greater of those statutory benefits orthe Severance Guarantee Benefits, but
not both (and without duplication).




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  Payments: All Severance Guarantee Benefit payments will be made as soon as administratively practicable as
 determined by the Company, but in no case more than ninety (90) days following the date of termination, and will be
 subject to all applicable tax withholdings and other payroll deductions. The Severance Guarantee Benefit payments
 are intended to be exempt from application of Section 409A of the Code, and any ambiguities herein shall be
 interpreted accordingly.

 Additional Matters. Any successor to the Company will assume the obligations under the Program. For all purposes
 under the Program, the term "Company" will include any successor to the Company's business and/or assets which
 becomes bound by the terms of the Program by operation of law, or otherwise. The Company will withhold from any
 severance benefits all federal, state, local and other taxes required to be withheld therefrom and any other required
 payroll deductions. The Program will be administered and interpreted by the Company. Any decision made or other
 action taken by the Company prior to a Change of Control with respect to the Program, and any interpretation by the
 Company prior to a Change of Control of any term or condition of the Program, or any related document, will be
 conclusive and binding on all persons and be given the maximum possible deference allowed by law. Following a
 Change of Control, any decision made or other action taken by the Company, and any interpretation by the Company
of any term or condition of the Program, or any related document that (i) does not affect the benefits payable under
the Program shall not be subject to review unless found to be arbitrary and capricious or (ii) does affect the benefits
payable under the Program shall not be subject to review unless found to be unreasonable or not to have been made
in good faith. The Company may, in its sole discretion and on such terms and conditions as it may provide, delegate
in writing to one or more officers of the Company all or any portion of its authority or responsibility with respect to
the Program; provided, however, that any Program amendment or termination or any other action that could
reasonably be expected to increase significantly the cost of the Program must be approved by the Company's Board
of Directors or the Compensation Committee of the Company's Board of Directors. The provisions of the Program will
be construed, administered and enforced in accordance with the internal substantive laws of the State of California
(with the exception of its conflict of laws provisions).




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